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      ORAL ARGUMENT SCHEDULED FOR MARCH 22, 2019

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT

                      Nos. 19-5042, 19-5043, 19-5044

DAMIEN GUEDES; SHANE RODEN; FIREARMS POLICY FOUNDATION; MADISON
          SOCIETY FOUNDATION, INC.; FLORIDA CARRY, INC.,
                                      Plaintiffs-Appellants,

             FIREARMS POLICY COALITION, INC., CA 18-3083,
                                          Plaintiff-Appellee,
                                    v.
      BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES;
WILLIAM P. BARR, IN HIS OFFICIAL CAPACITY AS ATTORNEY GENERAL OF THE
   UNITED STATES; THOMAS E. BRANDON, IN HIS OFFICIAL CAPACITY AS
ACTING DIRECTOR OF THE BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
              EXPLOSIVES; UNITED STATES OF AMERICA,
                                         Defendants-Appellees,
                  _________________________________
             On Appeal from the United States District Court
           for the District of Columbia (No. 1:18-cv-02988-DLF)
                    _________________________________

                            JOINT APPENDIX
                     _________________________________

  Joshua Prince                           Hashim M. Mooppan
  Adam Kraut                              Scott R. McIntosh
  Civil Rights Defense Firm, P.C.         Abby Wright
  646 Lenape Road                         U.S. Department of Justice
  Bechtelsville, PA 19505                 950 Pennsylvania Avenue, NW
  (610) 845-3803                          Civil Division, Room 7252
  Counsel for Appellants                  Washington, DC 20530
  in No. 19-5042                          (202) 514-2000
                                          Counsel for Appellees
                [additional counsel listed on inside cover]
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 Thomas C. Goldstein                 Stephen D. Stamboulieh
 Daniel Woofter                      Stamboulieh Law, PLLC
 Goldstein & Russell, P.C.           P.O. Box 4008
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 Suite 850                           (601) 852-3440
 Bethesda, MD 20814                  Counsel for Appellants
 (202) 362-0636                      in No. 19-5044
 Counsel for Appellant
 in No. 19-5043
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                                                                  APPEAL,CONSOL,TYPE−D
                                U.S. District Court
                     District of Columbia (Washington, DC)
                CIVIL DOCKET FOR CASE #: 1:18−cv−02988−DLF

  GUEDES et al v. BUREAU OF ALCOHOL, TOBACCO,        Date Filed: 12/18/2018
  FIREARMS, AND EXPLOSIVES et al                     Jury Demand: None
  Assigned to: Judge Dabney L. Friedrich             Nature of Suit: 890 Other Statutory
   Case: 1:18−cv−03086−DLF                           Actions
  Case in other court: USCA, 19−05042                Jurisdiction: U.S. Government Defendant
                      USCA, 19−05043
  Cause: 05:551 Administrative Procedure Act
  Plaintiff
  DAMIEN GUEDES                        represented by Joshua G Prince
                                                      CIVIL RIGHTS DEFENSE FIRM, P.C.
                                                      646 Lenape Rd.
                                                      Bechtelsville, PA 19505
                                                      888−202−9297
                                                      Fax: (610) 400−8439
                                                      Email: Joshua@CivilRightsDefenseFirm.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Adam J. Kraut
                                                     PRINCE LAW OFFICES, P.C.
                                                     646 Lenape Road
                                                     Bechtelsville, PA 19505
                                                     (610) 845−3803
                                                     Fax: (610) 845−3903
                                                     Email: akraut@princelaw.com
                                                     ATTORNEY TO BE NOTICED

  Plaintiff
  FIREARMS POLICY COALITION,           represented by Joshua G Prince
  INC.                                                (See above for address)
  CA 18−3083                                          LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Thomas C. Goldstein
                                                     GOLDSTEIN & RUSSELL P.C.
                                                     Partner/Owner
                                                     7475 Wisconsin Avenue
                                                     Suite 850
                                                     Bethesda, MD 20814
                                                     (202) 362−0636
                                                     Email: tgoldstein@goldsteinrussell.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Daniel H. Woofter
                                                     GOLDSTEIN & RUSSELL, P.C.
                                                     7475 Wisconsin Avenue
                                                     Suite 850
                                                     Bethesda, MD 20814
                                                     (202) 362−0636
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Adam J. Kraut
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
                                    JA001
           Case: 1:18-cv-2988 As of: 03/03/2019 05:53 PM EST 2 of 8
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  Plaintiff
  FIREARMS POLICY FOUNDATION           represented by Joshua G Prince
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                    Adam J. Kraut
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

  Plaintiff
  MADISON SOCIETY                      represented by Joshua G Prince
  FOUNDATION, INC.                                    (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                    Adam J. Kraut
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

  Plaintiff
  SHANE RODEN                          represented by Joshua G Prince
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                    Adam J. Kraut
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

  Plaintiff
  FLORIDA CARRY, INC.                  represented by Joshua G Prince
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                    Adam J. Kraut
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


  V.
  Defendant
  BUREAU OF ALCOHOL,                   represented by Chetan A. Patil
  TOBACCO, FIREARMS, AND                              U.S. DEPARTMENT OF JUSTICE
  EXPLOSIVES                                          Civil Division
                                                      1100 L Street, NW
                                                      Room 12518
                                                      Washington, DC 20530
                                                      (202) 305−4968
                                                      Fax: (202) 616−8470
                                                      Email: chetan.patil@usdoj.gov
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                    Eric J. Soskin
                                                    U.S. DEPARTMENT OF JUSTICE
                                                    Civil Division, Federal Programs Branch
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                                                    Washington, DC 20044
                                                    (202) 353−0533
                                    JA002
           Case: 1:18-cv-2988 As of: 03/03/2019 05:53 PM EST 3 of 8
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                                                              Fax: (202) 616−8470
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                                                              ATTORNEY TO BE NOTICED

                                                              Hashim M. Mooppan
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                                                              Washington, DC 20530
                                                              (202) 307−5906
                                                              Email: hashim.mooppan@usdoj.gov
                                                              ATTORNEY TO BE NOTICED

  Defendant
  MATTHEW WHITAKER                                represented by Chetan A. Patil
  in his official capacity as Acting Attorney                    (See above for address)
  General of the United States                                   LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              Eric J. Soskin
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Hashim M. Mooppan
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

  Defendant
  THOMAS E. BRANDON                               represented by Chetan A. Patil
  in his official capacity as Acting Director                    (See above for address)
  of the Bureau of Alcohol, Tobacco,                             LEAD ATTORNEY
  Firearms and Explosives                                        ATTORNEY TO BE NOTICED

                                                              Eric J. Soskin
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Hashim M. Mooppan
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

  Defendant
  UNITED STATES OF AMERICA                        represented by Chetan A. Patil
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              Eric J. Soskin
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Hashim M. Mooppan
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED


   Date Filed      #    Docket Text
   12/18/2018       1 COMPLAINT against All Defendants ( Filing fee $ 400 receipt number
                      0090−5846088) filed by FIREARMS POLICY FOUNDATION, FIREARMS
                                                JA003
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                    POLICY COALITION, INC., DAMIEN GUEDES, MADISON SOCIETY
                    FOUNDATION, INC.. (Attachments: # 1 Notice of Exhibits, # 2 Exhibit A Part I, # 3
                    Exhibit A Part II, # 4 Corporate Disclosure Statement, # 5 Civil Cover Sheet, # 6
                    Summons, # 7 Executed Final Rule)(Kraut, Adam) (Entered: 12/18/2018)
   12/18/2018    2 MOTION for Preliminary Injunction by FIREARMS POLICY COALITION, INC.,
                   FIREARMS POLICY FOUNDATION, DAMIEN GUEDES, MADISON SOCIETY
                   FOUNDATION, INC. (Attachments: # 1 Memorandum in Support, # 2 Declaration of
                   Brandon Combs, # 3 Text of Proposed Order, # 4 Certificate of Service)(Kraut, Adam)
                   (Entered: 12/18/2018)
   12/18/2018    3 NOTICE of Appearance by Joshua G Prince on behalf of All Plaintiffs (Prince,
                   Joshua) (Entered: 12/18/2018)
   12/19/2018    4 STIPULATION of Extension of Briefing Schedule for Plaintiffs' Motion for
                   Preliminary Injunction, ECF No. 2, by THOMAS E. BRANDON, BUREAU OF
                   ALCOHOL, TOBACCO, FIREARMS, AND EXPLOSIVES, UNITED STATES OF
                   AMERICA, MATTHEW WHITAKER. (Attachments: # 1 Text of Proposed
                   Order)(Soskin, Eric) (Entered: 12/19/2018)
   12/20/2018    5 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                   Interests by FIREARMS POLICY COALITION, INC., FIREARMS POLICY
                   FOUNDATION, DAMIEN GUEDES, MADISON SOCIETY FOUNDATION, INC.
                   (Kraut, Adam) (Entered: 12/20/2018)
   12/20/2018       Case Assigned to Judge Dabney L. Friedrich. (zmd) (Entered: 12/20/2018)
   12/21/2018    6 SUMMONS (4) Issued Electronically as to THOMAS E. BRANDON, BUREAU OF
                   ALCOHOL, TOBACCO, FIREARMS, AND EXPLOSIVES, UNITED STATES OF
                   AMERICA, MATTHEW WHITAKER, U.S. Attorney and U.S. Attorney General
                   (Attachment: # 1 Notice and Consent)(zsb) (Entered: 12/21/2018)
   12/21/2018       MINUTE ORDER. The parties have jointly requested that the Court extend the time
                    for briefing on the plaintiffs' 2 Motion for Preliminary Injunction. See Stipulated
                    Extension of Briefing Schedule for Plaintiffs' Motion for Preliminary Injunction, Dkt.
                    4. In light of the parties' stipulation, it is ORDERED that the defendants' Opposition to
                    Plaintiffs' Motion for Preliminary Injunction shall be filed on or before December 31,
                    2018, and the plaintiffs' Reply in Support of the Motion for Preliminary Injunction
                    shall be filed on or before January 7, 2019. Consistent with the parties' proposal, the
                    Court also ORDERS that the parties appear for a hearing on the preliminary injunction
                    at 10:00 a.m. on January 11, 2019. Because the parties have consented to a hearing on
                    this date, the Court finds that holding the hearing on January 11, 2019 will not
                    prejudice the parties within the meaning of Local Rule 65.1(d). Signed by Judge
                    Dabney L. Friedrich on December 21, 2018. (lcdlf2) (Entered: 12/21/2018)
   12/26/2018       Set/Reset Deadlines/Hearings: Response to Motion for Preliminary Injunction due by
                    12/31/2018. Reply to Motion for Preliminary Injunction due by 1/7/2019. Preliminary
                    Injunction Hearing set for 1/11/2019 at 10:00 AM in Courtroom 12 before Judge
                    Dabney L. Friedrich. (kh) (Entered: 12/26/2018)
   12/26/2018    7 MOTION to Stay Proceedings in Light of Lapse of Appropriations by THOMAS E.
                   BRANDON, BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
                   EXPLOSIVES, UNITED STATES OF AMERICA, MATTHEW WHITAKER
                   (Attachments: # 1 Text of Proposed Order)(Soskin, Eric) (Entered: 12/26/2018)
   12/26/2018    8 NOTICE of Voluntary Dismissal re Firearms Policy Coalition, Inc. (Kraut, Adam)
                   (Entered: 12/26/2018)
   12/26/2018    9 AMENDED COMPLAINT against All Defendants filed by FIREARMS POLICY
                   FOUNDATION, DAMIEN GUEDES, MADISON SOCIETY FOUNDATION, INC.,
                   SHANE RODEN, FLORIDA CARRY, INC.. (Attachments: # 1 Exhibit A Part I, # 2
                   Exhibit A Part II, # 3 Declaration of Sean Caranna, # 4 Declaration of Jonathan
                   Jensen, # 5 Declaration of the Honorable Shane Roden)(Kraut, Adam) (Entered:
                   12/26/2018)
   12/26/2018   10 NOTICE of Appearance by Joshua G Prince on behalf of All Plaintiffs (Prince,
                   Joshua) (Entered: 12/26/2018)

                                             JA004
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   12/27/2018       MINUTE ORDER dismissing plaintiff Firearms Policy Coalition, Inc. in light of the
                    plaintiffs' 8 Notice of Voluntary Dismissal. See Fed. R. Civ. P. 41(a). Signed by Judge
                    Dabney L. Friedrich on December 27, 2018. (lcdlf2) (Entered: 12/27/2018)
   12/27/2018       MINUTE ORDER granting the defendants' 7 Motion for a Stay of All Proceedings in
                    Light of Lapse of Appropriations. Accordingly, it is ORDERED that all proceedings in
                    this matter are STAYED until Congress has restored appropriations to the Department
                    of Justice. It is further ORDERED that the defendants shall promptly notify the Court
                    as soon as appropriations are restored, and at that time, the parties shall file a joint
                    status report proposing a revised briefing schedule. Signed by Judge Dabney L.
                    Friedrich on December 27, 2018. (lcdlf2) (Entered: 12/27/2018)
   12/31/2018   11 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                   Interests by FLORIDA CARRY, INC. (Kraut, Adam) (Entered: 12/31/2018)
   12/31/2018   12 MOTION to Lift Stay by FIREARMS POLICY FOUNDATION, FLORIDA CARRY,
                   INC., DAMIEN GUEDES, MADISON SOCIETY FOUNDATION, INC., SHANE
                   RODEN (Attachments: # 1 Text of Proposed Order, # 2 Memorandum in
                   Support)(Kraut, Adam) (Entered: 12/31/2018)
   12/31/2018   13 Memorandum in opposition to re 12 MOTION to Lift Stay filed by THOMAS E.
                   BRANDON, BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
                   EXPLOSIVES, UNITED STATES OF AMERICA, MATTHEW WHITAKER.
                   (Soskin, Eric) (Entered: 12/31/2018)
   01/03/2019       MINUTE ORDER scheduling a telephonic status conference on the plaintiffs' 12
                    Motion to Lift Stay of Proceedings for 11:00 a.m. on January 8, 2019. Signed by Judge
                    Dabney L. Friedrich on January 3, 2019. (lcdlf2) (Entered: 01/03/2019)
   01/03/2019       Set/Reset Deadlines/Hearings: Telephone Conference set for 1/8/2019 at 11:00 AM in
                    Courtroom 12 before Judge Dabney L. Friedrich. (jl) (Entered: 01/03/2019)
   01/08/2019       MINUTE ORDER. It is hereby ordered that this case be consolidated with Firearms
                    Policy Coalition, Inc. v. Whitaker (No. 18−3083). Once the stay is lifted, the Court
                    will issue a briefing schedule to address the plaintiffs' pending motions for a
                    preliminary injunction. Signed by Judge Dabney L. Friedrich on January 8, 2019.
                    (lcdlf2) (Entered: 01/08/2019)
   01/08/2019       Cases consolidated. Cases 18−cv−2988 and 18−cv−3083 have been consolidated
                    pursuant to Minute Order entered on 1/8/2019. All filings shall be made only in the
                    LEAD CASE No. 18−cv−2988 and parties shall NOT elect to spread text when filing
                    on ECF, as this will result in repetitive docketing. (tth) (Entered: 01/09/2019)
   01/08/2019       Minute Entry for proceedings held before Judge Dabney L. Friedrich: Telephone
                    Conference held on 1/8/2019. MOTION 5 in related case (18−CV−3083) GRANTED
                    by Oral Order of the Court. (Court Reporter: Sara Wick.) (jl) (Entered: 01/09/2019)
   01/11/2019       MINUTE ORDER granting in part the plaintiffs' 12 Motion to Lift Stay of
                    Proceedings. The stay of all proceedings is hereby VACATED. As discussed during
                    the telephonic status conference on January 8, 2019, the government shall file an
                    opposition to the plaintiffs' motions for preliminary injunction on or before January 22,
                    2019, and the plaintiffs may file a reply on or before January 29, 2019. It is further
                    ORDERED that the parties shall appear for a hearing on the plaintiffs' motions at 2:00
                    p.m. on February 6, 2019. Signed by Judge Dabney L. Friedrich on January 11, 2019.
                    (lcdlf2) (Entered: 01/11/2019)
   01/11/2019       Set/Reset Deadlines/Hearings: Government's opposition to the plaintiffs' motions for
                    preliminary injunction due by 1/22/2019. Plaintiff's reply due by 1/29/2019. Motion
                    Hearing set for 2/6/2019 at 2:00 PM in Courtroom 12 before Judge Dabney L.
                    Friedrich. (jl) (Entered: 01/11/2019)
   01/15/2019   14 Consent MOTION for Leave to File Excess Pages For Consolidated Brief in
                   Opposition to Motions for Preliminary Injunction by THOMAS E. BRANDON,
                   BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND EXPLOSIVES, UNITED
                   STATES OF AMERICA, MATTHEW WHITAKER (Attachments: # 1 Text of
                   Proposed Order)(Soskin, Eric) (Entered: 01/15/2019)



                                             JA005
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   01/15/2019       MINUTE ORDER granting the defendants' 14 Consent Motion for Enlargement of the
                    Page Limit for Consolidated Opposition to Plaintiffs' Respective Motions for
                    Preliminary Injunction. It is ORDERED that the defendants may file a consolidated
                    brief in opposition to the pending motions for preliminary injunction not to exceed 75
                    pages in length. Signed by Judge Dabney L. Friedrich on January 15, 2019. (lcdlf2)
                    (Entered: 01/15/2019)
   01/17/2019   15 AFFIDAVIT OF MAILING of Summons and Complaint Executed on United States
                   Attorney General. Date of Service Upon United States Attorney General 01/17/19.
                   (Goldstein, Thomas); Modified event on 1/24/2019 (tth). (Entered: 01/17/2019)
   01/22/2019   16 Memorandum in opposition to re 2 MOTION for Preliminary Injunction and Motion
                   for Preliminary Injunction Filed in Case No. 18−cv−3083 as Dkt. No. 2 filed by
                   THOMAS E. BRANDON, BUREAU OF ALCOHOL, TOBACCO, FIREARMS,
                   AND EXPLOSIVES, UNITED STATES OF AMERICA, MATTHEW WHITAKER.
                   (Attachments: # 1 Exhibit 1 − 2018 OLC Opinion)(Soskin, Eric) (Entered:
                   01/22/2019)
   01/28/2019   17 REPLY to opposition to motion re 2 MOTION for Preliminary Injunction Only as to
                   ECF 2 in Case No. 18−cv−3083 filed by FIREARMS POLICY COALITION, INC..
                   (Goldstein, Thomas) (Entered: 01/28/2019)
   01/28/2019   18 MOTION for Leave to File Amended Complaint as to ECF 1 in Case No.
                   18−cv−3083 against All Defendants filed by FIREARMS POLICY COALITION,
                   INC.. (Attachments: # 1 Amended Complaint, # 2 Amended Complaint
                   Redline)(Goldstein, Thomas); Modified event on 1/29/2019 (tth). (Entered:
                   01/28/2019)
   01/29/2019   19 REPLY to opposition to motion re 2 MOTION for Preliminary Injunction Only as to
                   ECF 2 in Case No. 18−cv−2988 filed by FIREARMS POLICY FOUNDATION,
                   FLORIDA CARRY, INC., DAMIEN GUEDES, MADISON SOCIETY
                   FOUNDATION, INC., SHANE RODEN. (Prince, Joshua) (Entered: 01/29/2019)
   01/30/2019   20 ERRATA CORRECTING NUMBERING by FIREARMS POLICY FOUNDATION,
                   FLORIDA CARRY, INC., DAMIEN GUEDES, MADISON SOCIETY
                   FOUNDATION, INC., SHANE RODEN 9 Amended Complaint, filed by MADISON
                   SOCIETY FOUNDATION, INC., FLORIDA CARRY, INC., SHANE RODEN,
                   FIREARMS POLICY FOUNDATION, DAMIEN GUEDES. (Kraut, Adam) (Entered:
                   01/30/2019)
   02/05/2019   21 NOTICE of Appearance by Hashim M. Mooppan on behalf of All Defendants
                   Associated Cases: 1:18−cv−02988−DLF, 1:18−cv−03083−DLF(Mooppan, Hashim)
                   (Entered: 02/05/2019)
   02/06/2019       Minute Entry for proceedings held before Judge Dabney L. Friedrich: Hearing held on
                    2/6/2019 re 2 Motion for Preliminary Injunction. Motion heard and taken under
                    advisement. (Court Reporter: Sara Wick) (zcdw) (Entered: 02/07/2019)
   02/08/2019   22 Unopposed MOTION for Leave to File Exhibits B and C to Plaintiffs' Amended
                   Complaint and Motion for Preliminary Injunction by FIREARMS POLICY
                   FOUNDATION, FLORIDA CARRY, INC., DAMIEN GUEDES, MADISON
                   SOCIETY FOUNDATION, INC., SHANE RODEN (Attachments: # 1 Exhibit B, # 2
                   Exhibit C, # 3 Text of Proposed Order)(Prince, Joshua). (Entered: 02/08/2019)
   02/13/2019   23 NOTICE OF SUPPLEMENTAL AUTHORITY by FIREARMS POLICY
                   FOUNDATION, FLORIDA CARRY, INC., DAMIEN GUEDES, MADISON
                   SOCIETY FOUNDATION, INC., SHANE RODEN (Prince, Joshua) (Entered:
                   02/13/2019)
   02/14/2019       MINUTE ORDER. The parties shall file a joint status report by 3:00 p.m. tomorrow,
                    February 15, 2019, that briefly addresses whether the confirmation of William P. Barr
                    as Attorney General affects the pending motions in this case. Signed by Judge Dabney
                    L. Friedrich on February 14, 2019. (lcdlf2) (Entered: 02/14/2019)
   02/15/2019   24 NOTICE of Appearance by Chetan A. Patil on behalf of THOMAS E. BRANDON,
                   BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND EXPLOSIVES, UNITED
                   STATES OF AMERICA, MATTHEW WHITAKER (Patil, Chetan) (Entered:
                   02/15/2019)

                                            JA006
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   02/15/2019   25 Joint STATUS REPORT by THOMAS E. BRANDON, BUREAU OF ALCOHOL,
                   TOBACCO, FIREARMS, AND EXPLOSIVES, UNITED STATES OF AMERICA,
                   MATTHEW WHITAKER. (Patil, Chetan) (Entered: 02/15/2019)
   02/25/2019       MINUTE ORDER granting plaintiff Guedes's 22 Unopposed Motion to Supplement
                    Amended Complaint and Motion for Preliminary Injunction. Signed by Judge Dabney
                    L. Friedrich on February 25, 2019. (lcdlf2) (Entered: 02/25/2019)
   02/25/2019   26 ORDER denying the plaintiffs' motions for a preliminary injunction. See text for
                   details. Signed by Judge Dabney L. Friedrich on February 25, 2019. (lcdlf2) (Entered:
                   02/25/2019)
   02/25/2019   27 MEMORANDUM OPINION regarding the plaintiffs' motions for a preliminary
                   injunction. See text for details. Signed by Judge Dabney L. Friedrich on February 25,
                   2019. (lcdlf2) (Entered: 02/25/2019)
   02/25/2019       MINUTE ORDER directing the parties to propose a schedule for further proceedings
                    on or before March 18, 2019. Signed by Judge Dabney L. Friedrich on February 25,
                    2019. (lcdlf2) (Entered: 02/25/2019)
   02/25/2019   28 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 27 Memorandum & Opinion,
                   26 Order on Motion for Preliminary Injunction by FIREARMS POLICY
                   FOUNDATION, FLORIDA CARRY, INC., DAMIEN GUEDES, MADISON
                   SOCIETY FOUNDATION, INC., SHANE RODEN. Filing fee $ 505, receipt number
                   0090−5965917. Fee Status: Fee Paid. Parties have been notified. (Kraut, Adam)
                   (Entered: 02/25/2019)
   02/25/2019   29 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 27 Memorandum & Opinion,
                   26 Order on Motion for Preliminary Injunction by FIREARMS POLICY
                   COALITION, INC.. Filing fee $ 505, receipt number 0090−5965926. Fee Status: Fee
                   Paid. Parties have been notified. (Goldstein, Thomas) (Entered: 02/25/2019)
   02/25/2019       Set/Reset Deadlines/Hearings: Proposed schedule for further proceedings due by
                    3/18/2019. (zcdw) (Entered: 02/26/2019)
   02/26/2019   30 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                   Docket Sheet to US Court of Appeals. The Court of Appeals fee was paid this date re
                   28 Notice of Appeal to DC Circuit Court. (tth) (Entered: 02/26/2019)
   02/26/2019   31 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                   Docket Sheet to US Court of Appeals. The Court of Appeals fee was paid this date re
                   29 Notice of Appeal to DC Circuit Court. (tth) (Entered: 02/26/2019)
   02/26/2019   32 TRANSCRIPT OF PRELIMINARY INJUNCTION MOTION HEARING before
                   Judge Dabney L. Friedrich, held on 2/6/2019. Page Numbers: 1−112. Date of Issuance:
                   2/26/2019. Court Reporter: Sara Wick, telephone number 202−354−3284. Transcripts
                   may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporte r referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be made
                    available to the public via PACER without redaction after 90 days. The policy, which
                    includes the five personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov.

                    Redaction Request due 3/19/2019. Redacted Transcript Deadline set for 3/29/2019.
                    Release of Transcript Restriction set for 5/27/2019.(Wick, Sara) (Entered: 02/26/2019)
   02/26/2019       USCA Case Number 19−5042 for 28 Notice of Appeal to DC Circuit Court, filed by
                    MADISON SOCIETY FOUNDATION, INC., FLORIDA CARRY, INC., SHANE
                    RODEN, FIREARMS POLICY FOUNDATION, DAMIEN GUEDES. (zrdj)
                    (Entered: 02/28/2019)

                                              JA007
           Case: 1:18-cv-2988 As of: 03/03/2019 05:53 PM EST 8 of 8
USCA Case #19-5042    Document #1775782         Filed: 03/04/2019 Page 12 of 386
   02/26/2019     USCA Case Number 19−5043 for 29 Notice of Appeal to DC Circuit Court, filed by
                  FIREARMS POLICY COALITION, INC. (zrdj) (Entered: 02/28/2019)




                                        JA008
        Case: 1:18-cv-03083-DLF As of: 03/03/2019 05:54 PM EST 1 of 3
USCA Case #19-5042    Document #1775782        Filed: 03/04/2019 Page 13 of 386
                                                                  CONSOL,STAYED,TYPE−E
                                 U.S. District Court
                      District of Columbia (Washington, DC)
                 CIVIL DOCKET FOR CASE #: 1:18−cv−03083−DLF

  FIREARMS POLICY COALITION, INC. v. WHITAKER et al   Date Filed: 12/26/2018
  Assigned to: Judge Dabney L. Friedrich              Jury Demand: None
  Lead case: 1:18−cv−02988−DLF                        Nature of Suit: 899 Administrative
  Member case: (View Member Case)                     Procedure Act/Review or Appeal of
   Cases: 1:18−cv−02664−RDM                           Agency Decision
            1:18−cv−02718−RDM                         Jurisdiction: U.S. Government Defendant
            1:18−cv−02838−RDM
            1:18−cv−02906−RDM
  Cause: 05:702 Administrative Procedure Act
  Plaintiff
  FIREARMS POLICY COALITION,            represented by Daniel H. Woofter
  INC.                                                 GOLDSTEIN & RUSSELL, P.C.
                                                       7475 Wisconsin Avenue
                                                       Suite 850
                                                       Bethesda, MD 20814
                                                       (202) 362−0636
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                      Thomas C. Goldstein
                                                      GOLDSTEIN & RUSSELL P.C.
                                                      Partner/Owner
                                                      7475 Wisconsin Avenue
                                                      Suite 850
                                                      Bethesda, MD 20814
                                                      (202) 362−0636
                                                      Email: tgoldstein@goldsteinrussell.com
                                                      ATTORNEY TO BE NOTICED


  V.
  Defendant
  MATTHEW G. WHITAKER                   represented by Hashim M. Mooppan
  in his official capacity                             U.S. DEPARTMENT OF JUSTICE
                                                       950 Pennsylvania Avenue, NW
                                                       Washington, DC 20530
                                                       (202) 307−5906
                                                       Email: hashim.mooppan@usdoj.gov
                                                       ATTORNEY TO BE NOTICED

                                                      Rebecca Marie Cutri−Kohart
                                                      U.S. DEPARTMENT OF JUSTICE
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street NW
                                                      Washington, DC 20005
                                                      (202) 514−0265
                                                      Fax: (202) 616−8460
                                                      Email: rebecca.cutri−kohart@usdoj.gov
                                                      ATTORNEY TO BE NOTICED

  Defendant
  U.S. BUREAU OF ALCOHOL,               represented by Hashim M. Mooppan
  TOBACCO, FIREARMS AND                                (See above for address)
  EXPLOSIVES                                           ATTORNEY TO BE NOTICED

                                     JA009
        Case: 1:18-cv-03083-DLF As of: 03/03/2019 05:54 PM EST 2 of 3
USCA Case #19-5042    Document #1775782        Filed: 03/04/2019 Page 14 of 386
  an agency of the Department of Justice
                                                                  Rebecca Marie Cutri−Kohart
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

  Defendant
  THOMAS E. BRANDON                               represented by Hashim M. Mooppan
  in his official capacity                                       (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                  Rebecca Marie Cutri−Kohart
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

  Defendant
  UNITED STATES OF AMERICA                        represented by Hashim M. Mooppan
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                  Rebecca Marie Cutri−Kohart
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED


   Date Filed     #    Docket Text
   12/26/2018      1 COMPLAINT against All Defendants ( Filing fee $ 400 receipt number
                     0090−5857274) filed by FIREARMS POLICY COALITION, INC.. (Attachments: # 1
                     Civil Cover Sheet, # 2 Summons)(Goldstein, Thomas) (Entered: 12/26/2018)
   12/26/2018      2 MOTION for Preliminary Injunction or, in the Alternative, Permanent Injunction and
                     Declaratory Judgment by FIREARMS POLICY COALITION, INC. (Attachments: #
                     1 Memorandum in Support, # 2 Appendix, # 3 Text of Proposed Order)(Goldstein,
                     Thomas). Added MOTION for Permanent Injunction on 12/27/2018 (tth). (Entered:
                     12/26/2018)
   12/26/2018      3 STATUS REPORT by FIREARMS POLICY COALITION, INC.. (Goldstein,
                     Thomas) (Entered: 12/26/2018)
   12/27/2018          Case Assigned to Judge Ketanji Brown Jackson. (zef, ) (Entered: 12/27/2018)
   12/27/2018      4 SUMMONS (4) Issued Electronically as to THOMAS E. BRANDON, U.S. BUREAU
                     OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES, UNITED STATES
                     OF AMERICA, MATTHEW G. WHITAKER, U.S. Attorney and U.S. Attorney
                     General (Attachments: # 1 Notice and Consent)(zef, ) (Entered: 12/27/2018)
   12/27/2018      5 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Daniel H. Woofter,
                     :Firm− Goldstein & Russell, P.C., :Address− 7475 Wisconsin Avenue, Suite 850,
                     Bethesda, MD 20814. Phone No. − (202) 362−0636. Filing fee $ 100, receipt number
                     0090−5857879. Fee Status: Fee Paid. by FIREARMS POLICY COALITION, INC.
                     (Goldstein, Thomas) (Entered: 12/27/2018)
   12/27/2018      6 NOTICE of Appearance by Rebecca Marie Cutri−Kohart on behalf of All Defendants
                     (Cutri−Kohart, Rebecca) (Entered: 12/27/2018)
   12/27/2018      7 RESPONSE re 3 Status Report filed by THOMAS E. BRANDON, U.S. BUREAU OF
                     ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES, UNITED STATES OF
                     AMERICA, MATTHEW G. WHITAKER. (Cutri−Kohart, Rebecca) (Entered:
                     12/27/2018)
   12/27/2018      8 Consent MOTION to Stay all proceedings by THOMAS E. BRANDON, U.S.
                     BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES, UNITED
                     STATES OF AMERICA, MATTHEW G. WHITAKER (Attachments: # 1 Text of
                     Proposed Order)(Cutri−Kohart, Rebecca) (Entered: 12/27/2018)


                                              JA010
        Case: 1:18-cv-03083-DLF As of: 03/03/2019 05:54 PM EST 3 of 3
USCA Case #19-5042    Document #1775782        Filed: 03/04/2019 Page 15 of 386
   12/27/2018    9 NOTICE OF RELATED CASE by FIREARMS POLICY COALITION, INC.. Case
                   related to (Goldstein, Thomas) (Entered: 12/27/2018)
   12/27/2018       MINUTE ORDER granting 8 Consent Motion to Stay in light of lapse of
                    appropriations. For good cause shown, it is hereby ORDERED that this case is
                    STAYED. Counsel for Defendant shall notify the Court as soon as Congress has
                    appropriated funds; at that point, the Court will enter an order resetting the applicable
                    deadlines, which will be extended day−for−day with the duration of the lapse in
                    appropriations. Signed by Judge Ketanji Brown Jackson on 12/27/2018. (lckbj3)
                    (Entered: 12/27/2018)
   01/02/2019   10 MOTION to Lift Stay , MOTION to Expedite by FIREARMS POLICY COALITION,
                   INC. (Attachments: # 1 Text of Proposed Order)(Goldstein, Thomas) (Entered:
                   01/02/2019)
   01/03/2019   11 CERTIFICATE OF SERVICE by FIREARMS POLICY COALITION, INC. re:
                   Motion for Admission Pro Hac Vice. (Goldstein, Thomas) (Entered: 01/03/2019)
   01/03/2019   12 Case reassigned to Judge Dabney L. Friedrich as there is an earlier related case. Judge
                   Ketanji Brown Jackson is no longer assigned to the case. (rj) (Entered: 01/04/2019)
   01/04/2019   13 RESPONSE re 10 MOTION to Lift Stay MOTION to Expedite filed by THOMAS E.
                   BRANDON, U.S. BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
                   EXPLOSIVES, UNITED STATES OF AMERICA, MATTHEW G. WHITAKER.
                   (Cutri−Kohart, Rebecca) (Entered: 01/04/2019)
   01/04/2019       MINUTE ORDER. The Court previously scheduled a telephonic status conference in
                    Guedes v. Bureau of Alcohol, Tobacco, Firearms, and Explosives (No. 18−2988) for
                    11:00 a.m. on January 8, 2019. Counsel in this case shall participate in that status
                    conference. Signed by Judge Dabney L. Friedrich on January 4, 2019. (lcdlf2)
                    (Entered: 01/04/2019)
   01/07/2019   14 REPLY to opposition to motion re 10 MOTION to Lift Stay MOTION to Expedite
                   filed by FIREARMS POLICY COALITION, INC.. (Goldstein, Thomas) (Entered:
                   01/07/2019)
   01/08/2019       Cases consolidated. Cases 18−cv−2988 and 18−cv−3083 have been consolidated
                    pursuant to Minute Order entered on 1/8/2019. All filings shall be made only in the
                    LEAD CASE No. 18−cv−2988 and parties shall NOT elect to spread text when filing
                    on ECF, as this will result in repetitive docketing. (tth) (Entered: 01/09/2019)
   01/17/2019   15 AFFIDAVIT of Mailing of Summons and Complaint Executed on United States
                   Attorney General. Date of Service Upon United States Attorney General 01/17/19.
                   (Goldstein, Thomas); Modified event on 1/24/2019 (tth). (Entered: 01/17/2019)
   01/17/2019   16 AFFIDAVIT of Mailing of Summons and Complaint Executed. U.S. BUREAU OF
                   ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES served on 1/9/2019
                   (Goldstein, Thomas); Modified event on 1/24/2019 (tth). (Entered: 01/17/2019)
   01/17/2019   17 AFFIDAVIT of Mailing of Summons and Complaint Executed. THOMAS E.
                   BRANDON served on 1/9/2019 (Goldstein, Thomas); Modified text on 1/24/2019
                   (tth). (Entered: 01/17/2019)
   01/17/2019   18 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                   United States Attorney. Date of Service Upon United States Attorney on 1/3/2019.
                   Answer due for ALL FEDERAL DEFENDANTS by 3/4/2019. (Goldstein, Thomas)
                   (Entered: 01/17/2019)
   02/05/2019   19 NOTICE of Appearance by Hashim M. Mooppan on behalf of All Defendants
                   Associated Cases: 1:18−cv−02988−DLF, 1:18−cv−03083−DLF(Mooppan, Hashim)
                   (Entered: 02/05/2019)
   02/15/2019   20 Joint STATUS REPORT by THOMAS E. BRANDON, U.S. BUREAU OF
                   ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES, UNITED STATES OF
                   AMERICA, MATTHEW G. WHITAKER. (Cutri−Kohart, Rebecca) (Entered:
                   02/15/2019)



                                             JA011
           Case: 1:18-cv-3086 As of: 03/03/2019 05:54 PM EST 1 of 4
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                                                                                       APPEAL,TYPE−E
                                      U.S. District Court
                           District of Columbia (Washington, DC)
                      CIVIL DOCKET FOR CASE #: 1:18−cv−03086−DLF

  CODREA et al v. WHITAKER et al                                Date Filed: 12/27/2018
  Assigned to: Judge Dabney L. Friedrich                        Jury Demand: None
   Case: 1:18−cv−02988−DLF                                      Nature of Suit: 899 Administrative
  Case in other court: USCA, 19−05044                           Procedure Act/Review or Appeal of
  Cause: 05:551 Administrative Procedure Act                    Agency Decision
                                                                Jurisdiction: U.S. Government Defendant
  Plaintiff
  DAVID CODREA                                   represented by Stephen D. Stamboulieh
                                                                STAMBOULIEH LAW, PLLC
                                                                P.O. Box 4008
                                                                Madison, MS 39130
                                                                (601) 852−3440
                                                                Email: stephen@sdslaw.us
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Alan Alexander Beck
                                                                ALAN A. BECK, ESQ.
                                                                2692 Harcourt Drive
                                                                San Diego, CA 92103
                                                                (619) 905−9105
                                                                Email: alan.alexander.beck@gmail.com
                                                                ATTORNEY TO BE NOTICED

  Plaintiff
  OWEN MONROE                                    represented by Stephen D. Stamboulieh
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

  Plaintiff
  SCOTT HEUMAN                                   represented by Stephen D. Stamboulieh
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED


  V.
  Defendant
  MATTHEW WHITAKER                               represented by Eric J. Soskin
  in his official as purported acting                           U.S. DEPARTMENT OF JUSTICE
  Attorney General                                              Civil Division, Federal Programs Branch
                                                                P.O. Box 883
                                                                Washington, DC 20044
                                                                (202) 353−0533
                                                                Fax: (202) 616−8470
                                                                Email: eric.soskin@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Matthew J. Glover
                                                                U.S. DEPARTMENT OF JUSTICE
                                                                Civil Division
                                                                950 Pennsylvania Avenue, NW
                                                                Washington, DC 20530
                                               JA012
           Case: 1:18-cv-3086 As of: 03/03/2019 05:54 PM EST 2 of 4
USCA Case #19-5042    Document #1775782         Filed: 03/04/2019 Page 17 of 386
                                                               (202) 307−1697
                                                               Email: matthew.j.glover@usdoj.gov
                                                               ATTORNEY TO BE NOTICED

  Defendant
  BUREAU OF ALCOHOL,                            represented by Eric J. Soskin
  TOBACCO, FIREARMS, AND                                       (See above for address)
  EXPLOSIVES                                                   LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Matthew J. Glover
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED


   Date Filed   #   Docket Text
   12/27/2018    1 COMPLAINT against All Plaintiffs ( Filing fee $ 400 receipt number 0090−5858421)
                   filed by DAVID CODREA. (Attachments: # 1 Summons, # 2 Summons, # 3
                   Summons, # 4 Civil Cover Sheet, # 5 Exhibit)(Beck, Alan) (Entered: 12/27/2018)
   12/28/2018    2 CIVIL COVER SHEET by DAVID CODREA filed by DAVID CODREA.(Beck,
                   Alan) (Main Document 2 replaced on 12/28/2018) (zef, ). (Entered: 12/28/2018)
   12/28/2018       Case Assigned to Judge Rudolph Contreras. (zef, ) (Entered: 12/28/2018)
   12/28/2018    3 SUMMONS (3) Issued Electronically as to BUREAU OF ALCOHOL, TOBACCO,
                   FIREARMS, AND EXPLOSIVES, MATTHEW WHITAKER, U.S. Attorney and U.S.
                   Attorney General (Attachments: # 1 Notice and Consent)(zef, ) (Entered: 12/28/2018)
   01/10/2019    4 NOTICE of Appearance by Stephen D. Stamboulieh on behalf of All Plaintiffs
                   (Stamboulieh, Stephen) (Entered: 01/10/2019)
   01/18/2019    5 MOTION for Preliminary Injunction by DAVID CODREA, SCOTT HEUMAN,
                   OWEN MONROE (Attachments: # 1 Memorandum in Support Memorandum in
                   Support, # 2 Text of Proposed Order Proposed Order)(Stamboulieh, Stephen)
                   (Entered: 01/18/2019)
   01/18/2019    6 MOTION to Stay Proceedings in Light of Lapse of Appropriations by BUREAU OF
                   ALCOHOL, TOBACCO, FIREARMS, AND EXPLOSIVES, MATTHEW
                   WHITAKER (Attachments: # 1 Text of Proposed Order)(Soskin, Eric) (Entered:
                   01/18/2019)
   01/21/2019    7 RESPONSE re 6 MOTION to Stay Proceedings in Light of Lapse of Appropriations
                   filed by DAVID CODREA, SCOTT HEUMAN, OWEN MONROE. (Stamboulieh,
                   Stephen) (Entered: 01/21/2019)
   01/21/2019    8 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                   United States Attorney. Date of Service Upon United States Attorney on 1/17/2019.
                   Answer due for ALL FEDERAL DEFENDANTS by 3/18/2019. (Attachments: # 1
                   Exhibit USPS Signature Delivery Confirmation)(Stamboulieh, Stephen) (Entered:
                   01/21/2019)
   01/22/2019    9 REPLY to opposition to motion re 6 MOTION to Stay Proceedings in Light of Lapse
                   of Appropriations filed by BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
                   EXPLOSIVES, MATTHEW WHITAKER. (Attachments: # 1 Exhibit 1 − Jan. 2, 2019
                   Order in Case No. 1−18−cv−01429 (W.D. Mich.))(Soskin, Eric) (Entered: 01/22/2019)
   01/22/2019       MINUTE ORDER: It is hereby ORDERED that on or before January 29, 2019, the
                    parties shall meet, confer, and submit a joint status report indicating the parties'
                    respective positions on whether this matter is related, within the meaning of Local
                    Civil Rule 40.5, to Guedes v. ATF, No. 18−cv−2988. SO ORDERED. Signed by Judge
                    Rudolph Contreras on January 22, 2019. (lcrc3) (Entered: 01/22/2019)
   01/23/2019   10 Joint MOTION for Briefing Schedule for Plaintiffs' Motion for Preliminary Injunction,
                   ECF No. 5 by BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
                   EXPLOSIVES, MATTHEW WHITAKER (Attachments: # 1 Text of Proposed

                                            JA013
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USCA Case #19-5042    Document #1775782         Filed: 03/04/2019 Page 18 of 386
                    Order)(Soskin, Eric) (Entered: 01/23/2019)
   01/23/2019       MINUTE ORDER granting 10 the parties' Joint Motion to Set Briefing Schedule. It is
                    hereby ORDERED that Defendants' Opposition to Plaintiffs' Motion for Preliminary
                    Injunction shall be filed on or before February 1, 2019, and Plaintiffs' Reply in Support
                    of the Motion for Preliminary Injunction shall be filed on or before February 8, 2019.
                    SO ORDERED. Signed by Judge Rudolph Contreras on January 23, 2019. (lcrc3)
                    (Entered: 01/23/2019)
   01/27/2019   11 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                   United States Attorney General. Date of Service Upon United States Attorney General
                   1/22/2019., RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint
                   Executed. BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND EXPLOSIVES
                   served on 1/22/2019; MATTHEW WHITAKER served on 1/22/2019 (Attachments: #
                   1 Exhibit USPS proof on AG, # 2 Summons Summons on ATF, # 3 Exhibit USPS
                   proof on ATF)(Stamboulieh, Stephen) (Main Document 11 replaced on 1/28/2019)
                   (ztth). (Entered: 01/27/2019)
   01/29/2019   12 NOTICE to the Court of Restoration of Appropriations by BUREAU OF ALCOHOL,
                   TOBACCO, FIREARMS, AND EXPLOSIVES, MATTHEW WHITAKER (Soskin,
                   Eric) (Entered: 01/29/2019)
   01/29/2019       MINUTE ORDER: Upon consideration of 12 Defendants' Notice of Restoration of
                    Appropriations, it is hereby ORDERED that 6 Defendants' Motion to Stay is denied as
                    moot. SO ORDERED. Signed by Judge Rudolph Contreras on January 29, 2019.
                    (lcrc3) (Entered: 01/29/2019)
   01/29/2019   13 Joint STATUS REPORT (Pursuant to the Court's Jan. 22 Minute Order regarding
                   LCvR 40.5) by BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
                   EXPLOSIVES, MATTHEW WHITAKER. (Soskin, Eric) (Entered: 01/29/2019)
   01/30/2019   14 Case directly reassigned to Judge Dabney L. Friedrich as related. Judge Rudolph
                   Contreras is no longer assigned to the case. (ztnr) (Entered: 01/30/2019)
   01/30/2019   15 ORDER transferring this case to the Calendar and Case Managment Committee for
                   Reassignment to Judge Dabney L. Friedrich as a case related to Guedes v. ATF, No.
                   18−cv−2988. See document for details. Signed by Judge Rudolph Contreras on
                   January 30, 2019. (lcrc3) (Entered: 01/30/2019)
   02/01/2019       MINUTE ORDER. The parties have informed the Court that they are unavailable
                    before February 19, 2019 for a hearing on the plaintiff's 5 Motion for Preliminary
                    Injunction. Once the motion is fully briefed on February 8, 2019, the Court will
                    determine whether a hearing is necessary, and if so, the Court will contact the parties
                    to schedule a hearing on February 19, 2019 or February 20, 2019. Signed by Judge
                    Dabney L. Friedrich on February 1, 2019. (lcdlf2) (Entered: 02/01/2019)
   02/01/2019   16 Memorandum in opposition to re 5 MOTION for Preliminary Injunction filed by
                   BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND EXPLOSIVES,
                   MATTHEW WHITAKER. (Attachments: # 1 Exhibit 1 (Report of Len Savage /
                   Historic Arms LLC), # 2 Exhibit 2 (2018 OLC Opinion))(Soskin, Eric) (Entered:
                   02/01/2019)
   02/05/2019   17 AMENDED COMPLAINT against BUREAU OF ALCOHOL, TOBACCO,
                   FIREARMS, AND EXPLOSIVES, MATTHEW WHITAKER filed by OWEN
                   MONROE, DAVID CODREA, SCOTT HEUMAN. (Attachments: # 1 Exhibit ATF
                   PowerPoint Slide)(Stamboulieh, Stephen) (Entered: 02/05/2019)
   02/08/2019   18 REPLY to opposition to motion re 5 MOTION for Preliminary Injunction filed by
                   DAVID CODREA, SCOTT HEUMAN, OWEN MONROE. (Stamboulieh, Stephen)
                   (Entered: 02/08/2019)
   02/08/2019       MINUTE ORDER scheduling a hearing on the plaintiffs' 5 Motion for Preliminary
                    Injunction at 3:00 p.m. on February 19, 2019. Consistent with the plaintiffs'
                    "Statement Regarding Oral Argument" in their 18 Reply, the parties shall not present
                    any argument on the claims regarding Acting Attorney General Whitaker's
                    appointment. Signed by Judge Dabney L. Friedrich on February 8, 2019. (lcdlf2)
                    (Entered: 02/08/2019)

                                             JA014
           Case: 1:18-cv-3086 As of: 03/03/2019 05:54 PM EST 4 of 4
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   02/08/2019       Set/Reset Deadlines/Hearings: Hearing on 5 Motion for Preliminary Injunction set for
                    2/19/2019 at 3:00 PM in Courtroom 12 before Judge Dabney L. Friedrich. (zcdw)
                    (Entered: 02/12/2019)
   02/14/2019       MINUTE ORDER. The parties shall file a joint status report by 3:00 p.m. tomorrow,
                    February 15, 2019, that briefly addresses whether the confirmation of William P. Barr
                    as Attorney General affects the pending motions in this case. Signed by Judge Dabney
                    L. Friedrich on February 14, 2019. (lcdlf2) (Entered: 02/14/2019)
   02/15/2019   19 NOTICE of Appearance by Matthew J. Glover on behalf of All Defendants (Glover,
                   Matthew) (Entered: 02/15/2019)
   02/15/2019   20 Joint STATUS REPORT by DAVID CODREA, SCOTT HEUMAN, OWEN
                   MONROE. (Stamboulieh, Stephen) (Entered: 02/15/2019)
   02/19/2019       Minute Entry for proceedings held before Judge Dabney L. Friedrich: Hearing held on
                    2/19/2019 re 5 Motion for Preliminary Injunction. Motion heard and taken under
                    advisement. (Court Reporter: Sara Wick) (zcdw) (Entered: 02/22/2019)
   02/25/2019   21 ORDER denying the plaintiffs' motion for a preliminary injunction. See text for
                   details. Signed by Judge Dabney L. Friedrich on February 25, 2019. (lcdlf2) (Entered:
                   02/25/2019)
   02/25/2019   22 MEMORANDUM OPINION regarding the plaintiffs' motion for a preliminary
                   injunction. See text for details. Signed by Judge Dabney L. Friedrich on February 25,
                   2019. (lcdlf2) Modified document type on 2/26/2019 (zcdw). (Entered: 02/25/2019)
   02/25/2019       MINUTE ORDER directing the parties to propose a schedule for further proceedings
                    on or before March 18, 2019. Signed by Judge Dabney L. Friedrich on February 25,
                    2019. (lcdlf2) (Entered: 02/25/2019)
   02/25/2019   23 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 22 Order, 21 Order on Motion
                   for Preliminary Injunction by DAVID CODREA, SCOTT HEUMAN, OWEN
                   MONROE. Filing fee $ 505, receipt number 0090−5965962. Fee Status: Fee Paid.
                   Parties have been notified. (Stamboulieh, Stephen) (Entered: 02/25/2019)
   02/26/2019   24 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                   Docket Sheet to US Court of Appeals. The Court of Appeals fee was paid this date re
                   23 Notice of Appeal to DC Circuit Court. (tth) (Entered: 02/26/2019)
   02/26/2019       USCA Case Number 19−5044 for 23 Notice of Appeal to DC Circuit Court, filed by
                    SCOTT HEUMAN, OWEN MONROE, DAVID CODREA. (zrdj) (Entered:
                    02/28/2019)




                                            JA015
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


     DAMIEN GUEDES, et al.,

                  Plaintiffs,

           v.
                                                         No. 18-cv-2988 (DLF)
     BUREAU OF ALCOHOL, TOBACCO,
     FIREARMS, AND EXPLOSIVES, et al.,

                  Defendants.



     DAVID CODREA, et al.,

                  Plaintiffs,

           v.
                                                         No. 18-cv-3086 (DLF)
     WILLIAM P. BARR, 1 Attorney General, et
     al.,

                  Defendants.


                                             ORDER

          For the reasons stated in the accompanying memorandum opinion, it is

          ORDERED that plaintiff Damien Guedes’s Motion for a Preliminary Injunction, Dkt. 2,

 No. 18-cv-2988, is DENIED;

          ORDERED that plaintiff Firearms Policy Coalition’s Motion for a Preliminary

 Injunction, Dkt. 2, No. 18-cv-3083, is DENIED; and




 1
  When this suit began, Matthew G. Whitaker was the Acting Attorney General. When William
 P. Barr became Attorney General, he was automatically substituted. See Fed. R. Civ. P. 25(d).




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       ORDERED that plaintiff David Codrea’s Motion for a Preliminary Injunction, Dkt. 5,

 No. 18-cv-3086, is DENIED.



                                                        ________________________
                                                        DABNEY L. FRIEDRICH
                                                        United States District Judge
 February 25, 2019




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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


     DAMIEN GUEDES, et al.,

                  Plaintiffs,

           v.
                                                          No. 18-cv-2988 (DLF)
     BUREAU OF ALCOHOL, TOBACCO,
     FIREARMS, AND EXPLOSIVES, et al.,

                  Defendants.



     DAVID CODREA, et al.,

                  Plaintiffs,

           v.
                                                          No. 18-cv-3086 (DLF)
     WILLIAM P. BARR, 1 Attorney General, et
     al.,

                  Defendants.


                                   MEMORANDUM OPINION

          On October 1, 2017, a lone gunman fired several hundred rounds of ammunition at a

 crowd gathered for an outdoor concert in Las Vegas, killing 58 people and wounding hundreds

 more. According to the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), the

 gunman used multiple “bump stocks” in the attack, which increased his rate of fire. In response

 to this tragedy, the President, Members of Congress, and others urged ATF to reconsider its prior




 1
  When this suit began, Matthew G. Whitaker was the Acting Attorney General. When William
 P. Barr became Attorney General, he was automatically substituted. See Fed. R. Civ. P. 25(d).




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 position that a bump stock is not a “machinegun” within the meaning of the National Firearms

 Act of 1934 (NFA). On December 26, 2018, ATF issued a final rule amending the regulatory

 definition of “machinegun” to include “bump-stock-type devices.” As a result, if the rule

 becomes effective on March 26, 2019, as scheduled, bump stocks will be banned under the

 Firearms Owners’ Protection Act of 1986 (FOPA).

        To prevent the rule from taking effect, the plaintiffs—Damien Guedes, the Firearms

 Policy Coalition, David Codrea, and their co-plaintiffs—filed three motions for a preliminary

 injunction in which they raised overlapping statutory and constitutional challenges. All of the

 plaintiffs contend that ATF violated the Administrative Procedure Act (APA) when it

 promulgated the rule. Guedes also argues that ATF violated certain procedural requirements in

 18 U.S.C. § 926(b), which grants the agency rulemaking authority. Codrea further argues that

 the rule violates the Takings Clause of the Fifth Amendment. And all of the plaintiffs contend

 that then–Acting Attorney General Matthew Whitaker lacked authority to promulgate the rule

 under either the Appointments Clause of the Constitution or 28 U.S.C. § 508 (the AG Act), a

 succession statute specific to the Office of the Attorney General. Because none of the plaintiffs’

 arguments support preliminary injunctive relief, the Court will deny all three motions.

        Most of the plaintiffs’ administrative law challenges are foreclosed by the Chevron

 doctrine, which permits an agency to reasonably define undefined statutory terms. See Chevron

 v. Nat. Res. Def. Council, 467 U.S. 837 (1984). Here, Congress defined “machinegun” in the

 NFA to include devices that permit a firearm to shoot “automatically more than one shot, without

 manual reloading, by a single function of the trigger,” 26 U.S.C. § 5845(b), but it did not further

 define the terms “single function of the trigger” or “automatically.” Because both terms are

 ambiguous, ATF was permitted to reasonably interpret them, and in light of their ordinary



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 meaning, it was reasonable for ATF to interpret “single function of the trigger” to mean “single

 pull of the trigger and analogous motions” and “automatically” to mean “as the result of a self-

 acting or self-regulating mechanism that allows the firing of multiple rounds through a single

 pull of the trigger.” ATF also reasonably applied these definitions when it concluded that bump

 stocks permit a shooter to discharge multiple rounds automatically with a single function of the

 trigger. That this decision marked a reversal of ATF’s previous interpretation is not a basis for

 invalidating the rule because ATF’s current interpretation is lawful and ATF adequately

 explained the change in interpretation.

        The Court also rejects the plaintiffs’ procedural challenges. ATF adequately responded

 to the objections raised by the plaintiffs during the comment period, and ATF was not required to

 disclose evidence on which it did not rely when it promulgated the rule. Nor did ATF violate

 § 926(b) by refusing to hold an oral hearing. Finally, any error ATF may have committed by

 failing to extend the comment period by five days because of technical glitches was harmless.

        As for the Takings Clause challenge, the plaintiffs have not shown that preliminary

 injunctive relief rather than future compensation is appropriate.

        The plaintiffs’ statutory and constitutional challenges to Whitaker’s authority fare no

 better. As a statutory matter, the plaintiffs argue that the AG Act requires the Deputy Attorney

 General to serve as Acting Attorney General when there is a vacancy and that nothing in the

 Federal Vacancies Reform Act (FVRA) empowers the President to change that result. The plain

 text and structure of both statutes, however, demonstrate that they were intended to coexist: the

 AG Act provides a line of succession, and the FVRA gives the President discretion to depart

 from that line, subject to certain limitations met here.




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        As a constitutional matter, the plaintiffs argue that the Appointments Clause generally

 requires an acting principal officer to be either the principal officer’s first assistant or appointed

 by the President with the advice and consent of the Senate. But that theory is foreclosed by

 Supreme Court precedent and historical practice, both of which have long approved temporary

 service by non-Senate confirmed officials, irrespective of their status as first assistants.

        Separately, the plaintiffs argue that the Appointments Clause at a minimum requires the

 role of an acting principal officer to be filled by an inferior officer and not a mere

 employee. Whitaker, the plaintiffs contend, was not an officer because the FVRA did not

 authorize the President to “appoint” him and because his role as an acting official was

 temporary. The Court disagrees. Whitaker’s designation under the FVRA was a Presidential

 appointment. And if the temporary nature of Whitaker’s service prevented him from becoming

 an officer, then the President was not constitutionally obligated to appoint him at all.

 I.     BACKGROUND

        A. Procedural History

        On December 18, 2018, Guedes, Firearms Policy Coalition (the Coalition), Firearms

 Policy Foundation, and Madison Society Foundation filed a complaint and a motion for a

 preliminary injunction. Guedes’s Compl., Dkt. 1, No. 18-cv-2988; Guedes’s Mot., Dkt. 2, No.

 18-cv-2988. Although their complaint contained eight claims, they moved for a preliminary

 injunction only on the grounds that (1) ATF’s rule violated the APA and 18 U.S.C. § 926(b), and

 (2) Whitaker lacked authority to promulgate the bump stock rule. Compare Guedes’s Compl.,

 with Guedes’s Br., Dkt. 2-1, No. 18-cv-2988. At the parties’ request, the Court extended the

 time for briefing and held a hearing on the motion for a preliminary injunction on January 11,

 2019. Minute Order, Dec. 21, 2018, No. 18-cv-2988.



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         Less than a week after filing the motion, Guedes and the Coalition elected to pursue

 separate lawsuits. On December 26, 2018, the Coalition voluntarily dismissed its claims, Notice

 of Voluntary Dismissal at 2, Dkt. 8, No. 18-cv-2988, and Guedes filed an amended complaint

 that alleged the original eight causes of action minus the challenge to Whitaker’s authority,

 Guedes’s Am. Compl., Dkt. 9, No. 18-cv-2988. The Coalition simultaneously filed a new

 complaint in this District that elaborated on the original challenge to Whitaker’s authority and

 raised several additional claims based on Whitaker’s allegedly infirm designation as Acting

 Attorney General. See Firearms Pol’y Coal.’s Compl., Dkt. 1, No. 18-cv-3083. The Coalition

 also filed a motion for a preliminary injunction. Firearms Pol’y Coal.’s Mot., Dkt. 2, No. 18-cv-

 3083.

         In response to the recent government shutdown, the government filed unopposed motions

 to stay in each case in late December. See Gov’t’s Mot. for a Stay in Guedes, Dkt. 7, No. 18-cv-

 2988; Gov’t’s Mot. for a Stay in Firearms Pol’y Coal., Dkt. 8, No. 18-cv-3083. Both motions

 were granted. Minute Order in Guedes, Dec. 27, 2018, No. 18-cv-2988; Minute Order in

 Firearms Pol’y Coal., Dec. 27, 2018, No. 18-cv-3083.

         On January 3, 2019, Firearms Policy Coalition was transferred to the undersigned as a

 related case and, with the consent of the parties, consolidated with Guedes. See Reassignment of

 Civil Case in Firearms Pol’y Coal., Dkt. 12, No. 18-cv-3083; Minute Order in Guedes, Jan. 8,

 2019, No. 18-cv-2988. A few days later, the Court granted the plaintiffs’ motion to lift the stay

 and set a revised briefing schedule. Minute Order in Guedes, Jan. 11, 2019, No. 18-cv-2988.

         Meanwhile, on December 27, 2018, Codrea filed yet another action challenging the bump

 stock rule, and he moved for a preliminary injunction several weeks later on January 18, 2019.

 See Codrea’s Compl., Dkt. 1, No. 18-cv-3086; Codrea’s Mot., Dkt. 5, No. 18-cv-3086. Like the



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 other plaintiffs, Codrea seeks to enjoin the rule on the grounds that ATF violated the APA and

 Whitaker lacked authority to promulgate the rule. Codrea’s Br. at 13–14, Dkt. 5-1, No. 18-cv-

 3086. Codrea also argues that a preliminary injunction is appropriate because ATF violated the

 Takings Clause of the Fifth Amendment. Id. at 13. Codrea was transferred to the undersigned

 as a related case, see Reassignment of Civil Case in Codrea, Dkt. 14, No. 18-cv-3086, but at the

 request of the parties, the Court did not consolidate Codrea with Guedes.

        On February 6, 2019, the Court held a hearing in Guedes. On February 19, 2019, after

 briefing was complete, the Court held a second hearing in Codrea. This opinion resolves all

 three of the pending motions for a preliminary injunction.

        B. The Statutory Framework and Regulatory History of Bump Stock Prohibitions

        The National Firearms Act of 1934 (NFA) and the Firearm Owners Protection Act of

 1986 (FOPA) provide the statutory basis for the bump stock rule. The NFA provides the

 following definition for the term “machinegun”: 2

        The term “machinegun” means any weapon which shoots, is designed to shoot, or
        can be readily restored to shoot, automatically more than one shot, without manual
        reloading, by a single function of the trigger. The term shall also include the frame
        or receiver of any such weapon, any part designed and intended solely and
        exclusively, or combination of parts designed and intended, for use in converting a
        weapon into a machinegun, and any combination of parts from which a machinegun
        can be assembled if such parts are in the possession or under the control of a person.

 26 U.S.C. § 5845(b). Congress later passed the FOPA, which generally makes it “unlawful for

 any person to transfer or possess” a newly manufactured “machinegun,” 18 U.S.C. § 922(o), and

 incorporates the NFA’s definition of that term, 18 U.S.C. § 921(a)(23) (“The term ‘machinegun’

 has the meaning given such term in . . . the National Firearms Act.”). The FOPA also amended a


 2
   The U.S. Code uses an uncommon spelling of “machinegun.” See United States v. Carter, 465
 F.3d 658, 661 n.1 (6th Cir. 2006) (discussing the spelling of machine gun). Except when quoting
 the relevant statutes, the Court uses the more common, two-word spelling of machine gun.

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 previous grant of rulemaking authority to provide that “[t]he Attorney General may prescribe

 only such rules and regulations as are necessary to carry out the provisions of this chapter.” 18

 U.S.C. § 926(a); see also Nat’l Rifle Ass’n v. Brady, 914 F.2d 475, 478 (4th Cir. 1990)

 (discussing the statutory change). The key question here is whether the NFA’s definition of

 “machinegun” encompasses devices that are colloquially referred to as “bump stocks.”

        The parties do not dispute the basic mechanics of standard bump stock devices. A bump

 stock replaces a semiautomatic rifle’s standard stock—the part of the rifle that rests against the

 shooter’s shoulder—and enables the shooter to achieve a faster firing rate. To use a bump stock

 as intended, the shooter must maintain forward pressure on the barrel and, at the same time, pull

 the trigger and maintain rearward pressure on the trigger. Once the shooter pulls the trigger, a

 bump stock helps harness and direct the firearm’s recoil energy, thereby forcing the firearm to

 shift back and forth, each time “bumping” the shooter’s stationary trigger finger. In this way, the

 shooter is able to reengage the trigger without additional physical manipulation, though the

 process may cause small involuntary movements of the trigger finger.

        ATF first began to regulate bump stocks in 2006 when it determined that the term

 “machinegun” encompassed the “Akins Accelerator,” a specific bump stock model with an

 internal spring that pushed the firearm forward after the shooter pulled the trigger. See Akins v.

 United States, 312 F. App’x 197, 198 (11th Cir. 2009) (per curiam). ATF initially determined in

 2002 and again in 2004 that the Akins Accelerator did not qualify as a “machinegun” because it

 did not permit a shooter to discharge multiple rounds with a “single function of the trigger.” Id.

 at 199. But the agency reversed course in 2006, when it reinterpreted a “single function of the

 trigger” to mean a “single pull of the trigger.” Id. at 200. Under that new interpretation, ATF

 determined that the Akins Accelerator qualified as a “machinegun” because the device enabled



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 the shooter to discharge multiple rounds with only one “pull,” even though the trigger

 mechanically reset between rounds. Id. The Eleventh Circuit later upheld ATF’s decision,

 reasoning that ATF’s interpretation of “single function of the trigger” was “consonant with the

 [NFA] and its legislative history.” Id.

        For years, ATF declined to classify as “machineguns” other standard bump stock models

 that did not include an internal spring. 83 Fed. Reg. at 66517. ATF reasoned that, although

 standard bump stock devices permit a shooter to discharge multiple rounds with a single function

 of the trigger, they do not operate “automatically.” Id. But ATF’s interpretation of the term

 “automatically” remained unclear. At times, ATF focused on whether a given bump stock

 device “initiate[d] an automatic firing cycle that continue[d] until either the finger [wa]s released

 or the ammunition supply [wa]s exhausted.” Id. at 66518 (internal quotation marks omitted).

 Other times, it focused on whether the device had “automatically functioning mechanical parts or

 springs” or “performed . . . mechanical functions when installed.” Id. (alterations adopted and

 internal quotation marks omitted).

        C. The Final Bump Stock Rule

        The call for action in the wake of the 2017 mass shooting in Las Vegas, Nevada was

 immediate and widespread. Members of Congress and others requested that ATF reconsider its

 position with respect to standard bump stock devices. Id. at 66516. And after ATF issued an

 Advance Notice of Proposed Rulemaking, President Trump released a memorandum urging the

 Attorney General, “as expeditiously as possible, to propose for notice and comment a rule

 banning all devices that turn legal weapons into machineguns.” Id. at 66517 (quoting

 Application of Machinegun to ‘Bump Fire’ Stocks and Other Similar Devices, 83 Fed. Reg. 7949

 (Feb. 20, 2018)).



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         On March 29, 2018, ATF proposed the bump stock rule and formally provided the public

 with 90 days, as required by 18 U.S.C. § 926(b), to submit written comments online, by mail, or

 by facsimile. Bump-Stock-Type Devices, 83 Fed. Reg. at 13442 (proposed Mar. 29, 2018). The

 first few days of the comment period did not go smoothly. According to Guedes, several

 commenters faced technological difficulties that prevented them from submitting online

 comments. Guedes’s Br. at 22–25. Some online users, for example, received a “Comment

 Period Closed” notification on the proposed rule’s FederalRegister.gov page—though the page

 also included a contradictory notice stating that the proposed rule had a comment period that

 would end several days in the future. Guedes’s Am. Compl. Ex. A, at 14, Dkt. 9-1, No. 18-cv-

 2988. Meanwhile, a search for “bump stock” on another rulemaking website, Regulations.gov,

 directed commenters to the correct page, and ATF did in fact receive comments submitted during

 the first few days of the comment period. 83 Fed. Reg. at 66542. In addition to submitting

 written comments, a few of the plaintiffs sought an opportunity to participate in a public, oral

 hearing, Guedes’s Br. at 6, but ATF refused those requests, 83 Fed. Reg. at 66542. ATF

 explained that “a public hearing would [not] meaningfully add data or information” that would

 assist the agency in drafting the final rule. Id.

         In the final rule published on December 26, 2018, ATF reversed its earlier position and

 concluded that a standard bump stock device is a “machinegun” as defined in the NFA. Id. at

 66543, 66553. Consistent with its 2006 Akins Accelerator determination, ATF interpreted the

 term “single function of the trigger” to mean a “single pull of the trigger.” Id. at 66553. ATF

 also interpreted “automatically” to mean “as the result of a self-acting or self-regulating

 mechanism that allows the firing of multiple rounds through a single pull of the trigger.” Id.

 Based on these definitions, ATF added a sentence to the regulatory definition of “machinegun”



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 to make clear that the term “machinegun” in the NFA includes “bump-stock-type device[s],”

 which “allow[] a semi-automatic firearm to shoot more than one shot with a single pull of the

 trigger by harnessing the recoil energy of the semi-automatic firearm to which it is affixed so that

 the trigger resets and continues firing without additional physical manipulation of the trigger by

 the shooter.” Id. at 66553–54. Under the rule, “current possessors” of bump stocks must either

 destroy them or abandon them at an ATF office. Id. at 66530. The rule is set to become

 effective on March 26, 2019.

        D. The Constitutional and Statutory Framework for the Designation of Acting
           Attorneys General

        The Constitution’s Appointments Clause provides that the President “shall appoint . . .

 Officers of the United States” “by and with the Advice and Consent of the Senate,” but “the

 Congress may by Law vest the Appointment of such inferior Officers, as they think proper, in the

 President alone, in the Courts of Law, or in the Heads of Departments.” U.S. Const. art. II, § 2,

 cl. 2. The Constitution does not provide clear guidance about whether and when an individual

 may temporarily serve as an acting principal officer without Senate confirmation. Instead, a

 series of statutes provide the primary framework for the designation of acting officers. See

 NLRB v. SW Gen., 137 S. Ct. 929, 934 (2017).

        In 1868, Congress enacted the first Vacancies Act, a predecessor to the Federal

 Vacancies Reform Act (FVRA). Act of July 23, 1868, ch. 227, 15 Stat. 168 (1868). The

 Vacancies Act, which established the basic statutory framework that continues to operate today,

 created a default rule that in the case of a vacancy “of the head of any executive department of

 the government, the first or sole assistant thereof shall . . . perform the duties of such head until a

 successor be appointed, or such absence or sickness shall cease.” Id. § 1, 15 Stat. at 168. But the

 Vacancies Act also permitted the President to override that first-assistant default rule and


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 designate another Senate-confirmed official to serve temporarily on an acting basis. Id. § 3; see

 also SW Gen., 137 S. Ct. at 935. Until recently, with the enactment of the modern FVRA, the

 President could not invoke the override authority established in the Vacancies Act to designate

 an Acting Attorney General; the first-assistant default rule always applied. 5 U.S.C. § 3347

 (1994) (providing that the President’s authority to designate acting officials under the FVRA

 “d[id] not apply to a vacancy in the office of the Attorney General”).

         In addition to the Vacancies Act, Congress has enacted a series of agency-specific

 statutes, including the AG Act, 28 U.S.C. § 508. The AG Act provides that “[i]n case of a

 vacancy in the office of Attorney General, or of his absence or disability, the Deputy Attorney

 General may exercise all the duties of that office, and for the purpose [of the first-assistant

 default rule] the Deputy Attorney General is the first assistant to the Attorney General.” Id.

 § 508(a). The AG Act then provides a further order of succession: “When by reason of absence,

 disability, or vacancy in office, neither the Attorney General nor the Deputy Attorney General is

 available to exercise the duties of the office of Attorney General, the Associate Attorney General

 shall act as Attorney General,” and “[t]he Attorney General may designate the Solicitor General

 and the Assistant Attorneys General, in further order of succession, to act as Attorney General.”

 Id. § 508(b).

         In 1998, Congress enacted the FVRA. Like the earlier Vacancies Act, the FVRA

 includes a first-assistant default rule, but it permits the President to override that rule in one of

 two ways. 5 U.S.C. § 3345(a)(1). First, “the President . . . may direct a person who serves in an

 office for which appointment is required to be made by the President, by and with the advice and

 consent of the Senate, to perform the functions and duties of the vacant office temporarily.” Id.

 § 3345(a)(2). Second, “the President . . . may direct an officer or employee of such Executive



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 agency to perform the functions and duties of the vacant office temporarily” if that individual has

 served in the agency for at least 90 days in the 365–day period preceding the vacancy in a

 position that receives pay “equal to or greater than the minimum rate of pay payable for a

 position at GS-15 of the General Schedule.” Id. § 3345(a)(3). In a break from the earlier

 Vacancies Act, the FVRA also eliminated the exception for the Office of the Attorney General,

 so the President can override the first-assistant default rule even for that Office. Compare 5

 U.S.C. § 3347 (1994), with 5 U.S.C. § 3347 (2018). And the FVRA increased the amount of

 time during which an acting official may serve to 210 days, subject to certain statutory

 exceptions. See id. § 3346; see also SW Gen., 137 S. Ct. at 935–36.

        The FVRA includes an exclusivity provision that explains how the FVRA interacts with

 agency-specific statutes like the AG Act. Under § 3347(a), the FVRA is “the exclusive means

 for temporarily authorizing an acting official to perform the functions and duties of any office of

 an Executive agency . . . for which appointment is required to be made by the President, by and

 with the advice and consent of the Senate, unless . . . a statutory provision expressly” either

 “authorizes the President, a court, or the head of an Executive department, to designate an officer

 or employee” to serve in an acting capacity or “designates an officer or employee” to serve in an

 acting capacity. 5 U.S.C. § 3347(a).

        E. The Designation of Matthew Whitaker to Serve as Acting Attorney General

        On November 7, 2018, the Attorney General, Jefferson B. Sessions, III, resigned.

 Guedes’s Compl. ¶ 50–51. The next day, the President invoked his authority under the FVRA

 and “directed” Whitaker, then the Attorney General’s Chief of Staff, to “perform the functions

 and duties of the office of Attorney General, until the position is filled by appointment or

 subsequent designation.” Firearms Pol’y Coal.’s Mot. App. A, Dkt. 2-2, No. 18-cv-3083.

 Whitaker served as Acting Attorney General until Barr was confirmed as Attorney General on
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 February 15, 2019. See 165 Cong. Rec. S1397 (daily ed. Feb. 14, 2019). While serving as

 Acting Attorney General, Whitaker issued the bump stock rule at issue here. See 83 Fed. Reg. at

 66554.

 II.      LEGAL STANDARDS

          A. Preliminary Injunctions

          A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

 clear showing that the plaintiff is entitled to such relief.” Sherley v. Sebelius, 644 F.3d 388, 392

 (D.C. Cir. 2011) (quoting Winter v. Nat. Res. Def. Council, 555 U.S. 7, 22 (2008)). To prevail, a

 party seeking preliminary relief must make a “clear showing that four factors, taken together,

 warrant relief: likely success on the merits, likely irreparable harm in the absence of preliminary

 relief, a balance of the equities in its favor, and accord with the public interest.” League of

 Women Voters v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016) (internal quotation marks omitted). If

 the plaintiff fails to establish a likelihood of success on the merits, the court “need not proceed to

 review the other three preliminary injunction factors.” Ark. Dairy Coop. Ass’n v. U.S. Dep’t of

 Agric., 573 F.3d 815, 832 (D.C. Cir. 2009). The plaintiff cannot prevail without a “substantial

 indication of likely success on the merits.” Archdiocese of Wash. v. Wash. Metro. Area Transit

 Auth., 281 F. Supp. 3d 88, 99 (D.D.C. 2017) (“[A]bsent a substantial indication of likely success

 on the merits, there would be no justification for the Court’s intrusion into the ordinary processes

 of administration and judicial review.” (internal quotation marks omitted)), aff’d, 897 F.3d 314

 (D.C. Cir. 2018).

          B. Judicial Review of Agency Action

          The APA provides that a court must “hold unlawful and set aside agency action, findings,

 and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

 accordance with law.” 5 U.S.C. § 706(2). Under the familiar Chevron framework, “[i]f

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 Congress has directly spoken to [an] issue, that is the end of the matter.” Confederated Tribes of

 Grand Ronde Cmty. v. Jewell, 830 F.3d 552, 558 (D.C. Cir. 2016) (discussing Chevron, 467 U.S.

 837). “[T]he court, as well [as] the agency, must give effect to the unambiguously expressed

 intent of Congress.” Lubow v. U.S. Dep’t of State, 783 F.3d 877, 884 (D.C. Cir. 2015) (quoting

 Chevron, 467 U.S. at 842–43). But if the text is silent or ambiguous, courts must “determine if

 the agency’s interpretation is permissible, and if so, defer to it.” Confederated Tribes of Grand

 Ronde Cmty., 830 F.3d at 558. “This inquiry, often called Chevron Step Two, does not require

 the best interpretation, only a reasonable one.” Van Hollen, Jr. v. FEC, 811 F.3d 486, 492 (D.C.

 Cir. 2016) (internal quotation marks omitted); see also id. (“We are bound to

 uphold agency interpretations regardless [of] whether there may be other reasonable, or even

 more reasonable, views.” (alteration adopted and internal quotation marks omitted)).

        Further, even when an interpretation is reasonable under Chevron, “agency action is

 always subject to arbitrary and capricious review under the APA.” Confederated Tribes of

 Grand Ronde Cmty., 830 F.3d at 559. An interpretation is arbitrary and capricious if the agency

 “relied on factors that Congress has not intended it to consider, entirely failed to consider an

 important aspect of the problem, offered an explanation” that “runs counter to the evidence

 before the agency, or is so implausible that it could not be ascribed to a difference in view or the

 product of agency expertise.” Agape Church v. FCC, 738 F.3d 397, 410 (D.C. Cir. 2013)

 (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983)). Put

 simply, “[t]he agency must ‘articulate a satisfactory explanation for its action including a rational

 connection between the facts found and the choice made.’” Nat’l Lifeline Ass’n v. FCC, No. 18-

 1026, 2019 WL 405020, at *5 (D.C. Cir. Feb. 1, 2019) (quoting State Farm, 463 U.S. at 43).




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        Often the inquiry under Chevron Step Two overlaps with arbitrary and capricious review

 because “under Chevron step two, the court asks whether an agency interpretation is arbitrary

 and capricious in substance.” Agape Church, 738 F.3d at 410 (alteration adopted) (quoting

 Judulang v. Holder, 565 U.S. 42, 52 n.7 (2011)). At bottom, a reviewing court must decide

 whether an agency action is “within the scope of [the agency’s] lawful authority” and supported

 by “reasoned decisionmaking.” Tripoli Rocketry Ass’n v. ATF, 437 F.3d 75, 77 (D.C. Cir. 2006)

 (internal quotation marks omitted); see also id. (“Not only must an agency’s decreed result be

 within the scope of its lawful authority, but the process by which it reaches that result must be

 logical and rational.” (internal quotation marks omitted)).

        When an agency changes its position, it must “display awareness” of the change, but it is

 not required to meet a “heightened standard for reasonableness.” Mary V. Harris Found. v.

 FCC, 776 F.3d 21, 24 (D.C. Cir. 2015) (internal quotation marks omitted). “A reasoned

 explanation is needed for disregarding facts and circumstances that underlay or were engendered

 by the prior policy.” Nat’l Lifeline Ass’n, 2019 WL 405020, at *6 (alteration adopted and

 internal quotation marks omitted). But “[s]o long as any change is reasonably explained, it is not

 arbitrary and capricious for an agency to change its mind in light of experience, or in the face of

 new or additional evidence, or further analysis or other factors indicating that [an] earlier

 decision should be altered or abandoned.” New England Power Generators Ass’n v. FERC, 879

 F.3d 1192, 1201 (D.C. Cir. 2018). Put differently, the agency need only “show that the new

 policy is permissible under the statute, that there are good reasons for it, and that the agency

 believes it to be better” than the previous policy. Mary V. Harris Found., 776 F.3d at 24–25

 (emphasis and internal quotation marks omitted).




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 III.   ANALYSIS

        None of the plaintiffs’ challenges merit preliminary injunctive relief: the plaintiffs are

 unlikely to succeed on the merits of their administrate law challenges; preliminary injunctive

 relief is not available for Codrea’s Takings Clause challenge; and the plaintiffs are unlikely to

 succeed on the merits of their statutory and constitutional challenges to the authority of then–

 Acting Attorney General Whitaker.

        A. Likely Success on the Merits of the Plaintiffs’ Administrative Law Challenges

        The Court considers and rejects each of the plaintiffs’ administrative law challenges in

 turn. First, it determines that ATF reasonably interpreted and applied the NFA’s definition of

 “machinegun.” Second, it explains that the agency did not violate the APA either by reversing

 its previous position that bump stocks were not machine guns or by failing to provide its

 previous interpretations in the rulemaking docket. Third, it explains that ATF did not deny

 commenters a meaningful opportunity to comment or adequate responses to their comments.

 Finally, it concludes that ATF did not violate 18 U.S.C. § 926(b) by refusing to hold an oral

 hearing and that any error it may have made by refusing to extend the comment period by five

 days was harmless.

        1.      ATF’s Interpretation of the NFA’s Definition of “Machinegun”

        As noted, the NFA defines “machinegun” as follows:

        The term “machinegun” means any weapon which shoots, is designed to shoot, or
        can be readily restored to shoot, automatically more than one shot, without manual
        reloading, by a single function of the trigger. The term shall also include the frame
        or receiver of any such weapon, any part designed and intended solely and
        exclusively, or combination of parts designed and intended, for use in converting a
        weapon into a machinegun, and any combination of parts from which a machinegun
        can be assembled if such parts are in the possession or under the control of a person.

 26 U.S.C. § 5845(b) (emphases added). Congress did not shed further light on the definition of

 “machinegun” in 1934, when it enacted the NFA, or in 1986, when it incorporated the NFA’s

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 definition into the FOPA, see 18 U.S.C. § 921(a)(23) (“The term ‘machinegun’ has the meaning

 given such term in . . . the National Firearms Act.”).

        Invoking its general rulemaking authority under § 926(a), ATF promulgated the bump

 stock rule based on its interpretation of “single function of the trigger” and “automatically,” two

 terms that Congress left undefined. ATF defined the phrase “single function of the trigger” to

 mean a “single pull of the trigger and analogous motions.” 83 Fed. Reg. at 66553. And it

 defined “automatically” to mean “functioning as the result of a self-acting or self-regulating

 mechanism that allows the firing of multiple rounds through a single function of the trigger.” Id.

 Applying these definitions, it added a sentence to the regulatory definition of “machinegun” that

 explicitly states that the term “includes a bump-stock-type device,” which “allows a semi-

 automatic firearm to shoot more than one shot with a single pull of the trigger by harnessing the

 recoil energy of the semi-automatic firearm to which it is affixed so that the trigger resets and

 continues firing without additional physical manipulation of the trigger by the shooter.” Id. at

 66553–54.

        The plaintiffs suggest that ATF lacked the authority to state explicitly that the NFA’s

 definition of “machinegun” includes bump stocks, and they take particular issue with the

 possibility that policy considerations may have influenced ATF’s legal interpretation. Guedes’s

 Br. at 17; Guedes’s Reply at 3–5, Dkt. 5-1, No. 18-cv-2988; Codrea’s Br. at 4; Codrea’s Reply at

 6–7, Dkt. 18, No. 18-3086. But these arguments are premised on a misunderstanding of the

 Chevron doctrine. Under Chevron, courts “presume that when an agency-administered statute is

 ambiguous with respect to what it prescribes, Congress has empowered the agency to resolve the

 ambiguity.” Util. Air Regulatory Grp. v. EPA, 573 U.S. 302, 315 (2014). Agencies are therefore

 entitled to deference when they reasonably define ambiguous terms—including ambiguous terms



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 in a statutory definition—and apply those terms to new circumstances. See Loving v. IRS, 742

 F.3d 1013, 1016 (D.C. Cir. 2014) (“Under Chevron, we must accept an agency’s authoritative

 interpretation of an ambiguous statutory provision if the agency’s interpretation is reasonable.”);

 see also, e.g., Whitaker v. Thompson, 353 F.3d 947, 950–52 (D.C. Cir. 2004) (deferring to the

 Food and Drug Administration’s interpretation of statutory definitions in the Federal Food, Drug,

 and Cosmetic Act). Courts must defer even when agencies “make policy choices in interpreting

 [a] statute,” “as long as [they] stay[] within [Congress’] delegation [of authority].” Arent v.

 Shalala, 70 F.3d 610, 615 (D.C. Cir. 1995); see also Mayo Found. for Med. Educ. & Research v.

 United States, 562 U.S. 44, 55–56 (2011) (“Chevron recognized that the power of an

 administrative agency to administer a congressionally created program necessarily requires the

 formulation of policy and the making of rules to fill any gap left, implicitly or explicitly, by

 Congress.” (alterations adopted and internal quotation marks omitted)).

         That is why courts have regularly recognized ATF’s authority to interpret and apply the

 statutes that it administers, including the NFA’s definition of “machinegun.” See, e.g., Akins,

 312 F. App’x at 200 (deferring to ATF’s decision to classify the Akins Accelerator as a machine

 gun); see also York v. Sec’y of Treasury, 774 F.2d 417, 419–20 (10th Cir. 1985) (upholding

 ATF’s decision to classify a particular firearm as a machine gun); cf. Brady, 914 F.2d at 480

 (holding that ATF has discretion to define the term “business premises” in another firearms

 statute).

         The question is therefore not whether ATF considered the policy implications when it

 formulated the bump stock rule, but whether ATF exceeded its authority by either contravening




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 the plain meaning of the NFA under Step One of the Chevron doctrine or adopting an

 unreasonable interpretation of ambiguous terms under Step Two. 3

        To determine “whether a statute is ambiguous” and “ultimately . . . whether [an] agency’s

 interpretation is permissible or instead is foreclosed by the statute,” courts “employ all the tools

 of statutory interpretation.” Loving, 742 F.3d at 1016. Most importantly, courts “interpret the

 words [of a statute] consistent with their ordinary meaning at the time Congress enacted the

 statute.” Wisconsin Cent. Ltd. v. United States, 138 S. Ct. 2067, 2070 (2018) (alteration adopted

 and internal quotation marks omitted); see also Antonin Scalia & Bryan A. Garner, Reading

 Law: The Interpretation of Legal Texts 78 (2012) (“Words must be given the meaning they had

 when the text was adopted.”). Generally, courts rely on dictionaries from the time statutes

 became law to interpret the words of a statute. See MCI Telecomms. Corp. v. AT&T, 512 U.S.

 218, 228 (1994); PHH Corp. v. CFPB, 881 F.3d 75, 130 (D.C. Cir. 2018) (en banc) (Griffith, J.,

 concurring in the judgment) (collecting cases demonstrating that the Supreme Court “generally

 begins [an interpretive task] with dictionaries”).

                a. A “Single Function of the Trigger”

        Unfortunately, dictionaries from the time of the NFA’s enactment are of little help in

 defining a “single function of the trigger.” The 1933 version of Webster’s New International



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   Despite ATF’s clear authority to interpret and administer the NFA and the FOPA, Guedes
 suggests that the congressional findings in the FOPA limit ATF’s authority to interpret the
 definition of “machinegun.” Guedes’s Br. at 14–15. The general findings to which Guedes
 refers do not come close to stripping ATF of its authority to define terms included in the
 statutory definition of “machinegun”—a type of firearm expressly banned with few exceptions
 by the FOPA. 18 U.S.C. § 922(o). And even if the findings were more concrete and specific to
 the issues presented here, a “statement of congressional findings is a rather thin reed upon which
 to base a requirement . . . neither expressed nor . . . fairly implied in the operative sections of [a
 statute].” Nat’l Org. for Women v. Scheidler, 510 U.S. 249, 260 (1994).



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 Dictionary defines “function” as “[t]he natural and proper action of anything.” Webster’s New

 International Dictionary 876 (1933). Similarly, the 1933 Oxford English Dictionary defines the

 term to mean “[t]he special kind of activity proper to anything; the mode of action by which it

 fulfills its purpose.” 4 Oxford English Dictionary 602 (1933). Neither definition sheds any light

 on the key question here: whether, as the plaintiffs argue, a “single function of the trigger” means

 a mechanical act of the trigger, or whether, as ATF argued in the rule, a “single function of the

 trigger” means a single pull of the trigger from the perspective of the shooter. Under the first

 interpretation, each trigger function ends when the trigger resets. Under the second

 interpretation, a single act by the shooter—a single pull—is a “function.” Because the statute

 does not provide any additional guidance on the correct interpretation, the Court concludes that

 the term is ambiguous.

        The question then becomes whether ATF’s interpretation was reasonable. To be sure, the

 interpretation offered by the plaintiffs is reasonable. But the same is true of ATF’s

 interpretation. Indeed, in 2009, the Eleventh Circuit upheld ATF’s decision to treat Akins

 Accelerators as machine guns because “a single application of the trigger by a gunman”—a

 single pull—caused the gun with the affixed bump stock to “fire continuously . . . until the

 gunman release[d] the trigger or the ammunition [wa]s exhausted.” Akins, 312 F. App’x at 200.

        Tellingly, courts have instinctively reached for the word “pull” when discussing the

 statutory definition of “machinegun.” The Supreme Court, for example, has explained that the

 statutory definition encompasses a weapon that “fires repeatedly with a single pull of the

 trigger,” meaning “once its trigger is depressed, the weapon will automatically continue to fire

 until its trigger is released or the ammunition is exhausted.” Staples v. United States, 511 U.S.

 600, 602 n.1 (1994) (emphasis added). The Court then contrasted automatic machine guns with



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 semiautomatic weapons that “fire[] only one shot with each pull of the trigger” and “require[] no

 manual manipulation by the operator to place another round in the chamber after each round is

 fired.” Id. Likewise, the Tenth Circuit has held that a uniquely designed firearm was “a machine

 gun within the statutory definition” because “the shooter could, by fully pulling the trigger, and it

 only, at the point of maximum leverage, obtain automation with a single trigger function.”

 United States v. Oakes, 564 F.2d 384, 388 (10th Cir. 1977) (emphasis added).

        Based on the above contemporaneous dictionary definitions and court decisions, the

 Court concludes that ATF acted reasonably in defining the phrase “single function of the trigger”

 to mean a “single pull of the trigger and analogous motions.” 83 Fed. Reg. at 66553.

                b. “Automatically”

        Dictionary definitions of “automatically” are only marginally more helpful. The 1933

 Webster’s New International Dictionary provides that “automatically” is the adverbial form of

 “automatic,” Webster’s New International Dictionary, supra, at 157, and it defines the related,

 adjectival form as “self-acting or self-regulating,” especially as applied “to machinery or devices

 which perform parts of the work formerly or usually done by hand,” id. at 156. The 1933 Oxford

 English Dictionary likewise defines “automatic” as “[s]elf-acting under conditions fixed for it,

 going of itself,” especially as applied to “machinery and its movements, which produce results

 otherwise done by hand.” 1 Oxford English Dictionary, supra, at 574. Applying these

 definitions to the NFA’s definition of “machinegun,” the Seventh Circuit concluded that the

 “adverb ‘automatically,’ as it modifies the verb ‘shoots,’ delineates how the discharge of

 multiple rounds from a weapon occurs: as the result of a self-acting mechanism . . . that is set in

 motion by a single function of the trigger and is accomplished without manual reloading.”

 United States v. Olofson, 563 F.3d 652, 658 (7th Cir. 2009) (footnote omitted). Consistent with

 these contemporaneous dictionary definitions and the Seventh Circuit’s decision in Olofson, ATF
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 correctly defined “automatically” to mean “functioning as the result of a self-acting or self-

 regulating mechanism that allows the firing of multiple rounds through a single function of the

 trigger.” 83 Fed. Reg. at 66553.

        But even this definition retains a key ambiguity: how much of the “work formerly or

 usually done by hand” must be performed by the “self-acting or self-regulating device” for the

 automatic label to apply? Webster’s New International Dictionary, supra, at 156. According to

 Webster’s New International Dictionary, the “automatic” label applies when a device performs

 only “parts”—not all—of the work otherwise performed by hand. Id. And that definition

 comports with everyday experience. Automatic devices regularly require some degree of manual

 input. An automatic sewing machine, for example, still requires the user to press a pedal and

 direct the fabric. Because the statute does not specify how much manual input is too much, the

 Court concludes that the term “automatically” is ambiguous, with or without the gloss added by

 the rule. And as discussed below, ATF reasonably interpreted this ambiguous term to describe

 bump stocks.

                c. ATF’s Application of the NFA’s Definition of “Machinegun” to Bump Stocks

        After defining a “single function of the trigger” to mean a “single pull of the trigger” and

 “automatically” to mean “functioning as the result of a self-acting or self-regulating mechanism

 that allows the firing of multiple rounds through a single function of the trigger,” 83 Fed. Reg. at

 66553, ATF added a sentence to the regulatory definition of “machinegun” to clarify that ATF

 considered bump stocks to be machine guns, id. at 66553–54. The plaintiffs advance two

 primary arguments to attack the reasonableness of this interpretation. Neither is persuasive.

        First, the plaintiffs suggest that bump stocks do not operate with a “single function of the

 trigger” because a shooter must still “manipulate” the trigger to discharge multiple rounds.

 Unless the trigger makes repeated contact with the shooter’s finger, they assert, the firearm will
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 not reset between rounds and fire multiple times. Guedes’s Reply at 14; see also id. at 12;

 Codrea’s Br. at 16. Repackaging the same argument, Guedes further argues that ATF’s

 interpretation would bring all “semiautomatic” rifles, as that term is defined by statute, within the

 NFA’s definition of “machinegun.” Guedes’s Reply at 5–6. In support, Guedes cites the Crime

 Control Act of 1990, which defines “semiautomatic rifle” to mean “any repeating rifle which

 utilizes a portion of the energy of a firing cartridge to extract the fired cartridge case and

 chamber the next round, and which requires a separate pull of the trigger to fire each cartridge.”

 Pub. L. No. 101-647, § 2204(a)(28), 104 Stat. 4789, 4857 (Nov. 29, 1990) (codified at 18 U.S.C.

 § 921(a)(28)).

        The Court concludes that it was reasonable for ATF to determine that a bump stock

 operates with a single “pull” of the trigger because a bump stock permits the shooter to discharge

 multiple rounds by, among other things, “maintaining the trigger finger on the device’s extension

 ledge with constant rearward pressure.” 83 Fed. Reg. at 66532 (internal quotation marks

 omitted). Although operating a bump stock may cause slight movements of the trigger finger, it

 does not require a shooter to consciously and repeatedly exert force to depress the trigger

 multiple times. After the initial exertion of force, a shooter is able to discharge multiple rounds

 by maintaining constant pressure on the trigger. And contrary to Guedes’s claim, ATF’s

 determination will not bring all semiautomatic rifles within the NFA’s definition of

 “machinegun” because, without a bump stock or similar device attached, semiautomatic rifles do

 “require[] a separate pull of the trigger to fire each cartridge.” 18 U.S.C. § 921(a)(28).

        Second, the plaintiffs argue that ATF acted unreasonably because a bump stock does not

 operate “automatically.” See, e.g., Codrea’s Reply at 12–13. Although this is a closer question,

 the Court also concludes that it was reasonable for ATF to determine that a bump stock relieves a



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 shooter of enough of the otherwise necessary manual inputs to warrant the “automatic” label. To

 be sure, a firearm with an affixed bump stock requires some manual inputs: the shooter must

 “maintain[] constant forward pressure with the non-trigger hand on the barrel-shroud or fore-grip

 of the rifle, and maintain[] the trigger finger on the device’s extension ledge with constant

 rearward pressure.” 83 Fed. Reg. at 66532 (internal quotation marks omitted). But as noted, the

 definition of “automatically” does not mean that an automatic device must operate spontaneously

 without any manual input. ATF reasoned that a bump stock permits a firearm to function

 automatically by “directing the recoil energy of the discharged rounds into the space created by

 the sliding stock . . . in constrained linear rearward and forward paths” so that the shooter can

 maintain a “continuous firing sequence.” Id. at 66532 (internal quotation marks omitted). And it

 explained that “without [such a] device,” the shooter would have to “manually capture, harness,

 or otherwise utilize th[e] [recoil] energy to fire additional rounds” and “bump fire” a gun. Id. In

 other words, the bump stock makes it easier to bump fire because it controls the distance the

 firearm recoils and ensures that the firearm moves linearly—two tasks the shooter would

 ordinarily have to perform manually. In this way, a bump stock creates a “self-acting

 mechanism” that permits “the discharge of multiple rounds” with “a single function of the trigger

 . . . without manual reloading.” Olofson, 563 F.3d at 658 (defining the term “automatically” in

 the NFA’s definition of “machinegun”).

        Of course, even if an interpretation is reasonable under Chevron, all final agency actions

 must still survive review under the APA’s arbitrary and capricious standard. See Confederated

 Tribes of Grand Ronde Cmty., 830 F.3d at 559. Often, “[t]he analysis of disputed agency action

 under Chevron Step Two and arbitrary and capricious review is . . . ‘the same, because under

 Chevron [S]tep [T]wo, the court asks whether an agency interpretation is arbitrary or capricious



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 in substance.’” Agape Church, 738 F.3d at 410 (alteration adopted) (quoting Judulang, 565 U.S.

 at 52 n.7). But in addition to the substantive reasonableness already addressed, the arbitrary and

 capricious standard also requires an agency to “articulate a satisfactory explanation for its action

 including a rational connection between the facts found and the choice made.” Nat’l Lifeline

 Ass’n, 2019 WL 405020, at *5. The Court therefore turns to the plaintiffs’ remaining challenges

 to the adequacy of ATF’s explanation for the bump stock rule.

        2.      ATF’s Treatment of Prior Interpretations

        The plaintiffs characterize ATF’s new position as an unlawful departure from its previous

 interpretations, which excluded standard bump stocks from the NFA’s definition of

 “machinegun.” See, e.g., Guedes’s Br. at 12–14, 19, 26–27, 30–31; Codrea’s Reply at 12; see

 also generally Guedes’s Compl. Ex. B, Dkt. 22-1, No. 18-cv-2988. Guedes further challenges

 the lawfulness of ATF’s rulemaking process on the ground that ATF failed to make public its

 previous interpretations. See Guedes’s Br. at 21; Guedes’s Reply at 7–8. Neither argument is

 persuasive.

        It is well established that an agency may change its prior policy if “the new policy [is]

 permissible under the statute, and the agency . . . acknowledge[s] it is changing its policy and

 show[s] that there are good reasons for the new policy and that the agency believes it to be

 better, which the conscious change of course adequately indicates.” Nat’l Lifeline Ass’n, 2019

 WL 405020, at *6 (emphasis and internal quotation marks omitted); see also Mary V. Harris

 Found., 776 F.3d at 24 (“What the [agency] did in the past is of no moment . . . if its current

 approach reflects a permissible interpretation of the statute.”). ATF acknowledged in the final

 rule that it was “reconsider[ing] and rectify[ing]” its previous classification decisions based on

 its legal analysis of the statutory terms “automatically” and “single function of the trigger.” 83

 Fed. Reg. at 66516 (quoting Akins, 312 F. App’x at 200). It discussed the history of its
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 regulation of Akins Accelerators and the Eleventh Circuit’s decision in Akins. Id. at 66517. It

 also explained that it had previously determined that “semiautomatic firearms modified with

 [standard] bump-stock-type devices did not fire ‘automatically,’ and thus were not

 ‘machineguns.’” Id. at 66516. The mass shooting in Las Vegas then prompted ATF to

 reconsider its prior interpretations, id. at 66528–29, none of which provided “extensive legal

 analysis of the statutory terms ‘automatically’ or ‘single function of the trigger,’” id. at 66516.

 Accordingly, ATF reviewed dictionary definitions of “automatically,” relevant judicial

 decisions—including Staples, Olofson, and Akins—and the NFA’s legislative history to

 determine whether standard bump stocks constitute machine guns. Id. at 66518–19. It then

 concluded that its previous interpretations “did not reflect the best interpretation of

 ‘machinegun,’” id. at 66514, and that the rule’s interpretations of “automatically” and “single

 function of the trigger” better “accord with the plain meaning of those terms,” id. at 66527. This

 record reveals that ATF satisfied its obligation to “reasonably explain[]” its change of position.

 New England Power Generators Ass’n, 879 F.3d at 1201.

        Guedes’s argument that ATF was required to release its previous interpretations as part of

 the rulemaking process is no more persuasive. True, the APA requires agencies to “ma[k]e

 public in the proceeding and expose[] to refutation” “the most critical factual material that is

 used to support the agency’s position on review.” Chamber of Commerce v. SEC, 443 F.3d 890,

 900 (D.C. Cir. 2006) (internal quotation marks omitted); see also, e.g., Conn. Light & Power Co.

 v. Nuclear Regulatory Comm’n, 673 F.2d 525, 530–31 (D.C. Cir. 1982) (“An agency commits

 serious procedural error when it fails to reveal portions of the technical basis for a proposed rule

 in time to allow for meaningful commentary.”). But ATF’s explanations for its prior legal

 interpretations are not “critical factual material[s]” that were “used to support the agency’s



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 position.” Chamber of Commerce, 443 F.3d at 900 (internal quotation marks omitted). This

 case does not turn on any factual dispute; the parties agree about how a bump stock operates.

 And ATF’s prior legal interpretations contradict rather than support its current interpretation.

 Thus, ATF was not required to release its prior opinions during the rulemaking process.

        3.      ATF’s Responses to Comments and Its Consideration of Other Evidence

        The plaintiffs next raise a series of arguments challenging the transparency of ATF’s

 rulemaking process and ATF’s failure to consider other evidence. First, they argue that ATF

 relied on evidence that bump stocks were used in the Las Vegas shooting without releasing that

 evidence or any other evidence suggesting that bump stocks have been used to commit crimes.

 See, e.g., Codrea’s Reply at 9; Guedes’s Br. at 21, 28. As explained, however, the bump stock

 rule was based on a legal, rather than a factual, determination; crime statistics did not play any

 role in ATF’s analysis. The Las Vegas attack served as the impetus for ATF’s decision to

 reconsider its legal interpretation of “machinegun,” but it did not provide a factual basis for the

 rule. And under the APA, ATF was required to make public only “critical factual material.”

 Chamber of Commerce, 443 F.3d at 900 (internal quotation marks omitted).

        Second, Guedes argues that the “underlying premise” of the rule is “completely arbitrary

 and capricious” because certain “individuals can achieve, with greater accuracy, faster cyclic

 rates than [other individuals] utilizing bump-stock-devices.” Guedes’s Br. at 29. As noted,

 however, the “premise” of the rule was not the relative firing rates of guns with attached bump

 stocks (or any other factual determination for that matter); the rule change was based on ATF’s

 legal interpretation of the statutory term “machinegun.” See 83 Fed. Reg. at 66533 (“[ATF]

 disagrees with any assertion that the rule is based upon the increased rate of fire. While bump-

 stock-type devices are intended to increase the rate at which a shooter may fire a semiautomatic

 firearm, this rule classifies these devices based upon the functioning of these devices under the
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 statutory definition.”). Moreover, ATF did not represent that bump stocks always produce a

 faster rate of fire; it stated merely that bump stocks are used by individual shooters to produce a

 relatively faster rate of fire. Id.

         Third, Guedes takes issue with ATF’s failure to respond to statements made by former

 ATF official Rick Vasquez and to an analytical video demonstrating how bump stocks operate.

 Guedes’s Reply at 10–13. But although an agency must “respond to relevant and significant

 public comments,” City of Portland v. EPA, 507 F.3d 706, 713 (D.C. Cir. 2007) (internal

 quotation marks omitted), it “is not required to discuss every item of fact or opinion included in

 the submissions made to it in informal rulemaking,” Pub. Citizen, Inc. v. FAA, 988 F.2d 186, 197

 (D.C. Cir. 1993) (alteration adopted and internal quotation marks omitted). An agency “need

 only enable [a reviewing court] to see what major issues of policy were ventilated and why the

 agency reacted to them as it did.” Id. (alteration adopted and internal quotation marks omitted).

 The record reveals that ATF adequately addressed Guedes’s arguments, including the argument

 that a bump stock requires the shooter to manipulate the trigger to discharge multiple rounds.

 For example, ATF explained in the rule that it “disagrees that a shooter repeatedly actuates,

 functions, or pulls the trigger of a semiautomatic firearm using a bump-stock-type device”;

 instead, “the shooter ‘pulls’ the trigger once and allows the firearm and attached bump-stock-

 type device to operate until the shooter releases the trigger finger or the constant forward

 pressure with the non-trigger hand.” 83 Fed. Reg. at 6532. 4



 4
   To the extent Guedes argues that Vasquez’s views are entitled to special weight because he is a
 former ATF official, Guedes is incorrect. The deference afforded under Chevron extends only to
 the agency’s official interpretations, not to the views of its former officials. See Via Christi
 Reg’l Med. Ctr. v. Leavitt, No. 04-1026, 2006 WL 2773006, at *13 n.3 (D. Kan. Sept. 25, 2006),
 aff’d, 509 F.3d 1259 (10th Cir. 2007).



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        Fourth, the plaintiffs argue that the agency acted arbitrarily and capriciously because a

 shooter can also bump fire a gun using a rubber band or a belt loop. Guedes’s Br. at 27; see also

 Codrea’s Reply at 8. 5 ATF did not specifically include such everyday items in the rule, as it did

 bump stocks, but it has not yet made a formal determination about whether they fall within the

 NFA’s definition of “machinegun.” See Feb. 6, 2019 Hr’g Tr. at 30. To the extent the plaintiffs

 are arguing that the agency failed to respond adequately and reasonably to comments

 highlighting the similarities between bump stocks and household objects that can be repurposed

 to facilitate bump firing, the Court disagrees. ATF explained in the rule that bump firing using a

 rubber band or belt loop does not involve automatic fire because “no device is present to capture

 and direct the recoil energy; rather, the shooter must do so.” 83 Fed. Reg. at 66533. In other

 words, unlike a bump stock, a “belt loop or a similar manual method requires the shooter to

 control the distance that the firearm recoils and the movement along the plane on which the

 firearm recoils.” Id. Although Guedes and Codrea “attack the merits of [ATF’s] responses,

 [ATF] clearly thought about [their] objections and provided reasoned replies,” which is “all the

 APA requires.” City of Portland, 507 F.3d at 714.

        The related argument that ATF unreasonably distinguished between binary triggers and

 bump stocks, see, e.g., Codrea’s Br. at 6–7; Codrea’s Reply at 7, fails for a similar reason. As

 ATF explained, binary triggers discharge one round when the shooter pulls the trigger and

 another when the shooter releases the trigger. Gov’t’s Opp’n in Codrea at 18, Dkt. 16, No. 18-

 cv-3086; Codrea’s Br. at 6. ATF defined a “single function of the trigger” to mean a pull and


 5
   Guedes also argues that a shooter can achieve the same effect by “train[ing] [his] trigger finger
 to fire more rapidly.” Guedes’s Br. at 27 (internal quotation marks omitted). As discussed
 above, however, the rates at which a shooter can fire a gun with and without a bump stock are
 irrelevant. Even the most skilled shooter cannot discharge multiple rounds “automatically” with
 a “single function of the trigger.”

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 analogous motions, such as pushing a button or flipping a switch. 83 Fed. Reg. at 66515, 66534–

 35, 66553. It then reasonably distinguished binary triggers, which in ATF’s view require two

 functions of the trigger—a pull and a release—to discharge multiple rounds. See id. at 66534. In

 sum, ATF adequately and reasonably responded to comments arguing that the “proposed

 regulatory text encompasses . . . binary triggers.” Id.

        4.      The Length of the Comment Period and the Necessity of a Hearing

        Guedes makes two final procedural arguments based on the text of 18 U.S.C. § 926(b),

 which provides that “[t]he Attorney General shall give not less than ninety days public notice,

 and shall afford interested parties opportunity for hearing, before prescribing . . . rules and

 regulations.” Guedes argues that ATF violated § 926(b) by failing to provide commenters with a

 public hearing and by failing to provide an additional five days for public comment after some

 commenters experienced technical difficulties at the beginning of the scheduled comment period.

 Guedes’s Br. at 22–25; Guedes’s Reply at 8–10. The Court disagrees.

        First, Guedes assumes that all “hearings” must be oral hearings, but “[t]he term ‘hearing’

 in its legal context . . . has a host of meanings,” including the mere opportunity to submit written

 comments. United States v. Fla. E. Coast Ry. Co., 410 U.S. 224, 239 (1973); see also id. at 241–

 42. And it is well established that the requirement for a “hearing,” as opposed to a “hearing on

 the record,” generally does not require a formal, oral hearing. See id. at 251; Nat’l Classification

 Comm’n v. United States, 765 F.2d 1146, 1150 (D.C. Cir. 1985) ([U]nder Florida East Coast

 there is a strong presumption that the procedural guarantees of [the notice-and-comment

 provisions] of the APA are sufficient unless Congress specifically indicates to the contrary.”);

 Mobil Oil Corp. v. Fed. Power Comm’n, 483 F.2d 1238, 1250 (D.C. Cir. 1973) (Although

 “[t]here is some danger in according too much weight to magic words such as ‘on the record[,]’

 . . . Florida East Coast . . . emphasized the importance of this phrase and virtually established it
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 as a touchstone test of when [formal, oral] proceedings are required.”). Indeed, the Fourth

 Circuit has held that the hearing requirement in § 926(b) requires only that the Secretary

 “provide interested parties with the opportunity to submit written comments.” Brady, 914 F.2d

 at 485. The Court sees no reason to depart from that interpretation here.

         Second, any error ATF may have made by refusing to extend the comment period by five

 days was harmless. Section 706 of the APA requires courts to take “due account . . . of the rule

 of prejudicial error.” 5 U.S.C. § 706. The D.C. Circuit has therefore held that “[i]f [an] agency’s

 mistake did not affect the outcome, if it did not prejudice the petitioner, it would be senseless to

 vacate and remand for reconsideration.” PDK Labs. v. DEA, 362 F.3d 786, 799 (D.C. Cir.

 2004); see also Ozark Auto. Distributors v. NLRB, 779 F.3d 576, 582 (D.C. Cir. 2015) (“In

 administrative law, as in federal civil and criminal litigation, there is a harmless error rule . . . .”

 (internal quotation marks omitted)). Despite the technical difficulties some online commenters

 faced during the first five days of the comment period, it is undisputed that a search for the term

 “bump stock” on Regulations.gov brought commenters to the correct web page; some online

 commenters submitted comments during the first five days; frustrated online users were able to

 submit comments during the remaining 85 days of the comment period; and finally, commenters

 were able to submit comments by mail and facsimile throughout the comment period. In light of

 these undisputed facts, it is unsurprising that Guedes does not even attempt to show that he was

 prejudiced by the technical problems. Without a showing of prejudice, Guedes’s procedural

 challenge fails.

         B. The Availability of Injunctive Relief for Codrea’s Takings Clause Challenge

         Codrea also asserts that the bump stock rule violates the Takings Clause because it fails

 to provide compensation to current bump stock owners who must destroy or abandon their



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 property. Codrea’s Br. at 17. Regardless of the merits of Codrea’s takings challenge, however,

 it does not justify preliminary injunctive relief.

         The Takings Clause of the Fifth Amendment provides that private property shall not “be

 taken for public use, without just compensation.” U.S. Const. amend. V. It “is designed not to

 limit the governmental interference with property rights per se, but rather to secure compensation

 in the event of otherwise proper interference amounting to a taking.” First English Evangelical

 Lutheran Church of Glendale v. Los Angeles County, 482 U.S. 304, 315 (1987). It follows that,

 “in general, ‘equitable relief is not available to enjoin an alleged taking of private property for a

 public use, duly authorized by law, when a suit for compensation can be brought against the

 sovereign subsequent to that taking.’” Bldg. Owners & Managers Ass’n Int’l v. FCC, 254 F.3d

 89, 99 (D.C. Cir. 2001) (alteration adopted) (quoting United States v. Riverside Bayview Homes,

 474 U.S. 121, 127–28 (1985)). Indeed, “the Fifth Amendment does not require that just

 compensation be paid in advance of or even contemporaneously with the taking.” Preseault v.

 ICC, 494 U.S. 1, 11 (1990). It requires only “the existence of a reasonable, certain and adequate

 provision for obtaining compensation at the time of the taking.” Id. (internal quotation marks

 omitted). The plaintiffs have made no showing that a suit for compensation under the Tucker

 Act, 28 U.S.C. § 1491(a)(1), or the Little Tucker Act, 28 U.S.C. § 1346(a)(2), is inadequate to

 satisfy the demands of the Fifth Amendment—or that any other doctrinal exception applies.

 Preliminary injunctive relief is therefore unavailable.




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        C. Likely Success on the Merits of the Challenges to Whitaker’s Authority as
           Acting Attorney General

        The plaintiffs, led by the Coalition, 6 conclude by challenging the authority of then–

 Acting Attorney General Whitaker to promulgate the bump stock rule on statutory and

 constitutional grounds. The Court divides its analysis of this final challenge into two parts.

 First, it concludes that the AG Act did not bar Whitaker’s selection under the FVRA. Second, it

 concludes that the President’s designation of Whitaker to serve as Acting Attorney General did

 not violate the Appointments Clause. 7

        1.      The Statutory Challenge to Whitaker’s Designation

        The parties’ statutory dispute turns on when the FVRA and the AG Act apply to

 vacancies in the Office of the Attorney General. The statutory provisions most relevant to this

 issue are §§ 3345 and 3347 of the FVRA and § 508 of the AG Act.

        Section 3345(a) of the FVRA creates a default rule that applies whenever an official

 otherwise subject to the advice and consent of the Senate “dies, resigns, or is otherwise unable to

 perform the functions and duties of the office.” 5 U.S.C. § 3345(a). In such a case, the FVRA

 provides that “the first assistant to the office of such officer shall perform the functions and

 duties of the office temporarily in an acting capacity,” subject to certain time limitations. Id.

 § 3345(a)(1). The FVRA further provides that “the President . . . may direct an officer or


 6
  Because the Coalition advances the most comprehensive challenge to Whitaker’s authority, the
 Court refers only to the Coalition’s arguments in this section.
 7
  This Court is not the first to reject a challenge to Whitaker’s designation as Acting Attorney
 General. Three other district courts have already upheld the President’s statutory and
 constitutional authority to designate Whitaker as Acting Attorney General, though those
 decisions did not consider the precise theories advanced here. See United States v. Smith, No.
 18-cr-0015, 2018 WL 6834712, at *1–4 (W.D.N.C. Dec. 28, 2018); United States v. Peters, No.
 17-cr-55, 2018 WL 6313534, at *2–5 (E.D. Ky. Dec. 3, 2018); United States v. Valencia, No. 17-
 cr-882, 2018 WL 6182755, at *2–4 (W.D. Tex. Nov. 27, 2018).

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 employee of such Executive agency to perform the functions and duties of the vacant office

 temporarily in an acting capacity” so long as that individual served in the agency for at least 90

 days in the 365-day period preceding the vacancy in a position compensated at a rate “equal to or

 greater than the minimum rate of pay payable for a position at GS-15 of the General Schedule.”

 Id. § 3345(a)(3). The same time limitations that govern the default rule also apply here. Id.

        Section 3347(a) of the FVRA, the Act’s “exclusivity” provision, explains how the FVRA

 interacts with agency-specific statutes: it is the “exclusive means for temporarily authorizing an

 acting official” to serve in a position otherwise subject to the advice and consent of the Senate

 “unless . . . a statutory provision expressly . . . designates an officer or employee to perform the

 functions and duties of a specified office temporarily in an acting capacity.” Id. § 3347(a).

        Section 508(a) of the AG Act, the agency-specific statute for the Department of Justice,

 provides that “[i]n case of a vacancy in the office of Attorney General, . . . the Deputy Attorney

 General may exercise all the duties of that office.” 28 U.S.C. § 508(a). It also provides that

 when “neither the Attorney General nor the Deputy Attorney General is available . . ., the

 Associate Attorney General shall act as Attorney General,” and “[t]he Attorney General may

 designate the Solicitor General and the Assistant Attorneys General, in further order of

 succession, to act as Attorney General.” Id. § 508(b).

        The parties do not dispute that Whitaker satisfies the eligibility criteria in the FVRA and

 that both the FVRA and the AG Act apply to the Office of the Attorney General. They disagree

 only about when each statute applies. The government argues that the statutes operate

 “alongside” each other: the President may choose to select an Acting Attorney General under the

 FVRA, or the Deputy Attorney General “may” assume those duties as soon as a vacancy arises.

 Gov’t’s Opp’n in Codrea at 24. The government maintains that the President lawfully selected



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 Whitaker under the FVRA, even though the Deputy Attorney General was available to fill the

 vacancy under the AG Act.

        The Coalition, by contrast, argues that the AG Act displaces the FVRA unless and until

 the line of succession set forth in the AG Act has been exhausted. In the Coalition’s view, the

 President may select an Acting Attorney General under the FVRA, but only if all of the

 successors listed in the AG Act are “unavailable.” Firearms Pol’y Coal.’s Br. at 13, Dkt. 2-1,

 No. 18-3083. Under this interpretation, Whitaker could not lawfully assume the responsibilities

 of Attorney General because the Deputy Attorney General was available to serve as Acting

 Attorney General.

        In determining which party has the better reading of the statutes, the Court begins, as it

 must, with the text of the FVRA. Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 175 (2009)

 (“Statutory construction must begin with the language employed by Congress and the

 assumption that the ordinary meaning of that language accurately expresses the legislative

 purpose.” (internal quotation marks omitted)). The plain language of the FVRA, and its

 exclusivity provision in particular, substantially undercuts the Coalition’s exhaustion theory.

 Under § 3347(a), the FVRA is the “exclusive” means of selecting an acting official “unless” an

 agency-specific statute designates a successor. 5 U.S.C. § 3347(a). Where, as here, an agency-

 specific statute designates a successor, the FVRA is no longer the exclusive means of filling a

 vacancy, but it remains a means of filling the vacancy. When faced with a vacancy in the Office

 of the Attorney General, the President may choose to invoke the FVRA and select an Acting

 Attorney General, or the President may permit the Deputy Attorney General to assume the

 responsibilities of Attorney General under the AG Act.




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         This reading of the statute is consistent with the decisions of other courts interpreting the

 FVRA. See Hooks v. Kitsap Tenant Support Servs., 816 F.3d 550, 556 (9th Cir. 2016) (where

 the FVRA and an agency-specific statute apply, “the President is permitted to elect between the[]

 two statutory alternatives” to fill the vacancy); English v. Trump, 279 F. Supp. 3d 307, 319

 (D.D.C. 2018) (“[T]he FVRA’s exclusivity provision makes clear that it was generally intended

 to apply alongside agency-specific statutes, rather than be displaced by them.”), appeal

 dismissed, No. 18-5007, 2018 WL 3526296 (D.C. Cir. July 13, 2018).

         The Coalition unpersuasively attempts to distinguish Hooks and English by highlighting

 insignificant factual distinctions. It argues that Hooks is distinguishable because, unlike the AG

 Act, the agency-specific statute in that case did not designate a first assistant. Firearms Pol’y

 Coal.’s Br. at 33. The statute stated simply that the President was “authorized” to designate an

 official to serve in an acting capacity. 29 U.S.C. § 153(d). As a result, the President invoked a

 different provision of the FVRA, 5 U.S.C. § 3347(a)(1)(A), under which the FVRA is “exclusive

 . . . unless . . . a statutory provision expressly . . . authorizes the President . . . to designate an

 officer or employee to perform the functions and duties of a specified office temporarily in an

 acting capacity.” This authorization provision contrasts slightly with the designation provision at

 issue here, 5 U.S.C. § 3347(a)(1)(B), under which the FVRA is “exclusive . . . unless . . . a

 statutory provision expressly . . . designates an officer or employee to perform the functions and

 duties of a specified office temporarily in an acting capacity.” But as another judge on this Court

 has explained, this subtle difference did not affect the analysis of the Hooks court. See English,

 279 F. Supp. 3d at 320 (“[T]here is nothing in Hooks to suggest that the court’s interpretation of

 the FVRA would turn on this distinction, nor does the text of the FVRA provide any reason to




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 think so.”). In reaching its conclusion, the Hooks court relied instead on the “exclusive . . .

 unless” structure that is common to both provisions of the FVRA. See Hooks, 816 F.3d at 556.

        As for English, the Coalition argues that the factual circumstances of that case were

 “extremely unusual” and that the court’s decision relied on an express-statement requirement in

 the agency-specific statute at issue. Firearms Pol’y Coal.’s Br. at 33. But the “unusual” facts of

 English did not affect the court’s reasoning. Nor did the court’s analysis of the agency-specific

 statute affect the court’s analysis of the text of the FVRA. The court made clear that the FVRA’s

 text demonstrates “that it was generally intended to apply alongside agency-specific statutes,

 rather than be displaced by them.” English, 279 F. Supp. 3d at 319. 8

        The statutory structure of the FVRA further confirms this interpretation. See Util. Air

 Regulatory Grp., 573 U.S. at 320 (explaining that it is a “fundamental canon of statutory

 construction that the words of a statute must be read in their context and with a view to their

 place in the overall statutory scheme” (internal quotation marks omitted)). Section 3349c of the

 FVRA explicitly excludes several offices from the FVRA. It provides, for example, that the

 FVRA “shall not apply” to certain multi-member commissions and members of the Surface

 Transportation Board. 5 U.S.C. § 3349c. Congress could have chosen to exclude the Office of

 the Attorney General by using similar language, but it did not.

        Moreover, far from seeking to exclude the Office of the Attorney General from the

 FVRA’s coverage, the statutory history reveals that Congress affirmatively acted to bring the



 8
   As the Coalition notes, Firearms Pol’y Coal.’s Br. at 33, the English court acknowledged that
 the plaintiff there would have had a stronger case for displacement if Congress had used the term
 “vacancy” in the agency-specific statute at issue, and the court specifically cited the AG Act to
 show that Congress knew how to use that term, see English, 279 F. Supp. 3d at 322. But the
 English court did not go so far as to suggest that the AG Act and every other agency-specific
 statute that uses the term “vacancy” displaces the FVRA.

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 Office within the scope of the FVRA. Prior to the FVRA’s enactment, § 3347 provided that the

 President’s authority to override the first-assistant default rule “d[id] not apply to a vacancy in

 the office of the Attorney General.” 5 U.S.C. § 3347 (1994). Congress eliminated that

 restriction when it enacted the FVRA, thus making clear that the President has the authority to

 override the first-assistant default rule when a vacancy arises in the Office of the Attorney

 General. The Court will not assume that “Congress . . . intend[ed] sub silentio to enact statutory

 language that it . . . earlier discarded in favor of other language.” INS v. Cardoza-Fonseca, 480

 U.S. 421, 442–43 (1987); see also Murphy v. Smith, 138 S. Ct. 784, 789 (2018) (similar).

        Nothing in the AG Act, which predates the FVRA, suggests otherwise. Indeed, the AG

 Act includes a cross-reference to the FVRA that suggests that Congress intended the two statutes

 to operate alongside one another. Specifically, the AG Act provides that, “for the purpose of

 section 3345 of title 5[,] the Deputy Attorney General is the first assistant to the Attorney

 General.” 28 U.S.C. § 508(a). Under the Coalition’s reading, this provision is nonsensical

 because the FVRA will only ever apply when the Deputy Attorney General is unavailable. A

 more sensible reading is that Congress included a cross-reference in the AG Act because it

 intended the two statutes to operate alongside one another: the FVRA establishes a first-assistant

 default rule that operates in tandem with the AG Act, but it also permits the President to override

 the AG Act when a vacancy arises in the Office of the Attorney General by using one of the

 presidential selection provisions in the FVRA. See United States v. Jicarilla Apache Nation, 564

 U.S. 162, 185 (2011) (“[W]e are hesitant to adopt an interpretation of a congressional enactment

 which renders superfluous another portion of that same law.” (internal quotation marks

 omitted)).




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        Even if the text of the two statutes did not suggest that Congress intended the FVRA and

 the AG Act to operate alongside each other, the Court has an affirmative duty to adopt such an

 interpretation because “when two statutes are capable of coexistence, it is the duty of the courts,

 absent a clearly expressed congressional intention to the contrary, to regard each as effective.”

 Howard v. Pritzker, 775 F.3d 430, 437 (D.C. Cir. 2015) (quoting J.E.M. Ag Supply v. Pioneer

 Hi–Bred Int’l, 534 U.S. 124, 143–44 (2001)); see also id. (“The courts are not at liberty to pick

 and choose among congressional enactments.” (quoting Morton v. Mancari, 417 U.S. 535, 551

 (1974))). The AG Act provides that the Deputy Attorney General “may” assume the

 responsibilities of the Attorney General during a vacancy, not that he “must” or “shall” assume

 those responsibilities. And “[t]he word ‘may’ customarily connotes discretion,” rather than a

 mandatory requirement. Jama v. ICE, 543 U.S. 335, 346 (2005). Although the AG Act states

 that when “neither the Attorney General nor the Deputy Attorney General is available . . ., the

 Associate Attorney General shall act as Attorney General,” 28 U.S.C. § 508(b) (emphasis

 added), that provision by itself does not prove that the two statutes are incapable of coexistence;

 it merely suggests that if the President does not exercise his authority under the FVRA, then the

 Associate Attorney General must step in if the Deputy Attorney General is unavailable. And, as

 discussed, another judge on this Court has held that even an agency-specific statute that provides

 that the first-in-line successor “shall” serve during a vacancy operates alongside the FVRA

 because that statute’s “shall” is “implicitly qualified by the FVRA’s ‘may.’” English, 279 F.

 Supp. 3d at 323. By comparison, the AG Act’s use of the word “shall” when listing a second-in-

 line successor provides little reason to adopt a “disfavored construction” of an irreconcilable

 conflict between the two statutes. Howard, 775 F.3d at 437 (internal quotation marks omitted).




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        Faced with the text and structure of the FVRA and the AG Act, the Coalition cannot

 argue that the FVRA never applies to the Office of the Attorney General. Instead, it argues that

 the AG Act imposes an exhaustion requirement such that the FVRA applies if and only if none

 of the successors identified in the AG Act are available. According to the Coalition, this

 miniscule role for the FVRA explains why, for example, Congress did not list the Office of the

 Attorney General in § 3349c, the “applicability” provision that excludes certain offices from the

 FVRA. But the Coalition’s interpretation lacks textual support and relies primarily on

 inapplicable contextual and substantive canons.

        As evidence of textual support, the Coalition stresses that the FVRA’s exclusivity

 provision, 5 U.S.C. § 3347, includes the word “designates,” which means to “choose.” Firearms

 Pol’y Coal.’s Br. at 28 (quoting Black’s Law Dictionary 541 (10th ed. 2014)). According to the

 Coalition, the FVRA must be inapplicable because the AG Act automatically “chooses” the

 acting official. But the Coalition’s own theory proves that the word “designates” cannot bear

 that weight. Under the Coalition’s interpretation, the AG Act would always “designate” or

 “choose” the First Assistant—or another successor listed in the AG Act—and the FVRA would

 never apply, even when all of the AG Act successors are unavailable. The Coalition concedes

 that, at least in those circumstances, the text of the FVRA permits the President to select an

 Acting Attorney General, but it cannot explain why. The more sensible interpretation of § 3347

 takes into account the “exclusive . . . unless” structure and recognizes that the FVRA is

 nonexclusive, but not inapplicable, when read in conjunction with an agency-specific statute,

 such as the AG Act. The President may elect to fill a vacancy by invoking the FVRA, or, if he

 fails to do so, the successors listed in the AG Act may serve as Acting Attorney General.




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          The Coalition also invokes the “well established canon of statutory interpretation” that

 “the specific governs the general,” RadLAX Gateway Hotel v. Amalgamated Bank, 566 U.S. 639,

 645 (2012) (internal quotation marks omitted), to support its argument that the AG Act should be

 given effect over the more general FVRA, Firearms Pol’y Coal.’s Br. at 28. Although this canon

 is usually applied where a general statute and a specific statute directly contradict each other,

 “the canon has full application as well to statutes . . . in which a general authorization and a more

 limited, specific authorization exist side-by-side.” RadLAX Gateway Hotel, 566 U.S. at 645. In

 that circumstance, “the canon avoids not contradiction but the superfluity of a specific provision

 that is swallowed by the general one.” Id. But here, the AG Act is hardly “swallowed” by the

 FVRA. Each of the statutes imposes unique requirements that provide alternative mechanisms

 for filling a vacancy. The AG Act establishes a specific order of succession based on title and

 does not limit the length of time an individual may serve in an acting capacity. By contrast, the

 FVRA defines eligibility based on other criteria. For example, under the FVRA, a nominee to

 fill a vacancy is generally prohibited from serving in an acting capacity, see 5 U.S.C.

 § 3345(b)(1), and any individual appointed under § 3345(a)(3) of the FVRA must have served in

 the agency for 90 of the preceding 365 days in a position that receives pay equal to or greater

 than the minimum rate for GS-15 of the General Schedule. The FVRA also imposes specific

 time limits on acting service. See id. § 3346. As a result, some individuals who are eligible to

 serve in an acting capacity under the AG Act may not be eligible under the FVRA, and vice

 versa.

          Because “the text is clear,” the Court “need not consider [the] extra-textual evidence”

 cited by the Coalition. SW Gen., 137 S. Ct. at 942. Nevertheless, the Court briefly considers and

 rejects the Coalition’s remaining arguments. The Coalition argues that “there is no serious



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 reason Congress would want to permit the President” to override the AG Act by invoking the

 FVRA. Firearms Pol’y Coal.’s Br. at 30. It further contends that the “purpose” of the FVRA

 was to limit the President’s authority to select acting officers, not to expand it. Id. And it states

 that had Congress desired to give the President a choice between two statutory schemes “it

 would have done so expressly,” Firearms Pol’y Coal.’s Reply at 18, Dkt. 17, No. 18-cv-2988, or

 at least indicated as much in some piece of legislative history, id. at 21–23.

         Regardless of the myriad policy reasons that might support or oppose the result here,

 Congress spoke clearly enough in the text of the FVRA. The exclusivity provision and the

 statutory history of the FVRA show that Congress understood, when it enacted the FVRA, that it

 was creating a new vacancies statute with its own allowances and restrictions that would apply to

 the Office of the Attorney General. Moreover, Congress did discuss this very issue in a Senate

 Report that accompanied a failed 1998 bill that preceded the FVRA. In considering language

 similar to the current exclusivity provision, the Report stated that the bill would retain several

 agency-specific statutes but that “the Vacancies Act would continue to provide an alternative

 procedure for temporarily occupying the office.” S. Rep. No. 105-250, at 17 (1998). The

 legislative history not only speaks to the issue; it confirms the government’s interpretation.

 Agency-specific statutes like the AG Act were expected to operate alongside the FVRA, not to

 displace it.

         The Coalition accuses the government of misrepresenting the Senate Report because the

 cited statement refers to what “would” occur if Congress were “to repeal [agency-specific]

 statutes in favor of the procedures contained in the Vacancies Act.” Firearms Pol’y Coal.’s

 Reply at 23 (quoting S. Rep. No. 105-250, at 17). But the Report explains that “various

 authorizing committees” might consider whether to repeal the different agency-specific statutes



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 in the future, and that “in any event,” the FVRA will “continue to provide an alternative

 procedure.” S. Rep. No. 105-250, at 17. In context, it is clear that the cited statement from the

 Report refers to the 1998 bill.

        The Coalition next cites an introductory section of the Senate Report that refers to a

 variety of “express exceptions” to the FVRA and states that “current [agency-specific] statutes

 . . . are maintained.” Id. at 2. The Coalition argues that by referring to these statutes as

 “exceptions,” the Report suggests that the FVRA does not operate alongside agency-specific

 statutes. Firearms Pol’y Coal.’s Reply at 23. But this interpretation does not even comport with

 the Coalition’s own theory, which purports to retain a role for the FVRA if and when the

 individuals in the AG Act’s line of succession are unavailable. Regardless, this general and

 vague discussion is a weak basis for discounting more specific language in the same Report.

        In passing, the Coalition also mentions that a footnote from a 2001 White House Counsel

 memorandum adopted the Coalition’s interpretation. See Memorandum from Alberto R.

 Gonzales, Counsel to the President, to the Heads of Fed. Exec. Dep’ts. & Agencies & Units of

 the Exec. Off. of the President, Re: Agency Reporting Requirements Under the Vacancies

 Reform Act 2 n.2 (Mar. 21, 2001). In this context, however, as the Coalition itself

 acknowledges, the legal positions of the Executive Branch are not entitled to deference from this

 Court, and even if they were, subsequent Office of Legal Counsel opinions reached the opposite

 conclusion. See Firearms Pol’y Coal.’s Reply at 24–25. 9



 9
   For its part, the government places considerable weight on the history of presidential
 designations under the FVRA, arguing that “Presidents have consistently and explicitly invoked
 their FVRA authority to make acting-officer designations that would be barred if [agency]-
 specific statutes were read to set out exclusive, mandatory succession plans.” Gov’t’s Opp’n in
 Guedes at 51. But the FVRA was enacted a mere two decades ago, and the government
 identifies only a few designations that bypassed a first assistant. Id. at 51–52 & n.29. “In this


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         The Coalition places the most weight on the constitutional-avoidance canon, arguing that

 the Court should adopt its interpretation because it is at least doubtful whether the President may

 constitutionally designate a non-confirmed official to serve in an acting capacity when a first

 assistant is available. Firearms Pol’y Coal.’s Br. at 25. The problem for the Coalition, however,

 is that the government’s reading does not raise a “serious doubt” about the FVRA’s

 constitutionality. Jennings v. Rodriguez, 138 S. Ct. 830, 842 (2018) (internal quotation marks

 omitted). As discussed below, the constitutional legitimacy of acting officers has long been

 settled. And the avoidance canon “comes into play only when, after the application of ordinary

 textual analysis, the statute is found to be susceptible of more than one construction.” Id.

 (internal quotation marks omitted). As demonstrated above, the Coalition’s interpretation is

 foreclosed by “ordinary textual analysis.” Id. (internal quotation marks omitted); see also id. at

 836 (“[A] court relying on [the avoidance] canon still must interpret the statute, not rewrite it.”).

         2.     The Appointments Clause Challenge to Whitaker’s Designation

         The Appointments Clause requires the President to “nominate, and by and with the

 Advice and Consent of the Senate, . . . appoint” all “Officers of the United States,” but it permits

 Congress “by Law” to “vest the Appointment of such inferior Officers, as they think proper, in

 the President alone, in the Courts of Law, or in the Heads of Departments.” U.S. Const. art. II,

 § 2, cl. 2.

         For Appointments Clause purposes, federal officials fall into three categories:

 (1) “principal officers,” who must be appointed by the President with the advice and consent of


 context, Congress’s failure to speak up does not fairly imply that it has acquiesced in the
 [government’s] interpretation.” SW Gen., 137 S. Ct. at 943 (rejecting a similar argument based
 on “post-enactment practice” under the FVRA).




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 the Senate; (2) “inferior officers,” who, by default, must be appointed by the President with the

 advice and consent of the Senate, but whose appointment Congress may choose to vest solely in

 the President, department heads, or courts; and (3) “employees,” who can be hired without any

 particular process mandated by the Appointments Clause. See Lucia v. SEC, 138 S. Ct. 2044,

 2051 & n.3 (2018).

        The Appointments Clause “is more than a matter of etiquette or protocol; it is among the

 significant structural safeguards of the constitutional scheme.” Edmond v. United States, 520

 U.S. 651, 659 (1997) (internal quotation marks omitted). “The Framers envisioned it as ‘an

 excellent check upon a spirit of favoritism in the President’ and a guard against ‘the appointment

 of unfit characters from family connection, from personal attachment, or from a view to

 popularity.’” SW Gen., 137 S. Ct. at 935 (alteration adopted) (quoting The Federalist No. 76, at

 457 (Alexander Hamilton) (Clinton Rossiter ed., 1961)). “By requiring the joint participation of

 the President and the Senate, the Appointments Clause was designed to ensure public

 accountability for both the making of a bad appointment and the rejection of a good one.”

 Edmond, 520 U.S. at 660.

        Yet “[t]he constitutional process of Presidential appointment and Senate confirmation

 . . . can take time.” SW Gen., 137 S. Ct. at 935. And neither the President nor the Senate “may

 desire to see the duties of [a] vacant office go unperformed in the interim.” Id. Thus, “[s]ince

 President Washington’s first term, Congress has given the President limited authority to appoint

 acting officials to temporarily perform the functions” of offices that otherwise require Senate

 confirmation. Id. Congress provided this limited authority in 1792 and has refined it in various

 ways through the years, including in 1998, when it enacted the FVRA. See id. at 935–36.




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        The Coalition argues that the Appointments Clause generally prevents the President from

 designating a non-Senate-confirmed official other than the first assistant to serve as an acting

 principal officer in the event of a vacancy. See, e.g., Firearms Pol’y Coal.’s Br. at 11–12.

 Alternatively, the Coalition argues that the Appointments Clause at least requires an acting

 principal officer to be appointed as an inferior officer and that Whitaker’s designation as Acting

 Attorney General under the FVRA did not qualify as an “appointment.” See, e.g., id. at 11. The

 Court considers and rejects each argument in turn.

                a. President Trump’s Decision to Designate Whitaker Without Obtaining the
                   Advice and Consent of the Senate

        Conveniently, both parties agree that the President may sometimes direct a person to

 perform the duties of a principal office temporarily without first obtaining the Senate’s advice

 and consent. See Firearms Pol’y Coal.’s Reply at 12; Gov’t’s Opp’n in Guedes at 53, Dkt. 16,

 No. 18-cv-3083. 10 But they disagree about why, and how to reconcile this settled practice with

 the Appointments Clause.

        The government argues that it is the limited duration of acting service that makes it

 permissible under the Appointments Clause. See, e.g., Gov’t’s Opp’n in Guedes at 53. In the

 government’s view, as long as an official performs the duties of a principal office only

 temporarily, in an acting capacity, the official may do so without actually becoming the principal

 officer. This understanding, the government argues, is reflected not only in binding Supreme

 Court precedent but also in the longstanding historical practice of the political branches. Id.

        The Coalition acknowledges the same precedent and history but seeks to explain it in

 terms of supervision. See, e.g., Firearms Pol’y Coal.’s Br. at 20–21. According to the Coalition,


 10
   The parties also agree that the Office of the Attorney General is a principal office. See
 Firearms Pol’y Coal.’s Br. at 2; Gov’t’s Opp’n in Guedes at 11.

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 what matters is not how long the temporary service lasts but who performs it. In the Coalition’s

 view, the Appointments Clause does not permit just any individual to serve, even temporarily, as

 an acting principal officer. Rather, it permits one specific person to do so: the first assistant who

 is generally supervised by the principal officer and whose pre-defined job responsibilities include

 stepping in when the principal officer becomes unavailable. Id. at 3. Because first assistants are

 supervised both before and after the principal office is vacant, the Coalition argues, they qualify

 as “inferior” officers whose inferior status remains unaltered even when their superior is sick or

 away, or has resigned or died. Id. at 21. It follows, according to the Coalition, that the FVRA

 becomes unconstitutional if and when the President uses it to displace an available first assistant

 and directs someone who is neither a first assistant nor a Senate-confirmed appointee to perform

 the duties of a principal office. Id. at 25.

         These competing explanations lead to different results in this case because, although

 Whitaker’s service as Acting Attorney General was temporary, 11 Whitaker was neither the first

 assistant to the previous Attorney General nor Senate confirmed at the time of his designation

 under the FVRA.

         Important as this debate may be, it has long been settled by Supreme Court precedent and

 historical practice. Beginning with precedent, the Supreme Court has repeatedly embraced the

 government’s view that it is the temporary nature of acting duties that permits an individual to

 perform them without becoming a principal officer under the Appointments Clause. The Court

 first addressed the constitutionality of acting service in United States v. Eaton, 169 U.S. 331

 (1898). In Eaton, the “consul general” to Siam—a principal officer—had fallen ill and decided



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   Whitaker’s service ended on February 15, 2019 when Barr became the Attorney General. See
 165 Cong. Rec. S1397 (daily ed. Feb. 14, 2019).

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 to return to America, where he expected to die. Id. at 331–32. To “protect the interests of the

 government during his absence, and until the . . . expected arrival” of his replacement, he asked a

 local missionary, Lewis Eaton, “to take charge of the consulate.” Id. Less than a month before

 the consul general left for America, he swore Eaton in as “vice consul general,” id. at 332, and

 charged him “with the duty of temporarily performing the functions of the consular office,” id. at

 343. When the consul general departed a few weeks later, Eaton took over as acting consul for a

 period of 310 days. Id. at 333–34.

        In the course of ruling that Eaton was entitled to compensation for that period, the Court

 determined that his acting service was consistent with the Appointments Clause. Id. at 343–44.

 Specifically, the Court held that a subordinate “charged with the performance of the duty of the

 superior for a limited time, and under special and temporary conditions” is not “thereby

 transformed into the superior and permanent official.” Id. at 343 (emphases added).

        In reaching that conclusion, the Court relied on evidence of the prevailing historical

 practice. It acknowledged that the role of “vice consul” had not always been a temporary

 position. Id. at 344. In “earlier periods of the government,” vice consuls “were not subordinate

 and temporary”—like Eaton—but were instead “permanent and in reality principal officials.”

 Id. (emphases added). They were therefore appointed with the advice and consent of the Senate.

 Id. But even when “the office of vice consul was considered as an independent and separate

 function, requiring confirmation by the senate, where a vacancy in a consular office arose by

 death of the incumbent, and the duties were discharged by a person who acted temporarily,

 without any appointment whatever,” the “practice prevailed of paying such officials as de facto

 officers.” Id. (emphasis added).




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        The Court found this historical practice compelling and quoted at length from an opinion

 by Attorney General Taney on “whether the son of a deceased consul”—who had no apparent

 government position but had “remained in the consular office, and discharged its duties”—was

 entitled to compensation for his temporary service. Id. Taney concluded that the son “was the

 de facto consul for the time” and that “[t]he practice of the government sanction[ed]” paying him

 accordingly. Id. (quoting Provision for Widows of Consuls Who Die in Office, 2 Op. Att’y Gen.

 521, 523 (1832)). After all, Taney observed, “[t]he public interest requires that the duties of the

 office should be discharged by some one; and where, upon the death of the consul, a person who

 is in possession of the papers of the consulate enters on the discharge of its duties, and fulfills

 them to the satisfaction of the government,” there is no reason “why he should not be recognized

 as consul for the time he acted as such.” Id. (quoting 2 Op. Att’y Gen. at 524). Relying on this

 opinion and the historical practice it reflected, the Court adopted “the theory that a vice consul is

 a mere subordinate official” and upheld the constitutionality of Eaton’s service. Id.

        The Coalition insists that Eaton is consistent with its position because the Court merely

 permitted a first assistant—the “vice consul”—to take on the duties of his superior. See, e.g.,

 Firearms Pol’y Coal.’s Reply at 7, 10–11, 14. But to the extent Eaton involved a first assistant at

 all, it involved one only in the most superficial and formalistic sense. Eaton was a missionary

 with no evident prior government experience who was sworn in as vice consul for the sole and

 express purpose of assuming the consul general’s duties when the consul left for America less

 than a month later. There is no hint in the Court’s decision that Eaton was ever subjected to the

 consul general’s direction or control, or that the potential for such supervision played any role in

 the Court’s analysis. Indeed, the Court expressly relied on Attorney General Taney’s opinion

 approving the temporary performance of consular duties by a consul’s son, who evidently was



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 not the vice consul and whose qualifications consisted of being physically present and “in

 possession of the papers.” Eaton, 169 U.S. at 344.

        To be sure, the Eaton Court did identify the core feature that made vice consuls inferior

 officers. But it was not their supervision by the consul general or their status as second in

 command. It was the fact that Congress had chosen to “limit” their “period of duty” and

 “thereby to deprive them of the character of ‘consuls,’ in the broader and more permanent sense

 of that word.” Id. at 343.

        The Supreme Court has since reaffirmed Eaton, and each time it has described Eaton’s

 holding in durational terms without ever suggesting that it is limited to first assistants. In

 Morrison v. Olson, the Court expressly weighed the “temporary” duration of the Office of

 Independent Counsel as a factor in assessing whether the office required Senate confirmation.

 487 U.S. 654, 672 (1988). In justifying that approach, the Court cited Eaton and described it as

 approving regulations that permitted executive officials “to appoint a ‘vice-consul’ during the

 temporary absence of the consul.” Id. (emphasis added). The Court went on to quote Eaton’s

 core holding that a subordinate officer who performs the duties of a principal office “for a

 limited time and under special and temporary conditions” is not “transformed into the superior

 and permanent official.” Id. (quoting Eaton, 169 U.S. at 343).

        And when the Court later refined the test for identifying principal officers in Edmond, it

 again cited Eaton favorably and described it as holding that “a vice consul charged temporarily

 with the duties of the consul” was an inferior officer. 520 U.S. at 661 (emphasis added).

 Although the Court clarified that, “[g]enerally speaking,” the test for identifying an inferior




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 officer is “whether he has a superior,” id. at 662, it did not disturb Eaton’s 99-year-old holding

 approving temporary, acting service during a principal office vacancy, see id. at 661. 12

        In short, the Supreme Court has held and subsequently reaffirmed that an official

 designated to perform the duties of a principal office temporarily, on an acting basis, need not

 undergo Senate confirmation. The Court has never suggested that such temporary service must

 be performed by a first assistant, if available.

        This understanding, binding on this Court, is further confirmed by an unbroken string of

 legislative enactments. See NLRB v. Noel Canning, 573 U.S. 513, 524 (2014) (courts “put

 significant weight upon historical practice” when interpreting constitutional provisions that

 concern “the allocation of power” between Congress and the Executive Branch). In 1792, the

 Second Congress authorized the President to appoint “any person . . . at his discretion to perform

 the duties” of the Secretaries of State, Treasury, or War in the event of a death, absence, or

 illness “until a successor be appointed, or until such absence or inability by sickness shall cease.”

 Act of May 8, 1792, ch. 37, § 8, 1 Stat. 279, 281 (emphasis added). Three years later, in 1795,

 Congress extended this authority to apply to any “vacancy” in those departments—regardless of

 the cause—while simultaneously limiting the duration of acting service to six months. Act of




 12
     Individual Justices have likewise understood Eaton to permit temporary, acting service. In SW
 General, Justice Thomas expressed constitutional concerns with using the FVRA to accomplish
 effectively permanent appointments. See 137 S. Ct. at 946 n.1 (Thomas, J., concurring). But
 even in that context, he took Eaton’s durational holding as a given and took pains to distinguish
 it, concluding that there was “nothing ‘special and temporary’” about the appointment in SW
 General, which had lasted “more than three years in an office limited by statute to a 4-year
 term.” Id. (quoting Eaton, 169 U.S. at 343). Then-Judge Kavanaugh described Eaton’s holding
 even more unequivocally in Free Enterprise Fund, explaining that “[t]he temporary nature of the
 office is the . . . reason that acting heads of departments are permitted to exercise authority
 without Senate confirmation.” Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 537 F.3d
 667, 708 n.17 (D.C. Cir. 2008) (Kavanaugh, J., dissenting) (emphasis omitted) (citing Eaton, 169
 U.S. at 343), aff’d in part, rev’d in part, and remanded, 561 U.S. 477 (2010).
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 Feb. 13, 1795, ch. 21, 1 Stat. 415, 415. Notably absent from these early congressional

 enactments is any limitation on whom the President could authorize to perform acting duties—

 much less any hint that the President was required to choose the first assistant. This early

 legislative practice, in force from President Washington’s first term until the middle of the Civil

 War, “provide[s] contemporaneous and weighty evidence of the Constitution’s meaning.” Alden

 v. Maine, 527 U.S. 706, 743–44 (1999) (internal quotation marks omitted)); see also Golan v.

 Holder, 565 U.S. 302, 321 (2012) (“[T]he construction placed upon the Constitution” by

 members of the early Congresses, “many of whom were members of the convention which

 framed [the Constitution], is of itself entitled to very great weight.” (internal quotation marks

 omitted)).

        The Coalition minimizes these enactments by suggesting that Congress must have

 assumed that the President’s broad statutory discretion would be narrowed by the Constitution.

 Firearms Pol’y Coal.’s Reply at 6–7. But if that is true, early courts did not get the message. In

 the words of one court, “it was doubtless considered when the act of 1792 was passed that it was

 expedient to allow to the President an unlimited range of selection, and hence the use of the

 broad and comprehensive language of [the 1792] act.” Boyle v. United States, 1857 WL 4155, at

 *4 (Ct. Cl. Jan. 19, 1857). This “unlimited” authority, granted at such an “early day in the

 history of the federal constitution,” was considered “safely . . . entrusted to [the President]” not

 because it was subject to unspecified further limits under the Appointments Clause but because

 the President was “in the daily exercise of higher and much more important powers” and could

 therefore be trusted to fill temporary vacancies. Id.

        Eventually, Congress did set limits on whom the President could appoint as an acting

 principal. But even then, it did not require the President to choose the first assistant. In 1863,



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 Congress narrowed the President’s options from “any person,” Act of May 8, 1792, § 8, 1 Stat. at

 281, to any department head or “other officer” whose “appointment is vested in the President,”

 Act of Feb. 20, 1863, ch. 45, § 1, 12 Stat. 656, 656. Five years later, in 1868, Congress passed

 the Vacancies Act, which curbed the President’s temporary appointment power in significant

 ways. See Act of July 23, 1868, 15 Stat. 168. For vacancies caused by death or resignation,

 Congress limited the term of acting service to a mere ten days. Id. § 3, 15 Stat. at 168. And for

 the first time, Congress provided that the first assistant would automatically perform the duties of

 the department head in the event of a vacancy. See id. § 1. But like its predecessors, the

 Vacancies Act still authorized the President to choose someone other than the first assistant if he

 wished, specifically, any department head or other Senate-confirmed officer. Id. § 3.

        This new pool of already-confirmed candidates may have been narrow, but the

 Coalition’s theory cannot explain it. Although an officer’s prior appointment may have been

 important to Congress, it would have been irrelevant for purposes of the Appointments Clause

 unless the officer’s new acting duties were somehow “germane to the office[] already held.”

 Shoemaker v. United States, 147 U.S. 282, 301 (1893). That would plainly not be the case for

 department heads tapped to lead other, unrelated departments, which the Vacancies Act

 expressly allowed. See Act of July 23, 1868, § 3, 15 Stat. at 168. Nor could the President’s

 authority to direct department heads to lead other departments be explained in terms of

 supervision or pre-existing duties. By definition, a department head is not supervised by anyone

 but the President. And the remote possibility of filling in for a fellow principal officer at the

 President’s request cannot plausibly be considered one of the routine responsibilities of leading a

 department.




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        Over the next 130 years, Congress made minor adjustments to the President’s temporary

 appointment authority, for the most part expanding the length of acting service. See, e.g., Act of

 Feb. 6, 1891, ch. 113, 26 Stat. 733, 733 (extending ten-day limit to thirty days); Presidential

 Transitions Effectiveness Act, Pub. L. No. 100-398, § 7(b), 102 Stat 985, 988 (1988) (extending

 limit to 120 days). Finally, in 1998, Congress passed the FVRA, which explicitly authorized the

 President to designate certain inferior officers and senior employees to serve as acting principal

 officers. See 5 U.S.C. 3345(a)(3).

        Thus, from the time of the founding to today, Congress has continuously authorized the

 President to direct persons who are not first assistants and who lack any constitutionally relevant

 Senate confirmation to perform the duties of a principal office temporarily on an acting basis.

 This unbroken legislative practice confirms Eaton’s holding that it is the “special and temporary

 conditions” of acting service, Eaton, 169 U.S. at 343—and not the identity of the acting

 official—that makes such service constitutional. See United States v. Curtiss-Wright Export

 Corp., 299 U.S. 304, 327–28 (1936) (“A legislative practice . . . marked by the movement of a

 steady stream for a century and a half of time, goes a long way in the direction of proving the

 presence of unassailable ground for the constitutionality of the practice.”).

        This understanding is further confirmed by the longstanding practice of the Executive

 Branch. See The Pocket Veto Case, 279 U.S. 655, 689 (1929) (“Long settled and established

 practice is a consideration of great weight in a proper interpretation of constitutional provisions

 . . . .”). As both parties acknowledge, a practice emerged early on in our Nation’s history of

 appointing a non-Senate confirmed “chief clerk” to serve as the Acting Secretary—or Secretary

 “ad interim”—when the principal Office of Secretary had become vacant. Gov’t’s Opp’n in

 Guedes at 56–57; Firearms Pol’y Coal.’s Reply at 12; see also Designating an Acting Attorney



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 General, 42 Op. Off. Legal Counsel –––, 2018 WL 6131923, at *8 (2018) (reporting over 100

 instances of chief clerks serving as acting principal officers from 1809 to 1860).

         The Coalition argues that this practice supports its theory because chief clerks were

 simply the historical analogue to today’s first assistants. See, e.g., Firearms Pol’y Coal.’s Reply

 at 12. But for chief clerks to have functioned as the Coalition maintains first assistants do, it

 would have to be true that they stepped in for their superiors automatically and subject to a

 general form of continual supervision. See Firearms Pol’y Coal.’s Br. at 3–4. That description

 may have been true of some clerks, see Firearms Pol’y Coal.’s Reply at 16 (identifying two

 statutes authorizing the chief clerk to fill in for the principal officer automatically in the event of

 a vacancy), but it was not true of all of them, or even most of them, see 1 Trial of Andrew

 Johnson, President of the United States, Before the Senate of the United States, on Impeachment

 by the House of Representatives for High Crimes and Misdemeanors 575–81 (1868) (hereinafter

 Trial of Andrew Johnson) (listing dozens of examples of Presidents “appoint[ing],”

 “authoriz[ing],” or “empower[ing]” chief clerks to perform the duties of a Secretary during a

 vacancy).

         More importantly, the Coalition’s account contrasts sharply with how the practice of

 appointing chief clerks was described and justified at the time. When chief clerks sought

 compensation for their acting service in federal court, the resulting decisions made clear that the

 position of Acting Secretary was viewed neither as a continuation of the chief clerk’s duties as

 chief clerk nor as an appointment to become the Secretary, but as a unique and temporary office

 that arose solely from the President’s exercise of discretionary authority under the relevant

 vacancy statute. See Boyle, 1857 WL 4155, at *3–4. As the Court of Federal Claims put it in

 Boyle, “[t]he office of Secretary ad interim” was “a distinct and independent office in itself,



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 when it [wa]s conferred on the chief clerk,” and was “so conferred not because it pertain[ed] to

 him ex officio, but because the President, in the exercise of his discretion, s[aw] fit to appoint

 him.” Id. at *4. Thus, while the court explained that the Secretary ad interim “may be the chief

 clerk,” he could also be “any other person, at the discretion of the President.” Id. (emphases

 added). Although “[e]xperience ha[d] taught” that “this discretion” could “be very judiciously

 exercised by conferring the appointment on the chief clerk,” the “broad terms of the [1792] act

 would fully warrant the President in selecting any other person; and it would, moreover, be his

 duty to do so, if, in his discretion, he should deem it most expedient.” Id. (emphasis added).

        The reason these discretionary appointments were understood not to violate the

 Appointments Clause was plain: “[t]he office of Secretary ad interim [wa]s temporary in its

 character, whilst that of Secretary [wa]s of a more permanent nature.” Id. at *3 (emphases

 added). As a result, “the one” was “considered inferior to the other,” and did not require the

 advice and consent of the Senate. Id.

        Thus, while it is true that Presidents often directed the chief clerk to serve in the event of

 a vacancy, Presidents made that decision voluntarily, as an exercise of statutory discretion, and

 not because the chief clerks’ existing duties made such service automatic. Moreover, the

 contemporaneous justification for this accepted practice was found not in the role of chief clerk

 but in the role of Acting Secretary and its temporary nature.

        Given this understanding, it is no surprise that Presidents frequently looked beyond chief

 clerks to fill temporary vacancies. Indeed, they regularly designated other cabinet members and

 department heads as acting principal officers. See Designating an Acting Attorney General,

 2018 WL 6131923, at *8 (reporting that during the Washington, Adams, and Jefferson

 Administrations, other cabinet members and Chief Justice John Marshall “were used as



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 temporary or ‘ad interim’ officials”); Letter from James Buchanan, President of the United

 States, to the Senate of the United States (Jan. 15, 1862), in 5 A Compilation of the Messages and

 Papers of the Presidents 1789–1902, at 3191 (James D. Richardson ed., 1902) (describing

 Presidents’ frequent use of department heads, among others, to fill vacancies in other

 departments); Trial of Andrew Johnson, supra, at 575–81 (listing over twenty instances of

 department heads serving as acting heads of other departments). And again, although these

 officials had been previously confirmed, their prior confirmations would have been irrelevant for

 constitutional purposes unless their prior duties were somehow germane to the duties of their

 new offices. See Shoemaker, 147 U.S. at 301 (an existing appointment may authorize additional

 duties only if those duties are “germane” to the office already held).

        In addition, on at least three occasions, a President—each time, President Jackson—

 authorized someone with no prior government role whatsoever to serve as an acting principal

 officer. On his first day in office, President Jackson directed James A. Hamilton to “take charge

 of the Department of State” until then-Governor Martin Van Buren “arrive[d] in the city.” Trial

 of Andrew Johnson, supra, at 575; see also Biographical Directory of the American Congress,

 1774–1961, at 16 (1961). And on two other occasions, he directed William B. Lewis to serve as

 Acting Secretary of War. See Trial of Andrew Johnson, supra, at 575. Although these examples

 are few, and limited to a single administration, they comport with the understanding articulated

 in Boyle that it is the temporary nature of an acting appointment—and not the former position of

 the appointee—that makes it unnecessary for the President to obtain the advice and consent of

 the Senate before filling a vacancy with an acting official. 13



 13
   There appear to be other examples where an individual who was neither the chief clerk nor a
 Senate-confirmed official stepped in as an acting principal officer. See Eaton, 169 U.S. at 344


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        To be sure, the Coalition’s position is not without its virtues. For one, it represents an

 attempt to reconcile Eaton’s focus on duration with the now-dominant criterion of supervision.

 See Edmond, 520 U.S. at 662 (“Generally speaking, the term ‘inferior officer’ connotes a

 relationship with some higher ranking officer or officers below the President.”); see also Free

 Enter. Fund, 537 F.3d at 708 n.17 (Kavanaugh, J., dissenting) (explaining that, “for offices that

 are not temporary,” Edmond “controls the inferior-officer Appointments Clause analysis,” and

 noting that Edmond “expressly purport[ed] to set forth a definitive test for inferior officer status

 governing future cases”). For another, it offers a clear constitutional boundary that could

 minimize manipulation by the Executive Branch.

        But despite these virtues, the Coalition’s theory suffers from fatal flaws. First, as already

 discussed, it cannot account for the Supreme Court’s holding in Eaton, an unbroken line of

 congressional enactments, or the longstanding practice of the Executive Branch (as understood at

 the time).

        Second, it rests on a weak conceptual foundation. Doctrinally, it relies on the premise

 that first assistants are “generally” supervised. See Firearm Pol’y Coal.’s Br. at 4, 21. By that,

 the Coalition appears to mean that they are supervised before and after they serve as acting

 principal officers. 14 But that is just another way of stating that they are not supervised during the


 (describing a consul’s son who served temporarily as consul when his father passed); Boyle,
 1857 WL 4155, at *5 (describing a “navy agent” who served temporarily as an acting “purser”);
 Firearms Pol’y Coal.’s Br. at 26 n.2 (acknowledging “several instances, when the first assistant
 was apparently unavailable,” in which “the President designated a non-confirmed subordinate to
 the first assistant or other senior department officer without objection”).
 14
   Of course, Whitaker himself was supervised both before and after his designation, as Chief of
 Staff to the Attorney General and as Senior Counselor in the Office of the Associate Attorney
 General. See Whitaker Remains at Justice Dept. but in Different Role, Wash. Post (Feb. 15,
 2019), https://www.washingtonpost.com/politics/whitaker-remains-at-justice-dept-but-in-
 different-role/2019/02/15/a332f0da-3142-11e9-8781-763619f12cb4_story.html.

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 one window that counts: when carrying out their acting appointment. Although a loose form of

 ongoing supervision might be said to apply when the principal officer is merely ill or absent,

 surely any such supervision ceases when the principal officer dies or resigns. Perhaps in these

 situations the next principal is able to exercise a form of retroactive supervision by ratifying or

 rejecting the acting official’s actions after the fact. But if such anticipated, backward-looking

 supervision could cure a first assistant’s temporary service, it could cure anyone’s. It therefore

 provides no basis for distinguishing first assistants from any other person approved for acting

 service under the FVRA.

         Third, the Coalition’s position admits of exceptions that lack a coherent or persuasive

 justification. For example, the Coalition appears to accept that the President can displace an

 available first assistant with any Senate-confirmed official, see, e.g., id. at 5, but it does not

 explain how that can be the case when the officer’s previous position was not “germane” to his

 new, acting duties, see Shoemaker, 147 U.S. at 301 (a prior appointment cannot justify the

 performance of new responsibilities “dissimilar to, or outside the sphere of” an officer’s previous

 “official duties”). 15 In addition, the Coalition appears to suggest that the President may ignore

 the Appointments Clause altogether if the first assistant is unavailable. See, e.g., Firearms Pol’y

 Coal.’s Br. at 4, 12, 25–26 n.2. But, again, it is not clear why. If the legal fiction justifying the

 first assistant’s temporary service is that the temporary service is merely a continuation of the

 first assistant’s existing inferior office, see id. at 3–4, that justification vanishes once the

 President chooses some other subordinate in the same department whose predefined job



 15
   If the answer is merely the functional consideration that requiring a previous confirmation
 ensures some quality control by the Senate, then it is not clear why Whitaker’s previous
 appointment as a United States Attorney would not suffice. See 150 Cong. Rec. S6467 (daily ed.
 Jun. 3, 2004).

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 responsibilities cannot realistically be stretched to include stepping in as the acting principal in

 the event of a vacancy. The Coalition suggests that the unavailability of the first assistant

 triggers an “exigency” that excuses what would otherwise be a constitutional violation, see id. at

 25–26 n.2, but the Court is hesitant to embrace a freestanding “exigency” exception with no

 basis in the constitutional text.16

         The Coalition insists that adopting the government’s interpretation will wreak havoc on

 the Separation of Powers, see, e.g., id. at 1–2, but the Court is not persuaded. Congress has set

 limits on the President’s temporary appointment authority, see 5 U.S.C. §§ 3345, 3346, and can

 expand those limits as it sees fit, see, e.g., Act of July 23, 1868, § 3, 15 Stat. at 168 (imposing a

 ten-day limit on acting appointments and limiting the President’s appointment authority to

 officials already serving in a Senate-confirmed role). Moreover, the “special and temporary

 conditions” that Eaton requires are no mere formality. 169 U.S. at 343. At some point, courts

 can and must play a role in policing “acting” appointments that are effectively permanent. See

 SW Gen., 137 S. Ct. at 946 n.1 (Thomas, J., concurring) (explaining that a three-year

 appointment to an office with a four-year term was not “special and temporary” under Eaton

 (internal quotation marks omitted)). This case, however, does not concern the pretextual use of




 16
   This “exigency” exception also appears inconsistent with the Coalition’s separate argument
 that an acting principal officer must at least be an inferior officer and not a mere employee. See
 Firearms Pol’y Coal.’s Br. at 25–26 n.2. The Coalition cites with approval examples of the
 President designating “a non-confirmed subordinate to the first assistant” and of a consul’s son
 taking charge of the consulate upon his father’s death. Id. at 26 n.2. But the Coalition does not
 address the possibility that these scenarios involved individuals who were not officers—and, in
 the case of the consul’s son, not even an employee—serving in what the Coalition considers a
 principal office. As far as the Court can discern, the Coalition’s position is that all constitutional
 bets are off as soon as the first assistant is unavailable, both at the employee/officer boundary
 and the inferior/principal officer boundary.

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 the “temporary” label to circumvent the Senate’s advice and consent role, and the Coalition has

 not argued otherwise.

        At any rate, the constitutional rule was laid down in Eaton and has since been reaffirmed:

 an official who is “charged with the performance of the duty of the superior for a limited time,

 and under special and temporary conditions,” need not be appointed by the President with the

 advice and consent of the Senate. Eaton, 169 U.S. at 343; see also Morrison, 487 U.S. at 672;

 Edmond, 520 U.S. at 661. Whitaker’s temporary service as the Acting Attorney General satisfies

 that test. He served as Acting Attorney General for a mere 100 days during the special

 circumstance of a vacancy triggered by the resignation of Attorney General Sessions. As a

 result, he did not become a principal officer under the Appointments Clause.

                b. Whitaker’s Appointment Under the FVRA

        The Coalition makes two additional constitutional arguments based on the implicit

 premise that the Constitution requires the Acting Attorney General to be at least an inferior

 officer, rather than an employee. First, it argues that the text of the FVRA authorizes the

 President to “direct” an individual to serve in an acting capacity but does not authorize the

 President to “appoint” that individual to become an inferior officer. Firearms Pol’y Coal.’s Br. at

 17–19. 17 Second, it argues that an employee can never be “appointed” to serve in an acting




 17
   Although the Coalition cites the word “direct” in § 3345(a)(3) in its motion, see Firearms
 Pol’y Coal.’s Br. at 18–19, it appears to shift its focus to the word “designates” in
 § 3347(a)(1)(b) in its reply, see Firearms Pol’y Coal.’s Reply at 5. The Court assumes that the
 Coalition intended to continue to argue that the word “direct” creates the constitutional problem.
 In any event, the Court doubts the difference matters since the terms are synonymous in this
 context. See SW Gen., 137 S. Ct. at 946 (Thomas, J., concurring) (“When the President ‘directs’
 a person to serve as an acting officer, he is ‘assigning’ or ‘designat[ing]’ that person to serve as
 an officer.” (alterations adopted)).

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 capacity because an acting position is temporary and an officer must hold a permanent position.

 Id. at 19–20. Neither argument is persuasive.

        Assuming without deciding that Whitaker was an employee before his designation and

 that an employee’s service as Acting Attorney General first requires an appointment, the FVRA

 authorized such an appointment and the President carried it out. As Justice Thomas recently

 explained, at the time of the framing, “the verb ‘appoint’ meant ‘to establish anything by decree’

 or ‘to allot, assign, or designate.’” SW Gen., 137 S. Ct. at 946 (Thomas, J., concurring)

 (alterations adopted and internal citations omitted). Therefore, “[w]hen the President ‘directs’

 someone to serve as an officer pursuant to the FVRA, he is ‘appointing’ that person as an ‘officer

 of the United States’ within the meaning of the Appointments Clause.” Id. (alterations adopted).

        The Supreme Court’s decision in Weiss is not to the contrary. See Weiss v. United States,

 510 U.S. 163 (1994). In Weiss, the Court considered whether military judges assigned to serve

 as judges by various Judge Advocate Generals under the Uniform Code of Military Justice

 (UCMJ) were lawfully appointed. The Court reasoned that the military judges involved were

 “commissioned officers when they were assigned to serve as judges,” so “they had already been

 appointed by the President with the advice and consent of the Senate.” Id. at 170. It then

 rejected the petitioners’ arguments that “either Congress ha[d], by implication, required a second

 appointment, or the Appointments Clause, by constitutional command, require[d] one.” Id. In

 the course of rejecting the first argument, the Court compared other statutes governing the

 appointment of military officers to the sections of the UCMJ relating to military judges. It

 stressed that in the first set of statutes, Congress used the term “appoint,” but in “[t]he sections of

 the UCMJ relating to military judges,” it “sp[oke] explicitly and exclusively in terms of ‘detail’

 or ‘assign’; nowhere in these sections [wa]s mention made of a separate appointment.” Id. at



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 172. “This difference negate[d] any permissible inference that Congress intended that military

 judges should receive a second appointment, but in a fit of absentmindedness forgot to say so.”

 Id.

         The Coalition seizes on this case to argue that the FVRA does not permit the appointment

 of an acting official because Congress did not use the word “appoint” in the FVRA. See

 Firearms Pol’y Coal.’s Br. at 18–19; Firearms Pol’y Coal.’s Reply at 5. But the discussion in

 Weiss turned on the specific text of various military statutes and placed particular weight on the

 use of the words “assigned” and “detailed,” neither of which are at issue here. Moreover, the

 question in Weiss was whether Congress intended to impose an additional appointment

 requirement on military judges, not whether a statute designed to permit such appointments

 failed because it lacked certain magic words. Congress clearly contemplated that the FVRA

 would confer appointment authority on the President, and its use of the word “direct” was

 sufficient to confer that authority.

         The Coalition’s separate argument that Whitaker cannot be an inferior officer because his

 duties are only temporary fails for a more elementary reason: if the temporary nature of

 Whitaker’s duties prevented him from becoming an officer, then the temporary nature of his

 duties also prevented him from needing an appointment at all—under the FVRA or otherwise.

 The Coalition relies primarily on Lucia, in which the Supreme Court explained that “an

 individual must occupy a ‘continuing’ position established by law to qualify as an officer.”

 Lucia, 138 S. Ct. at 2051. But that decision merely established who must be appointed by a

 President, court, or department head; not who may be. In any event, Eaton makes clear that the

 temporary nature of acting duties cures any constitutional problem; it does not create one. To the

 extent the Coalition contends that officers must hold permanent positions and that there is no



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 exception for acting principal officers, then acting officials are not officers and Whitaker did not

 need to be appointed at all. Cf. Peters, 2018 WL 6313534, at *4 n.11 (“[T]he Supreme Court’s

 delineation of constitutional ‘Officer’ characteristics suggests that an ‘Acting’ official could be

 considered a ‘lesser functionar[y]’ employee for which ‘the Appointments Clause cares not a

 whit about who named them.’” (quoting Lucia, 138 S. Ct. at 2051)). For these reasons, the

 Coalition is unlikely to succeed on these final challenges to the bump stock rule.

                                          CONCLUSION

        Because the plaintiffs have not met their burden of showing entitlement to a preliminary

 injunction, the Court denies their motions.



                                                               ________________________
                                                               DABNEY L. FRIEDRICH
                                                               United States District Judge
 February 25, 2019




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 DAMIEN GUEDES, et al.                                  :
                                                        :
                                 Plaintiffs             :
                  v.                                    :       Civil Action No. 1:18-cv-2988
                                                        :
 BUREAU OF ALCOHOL, TOBACCO,                            :
 FIREARMS AND EXPLOSIVES, et al.                        :
                                                        :
                                 Defendants             :

                                 NOTICE OF FILING EXHIBITS


          Plaintiffs hereby give notice of filing the exhibits listed below, which were exhibits to

 Firearm Policy Coalition, Inc.’s and Firearm Policy Foundation’s Comment in Opposition of the

 Notice of Proposed Rulemaking. 1 Due to their nature, they are unable to be filed electronically

 through the Court’s ECF System.



         Exhibit Number                       Description                       Location

                                                                     This exhibit is maintained by
                                              Video:
                                                                      counsel and available upon
                                     Iraqveteran8888, Worlds
                                                                         request. As it is video
                 3                   Fastest Shooter vs Bump
                                                                     footage, the exhibit is not in a
                                      Fire! – Guns Reviews,
                                                                       format that readily permits
                                    YouTube, October 13, 2014
                                                                            electronic filing.



                                    Video: Miculek.com, AR-15        This exhibit is maintained by
                                      5 shots in 1 second with        counsel and available upon
                 4                   fastest shooter ever, Jerry         request. As it is video
                                       Miculek (Shoot Fast!),        footage, the exhibit is not in a
                                      YouTube, June 20, 2013           format that readily permits
                                                                            electronic filing.


 1
     Firearm Policy Coalition’s comment is Exhibit A to the complaint.



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                               Video: Shooting            counsel and available upon
           11             Videos, Rapid manual trigger       request. As it is video
                          manipulation (Rubber Band      footage, the exhibit is not in a
                              Assisted), YouTube,          format that readily permits
                              December 14, 2006                 electronic filing.

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                           Video: StiThis1, AK-47 75      counsel and available upon
                            round drum Bumpfire!!!,          request. As it is video
           12
                          YouTube, September 5, 2011     footage, the exhibit is not in a
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           13              without a bump-fire stock,
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           14              stock, YouTube, October 8,
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                                                                electronic filing.


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                            Determined That Bump             request. As it is video
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                              Stocks Were Legal,         footage, the exhibit is not in a
                          YouTube, October 11, 2017        format that readily permits
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                            Video: Fastest Shooter OF     counsel and available upon
           18              ALL TIME! Jerry Miculek |         request. As it is video
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                          Video: Molon Labe, hogan 7      counsel and available upon
           26             m16.wmv, YouTube, October          request. As it is video
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           28             Video: Adam Kraut Esq. and     This exhibit is maintained by
                               Patton Media and           counsel and available upon
                               Consulting, Bump              request. As it is video
                          Stock Analytical Video, June   footage, the exhibit is not in a
                                   14, 2018                format that readily permits
                                                                electronic filing.




                                        Respectfully Submitted,


                                        ________________________
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 As is reflected in the above image, taken from the subject Web site, the notice that the comment

 period was closed was in relation to this proposed rulemaking regarding Bump-Stock-Type

 devices of “03/29/2018” and also reflects that the comment period was not supposed to end until

 “06/27/2018”; however, individuals were denied the opportunity to comment.

        Even when individuals reached out online to the Federal Register regarding their inability

 to submit comments, the Federal Register responded by saying that it isn’t its problem 20:




 20
    It would seem that, at a minimum, the Federal Register’s Web site and social media accounts
 are managed by the same parties responsible for the www.healthcare.gov debacle that precluded
 individuals from being able to register for Obamacare, which led the Inspector General of the
 Department of Health and Human Services to issue a scathing report over the incompetence of
 those responsible. See http://www.mcall.com/news/local/watchdog/mc-obamacare-website-
 failure-watchdog-20160224-column.html.

                                                14

                                             JA085                                            Exhibit A, Pg. 17
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 19 of 675
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        But the procedural irregularities and issues didn’t end there. On April 2, 2018, Carl

 Bussjaeger published an article, which was later updated, [Update] Bumbling Machinations on

 Bump Stocks? See, Exhibit 5. 21 In his article, he details the trials and tribulations of trying to

 find the appropriate docket, based on the NPR in this matter, and the differing number of

 comments putatively submitted and available for review between three separate dockets. When

 he submitted an inquiry to ATF regarding these issues, without explaining why there are three

 separate related dockets, ATF Senior Industry Operations Investigator Katrina Moore responded

 that he should use https://www.regulations.gov/document?D=ATF-2018-0002-0001; yet, ATF




 21
   A copy of the article is also available online at – http://zelmanpartisans.com/?p=5071. See
 also, http://zelmanpartisans.com/?p=5055.

                                                   15

                                                JA086                                           Exhibit A, Pg. 18
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 20 of 675
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 failed to relay that information to the public at large or place notices on the other two related

 dockets informing interested individuals of the location where they can submit their comments.

        When other federal administrative agencies have failed to provide a statutorily mandated

 comment period or issues arose during the comment period, whereby the comment period was

 thwarted by technological or other delays, those agencies have extended the applicable comment

 periods. See, e.g., Department of the Interior -- Fish & Wildlife Service, Endangered and

 Threatened Wildlife and Plants; Extending the Public Comment Periods and Rescheduling

 Public Hearings Pertaining to the Gray Wolf (Canis lupus) and the Mexican Wolf (Canis lupus

 baileyi), 78 Fed. Reg. 64192 (Oct. 28, 2013); Environmental Protection Agency, Extension of

 Review Periods Under the Toxic Substances Control Act; Certain Chemicals and

 Microorganisms; Premanufacture, Significant New Use, and Exemption Notices, Delay in

 Processing Due to Lack of Authorized Funding, 78 Fed. Reg. 64210 (Oct. 28, 2013); Department

 of the Interior -- Fish & Wildlife Service, New Deadlines for Public Comment on Draft

 Environmental Documents, 78 Fed. Reg. 64970 (Oct. 30, 2013); Department of Labor --

 Occupational Safety and Health Administration, Occupational Exposure to Crystalline Silica;

 Extension of Comment Period; Extension of Period to Submit Notices of Intention to Appear at

 Public Hearings; Scheduling of Public Hearings, 78 Fed. Reg. 35242 (Oct. 31, 2013);

 Department of Agriculture -- Food and Nutrition Service, Supplemental Nutrition Assistance

 Program: Trafficking Controls and Fraud Investigations; Extension of Comment Period, 78 Fed.

 Reg. 65515 (Nov. 1, 2013); Federal Communications Commission, Revised Filing Deadlines

 Following Resumption of Normal Commission Operations, 78 Fed. Reg. 65601 (Nov. 1, 2013);

 Federal Trade Commission, Ganley Ford West, Inc.; Timonium Chrysler, Inc.; TRENDnet, Inc.;

 Pinnacle Entertainment, Inc.; Honeywell International, Inc.; Nielsen Holdings, Inc., et al.;



                                                  16

                                               JA087                                           Exhibit A, Pg. 19
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 21 of 675
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 Polypore International, Inc.; Mylan, Inc., et al.; Actavis, Inc., et al.; Agency Information

 Collection Activities (Consumer Product Warranty Rule, Regulation O, Affiliate Marketing

 Rule), 78 Fed. Reg. 65649 (Nov. 1, 2013); Federal Communications Commission, Revised Filing

 Deadlines Following Resumption of Normal Commission Operations,78 Fed. Reg. 66002 (Nov.

 4, 2013). In this rulemaking proceeding, by refusing to extend the comment period and failing to

 notify interested parties of the correct docket for filing comments, ATF failed to mitigate the

 harm caused by these procedural irregularities and issues that were resultant from ATF’s own

 conduct and actions. Thus, ATF has failed to provide the statutorily-mandated public comment

 period and caused public confusion as to whether or not the comment period was open or closed

 and the appropriate docket for the filing of comments. More disconcerting is that this is not the

 first time that ATF has acted in this manner during the rulemaking process. 22




            D.      ATF’s Prior Lack of Candor Demonstrates a Heightened Need for
                    Procedural Regularity


        The litany of procedural irregularities in this proceeding would undermine the efforts of

 an agency with a sterling reputation for fairness and candor. ATF has a well-documented record

 of “spinning” facts and engaging in outright deception of the courts, Congress, and the public.

 Many of the examples of such conduct arise precisely in the area of regulation of NFA firearms


 22
   See, Firearms Industry Consulting Group’s comment in response to ATF-41P, RIN: 1140-
 AA43, available at https://www.regulations.gov/document?D=ATF-2013-0001-8364, wherein it
 documents in Section I the numerous procedural irregularities and issues that denied interested
 persons a meaningful opportunity to comment on the proposed rulemaking. For brevity, FPC
 incorporates into this Comment all exhibits attached to the Comment of Firearms Industry
 Consulting Group in the response to ATF-41P. All of Firearms Industry Consulting Group’s
 exhibits in response to ATF-41P are available at
 https://www.regulations.gov/document?D=ATF-2013-0001-8364.

                                                  17

                                               JA088                                            Exhibit A, Pg. 20
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 265 of 675
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                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives



                                                                                        903050:MMK
                                                     Martinsburg, West Virginia 25405
                                                                                        3311/2010-434
                                                     www.atf.gov

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This is in reierence to y0ur submission and accompanying letter to the Fiream1s Technology
Branch (FTB), Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), asking for an
evaluation of a replacement shoulder stock for an AR-15 type rifle. Your letter advises that the
stock (referenced in this reply as a "bump-stock") is intended to assist persons whose hands have
limited mobility to "bump-fire" an AR-15 type rifle. Your submission includes the following: a
block to replace the pistol grip while providing retention for the selector stop spring; a hollow
shoulder stock intended to be installed over the rear of an AR-15 fitting with a sliding-stock type
buffer-tube assembly; and a set of assembly instrnctions.

The FTB evaluation confirmed that the submitted stock (see enclosed photos) does attach to the
rear of an AR-15 type rifle which has been fitted with a sliding shoulder-stock type buffer-tube
assembly. The stock has no automatically functioning mechanical parts or springs and performs
no automatic mechanical function when installed. In order to use the installed device, the
shooter must apply constant forward pressure with the non-shooting hand and constant rearward
pressure with the shooting hand. Accordingly, we find that the "bump-stock" is a firearm part
and is not regulated as a firearm under Gun Control Act or the National Firearms Act.

Per your telephoned instructions, we will contact. you separately to make return delivery
arrangements.

We thank you for your inquiry and trust that the foregoing has been responsive.

                                         Since el)' yours

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                                         5ohn R . Spencer
                               C ~~Firearms Technology Branch
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Enclosure



                                                    JA089                                      Exhibit A, Pg. 264
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 266 of 675

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                                                                       Page 94 of 386

                                                            Bureau of Alcohol. Tobacco.
                                                            Firearms and Explosives




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                                                            APR 0 2 2012




    This is in reference to your correspondence to the Bureau of Alcohol, Tobacco, Firearms and
    Explosives (ATF), Firearms Technology Branch (FTB), requesting FTB to evaluate an
    accompanying stock and determine if its design would violate any Federal statutes.

    As background information, the National Firearms Act (NFA), 26 U.S.C. Section 5845(b),
    defines " machinegun" as-
    " ... any weapon which shoots, is designed to shoot, or can be readily restored to shoot,
    automatically more than one shot, wilhout manual reloading, by a single function ofthe trigger.
    The term shall also include the frame or receiver of any such ll'eapon, a11y part desig11ed a11d
    ilrte11ded solely a11d exclusively, or combi11ation ofparts desig11ed a11d i11te11ded,for use i11
    co11verti11g a weapon i11to a mac/1i11egu11, and any combination ofparts from which a
    machinegun can be assembled ifsuch parts are in the possession or under the control ofa
    person."

    The FTB evaluation confirmed that you have submitted a plastic shoulder stock designed to
    function on an AR-15 type rifle (see enclosed photos). For your stock to function in the manner
    intended, it has to be attached to an AR-15 type platform that is assembled with a collapsible-
    stock receiver extension. Along with the shoulder stock, you have submitted what you have
    identified as a "receiver module." This module is a plastic block approximately 1-5/16 inch~s
    high, about 1-3/8 inches long, and approximately 7/8-inch wide. Additionally, there are two
    extensions, one on each side, that are designed to travel in the two slots configured on the
    shoulder stock. The receiver module replaces the AR-15 pistol grip.

    Further, the submitted custom shoulder stock incorporates a pistol grip. This grip section has a
    cavity for the receiver module to move forward and backward. Additionally, two slots have been
    cut for the receiver module extensions to travel in. The upper section of the shoulder stock is
    designed to encapsulate the collapsible receiver extension. Further, the custom stock is




                                                    JA090                                                    Exhibit A, Pg. 265
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     designed with a "lock pin." When the handle on the lock pin is facing in the 3- to 9-o'clock
     positions, the stock is fixed and will not move; and when the handle on the lock pin is facing in
     the 12- to 6-o'clock positions. the stock is movable.

     The FTB live-fire testing of the submined device indicates that if, as a shot is fired, an
     intermediate amount of pressure is applied to the fore-end with the support hand, the shoulder
     stock device will recoil sufficiently rearward to allow the trigger to mechanically reset.
     Continued intermediate pressure applied to the fore-end will then push the receiver assembly
     forward until the trigger re-contacts the shooter's stationary firing hand finger, allowing a
     subsequent shot to be fired. ln this manner, the shooter pulls the firearm forward to fire each
     shot, the firing of each shot being accon1plished by a single trigger function. Further. each
     subsequent shot depends on the shooter applying the appropriate amount of forward pressure to
     the fore-end and timing it to contact the trigger finger on the firing hand, while maintaining
     constant pressure on the trigger itself.

     Since your device is incapable of initiating an automatic firing cycle that continues until either
     the finger is released or the ammunition supply is exhausted, FTB finds that it is not a
     machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18 U.S.C.
     921 (a)(23).

     Please be advised that our findings are based on the item as submitted. Any changes to its design
     features or characteristics will void this c lassification. Further, we caution that the addition of an
     accelerator spring or any other non-manual source of energy which allows this device to operate
     automatically as described will result in the manufacture of a machinegun as defined in the NF A,
     5845(b).

     To facilitate the return of your sample, to include the module, please provide FTB with the
     appropriate FedEx or similar account information within 60 days ofreceipt of this letter. If their
     return is not necessary, please fax FTB at 304-616-430 I with authorization to destroy them on
     your behalf.

     We thank you for your inquiry and trust the foregoing has been responsive to your evaluation
     request.




                                                  hn R. Spence
                                           , F' earms Technology Branch

     Enclosure




                                                    JA091                                         Exhibit A, Pg. 266
     Case 1:18-cv-02988-DLF Document 1-2U.S.Filed 12/18/18
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                                                          of Justice
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                                        Bureau of Alcohol, Tobacco,
                                        Firearms and Explosives

                                                     Assistant Director

                                                     Washington, DC 20226
                                                     www.at f.gov

                                    APR ·1 6 2013



 The Honorable Ed Perlmutter
 U.S. House of Representatives
 Washington, DC 20515

 Dear Congressman Perlmutter:

 This is in response to your letter dated March 5, 2013, to the Bureau of Alcohol, Tobacco,
 Firearms and Explosives (ATF) to rescind a previous evaluation letter and to classify all bump-
 fire stocks (to include specifically the Slide Fire Solutions stock) as machineguns.

 As you have indicated, machineguns are defined in the National Firearms Title Act, 26 United
 States Code Chapter 53 Section 5845(b). The definition has four distinct parts. The first, as you
 point out, states that a machinegun is "any weapon which shoots, is designed to shoot, or can be
 readily restored to shoot, automatically more than one shot, without manual reloading, by a
 single function of the trigger." The remaining portions of the definition go on to state that: "[t]he
 term shall also include the frame or receiver of any such weapon, any part designed and intended
 solely and exclusively, or combination of parts designed and intended, for use in converting a
 weapon into a machinegun, and any combination of parts from which a machinegun can be
 assembled if such parts are in the possession or under the control of a person."

 In the course of examining a number of bump-fire stocks, ATF found that none of these devices
 could shoot nor did they constitute firearm frames or receivers; therefore, the first portion of the
 machinegun definition can not apply. Those bump-fire stocks which were found to convert a
 weapon to shoot automatically were classified as machineguns and regulated accordingly-
 most notably, the Akins Accelerator. Other bump-fire stocks (such as the SlideFire Solutions
 stock) that ATF determined to be unable to convert a weapon to shoot automatically were not
 classified as machineguns.

 Reviewing findings with respect to the Akins and Slide Solutions, ATF, in Ruling 2006-2, found
 that the Akins Accelerator incorporated a mechanism to automatically reset and activate the fire-
 control components of a firearm following the single input of a user. Thus, the Akins
 Accelerator acted to convert a semiautomatic firearm to shoot automatically. Conversely, the
 Slide Fire Solutions stock requires continuous multiple inputs by the user for each successive




                                               JA092                                         Exhibit A, Pg. 267
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                                                 -2-

 The Honorable Ed Perlmutter


 shot. Similarly, other devices exist, such as the Hellfire Trigger, which attach to and act upon
 the trigger of a firearm and also work to increase the rate or volume of fire of the firearm. Like
 the Slide Fire Solutions stock, the Hellfire Trigger does not provide an automatic action-
 requiring instead continuous multiple inputs by the user for each successive shot.

 Public safety is always a primary concern of ATF. We remain committed to the security of our
 Nation and the fight against violent crime. However, bump-fire stocks that do not fall within any
 of the classifications for firearm contained in Federal law may only be classified as firearms
 components. Stocks of this type are not subject to the provisions of Federal firearms statutes.
 Therefore, ATF does not have the authority to restrict their lawful possession, use, or transfer.

 We hope this information proves helpful in responding to your constituent. Please let me know
 if we may be of further assistance.

                                          Sincerely yours,




                                        Richard W. Marianas
                                         Assistant Director
                                  Public and Governmental Affairs




                                              JA093                                         Exhibit A, Pg. 268
     Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 278 of 675
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     This is in reference to your correspondt.Ti<.:,; to the Bureau of Alcohol, Tobacco, Firearms and
     Explosives (ATF), Firearms Technol•Jgy Bn:mch 0-''l B), reqw:sting FTB to evaluate an
     accompanying stock und detcrmbe if ib (k;;lgn would violate any Federal statutes.

     As background information. the N1uion;.:i r in.:·nnn:; i\Cl (Nb\), 26 U.S.C. Section 5845(b),
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     " ... any weapon which shoots, 1s d.::.>i>;ncd io sftoot, or can be readily restored to shoot,
     c 1JtUiitafic,1iiy nwn::inan um:sriut, i>'Viihu<d fllll!;mti rduu~ii11g, !:)':,; sirrsh.:fiiri-£ikifi-<~/lhe trigger.
     The term shall also include the.frame or n:ccfvf'r of'any such ·weapon, any part designed and
     int1mded solely and excl11siveiy, or combination ofparts designed and intended,for use in
     co11verting a weapon into a machinegun~ and any combination ofparts from which a
     machinegun can be assembled if such part:i an~ in the pos~'iession or under the control ofa
     person."

     The FTB evaluation confirmed that you h.,1.ve submitted a plastic shoulder stock designed to
     function on an AR-15 type ritle (see'enclosed photos). For your stock to function in the manner
     intended, it has to be attached to an AR.. 15 type platform that is assembled with a collapsible-
     stock receiver extension. Along with the shoulder stock, you have submitted what you have
     identified as a "receiver module." This module isa: plastic block approximately 1-5/16 inches
     high, about 1-3/S inches long, and approximately 7/8-inch wide. Additionally, there are two
     extensions, one on each side, that ar+.! designed to travel in the two slots configured on the
     shoulder stock. The receiver module replaces the AR-15 pistol grip.

      FW'ther, the submitted custom shoulder stock hicorporates a pistol grip. This grip section has a
   ' oaVi!yfor the receiver moduJe,to'move f.orWS,td~ backwm'd. Additionally, two slots have been
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                                                                 JA094                                                        Exhibit A, Pg. 277
     Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 279 of 675
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   designed with a "lock pin." When the handle on the lock pin is facing in the 3- to 9-o'clock
   positions, the stock is fixed and will not move; and when the handle on the lock pin is facing in
   the 12- to 6-o'clock positions, the stock is movable.

   The FTB live-fire testing of the submitted device indicates that if, as a shot is fired, an
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   stock device will recoil sufficiently rearward to allow the trigger to mechanically reset.
   Continued intermediate pressure applied to the fore-end will then push the receiver assembly
   forward until the trigger re-contacts the shooter's stationary firing hand finger, allowing a
   subsequent shot to be fired. In this manner, the shooter pulls the firearm forward to fire each
   shot, the firing of each shot being accomplished by a single trigger function. Further, each
   subsequent shot depends on the shooter applying the appropriate amount of forward pressure to
   the fore-end and timing it to contact the trigger finger on the firing hand, while maintaining
   constant pressure on the trigger itself.

   Since your device is incapable of initiating an automatic firing cycle that continues until either
   the finger is released or the ammunition supply is exhausted, FIB finds that it is !!!ll a
   machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18 U.S.C.
   921(a)(23).

   Please be advised that our findings are based on the item as submitted. Any changes to its design
   features or characteristics will void this classification. Further, we caution that the addition of an
   accelerator spring or any other non-manual source of energy which allows this device to operate
   automatically as described will result in the manufacture of a maebip~gµn as defined in the NFA,
   5845(b).

   To facilitate the retun;LQf Y<>ll? Sat'JlP~;·to • , , ,the~ide, please provide FTB with the
   appropriate FedEx 9f &imitltr account blfi .· .       .witmn 60 days of receipt of this letter. If their
   return is not necessary, please fa F'fl.,lt 304~'16-4301 with authorization to destroy them on
   your b~f.          >                   ··· "'


   We thank Y~''.fo~'.~~ .                           regoin& has been responsive to your .evaluation
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                                               JA095                                      Exhibit A, Pg. 278
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 280 of 675
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                              Exhibit 2




                                    JA096                             Exhibit A, Pg. 279
  From : BumpCase     1:18-cv-02988-DLF
               Fire Systems                         Document 1-2
                             orders141 @burnpfiresystems.com        .    Filed 12/18/18 Page 281 of 675
    USCA
Subject : YourCase   #19-5042
              BUMP FIRE  SYSTEMS order Document
                                         receipt from #1775782
                                                      October 30, 2014       Filed: 03/04/2019 Page 101 of 386
  Date: October 30, 2014 at 22:27
     To:




       Your order has been received and is now being processed. Your order details are shown
       below for your reference:



       Order: #2872
           Product                                  Quantity                 Price

           AR15 BFSystem                            1                        $99.99

           Cart Subtotal:                                                    $99.99

           Shipping:                                                         $6.00 via Flat Rate

           Payment Method:                                                   Credit Card

           Order Total:                                                      $105.99



       Customer details
       Email:

       Tel:



       Billing address
       Damien Guedes



       Whitehall , Pennsylvania 18052

                                                            JA097                                   Exhibit A, Pg. 280
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                               Exhibit 16

           (Verified Declaration of Matthew Thompson)




                                    JA098                             Exhibit A, Pg. 281
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               VERIFIED DECLARATION OF MATTHEW THOMPSON


          I, Matthew Thompson, am competent to state and declare the following based on

    my personal knowledge:

       1. I am a resident of Hamburg, Pennsylvania.

       2. In 2017, I became interested in a bump stock device.

       3. Prior to purchasing a Slide Fire bump stock device, as I wanted to ensure the

          legality of the device, I went on Slide Fire's website - https://slidefire.com - to

          determine if the Bureau of Alcohol, Tobacco, Firearms and Explosives had

          approved the device.

       4. Slide Fire's website stated that it had obtained approval from ATF and provided

          me with a copy of ATF's June 7, 2010 determination letter. A copy of the letter is

          attached as Exhibit 1.

       5. In reliance on ATF' s determination letter of June 7, 2010, I purchased a Slide Fire

          bump stock device at a cost of $134.00, which I still own today.

       6. It is my understanding, based upon ATF' s notice of proposed rulemaking - RIN

          1140-AA52, Fed. Reg. No. 2018-06292 - that ATF intends to reclassify bump

          stock devices as machine guns in violation of Article 1, Section 9 of the United

          States Constitution (i.e. Ex Post Fact clause) and to require me to surrender or

          otherwise destroy my Slide Fire bump stock device in the absence of any

          compensation, in violation of the Fifth Amendment to the United States

          Constitution.




                                             JA099                                         Exhibit A, Pg. 282
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           I declare under penalty of perjury that the foregoing is true and correct to the best

    of my information, knowledge and belief. Executed on April Jj_, 2018.


                                                  ~flft:w-/f[A .
                                                  Matthew   Thomp~




                                             JA100                                         Exhibit A, Pg. 283
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                              Exhibit 1




                                    JA101                             Exhibit A, Pg. 284
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                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives



                                                                                        903050:MMK
                                                     Martinsburg, West Virginia 25405
                                                                                        3311/2010-434
                                                     www.atf.gov

                                                         JUN 0 7 2010




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Branch (FTB), Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), asking for an
evaluation of a replacement shoulder stock for an AR-15 type rifle. Your letter advises that the
stock (referenced in this reply as a "bump-stock") is intended to assist persons whose hands have
limited mobility to "bump-fire" an AR-15 type rifle. Your submission includes the following: a
block to replace the pistol grip while providing retention for the selector stop spring; a hollow
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The FTB evaluation confirmed that the submitted stock (see enclosed photos) does attach to the
rear of an AR-15 type rifle which has been fitted with a sliding shoulder-stock type buffer-tube
assembly. The stock has no automatically functioning mechanical parts or springs and performs
no automatic mechanical function when installed. In order to use the installed device, the
shooter must apply constant forward pressure with the non-shooting hand and constant rearward
pressure with the shooting hand. Accordingly, we find that the "bump-stock" is a firearm part
and is not regulated as a firearm under Gun Control Act or the National Firearms Act.

Per your telephoned instructions, we will contact. you separately to make return delivery
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We thank you for your inquiry and trust that the foregoing has been responsive.

                                         Since el)' yours

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                                         5ohn R . Spencer
                               C ~~Firearms Technology Branch
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Enclosure



                                                    JA102                                      Exhibit A, Pg. 285
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                                                                                                             Richard Vasquez
    One History Arms Model 54RCCS, etc.                                                                    September 10, 2009
                                                         Page 73                                                       Page 75

     1      Q Martin. So is it fair to say Mr. Martin's             1 ones that were manufactured before a particular
     2   and Mr. Spencer's participation was at a fairly high       2 date?
     3   level more or less reviewing and approving and not         3    A That's correct.
     4   actively participating in the decision?                    4    Q But whatever number of those there are,
     5      A Are you meaning high level like their                 5 they're out there?
     6   superior ranking or --                                     6     A Yes.
     7      Q Well, I was more getting at they reviewed             7   Q Now, based on your inspection and
     8   the final product, maybe made changes, maybe didn't        8 observations of the defendant, did you conclude
     9   and approved it without getting into the substantive       9 whether it was intended to be installed on a
    10   details of the decision.                                  10 particular firearm blower?
    11      A That would be correct.                               11      A Can you say that again?
    12      Q Okay.                                                12      Q I mean, did you come to any conclusion of
    13          MR. MONROE: Let's take one more break.             13   what the purpose of the defendant was?
    14          (Thereupon, a brief recess ensued at               14      A What the intention of the manufacturer was?
    15      approximately 11 :43 a.m. and the proceedings          15      Q Yes.
    16      subsequently resumed at approximately 11 :50           16      A Or what our interpretation of what the
    17      a.m. with all parties present).                        17   defendant weapon was?
    18   BY MR. MONROE:                                            18      Q What the intention of the manufacturer
    19      Q In Exhibit 1 which are the operating                 19   was.
    20   procedures that you wrote, there's a reference to         20      A Yes. And it's indicated that there's a
    21   two rulings, 82-8 and 83-5, do you recall that?           21   portion of a MAC upper welded inside the receiver.
    22      A Do I recall the rulings or the reference?            22      Q And so what did you conclude the purpose
    23      Q Well, first of all the reference.                    23   of the manufacturer was in manufacturing the device?
    24      A Yes.                                                 24      A The purpose of the manufacturer in
    25     Q Do you recall the ruling?                             25   manufacturing the device is that he wanted to install
                                                         Page 74                                                      Page 76

     1   A Yes.                                                     1 it on to a MAC receiver.
     2   Q 82-8 ifl remember had to do with some                    2    Q And then what would that accomplish?
     3 devices that were determined to be machine guns but          3    A Well, with our classification, that would be
     4 that the ones manufactured before a particular date          4 the classification of two machine guns, the registered
     5 were not I guess treated as machine guns for                 5 MAC or -- would be a machine gun, or if it was a
     6   purposes of transfer and possession; is that right?        6   semiautomatic MAC, that would be converting the
     7   A Let me find it. (Reviews document).                      7 semiautomatic MAC into a machine gun. And since we
     8 Correct.                                                     8 classified the upper as a machine gun, that would also
     9   Q What is the proper treatment of one of                   9 be a machine gun in and of itself.
    10 those firearms under that ruling if it's ... I mean,        10    Q And the caliber of the defendant is what,
    11   I guess A TF considers it to be a machine gun but         11   do you know?
    12   it's freely transferable without even a Form 4 ifl        12      A Of the defendant weapon?
    13   understand it; is that right?                             13      Q Yes.
    14       A If it was manufactured before that date as          14      A 7.62X54.
    15   an open bolt pistol, then ATF said we're not going to     15      Q And that's not the caliber of a MAC; is
    16   apply the machine gun classification to it.               16   that right?
    17       Q So I guess the conclusion is that means             17      A Correct.
    18   there's a, I don't know about the sizes, but there's      18      Q So the result would be a MAC that shoots
    19   some bucket of firearms that are machine guns that        19   7.62X54; is that right?
    20   aren't registered, don't have to be registered and        20      A Yes.
    21   are freely transferable without a Form 4; is that         21      Q There was some discussion in the responses
    22   right?                                                    22   to our third discovery request about the possibility
    23       A Well, that is correct but they are no longer        23   of returning the defendant to the claimant for
    24   allowed to be manufactured.                               24   modification, do you recall that?
    25       Q I understand. So we're only talking about           25      A Yes.

                                           American Court Reporting Company, Inc.                        (19) Page 73 - Page 76

                                                     JA103                                                Exhibit A, Pg. 717
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     NATIONAL FIREARMS ACT


                                 HEARINGS
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        COMMITl'EE ON WAYS AND MEANS
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            JOllN w.. HcCORlf}.CK, l!aQ&cbueetll                ll.~ROLD KNUTSON, lllan..0111
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            FB.ltD H. VINSON, Xentuc1<1                        THOMAS A. JENKINS, Ohio
            JElllll COOPER, Teila._..,                         WlT,IJAll E. EVANS. C&lltornla
            ABUTON C. SDALLENBlmGltlt, Neb~n                      THOMAS C. COCJ'!RAN, PenllBYl•allll
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           Kcc111,11, Hon. Joseph U., AMl~tant Attorney Gc noral, Dcpartrucnt or
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           Ryan, W. B., president Auto <m.inance Co ••••••••• •.••••••.••••••           6G
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                               NATIONAL IIREARMS A.CT

                                  M01'1DAY, APB.IL 16, 1934
                                           HousE ov REPnEsEN'rATIVES,
                                          COIUIJlrtEE ON WA.YB AND MEANS,
                                                        Waahington, D.0.
          The committee met at 10 a.m., Hoii:lwbert{L. Doughton (chair-
      .man) presiding.                              ·
      · The CHAIRMAN. We have met. this mom.fu.g". to con.sider Sl)ven.1
       matteTS, one o{ whicb is H .R. 9066, to proviO.e for the tax&;tion of
       rnanufacturers, importers, and dealers in snllill arms o.nd maChine
      . guns, and other weapons.         .·         ·':                    ~·
          The Attomey General of the United Stat.es is here and I under-
       stand sponsors and is very much interested in this or in some simila.r
       Jegis)ation. We will be glad to ha.~e him pioceed to explain the bill
       and make any statement with reference to- it-the.t he may deem
        proper:                        ·

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       qum, to Ill tb. .ale Ol>Olher cl.lsllc*I of Slleh - -o IDmtriatlmportallon imd "'11fiale l i n -
       ltllnJl)ortalloti t.b rfto(                                                             •
       & it enadul by IA# Smale and House of R~ali- of 1114 United Stala of
      Amtrica iR COf41/TUI .Uoembltd, That for tbe purpoeea of this act t.h e term "~
      amt'' mean& a pistol; revolver, Shotgun having a baJTel lcu than alxteen inches in
      length, or any other firearm capable of being eoncealed on the pen1on, a mtlfller or
      silencer therefor, or a machine gun.
           The term "11:18Chin.e gun" means any W!lllpon dcaigned to shoot automatically
      or semlautomaticaUy i.velve or more shots without reloading.
           The term "person" includes a partnership, compa:ny, assoc.latio.o, or corpoTa.
      tioo, aa 'll'ell as a· natural person.             ·•     1
           Tho term. "contineDf4) Uruted States" me&DS the States or the United Statee
      and the l>iatrict of.Columbia.                        "   '1                          - •
           The term "importer." means any person who import.a or briDp firea.naa into
        he continental United States for sale.                    \    ,:....,.
           The term "manufacturer'' m'ea.ns any person who ~gaged within the
      continental United States Jn the manufacture oC firearms, or who othcrwiae
      produces therein o.ny firearm for sale or. disposlti.o n.     \
           The wrm "dealer" mean.s any person not a maoufaa_turer o~ importer engaged
      within t)le continental United States in the business or selling firearms. The f.j:an
       .. deo.ler" shall include pa\TJ\brolrorsand dealers in ueedlirearms. ,
           The term "inteT11tate commerce" means tran.sportatfon from auy State or
      Territory or District, or nny insular possession of the United States (including the
       Phill'pplnc Islands)', to any other State or Territory or District, or o.ny insular
       possession of the C!nited StAt~s (including the Philippine Islands).        •
           SEC. 2. (a) Within fifteen days after the elTecth-e date of this act, or npon lini
       cngnging In buslnellS, and thcrca!t.er on o r before the lat day of July or each year,
       every importer, DJ8Jlufact·Ul'ru', and dealer in firearms shall ~ster "ith the
      collector of intcnio.l r.e.-.c nuc fol' each district in which auch bu~!ne68 is to bo
       cs,rrjcd on hill nrune or style, erincipal place of business,. and ,placcs~or b1U1iness in
       11\lch district, and pay n spcc111I tax at the following rates: Impor · rs or manu-
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       facturers, :S . •a year; dcal~re, S . a y~~ Whcie the ta.'< is pa ;able on tf!e •
       1st nay of J\tly m any yt'ar 1t shall be computed tor one )·car; w~the. tu u

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        payab!o on any o ther d"1 It Ahalt bo computed proportionately (l'Om thJ: t~l dll)I
        ol t he mouth In which tho tlablllcy to thetaxar,crucd to the let II&,>' or July follow·
       ln.(.t.
             (b} 11. ehtJI ho unla1"ful for 11t1}• JM!r&on required to rngial:l!r 1toder the proviaiona
        ot &his aeiitlon to ltnport, maoufaqtur,1, or deal lo firearms wllbo11t having regl.li-
       tored «11d paid the tax impoeed ~.Y tlilA aeotlon.
              (c) All Jaws (ln•Judlng penaltleo) relating to the •N-ment coUcotion, remiA-
        afon, and refund of $pedru taxes,.so far as applicable to and nol lnconaiolAmt"\vith
        'lie 1'1'0vlsfpn6 of thia aot, are ntended aod made epplic.ble to thP. ta11es in\posed
        by this section,
             Sze. 3. (A) The~ shall be levleq, Mllected, 11nd paid upon flreanua oold
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        United i:;tatea a tax·at tl!e rate or g             pu machine gun imd S              per ot her
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        firearm, s\Job tax to be paltl b·)l' tho peraon so diapoeing tliereor, 11nd to be mpre-
                                                                      the Comml11&ioner or l 11ternal
        Revenue, 'll'l~JI the "llflroval of the Bccretary o t be Ttea.!ury; and t}lo stamps
        berern lfl<)Vlcled ·e11au be affi!led to tho order for such firearm, berein&rt.er provided
       for. The tax lmpo~ l)y ihis 11CCtlon ehall be in addition to any· impoµ duty
        lmpoeed OD BUCh flreann.                 •
              (b) All pfovjsiona of !Aw. tj"ncluaing penalties) applicable With respeet t<I the
        tuea lml!Oaed by eectto·n 8l)O or the Reverue Act qf 1926 (lJ.8 .C., el1.Pp. VO, t!tlo
        26, eec. 000) eb11U, in10rAr ao no\ inoonaiat.ent with the provision• ol thl.t act, be
        applicable with respeet to the taxes imposed by tbia lleCtlon.
      · a'!fa.y, or othenriae. dlapoao of :fu
              S&o. ' · (II) It shall be unlAlll'ful for any pel'llOn to eell, &118igu, tranarer, give
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        ~ tr the applican' ls other 'ban &D IDdlvlduat, 111cb application st..il be lru!dO
       by an exeeutive el!icet thereof.                 .
            · (b) Every penon ~ 0: any fiNU"ID ahall llllt forth in each copy of ouch
        order Cbe'manuf~urer'e nwiiber or other mark ldentlfyhlg tuch lnmm, and eblill
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        of{ginal tbereor, ,,Jt)l stamps &flised, •hall be retumild to the applicant.
              (c) No ~n ehall aell, ABBlgn, transfer, give away, or otbenriee dlepoee or I\
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         SeCretary or the 'l'reaaury, fo:r proof ol payment of .at{ tues on such !\rearm.
              Sza. :S. It shall be unlawful for any pe1'80n to ~iVe or poesesa IUIY firearm
         which baa at aD,Y tfme been diapoecd of lu violation ot eeello.n 3 or 4 or thls e.ct.
      ..      s~o. 6. Any firearm '!fbicb !WI at any time been ditlr>Oeed or in violation of t!U!
         p~vlslona. or this actreball be eubJect to so.bu.re -.od t otfeiture, and all t he p~
         Vl&tons of intemal·.rct~ue laws nilatlng to ~bes, seUW'e'!; and forfeiture Q(
       ~u1llltAmped articles are enendoo to and made to apply to the articles tutld unde:r
         tlils act, anll.tho,persono µpon whom tbe!IO taxes are fmlJ<*.'d.
              811C7. 7. EICb m11'llufact1Jror a11d lmporler or a &mi.rm 1ball ldentlfy ~ \\i~h IL
         number of other identification mark approved by tbe CommlBBloner of llit<:rnal
          Revenue, ellch number tJr matli: to be stamped or c.~hcnriee 'P'llloed, tbe'l'tan in 11
         manner •PPrGVed by aucb Commissioner.
              S'llC. 8. Jmportel"ll. manu.factureni, and dealera shall ltee'p e11r.h book11 llnil
 ,    . ree()rds •nd Nindet lllleh.retuma In relation to the tnmaactiona 1n .fitearma s~lied
   ., In this act 118 the <Jommiasioner of Internal ReYe:n ue, with the llP.Jl'9Vlll of tho
         Secretary of the Tl'M!lury, may by regulations require.
               Biia. 9. (a) No lireanns shall be lmpo~ or brought Into the Uhltcd' SI.Ate& OI'
          an.y t.omtory under its c<m!rol or jurisdiction. (lnclucllng the Philippine h l11nd11),
         ~cept that, under regn1atlons prescribed 1>r. $he Secretllry of the TYusuTY1 Any
          fireatm lnllY be 110 Imported or brought {n wlten (J) ihe purpose thenror I• ll!lown
          t o be laY(ful and (2) sucli fires.rm ls untqu~ ot el A iy pe 'tllicb c11nnot l>e obtainod
          Within the United St11tee or such terrliorv.                                          ·
           - (b) Jt •!rail be unlswful (1) fraudulently Cit lennwingly to import or bring any
          Orearma Into tlle linlled Sta~ or any tem~(y under i1a aontrol <>r· iurlsdlotio" ,

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      In :violation ol the provlaiomi""or lhl9 84'; o~ (~ ltn~y to ·AM!at ID eo aatnr. • '
      or (3) t.o reeelve, couceal, buy, 9il!I, or in any Jl'laDDer faclfitate the tra~portatioo, /
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      the aaf.t.lllC!tlon ol tho jury.     ·
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         Seo. 10. .(a) It llhall be unlawfnl for any rerson who hat i.ol tint obl&lned a
      permit ae hereinafter provided, to aend, ahi,p, cany, or deliver any ftreatru In
      lntentat.e commeim!, Nothing contained in thla 9Cd.ion a1W! appl.y-
         (1) To .uy JJl!Ulu!aeturer, impo!Ur, or dealer who ltaa colll}llled wltb tbo
      flTOvlaiona of eectloo 2• .
         {~) To any peTBOn wfio ha9 eompUed with tho flrovUlona ol 900Uona 3 and i In
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         {3) To 11 common eamer In the ordinary t'OUl'88 of it.a bu..lneaa M I! oommon
      carrier'
        (4) To an employee, acting within the acope of hie employment, of any person '
      no~ violr.tlo.g tlUa section;                                           •
      • (5) To " pm!On wbo hAa 1Awftlll$ 'nbtAlucd a lle!1lnee for auch ti~arm trolll tba
      S&ate, Territory, District, or poeactllion to which such lll'eM111 Is to be sent,
      shipped carried OT dellW!ret:I;                                                                  '
          (6) To any ltmted        St&tea, State, co11nty, municipal, Di.atriat, Teniwrlal, or
      lnaular o1ficer or o11'icial llCtillg within the ecope or hla nfficial duties.
          (b) AppUcatlon far eu.ch ~t m;t~ made to the Coo.mla•ione:r ol Intemal
       Revenue at w~ or to eucb 0                                    u
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      ..,id other lnro!'UlB.tion iegueated ~ the Qlmmi•ioner of Internal. .ftevenua Or
       hie qaot.                             -_
          (c) · 8uoh permit. abAll be llauod. U(IOD payment. of a fee ol $         I provided tho
      Comml•ioner of lo~l Revenue "' S&tlafied that t.be propoeed tnw.ar.c'tion le
       lawf_u!:
          (d) Auy-person found lo P<J• e151on ot a firearm aliaII be preaumed to ha'1•
       tra'Moorted such 6reanD in fntentate commerce contrary to the provfaloM
      hereol, ullless such peta00 bu been a bona :fide resident for a period of not 1 - ,
       &ban. lliny daya ot the State wherein be Is •found In poBI rion of dllch 'lin!ann.
      or unleo such pei'eon baa ID Illa pa 1 Ion a etaml>&llixed order therefor requlred, -
       by t his act. Thia preeumpfion uu.y be rebutielf by eomootent evidence. ·
          Sile. lL The Commisaionec of Internal Revenue, with th.e aJiproval ol tlie
       Seeretary- of the Treasnr,y-, ahall make all nceMul ruJee and regulatiol\.I for C&l'T}'•
       lnit the provi.s[ona of thls act into effect.                             -
          Bzc: 12.. Thie act Rhal.l not apply to the llala, 11811igoment. traD11fer, gi{t, or otber
       ditlpo8al of firea>'lllll (l) to the United States OoverD1Dent, any Stat.a, Territory,
       or pcaesaion of the United States, or t.o any polmcaJ etlbdivialon thinof, '<>r to
       the District of Columbia; (2) to any peace o llicer or any Federal nllicer deaignaUid
       by nlgUIAtl<mB of t he COmm!asioner of Jntl!rtlAI Revenue.
          Sr:c. 13. Any pel'80n who violates or faUa to compl_v with any of tha requfr.
       menta of this 11ct a~l', upon conviction, be 1ined not tnore tban. S                  or be
       l:nptieooed for not more than             yeAn, or both, In tl!adi.9cretion of the couct.
          SEc. !.\.. The taxes im.Pl*d liy pr.l"l\gl'llpb (2) o( -tion 600 -0/ tl\e Revenue
       Act. of 10?!} (U.S.C., Supp. Vil, title 26. see. 1120) an.Ii by a.etlon fllO or tho
       B.evem1e Act or 1932 (47 Stat ... 169, 2M), shall not aJ>'p!Y to any fireanll on which ,
       the tax provided by section 3 of t l\Iit net hr.a been patd,
          8.£C. 15. If a ny provi&ion of this &Ct,-or the ap.plioation thereof to any 'pet8'1Xl
       or circutnat&noe, is held invalid, the ttmainder or ihe act, and tbe npphcatlnn
       of such provision to othel' penmns nr clrcumatancea,- ehnll not be afl'acteil thereby.
          SEc. 16. Thil act "1tuill take effect oo the 1i:diotb d n.y niter tho dato of ite
       enactment,                                                        ~
         Sec. 17. Tlllo act 1nJ1.1be<ited118 the " Natioi:Ul1 Ffre1ums AcV>




                                              JA109                           Exhibit A, Pg. 725
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    ••
     BTATlDU!llT OP BOll'. BOJOB 8. omrVrRos. AtTOlUiEY GUl:aAL
                        OP THE OAITED B'l!ATl!S
          Attorney Genera.I CCJ1U0.Nos. Mr. Chairman and members of the
       committee, I do not think it is necessary to make any very elnborAte
       statement at lea.s.t at the beginning.                                   ·
          This .b ill is a .P~ oC,n provam that h~e been ~ormulate~ by .the
       Department of.Ju.etice, lollowwg our experiences with the cnme Bltu·
       ation_ l think it is 8. very essential part of it. There are pending
 • before other committees, as of course you are aware, quite a number
       of bills which are deaignell to enable the Department of Justice to
       deal with ·what 1 thllik. is generally recognized as a very serious
      l:IAtional eme?gency.                           .
          All of these bills, as well as· this bill, are predicated upon the propo-
       sition that there bu .developed in this coUQtry a eitt111otio~ y;hich ie
       fAr beyond t he power ol control of merely local autbonties. All
       these bills have been drafted with an eye to constitutional limitations,
       and have been kept within a scope which indicates that there is no
       desire u~n the part of the Department. of J ustice, or of anyo11e else.
      eo far as I know, to take ov.er any powers, o.r exert any adminietrative
       functions beyond those absolutely necessary to deal with thie situation.
          The development of late years of the pl'tldat'ory crimina.l wh«>
       passes rapidly from State to St.ate, 'has created a situation wmch iS
       giving concern to all who llr& intel'Clllted in law and order. We have
       gangs o~, as o( couree you all know, !l~n a Nation.wide basis
      .and, on acicount of the shadowy area or twilight 7.one between S_tatn
   . -and Federhl power, many of these very woll instructed, very skillful,
       and highly intelligent criminals have CoWld a certain refuge and safety        -,
       in that zone, and there lies the heart of ou.r problam-the roaming
  . · groups of predatory criminals who know, by experience; or booauso
  , they have been instructed and adviSed, that they are safer if tl1ey
       ·      qti.ickly acroBB a State line, leaving tile scene of their crime in a
             -powered car or by other means oI quick transportation. '
            ow this situation, gentlemen, has become exceedingly ·serious.
       I stnte4 in a- moment of zenl on .this q_uestion that there wn e more
       people 1n the underworld armed than there are ln·tbe Ne.yY &.nd the
        Army of the United StateS. I afterward sought to check up on t.he
       accura<:.! of my own statement: This proposition is, of course, some-
        what difficult to colculate. Yet, on the bnsis of the reco.rds of crimes
       of violence which have been pel'Jletrated, taken with our statistics of
      "the number of persons in prisoti'a for ~rimes of violence and st1ch other
        colle.ter~ de.ta as it is possible~ secure, I nm prepared to sn.y thn.t the        •
   • statement which I made was exceedingly conservative. It would be
       much f~er to saithat there n,re more pe?ple in the underiVorld t-0d~y
       armed with deadly weapons, m ·fact, twlce llll many, as there are m
       the Army and the Navy of the Ui:nted States combined. In other
      ·words, roughl7 speaking, there ani nt. least 500,000 of these peoP1:e
        who are wnrnng against society nnd who ate cnrrying nbout mth
     • tnem. oY lu\ve a-vaila.ble at hand, wenpons of the most deadly character.
          Mr. Ooo'PER. Pardon me, General, but what was. the number you
        estimated?                                        ·
          Attomey General CuMlllNGs. A half a million. Now to deal With
        that situation, of course, requires thought and stuey nnd a serious, con-
        eertoo pmgrrun. Early lo.st ye!ll' the Department of JusLieo began
                                           JA110                       Exhibit A, Pg. 726
               \                                                                               l
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          ·an e&mest study of this problem. We have been at it for more thim
            a year1 With some degi:ee of succes11'in oµ.r actual operation.8, and ~e
            have, 1D additjon to t,hat, collected a lot or data. and inrorma.tion:of
            one kind or anothel'. 1nto the Department· of Justice have flowed
            thousands &bd thousands of letters offering suggest.ions as to bQW
            to deal, witli':this problem. The a.mount of _public interest in ~ -
         . effort to ~uppress crime is s.atounding. . u~ you have been jn
            contact with 1t, perhaps you have not fully realized. that1 but we do;
            because .we a.re at the storm center of this activity.                   !
               Now, we have. establishe.d in our Department an org~ation to •
            segregate this material, to separate out the worth1ee8 suggestio~,
            the extreme suggestions, the untenable {>ropoaitions, and t.he'n
            gradually to concentrate on a. ?rogram ths,t 18 conatitutioruil, that:is
         · reasonable, that does not invite local communities to relate their . ,
   •        problems to the Federal Government and·burden the F~eral Go\'-
            ernment unnecessarily with expenses, per$0nnel, and all the fbings
            tha.t go with widened authority. .At the ea.me time 1 we h-ave en- .
            deavored to provide ~ means for meeting this very real problem.~:-· ·
               I have not the slightest pride of' opinion in ilny of these bill&-.not '
            the least. I nm interested only in the problem and how.best to meet-..
            it.. If you gentlemen can improve .those bills, or make them mo~
            workable, or more useful, I am very happy to have you do th&~. '
            All that we have eougb' to do in this puticular is to formlllate tbetle
            bills and submit them to tlie Congtel!ll for its consideration. ,          ~
               .Amongst the bills is, of oomse the.one that is before the ooDllllit.~
            here today, This bill deals, I tbiik it ia fair tO say, with one of th&
        , most serious aspects of the crime situation, namely, the anned under..
            world. How to dea.1 with that wu and is a difficlllt propoeition. I
            do not lmo'f that t.bis bill meets it entirely to our aatis!11.et.ion; l do
           ·not know' how it. wUl work out. All I can say· is that it is the result
            of ou-r best tliouttht on the subject.                                   · ··
               Now this bill 18 drastic in some mspect9-               .          ·      ::
               The CHAIRVAN. Qeneral, would you care to complete your Jn&in.:i
            statement without interruption, or JS it all right for members,to as~
            questions as you go along?                               ·              . _-
               Attorney Genew CUlDIINOS. Supp086 I go along for a little while.-'
            I do not mind interruptions, of oouree                          ·             ~
               Mr. LEwta. 1 would like to he!ll' the general's statement first.           ~
               The ·CmmMAN. Suppose you complete your main statement and ~
            then yield to questions.             ·                                        -i
               Attomey General CmDUNos. All ~ht, Mr. Chairman. AB :Jwu~
            saying, .I ~o not know exactly how this bill will work out. No~ ~
            ca.n·. tell. We must feel our way tlm:iugh these big problems.. But, ~ -
            after all, it represents a lot or thought, and a lot of atud;v.                ~
                Frankness oompels me to say right at the outset that 1t is a drastic ~ (
            bill, but we have eliminated. a good ma.ny suggestions tbo.t were made ;:
            by people who are a little more enthusiastic about this tban we ate-I .~
          me.:an     enthusiastic about the possibility of curiiig eT'erything by JegiS.- ~
            lation.        ·              -                                                 .,_
               Jt:ol' instanre, this bill does not touch in a,ny way the owner, or i
            poseessor, or dealer. in the. ordinary shotgun or riile. There would ·~·
            manifestly be. a good deal of objection to !\UY at~pt to dea.1 with :~
            wea-pons ol t~t .kind. The spo.rtsman, who desires to~ out and ~
            shoot ducks, or the marksmao Wlio dEIW'ES to go out lllld pnLCtice,.~

                                           JA111                         Exhibit A, Pg. 727
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                              ..
   _. Mb~ wistiinlt to~ from one St.ate to a.n1:1&.h.er, "'ould.,~ot like~
      be embiutass.ecf, or1roub!ed1 or dmyed by too much detail. While
      there are·argu.IDenla for indud.i11g wcapom oI that kind, wa do nol.
      ~nnce that suggestion.             _
             This bill deals, u the very first part or it llid.icatea, with firearms,
          but_de.6nea "firearms" to g_iean a pllltol, a revolver, a sbotgmi ha'liog
          a barrel lesa than 16 inches in length, or any other firearm capable oI
        ·=concealed on the p6nlon, a muJBer. or silencer tnerefur, .or a
  ·~             • gun.. In the next paragraph it defines a machine gun as &Jl1
          wea · n · designed . to shoot automatically, or eemiauto1rU1tically, 12
          or more abota without reloading: The inquiriee we have made o1
          expert.a on &he subject of the length of the bairel of 11awed-off shotr
          guns indicates the general belief amongst ·such people that. 18 or
          even 20 inchea would be a better matimum length than the 16 incbm
          suggested mour bill.                                                                 ' .
    •        A sawed.off shotgun is one of the most dangerous and deadly
          weapobs. A machiiie gun, of course, ought. Dever to be in the hands
          of any private individual. There is not the slightest excuse for it,
          not .the l~t in·tbe world, and w;e m~t, il we. ar~ going to be succe;;s-
          ful m this effort to suppress cnme m America, take these~nebme
          guila out of the bands of the criminal class.
             ~ow we Proceed in this bill generally under two P<?weJ'S-Qne, theJ
          fanng: ~wer, ai.nd the other, the power to regulate mterstate co~
          lnerce. ,The advantages of using the taxing power with. respect to
          the identification of the, weapons and the sale, and go forth, are quite
          manifeot. In the- fil'Bt place, there is already in existence a certain
          machinery for dealing•with the collection of ta..'Ces of this kind, anq
          these po_wera are being preserved ·in this particl!lar act. ·1n additi@
          to that, it is revenue-producing. I ·presume that is the reason this
          bill is before this particular oommitieo. I suspect there ought to be
          enough revenue produced tel cover o.t least the cost of administration
          and as much more as'·i s necessary in the opinion o{ the committee ~
          constitute an effective regulato17 arrangement.                       .     ,
      ~ • 1 am informed that under ~tmg Jaw, there is an ad valorem IO-                        1
 . • - percen.t tax on pist.Qls and revolve:ra nnd that this law produced
 ,        $35,388 in the fiscal yeal' 1933. This existing law,. if the pending bill
       , should passJ will be_c ome inoperative so far u it imposes a tax on fire-
  . ·arms incluue'd in the proposed leciSW.tion: So we shall have to take
        ' into account the fact th11t. with tiie pas.•J11ge of this bill there will dis-       •
          appear most iI not all of that $35,0001 but it will reappear in a larger
          measure under ~be t~ proviSions and the licensing provjsions that
          we would have ril tbis act. ~ _
   •         I do not~ gentlemen, th'at I can hefp _vezy mucl1 in the det.ails                I


 • · of.  t¥8       bill. we hare followed,_.where we could, the lo.nguago of ·
          emtmg laws as.to revenue _terminology; and we have followed the
       · .Jhrri!:iOn Anti-Nareotic-Act"in language so as tO get the benefit oC
          tmY polillible interpretation. that .the courts may have made of that
    - . act. We bave' giveii thls- bill the best study that we coul<J, and'1We
 .'       want yi>urJiiJp. We are very IUl-'tiou:s to obtain its p11888g6 and, it
 -. 1thare are any things-thati ought t.o be changed, or any features or it
           which ought to b.e improved, as 1 said before, we are only too happy
        • to b&v& it done.                              .                    \
              Now that is·really nil I have to say, Mr. Chairman, unless there
           are lome gueetions which some of the '1Delllben desire to uk.
                                 - .-                         ~
                                              JA112
                      ...      '
                                                              •               Exhibit A, Pg. 728
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                 Mt. Fu.\11. Gen&ral, I think every member of this committe& who
               bu ~n a prqsecu!-ing officer at any time appP!Ciat.es t.he work that
               your .Department has ~n doio~ partioularly on kidnaping e.nd
               matters of that kind 1 and I speak of that because I had for yeara a
               near relation to police '>fllcials in St. Paul, o.nd the· difficulty of
               gett.ing prisoners over State lines haa bean t!lnPhasiud in the pa.at.
               I~   was helpful, whether they were responstve or not.                    You have . •
               great diffi.cUlty, of course, between Federal ~d State laws.          "
                 Attorney Gen.eral Ctn.naNoa. Yes, sir.              -             .
                 Mr. FaE.AR. I notice in all of the work tltnt h1113 been done you
               have been veey hetf ful to the State authorities.            · . .~   ..
                   Attomey Gmera CUNlllNOS. Yes, sir.                     ·
                   Mr. FaBAR. .An<l I think we appreciate tba~. I Will! just wond11"' ,
                !ng- you have not pu,t n provision in here by ntenns of wbldi t\ man
        •       like Dillinger who goes into police headquarters and gets :vests. und'
                arms-you have not providBd anjthing in this ·bill that COV619 a ' ..'
                situation like that, and there is this suggestion: .Those coats and those
                vestsb·tJu~t are for al'1Dament !Uld purely a matter of erim.ixial uae, if . ·
                this ill could be broadened in any way to co"9'er those thing&- ~
I               whether your office had considered that.          ·
                   Attorney General OUlOiliNos. !At me answer ~ur interrogatory, •,
                                                                                    -
              · Mr. Con~, m· two .seoti.ons. Fir.It, with regard t.o ~$.Clllng- a ·· ·
                man like Dillin~.r: There is nothing specific in this act that dwe .
                with t~at situatton. There !a pendpig..oowever1 before the Judiciiuy· .
                Committee o( tbe House o. bill making 1t an offense, o. Federal offense             ·
                to flee across a State lino to-escape'/roseeution !or a felony and~ if
                that bill should be enacted, we woul be able•to reach crinunal$ who,r
                a:re passing npidly from one St11to to another. The mere raot of
                going across a StatAI line for ,such a · purpose would in 1hel£ bo an
                offense.                                            ·                •     .' •
    t              Now in regard to vests and otbel' pl'l.>t(lcti ve annlllJl·ent, the reMOn
    !           we did not go into that, to be perleeay frank with you,.sir, ie becauae '
                we were not confident that. i.he committees woufd go nlollg witb UIS.
                          a
                There is great deal of hesitancy in expanding the Federal powera
                too much and these things that you mention were -merely foft out""
                a matter o! judgment. Now if the conunittee Whnts them .in, it is
                all .right with me.             ·                      .        ·-      , .:    •
, '         •      Mr.   FREAB. 1 was wondering if it had been CQnsidered.
                   A.ttomey,Genersl CtntMINaa. It has been ooilsidered nnd left QUt
                merely because I did not want to gQ before any comnu          .· •ttee and. ask
                for too much. I wanted to ask for nil that l thought Should ne
'       .       ~nt.ed to U.8. If tMy want. to giye UB more in the Wll'J of J)\)W81',
                we shall try to diaeh11.rge the duties which mn..y be imposild.upon tts.
                It wna merely a m11tter or judgment whetheT we should ask\ for it.
                   t.lr. FREAR. With an. officer of the law trying toge.t a ma.n who ii . :
                a desperate oriminat, who is clothed with protective 'do.thing,· of
                COUJ'lle the officer is at n disadvn.n~e: It seems to me that 'ihero nre          ,
                very few people who aro innocent wearing clothes of that kind, even
            "- for t.beir own protection.                             , · ··          ·      ·
                   Attom~ Genetru CUMllJNGs. Tbot is trvc. The things that the
                uodorworld do t.o camoull~e th.cir ii~vities and protect their penious
                are astounding. I do not know whether we fl.two it· here todny, but.
                we have a photograph token of a gangst4lr's ~n.aJ that would me.k~ .
                )~ou~ blood run cold lo ook At, Amongst other cq~Jpment found were
                                                 JA113                    ·'   •   Exhibit
                                                                                     'f/". A, Pg.
                                                                                              • ' \. 729'

                                                                               \   .}~
                                                                                                '   ..
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   ...a
      uniform.a of police officers; uniforms of the Western Union Teiegrl\pb
    . Co.'s delivery boys; and Automobile license plates, manufactured by
   - 't.he '~angslAlru themselves, which' they use on their                       cm
                                                                            to divert
  , •uep1cion. We llJ'tl confronted, gentlemen, with a very serious problem,
    _ and if tile committee, as our distinguished fri1.1nd suggests, could devise
       a wa.y of dealing wtt.h these annaments, these bullet-proo( vest8-
      there are various types of them-if that could be made a matter                         or
     1>?0hibition under eome theory that pennits the. Federnl Government
       to handle it, this would be Qf great Bl1Silitnoc0. But thoro is somo
       difficlilty there, you see. .                       ·
         1!1-r. FllJ<AR. I quite agree. · .           ·        .
         Attorney General CuM,MlNllB. It would be quite all right with me;
       but, of course, we have no inherent police poweTB to go i.nto cer t uin
       localities 11Dd deal with local crime. It·is only when we can re1u~h
       those
       or the
             t:;!!f:'   under the interst.ate colll?1erce provision_, or under the use
                      , or-by the power of taxation, that.we can act.
          Now, f9r instaitce, we am asking for amendments to the Lindbergh
       Kidnaping Art eo as to make communication not only,by letter, but
      .also by radi~r_!l_r_ telephone, o~ othel' means, by c~e.ls demanding
     rewards-m~ that a Federal offensei we are trying to strengtheo
     the law so as f.o plug up aa many of thosa l09pholes as possible.
        Mr. FB~a. W&iill lollowyoul: work and ! ,believe every member or
     e.be comnuttee co~tulates you on what you have been nble to do.
        At~ Genert1 CUKXINGB. 11. is very gracious of you to say so,
     sir. I must say ~ &re very much in' earnest about lt,, working very
     bani with it, and there is a fine morale in°the Department.       ,
     . MJ-. CooPEB. Mr. .Attorney General, I am thoroughly in sympathy
     with the purpose sough~ to be accompli8hed. I feel that the situa.-
     tMin }lftllellted by you here is Tea.Uy a challenge to goverrunent8.l
     auµiority and org~ed sooiety and that we have to m~t llD.d solve
     this prof>lem. Havmg such a \Profound respect for your views, I Wiil)~
     to ask one or two questions in connection with thia bill. I invi~
     JQUr atteuti.on to the language appearing at the top of page 7, begin·
     Ding in line 3-                                .. ·                                          I
          •· •   •   Whenever on trial for a vlolAtioo of thil eeat.loo the defendant !JI
     liboW12 to haft or to have had ~on of such imported firearm, auclt ~·
     Ilion aball be deemed suffieieot t:Videoce to au~h_prbe co'!v!ctlon uoll!llll the dJee!.
     fe'odaot exp~ 1ucb pOil
        .....
                                         · Ion to Uie eatldaetion of the Jilly.
                                                                      '            ~                  ,
         I would appreciate your legal opinion on that provision, as
       whether the bu.nle:n of proof i4 placed upon the defendant in the trial
     , of the case, or wh.etbw it in any way aJfcets his presumption of
       innocence, that we all recognize a.s being thrown. around .him as II
      protection.                .
          Att.o~ General CumaNoii,. No, it does not -shift the essenti
                                                                                              J
      bmden nf F.<>Of OD tbe trial, but it doii!it ~hen oneet?!"tablisbed;~uir-6
     ui explanation by the defendant. Aria m formuJatmi; that particular
     ~. we followed preceisely the language of a similar provision
      of tlle :N&icQtic Drug Act o{ Februar.v 9, 1909,, cha11ter 1QO, as amendl!<l
     :e:
      re1-t.ing to the importation or nlll'COtic drugs. That J>rovision was
                in the. case of Yu H~ v. Unikd StaltB, 268, U.S., 178. We
               t that lf we followed the language of that act, m1181U\J.oh as lhe
      Soplt!Dl& Court had passed on the-language, ib WllS safer for us-so to
    . do thafi to attemp~· to formulate IB.nguage of our own.                   j
                                     '               JA114                             Exhibit A, Pg. 730
                                                                                              I
                                                                                              I
                                             }
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                                 lU.TJOl'f.U. JTBB•BllJ! A.CT                            0
                                                       "
          ~ir. Cool>ER. It was my     mpression this provision was siinilJlr to
        the nAl'COtjc provision refotnld to by you, and that bad been up~d.
       _ Attorney General CmunNae. That is .it exa.ctly.
          Mr. CoOPl!IR, l thought, for the·benefit or the record, that should
        appeB1' specifically at this point.                -                 · ·
           Attorney Genera.I CcMJUNoe. That ie quite truo.                      .
         · Mr. CociPER. ·Now ju&t one. or two other questions. 1 would ho
       ,interested to get your opinion about meeting the probleDl with.refer-
  .I   ence to arms already in the J;>OSS8R!lion of the criminal element of the
       country. As you stated, it lB your-estimate there are some 500~000
       of these .firearms in the hands of the criminal element o( the COtlnf.17
       11ow. Is it your tho~ht that this bill would .o.ft'ord some effectiYe
        means of meeting a~d dealing with that problem, whcre the arms lll'll
        already in the ~ion of those crimin8.ls?                      ·    ·
           The OaAiaMAN. ·Mr. Cooper,. I understood the General 'to etat.e
        th8J'e wero 'soo,ooo_ ~of theso unde~orld criminn.ls who were anned;
        not 500,000 firea.nns. ,,                                        ' ' ·
           .Attorney Ge::LOral · Ct114MINoe. Five hundred thousand individuals•
           .Mr. CooPER. I am clli.d to liave that cleared,up.
           Attorney General Cfuvu'moe. Ono individual might have a dozen
        different types of armament. .
           Mr. Co'oPER. Yes. I roo.J..ize that, or course; butl wa.s wonderi!)g
        y.rhat Y!?Ur opin.ion.' would be~ to the eflective~ess or th.is measure.
        m meeting the pro~lem ~hat , is presented ~Y. this large number of
        weapons now bemg m poesess1on of these cri:l1linals. -
           Att.omey Generiil CuMM.ll'Jos. Well the only· answer I can give to
        you, M.r. Cooper, is that I racked my brain to try to find some l!inJple
        and effective manner· of dealing with those already e.rmed. Thia
        bill ie in two parts, The first part, tinder the internal revenue measure -
        deals with weapons as they now are coming out of the factories, ~
        it soomed to us t hat tho establiahment of a ~Yl!tem for_ tho ~ of
        the weapons from owner to owner bf a certificate of title miltbt iilio
        be attempted with reference to arms already in exietenoo. lfwe can
        on~ make a start and begin ~f:h the manufacture-and ~posal eo . '. '
        that each person hereafter obtammg a weapon of ·the rrescnbed t1JMI :·
        woulc! have to show'his t1tle t.o it and the proplie.ey o its poes'esSion,
        that is about nll we can do wit.h tlui.t part ofihe problem.                            ,
          -'rho' other part of the problem iS dealt with under the lnteretat.e
        Commerce p~ovision, which makes .it an offe~ to enrry in interstate
        co1;11Jllerce nny of the weapons which arn under tho ban of tho law, •
        \'lith C11rtnin exce{>tl.one. · So, it, for instance, Dilliniser1 o.i:....any other · 1
        ol those roving cnminuls,. not having.proper oredentuils1 ehoulcl cnrry.
        ~ .revolver, a/istol, a [;~wed-off shotgun,. or machine gun, across a
        State Jim~ nn we could demonstrate ~hat foot, that 'Of. itself would ·
        be an o.ffenS&, and the weapons would be f.orfeited. . .And that is tho
        only way I can tliink of to hnndlo this where the weapons n.re already
        In existence. _                                                                     ·
            Mr. CooPER. I realizoi of course, .thi difficulty involved and I had
        this thougl1t .in mind-w uch, of course, you will l"Qndily npJ>.rocinte-
         tbat whatever legisla~ion is reported-will have to be eus~ned to a
        very_ great extent by the membets o, this committ.ee in th!l debate in ~
        the House.                                                                            •
            Attorney General Cm.tmNos. Yes, sit,                                   "' .
                                           JA115                       Exhibit      A, Pg. 731
                                                                          I
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                                                                              '
        Mr. COOPER, And I am. just trying to anticipate 0. few quostionl!
          that 1 apprel1end will be BSked during that timo. And it occurred
          to me. t·hat was one veryi mportmt thing to bea.r In mind, that is. the
          large number of these weapons that are already in the hands of t.ho
        · criminal element cJf the country, and whether or not it is your opinion
      _ that this bill affords an effective means of meeting that prohlcm.
               Attorney General CullJ.l.lNOB. I think it is 11.S far as I would bo
        - warranted in ·nskitig a committee t o go l\t tho present time.                     •
               Mr. Coo~ER- I see.                                              •
               Attorney G~eral CuMMINOB . I think that it does two crucial
          thiDgs. It dea.J.s with the tracing of these weapons if traded or tran17-
          ferred after this aot goes int.o efftll!t~ it deals with the requiremen~
       - of licensing if a eenK>n is to take any.weapon ircross State liries.. And >
      ~ 1; am assuming m all this, of course, that the criminal elements are
      . ~n_ot going to obtain permits and they ·a re not going to obtam licenses,
         llUld they are not going to be able to bring themBelves· within those
          protective requirements. Therefore, when '!VO capture o~e of those
          people, we have aimply a plain question t-0 propound to him-where
          JS your license; where ts your permit? If be cannot shQw it, we have
          got hin;i and .his weaP.Ons and we .d~ not b_a ve ~ go tlu:o~'h an elab~
          rate trial, with all kinds of complicated questions answg. That JS
           the theory of the bill.
  '..          Mr. CooPER. Then it is your thought that this bill presents the
           best method that the Deparbnent of Justice has been able· to work
          out, in view of its long- experience and intensive efforts a.long tlmt
  • line that have been made?
               Attorney General Ct1mcINoa. Bearing in mind our limitat.ions or
           the coustitutiooal character, bearing in mind.pur limite.tiorul to extend
        · our power beyond the immediate requirements of the problem, thia
           i.s our best thought on. the Subject.
              . Mr. CooPER. And this, as indicated by your opening remarks, is 4
           ~important part o( your whole program?                                        •
               Attorney Gen6ral CumttNos, Absolutelt-
    i
                Mr. CoOPEit. For mooting the criminnl situation now existing in the
           «'.ountry.                ;
                Attorney General CuMMmos. Yes, Mr. Cooper.
                Mr. Cool'ER. And"is an important administrative measuu?            ·
               Attorney.General Cl".rM1111Nos. Yes, sir. I ~ht add tbnt the
           President has authorized me to say be was. strongly in fnvor not only
         ·of this mensure, hut of all the other pendi.ngmensutes the Department
           of Justice has suggeated.            ,
                Mr. CooPER. Now, then1 one other phase of the mo.tter if I mo.y,
           please, and tlmt i8 with referenee to the truces and penalties imposed   -7       -
           by the.bill. Would' you feel disposed t-0 give us some idea BS to what. ·
           you think those'tnxes ahould be?- You have observed, of course, thn.t
            the amounts are left .blank in the bill. . I invite your attention to pnge
          .3, where there are soine 4 blanks appearing on tbat page; pnge 8, wheJ"e
            there is a blank With reference to the fine and the lIDprisonmont to ho
            imposecl;.p~ 9, where there is a blank. 'Vould_you feel disposed to
            ~v'e ua r::-views M to what would be the p~per amounts to msert in
            thoee p         ? •                 ·- .                         .
                Attomey General·Omoa:INGS. Yes, SU".
                Mr. II.ti.ts. Would you supplement I.hat by asking lor an estimate of
            the .rev~ue which would be produced?
                                          JA116                         Exhibit A, Pg. 732
                                             •
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                                 )'U,TlONAL !'lREABM.8 AOT                        ll
              Mt. Coou:n. .Yes~ I would be glad to have 8J3.Y estim•te made of the
           runoun t to be yield ea by this legislation.
              Attorney_General Cuaoo.Nos. .Answering for t.h:~ moment your
         ·question, Mr. Cooper. On page 3, line 5 of the bill, there is & special :
          't ax of blnnk dollllfll Ii year foced upon importers or manUfacturers,
           and a'll unnamed annual tax upon dealere. We hesitated to make- .
           any specific suggestions as to amount. because they are mere.mattere
  •        of opmion. But, for what it is worth,. we would suggest that a tax
           on importers or manufacturers of $5,000 a ye·u would be proper.
           There nre only four bBSie manufacturers in the country, large manu-
           facturere. I see no ree.son why it should not. be $5,000 a year, and
           dealers $200 a year,                                       '
            : The! CeAtR1o1AN, General, would you not include for l.b.e record
           th.a names of those four large manufaeturct'B you referred t.o?
        · Attorney Ge.n enil CtrvMtNos. Yes; I will supply that.
              ?\fl'. COOl'ER. Then, oli the bottom or page 3, General? . .
              Attorney GENERAL Cu1o1111Nos. On the bottom of page 3t ~line 23,. ·
           the1'8 is the ta.,: ,on fiitle.rms sold, and~ forth. F or maclline guns,
           $200 and, any Q!her fireatms, SL                                            -
              Mr. CooPER. That is $200 in the first blank i.n line 23, and $1 in
           the second blank?.                                     .
              Attorney General CmouNGB. Yee. lt rather pe~es the ma--
           chine gun. N<>w in the next blank-·-            .                        '· ·
              Mr. WooDaun. Mr. Attorney Gene'tlll,· you suggest a tax oI $200 .
        .on the sale o{ a 1!1ftChine gun. l undetatood a moment ,ago you ea~ .
           that t~oso m11ebine guns Wllf8 mnnufoctured almost exclumvely by .. ·,
           four dift'erent concerns.            ·               ·
              Attorney G11nenl CmooNos: 'Yes.                                   . .
              Mr. Wooo~un. Now it seeine tO me that possibly jt would h&ve &
           somewhat wholesome eiteet UJ?.On these partieulu manufacturers to
          increase that 11tabstantially. They can not have mueh•to say; they
        , woufd not b&ve. much reason :to complain if the t8x w~re made much
          larger than that; because, as we know, machine $\ln8' are in the pos-
          session or pni.etical.1,- all or the crimin.,ts in tl1e oou,~'try who desire .
           them; the fact that they have them mUlit be due, to soine·small a'l:tent
          at least, to either carelessness "r worse on the part of the people who
           manufac.ture those~-       rs      that a reasonable deduction?
              Attomey Gime:ral CmtwNos. \VeU let me.sayja few words on that
           ii y~u will, sir.                          .       I',
              Mr. Wooonon. I would be glad to !\ear you, General.                    ·
              Attomey General OuMlUNGS. Iii the pas; tliat has been 'truO-
. '        th.e presence of machine gunsin the hands'ot the.criminal classes      baa
           been a re.llection upon the ~ufacturers of those weapons.                    i·
              Mr. W 00011un. It certainly has.               · .                         ·
              Attorney General 'Cu1UONoe. Now there is only one, reajly, the
           Colt Co., of Hartford, Conn. -my own State-I think that is the •
           only manufacturer now or the type or machine gun used by gangsters
           and' they ~ve entered into a gentlema.n's agreement with the De--
           putment of Justice by which far·greater care .is now being taken. ilh
           conneoti,on ·with the ·distribution of machine guns. Therefore I did\
           not·want to have-it thought that they were entirely responsible. · · ;
              :Mr. WooDaUJT. I do not say "entirely".               .
              At~mey Gene~ <?~Nos, They have: b~n_quite cooperative o! \ _
           late1 mr, and I .think 1t l8 becaUBe they have realized what a dreadlul
                                       .
                                           JA117           I          Exhibit A, Pg. 733
                                                                     -·'!
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       12                  JfATIOlf.U. rm•ABVB •ar

       thinsl i~ baa been for thoee deadly and dangerous weapons to be in
       the 6anda of those criminals. ·
         Mr. Woooaun. General, I do not chArgt th6Jn with the entire
       reeponaibility.                                        ·            .
   .    Attorney General 'CtnnnNO&. No, sir.
        Mr. WOODRUl'J'. But I did  rrrand     do now fool t hey have been-to,
    a gteat exteo t reepomibl.e..                               ·
        Attorney Oeneial Cmo1u1oa. You are quite right.. . Now you
    could J>Ut that. higher if you wanted to as far u I am concernod.
        Mr. Woo»ttun . I would like to ;;le alMlot the provision in the
    lu.t. J>~Ph on page 1-
        Mr. Cool'EJL Mr. Chairman, I onl_y yielded for a question.
        Mr. WooDRtrn. Juat before h e leaves this, then I am through. r
        Mr. CooPER. ~fy point ie this, that I only yielded for one qu~
    tion and I would like to have iD the  recoro,  i.n one plaee, about these
    taxes, and then we can go back and pick up theeo other mattere. IC
    the gentleman will pardon me, I prefer to keep this matter together
    in die reeord.
        Now just one question, if I may, in reference to the suggestion
    offered by you u to the tax provided in line 23, on page 3: That is
    $200 per machine gun'i        /
        Attoruey General CuuanNos.. Yes.                  .
        Mr. COOPER. Io that connection, would y0u be p1'8pated to givo us
  , sonie information 118 to the avemga cost of ono of those machine guns?
        .Attorney General Cuw1nN011. Tho cost n ow is about. $200.
        Mr. CooPER. \That is, delivered to tho p urchaser?
        Attorney Gen6ral Cuuunrns. ·Yes, sir.               •
        Mr. CoorER. Then tho prop0&ed to.x of $200--
         Attomey General Ct1MMlN08. Would be about a ·lOO·petcent tax.
        Mr. Coov~ About a \()()-percent. ta."t?
         Attorney General CuMMtNO&. Yes, sir.
        Mr. CooPER. Then pass on if you will, please, si.r, to page 8 and
    g:f'Ve us your idea as to the amount of fee that should be imposed in
    the provision in line 16.
         Attorney General CuwM1Noa. In line t 6, on pa.,~ 8, 1 think a dollar
    for each pennit is 1t1asonablo.
 · • Mr. CoOPllR. Then on page 9, General, the amount. of the fine and
     the length of the imprisonment.        •
    · Attorney General Cuu~n Nos •. Jn line 14, the amount of fine1page 9,
    is suggested •' $2,000, and the imprisonment, in lino 15, not more
     than 5 year&. I will supplement that by saying that. that.is the penalty
     tha' is prescribed in the Harrison Anti-narcotic Act and we were
    foll'>wing that su~tion. The oommi ~tee m~v think it is not
     sufficiently drastic.                                          ·
         Mr. CooPJ:R. I thank you, General, and Mr. Chairman, I will be
     glad to yield the General back to tho gentleman.
         Mr. Hn.L.. Did you want t.o ask him for an estimt\te o( the revenue?
         Mr. OoOPER. I would be glad if yo11 could give u s your estimate of
     the revenue to be yielded from those various rt.ems s~ggested by you .
       . Attorney General Cn11nnsos. \Veil it probably would npproncb
     $100000.
            Mr.
             COOPER. All or them together would approo.ch, in your opinion,
     about SIOO,poo a yeu?                              -
                                       JA118
                                                             -    Exhibit A, Pg. 734
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                                "NATIONAL l'mEARMS ACT                            13
          Attorney: 9eneral Cuwmoa. Yes, sir.
         . ~lr. MCCLINTIC. Will you yield for a question In connectio11 with
          that7                    ·            ·                 · ·            -
              Mr. CooPEn: Yes.          .
              Mr. McCLtNTJC. I would like t.o ask just one question. I am ;
          v~ry much interested in tlus subject. What in your opinion would
          be the constitutionality of n proV!sion added to this bill which would
          require regjstration, on t~e part o~ t.b~ '!ho now own the type or
          clll5S of weapons thnt are mcluded m tlUll bill7
              Attorney General C'UMMINGS. We were afraid of that, sir.
              Mr. McCLmnc. Afraid it wot.lid conflict witJi State laws?
              Attorpey Geneml Cuu1«1Nos. l am afraid it would be · uncon·
          atitu tional.        ·           .
              :\fr. McCLINTJC. That is wl1at I wonlt to know.                   _
         · · Mr. Cool>ER. Now tbe.n, Mr. Chnirnum, 1 will be glnd to yield
          bock the gentleman to Mr, Woodruff.
             .Tho OnAIRllAN. J: understand you are thro11gh now?
              Mr. Cbol'EB. Yes.          \
              Mr. CULLEN.. Pardon ~ suggestion, but my colleague Mr. Cooper
           understood, ae he was collecting this data to have it assembled in one·
           place in the record, that the $351000 being collect.cd now by the Gov-
          ernment would be eliminated?
              Mr. Co'oPER. -Yes; l understood from the Attorney Genersl it       was
           his estimate-a6d I am hsving those ft.gw:es checked now-that the
           presen t yield from the tax on revolvers, lln$1 eo fort.h, is about $35,000
          a yenr. .And of course, as he•euggested.)lere, that would be eliminated -
          if this new tax were imposed. ·            ·
              Mr. HtLL. Will the ~entleman yield for o. question?
              Mr. OooPER. Yes, BU'.
              Mr. HILL. Where is there in this bill a .provision for the repeal of
           those ~es? ·
               Attorney General CmnUNOB: Section 14, page 9, appe&n1.to be the
           place.                                                                         •
              Mr. KNUTSON. General, would there be IUlf,objection, on. p~ l,
          line' 4 after the word .. shotgtJn,, to add the words •or rifle" hsvmg a
           b~ less t~~ 18 .inches? . Tqe reason I ask th.at i~ I bap~come
           from a 8ect1on of t}\e State where deer hunting 1s a -venr. popular
           pa11time in the fall of the year and1 of course, I' would not like to pass
           any legislation to forbiil or make it impossible for our people to keep
           arms that would permit thorn to hunt deer.                                   ·
               Attorney General CUMMINGS, Well, 3s long as it is not rnent.ioned
           at all, it would' not interfere at all.              .                   .
               Mr. KNUTSON. It seems f.o me that an 18-inch barrel woultl make .
           this provision stronger than 16 inches, knowing what I do about
           firearms..            ·                       .           ,            ·
               Attorney Genenl Cu.mu.Nos. Well, there is no objection as l11r ns
           we ate concerned to including rifles after the word "shotguns" if
           you desire.                       ·                                        .
               Mr. KNUTSON., Why should we permit the .manufacture, that is-
           permit the sale of the machine guns t.o any one outside nf·the several
            branches of the Government-for instance, the Federal Government, . ·
            the sheriff's officers, and State constabulanes?       '            ~·    ·
       •       .Attorney General Ct11111INos. Well, there are otherconceivable·uses.
            For instance, in banking institution.q, we want to protect the bank&.
               llUT8 U     I            JA119                       Exhibit A, Pg. 735
                                                                                  --~     1'
                  '"
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          ~fr. Ktro1"90N. They could 11wear their guanl11 at t.llll'a"'nka in l&.S
       deputy aherifta, which would allow them to uae macbl~'gun.s.
      . Mr. SVMl'fEl!.8 of Texu. Pardon a s~tion, but ~not this th~
       anawer, that this is a revenue measure and yt>u ltave to make it
       poesiblo at least in theory for these things to mo\•e itf•order to get
       mtemal revenue?                                             ~           \
          Attorney General Cua.1111Noe. That is tho anawnr exactly.
   .      Mr. SuwNER& of Texas. Mr. Attorney Gooeral, with the per.-
   . . mi.aaion of the Chair, may 1 uk t.-his one question: I notice you put
       in .. the description or a machine gun a gu.o Uiat will shoot autcr
       mal.icall.f 12 or mo:resbots witibout nlloading. Would you-anticipate
       the possibility, if this bill should be pa"eed, oC some W18Crupulouu
       m&r1ufacturer of these machine guns cutting it down to 11?
          Attorney General Co111UN08. No, sir; 1 ao not. tbiok IO.
          Mr. SVKNEJlB of Toxu. 1 do not-know enough nbout it, but· thnt
       po!l!libility occurs to my mind.                                   '.
          .Attomoy General CoMK1Noe. They are only made                br
                                                                        tho Colt
     · peo11le and the Colt people hAv~ been very cooperAtivo o lat(l and I
       would not believe Cora moment that they would try to O\'ode t~ law
       b1 any auch device. . .                   r                  •        .
          Mr. Woo1>aun: I will se.y, Genenl, tha' &be question raised.by my
       friend Crotn Te.~as. Mr. S umn11t11, is exactly the question that I wtShed
       to~ropound to you a moment ago. You._, that tho Colt Co. is thu
       o one that manufactures machine guns!                            ·
            ttomey General Cu1111uwos. Yes, eir.
          Mr. WooDRtrrP: Are you sure about that?
  -       Attomoy General CuwurNoe. That ia tho 1;1ubmachioc gun, tho
       emaU Jcind-thatis correct.
          Mr. WooD.RUl'F. Well there are otner machine guns, however, that
       a.re used? -                               ·
          Attorney General Co1uuwoa. There are m.acliine guns that some·
   · . tJ.mea got in by importation.
          Mr. \V'oo1>.RUFP. Is tho Browning machine gun manufoctured in
       this co1mtry?        ~                                      ,
           Attorney General CuMu1Noa. The lllUl\e company, iC I teonll
       <:0rrectly, the Colt Co., tnonufacturl'S the Browning ~un. B11t tho
       Browning gun 'is not eo.aily troosj.iortablo; it is n lo.rgo, cumbol'Some
        weapon that would probnbly not 1be used by the criminal clnss. So
        the.tit is not absolutely necessary to bother witli i t.
           Mr. '"oonauFP. I sec. \Vill you induJg~ rue, ~fr. Cbaimum, iJ I               .   I
        tnu.ke a short st.atement?
           The OnAm.i.u;. Go ahead.
           ~lr. WOODRUFF. 1 '1\-ish fu sov, General., that !or tho last 5 or 6
        years I hnvo bad before tbe Holise 11 bill to <lo exnctly what you 1u~
                                                                                       ,.
        now proposing to do. I w&nt to congratulato you on that. You
        can imagine the yleaauro it givl!s me to know that ati lost the Depart-
        ment ol Justice IS recomn1cnding t.o tho Congress legislation that wilJ
        give the Federol Government authority over interstote crime.
            Now I have addressed letters to every .Attorner. General for l.110
        le.at. G or 6 yeam enclosing a copy ot my bill, ask.ing department.&l
        approval ol that bill. 1 tliink my friend irom T &x:as, tho Chairman
        of the Judiciarv Committee, who is present, will boar mo out. when
        I eay Dl)' bill hoa been beCoro his committee dtnins this pori~ of
      • time, .~d I ~ l even ad~ · a communication .to
                                          JA120
                                                                         you.A,
                                                                      Exhibit l air,
                                                                                  Pg. 736
                                                                              I
                                                                              r
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            when. you 1iret bet-nme Attorney General of the' United States, and
            end~ a copy of my bill. And that IMt bill that I introduced at
             the beginilmg·of this Congress provided 11- penalty tor any man flee-
             ing across State lines who was accused ot crime. I am b~ppy to
             know you have such a bill as that before the Judiciary Committee.
             I hope you will have much greater influence, though, \\itb the very
             honorable chairman of that committee than I hav!S.had in the past; -
             I hope you have more inJluen:e with tbc committee and that the
             legislation gets out ol that committee and before the Congress and
             becomes a law in· this session.                      '             -
                 I believe we arc engaged in a war again.s t crime and I believe w-e
             ought to bring up every element of strength we have to win that wat.
             Again, I congratulate J'OU.
                 Attorney General CUVlllNGB. I thank you most sin.oorely , . Mr.
             C~gressmM.             ·                         ·      -
                Mr. Fui.Ll!R. General, 118 I understand from your statement, this
          - bill does not contemplate that private individuals will have to regjster
             or have stamped their pistols that they now own.
                 Attorney Gen~ral C}o.t~NGB: Not unless they sell them, or give
             them away, or otherwise dispose of them.              ·
                  Mr. FULLER; J{ they dispose of them, then they hav<> to transfer
              them with a bill of sale, or something of that kind?
                 Attorney General CuntNas. That is it.
                 Mr. FULLER. For inst&Dce, if a Member of Congress drh'1.Jig to
             Washington would put a pistol in hie car, he would have to tiave
         - - that registered before he stu.t ed, would he, nnd have it ete.mped? .
                  Attorney General CuMMnros. No, sir; in section 10r sir, subsection
              5, poge 7, prohibiting cert.nin acts without a permit1 it indi~tes thit
              it does not apply to a person who hes. legally obtamed a license fC11'
              such firearm from the State, territory, district, or possession to which
              such firearm is to be sent shipped, earned, or delivered. 1n other .
              words, if he has thus compiied v.ith the State law he is E'xempt under
              the Federal law.                .         .                             .
                  Mr. FULLER. But he would have to have some Instrument to shsw , ·
              it and in most o{ the States, I imagine, they haV"e no Jaw to require .
              an owner of a pistol to show he.is the oWller of it. Thero is no regis- .-
              trat.ion, for instanc~, in the State of Arkansas. We had a low'requir-
              ing the regialration of pistols. and 1 year we did do that; but it was
              so unpopular that at last the legislature repealed it.
                  Now, l.,have a pistol; soy, U:i my home whoro I live 1U1d. I inter-'
              pref.ate under this bill I . cannot give ~hat awn,y, l cannot sell ii, I
 .' I'        cannot dispose of it, without rQgisterin_g it or ¢ving a bill of sale•
                  Attorney General CUMMINGS. That lS comet. "
                  Mr. FULL~R. Nor _can 1 cqny it ac:ross a State line.
                  Mr. VrNeON. ·Wm the gentleman yield right at that point?
                  Mr. FULLl>B. Let him ans~er ,the question, first. .        ..      .       ;·
                  Attorney General Cuwjf\Noe. You woult;l not bo requJrcd to have
    I          a license-or go throu~h     y other fonnafi.t,ies.excopt in the disposition ·
 . l          (lf·the weapon to so             else. And _to go across a State line, you ~
               wou!d find yoursel! sub t _to no inconvenience whatsoever, if you ·
               complied: with the law of the pla~ you were going to. . •                · -
                  Mr. VmsoN. Now!.. q,eneral, in that connection, the gentleman'
               from .AJ:kana&e (Mr. .l"'Uller) -ref~ to the State or Atikansas haTicg

               --                            JA121                        Exhibit A, Pg. 737
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     no law grant1ng.pormits t-0 carrJ pist.ols. This subsoctiot1 5 of sect.Ion
      10, to which you l'llfer, m.a kes it necessary for you to hav0 obtained o.
     license from the State, Territory, District, <>r possession f.o which s uch
     fu'3arm is to be sent, shipped, carried, or deliv<1red. That does not
     ~pply to the State from which tho iiNarm is carried, as I ro11d it.
        Mt. HJLL. Thai would apply to half a dozen different Stntes.
        Mr. VmsoN. Yes; ihat applies to States into whinh the pistol or
     revolver ls t.o b& carried.
       Mr. HILL. lncludinir the District of Columbia.
       l1r. VmsoN. And I do not tl1ink it is confined merely to sales;
     because tb11 Jan.guage in section 10 refers to tl\e ~n<ling, shipping,
     <'o.rrying, or delivering o( any firearms~ l.nte.rstate comme?tm.
        Attorney General -Cu.MMINQ8. To whflt seetion are ·you referring
     now?    .        .                         ~
        Mr. V1~N . 1 om referring to t.b e one you quoted, subsection 5
     of section 10 on page 7 of the bill, et t11e bot~om of t!1e page. . .
     ~.
                                   ~
                                         .
        Attoat&y Genera.I Cuu.ldtNos. And wl111t is the d ifficulty wit.{). it,
     .• ?

       Mr. VrNBON. Well it does not refer to the granting ot a. pennit in
     the State where the person lives and hl\S llis revolver legally. That
     language refers to tlie aecurinf! of a permit frnm the State, Territory,
     District, or possession in which the firearm is to' he sent, shipped;
     carried, or delivered.
       Attorney General Cuu:MlNGS. Yes, sir.                    ~     .
       Mt. VrNsoN. Th~ you would' ~ve to get a Permit, if you were io
     Arkansaa and eommg to Waabin.gton, you would bavfl to get, I\
     permit in every State between Arkansas and the District of Colum-
     bia, and in the· Diatrict·of Columbia; or you would be violating the
     law. I would like for you to refer t<> subsection 5 of tJ1at section and
     say if that ill not true?
     . A.ttomey General Cmnmms. If you are going from your home,
     we will 8ay, in some remote State, to Wo.sliington, D .C., it is not
     contemplated you would have to have a permit .from every inter·
     lnediate State.                                       .           ·
        Mr. ViNsoN. It is npt a question of wh1lt is in contemplatio~ it is
     a question of the lang:Uage, General.                           ·
        Attorney General CUVMJNOa. 1f the.re is any doubt about it, you
      may, of course, clear it upt I have no objection. That certainly was
     .not the p1lrpose. It was tne purpose not to compel a permi~ so long
      asy9u complied with the law of the State to w~ch you were ~ing.
        Mr. V1b!soN. That is right. The State to whirh yo\l are gomg.
        Attorney- General CuMJ.ltNcs. I think it very clearly states that.;
      but.if y-ou have any ~oubt a~ut it, c;lear it up.            .
        Mr. VUiSON, No; It does tliat, It states the Stat.e to which yo11
      are going; · but .You, in answer to the query of the gentleman from
      Arkiinsas, said 1t was a question of securing a pemut in the State
      where the·party lives-in Arkansaa, !or instance, as he asks.
        Attome:f; General Ouu:mNos. Oh, well, you woul<,l not be exper.i ed
      to obtain a permit from a State that does not issue .thein.
        Mr. FuLLEll. But if you were. going into a State tbat did reg'Uire
      a ~rmit-!or instance, I have f.o come through Missouri and Illfuoi.s,
      and I would have to secure a permit from each one of those .Stat.es.
         Attorney General Cu»M!Nos. .Oh, Z..o. I do not thlnk that would
      be the rair interpretation.    .
                                        JA122                      Exhibit A, Pg. 738
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                                    lU'!'.t<>lUL ftBBABHB A(l't
                                                                                .. 1'1
              Mr. hut.ER. You do not mean tliat that is the inteot,ion of tbe
           !Aw?         .
              Attorney Oener&l CtrM~we. Oh, no ; and neiLber ie it the la~~e.
              Mr. Ft1LLER. And if the language of the law is such that 1t d<>fl6
           require it, you would not have any objection to corrooting it? · .
              Attorney General CoMM1Nos. Absolutely not.
              Mr. FULL"ER. Would you have any obj!llltion to an officer of tl10
           Jaw who has a warrant. or is in pursuit o1 a crimi.ne.l, carrying a weapon
           i.nto another State? He has no time to atop and hesitate abi>ut getting
         " ~~ey General Coinamas. That is includedm 'he ac~ -                          -
           Mr. FtrLLl:R.. Wb~?
           Attorney General Om.i.1uNo;s. Page 8, ~e t- - · _
           Mr. Ft.Lt.ER. That keeps him from rcgist.anng, but does not keep
         him from transporting.
           Attorney General Co1u.nNoa. If you will look at pag<i 8, line l,
         section 6, you will find the act ~luring a (!Ormit in mterstate com-
       • merce does not ~pply. to An'.'1 Unet'<d Statee, State, county, municipal,
         district, territorial or insula1' officer, or official AC ting within the scope "
         of bis officis.l duties.
           Mr. Fm.r.sR. Now ia that lor tra:nspor.t atinn; or is that. for having
           a~t!
             Attorney G~eral Cu10Cmos. ~port.at.ion.                                    ·
             Mr. VmaoN. Now, General Cnmmmg,i, let us aeaume you have a
           State officer and he goes out o{ hie State, across the line, into another '
           State; As soon as he eroases the line, he beeomee a private citizen.
           Now would he be violating the provi&ions of~ act if he had a ·
           pistol on him?           ·
             Attottley General CtJ1UO.Noe. I see the ~t you make--u t.o
           whether   the   language "within the scope or his auties" would be
           sufficient t.o protect. him. Well it might be you could improve &ha$
           ··~age.
              M:r. Ftn.LEa. Now you would have no exemption, as I undtn-
           etand-·r ha-ve just borri~ looked at this bill-for a eherifJ, a mart
           in thie Department of Justice, one o{ your lDen, buying a machine
           P.11 .and\,!: long $8
           cnmtnal
                                    you!}ave to combat       thoee
                                                             peo.Jllt!i when !he
                         one, do you thinkthey ought to be penahzea by paymg
           this e.xorbitant eum of $200 ii a man is going ~ut just to combat
           eritaina.18T
              Att.omoy General CU¥1Wros. The answer is found on page 9, lift6
           6, section 12, which exempts such officials. -
.;.           Mr. Ftn.LJia. The question was asbd         J.'::
                                                              about the condom""
           evidence of his guilt ii a lfiAn did not have · petlnit, as provided 1>1·
           the narcotic law. Ae I understand,        thatis notlWig more than the
           prevailing law. in practically every State in tho Union, and the old
           common ~~1 .tbat the po!l8098ion of stolen goods is prima.        racie
                                                                              evi-
           dence of giillt; by the burden of proof in tho entire case does not .
           ehilt by reason of that law.·           ,                           · .
              Attorney GeD.eral CUllO(ING~. That w" the substance of the an-
           swer l thought I bad given you; yes1 sir.        .
                                                        or
              Now some, one l'.IBlce.d me for the names of the manufacturel!I
           :·~:&1l~:fa:~~~!raii~~:!t ~:n~~~trtv':!ot:, .,. -:: /
                               ;.

                           JA123             . .- A, Pg. 739.....
                                           Exhibit
                                                                                     .. ~ ,,    "
                                                                                            • ' '1
                                            '   .   ,.        'I
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 ·     .    of SJ!ringll.ed, ~fl.!!$., Hanington & Richardtlon, Gloucester, Mass.,
      -~:,  and Ivci-Johnson, of Boston. ·                , ·
     r,:' ' ~.•L1:wis..General, do~btless you bav~ com.pR.?ed the h_o~cidnl
        • stat.illt.ica of this country with o~her countnes like Great Bntain.
        ~, • Attorney GenflJ'!ll CtJ11.Mmoe. Yes.                 . ·
               Mr. LEWI&. Will you t>Ut thorn in the record, in connection with
            your st.lltemcnt? .            •
               Attorney General Cuiam:oe. Would you like those stat istics put
            in the record? ·                                           ·
             " Mr: L'EwJe. Yes.                                           .
               '.\ttomey Gencrml C:UMHJ.NQS •. Them, witl\ the p.ermis~io.n of tl10
          · ohamnnn of tho committee, I shall file o. memorondum.
                Mr. L~w!s: Do you ro~ll· wh;at tl!e comp arison is, so.y, bet.ween
            G~at Bl'lta1n and the United States, in a genetnl wny?
             . Attorney General CtrMllINGB. I could nott11peak otl-hand on that,
             SU'.
       r
                Mr. LllwtB. I have seen compariaon,<1 in whic\ it was said t-hat one
             ci~ in the Uoiteii States, not the Jo.rg~"'!t. had mo.re mul"ders crtc:h
              year "th.an the whole of .Great Britain..           ·        •·       ·•        ·
                · Attorney General CuJOlJNcs. 1 can 11ubnu ~ the 4101(.urnt&figures on
              that.· bu1' I prefer to submit them a.fte.1' consul~ation· of tb'e r ecords. · •
                 · M'r. L£wts. .Now, in the study of this subject douht.less you ha\"e
              bad under consideration· tbe method. of denlini: with these deadly
              we~pons in other r.ountries-say Great Britnin,.F.-once; Gennnily?·
                   Attorney Geneml CuJWINos. •Yes.                            .
                  Mr. LEWIS. Would it be a matter        or  great difficulty to !rive the ~ .
              committee the bene.lit of a eornpari.son'cf aueb. methods of treatment? .
             . Attorney General Cm.IMrNos. I suppo!ll1 l could supply data on
       ' • that subject; but from my own exJXlnence, my judgment is that wo
               are a-pt to be mislead bY stntistia.._ that have 'been compiled 1inder
              different theories in 11n en·tirely di!Jcrent count.ry, having very dif~
               reicnt problems. if ,;You will pennit mo to recur to one of my fovarite
          \ illust~tions, t.41k11 fJlls situation, for instnnct: Take the Urscb<'ll
        •      kidnaping case. Urscholl wns lcidnapcd in OkJnhoina; he wns
               carried into a remote section of Texns; the demand for the rsmmm
               monoy came Crom Missoliri, nnd th<'ro wos 4lrelldy p!'\'porcd a ~nng
               of eon!cdc.rates in ~linnf.'SOta to mukc disposition of the rnnsom
                                                                                                "
               money. Thero were otker groups in 3 dilfc~ent ttdditionnl .Stall's
               nnd our representntiv<.'S hnd to trnvcl in 10 S.tnt~s in roundiii~ llJ>
                those cri1ninnls. But ~nlculnting only tho 7 orlgi.nnl Stntes; cxc}u!lh:o
               o(the oddilion.ol Sfates 1n wJlich our reproscntntives trn'\"cl<'d, tJaoso
  \    •
               7 ;:,tn.ws h n.vc nn nrca of about. 683,000 squnre mil<'s, nnd t hnt 683,000 .
            · squll.J'1) · milllS !nipcriniposcd upon the mA.p     or.l~tlropc- ,foulcl · c(lv"r
               Germany, .Frnnce, Italy, Austria, Denmark, Hollnnd, ~witiet111nd, •
             · Er\g1ond, Scotlnnd1 nnd '\Vnles.            ·              · - ~             \
                   Now, thnt' is our crime problem, i;11ntle111e11. 'flum~·i is not nn:vthing
                comr>nruhle to it 11nywl1ere on the fAco of Uie globe. ·             · · 1
                   Mr. L1~w1s. \\11ot l hn'"e in mi11d mostly, GcnerltJ,- js this: Th11
                theory of individunl 'rii;ht.s thn.t is hwolved".. Tl1oro is n disposi.tiot\
     '          nmoui; <w1·Ltiin_pcrsons to ovc.rstnto thcir ri:;lts. Thqre is n provision
                in U1e Constitution..-for c.'\nmple; abuut t.he rig!1t to cnny fu-earms,
                Olld it would be helpful to me in .renol1in_g n judgment in.supportin~
                this bill to find just what restrictions u 1nw-nbiiling citizen of Great
                                      •
                                                  JA124                         Exhibit A, Pg. 740
                                                                              ,
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         Britlrin and tb~se"othf)J' countries is.willing to accept in the way of his
          duty to society. .
         . Attorney Genernl CUMMINGS. I will_be very glad to supply nll the •
          infornmtion I cnn on tbnt subject.                                .
             Mr. L£w1s. Now a very brier statement on this subject: ·to.wyer
       . though .l O.ml I have·'never quite understood how the lo.we of the
          various Stntes have been r.econciled with the provision in our Coneti-
          tlition denying the privilege to the legislature to take away the right
          tocnrrr       arms. Concealed-weapon laws, of course, are fnmilio.r in'
          the vnnous States; there is o. legnl t~oty upon which we prohibit the
       · ,carrying ol .weapons-tbe smnller weapons.                    · : .
             Attorney General CuMllUNos. Of 'course we denl purely with con-
          cenlnble weapons. Machine guns, however, ure not or that clnss.
          Do you hnycr nny doubt us to the power of tlie Government to deal· ·
          with machine guns ~s they 11re trnnsportcd in int,erstnte cqmmeree?
             1\-[r. LEWIS. I hope the courts will find no douLt on a subject li..ke
          this, Genera.I; but I wns curious to know how we e.scnped thnt pro·
          visibn in the Constitution.                         ;1
             Attorney General Cul.sMcNas. Oh, w.c dt> not attempt to escnpo it.
          Wo ate denlin~ with nnother power, nnm'ely, tli.e power or inxntion,.
      , ·nnd of regulation under the interstnte commerce clause. . You see,
          if we rnnde n statute ubsolutely forbidding o.ny human being to have
          n machine gu.q, you might sny 'there is some constitutionnI question
          involved. But when you say "We will . t~ the machine gun" and -
          when you SllY thut "the nbseilce of a. license. showing payment of the .,.
          tnx ho11 been mnde indicates that a cdme has been perpetrated", ··
          you iuc ellsily within tlle lnw.
             }.1r. LE'wis. Jn other words, it does not o.mount 'to prohibition, but
          nllows oLregulntion.            ·                        .
              Attorney, Gcnernl CUMMJNOS. Thnt is the iden. \Ve hn,ve studi1id ·
          thnt \'cry. cnrefully. ·'-.,
              l\fr. LEWIS. Just 0110 ot.l~qucstion: If tho bill were to require offl. ·
          person now holding one <lf thesb wcupons U1nt in ordur to truvel in
          another Stut~. with thnt pistol in his l>ossession ho should first hnve.tQ
          get a Fe_deral perniit, .•would you 1 not then hllV!'.l rcnched, in It ver;y'
          substnntinl way, thoso wl10 nm,·, hundreds of thousands, entry these
        . small firearms?                        •                 ·
            · Attomov Gl'nerot' Cc~nu:-;cs. \\"J1y, there is 11 question of policy
 ·,       uncl t11ere. are n l~t of Pl'OplA who think tliut \\'onld be too drnstic;.
           tbnt it \llo\tld rcnd1 too rn.ony' innoci'ni peo]>le who d~§_ire to carry
           wenpons for whnt tll<'Y.'tlunk.nre proper ·purposcs. Now I do not ,
           tlilnk it \1·ould be proper for 1)10 to go into it very deeply, lrnt we have
           gone us· fur · us we tho\1i;ht wo ('0\lld Hnd yet flncl. support for our
           propositions (IS 11 mutter Of poJl.cy.           ,        ,                    :
              The.re i.s m1c mntt<.'t, :\Ir. Cl1:1irm1111, 1£ you will purd()n n1<', thnt I
           nrgl ed .rd .Co mont.i.on- -                                        .            '
               1 lr. S'uM.Ntns·of Texos. Ge.ncrol, with I.ho pN'ntlssion of th<' Olu1ii'-
           ninn, something lu1s occul'l'ed to me.
              Tlic CNAlflMAN. Proct'ed.
               :\,fr. Sum-;1,;ns of Tc~ms . "1111.t -do yo\I think abo11t tlw bHllct-proof
           Yests.that iut' .pnrt of tlio t'q11ipincnt of these pers011s1         •     '.
              Attorney Gen'crol Cu:.iMtNGS. Thut , suhjcot, Mr. Sum11e1-s, wns ,
           b.rought ut> hy one of th~ nuimbC'rs of tho.committc1~. · .
                                            JA125                       Exhibit A, Pg. 741
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                · Mr. SuvNEns ot Texas. Then please excuse me • . PlcMe di&mies i~, -
               und please do ·not cover ·it~                                     .
                  Attorney General Cuio.nNoa. Thero is. one other m.1~ttc11 tlu1t ·I
               would like to·drnw to vour uttention, that. I think sou will approve of.
              The bill ought, in my judgment, at some appropriate spot, for instance
            • as section 7 (b) on page 6'--l would. sugges't that on pnge 0, line 1
             . seotion.7 be chunged so thut' nfter ~eetion 7 the lette,r "a" be inserted
               and tho present lnnguage be coilSldered as paragraph (&.)1 and then
               that a subsection (b) be added containing the following language:
                  - (b) lt aliall bo 11nlawfui for nnyo!le to obliterate, remove, change or 11eUet
                  such. n\unbrt or other id'elitificntion mnrk. Whenever on hrfol Ccir a violntio11 of
                  thie eubaection the defendant i~ s11ow11 to hnvc or to have had f>OIJ&'88ion of aitch
                  llream1,. upun w.h ich such number-or murk sl111tl lan.vc been obli ernted, rcmo.,ed,
                  changlld or allcrcrl, such }>OAAOl'-"'on ahnll l)e <lccmctl sufficient cvidcncl' to nuthor-
                  ue eonvictfon, unl~s.' the. rlcfcnd11nt e'(plains such possee~lon to the ~tisfactton
                  of the jury.       ·                                           ·
              . · That, of conrse, speaks fo~ itself. We deal with criminnls who will
               file off the numbers of the weapons so as to m1tke it impossible to
•              truce them, much as they do with automobiles now.             .
            • ~1r. McCLlNTIC. The distinpiisl1ed Attomey General has re£crred
               to the so-called "Urs('}1el cnse' , whi<'h wns tried in t11e State nt Okla-
               homa. I. want, to say to the mesnbets of 'the committee it was my
               privijege_to attend that tl'ial. 'fhe dosing argument for tho Govern-
               ~et)t was JD&de by thA distinguished ~istnnt Attorf1ey General who
             ·1s here, Mr. Keenan. It was handled ln sur.h an effic.tent manner tbut
               all of the dtizens of my State deeply apprefiate the able prcsentlltlon
               and the fine results' obtained in thnt pnrt.irular instance.
                   Attorney General Cu~!MINGS •• On behalf of my ·assoriat.e, I extend
                thnnks to you, Mr. Congressmnn.                                ·
                   Mr. VINSON. General Cummings, I want to read paragraph (d) .
               of su bsertion 6, section 10: .
                    Any person found l.n p08seaaion <:>f 11 firearm al11ill be presumed to h~vc t rans·
                  ported euch fi":"earm In interstate com1ncl'ee contrer~ to tlin provi.ione hc·rcof,
                  unless tbat person l18a been.a bona tide nisidcnt for a period or not less than sixty
                  days or tbe State wbcrcin he is found in possession of euch firenrm. or 11nlc1!8 e11ch
              . t>Cl!'On hair in ~is poasel!sion a stnmp-nffixed order therefor required -by this Act.
                  Tlti11 p.reiiumptum m11~· l)e rebu~tcd by co111pet-011t cvidcncC>.           .
                     Now is there any provision in 11ny Fed<:lral or St1ite .st11tute similar
                  to that?
              Atunoney General CUMM1N.ns~J'.'fhe fnse ol Mobile Ra17.rood Co. v .
        ,. ·Ttlrllip Seed (219 U.S. 35) d.i.Sc'U.Sses such 11 proyision. 1f you will
           glance at that cnse, ylou wil~ that it sustains tihe proposition tl1at
                   t~ere niay be I\ lcgis ati vo.p;;,.C9.!:iliiptio11 based on.one foet followed lt_y
                   another fact.               ·        ~
                    • Mr~ Vu1s~N. \.\11n~o~t. ~1;.c:ijme hnll been committed ln the r.nse
    "              ~o wh1rh you refer?              ~ ·                                      ,
                        Attorney Gcnernl CUMMtNqs. Suppos~ I .send for .tho c11se:,.sir.
                     ~ .Mr, Vn1soN. f will .sll..Y' l n'm ' familiar in a generul"w1~y With thQ
        ,          r1l)e of presumption tkrat obthlns rclntive to stolen goods nnd pos-', l\
                   ~sioll ef ill)l'Coticy: and ppssi:ssion of distil!ed spirit..8, ~~nd pn~ticularly ,,.
                   ,..tJln referen~Jxi"Stal.e, laws 1i\ regard to hquorn. But r no\·er c111nc
                   iti'lbontact w.itti ·anytllinit tha~ even looked like n. presumption such as,
                   writtcn»l.f!iHi.citl tbis _bill in 'thut, pnragrnph. , .         ._ . .          .


              ,
                   ~'l' Nlt¢Tioy G~nQrnl CuM11!1NqS::: :i'hc n~swc1• is coufoss!on nnd 11~01~­
                        c_IY{ ~J1ctc ~not nnytlnng thn~ spc~1!1cnll~·· l eun p01f)t
                                                           1
                                                         JA126
                                                                                         ti) wb1<'J1. ';'
                                                                                      Exhibit A, Pg. 742
            '..              ..              -             I ,                             .           /
                                                                     '
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                                                                                       .-
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          'eimilllf' IA thls porticular,provision. Tl1ie 9uestion arose iii connection
           with a. provisi.on in another )>ill that        we
                                                        ,have pending; dealirtg with f
           lcidnaping, in which wo raised n presumption that the peraon wns
           transported in interstate commerce if no~ · returned within 3 dn]ll.;
           And when that wa$ before tbe Senate committee, . Se1111tor .Borahj :-.
           who was very inuch interested in· the matter, raised tl)e same question
           thnt you have raised, sir, as to this general power to create such pre- -
           munptions. And nt that· time we sent for 'this case nnd read 'it over.
           together and both rcncbed tl1e conclusion that it was fl constitutional
           provisio~ : So', pe~onnlly, I have no doubt that upon test it would
           be sustained. .                     .              ' .      , r
              Mr. V\NSON. or CClllrse I may reo.eh tbnt snme conclusion ~ but, •
           nt the present timo, I om just as fnT distant from such a .conclusion
           ns 11 person. couJ~ be. ·         ·     ·                   -
              .Attorney Genero.l CuMMLw;s, '.Vell the test is this, tlint it is only
           essential that tlipre shall be some rationo.I connection: between tho .
           foot proved nnd the fact presumed, nnd that tl1e infiirence .or one
          tfe.ct {rom proof· of ,l inother shall not be so 11nre11Sonnhle ,ns to be a.
          )>urely nrb1tTa:ty mandate. . ·                   .         ·     .
             Mr. ViNsoN, Tbnt provision there puts 'n citic.nu of the United
           States on triol, .innocent, however, as be moy be, nnd compels him to :,,
           rebut . by_.compete~t evidence sm:ilb'thing tlrn~. is ·not part nnd ]'>at()el
           of tl\e Cntne; tbl\t 19 1 II. 60 dnys.' bona fide residence.             '
               Attorney General CmnnNGS. Mr. Congressnian1 it ii! pe.rCeetly
           nat11ral to look nt. this crime problem from two 11nglcs; ono, the nnglo
           o! the derendant who may get into trouble-
             . ~ir. VtNSON. J om looking nt 1t from · t.!19 nngle ol n lnw-nbidmg ' •
           c1t1zen.                                                                                   ; J.
               Attorney Genentl CUMMINGS. Tho.t i~ whnt I s1ty, nnd J bn\"o no
            fenr of the lo.w-obicUng <.'itizcn getting into troubl1.>. Tlie other angle                  ".
           is that of the prosetuting 11gency
           practices. :               , ·
                                                       'vho   desires to stamp out criminal
                                                                         ·       ·              ·
           • Now we nro dealing w'iUI nrme'd people; criminnls, who 11-ave 11ille-
           out3 in vo.rious spots. They will stay in one plo.ce n li ttle while nod
           in mioth~T pluce a lit~l<J while, nn~ mo':e nb~ut~·illWl\.Ys with . n~~;
           nlwn.vs w1ll1 nnn!l. \Ve ho:ve rnccntly broken mto pluccs whore1r.nm1·
           nols hnd recently ll',ft. nnd found regulnr nr.;cnols. of mnd1i11c guns;
            re\"oh-ers, pi$tols, dips, vests, nnd f.hc· {,ord knows whnt. Now this
            p11rtic:ul11r />rovi~ion ,wn;; <'nlculn~e<I t,o t:nnb!(\ us to J1nvc 11 ens~ lllojt1inst
            pl'OJ>\c oft Hit lond. ) our fr11r 1s tl111t 1t 1111ght be used us 1111 t'!1gmc or. :,
         · oppr!'ssion n~liin;;t some innocent citizc)I~                              ·              · "
              . :\Ir, V1N1:10N, Let) nc ;;tiy to you G(•ncr11l, l _luwo hcen on U1c pro,se- -
            cuhoo. t'OO of th!' Ill\\' myseU ttnd cttn view 1t from 1!111 pro,,ecutor'sl.
            side of tho rnsn nod', so far ns the p11rposc in tho pl'<'vrntion or re;;trn.int .V
            o{ this rriml' wa\'P.i is eonrt'rnt~tl, of• rourse we nrl.' in complete ncco1'<i. ; ·
           :But we hove hnd some recent. expt:fimwrs:'in rrgm1I lo ~plcnclitl pur.· .
            pofl'i< th rit huvn l>hcm writlt•n into th<' lnw. I i-irnld rcf1•r vo u to tl10 ! '
           5-11rul-JO·y1·nr pro\-i!'ion of tho .JonM ,\rt .. '.':<~bo(fy quc..~tionrd tho \· I
           purpo~c of tliMc of us.wuo vol<'cl fur tlrnt lug1slntion; huL, wh1•11 we ~ot : ·
         1
           <llT in th~ co<>hwss nncl rolmnl':<s of r!'tro~pcct, w1•h11d iiornt1thin1< thcro-\"
           thnl I 1!0 not tl1ink noy En~li.$h S(l<'oking people lond <~ \· er ~t't'll prior' ;
           lo t1111L ti111<', :nut I know luwC' not sc:>('n "'incir.                     ·
                                                                                .
               Altorn<•v (;<''ncml C1: ~1~11KGS. l will le1tve Uml to t1111 ('nmmitfcr,
                        -
    •'
                                              JA127                       Exhibit A, Pg. 743
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             Mr. Fm.t.n. As I under8tand Crom this bill if I bad a pistol of
           my 0"'11 and I wanted lo sell it., orgi-re it away, I would have to have
           a pictUJ'l!I taken..      -
              Attorney Gimera.1 GovauNos. Yes.                 .
              Mr. Ftri.r.i:R. And have to give my fingoi:prints?
              Att-Ornoy General Ct1WJlING8. Yes, you would.                  .
              Mr. F<1LLEIL Do not you think that will cause nn awful revolt oU
           over the United States amongst private citii cms, that the· Federal
 ..        Govtrnment is taking too. much authority?
               Att-Ornev Generel Oum.rnros. Just o. moment. I misspo}m myself .
           You' wou1'1 not bnve to give your fingerr,rrints, or your picture. It
                                                                                           .

           would be the person who got the. weapon. -
          . Mr. Fm.1;En. The man who got t.he weapon?                                      ,
           · Attom1,1y General CmwmGs. The man who· .ree&fved the weapon,
              Mr. Fut.LER. Well~he             the one wbo w:onld have to get the permit?
               .Attomey General                  oa. Yl!S, ho ~ould have to get tho permit.
               Mr. FvLt.n. What a out trlln!!J>orting? 1f I ho.d to ~et a permit
            to transport, would 001. I ha¥6 to have my fingerprints made and a
           photograph taken, in order tO get tbat permj~ t.o tr.ansport?
              .A.t~mey General CuaoaNas. Yes1 I believ~ you would.
                Mr. Ii"tn.Lmt. Now, another question: You 1..-now that naturnUy,
            outside in yaw: private life, as a p,r~otitioocr_1 there is mom or less
            te!lelltment on behalf o! all law-abtdi.ng peopte to be regulated too
            mueh, especially about pistols. Would it in·your opinion seriously
            injuni .the object and purpose of this bill if you would elimineto
            pistols and let us get as strong a law as possible for sa.wed-<>ff shot-
            guns and . macb~e guns-t~e very thing you 11r.e t!Y1_ng to .reach? ·
            That 11e~t1.r.i.ent is reftect~d ll) Con,IP'ess here. ~d 1t is .no tr-0uble
            for a cnmtnal to get a pistol any tune be wants it, even if you pass
            this law; but it would have a wholesome effuc~ to stop him on these .
            JDachine gun."- tnd sawed-<>ff show.ins. ,
                Atll>rney General Guw.oNas. OI course, the COl:l'->n.ittee nnd the
            Congress will do a.s they plell.56 ah<>ut this matter. I can only say
            what. I think and I think it would be a IA!rriblB mistake to adopt any
            ba1£...,,.ay measnres about this. I think the soon:.u- we get to the point.
            whero we are p.'"l!pared. t-0 recogni1.11 the foot that. the possessiM'I 0£
            deadly wcapons·m•1st be regulated and checked, the better oft we are
            going to be as a people.
                Now, you say that it is easy for criminnlll to get weapons. I know
            it; .hut I want .to make it e(l.Sy to convict them whl'n they have t.l1e
            weapons. That is tho point of it. I do not expect criminals to com~
            ply with this law; I do not expect the ut11fotwotld to be going \\l'OUJld ,
            giving their fingcrprinU< and getting pcnnits to carry thcso wc1tJ>on\},
             but, I want to be in a position1 whin 1 And such R person, to conYiot
             him because he1ha.o; not compl10d.
                Mr. Fut.LER. or carrying . the pistol or we.npon, instead o{ th<!
             Off(lnsc ,,;th which he is ch1xrgcd?
            lai
                                                                                       ·
                ~fr. L&wis. General, you \~('re comp<'lletl, in the case .,r one o_ut..
                      wltich the Dep11rtm.cnt ha<i 1·onnclcd, to resort to prosccntHm
             un ~r lhv income-tax Jay;·?
                    t tomr1' Genrrol Cu~on :-:ns. 'l'hnt is C11pont'.
                •
                  1
                      r. L'i;\\·1s. You wcn:- compelled to rlo th11t b~ ntU•r lock of po11'cr
             to H... .,J with R nntion11l outlaw.
               · ttomcy Gcncrftl CtrltMl:"Cs. Y1111•
                                                  JA128                       Exhibit A, Pg. 744

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             ,
                                                                                                    ,
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         ~                I             '          '>\ '                        •   +


        ¥r. Vtl'lsotit. Genersl, l' hnve been 'handed the cnse or the ·klobi11;
      Jachum & Kansa~ Oity Jlailroad ,,,.: Turn.ipued, 235 U.S.1 ' to .w hich
                                              is
      voi1 refor: , That case, briefly, n civil cuse for tort; nnd m it I firtd
      thil Collo''
               .
                  ' ing l angusge in regard to presumption. 1 f(llote from it: ,
                           .                          .     •\   ~

         To enact legl•lalton providing t hat p~oor of one fnc.t shall constitute prims
       facie evidence or the main fMt. In hume, la to ennct a rule ol e\'ldence 111\ll keep
       within the general 1>0wett1 or p;overnroent, Sl&tutea; Nationnl and !ltntc, dealing
       with .ouch methods or proof hi l>oth clvUand criminal cases, aro (01111d 1U1<l tleci•ion..
      'uplw\dlng tlteru are numero1.1s,               .          ·                ·               • '·
             Now that-is with respect to some· part and parcel or the_erirn~ for
        instance, tl)e P,OSSession of stolen goodEY. Thero may be n proper
        leg&! ,pre        pt1on that goods that have been !!tolen, thttt ate m the
         harids · tile parw charged with the c;rime, have come there illegally,
        an,P. t e Stato or Federal Government may make that possession I\·
        c.r ' . But this presumption that is referred to in parf!.graph (d) or
       ·s ubsection 6 o{ section 10 deals with a man's resideiwe-the qUC11tion
        of whether a man has resided for 60 days within a State: There is n<>
      · violation of law the;re; there is nothing· that even squints or crime in
        a. man's' living in 8. lState for 60 days, 6 months, or 6 ycnrs . ,\nd it
         just occurs to me ~hat this particular decision might not. be very
       ·strong authority Cothhat contention..                           '           .
             Attornev General~ Cm.n11NGs. We have a memort1ndum on tho.t.
        subject that I would\ be ~lad to submit. ·                 •                ·
             Mr. VINsoN, I wo~d. be very happy to see· it.
            ,Mr. HrLL. G~nera.l Cutnlllings, the quest~on. has been ~s~ed as to
         how· ~ou are gomg to check up on or deal with these prohiblted arms
         now m possession of the people. Now thefe is not any provision in
         this bill that l ho.ve found that deals witn clips, for instance, for a
       'machine gun. It occurs to me that probably to some extent you:might-
        check up on tho possessors o{machine guns by requiring some idt>nti-
         fication in the purchase or tho clips to furnish the ammunition for
      . those guns: ·                      · /
             Attorney General C 11~nNos. That is a very good su.ggcstio~~
         sir-'lery good.                    •
             Mr. .lilLL. I douht whetht>.r it woul.<l, he a ,-c~y populnr t ltiug., to
         carry thnt on to the matter of IUTimumt1on foJ' ptstols.
             At torney Genera! Cc;MMlNCs. No.·                                              ··
             ~u. H1J,L, And snwed-off shotJ,?:uns, ·1111d t11ings of thnt kind; but,
         QS tO IDllchi~<l gµi1s, it"TI!ij?bt he II \'Cry dt'sirnhle SUpp[e mcnt lo this
         hill.                                                                                 •
             AttomC'y Gcnull GtrllMlxGS. l thi11k thn t is .11 ,·er~· good sug~rs-
          tion .                     ·                                                    .
             !vfr. LEWls. Do they hu,·e n different type of cnrtridge?
 .\          Attorney General Ct1ArM1xr.s. TheJ hove speeinl ec1uipn111nt t o Ito
         into these m11chine l?uns. It is n highly specir.lizcd 1mplelr1e1tL nnd
         <iught not to be in the hoods of nny i.nnoccnt person- I 11u11111 011gl1t
          not to be in tht• ltnnds or nny pl'rs:m who is not propN·ly \'tltit k<l to
          hnve posse.;sion of i1'..                              ·
             ~fr. Hn.t •. Now you. ore proceC'dini.: un \l('l' t wo p~od~ion~ of the
          Co11stjt11tion 11s 11 lmi;is for thi;o. ll'trislntiou. Onf.' is lh<' t11 ~ir1~ pnwl'r
          ond th e other is t.he n·~ul n tion of interstntt' connucrcr.
             Altotll!'.'V Grnernl C GM~11xc;s. Yr;;·.
             :\fr. HI LL. lfow· fot· 1loc>s t.hc chnrnctc>I' or lntt• rsl.llk ('Olllll H: rcc
          follow n lirenrm'! for ini;tnn cc., wi th n g un 1h11t is imp1irt1-tl, of couroc
                                               JA129                          Exhibit A, Pg. 745
 •         ....."                      ...
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1ri1l
  (I1•\,      , IJ1 t b· a t would '-- .    ' . l comrnerce an d wouId come un der t Ius
                                   ue 1J1U>mationa                                     .
       :, · ·: pro".'Won; but take Rc!omestic.prod~ct.. A; mrumfanturer ships a.IP!"
 ·I             '
               intQ another St.ate fron1 that m whrnh 1t 1s manufRcturcd. It is in
•fJ" \ '. interstate con~erce. Now if the person :rocciving that gun, pur<>hfts-
 '1'-1,    i·  in17. th'a,t gun, !!!Us it to some other person with.in ·the ~11 111c 8tnte ns
" · ·ii'       he 1!l, does tho mterstato comnu.•rce ch nrn dt~r still ohtRm?         ·
        · . Att~            . ey General Cu110HNGs, \V.ell·we wo1tl<l .get that: person, irlrc ·
               is a c rninal, under the taxing provision.
                  ~Ir.        ILL. Under the excise ta.it?
                  Attorney General Ou14M1NGs. Yes, sir.' · ·             •                .
                  Mr. HJLL. You would require thil' person selling. Che wenpon t-0 l>8Y
      _ \
                the tll.."'t? •               ,
                  ,Attorney General CuMM.nms. Y cs.
                                                           ,           ' •                                                       I   t
                  Mr. lhLL. . And in all these cnses, I tnkc it, where urms Aro imported,
               they will pay t.he import duty?               -              · ·
                        . Attorney General Cur.iMJNGS. Yes.                                                           ..
            · '           Mr" HJLL. And, in addition to that, wo\llcl pay the excisr. or in\ernal
                        revenue ta."<? .
                          Attorney General CUMMI'Nos._ 1 think it is so p rovirlcd speruir.ally.
                          ~Ir. HJLL. Under .the internal revenue t ax fenture, :you would re8C'h ·
                        the s11le of a weapon sold in the State in' }Vhich it is m1mufacture.d? ·
                          Attorney General C u m.itNGS. Yes. There you arc under the tn..'>ing
                        power. ..               _ , .          1                                    ••
 '..       . '7       Mr!'BJLL. Tes; I say, under the tu:-.;ng .p ower.
                      Attorney General CuMMIN·os. You see, wo hnve to use l>0th Of t.l1os11
           11      powers to solve this p.roblmw.
                      ~fr. Hui.. Now, of couf'Se, this is a·prctty drastic measure. :-.Io-
      • t          body will q uesf;ion t.hat !or il momP.nt. And it ·mny nrousc some
           1
                   .resentment among ·certain-o( ou.r .porfe<;tly good l11w-nbidin~ people . .,
                   F or instance," it reqnires, n5 hns been snggesterl here., every pl'rS"on;
             )     regardless of whether h~be n erimiual or lnw-nhiding, if he\nints t-0
                 • t.ransporl, one of these prohibited nrms in intenitntc co}nmcrce,J,hAt
                   he must first secure a permit. And, to get thnt permit, he niiist
               1 . furnish  n photogrnph tmd fingerprints encl other mnrks of iclcnti-
                        firntion.
                    1      Attornc>y Generul Cmmrxos. Thnt ii; 1111!<:,;s h<' .conipli"s..\\°ith thl'
                    \ law of the Stntc to .which. he is ~oing.                                         ·
                          ~Ir. HrLL. Ye..<;. \\·en; if thot. Stnt e 1lor:> nnt hn\'I' nn,· n•quin•-
                      mcnts ns to licPnscs or prrmi't,., then he WO\l lcl lin\"(> If) :,!l't the• rirrmit.
                      from the C'ommissionrr or lntt'rnnl Rc,·cnuc'? ·                                               '
                        , ~\ttornr,y Grn<'rnl ('li~t~iixnl' . . ff ·you ~1i:-h, sit•, to lll!'ll-I 'thnt ,.:it·un-
                      tJon , 011 pn)?e 'i1 srction 10, line :?l ; ''iwrr Wt' rxr.mp t. Jl"l"01l" _who
                      hu\·t• ]uwfully obtnin<'d ll lkrnso for $HC'h fin•urm from tlw :-;1 ,11\',
                      1'elTitor,v' Di~trii•t I orpoSS<'!'SlO!I to wlcith !'.lll'h lil'f'liflll is In ht• !'<'li t -
 ..                   " yo1'1 urc rni~inl! tlm '\ueslion thi~ t th at. ~f11tt1 11 111~· 1wt' rr1111i1·r 1inY-
                       \i1·11n~f (thrrt• J~ no cl.ou 1t ns to \\'lint it.. lil!'•ln~) ~·ou. niiirh ~ :<11y:
  •
                           \\'hot h:1s ""lllJllil'tl wilh'thr• 11111'~ l'PK)l!.!tfi1111 firl':lrlM in the St:itr, T<-rr·ll"ry,
                          i:.1rit•t + ~ • r J111-<~1·.,.~i1111 to ~'\' hi<'h 11" i~ f,.!;o1 U,1!- ·••             •    •1
                           ) t i~. fuir 1•111111~h wht•ll \•011 ,:011re to ;111111\·1.t• ii, h1•1•11 11~t' 1•1·erv $111 I~
                        h11 • ·~ ri!!h.t , I !'houlcl l·h!rik, to ho pr11tN·tr\l 11i::.:1i11"l JlM!lk goi'n')i': i1110:
                        ti! :-;1i1t1· 111 contrnHnhon of thr Jaw" 1hr1•('(1f.
                            ;\Ir. 1111,1.. Tli~r<' is no .11ul';;\ion hut 1liu1 lh1,._!':'l11t1• h11,; th•• ·PO\\'t•r'
                    . , l o impo,:1• 11 ·rr:-trirtion· 111111 r:i·quir•• N·rt11i11, n·~11l11lit111" In ht• ru111- \
                        Jllj \wit h: hut if it111I :-;1 1•1." JA130                                ill'l'~Oll 1 A,
                                                              Jiu.- >1<11 cl11!11; lhnt nncl l h r Exhibit      II pt•r-
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      .fectly good riti:r.rn 11io~1ld CAnY 11 firo11rm intt\ th4t State, ho v.·o!IJ~
      or courM! tia,·o nothinp: to show ho ill th l'lte legal\~· in possession o~~~:' r
       bfo<'auso the St&to law will not rt'quire a permit.                    - ~·
          Attom.ey Ornl'rnl CoN111Nos. · Ho would nr,·rr h4' ronnc~dt or
      11rrestod 10 the world.                                      ~    :
         Mr. HILL. But ho would hn,·c nothing lo show specificnOy w the "
    - Federal o!liccr who arrested bim for luwing a fil'C!I rm.                .                •l
           Attorney General CVNMlNG8, T ho lnw · would not conumpla~
      for a momont. rtlquiring a penion to ha,·o something that. does not. 1
      crisi. So I should 88S i( you wero in the State of .~ for
      instaoco, or going there, if it. Tl''JUiN!ll no permit, you would not havr0 •
      1,1 ven to ttUrmpt. to 1trt one.              ·                                \
           ~r. H1Lt.. But section 10, on p11g~ 7, rtad.9-                                 ~
           It •hall \)(II unlawful for a rw '~"'°" """" hu nnl f11'Al ohll!fned a rcnnlt]u
      btroinafttr pro1•hlt<l, tJ -t'nd; 1hlp, tArry', nr 1ltli•' M" am· 6re.srm io lntenlblle
      oommerce.                                                                         I
        Theo it goes on to 11ny-                                                       1 J
        •   •   •   oothlnJ COnlr.lntll In thre 1tetlnn •halt •flfll)"-                · ..:.
       to the number or different provisions whieb follow.                     \ I
          Attorney General Cou&UNG8, You con change ti.lat 8o t hat,
       instead or requiring a.license, it would reud, "complied with-the law~"
         Mr. H1Lr.. Well there i~ no lnw to be complied with. He has-
       ahsolutcly nothiog t-0 show; tl111t is tho point I am making. He has
       to get Ii permit rrurn the Commis.qioncr ond hns nothing lo show frolJl
       the Stntc, und whut iu thcro to keep him from being at-rested by n.
       Flldernl offici11l 1iy·hnvi11g violo.tl'lcl tlli!J law?
      ' Attorney General CuuM1N08. IC he wants lo get. 11 permit, -tbnt
       would p~olcct birn. Ho riors not. ho ve to get it.               •
          Mr. HILL. He hoe to compl,v with rcgulnlions prescrib\?d by ttio
       &."Cr<'tnry o( t.1.c Trt'n&11ry, wlut'b mii;:l1t indodc fingerprints, photo-
      gTnph11, and otlwr murk11 of ldel-ftlfirntiou. I um just simply cl\lling                  1

      8tlt>ntion, lo gt>t it iu lh<! r11rord, to who l t hi~ bill does, bet"o11s<' wt
      ore jtOing to h(- nskt'd II lot l')r 'lll<'~tinn!I OOOUt. it.       _
        Atlorul'y Cl'ncrnl Ct11>.1~a,.cs. \\'t•ll, I 'JJiJ nl thr tlutsct, :\l r.
      Cl111im1nn, nntl ~Jr. C:ongressmnn, thnl tl11!1 wns o dmstic l11w, nnd
      the IDW·nhicfing (l<'Oplr or this C'OllOf~· linn• J;Ot lo IX' (lrt'p11rPd fO
      i:o to some inco1wt'n1rnrr in dculing '' ilh lhr<r o<'ndly wen pons. The
      U1in;r i" not no irrnlionnl rt11jUCllt · LO lllflkl• or tl1c honest. citi7.l'n who
      wonts the rriminnl rln~¢ 5/lnmpNI out.                  ·    •    • - .         '
         )Ir. J>JC.:KtNBO!ll. Just. one quMtinn, CC'neml. On pngr ~. $CCtiQ11
      4, the fin;p line, wftt·rr it.srl\'51 " It ~hnll hi' unln1\"for for um· prrson", ·
      Joc3 the word·" l><'l'lloO '' 1lirlt11IP 11 1lr>11h•r? )9 it iutl'ndeJ' to inclw!o
      u dculrr; i~ it brand rnou;:h to cn\'rr u J1•11lrr?                             S.:!I
         Attomr,· Grnrrnl C'1·um xm;. YC'S, ~ir On J>Dl:J't' 2, line I , it :;ro·s              •
      " T ht' ten ii 'JX'~ln' inclutle'l u p11rtn<'rsl1ip, rornpnnv-, o"'50Ciation,J.ilr
      rorpornlion, u!I wcll n-c 11 n11t11nil pcr-..on.''              '              ..J~
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         ) Ir. D 1c.1osso!li. Th nt. drftnition, then, must be tnkrn into coi 1-
      @idcrntinn with thC' Mh<'r?                                                      ·
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      Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 75 of 250
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                 Attorney General CuMMJNOtl. \\Ill you prrmit 111t1 to t'xprr11,. mv
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 ,I            attont.iv(I gtntlemen who have lieon ~palic11L wit.11 mo'/ 1 th11nk you.
                   Tho C HAIRMA N. Oenernl, wo 1tpprc1·i11to your l\lt en~ane(I nnd the
               informal.ion you have i;iven tho comm1Uee. I 1u111111ro\ hi! rom111it.tre
               is very deeply inlc~cstad io thi..; propoocd fo~i)<lntion, al d we prrh11p11
               will want to confer with you latrr. \\'o tha nk you v~~· 111111·h,
               Gt>neral.                                          1• ~
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                 (Thereupon an adjournmrn~ wus tn.kt'n until W1•dur:<duy, .\ 11r. UI,
               19:14, at 10 a.m.)                                                                                  '
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                          JlfATIOllfAL                                                 •or
       tho burden of pl"l>Q/ oltall bo ·on tbe claimant or the 11ceiusetl to rebut eueJt
       prl!OluwpU011 ' " (2(18 U.S. 178, 181).
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       cou~ 1111ok'<l        rrwn the ~pinion -o r t he Sup~.0.111 (f<>11rt, by Jwiticc Lurton, In
       Nolfil(, ti~., ll.R. v. Tum•f'ired (21 0 U.S. 35, 42):                                   ,
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        ;28                                          . HAl'IONAL P~'EA11M8 . ACT                                            •
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          proptleed Natioaal F"areannalAct, H.:.R. 9066, wtiuld be upon the American people,
        · but, coneidering,au its proviiiione, it ill' more drastic tllnn any present atBte l1<gllll11·
          tion, inclualng New York'lf"Sullivt.n law."             -           •           ,
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                ' ritiah Act is' bMed bn rcgul&tJng the88le, as "'ell as the W!e<imd poo11c'llsion,
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                    ~       kind or firearm,      or tl1e IUJl.IQunition therefor. Only those iuilividu&ls
                            in a fire&nn certificate who are approved by the local c'1ief of police, witb
                       Ill except.ions auch als law ellforccment ollici.nla. 'l'he certificate fee i.s np-
                p     $tely $25, It .is good for 1,ut three ycal'll, 1\11tl is rovoc11ble. T,here lK on .
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                                                            FIRE.I.nu CERTIFICATE
                       I --
                   lh :England every perso , with certain exccritions; must have a tireann certifi-
          cate ~o Jlllrchase, po&Sef'S, use or· carry any ·llrearn\ Cr ammunition. Firearms
          Include any lethal 6rearn>. or other weapon of an:<:i q~scription from Which .o.nv
        · Bhotjlbullet or other missilb can be dischnrg<><l, o~ ai1y 1nrt thereof". It d.oeii. not
          jncludc Rl\tiQllC8 Of firearm~pO!\SCll!ICd Oil trophic.. or~ y Wfit, llltlloOgh, no ammu-
          nitfo!.' may be plircbaaed t erefor.                      '·
             .Ati'imuni~ion i& defined     be ammunition !or 811 litearm.~, Jlt>d o.!so inclll'llC9
          grcn~de11, b.ombsl!nd siipil~r rniN;iles, whcH1er rl\!lDI.\ ol 11"1: with a fircarmon1ol.,
          and tn!(rcd1cut. an~ «1!1'\f?Onents thereof.               ! ··            . . .
         · Tbe firearm ccrt1fical.C\is granted by the clalcf or I' ltcu or the d aslnet 111 which
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              l'CA!lon foratcquiring the ccrtifica.tc o.nd tho.t ho t'.an be i)crmlttcd to havo tho 6.n>-
              ann wil11out do.11ger to ' thc public ufoty. and on payment o( 11. prescribed fe6;
              whjch is 5 pountls for th'll fil'iJt period of 3 ycl\rs and la renewable every 3 ycara for
              o. foe of' 2 pound• 6 shiilinge. ".                        . ·
                 The cortlllcnto ml,lllt also apeci(y .tho nat\a.ro rmd number or the Orllarlil to whicli'
              i~ relates, and tlie_quautity o[ ilrumuuition authoriroct' to be purcbaeed and to be
              held nt ·any Ol)C' time thereunder.                              ·
                            ~ QlJALtrlCATlONS TO CARBY ~MS A-'iO ORTAL'I C!ltl'l'Ql'ICATJ!l
                 (1 l A ccrUlieatc alulll not be granted to n person                            of Intemperate habits or
              un~nnd·roind, or who is fot any other reason unfit to bo fntrusted with flreamis,
               •(2) · A single> certificate lrtay be issued to n· rifle ~lnb or ca.dot corps, lf approved
           by a &cretarv of Stat<., for firearms to be ur;cd aolely for targot practice or drill, •
                                                                                                                                           ..'
           and no Cea is chni:ge<I.            •                        -                   . '
                (3) ·Certain gr911pa or officers and lndivlduala need not obtain a certl.Ocatc!
           J.n"· cn(oJ'OO!l\ent ollicers in the pt>rforroa".c'D of duty; g\lnsmitbe or Breann delllers;
           firearm and <ammunition testers; warehousemen, post.office officlate on · duty; .
        , persona accomJlanJed l)y a ecn:ti.ll.~tt> holder; butchl!Zll or otl)<:rl' who use ftrel\IDllJ
           only to kill 11nimalB; and rifle ranges which use rifi\!8 not .over 23 caliber. ·            ,
                (4) Persons under 14 yelll'lj of age ~hall not pur,chase, pOO!!eB8, use or carry
           ft rearms or ammunition.                 .             · •               -     . .
                (5) A person who h118 been sentenced for a term or 3 months or more for any
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           c~ime 'llhnll not, dining a period or 5 years froii! the dale of hia relcisse, b~ in
         · his possc11sion, .use or carry a fi're~m or Mnmumtion.
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               Pnwnbrokcrs.11hall not' take in pawn n firearm or 11mmunition, although whore
           \hey ha "e done eo before the act, -redemption thereof may be mnclc if the redeetne-r
           holds a firearm 'Certificate or is a registered dcaJer, and in imch case_& sale a!So
         • ID.llV be mad.ii to authorized pcrsoll.'I.                   .
               fJcnlcr. o.rc M rcgistf!t with · the chief or pol.fee o~ l11c district in wl1icJ1 their
           l1m;lnCt>S is. '                       •    • .         ..
               Mauurnctnre,,sllla, roprill-1 'iest, proof, exposure for sale, or possession for 61lle1
           repair, etc., is foi:bidden without registration.          .        •                ·        · •
              'No salo shall be made to of.her than 11 r,c gistcred ilc11Jeninlll68 the purcbnscr
"          1>roduces a ccrtificntc nuthol'~iug liim to 11urchase litCll.l'lWi or ammunition, nor
           shall n person repair, test or pllove liTCnrms or nmmunilfon fOr ot!>cr thnn dealel'B
           or oorlifiMte holder&. All vendors nmst., wit11in 48 hours, llft.cr a snlc, not,lry the
           chief or polio0o wl10 ~ucd the certlfieate, or the so.le, must kc<iµ n record of all
           trans:>.ct!nns within 24- ho\1'1'6 niter the, lo.kc ·pl4ce, ond must tlc.mnnd m1fficiC?1t~
           f)nrtieuinrs to i<lcntiry the purohn.<:cr. ·Such dcnlcrs nmsb allo\\: nn inspection by
           thn rhi<'f nf pc.>llcc u11d other officer~, ur nll Ktock ou hn11tl.
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              . (1) FoT not hM-in~ n \·~rtlficntc, or 1111rchosing amn1u11ition i'n c~ccs.~ i111alltlti<'s
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                      (3) ·p · . ng a fi~ or amn11111ltion wlth intent to endnngel- or Injure nny.
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        J\t.1tJ, f'· ~~-ITi.:ures ror J !J~; Ht:tl . t\• 4:t- fJ!?U"rfl> tor llri."!J~ IW'!, p . 4.3 ... fi~~r"5t tt1r two~ l!•l:Jt t\~ .a f, ·· tlJ!Hrt~ c.>r
        1!£11-..                                                                                                                  r                    .                                                ,
            • <Heat Jlrllulo. Jlordf' Jcµn.rtUl\"llL. l°l:'illlih.al. sl.a ti~lje,c;, t :oi::.ltlnd nnd \'"i,.""f(!>, 1\1\r,, I·~ r.- lir;ort,. ro.r
        1'J.'\)--:!; , tnl·.: iu;w. J'· l t>-O~ uri'S tor lV'..'8-30. l nc..: l!J:SI. fl. \ti-·R~'ures fur l'tJI. '
            : Ulib-. Oirt1l<Jne l!t'Or<'al<' dC'll'I s.1 en..'(.1Jt~ Arinuorl11 :rttUi2!lit't) 1111Unqf!, 1~~:!~. I' • ~-O~o.res ,,.,r
        l!l'.!O-:!-•, lnr.: JU'JO. p. ~-fi~Utr$ fjlf'. 1u~~~11'1.1nt·.                                                                                                             ~
            11 \\-,-lf ~• l Alntnmut 1\.1.14 Gl l~~e 4;11..               •
            : ~'\"\•• ru\itl\I in s.Uhs~qu t'tH )'r:1f\ KJ111ks.
            • l .;_~h-·~.t \l.fH\11!!1 1'\'ttHuJ1le ~h J.tticilf)' c;A\'C!. ti~ fl~t.it('~ ltifc:r thtui IU'.!X.
    I                                                   , Jr,· q t>/ Cai/rrl S/a(f~ (lm/ l':t•ropcan co.1111/rics
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                                                                                                                                                                                           Sqt1ort ..miff~
         t:nitcd Sta.I"" (eontiucntnl) ___ . • __ -- -- •. _. _~·- - - . -- -- --- ~ _. .. . . ___ ·3, 026, 189
         Fronce __ ____-_____ • ___ -··--· __ -· --- .• _. _•. - -· · --- - ---, •• -- - · ·-, 212, 000
         G"rn11111'·- ~ - - - ---- - ___ _ .. _. _ •. __ • · - - _. __ •. - - ---- __ . __ • _. _: •.• -- . . 180, 000
         Great Hi:itni11, iucludiug l::nglnnd, lrish Fr~c State, Northern lrclnnd, ·
            ~cot laud, amt Wt1lcrs •••••• - ·- - •• --~-. ·-· •••••••••• • ·--. -- - •• _ : 124, 284
         Italy _-__ •• - ------- - · -- : - ~ - - - - - - - - - -- - - __,_.__ ----- - - - - -- - - - - - - ~ -                                                                                119, 7..t4
                                                l'opulalio11 of Umtr!.l Stalt8 (11111 F.uroptCl,n c;iu11lries
                                                               ......... IFi~rr.s tak'en f'l'm \\"~rhl Ahn-ena,c, U~34 )

         t ' 11 itcd Stnt c:1 (conti ucnt) (ccu•us 1930)--- - -- -- - - -- - --· -- -- ---- .122, 775, 046
         F rnurc (Census 1931)-- -.---- - --- --·----·--:-- ----···-·-- - ····- 4 :,S.'J4, 923
         Grr1»n.11~- (Census 19.'!3) • • : ••. -~ -· - . . -- . _• . __ •• ___ __ _· - ....... 65, SOO, 000 •.
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         <: rent I!ritnh1, including Euglnnd, l~Ish Free Stntc, Northern Ire- .
              1:11111, ;:;rotl:111d,ilnd W'11Jcs !Ccna11~ l93l)--·-··:---·---··-·--- 49, 000, oo0- -·
         1!a1,r fC,·u~a" 1931>--- ---------- ----------- ... ---- --- - - - --- - ..Jt , ·1 76, 671            ·•




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                                                                                                JA137                                                                       Exhibit A, Pg. 753
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                               •               '           .
                              NATIONA.1. FIREARMS ACT
                                                                     •             •

                               WBl>NBSDAY, APRIL 18, 19S~·
                                       .                       .
.•
' '                                           HousE OP RE:P~l:sENTATIVEB,
                                             CO&WJTTEE         -ON"w
                                                                            ·
                                                             A').'8 AND ME~B .
                                                               ~ +       •   • •       '



            The conun.ittee met.at. 10 a.m., Hon. Rol)ert- L. Doughton (chair-
          man} presiding:        · · ·                   -       .     .
··          The CliAilU.lAN. The' conunittee Will be in order. ·              _._
 ., ,,. ·' \Ve.shall '.continue ·this morning. the hearings on H.R.'9066. We :,..,
          have \\ith us this morning the adjutant general of the State of Mary-       ·
          land, whom vt.e shall be glad ·to hear at this time.1•          •       ' '
            General, ·will you please come !ol'Wa.rd and for the purposes of the
          record give your ~name, address, and the capacity in which~ you
          appear?-           '                 ·
        STATEMENT OF. ADJT. GEN. MILTON A. REOKORD, ADJUTANT
          GENERAL. OF THE STATE OF. MARYLAND, EXEOUTIV.E VICE ·
          PRESIDENT OF' THE NATIONAL RIFLE ASSOCIATION OF 'AMER. · ·
          IOA, WASWNGTON, D.O.                        ·
                Geneni.l R.Ec&oao. Mr.. Chaim1an and gentle~en: My nan1e is
,           Gen. Milton A. Reckord. I am the adiutant general o[ Maryland
' · . and the executive ·officer of the National Rifle Association of America.
                :VIr. D1c.&1NSON. ·Will you please give us your address?                 .
      ·:        General RECKORD. I lia.ve an address at the capitol in Annapolis,
            as · the adjutant. genera! of ·Maryland, and in the Barr. :Buildingj
          . Washington, D.Q., as tile execul.1v<i· vice president ,of tbe Nations
            Rifie ASsociation of America.                               ·              .
                We have asked to be beard ·on R.R. 9066 because of tJ1e fact that
            !or many years our association bas been interllSted, in·legislation of
            this type. .                      ··        _                        ·
             . ,The CHAIRMAN. What is your- position with the National ·R.ifle "
      . _. Association?        ·     .     •          .         .         .            . , · "
   ··            General RECKORD. 1 am tne executiy.e officer the exeeutive· \•ice •
 · : ·.. president, the active·head of the National Rifle Association.                   ·
         . MJ'. Ta»ADWAY. May I ask, Mr. Adjuta.nfGeneral, whether you
            are ·appearing iu!· an. official of .that association. ~r as adjutallt ~eneral --
   • " of yo1,1t State? You seem to hold two poB1t1ons. How are . you.
            appeari'ng here, in what capacity?          · .                 ·.      ··        ·
" ,              General REcttoao. I am appearing in bot}l capacities.                 .· · .
                 l\{r.' TREAl>WAY••That is what I wanted ~. !mow. Thank vou. ' ·
                 General RECXORD. Becausil I ant the· chturman of.. the leg}slo.tive·
         , committee of the Adjutants General Association of the United States,; '"'
          .. The·CsAmMA.N. In that connection, &.re'Y.!>il appearing in oppositiOn '
            to or in .favor of the bill? ·                                                 - · '
                ~                                                                                  u
                                            JA138
                                   •                                                       Exhibit A, Pg. 754
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                                                                                                      ·.
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                                                                                                  '
                ·     Gener~ RJ:cKono. We ore in opposition to many or the provisions
      7
                 or this bill.                    '
                   · Mr., ~r~L. -Y!lu arc repr~s~n~ing ~he St~te or Maryland ns well ns
                 , the .Nntional R1fle.A!isocmt1on m tlus hearmg?           ·
                      General REcitono, I cannot say that 1 am representing •the S~ate
               · ot 1\ilarylond, because I have not been directed by the Governor to
                · eome here to present the views of the State. I run representing the
                   Association of Adjuto.nts General ot nll of tbe Stntes, n.s· I nm the
                   chnirmnn of the lcgisliwvc cpJ?Unittee.,of that body.
                      Mr. HtLL. Have you been directed by thnt ~rgJ(niza tion to llppcor ,
                   b ere-.? · ,                                        .        . ·
                                                                                           .
                                                                                          ..
                                                                                              ' '
                                                                                               .-:-.
                      General REcKono. ,Yes, sir.               .           .           :· . ~ !
                      The CH'AIRM.AN. You say yo,1 nppenr m the cnpoc1ty of n,diut.eJi~ ··
                   general of the State of 'M1rrylund?
                      Oenero.l RECKOJtD. I nm the adjutant general of the Stnte of Mory-
                . lo.nd o.nd chairman of the Li.lgislo.tion Commiftee of the Adjutnnts ·
                   Generul Association.                                           ·            ··
                • The·CoAIRMAN. I do not see the necc5sity of bringing thnt out
                    Wlless you nppenr here in that capacity. Exactly in what cnp11city <
                · do ;ou appear? Will you please state t11at ago.in f<?r th~ Tecord~         .
                      General REcxono. I appear hero !is the executive VIce presidrnt,
 .-                or the active head1 of the N11tional Rifle Association of 1\mericn .
                      The C~Al:RMAN. Then l u.nderstand thot you repre.">cnt n private
                   organization.
                      General REcxono. · That is true.                   .
                      The CuAlilMA.N. And you do not npp_cll1' here in ·any officinl govern-
                   mental capacity?                                                -.
                      General REcxonn. No, sir; 1 BIU' not here in noy officinl Gon•rn-
                    ment onpucity. '                   • .•           ·
                      ?\fr. WlilooRUFP. l 11.n derstood you to sav, Gencrn.1, tb11t you nre
                    nppe1\ring: hoth ns 11 representntive' of the Nntionnl Rifle Assorintion
                   and the Nationnl .A!lsociation of Aditimnts General. ·             ·
                      -0<'nernl._RI:cxo1m. Yes, sir.        ··
                      1'.fr. 'Voon.J\UFF. May I suggest that you confirm what I mn nbo.ut.
..i
      •'
          .. - tl1e executive officer of the •Militia or the N ntionol Guard or thnt
                    to sn.v, if you will, and thni is thnt the adjutant general oi n Stn~e is
                                                                                                       • l

''
                 State.                                      .                 .
                     General R£CKOnD. Yes, 'lir; that is correcL.                      ·"
                     }.fr. WooDBUFF. So you n.re here as a representotive of the Nntionnl
I                 Guard of nll the States?            .
I                    Geriera.l REeKono. 'l'hat is correct. I nm clfnirman of the legis-
1                ·Iative committee of the adjutants general of all the States. 1
I
I
                     1fr. Woot>RUFF. And you are aJfpearing in a duo} cnpncity, rt1pre-
                  Sl!nt}!lg that organization o.nd also representing the- National Rifle ·
                  Association. is thnt"correct?                      .       ·     ·
                     General RECKORl> . . That is correct                    ··            •
...                   ~fr. FnEAR. Did they tnke notion recently" authorizing you to
                  Appear in opposition to the bill?                .
                      General RECKORD. Oiily in ah informal manner.
              ---~ Mr·. FnEAR. In wbo.t mannc_r? ·                 ~ .           :     •
            /   . General REcxonD. · The president of toe assoc1at10°' told me that-·
                  tltnt is Genarnl lnunell~                             ·*         ~
                      ~fr. ·F iu:.ui. That is. Gene.rnl Immel!?       •
                                                  JA139                   •      Exhibit A, Pg. 755
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        · Gen~a1 Rics.onD. That is General Jmincll, or Wisconsin, yes, sir. -
            The ~HAIRM.Ax. But .the orghni2&tion }10s not mot nnd considered ·
          this -bill? -                     ·         ·             .'     ' · \
             General ~ECKORD. No, sir.      -             . ·. ·       --      "
       ' · The CtlAJJlMAN, Then this is your individun1 opposition rntiher th1m '
            the opposition or your orgnnizniion?
         . General REoK'.onn» Ne, sir.                                ·
          "' Mr. Woon~UFF. General, I \v,o.nt to get this pt'rfeoUy_ clear. I
                                                                                .
                                                                                               -
           tmderstood you to say n inoment ngo that .you l1nd been directed by
        ,, the cliicf of your :orgnnization of 11dtutnnts general to nppeot here ns"
           the representative of thnt orgimiznt1on?            -.
                General RECK.ORD. That is correct.
               Mr. WoODRUFJ'. To present tl1e views' or tbnt. OTgllllizntion llS
           perhaps indicated to you· by the president of tbe org1111iznlion? •
               General R £cKORD. Yes, sir; tho.tis correct.
           · l\ilr. WooDRUFF. Then you are not speaking in your individual ·
           ca'pacity;· that is, iI ,you. are 'in opposition to any provision of this -
           bill, it is not necessarily yb1ll' individual ·oppoSition, but 'it is the - ,
           opposition, as yo'!! un dei:stnnd it, of thos~ orgo.nizntions which .you .
           represent here?                                            .       ·          <1Jf'- ' ·
               Glneral RECKORD. That.is perfectly correct; yes1'!lir.                  '·
               1\Ir. FREAR. Genernl .lmroell is from my Sto.te' and district I wns . ·
           just.wondering wbetber lie nu~horized you to o.ppenr for thnt orgnni-
           znt!cn, by letter or otherwise. -             ·              "             - .
              'General R ECK:ORD. Not by letter. But he wo.s in.town-liist week-·_ ..
           nnd he told me then ·to appear . I ho.ve been the lcgi.slntive riprc-
           sentntive for a number of Yearn. It wns absQhrtely a verbnl com·
           mitment.                                                     ·   .•
               ~-1r, Fnun.. Let me ask you just "one question, if I may. Would
           you prefer to have tbis bill rejected as.it is now rather than passed?
             · General REcKORl>. Yes, sir; very much prefer to 'have it rejected. _. -
         " Mr. FnEAR. I wanted to get,. your position thht wns all.                   -
               :Nfr. TRE ADW.'.\Y. l do not want to mterrupl,your line of testimony, '
           but in further answer: to the question as to whether you· h n,d been '
           asked officiidly to be h ere, or whether eitber one of your organizations .
           had· to.k~n 11.ction on this bill, you rightly replied, no. l s not -0n·e ·
            reoson for that tha foct that this bill wn.S'inttoduc<'d enly April 11,
            which 'would · not have given you time to communicate with. the -
           officio.ls?                      ·       .. •   .                                . ··
               General· REC.KO.RD. That is the exact rea!1on-, because the Adjutants
           General met in convention ·h ere ltist week--
          . Mr. TREADWAY. And lmewnothilig aboutt1Ue? ·                             .
   •           General .REcxonn. A.nd lmew n othing about this bill•. ·Had they
           kJiowntabo~t it I c~ll;ld e~y have gotten n reso_      lution directing me to ~
           come here m opposition to 1t.                     ·     '              .·          .
               Mr. T.BEADWAY. I think that explains it.                                      •
              T .he CHAIRMAN. How do you know that, if they have not met?
               General RECXORD.· l •beg your pardon?                                       . .
               The Ou.. mib!'i. How do you.know that, if they have not expJ;l!sseli ,
           an opinion?                                          'r.
              Gene raJ R!1loKoR1'. Well, Mr. Chairman, I know.it because I know
           those men, have known them for yeo.rS. We all think more or less •
       ' alike on the subject of fueo.rms. There are- 80 many provisions in

                                              JA140
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                                                                          Exhibit A, Pg. 756
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          this bill that lll'O not good in my humble· judgment, that I am con-
          fident-ma¥be that would be n. bettor expre.ssiotr-1 am confident
           that hnd this bill been before the convention lost Monday or Tuesday,
 •        I could have hnd such o. commitment..
             l\tlr. REED. Theso provisions to which you are opposed, have they
          ·appeared in other forms in other legislat.ioo i:!troduced heretofore,, in
           Pl!!cemenl Cnshfon?       .                                    .
 ,-           General REOKORD. }.luny of. them hllve not appeared, to my
           knowledge, until probably 2 or 3 weeks ago when an urinumbC"red
           bill wn.s heard in the Senate. That bill wos heard before tl1e Sennte·
         · Judiciary Committee.       ·                     ·       •           •
              Mr. REED. Containing provisions that ore in this bill nnd to which
          you obiect?           .                      ·       _              \
              Generul REcKono. Yes, eir; that wns the lin:L time we hnd e\·er
         . seen those provisions.
              .!Vlr. REED. Hns your orgao.iintion in the past consid,cred any of the
           feuturcs of this bi.11; or fcnt11res tbut nre contn.ined in provisions of this
           bill?                                           .      .          'I
             General Ri:cl\ono. You mean--                               .
                1'.fr. R _EED. That now .npp~~-in this bill; have yon diseussed}lfose
           matters m your conventions
              . General RECKORD. Not tbeso pnrticulnr . features· in. convention,
            because these features just npp'elU<'d within tho last, I should sny 2
            or 3 weeks or n. month.                           •
                Mr. REED. I did not Jaiow but ttll\t perho.pssome of these pioYisions
            thnt o.ppeo.r bore now ho.vo been discusiied pro and con in years gone by.
                General R Ecxonu. 1vf1111y of these rco.tures o.rlnew end bo.ve not..
          · been presented befor&.             ·                                ·
                M11oy I take thls opportunity, Mr. Chnirmon, t say thnt the 11sso-
            cin.tion I repres.ent is o.bsolut~ly fnyorable to reoso~able legisln~ion.
            We ure responsible for the uniform firearms ·a.ct being enacted mto
            lo.w by ygu gentleman in the District of COiumbia. It is on the b:>oks
            now. We are not obstructionists in D.ll.)' way. We wa.11t to belp,you.
            We otThred to help; we carried that offer to the office of tho Attorney ' ·
            Gener'nl of tho United States. 'Ve thought we were going to be called
            into conference to work with him. lnstend of thnt, we stumbled upon
            an unknown bill in tho Senato 0£ the United Stc.tes. We just bn;e
            not been hen.rd. That is the reason we are osk4tg on opportu.njty
            to be heard now.
                The CH.AlRM.AN. In that connection, you sny you nro !1wornhle to
            reasonable 1egislotion at this time.
           : .General REOK'ORD. Yes, sir.                        ~
                The 0HAJ1U.lAN. Therefore you must recognize its importance or
            necesility. Having recognized tl111t, whut steps 11nve you taken your-
            self to bring suah legislnt.ion aa th~t to the attention of Con.,aress, if
            any?
     -       . General RECltORD. We conferred with Mr. Keenan, of ihe Attorney
            General'11 office, o.nd we left him believing that we were going to be
            invited to sit in witl1 the Attorney Geneial, und to work with them
            in shaping somu legislation to bring before Congress. We were sur- .
            pris&P, thllTilfore, when we learned legislation had been presented
            without a.ny referonce to us whatever.
                The CnAmMAN. Your orgonizntion hne presented none? .
                                            JA141                            Exhibit A, Pg. 757
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                              I


     •             Gweral RECEO~D. The only Je~slation we h.ave. presented to.the.
  ;. '        Congr_ess is whnt Is- kn'own o.s the uniform fireal'ros 11ct, which ,wlis> •
 .;,          ~assed, and which is now tho law of the District uf Columbia.                    .
    ~ t.i..       Tltc CrrAmMAN. That docs not have any affect outside of. the
    ~ 1 • District of Columbia?                       ·                    .
 . 't1             Gcner8:1·REcKoRo. No, s~; tltnt does not. I m!n:oly,mention, that
              tot.how you and ·y(\ur uommlttee that we n.r e not here to obstruct tlle
              enactment of ·proper l~islntion. We wnnt. to h~p. We o.re against
              the crook and the"·rnoketoor the same as nnyoae else. '
                   The CJJAtRM..W. Who do you think would be in the best position '
             to deal with legislation on tlris subject? Wbat cngnnization, what
                                                                  l.
              official boi:fy do yo1J tlWik iG in best position to udg& who.t lel!islation .
              is necessary to deal wit.b tl1e !IUbjectmntter ~t ortb in. this blil? Do
              you think there is nny o~nfaation m the United States :n.o. better
              position to determine thtl.~ mo.tter thnn tho Dopar~ent of Justice?
            . I nsk that in order thni wo may understruid ench ot11erlit> start with .
                 . G~neral RECKOR~ Mr. Chuirmo.n, ~ mo.y bo prejudiced, but if this
              bill J.S o.n example, then 1 do no\ think t11oy have approached tho •
              subject properJY.                                       ·
                   Mr. TREADWAY. General Reckord, you said th• you bad been in
     • cOJ1sulttttion or contact with o.represent.a,pv~ of thelAttomey Ge11.ernl's
  •           office?            ·
                   General RscKoBD. Yes, sir.
                   ~Ir. TnEADW,>.Y. -And in "°hot ' ''llY wore you led to ,believe til1nt
              y'our organization would he ·eolll!ulted before legislntion wcxe pro·
              posed?                      ·.         - ·                                     ·
                   Generu.1 UEcKonn. 1'1r. 1'rentlwny, we at 0111· • · ·unl meeting held
              iJl \Ynsl1ington cnrly in Fobruury iln-ited the At1<.i oitjy Genernl to bu
               present witli us to t1\lk 'upon the subject o{ liNMll'll1S lcgislntion, so
               Ull\t. bo would meet us1 know who we were :i.nd wl1om we rcprcscnt.cd.
                   ~tr. Tu:&AD>l'AT. You volunteered thnt in,·itntion ; tbnt is, you were
              liol. osk~d to call in tho Attorney General's deportment?
                   Generill RECK6nn. No ~ir ; we did thnt. •                        ·
                   ~Ir. TnEADWA)'. You 1\id thnt of your O\Vll free will? ·
                   Genero.l R.EcKORD. :Ycs, sir. l'v!r, · C11mll.1ings wrote nnd snid bo
              w11s sorry but, bt>c.nuso o{ ~ngogcments, llc co11ld not attend, but
              would try to nrrnngo to ho.vc l'lifr. Kecnnn nttond. ~1r. Kcenuh did
              attond1 made nn nfter-diuoer tnlk to our body. We,enjoyccl hnving
              him with ·us and we· 11rJ111nged tho.t evening for Mr. 'Kn.rl Frederick,
              of New York,- who i:s hero today and is the prcsidl!nt of our nac;ooia-
               tion-
                   Mr. T11EADWAY. Whi.cb ll&Sociation? -
                   Oene.ro.I R E<:K<>RD. The Nntional Rifle Associ11tion oft.Ainerica.
                   ?v!r. Tiu::.&DWAY. I would like to get these llJ'..S.o ciations septlJ'o.ted •
               distinctly.
                   Gonero.l RECKORI>. .Ancl myself, to meet with Mr. Keennn the
          • to!Jowin~ afternoon.
                   Mr. 1BEADWAY. This wns in February?                       ·                ·
                   G~neral RECJ{ORD, YC$, sir. We spent nbout, I would sny, nt ·
I•             lt~si 3 hours· Saturdo,y: o.ftornoon with Mr. Keenan in bis office
               discussing this probleril(.buanuse it is a problem. It. is a hard problem•
               We realiie that- We ctisc\lssed it with Mr. Keennn f-01' 3 hours, nnd
             '"ru;
              It         o.t that time thn.t Mr. S:~noJl mode the remark tltnt h~ would
                                            JA142                       Exhibit A, Pg. 758
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      p~fer io ~ slowly und geL J>roi>or legisfatfon ratltar thnn t-0 mo'\'6
     ralW!ly o.n.d get som~thi:ng ~hnt. wns not just right..      •      .-
          He gnve us every mdrnot1on thu.t he w01t1d r,0nfor w1th us and thut
      we would bG nllowod to mnke sugg~stions and present tlle thought
      of our nssocintion: We were never given any fort.her 1, pportunitv.
          Mr. TREADWAY. This bill was introduced by Mr. Sumners, Clinir-
      me.n of the Committee on tho Judiciary, marked "by l'Oque~t."
          Generru REcKon». Yes, sG-.
        ' Mr. TnE&DWAY. Do you know whether thnt, request WllS Mr.
      Keeno.n'st Did M.r. Keenan p~o.re thiS bill, so far .os you know, or
      are y0u oot awnreo[ tbnt.?                                          -
          Oenern.1 R11o&onn. If I ma.y say so, muy best knowlooge is lo the
      cffept thitt it wns prepared in the Attorney General's office; yes, sir.
          Mr. TirnAl>WAY. And if prepared in the Attorney 00ilernl's office
  . · you feel confident that .Mr. Keenan knew something l\bout, it?
 ·        Genaro.I Ritcttono. Well, Mr. Treadway,- J kno\v tl111t it was pre·
      pored there and I know that Mr. Keen.nu.knew oll about it.              ·
          Tbo CflAlRlltAN. W.ill yon no"! proceed to tnl.•o up your objections
      ono by one nnd explam them, vnth nny suggestio1111 that you .have to
      offer?             -                                                ·
 ·, Oenero.l REc.&.ORI>. Mi:. Douglt~n, if I mAy, l w9uld lik~topr-es~nt
      Mr. Karl ~en.ck, who 1s. the Pt·cs1dent of the N at1onal Rifle Associa-
      tion of Amerioo.. He is the vice president of t.lll! (Jnilild States Revol-
      ver Assooiution. H e is a momb61"of the Campfil'e Club. n.e is nlso Jt
      member of the New York FishJ. Grune, and Forest L.eni:ne and is. vice
 ' Pl'!l!!ideot of the New York vonservntion Council, Inc.; a former
      membe1· of the Commission on Fire Arms I,.egislo.tion off.lie National
      Crime Commission.                                                     .                 r
          The C!l:Lm:.!&.~. ~1.r. Frederick, will you pleaso com& fol'wnrd nnd
      give your n11me und addre!;S to the report.er, for tbe record?
                                  •
      ST4TEJlENT OP KA.BL T. DEDERICK, PRESIDENT NATIONAL
          BM.E ASSOCIATION OF AllWCA, 128 BROADWAY, N.EW YOBK
         ar.tY •
                                                                                              l
      · Mr. F'nEDETUCK. My name is K11rl T. F redP1-ick, 128 Broadwny,                      • I
       New York.       ·                                    ·
        l. think ~he Genero.1 hes sullfoiently indic4tE1d, unless some 0£ you
      wish me to elaborate upon it, tnY representation and background. -
        I have _b een l?ving tliis subj~ct of firelll'IJIJI regt1l11tiQ:1 intense st1td.y
       end oous1deration over 11 P-enod of l5 years, iu1d the suggest10ns
      --resulting fiam that study or mine and t he people with whom I have
     ·been 88S()cieted, ·such ns the Nntionel Oonlerence of Commissioners
      on Unifonn Laws, have resulted in tbe adoption in mADY States of
      regulato.r y provisions .suggest.ed by us.
        As-General Reckord initicnted, the national net for the District of
-:- .-Columbia is the uniform firearms act which wns first drnfted by me
· about 14 years ago; an'<l which .wll.S, in thnt early timo, brought to
    · the attent1on of the National Conference of Commissioners of Uni~
      form LJ\wa, wlio apyointed B sull4.1?mmittee under 1<he chairmanship
      o1 Mr. Imlay, who LS hero, and whicl.\'-gave abo11t, 7 .rears of study to
      the ruattel'; which produced t.l1e mostr~xtensive ariil thorougbgoiJJg
      invntigation of the subject of firearms. control thllt has ever been
      mode by atiybody iD this country; and resulted, nftcrExhibit
                                           JA143
                                                                     successive
                                                                           A, Pg. 759

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              revisions, in tl10 'final form of the uniform net whicJ1. hns heen 1 ~s I
              sny ndopted hy tho Congress for the District of"Ct:ilumbia.
              lt       is tlm ln.w in Pennsyh·1mi1t: - It h11s been the law in ColiCornfo
              !011 many    . _years. Portions, o! it nre to bo found in !New Yori< , New
              Jersey, Indinna, New Hampshire, and many other States.
       •           This subject is a subject to whioli 11. lilrge amount or on.reful n.ncl         •
         · · intensive thought has been given . • I mu.st, however, apologize to your ·
              oommit,tee if,.as I nnt.ioipate1 the remarks which I have to make with'
              respect to' this particular bill' appear t.o be somewhiit disconnected
               an~ not presented with the logical form with w~cl~ I w~uld other~ise
               desire to present them. The reason for tho.t is that smce I nmved
              this mo.rrimg on the nighj, train I have· for the first time soen the .bill.
              I . !111-ve l1nd earlier bills. whiob~~t. ~resented in the Senate and
            , l 'ho.ve had some typewrittetl 'notes~mi re!!pect tO some prospootive
              ~ontents of o. bjll ~vhich wo.s slip-posed or expected shortly to nppeRr
             ~m tl1e House..        • .           . .                   _                  .
                   ~fy consideration hns, therefore, be"en: almost wholly based upon
               thtlt · ea:rlier o.nd s9mewho.t scrappy information which ·l1ns come to
               me; beca.use, ns I so.y, this printed bill I have seen for the first time
               this tnorning.                                                       .         -
                  ,As. Genera~.. R~ckru·d snld, we 1·~.J)l'et tho.t wc n.I'tl forced to nppeur
               w1t.hout lw.vrng had an opportunity to · completely formulate our •
               dews. 'Ve hnd exvected tlrnt we would bci ns he snid, inform~d its
               to, the J>roposnls emnnutin~ c_oncretely from the Attorne;y Oene1·of's
              o.fltce. Bt1t, apnrt from tne confere11ce which 1- had with Gem•rnl
               Rt>ckoi:d and wit.It l\lfr. Keenan nbout 2)f months 111501 an~ npnrt 'from
 r             tt courteous letter .of o,ckno\vledgement of cortllin mformo.tJon which
              l sent t(l him nhcii1t 6 wcf~ks ngo, I luwe lu1d no informntion whntev!'.r
               with respect to t11eir proposn.ls ftom the Attol"ney General's oflke.
                   I will come 1mmedint.cly to certain concrotc urltfoisms whirh I                 •
               think should propel'ly be nmde of this bill, o.nd in tho co1u•se of my
               rem11rks I sbnll be glnd to rt ttempt to answer any que!;t,ions nnv ()f
               you desire to nddress to me, tlnd I may from to time brnnch ol1t n.
               litUe:. bit into oonsidm·ation o[ the more general Ic1t,t ures of such legis-
               lntion which 11nderlie tho entire subject. ·           .        '
                   The first criticism that I have to make is on page 1, lines 8 to 10.
               The definition of the term '' mnchine gun" I think is wholly innclo-
               quate and unsatisfactory. A gun which fires riutomntic~y or serui-
               automnticnlly less tbnn l2 shots is not under this definition tt u1achi.ne
  ..           gun. And yet,. in my opinion, itjs in fttct o. machine gun and should.
               be so classified.
                   The well-known Thompson submachine ~tlil which has figure'd in
               the papers extensiv~ ; the so-called ''B.rownmg" automatic rifle or t,he'
               Monitor rifle, which 1s a soruewbe.t similar \vee.pon designed for police
                use, arc both in fact capable of being operat~d automaticallY, and·sem!;
                automatically. The number of shots which they mo.y discharge 1s
               dependent solely on the size or the content of t he magazine and if
               you use those guns with magazines holding only' 11 shots they wo11hl
                not he, within the terms of this bill; a machine gun•
                  • Mr. Wo01mUFF. Will -you yielcl for a question the.re?
                    Mr. .iltED'ERtcit. Certi,inly.    ·                               •
                    Mr. Woc>DRUFF. }.s a: matter of £net, the only tlti·o g t,hat controls
                or limlts the number of shots that an automati<; rifle or shotgun con
                fire ie tile magazine itseU, is it not?                          -·
                                                   JA144                          Exhibit A, Pg. 760

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             Mr. Fn.EDElllCK. I think thnt is corcrect.
             ~fr. W.oonlu.Tl'l''.~ That· is the only way in which you cnn limit tho
        number of shots Mint can be fired. An<l it is 1~ very simple mnttor,
        is it aot, to challge J,he mngnzine or the ~liP. or whatc,vet Lhoy lliro to
        hold theso. cnrtndges, l.o meet nny restr1ctions1 particularly (l'1:1trlc-
        tions suc.h ns nre proposed in the pnrngrnph at tbe bottom of the first
        pnge of this bill?                                   -
             Mr. FREDFJUIOK. In gmic1·o.1 1 thnt is tl'ue. I propose, howc""r 1 ti>•
        du~gest n definition     or     mnchinc gun which l thinl;: obviotcs your
        oh111ction.
             l\1r. \VoonnUFF. l will soy tbt\t my position is exnctly tht1 snmc us               ' '
        the gentleman's in regard to this parag~·nph. I 111n in perfoct lmr•
        mon~· with yl>u on this.                  ......,_,        ·                ..
             Mr. F1n:oE111ctt.· And whit•h l vontur.- to s1tgg<1st will lny hcfort•
        yo11 n more concrete definitio11 of whnt is n mnchino gun.
             ]\fr. J~1n:A11.. \Viti you plen~e give it.'? Thnli is wlmt w1• nrr tr,ving
         to get.
          . !vir. GoOl'Klt. !\1r. Ch11irm1m, mu.y I n:;k 11 question bt'fm'(I t110
        witness pt•occeds to do thnt'!                            .
            ·The CtiAm11111.N. 1-.lfr. Coo11c.r.
             !vlr. Coortm. 'J\ho 'ir1111s to which you have reforrcd, how lllllllV or   0

        those are rt(lw mnnufoctureil with tho typo of mngnzinc 11wntinnt•(! hy
        you, firing loss thun I 2 F;bots?                                       -.
             ~Ir. FJu!oEinrcx. I cannot n1111wer your •111llstion, T do not. lmow.
        But l sny t.l1nt it would be ti p1;rfoctly simplo thing for srnnllet· 11m;::11-
        zine>l to ho prep:1recl.
             Afr. Coo1'1m. 1 understnnd ) '<Hf i>ny t hnt it is possible fol' s uch t.yrc         ~
       ,<>f w11npon to bo CC)nstrncwc\, hut I 1im nsking y1111 wlint t.l111.sit.11ntioi1
        is now wit.It reforl'nce to tlm nrnmtfncturc nnrl snle .-:r tho typo of
       Wf!l\)lOll to whicl1 yo11 refer.
          ~ll'. F111mE1ttCK . T cnnnot. nnswcr        thnt, be-0nust' I do 0111 l"111w,
       The definition which I SHf!gf.st is f,his: •                    ·
         A mM:hinc ~Im or ~11hm11ohl11Q !(Un 8J! use1l in this ucl. menus n11.'' fi11:nrn1 hy
       whnte"cr 11nmc ·ln10\\'11, lun<ltld M 111111111<1ofl , whlch Ahoots nutomnticnlly niorc
   ,   thnn m:c shot witl111ut ma.mm! rcloJUling, by n sin~lu funotlon of th~ trlggcr.
             The distinguishing feature of Ii mnchino gun is thnt hy 11 sli1~le pull
        -Qf the trigger tbc g1m continues t.o fire n!'l;long ns thcro is nns nmmnni-
         tlon !11 the bolt or in the mognzinc. Other ~nns roq11im'n !mjrnrnta
         pnl! of the trigger for. every shot fired, ond sur.n guns n~c no.t proJll'rly
         aest~nrite.d ns m11chmc guns. A gunl however, which JS cnptthlc
         ot firing moro thnn one shot by n. single pull of th<> trigger, n sinc;lo
         function of the trigger, is {>roporly regarded, in my opiniuu, ns n
         machine g11n. ·
            -~fT. HtLL. Mny I.ask you n quest.ion tbr.re?
             Mr. FnEt>EltlCK. Yes, sir.               .·
             Mr. BILL. Suppose yoU'r definition were ndopted. W:ould it ho
         prncticable to m1111ufncturc a gun that would be classed mther !1$ nn
         automatic or semi11utomaticn.Uy operated gun, (lven w.i tb more thnn
 ....._ one function of t.ho trigger, nnd still answer the purpose, in tL lnrge
L         wny1 of a machine gun which r equires only ono function of the trigger?·
             Mr, FnEDERICK. I do not think so. For purposes of exn.mplo,
          y,011 ml}y look e.t the e.utomo.tic pist1ol which is th~ stn!ldnrtl weapon
         of the United States Army. That hn..<! nn autom1,t1c dtschurge of the
        ·empty cartridgo and n re1oll(lingJA145principle which is opornt-OdExhibit
                                                                               by A,
                                                                                   thoPg. 761
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                                        ...
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                                                         1
       {or.~o or the gas from tlso 0..'(pioded Clll't'ridgo. But with no singlo pull
       of tl10. t~1r only ono l!hot is f1rt1d. YoU>rnu!tt rolon.so the tl'i~or nnd
       rmll it ugnm foICtho second R~tot to be 6.ro~. .You cn.n k~ep firing U!ut
         1\.'i fost ll!i you can pull VOllf il'lgger. nut tJiat IS OOt properly I\ mncfl'ino
         gull 11ncl lil point o( ell'pciivon.oos .1111y gun 80 opt1r11ted will be vory
         much loss effor,tive t.hnn one which pours out n strenm or bullets with
         1i single pull nnd ns 1\ pel'foct, strc1im.
               M '" •ll 1LL: In one sonso ~ou 11ro limiting tho seopt1 o r this definition
         nnd In nnother you nro orom.lenipg it. \YhN1 Y?ll s1iy tl~n.t nny
         wcu\)(ll\ or 11.ny Jllln thut will shoot more tlmn orl<'c 1s n • mnclun(I g\111,
         you nn• hroiufonmg tho <lofinition. But wh('.n y1111 su.,v ' 'one.-0pcl'11ti1111
         of th" 1.ri~g11r" you mwr 110 limiting. U1e d11ll01tion as it is in this hill,·
         ll.S l i>rl' It, been use tlus SO.YI'\ nothing nb.011 ~ wbnt opC\rntion or ~ho
         trij?l•Cr is n11oossary t.o constlt11 t.o tho mnchino 1t1111.
               ~l1•. ~'JI ED ERICK. H I 11ndt•r:;t1md your rtlmnrk Mr. Hill, r think
         thnt is quite truo. I nm including within the delinitfon, howo\·<'r,
         OYN·ything that I think. i~ I\ mnchine gun instcnd of including only
         tho;;c mnchinc guns .which flro 12. or !Uoro sh~t.s with_out rolondif11;.             ,.
           . :\It'. HILL., The·p?mt I flnl 111~\lTIJ,\' IS, wni 11tcl111fo JO your dcfi111-
         t1on the phruso, .. W'tth 000 function or tho tr1i;1.;01·"f
               '.\fr. FnEDERIOK. l3cc1111so thut is tho l!SSCllcn o( 11 mnchin11 guu.
         Otherwise you 11nvo tho ordin11ry repenting ri111-. You h11\·c tho
         Ol'tlinnt)' sho~un wh.irh is in TI O l'!'m:o und 00\'0t h ll!>. IJee.n thought O(
         M n mnchine P,nn.
               '.\fr. Fnr.Ait. You nr4" nttcmpliug lo ro1•t>r mol'(I th:\I\. i;; <'mhodiNl
  )      in this bill?- ,                                        .
               )fr. [<1rnoEmoK. l nm t1;yin~ t.o brini within this ovcrythin!! thnt.
  t      in my 1>pinion should 1111 inc.l11dcd under th11 ti•rm "machine gun."
               )1r. l"rrnAn. Thnt wouJJ_Im dcRifoble.
               ).1r. FttEDEniCK. I l!ho\1lcl not likl', if thnre is t-0 lie legislation with
         f(l~pl!rt to machino g1mR1 to have mM'hino f<!11l1R l'npnlile of ftri:Jlt: ,up
         t o 12 !!hots exempted from tho operations o I.his hill.
               Mr. CocmtAN. Mr. Frederick, under your propoS<'tl delinitioh, "'_
         woukl the Colt automatic pistol he a. m1whioe gun?
               '.\Ir. F.nEDERfCK. No, Rir. I do not think ll'i11t. in tl\(I eyl'R or nny
          hn1Iisti1· cnginco:r it would br. 110 regardrd. I do not think it should
         h!\ w rrgn,rded,                     •
                :\tr. CocunAN. DocR not tbc Colt nutoml\t,ie pistol ro11tii11u1 l.o.
         flho<>t. f\11 long n.s yo11 (1-:<~rt ptO.<>surc upon the trigger?
               :\rr. l•',1mDElHCK. No, sir. Tt re(J'1irl's rt sepnrnt<i pull of the trigg<w
         for t'\' <',l'V i;hot fired.
          . ).fr. 1\JLi,._ 1£ tho Colt nul<!matie p~stol. r.oulc l f)m 12 time~ 1 woultl
          1t"hr n maohme gun umfor this dC?.lin1tion m the bill?
               >Ir. FnEnE1ncK. U0t)l\1" Lhn ddin1ticm 111< print.eel in tho bill?
                :\lr. Hn.i:.. Yes.
               :\tr. FnEne:n101<. 1 do riot know· wlrnt tl1C' faht:nngo menns, "nu l<>-
          nll\ticnlly or scmi11utom11ticnlly." The lnng1111~e is not.i as I re11d it,
          nnil from .my limit<'d knowledge of .firenrms nncl bnl ~tics-which
         1111$ some scope, but, 1 do not pretend to be I\ flnisli<'d master in thut;
          I nm A lawyer, 1 nm not. 11 fire11rms monufnoturcr-1 do uot know
          whnt "nutomaticnll.y or scmi11.11iomaticnlly" mcnns. T11t>rc nre
          nutomotic fC'ntt1ros about tho Colt. pistol in tl1e sense tlmt. when a
                    is fired tbe ~ct.ion_ of tile gas not only oxpels tbc bullet from one -

                                              JA146                       Exhibit A, Pg. 762
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      end of tl1~ barrel, hilt jt expels fibo empty shell from the other end,
      and i• is llO devilind that upon the return of tho cnni&.ge throu~h n ·
      spring, i t puts another shell in place            or
                                                  tbo old one. That is in a I
      sense. automatic~.a~d t~o.~.Ptinclple is found in f!1o.chmc guns. But
      that 1s not t.he <Ustingwslun~ features of n maclune ~n.                  •
        Mr. FnEAn. The question m m y mind and I think m th.~ mnjori~y
      of the committee is what we Cl\D clo to aid in suppressing '1'iol at.ions
      by such men as Dillinger and others. Do yo11 think I.hat by your
      pro~sed 1U11endment you have aided in that. result?
         ~·fr. F IU!t>EJUCK. I bolieve i;o,                                           •
         !v1r. FluJAn. Thun whri~ is the purpose~ any Jong.or discussing-that'!
     . 'Yhv not go on to someth111g else?·            .
         J\l'r. Fn&DlllUCR. Il nooc ol yo1~ geutlo.mcn desires to discuss t.h nt
      pArticulnr feature--                                                       .
           Mr. Fur.AR." Youn.re a lawyer, vou ure nol a fll'enrms manufcwtnrer,
      ·as you have said. Lot. us n.ssume thnt we nccept yom',proposcd sng-
        gestion. ·I suggest. that wo pnss it and get to t110 other serious ques-
        tions thnt ere 11\V'Olvcd in tho hill.                          ·
    • • M;r. FnEDEmcK. Anotl1cr objection whi~h appears to me to he
     _ serious is that there ~pfll'OJ'S to be 110 distinction-'-! do no t know what
        figut'Cs it is intended to i.r!s1•1•t on pngo 3 in the rnnttel' ol taxes or
       Jicenses,·lmt.it would soon\ that It wns int~ded to insert n single figure.
            ~fr. HtLL. Wbnt·line?                                      .
            ~Ir. FnEDRlllCK. I run l:lflCllki ng oHine i;, p age 3. '      c·      ..
           1\fr. Jil1LL. lt hos been suggested that in t.] 1c first blnnk you tn!;crt 1
     ' $5,000 and in the SCt'ond blu.nk $200.• That. is <>nly n s11~gestio11 .           '
            l\1r,:JR"EDE1t1C)t. 'l'Jumi is, ni; J see. it, no proVision·mndc in t ho net
        for the 'obber, who is tho general distributor to denier.; of pistols.
        It see       to me that from the litt,le I know of tbe manner in which'
      . the buainoaa is' conductedi becltuso I have not and never have bad
        any wnnetition with the hllsiness of firearms- as I understand it,
        the jobbct plays an e~n~W p!lrt ~ tho fil'lll\rfns busine5S. I under-
        stand that lt would be quite unpoSS1bfo for the mnnu!nctu'.rer to pass
        upon the credit questions nntl tho ott.er matters which arise, as
        between ~be ultimate dealer and his suppli~. Jt has suggested itseU
        to ~ rnmd I.hat one or the purp-05.es of this bill was to destroy tho
       .jobber and to elimin11.tti all but the largest and tbe wealthiest nnd
        the·st.rong(!Bt individual doal.en;,                                  -
            The ClLURMAN. Do you mean dealers or mnnu!acture:rs?-
            Mr. Flt1:n21nox. 1 .mean ~nlors. I think an anJ\ual foe of $200
        a year will elimin o.t& 06 peroent or the dealers in pistols.
                                                                                                                   '
           ·Mr. Lswrs.. Wlat is your dcfini~ion of dealer?· \Vh;t does it                                          •       •
        include? Does it include tho vill11ge ;itorckeeper who sellstpislols?
            Mr. FnE.DSIIICK. Yes, sit'. •
            Mr. Ht.LL. The defUlitiou is ou pngo 2 1 beginning with linc_11:
         T11e term "dealer" mclln~ l\nY pt\TSQn uot 11 manufacturer or importer engnp;ed
       'Wiib.ib t he cor1tlo.e ntal Ut)lt,e(J 1'tA!:eil in &he busiDesS of .selling firenn:ns. The
       tenn "dealer" ahall ll\Oludc pa'l"!I br-0kcra and dc:alen In used firearms.
         Tbo.t would incl11du jobbers, l take it.
         Mr. FnEiDllnlO:&. It is possible, but the j obber does not. tit ,·ery
       logicnlly into tile pieture1 that is here dafined.
      · Mr. F l\BAR. If we iuse1·t tbo.t, wouJd t hnt ·be sufficient to meet your
       objection? Tho.tis, o.ftc1' the wo'teis "pawn brokers and dealers" ttd<l
.                                                JA147                               Exhibit A, Pg. 763
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                                        - .... - .     .-                  ,                         • ..   ....       -   fl
             •
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                ;Cr'.  FnED~mc~. I would ~nvc to e:mmin~ the bill .i n order to gi;o
              n. rcnlly intelligent 1mswer. to your <1uestion:. . .
            _ · Mr. FREAR. Can you give uSjn. constructiv e nmendment7 ·              . .
           . · 1'\:Jr. Fm·JDERICl'.· I must agom J'eler.you to th·e fact that this 1s
              tbo li.rst morninl! 1 have seen this particular bill, and I ani not prepared
              to give 'you thr. t particular ·suggestion... But I tl1ink tbnt provision
              ought to be n ...de f?r't~e jobber e.n'd J think tl111t provision ought ~
              be ·mnde so tl1nt tblS will not destroy 95 percent of the small d. fet'$
              througliou.t the coµntry. .         :
                  Mr. FnEAR. On what do{uu base thnt statement?                    ·
                  Mr. FREot:RtcK. A tax, sav, of $200 pel" year will eliminate 95
              percent of the dealers, in my opinion.
                1 Mr, FnEAR:· On what is your opini~n based? . .         .     .      .•   ..
                  M:{. FREDEIUCK. My genernl expenence and practtcnl contact with
            · den.le"i~ nnd observation oft.hose who deal in firearms and such thlngir;_
              over a, good mnny yenrs.              ·      .                ·
                  Mr. HiLL. Wlio.t figure would you suggest?
                  Mr. FREDEIUCK. That tnkes me into the purpos\.]s of this. bill.
              This bill, as I see it, is intended. to be a bill for the suppression of
                                                                                                     ..
              crime and is proposed to the United Sttitcs Congress which ordi-
              narily l1ni; no power in such matters, under tue guise o( n. revenue
              rnising bill.                       :
                 ~1.r. FnEAR . .Nlay I 1tsk a question?        .Are yon interestc<l at all in
                arms manuTacturing or anythin_g like that'?                                    .
                · l\1r. FREDERICK. Not at nil, tn an.y way.                                   .
                  ..Mr. FREAR. They why not· o(fer some constructive eriticism?
                Yoh are- complaining about the chnrncter of the bill, sQg-gesting what -
     {          is behind it, the motives' behind it, nnd so forth. Why not offer
                somelhlng constructive that will be -be.lpful to us anywhere ~ong
                tlie line?
                   Mr. FREDEIUCK. I nm try to ·def so, as l'npidly as I can.
                   Mr. FREAR. H you \\>ill read your rocord, you will find, I under-
                stand, that you are attackiIIR·the motives generally.                         .~
                   Mr. FREDEJ.UCK, Not at nil.                          •
                   I ana saying tlmt this hill, practically speaking, destroys the
                busin&>s in fircn.rms of 95 percent oI the dealers.         .             .
                   Mr. FREAlt. Then why not rcrommend something, as :M:r. Bill has
              · suggested?                     .                .   ..            . .
                   .Mr. FnEDE.RJ~. I shnll be glo4tosubIDJt11 recommendation m that
 \
                respect, as soon ns I hnve had n. chn.n.ce to e-xnmine it.
                · Mr. FnEAR: Y~s; 'but do not att.ack the motives for its introduction.
 . ·.,          We llJ'O not interested in that at this time .
                   11.r, F1n:0Erucx. I think thnt the l'CSult of this provision here
          · ' will Le to deprive the rural inhal:iitnnt, the inhnhitnnt of the muill
                town, the inhnbit1mt of the form, of nny o}>portunity to secure n weo.p- ,·
                on which he -perbo.psmore thnn anyone else needs for his self-defense ·
                11nd protection. I think tbnt it would be distinctly harmful to ·
                dostroy. tho opportunity for self-defense of the ordinnry man in the
                smnll comftluruty, wher~ police forces nre not adequate. .                  ·
                   :Mr."lb.LL. J111:tt tell us how this bill does thnt.
         •         Ml'. FnEDERrc K. It does it mtwo ot three ways, a.s I seelt. In the
                first J?!ace, it requires Federal docuinents to be filled out, procured          '
                from Federal officials, before o. pistol can be purchased. It requires

                                               JA148                         Exhibit A, Pg. 764
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              -~   -·----
                   ~--"'-·--­
                              -                   •,                                           ·-
. '
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•.  that pistol to. be purohased from a licensed ~ealer. Now, if the
                                                                                                ..
    J~es~ !llld most importo.nt and _wealthiest dealers, those in the lu.~g~r
.---mt1~th..e only dealer.> to exJ.st wbo Cnt\ bn.ndle fueal'Jlls, nnd if 1t
 . ~s requirlia~°'l°':~°' ~eder.al official '!ho is not. to be Joun<! readily _
    Ul rural commurut1es-1·111...the country, m any except the ]il.rger com-
    munities-iJ they onl:y afe, nllowed to handle firearms, it ooems to
        me that the practical result will be thnt the countryman absolutely
        will be unable, in n prnctic-1\l sense, to obtnin nny firearm. Th.ere nre
        so many impeditneots put in his wo.y, Ba will be unablo to secure
        a weapon that he needs for his own defense nnd the defens0 of 11is
        home and lamily.                 •                                                  ..
         . Mr. HtLL. Do  you have reference to t.he large license fee of $200
        as suggest.ad.in line 5'l                       .         .
 ~-        Mr. FREDERICK. I llnve 1tt this moment1 yes.
           Mr. Hu.L. Suppose you mnde tlutt fee $5, wbnt would be the
        ~ituntion? 1
           Mr. FREDERICK, I do not th.ink tbnt thnt would be ns bnd. !
        thin}< it would be somewb.it serious, but I       .do
                                                           not think it would be
        very serious. l will tell you why I say that. The uniform firen.rms •
        net whicl1 we sponsored.nnd wliio.h was adopted in Pennsylvania had
        a provision for.$10 license fee for de1tlcrs in thnt Stnte. Thnt Jnw
        hns been in effect in thnt State for 3 or 4 ye~ . I om told tbnt the
        practical result is tbnt most of tl1e smo.11 dealers, country hnrdwnre
      • merchants, and so forth, refuse , to tnke out ti license nnd pny $10,
        because they sny it just is not worth it. They sell maybe three or
        four guns n year and it is not wortl1 $10 to get the privilege·of sellinil
        three or four guns. I think that any $Ubsto.ntial license fee wiu
        destroy the smnll denier in the small community.
           Ml'. HlLt.. That is, any n,pprecio.blc license fee?
           Mr. FttEDEttlcK. Any appreciable license lee for denJe:rs.
           Mr, BILL. Would the i·equirement for a license itself do that? .
           Mt. FREDERICK. I do not\.think .so. I think if it \Veren negliidblc
        (ee-imd as I see it, inasmuch as I believe the main purpose behind
        this bill i5 a police purpose and not n. revenue purpose, it seems to
        me that that chnrge should be mo.de quite nomin.al; it should be
        made so smo.11 thnt yo\J got actually tbe police rosult that you wnnt,
        nnmely, the registration or the denier nnd tl1e issuance o{ o. lit1e11sci
        to him, but that should not, bc:r made o. burden to him in point ot'
         dollars nnd dents.                                              .       ~
            Mr. HTLt.. H tlint should be corrected-·it ii not really n corrcc-
         tion1. bernuse there is no sum in there no,,·; any nmount tha.t ho..<::
         been spol<en ol l1e1·e is merely tentntive.. The.re IS no dctcrmi11ntio11
        'ns to whnt thnt fee shall be. But it we met t11e objection on th1it
         P!ll'tfoular phnse, you would be rendy to pass on to something else,
         would y_ou not?                   .
 · · · Mr. FnEDEillCK. Yes. I wnnt to sny one word 1dth respect to the
         n111n11fo.ctul'ers.        ,___,,.
           Mr. CoC'HRA~. Mr. Cbairnmn, before the witnt>,ss gets to thnt1 I
         desire to·o.sk if 110 will nt' ~his point in his rmnurks insurt 11 r.op:v of tho
         uniform fi~enrms bill 1\·hicb bis nssociution l1ns -si.:onsorcd illld whic.b
         bus been 11.d opted in vntiohs Stat~?
            M.r. liILL. How voluminous is tltnt docun:IO.lit?

                                               JA149
                       - --                               - ·-' -          Exhibit A, Pg. 765
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                      .Mr, FBEDEBrcx. It ill about.four p~es .. It is pYactico.Uy the law _
                   ·as it stands in the District of Columbui. l have a. copy of it bete. ·
                    There are five pages.            •                         ,    ·
                      The CHAIRMAN. ·Withoufobjection, it wm be inserted in tl1e record.
                      Mr. ~EDERlCK. It is substantially tbe unifo11n net.
                       (The ·act refe1Ted to is l(s follows:)
                                                          (PUDL'l>-No. :!1:;-720 CONOUAS]
                                                                       1u.n.~1

                   AX ACT To <ODtrol Lh• po,.,..,.ioa. aalo:. t?~D•l•r. and""" or !listolsand olbu UllOIU'rOUi ;rOllpolfs fQ 'Ill~
  .. •                 DL,trJet ()f C-olun\bfa, to pro\•ht~ pennhtes. to prrscrfbe. ru1es or '''ldenc.-e. :i:a11d r'lr other JlUTPOSC~
                     Be it cnaclcd by IM Scnal~ artd JJouiu: of Repraenlalivci of l~e Uniled SialQ nf
                   A merioa in Congrll3• ~·Bemliled,                                 .
                                          '           OE:f>1N1Tf0~8

  ••                   SDcr1os 1. "Pistol," as used in this Ad, means nny 1iroatm with 11 harrol less
                   than twleve inches in length.           , •                               .
                       "Se.wed-off J1hotgu11," as used. in tins Act, means any shotguu •nth a barrel
                   less than t.l'l!nty inches in length .
                      "M11cbine gun," us usca in this Aet, m~ans 11.ny firCMm whic4 shoots auto-
                   matically or semiaut.omatically more than t1"elve a.hots wi,thout reloading.
                       " Penon," as used in this· Act, includes, individual, firm, association, pr
                   corporation.       ·        -                                                      1
                       "Sell" and "purcbaoo" aud tho vo.riou$ dcri ,·ati_,.os of suth words, n.~ used in
                   this Act, shall be construed to include letting on hire, i;iviug, lending, borrowing,
                   and otherwhe t r11.nsferri11g.     ·
                       "Crime of ,·iolence" as ll6Cd In this Act, rueons nnv of the following crimes, or·
                   fill attempt to commit any of the 6~e. u11mcly: Murder, mau slttu_g)llier, npc,
                   m11yhem, m11.1icio1isly dis6g1Jr\11g another, abduction.. kidnaping, bnrglary,
                   housebreaking, lareony, any assll.ult \Vith intent to kill, .c ommit rape, or robbery,
                   uss1wlt wit)l a dangerous weapon, .or assault with inwnt t:o commit any offense
                   punishable by imprisonment in the penitentiary.                    ·            •
                                                 OOYYITTl:o!G CRIME WBllN AltYED

                      SEC. ;i. If any pcrsClll sh:lll cominit a crime of v iolcl'tce in the District of Coium-
                   bi:i 11·heq armed with .or hn..ving readily a.vailnhlc any pistol or 0U1l'r fiTenrm, Jiu
                   may, in addition to the punishn1cnt pro,·ided for the crime, be puuished by ilJ!Pris-
                   onment for B teJ'ID of not more than five yl'al'l!; upon a seeond conviotron for a
                   crime of violence so committed 110 may,                     in
                                                                    sddition to tpe punishment pr<wided
                   Cor tho crime, l>c punished by imprisonment for a term or not moro than ten years;
                   upon l1 third conviction for a crime or violonie so committed he may, in addit.ion
                                                                                                                                             •
                   to the punishment prov!ded for the crime, be punished by imprisonment for a
                   term of not rnoro than flrt<?en yeafl!!; upon 11 forth or llllbsequent conviction for a
     ·.            crhue or violence so committed he may, in addition to the puni~lunent provided
                   for the crilnll, he punished by imprisoncment for- an e.ilditional period or not
                   more than thlrt)' years.                                                                -                             ~

                                       rEltSONS FORBIDDES TO pqsses!I CER1'AL... FIREARMS

                       Sii;c. 3. Nu person \l'ho bas been convicted-in tho Dfatrlot ot Oohunbia or
                    elsewhere or a criJ11e of violence shall own or ho.~--c in his possc.siun " pistol,
                    ";thin the District of Cul111111>ia.
                          ~                           CAR.RVINO CONCEALED WC&rOS'~

                       Si:c..i . · ~o µersvn shall within the Di"triot of C,1l111nhin <:.arty cu1iciul.li:!il on ·Jr
                    sbmrt. his person, cxoiipt iu his d\\'CUing l1vusc or plncu of hll8iues8 ur uu uLber land
                    pusscsscd llY l1im, o. pistol, \\ithout a liccusc lhcrcfvt is!!Ued n.• hcrciunftar pru-
                    '·ided, Qr nriy dcadl;r ur dangerous weapon.
                                                                      L:'~CBl•TIOX!f


              Ssc. 5. 'l'hc p.ruvi!ion• uf tlJe preceding DllCtiou s~l uot nTJ11ly to runrsbuls,
               .
           sheriffs, pri5ull <>r jail we.r-dcns; or \heir deputies, policc:ucn or othcr.rluly appointee!
 ,,., t:,:EJii,\'-eofol"CelUl?ll~•olficen;io'c to.mcm_!>cts o[ the;Arm.}'~'<Nnv)',_or Marina CO~ o!
         ' •                  G8_21'&-ll4--4                            JA150           -                            Exhibit A, Pg. 766
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       •       lhe United.Slates    or of tl\o N11tlo11al Cuard or Orgnnhcd ltcsorvcs ,111c11 o n duty,
           ol" to th'a regularly elll'Ollcd meml>eni or any OTg&ni%!1tlon iluly nuf.borl•otl l() p11r-
           aluuse or· !CQ"ivo.euolt wea.pona rrom tho 1J11ited States, provided au ch members
         ~ al'e at or a"1 going to or rJ01n t11elr plaoes of assembly or tArget lJTllotioe, or to
            officeftl or employoea ot ~he U11\ted States duly, u;uthorizod to carr)' a concealed
            Jllstol, or to any person eng~ed in the bl\aln"'lS of mnnufaeturlng; repairing, o.r
            dealing In ·fitllArma, or tlte agent or_representative or any such 'JleTI!On h&ving in
            his pol!OCMffln, using, nr .carrying a pistol in tl111 11•ual or ordinary oourso or 1meh·
         _ buelneM or to.any person while carrying n pistol u.nloadcd and in!\ secure wrapper
         · from the p!Aao ol purehllse to his home <>r place bf b uAlllOOil ol' lo fl r>l&Ce of ropull'
            ol' back 't-0 bh holl'l.e or pince of liuHincas 01• in movinl! goods rtoin nue pl11ce or
          • ab<tdo ol' busJneBB to another. ·                           ·                    ·
                                         •'
.~ .   '"I              • _,,                 1~u~.. o•   WCEN8ES TO CARnv

      •. · Sr;c. !!. 'l'l'le superintendent of poli~o -uf tf1e Dl~trtct of Cotuml~in.1ruly, upon
      ·· , tho applioation cf any person havinf{ A ho1111 firlo· rcsidcncn or pince of lmslnose
   '·       within the District o( Columbfn or of nny person having a hona fide re&idoncc or•
         - pla~e 6! blll!lness Within the United Stn~ and n·lice1Jse to curry o. piirtQ\ eonc:enled
          ··upon his ponion.i.ssued by the lawful nuthotitics of any State ol' s11bdivision°-0( the.
            United State!!, U,eue,r. liceme t<i aucl1 per&oll to cnrry.n pistol withlri the District of
            COlumbia for not· moro than one year Cl'o'in date of iaauc, if it e,ppco.ra that the'
            e,ppilc~t llWl,goodrewmn tu fear injury to his person or nroperty or has any>Clthet
       • · ·proper res.son !o'r c8l'l'ying a piBtol nnll that tie is a ~uitable pol'llon to lro so licensed.
            The license ellal) 'be in d11:11lir.11te, In form to bo pro.serihed lly the C111nu1ieaiciner~
            ot tho District of Col11mbia and shall benr the Mnie, llllilress-, description, photu-
            grapb, and llignatuTe uf t11e JioeDS(.'e nnd the TCMOn giVell fO'l' deslrlllg n Jieen!'!e.
           "Ilre original the'ceof shall b!l delivered t1> the licensee, 11nd tho duplillllte shall be
.,
            reta.jned by the superintendent of polico or the DistricL of Colw11ui11 nud pre&tlTved
          · ID 1iis tlflice for six yeal'll..
                                          BELLUoiO TO ?.1.1.NORS AND OTllERS

               . Ssc. 1. No person shall within tho Distdet of Colnmbin sell any plllbil to 11
              peraon wb.o he h.o.a reasonable cau'o to believe jR 11ot llf smmll mir1d, 6r is 11 dn1g
              addiot, or is .11 pCl'llOn who has t-cen oonvioted in the District or Co1umbi11 Ol' els~,.
              wbere.ot 1' crlmo,    or  vlolence or, e'-'Oept when the relation of pnre11t und c11ild or
              guar®Ul and ')\'ard exlata, Is under tb,e nge 111 eighteen Y,ears.          .
                                .                .>
                                                 'l'flANSf.ElltS llllOVLA.Tlill>
                .S~c.    8. No seller shnU within the DiHtcici of         C11lu~bin
                                                                                  deliv.e r n pisl<>l to tho
'•             p11rehs.ser theroor until forty-efght ooum shall Juwe oln11sed from the t ime o( t'he
               application 'for the ~urclJ.a.ee thel'fl<lf, except in the r-.ase or Mies to marshal£,
               sherilfa0 prison or j111l 'wardens or tbeir deputies, policcmenJ or other lluly ap-
               pointed lt.w-enforcement.officers, 1111d, £vl1en delivered, 811!d'J'iStol .sho.Il be securely
               wrapped tU>d shall be unloaded. At the time of 'applying for tlle p11rcl1ase of a
              j>l.stofthe purchase!' snail sisn i'n duplicate flnd deliver to the selle't fl statement
               containing hie. f ull name, addreSB, occupation, color, place of birth, the dnte and
               bo11r of applfcatlon1 tbe callbor1 mnlco, m oclel, nnd nia.nufocturer's num bel' of the
               pistol to be_purcbaeed and a a tatement that he h!!Jj iie1•or been L'OJlvlctod [D tho
               District of Columbia or elsewhere. or a. crime o r violence. The seller shnll, within
               eix hours alter ouch application, eig.n and attnch his' addi:oaa nnd deliver one copy
              •to aur.h person or persons aa the supcrlntendent of police or the.District or Colliln·
               b!!i' mny dcsig1111te, lllld shall ret!lin the other copy for six y~rs. No machin• ·
               gu11 1 .snwed-ni't snotgon, or hlnck1ack almll be eold to s.uy pereon -0tl1ar than t b e
               pe1'8ons designated Jn aectio~    · 14   ircor as entitled to posscsa the same, 1111d then
               only alter permi!lllion to mak a oh sl\lc hos been obtained from the supcrinfond-
               ent or pullce 91 the Diamct            olumbia. Tllis Sl!ctfon shall nolr apply to soles
               11t wholellll.1~ to liceosed denle .                   .
                                               DEALERS TO BE LICSN{3SD'

                  !Sze. 9, No retllil dcsler shnll within the Dl8trio~ of Golwnbla sell 9r e,,.poae for·
                eale or bave in hfe posseSBion witb ii1ront. to ar.11 1 n.11y ,pistol, ma.chine g\Jn, Bl>\~~- .
              , otf ehotgtfo, ,.,r blnckjack · witho11t ·bei11g lll!o11sed v.a llorelnnfter provided. --~
                                                                  or
             • who1Cf381c do11lar slulll1 withit1 the Dist1'1ct Columbia, sell, or have in his posses-
                sion with intent to sell, to 11rty person ct.her thnll a li.cenaed denler, ~ .Di•tol,
                                                            JA151
                mnobi.tie gun, aawed~lf shotgun, or b\llo~fnc.k.                              Exhibit A, Pg. 767
                                                                                         T,
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                                               ' .         .
                         l>EALERB' LlCEN8~8; BT WHOM: GRANTED <\NII CO"!IDITION8 TUBRJ!'OI'. ,
                                                                           .'                .        .
                 . !':Ee. 10. The Comtnl8!llonere· of the District of Columbia, may, In lihelr,d·l~cr&.
                                                                                                       '
         •
               tio11 1 gr11nt licenl!C& and me.y~preAcribe the form thcroor, clfcctlvc for not moro
               tlmn onu year f f!'Jn date of issue, permitting th!' Uccn8ee ~sell pistole,, machine
              b'11ns, Mwcd-off eooti;une, uud h!AckJnc~s at.retail wltbin the Dietrlot of Oolu1nlita
                                                                                                                         ..
             ~ ·ubjed to th& following conditlorlH 111 D.ddltion to those ilpeclfled In aeatlon O here-
               llf, for breach o f a.n y of "'hich the lfcenee shall be subject to forfelturo- .rnd the                  'J
              liccn~eo s11l>ject to p11niuhmont 'l\.lt provided in thie Act,                          ·
                   1. The buait.1c11S ~hull I.Jo .curied on on\y in the bullillng dealgna~il In the
                 lir~11Ae.                '                                                     •
                 . 2: Thu llceri6e or a :copy therc;or, ccr~lti~d by the lsooi11g nuthorit.1, ehn\l bO
     '   .    <!:.played.on the p1'CDl.ll!es where- it Cl'.ll\ be c11Blly rMti .                 - _- ...
                  ~ No pibtol ehall bo sold (a).·ir the scllei h4A rclli!onalJle 1~auAe to,belicyq that
               the pnrch"8er·is not o( sound )Dind or la a drug 'llddlefl or bas been couvieted ht
               the _Distriet of .Columbjn' or clscl~here or _n crime of J'iolence or le under the age
               or c1ghteewycare, and (h) .unlC:Ss the purrbnscr i.11 pemonally k.nown to tl1e seller
               or Ehall,prcsc:it cleat c\•idencc of ·his identl~y. .No mochhie gun, sowe·d-olf ehot-
     '   '    1(1111, or h lAok1ack stall be 11old to nny person other titan the persons dcsignntcd
               in section 14 \loreof as entitled to possess the eame, and then only a.tter pcrmj!llilon
               to mo.ke su.ch enlc. hBS been ohtnined· from the superin.tendent of poline oi the
               DistrJct of Columbia.              •                              - -                       ·
             • 4 ," A true record shall be made in a book kept for the purpose, th.e form cf<.-
               wl\i~l1 ttmy'be prcaoribcd by the Cotn,nilissioucn;, of 1111 pistols, maclli11e guns, 11.Jld -
              •nwcll·off ehot(!uhs i11 I.lie posscBSiou or the llce11se111 wbfoh eaid record sha,IJ oon-
               tniu the dnt.e ·or pur-cltnso, th~ caliber, tnnke, DJOIJel, o.11d ma1111rnoturer's numher
               of tho weapon, to which shall be nddNI, when sold, tho date of snlc.
                   S. A true record In d11plloa'to shall lie Ulade of every pistol, u11.1obine' gun, sawed~
               off ~hotg\lll, llild bla~kjack .sold~ said reoord· to he matfo iu a book kept for t fie
               p11r1>osc, the form of which may b<l prescribed by tile Com1niesi011er11 of the Dl11-
               t rlct 9t Columl>ia nud •blill bo Jl(ll'l!ounlly eig11cd 1,y the: purcbuei: aud by the
              •p utson -clfccting the..,,.,Je, each i n the presence or tho other and sl1all eo11to.i11 the ·
               tfl\t~ or 11alc-, the name, addrcsii. occupatloo, color, and place of birtl1 or the pur.i                 "
               cht1£er1 1>nd, .so far as applicable, the cnlilJcr, make, model, and man11failt11tC1fa
               number or the 'weapon, o.nd a statement sigJJed by the purchaser that he ho.a
               never been convicted in Ute District            o!Columbia or elsewhere of a crime or
               violence: One copy of r;aid record abnll, within se\·en days; be forwarded by
               mall t.o tl1e su,peri.ntend1mt of t)olfce of the D'iatrfot or Columbia and the other
              ·copy rciniTied by the seller Cor six ye&n1.                            ·
                   G. . No p iatol ol' lmitation thereof or plllcard atJvcrtialn~ t\10 &nlo thereof shall.
               be displayed in any part of said premises whore it can readily be seen from tlie
               outside. No license to sell at retail shall be granted to anyone except ae provllled
               in this sent.ion.                              , ..
                                              J>AL&g INFORMATION FOnBll>DllN

                    $ st'. 11. No person, .llball; in purclu1.siog a pistol or in applying' for a liecme to.
                 ~11rry"the same, or in purchasllig a mMhlne gun, sawed-off sbot.g up, or blJ1Ckjaok
 '       '        within the District of Columbh1, II'"" raise information or offer Calllo cvicle.nee of
                 l;Jis identlry.      ,                 ·
                                   AL'ffJllM'tON Of ID&NTIFl'ING l&AllltS PROITIB.IT&D                           '

 • •                 S_i:c.. 12. No person shnll wltblu tho Pistrict oi Columbin cha1>ge, alter, remove, •
                 or oblfierate the wune o( the maker, model, manufacturer's number, ol' othci'
                 111a.rk or ldeo'tifice.tlon on any pistol, maebine gun, er &awed-olf shot.gun. PO!Ses>o
                 sion ot any. pistol, 'machine gun, or mwcd-ofl shotgun upon which any such ~nark.
                 ahall hnvo been ch11nged, altered, removed, or obliterated ~b&ll be prime facie
                 e,·idence that the possessor hae changed, .altered, removed, or obliterated the
                 rome \\ithin the District of Columbia: P1ornd(d>/lowel'er, 'l'hat nothing conWncd
                 i11 this Gcction shall apply to any officer or agent.of an-¥ of the departments of the
                 United States or the District or Cohnnhia engaged in experimental work.
             ~                         ~.               UC£PTJON8                        ,                   '

                   S&C'. 13, Thla Act 6ht11l not ~!II>ly t.o toy or !l111Jquii 1)lstols w1.11ultal.Jle for use
                 Ae firer.fms. ·    .. -

                                     -.                 JA152                                 Exhibit A, Pg. 768
                                                                                                                     I
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                t      l'OBSJIB&ION Ol' ' CEll'l'.UN DANO~llOOA Wl!IAl'ONB
        Sze. M. lto per&dn ohall Within tbe'Dbtrfot of OJ1umh~ L)Qt!l!eas ·a ny mscbln&
•    gun, eawed-oU ehotgu11, or ariy lnstn!lnen~ oi ·WeApOn o{ the kind commqnly •
    · known a.a a blACkjack, elunR shot, eand. club, sandbag, or metal knuckles; nor
     tily·tnatrumeot, at~lunent, or appliance for eaueing the firing of any fl'roarm
      to be allent or Intended to le1111en or muffle the noise of the firing or any 6real'll1B:
      Prwiatd,, lloUJeVer,· That IDAOhlno guns, or l!l!"'ed-olf shotgun•, and blt.ekjMkH may
    ·be poeaessed b_y tho members or the Army, N&vy, or Marine Corpe of the United
      St.ates, the National Guard, or Organized Reserves when on duty, ~he J,>os~
    ·oroce    Department or' lt.iJ employees when on dutY, nun11hale, eherilfs', prison or
      jail wardens, or tli'eir deputies, po)lcem,enbor otlier duJy app9lnted lAW-ilnrorce-
    . ment officers, officet11 or em)?loyeea of the ' 11ite<l States duly authorized to carry
      auch.weapOoe, banklllg lnat1tution1J, public carriers who are engaged in tbli busi-              '   '
      neu or transp9rtin1t mail, money, securities, or other valuabloff, \V~(ll(tsale tloate:rs
      and retail dealers hcenMed under section 10 of this Act.                       •
                                                 PJ<.NAi8lEB
       Szo•. 15. Auy vlol11tlon of.11nv provision or thiS Ac'l., for whfcll no renalty is
     epeelfle&lly provided shall be'iuniahed hy a fine of not more than S 1,000 or
     fm11rieoninent !or not more than one year, or, b6th._                   ·
                                       •    CONE!TIT1lTIO!'tAJ.IT'L
                                          ' for any reason declared· void, suoh lr1vnlldJl.y
       BEc. 16. Ir 11ny part or this Act is.
     aheJl not affect the ve1irUty     or
                                     the remu.ining portlons of this Aut.
                                       \lERTAIN Ml'r.S ltEl'EALEO
       SEc. 17, The fotlowing ,cctloris or the'Code or J,aw for the District of Colu1nbi11,
     1919, namely, sections 835, 856, amt 857, an.ti 1111 other ;\Ct·s •or p11rh or Act3
     fnconsietent llerewlth1 are hcrebv repeated.      ·
       Approved, July 8, 1932.        -
        The C~MA.N- In wlrnt sense is the possession of a pistol esscnfifll
                                                                                                  ..
     to the self--defens1;1 o{ people who live in rul'al comntunitios, AS you
     have stated? Do you mean it is essential to the. self-defense of an
     individual who is out on              the
                                     highway, or in his home? In wJ1at sens«:'
     is a pistol essent.ial to the self-defense of an individual who lives in a
•    rural community'? Why'is not a riOe or a shotgun, the possession of
     which would not be prohi~ited unde.r this act, sufficient for the self-
      defense of .an individual or an individual's hotne? Jn what Sens& did
    . you mean that? You know, most or the Stutes have lnws. ngrlinst
      carrying concealed weapons.                           .
         Mr. Fnt:t>EttlcL Exactly. I think those tlre quite pi'opb )l\w!'
      and ara tl1e only effective laWS;                                       ,
         'The Ct1All~1>lAN. Then it can be tlltlt you '01·0 roforrlng ouly to Ute
      possession of e. pistol in the h9me.                    ·          ·
       • Mr. _FRlllt>EJuc:ic No; because many puople do find o':cnsion to onrr;
      pist.ols, and do so under license.             -.
          The CaAm&rAN. ' That. would not nMessnrily be ti 1l'lB.tt<'r of sclf-
      defense, would it? .
          Mr. FR'Et>EJUCK. Oh, yes, in many, many instances.
          The CHAIRMAN. ·I never heatd of it.
          Mr. FnEDERlCK. I have heard of it in lmndrecfa of instances.
          Mr. FnEAI!. My e:-..'])erfonce is the,t the nvern~e person who c!IJTies
      o. ravolver is not one wbo lives in n rurll:l district, but ill Xow Y<.li'k
      or Clucngo o.nd such 'places ~hn.t. Dilllnger and men 0£ his t.ype 111·<.>
      found.                       ·                   ·

                                                    JA153                      Exhibit A, Pg. 769
                                                                                                        ;r-"
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                                                                      158
                     .                                             i
                  tvfr. ~fcConMAOK. All of those fellows ara (m1mtry-born boys.
               They: do' not come from the big, cities. l understand that most or
               then' are country boys originaUy.              ,·  .               ·
                  Mr. FnEAn ...').'he -mo.n against· Whom We 'o.ro trying to fogislate· is
               Dillinger and men of his type. · ' ·                      ·
                 ·rvrr. FREDERICK. II there is any ferU!ihle wny or getting that type                         '•
               of man, I would like to know it. .              •
                  Mr. Fi\EA.R. We are trying to. In all of your experience in theJl(l .·
               matters,· have you drawn a bill wl~ich had for its purpo~ that end?
                  Mr. FREDERICK• • l have spent lfi ·;yeara· studying tho subject
    • .   l
               nnd 1 have worked with the National Orime Commission. One of
               the results of my work' bas been a: cont"tibntion toward the uniform
               ~ct-which, jn my opinion, has mllde - -
                  tvfr. FREAR. '!'Jave vou put. it in fori1e in New Yo,rk? .
    ..            ~fr. FnEDEn1cj{. I have tried to.
                                         0


                                                             · ·
                                                                                    ,
                 -Mr. FREAn.      We  are. tryjng          to
                                                     put some lnw i1tto effect.
                  .Mr. FnEnEit1cx.' Severa.I oI the provisions have been ndopted in
               the 1Jnv oI New York.· ·I hnve conducted campaigns for two successive
              ·years- -                           .                           .
                     MT. FnEA"lt. You said your expe11ience covered 15yoars.                      ·     .
                     ).fr. FREDEJUCK. I said that in··New York Stnto I have c-Onducted •
              - cnmpaigns in sUpPJlrt oi bills which I have caused to be introduced l n
                 the.legislature.                                                               -
                      ~fr. FREAR. We do not want to 'havo to'\Vait 15 years more,. do ·w.e"?
                     l\fr. FnEDERIC'K. 1Vfr. Chail'lnon, in respect to'; the manufacturer,
                 the manufocturer's license is $5,000 n year, and tlint mnsf refer solely
                 to the big mlUl.ufocturers, of whom there o.ra four or five jn this
                 countey. There are smaller 111nn11f11,c t11rcrs who would be put out of
,                business completely by ony such .t11x ns $5,~00 a yenr and yet w~P
                 perform an extremely useful !unctton, when looked ot froni. a ccrtnm
               -standpoint.                                             '     , ·-      ..;. •       .
                      l\1r. FnEAlt. Could we not base t]1afi on the amount, o"f soles?
                                                      r·
                      :.\Ir. FREDER[CK. Yes, think that enuld h e quite ensily Clone. I
                 11.rn refening to the 111..aket'S of handmade pistol barrels, of whom there
                 are a rt1unbe'.I' in this country, . They make the finest and h ighest type .. •
                 o.f target weapons t1111t tu"e to he found D"I\d they do .i t entirely by hand; ,
                 I mean, with&. hand 'lathe. Their guns h ave been used ·for 25 years
                 in both the National nod tl1e International shooting C!lmpetition. I
                 haYe myself been a i;nember of 'five or sL" intema.t ional pisto: teams and
                 in every one of those I have used hand-made guns, hand-made barrels,
               .          .
                 because tbey'were
                 m my op1mon. .
                                ..      a)ittlo;bit
                                         .'  ,;. ·~

                                            ·1 · l
                                                    finer than
                                                            .._
                                                                llny others thut could be bought
                      Evecy one of those bil1Tels WQS mu ile by A man who is n·past rooster
                 of thn.t field of ballistics, i\nd· who 1;1111, In my opinion, muke ·o. finer
                 bnne1. than any mdnufnc'turcr in the bqsiness. ·                                ··· ......
                     .The CnAIRMAN. · Do~ 1rhe make tihe entire gun' or just the barrel?
                      Mr. FREl>ERtcic. ·He makes the barrel.
                      T he OnAtttMAN. tl{e -would not come under the provision$ of thie •
                'liill, would he? . ·· :          ·                                            · .·~
                      Mr. Ji'R.EDERlC,K. ' I do not know. He is 11 mnnufnoturnr. Be goes
               · Over tl\e whole ~n , revi':leS the trigger pull, changes f.he hnmmer,und
                 does 11 lot 0£ thm~ "to it.                                        ~ '

                                                           JA154          •
                                                                                    Exhibit A, Pg. 770
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      ' 50
                                    ' .                                                  ,
          The CeA,rnMAN. But he i;; not 11 mnrmfoct.urer of 1i gun : He
      assembles tbe ports 1u1d puts them togPt.her.          rr
                                                           e is nnt o. mn.nufo<'-
     . turer1is lie?                  ,
- . -.. Mrc, FREDERICK. I suspect thnt he is. ·
     ' T he C:HA1RM'A'N. I .suspect thnt he is not. I do not.see how lie t'nn
      'be considered a mnnufnct1:rcr o{ n gun if he only makes the bnrrcl.
          Mr. FREDERIOK. He migl1t buy the action from one mnn. If be
 "     made the barrel and then put it to~etlier with the other parts, be woulli
- b e a manufacturer of that gun, iust as much O,s· 11 man_who bought
_      ~utomobile wheels frotn o'ne place ~d a. wiring system· from nno~her
       o.nd .a motor from another manufnoturer · und assembled them and
       sold them·llDder his no.mir-h.e would be a manufacturer.
        · The CHAIRMAN. If he bougbt..aH the part$ and assembled tliem nnd
       sold the finisbed,gJlll,_l suppose he would be a mnnufacturer. .
    \ .Mr. KJ'fOTSoN. Tlus ipan to .whQm yow refer, .does'he assemble the
          '"'-~? . '
      ". gnn                              .                         <

            Mr. FREDERICK. He will t.nlee n gun, take off the old barrel ulld
         make a new ba.nel, put it on, make· over the hammer, mnke over the
         trigger pull, make over the. spring an d d:> a variezy of other things
        -witli it, so that the gun, you might sn:v. was a renssemhled gun n!ter
         he wa.s through with.it.                      ·                    ..
 ::         Mr. KNl1TSON. What we would call a rebuilt gun .
            Mr. FREDERICK. It really is, I.should snv so.0


            Mr. K!,'i'UTsON. And you think h6 would be a mnnufnct11re1•?
            Mr. FnEDER·1cs:. I suspect that 1'1e would be n manufl\ctnrcr wilhi11
         the tenns of this act.
             Mr. HILL, Assuming lie is a manufurturer, of course in a.smnll 11·:n·
         so far ns output is coilcemed, there hns been n !Hlggestion tnude ht1 i1·
         th at the situation might be met hy f\ wndun ted tnx, depending upon
         the volume oI tl1e output. .
             J\1r. FREDERICK. I think so.
             l\fr. HlLL. It that can be done, the objection you make tlloro do~,.
         not i,;o to the priJ:iciple of the le.gisl11tion, but sim ply to the pnrticulnr
         provision as to license.
             Mr. FREDERiclt.. That is quite tn1e.
             Mr. Hn.~. Your objection, then, is not to the 'Principle, but simplv
         to the prohibitive tax?               ..
             Mr. FREDERICK. It is to the l>rohibitivo nature of the tnx.
             Mr. HILL. So that if we met that by; o. graduntecl t ax on the mnnu-
          (acturer, your objection would be sn tis tied?
              Mr. FnEDERIOK. I think. so. I have no objection- to ))tit i~ this
          way-.to the principle of a Federal license tlesigned not to destroy, but
          to secure a police registration of both rnanufacturt'rs and dealers.
              Mr. Hn.L. r think the committee would be very mueh interested
          in your diret'ting our attention to the TC11l objections to the bill. Of
       . course, the .suggestions you are making now 11re helpful.
             ·T~e CHAIRMAN. !I.fay_ I ask, how long wo\tl~ it take you 1 if it _we_re
         feasible, to prepare a bill bettet then you think the lJendrng bill 1s,
          and one thnt wooJd accomplish the purpose we hnve in mind, for the
        . protection of society, to reach· the end. the D.epartment of Justit•e
          bu in mind, and submit it to the committee? That-would be con.-
         1rt.ructive, that would be practical, that would be helpfuJ....._...      -
              Mr. ~RJ:!>ERtc~ In my opini?n• the useful resu~ts. wh'lcb c an be
       ·-  eccomplishid by nrenJ'J~s legislat1QnJA155 are e"trmne]y linuted.
                                                                           Exhibit A, Pg. 771
                                                                   '
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       •
             _The CHAIRMAN. That meo.ns iho.t there is littfo B'round_1e(t upon
  •         whi~h to legislate or very little necessity for legislation, tba.t there ia
           little to be accomplished by it'1- Is thnt your view'? ·I nin not 11rgu-
             in(? with you., you u1.lderstand. I }'u st wnntJ,o understnn~ your.view-
           . pomt.                                                                    .
                 Mr. FnEDERJc1c-. In my opinion; theye· is o. small m-en in which               I
                                                                                                    I
             le!tlslo.tion whicb is useful in 1tS Tesult.s co.n he prepared.         .
               °The CBATR~tAN. Why not submit o. bill.to us that in your judgment
             would accomplish all that is possible to. o:ccomplisltoi practical to
  ..         accomplish along that line?                            ·. , -
              · Mr. FREDElUCK. I sl1ould be very glnd to submit n written memo-
             rnndu.m contninin~ some concrete suggestions. · . · ·
                 -MT. :k:NUTSON. Let me 11sk you a question right e.ttbe.t point. Do
             JiOU· kn.o w of many illicit manufacturera of firearms? I think I read
             m the pil'per' lo.st evening a ·sto.temen.t to the effect ·that the Dep&l"V '
             men~ of Justice bad ·seized an atsenlll:largely: mo.de ·up of guns manu-
             factured illicitly, or unregistered, howeyer they· terin tbern;
                  ~fr.'"FREDERtCK. I do not know of any illicit manufacturers .
              . ~fr. LEWlS. Why should there be nny illicit mnnufnctilrers in. the
             absence o{ all law tbet now prevails in this field?                        _
                -Mr. FREJ:>ERICK. I did not quite.get your question.                    .
                  Mr. LEWIS. 1 cannot fnncy the moth-e for illicit monufncture
             of these things when we nre almost. without MY laws on the subject
            whntev<'r.    •
     -- · :\lr, FREDERICK. I mo.y say t.bnt o gun is. n Yery ensy tl1ing to moke,
   •      t.!10.tll. tlurd-clnss 1rntomobi:le meehn.nic con moke a pistol which will
          do dendly 'vork, n.rid CllD do· it in nr:i. o.fternoon with the ino.teriols
          which J1e con find in iiny m1tomobile shop. And I co.n say tho.tit hns
          been done time and lime and time ngain.
             Mr. LEwis. Wbot makes it illicit?             ,
             :\fr. FREl»ERICX. l suppose who.t runkes it illicit is the purpose for
          which such guns arc mo.de. If it is not ago.inst the lnw to inn.kc n ~un,
          thC\n tl1e.re is nothing illicit· in connection with it. But wlll\n $UCb a.
          gun is munufoct11red in n. State prison nnd'.is used b:r nn inmate tor
          the purpose of perpctrnting his escnJlC from jail, I think thnt i:0 illicit
          manufacture, and suc11 guns lio.ve been mnde in prison, in prison
       ' runchine shops. '
             ).fr. FREAn. It turns on,t.he~tive?
              ~fr. FRE1>tllTOlt. Y!'s; it turn    n tl1e motive.
             Mr. FREAR. How nre you aoin0 to determine that in ndvancc?·
             )..Jr. FREDERICK. I do not !;ow or llb.y wo.y in which you can got
         'at that. I o.m.simply saying thnt the nctunl mnnutncture of pistols .. ·
         is an ensy tl1ing. It is not t.lie extrnordinnrily complicated trick which
         mo.ny _peopl~ think. ·In the snme \\11Y ammunition can be ensily mo.de
          or easily proeur~d. .       . ·                           ·         .
             Mr. CooP.ER. l\tr. Frederick, I understood you to SO..Y' that you
          drafted the act whi~h WllS passed for the District of Columbia?
             Mr. FRllDERIOK. I drafted tbe origirial act about 1922 and worked
      ' .with the National Conference of Commissioners on uniform laws in
          mo.king successive i:evisions and improvements of that s.ct up until
          the time of the futal adoption of thw redraft of-it. . This act in the
          District of Columbia hns 11. few minor changes from ·that standard
          form and 1 participated in the prcpai'ation of those chailges. I do not
                                      .
          want to say that I personally did it, because I' did not.. ' I helped .
                                              JA156                        Exhibit A, Pg. 772
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                  Mr. COOPER. The act. rnssed for tne District or Columhih Wll.s llti
 ' .,         1,eBSt in~arti the product o your effort'l                      _
     ~-· . ~ ' .' Mr. FREDERICK,· I helped from the beginning.
                  Mr. Cool'ER. And bndyour completeapproval? ·
                  Mi. F nEDErucx. Yes, sir. And I belpO'd from t he very'beginning,
                  Mr. Cool'.ER. I understood you to criticize the definition of mo.chine
               guns contained In the pendinJ? bill. I invite your nt,tention to I.bis
      _ • provision of the District o( Columbia Act, under the bending
             · "definitions."      ., _              ·      ·
              "Machine gun", as used i' n this net, means any firclll'm whi~b 11hools nuto-
            matiCAlty or'eemi-automntically more t hnn ~ 2 shots without rc;lonrling.
              Then I invite your attention to the provision of the ponding bill
            as to tl1e defi.illiion or a. maohine gun..                .   '
        ·      The term "ruacl1lne gu11 " meaTUl auy woaJ)OIJ <fcsisned to 4l1oot 1tuiomnticnH v
            ·or semlautomatically 12 or more shot s without relolfiling.                      ·
                  I will &Sk you to killdly point out to the committee the difference
              between those t wo definitions.
                · Mr. FREDERIC~ I take it there is no essential difference. 1 may,
              however, answer what I take to he your suggested criticism, '1.Y
             saying 'that the uniform Fi.rearms Act related e.~clusive.ly to pistols
             .lllid it had not any provisions whatever relating to machine gwtS
              w~ch we. ~go.~ded as . p~op~r subject for .separate legislation i th nt
              tlus proV1S1on m the- District of Columb111 Act wns added nt the
              request of tl1e police toTCes hei•e in tba D istrict or Columbin. l h1td
              no/art in the preparati?n-of that clefinitio~ ,or that part, ~f the net,
              an I would not regard it as n proper definition of a mnclune gun.
                 ·-Mr. CooP.ER. And yet tllab definition is contained in the net which
             you so.y had your npp'roval.
                   Mr. FnEDERJCK. As i. wl~ole, it had my approval; certainly.
                   1'.lr. Coo PER. And that \\rll.s t he de.finition tliat met your approvnl nt.
 •            t.he time the District of Columbia Act was p assed by'Oongrcss, and iL
              contains essentia11y the same definition as is contained in tho pending
               bUl?            .
                   Mr. FREDERICK. Quite true. ~fy approval of that not wns tt
              general approval, o( course, nnd I m uy very well have had one or two
              mental resen-ntions as to minor i1ortlons of it. But ns a ·whole I
              approved the net.
                   Mr. CooPEll. PllSSing o n to other pbuses of this hill," ill you please
               point out the other objectfono.blc fe&tllres that you have, briefly, and
              without elaborntin~ to such greo.t e."ttont? Just point out to us whl\t
               you think the additional objectionable features n.re to the pending bill.
                   Mr. F rrnDEBlCK. The bill makes no provision whatever for r.n
               exception of antique OF obsolete wcnpons. I ,bnppen, and there t1re
            . ,thousands oC other people who happen, to he the owner of obsolete
                weapons.. They are pistols "ithin the definition of this net. Theo·
                retie'nl.ly, they might he used, but I have neve!· henrd....o! one being
                used in the perpetration c;lf a. crime. They a.re found in the museums
              .and in the collections of private collectors. You carinot imn.gine n
                hold-µp mun using a flintlock, or a wheel-lock pistol.                    .
                   Mr. LEWIS. How far back would y ou go in· point or time to drll.w
                the line between antique and present-day weapons?
                   ¥i°• Ji'n~DERIOK. I.would S8f ~b.at We should eXcept. nbsolete or
               ..mt1qua .p1stots possessed as cun.os1t.1es or ornaments. .
                                                  JA157                             Exhibit A, Pg. 773
                                                                    t ..
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                            .   .                                                     '
          T think there should M on f!l(emption relating to such collect.ions
                                              as
       1ind I O'lll1 sugi;est tbAt if I h!ld, I hava-, 300 or 400 or 500 $UCb 01a
       weapons, and il 1 happened t.o move my reaidonco to New Jersey
       \Jnder this bill I would hnve to get 11 separnto license.for every one of
       those 300 or 400 'Or 500 weapons,. in order to lei;1illy tTanspo.rt ~hem
       to New Jersey.                           ·          .
          The CnAinlfAN. J{ thtit, were tnlcen cnr11 of, would that :romovo
       :yot1r ob'jcctJon?                ".                     .                ~·
          Mr. FREDERICK. I nllly rem1.nd you that thi.! bnst.nes 0£ numbermg
       wc11pons is a inodem devico and it is·n ot found in the olde.r we.upons.
       lt is impossible in t.be cnse o{ many of the older 'venpo~ to oomp ly
       with the t.erma of this hUI by giving tho descriptive numbers. I have
       dozetls and hundreds of we().po11$ o.nd r cntlnot tell who made thnm
       There a:re no distinguishing marks upon therrt. They were mado by
       hnnd up until a little more tlulu n hundred ycara ugo.
          Mr. DtCKlNSON. I wilJ n,.qk you whether or not this bill interferes
       in u.ny way with the right of o. person to keop nntl bcnr arms or his
       right to ba secure ill his f!Crson ugninst unl'CllSOtlll.ble settrch; ill other
       words, do you believe tl11s bill is unconstituli<>no.1 or thnt it violnws
       nny coil!!titution&l provision?                                             .
          Mr. FnE1>"ERlOK. I bnvc not. given it nny 11tudy from tbn.t point of
       ,·iew. l will be glo.d Lo 1111bmit. in writing 1n,y views on th.at snbject,
       but I do think it is a subject which deserHis serious thought.
          Mr. DtcKINSON. My mind is running nlong the lines tha,t it is eo11-
       11titu tionnl.
          Mr. McCORMAok. You lmve been Jiving with- this legislntion or
       folloWin_g this type Of JcgisJu.tion for quite fl, lltllObel' of yenrs.
         Mr. li'nEDE:RiCK. Ye.a· I bo.ve.
         MJ'. McCo!UolACJt, T(\e foct thnt you hn.vo nolt ·considered the
       constitutional aspect woul<l be pret.t y powerful e.vidence, :so for as
       l nm concerned., thn~ you did not think Uiat qncstion was involved.
           Mr. Fru!o1uncK. No; I would not 8.8\Y U1t1t, beco11se my view hns
       been thot the Unite.a Stntes bas no juris<liction to .uttcck t.bis problem
       dir~tly. • I. think tli'1't und~r the q<>nstitutioo. the United States has
       no JUnsdfot10.n to lcgislt1to m n police sense with respect t-0 6renl'Dl.ll':>
       I think t hat is exclusively n mo.ttcr for Sta.to regulMion, and I think
        t.hnt the oniy possible wny in which tho Unit.id Stiltes can legi.ilate
       is through its trucing power, which is an indirect method of approaoh,
        through 'its control over interstate conunercie, which was perfectly
       proi;>erJ and through control over importations. 1 have notconsider<ld
        t.be ma.ire.ct method of npproaeh WJ being one ~·hi.ch was to be seli.ouflly
       considered until t.he bill began to be talked about..             ·
           Mr. M~Co!D'A~ Yo.u w~uld not ~rio'!alv consider that tbeN was
        any constitutiannl q11ostion mvolved m this bill. would you?
           Mr. FnllDEtUCK. I think this bill goes pretty for for a revenue biJI
       in the direction of setting \tp what n.r(t essentially police regulations.
       . Mr..McOoltllAOK. Congltlss possesses tho power, if it is reqtiired, to
        exorcise the trucing power for the regulation of social purposes.·
.-   ,     Mr. FaEDE1ucx.. l know, and it has been frequently e1tercised, and
       l suppose that Co.ogress cnn pa$, under its t&xirig p.ower, what nre in
        effect, ~atory statutes1 11.5 it has in iruu~ iostAnoos, sueb e.s tho
       IM:ls relating to oleomargAtine ~nd other thmgs..
           Mr. McConMACX. I q"Uito t\gl'OO with you. The t-houg.ht in my
                                         JA158 the const.itutiottBl
        mind WRS the faot you had notcouside.red                         phase,
                                                                      Exhibit A,anit
                                                                                 Pg. 774
                                      •
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        being the student you nre, nnd following this pllrticullu· t>y~ ~gjs­
          lation: as closely as you ho.ve, it would be n powerful pieety6f uvidexwe1
       ··and at least I would draw tbe ' inJerencc, iliat you did not' think the
          question ,was.seriously involved.             .                        /,
            . Mr••FRl:l>ERICK. I may say tho.t approached lls n tnxiug proposition
                                              n
          I am personally of the opiniop, as lawyer, t}.lnt Congress may legis-
          late in.the way of tnxing certain transactions witl1 respect to fireurms.
          That,.I tbink,' is clear.                 ·                  · ·
              ~r. LEWIS. Mr. Frederick, the automobile is n d1wgeroos, even n .
          deadly ,instrument, but never intention'allv ii <londly ll,1strnri1<'nt 1 of
         .course. ~tntes uniformly llll.ve taken notice of the danger to the
          innocent pedestrian and others involved in the us!!' of the nutomobile.
          They bAve £et up around the privilCf(C of i ts owne:rshlp and .o.rero.lion
          a complete regulatory system consistent with reasonnble nghts to
          the· use of the automobile. Approaching the subject of fuenrms,
          would you not consider thnt society is nnd<'r the ~nrue dut'' to prot0ct
          the inno·cent. that it is with rcgnrd to the automobile end 'that with 11
          viow to the attainment of that result, the person who wislil'S the privi~
          lege of bearing firen.r ms should submit to the same regulations os
          rigid as the .aut-0mobile owner and driver is required to nt"~eptf
              Mr. FREDEntCK. You l11wa rnised n verv interesting miology, oue
          which, to my mind, has a very decided bearing upon the prnctfou-
          bility and the dcsimbilil.v of th.is tvpti of legislnt.ion. A11l.0111ohiles ..
          nra 11. much . more essentfo.1 instrument of cl'in1e tlum ph;tols. Any, ·
          pol~ce offiC!er will tell yo11 tl1~t. They_ nre much n1ore dnn:::e1·011s ~o
          ordinary life, becnusc tl1oy kill 11pproxm111telv ~0,000 puoph~ 11 ,1;en\\
          The extent, so for as I know, to which tue Government, or tJ1e C1m•·
          ~rcss, ltns l\ttempt.ed to Jegislnte is with respect to the tttulSJ)'ort.ntiun
          ID interst1tte commerce of stolE'n \·ehicles, which appn;rently hos
          accomplished very useful results. Tltc rest of the legislation is i<'ft
          tu the Stntcs1 und in its effect and in its uwde of enforcement, it is n:-"':>
          wholly rcns(lnt~hle nnd suitnble approach, liecnuse, iJ I wont n license
          for "?Y cnr I can gen it in 20 .r,ninu tes, by co111plying with cel'tain
          defimte and well-known regulations.                             ·
              M.r . LEWIS. And qunlifyinrt:.
              Mr. FR~DE~tcK. ~And quolifying, yes, ~r.. I do not ha'';& to prove
          I am a driver in order to get an automob1le license. I dQ m order lo
          get a personal driver's fo~ense, of course. Complying with the re-
          gulations, I get tbat automatically, as a matter of course. If I want
          a pistol license, lllld I have bad one for a number of years in New
          York, it takes me 6 weeks to 4 months to get that license, und it
        . costs me nn enormous amount of persona] bother and tl'ouble. The
          difficulty in a. sense is in t he manner of administration and we know
          that that which is oppressive can be . put int-0 the administl'ation
           much more effectively than into the law; it is the wny the thing
          works. I have no objection, personally, to having my fingerprints
           to.ken, because my own fingerprints 110.ve been taken many times,
           but I do object to b eing singled out with the criminal element and
           havin~ my fingerprints taken and put in the Bureau of Crimiiial
           Identification because I like to use a pistol or because I may need
           one fQr self-defense, whereas automobile owners e.re not fingerprinted
        . and are, as a class, a much mor(l criminal body, from the standpoint
           of percentage, than pist.ol licensees.                  .
               The CeAtRliAN. Do you make that statement senously?
                                              JA159                       Exhibit A, Pg. 775
       ..                       _,_,__
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              '.\fr. FREDERICK. Yeei, sir. .                 ,-                .        .
              Tbe Clt.AJRMAN. Tli'at the ordinary man who owns and operates .~n
          automobile is more likely t-0 be a criminal th{ln-the man who aims
          himself?             ·          ,.                   ' -'              · ·    -
              :\lr. .FREDERICK. You hnve not krpt the sharp lines of distinction.
              Tho CHAIRMAN. Thc.v nre too slia.rp for. me to grnsp.-
              '.\fr. FnEDEntC1'. I said pistol licensees, those who hnve gone to Uu~
          tl'Oublo of securing o license .to cgrry .\vcapons, p.re n most lnw-nhicfing
           body, urid the· perpetration of 11 crime by s11ch n licensee is Qlrnost
          u n kno\\-n.                  ·
              The CHAIDMAN. Thr~t l111s 110 unulogy to your first statement.
             · '.\tr. FnEDERIOK. It 1s not by o.ny means unknown for· a person
          witl1 nn automobile license to connuit a crimo or to use t.hnt nutomo-
           hile in tho pl'rpotrnt.ion' of a crime.
              Tho CHAIRMAN. B'ut you say that the man " '110 buys a pistol is
           much more likch: to be u law-abiding citizen. On what do you base
          11111 t, stntcment't' }fo.ve you nny statistics upon whicl1 to base that,
          ar is it o. guess'? MY. guess is ns good as yours, b11t if you have any
          stlllistics we would like Co hn,·e tbem,
               ~h-. FREl>ERIC1'. There. nre no stntistics on thesu mnttcrs but I
          hnve tried-my best to get such inforinntion as is available Iroru the
          Xcw York City, police nnd from the records of ot.lier police authorities
          nnd from the State police, 1111d my statement that automobiles are
                                 to'
          11mrh more essential cri.Jf\e thnn pistols is a statement tbnt bas been
          ninde to me by numbe1'S of high pohce·officinls and 1 say that in licens-
          ing nutomobiles no such degree 0£ caro is taken ns is exercised in gh-·
          in<~ licenses to cn.rrv pistols.        .   .
          · 'Tli.e CHAinMAN: Then, if I understand you 'Correctly, instend of
          !urtl1er limiting or restricting :.he tr11mc Ill pistols, maclune guns, and
           deadly. weapons used by tbe criminals and racketeers, you object to
           the restrictions which no\\· exist? l understood you to say that it ii;
           too difficult to secure a license to carry & pistol; that it t11kes 4 months
           to r·omply with the law, and I understand your position is that.instead
           of lun·ing furthl.'r restrictions ond limitat10n.s, you think the restric-
          tions are already too l1arsh?                                            ·
            . '.\Ir. FREDERlCK. I think they 11re, so for i;s my cxpetience goes in
          Xew York Stntc, 1md I am rl'fening to tl1e l\ew York statutes.
              :\fr. f\fcCon~tACK. You made an interesting remark in response to
          one of J.lr. Lewis' questions wh~ you said that weapons encl aut<r
          Jnobilrs nre an interest.in~ 1.1nalogy. You. recognize the denr line of
           distinction and demnrcation between · a weapon and o.n nutomobile,
          so fill' as \t.s being inherently da.n gerous is concerned?
              )fr. FuED'ERICK. 1 think the automobile is dangerous.
              '.\lr. McCORMACK. I understand it is dangerous il it is negligibly
           operated. \Yonld not the interesting analogy he more between a
          pistol and 'dop~ peddling? Would not that he a closer link than the
          link-up of a pistol w;tb an automobile?                   -
       ~·     '.\Ir. Fi:tEt>l:lllCK. I do not think so.
              :\1r. McCORMACK. Tlle use or dope is recognized by mankind as
          inlu."rently hnnnful to the human being. "
              :\lr. FasoEnLCK. Except IJ.S prescribed by ph.ysicio.ns.
           . .~fr. M;'CCoRMfCK. Thnt 'is the exception but, as a ~eneral rule, it
          13 recogmzed as mherently dangerous. The same apphes to weapons;
           they al'6 recognized as inherently dnngerous.                  •
                                               JA160                        Exhibit A, Pg. 776
                                        •
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           I,

      '·         ·Mr: FRED£1uox. I do not think so.
               Mr. McConMAOK. What do people buy weapons· for? ·
  ,            Mr. FR"EDEntox. People buy weapons for sevel'nl vurposes; 011e is
    •. .: · ·for the J>rotection of the person· or property.         ·   .
  ·          · Mr. McComuox. That clnss of people have no fo11r About ren-
      .         sonable licens~ requirements.                    ·-
                    Mr. FnEDEnrcx. Not reasonallle requirements.
                    M;'r. McO~nMAcK. They have no fear' of reasonable reg11Jotio11s A~
                to licenses,. tf the weapons are·· necessnry to meet. 11. cl1allenge t(I
                organized society.. ··             .                                    ·
                    ~· ~EDE~cx. They ~~Y pi(>tols a~so to use for the purpose of
                training,_IIi tlio event of nuhtary necessity.
                    ¥r. McCoitMAcx. Those perso~ nee<l not fenr rensonable re~11-
                lations.         l     .
                    Mr. FnEt>Ent011<. I beg your pardon?
                    Mr. McCORM;\cK. Those persons ncetl have no feat of reasonable
                regtilations.      t                                .
                   Mr.. FREDERIGK. I tfiink our difference ·may t.urn rntirely upon
                what is reasonable.                                     ·
                    Mr. McCoJtUAcK. You are not opposed to regulation?
                    Mr. FREDERICK. Not at an; I have.Jld\•ocnU-~ it.
                    Mr. McCORMACK. You are not opposed to a Fed!:'rnl bill?
                    Mr. FREDEnICJt. Provided the bill will accomplish \Jseful 1·l•s1tlls in
                tne suppression of crimE\, I am beartily in favor of it.
                    Mr. McCQRMACK. You have given two groups who buy pistols.
                    Mr. FREDEiucx. Anotl1er,group is those who indulge in the u&e of
                pisto1s in connection with sports.
                    Mr. McCon11.f cx. That group need not.fear nnyproperregul ntlon.
                    Mr. FREDERICK. Any difierellce t.h nt we may have, o.nd r do not.
                know whether we ha11e any, turns on the question of what is rensonnble.
                    MT. MoCoBMAOK. I agree with you; you ood I havn o. meeting of
                the minds on tllllt. What other group is interested?
                    Mr. FnEnERICK. At tho moment I do not think Qf any.
                    Mr. MoC'onMAcK. Then there is the crimfoal group.
                    Mr. FREDERICK. Yes; nnd that is the one group we 11to nfter.
                    Mr. McCORMACK. That is the only group who would object to
                regu)ations.
                    Mr. FnEDEtUCJ>. Ye!i; and it is the only group thnt has never been
                 touched.
                    M.r. LEWIS. In your study of the State regt11ntory systems h ave you
                found that they provide th• men who h ave been convicted of cnme
                 shAil not have licenses?               {n        J
                    Mr. FREDERICK. They have, nnd t. at is O.'Provlsion of the uniform
                 ~.                                         /,
                    Mr. FnEAn. We nave spent abouy an l1our nnd n hnlr on this
                 matt.er ~nd we hnv~ ~tt.en <;>nlY. to p~g~(3. JV~ wllJlt your objecti<?ns
                 to the bill. All this discuSSion 1s vety ifiteresting, but why not point
                 out the difficulties in the bill?    /~                     .
                    Mi. FREDl'micK. I am llfraid that ierely runnins ovev a brief list
                 of objections is not~oing to accomp1ish much.
                    Mr. FREAR. Do (y.ou not wan t'o be beard by t11e eommittee?
                     Mr. FREDERICK. 1 am an~u          be heard.
                    Mr. FREAR. Con 'vo\1.4oint o t, without interruption, U10 'pro-
                  vislon.s to which you object?
                                                 JA161                        Exhibit A, Pg. 777
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              Mr. FnED:Entcx. In my opinion: the provision !or 611gerprints mil
          11ot o.ccom·plish what is dllSiretl.           .           .
             -Mr. Fnun. Suppose w~ strilce that out.
              Mi. FrumERtCK. I would like'to mention ti.tat the hill relates to the
          taking or fingerj>rints and refers to corporations, assoeiations, and ·•
        . partnerships. I do not know how the fingerprint of any officer of .
          such an association o:r corporation can have value.                •
         "· Mr. FREAR. Adntltting your answer is ~orrcct1 thnt is not serious,
          \Vhatisyournextobjection?                              .     .          ·
              Mr. FREDERICK. l llJil quite concerned al}out the amount which is
          suggested ~,n · p~ 81 line 15, for _a perm.it to transport in interstate
          commerce. .                                      •
              Mr. li'REAB. V'l1hnt would you recommend for that?
              Mr. FREDERICK. I-think, inasmuch as I deem the primary purpose
          ofthls bill to be purely regulatory that tliRt ought not to be bur<len-
          some. I should make it as nominal as possible. lt se0ms to me that
          25 cents is ample.
              Mr. FnEAR. Or 15 cents.                                                •
              Mr. .F)~DERICK.. Fifteen cents or 10 cents, or anything which will
          not prevent complinn~e with it been m;e of its ~}ll'delisome. nature.
              Mr. Fn&A.R. What IS next?                             ·
              Mr. FnEDEnicx. There is no provision in the ·net covering the
          situation of nn 01vner of a weapon who loses this stnmped order.
          As I see the operation of the bill, it will mean this: When a mnnu- · - .
          foctl!rer sells n weapon to a jobber, he ~ves a st~ped ord~r; when
           the Jobber sells the wenpon to the ret.ailer, ossurnmg we still allow
           jobbers to exist, he ~ves a second order toget11er with the first.
          When the denier sells to the buyer, he gives the t.hird order and the
           two previous ones, nnd the buyer gets the gun nnd three pieces of
           paper. It is essential to him, in order to keep out of jail, to keep
           tho'se together..             ·                          ·
              Mr. .FnEAn. How would you s~ggest bnving but one piece of paper?
              Mr.. FnEDERlOK. I thjnk the only piece useful is 11 piece ol pnpor
           where the transfer takes pince between two persons, one of whom is
         . not a. lice.nsed dealer. In other words, if I, as n private individual,
           sell a gun to a friend, n piece o( pa.per is necessary there. Where n
           denier sells to me ns a buyer, n piece of paper should be useful. I
           do not think a string of prior papers are of value running from the
           numu!aoturer who may be required w k'eep reeords. In the second
           place, when, a.s n matter of human experience~ the owner of n gun is
           going to lose papers, they nre going to get mistnid, they are- gomg to •
           get but.ned up, if be cannot turn them up when required to do so .
           he is liable tO go to jn.il. I think there oulilit to be ii simple method
           of Qbtnining n C(JPY of t.hat p11per from tT1e authorit.ies with whom
           the original was fillld.
              Mr. FnEAn. 're might attnch t'l 11u111ter plnte to thc- pistol like we
           do to the automobile, 11s sm11ll r.s is necessnry, nnd hnve thut be eri.·
           dence of the prh·ilei:re of ti·n.nsfor. You only wnnt ono?
              ~Ir. FREDERICK. I think the owner ought to be uble fu get one ii it
           is Jost. 1 think thnt machi.r.cry ougl1 t to be mr.c!e simple. U "n.t, io
            the 11et1111l operntiun, you ·Rrt' i;oing to crcntc orimiuols.
              1\1r. FREAR. Wlint IS tlic next objection?


                                        JA162                     Exhibit A, Pg. 778
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                                      .   .FIBEA"BMS AOT  .
         MT. FREDERICK. On page 7 it sais: .-
        Whenever on bin! for a violation of this section t11e delcmdont is ~ho~ to h~ \'C: .....
      or to have bo.d possession of saoh imported firearm, aueh p6$fielJ8iq.i\~l1nll be
      deemed auffi.cient evidence to authorize conviction unless the- rlcrcmdnnt cxplnins
      sac~ posseaaioo to the satisfaction of the jur~'·   ·      ·
       · Mr. FnE.AR. That is taJ;en from the other 11e.t.
          Mt. FREDEIUCK. I do not untlerstnn<I why it, sho111tl hr ncr.rss~r.'·
     . ror such n person. to go to tri111.             -.                                          •
          Mr: FnEAlt. You• think thut lnngungc is too loose?
          :Mt'. FitED.}:1ucK, Too loose n'ncl too· <lroi;tic.
        . l\lfr. l'ru~Alt. You migl1t write 11 suhstit11tt'; we w1111t your ~llf!)!:C'S•
       t10ns.                          . .                                             ·
          Mr. F1tED1:mci;. I o.n1 sklppin~ nrounci wmewlint, ns l nm soi•ry r ·
       have to <.lo_ On page 7, section .10, 1 do not know wl111t that J1111g1111;.:«'
       i•nothing·contnined. ili this section shnll apply to nny mnnufoctllJ'l'I',
       import.et, ·or denier who hos complied with the provisions of sl.'rtion
                                                                                             I I
       2 ", menns. I suppo;ie tb~t lllC~IS Lhnt he ~UIS takC'n out I~ license.
          Mr. FREAR. 'l'ho.t is satisfactory as far ns 1t goes?         •
          Mr. FREDERICK. I should like very mucJ1 to hnve the privjl11ge ?f
       submitting some suggestions in writing, if l may.              .                          •
          The 0HA1RMAN. Without objection, you may do so.                 ·
          Mr. DICKINSON. Let me so.y that I hnve received numerous tell'· ·
       grams asking me to support ~egisla.ti1m along the lines, of the recom-
      mendatiol!S of the N at1onal Rifle· Associatfon. Your Imo of thought
       is in accord with the things udvoontecl by the Nttt,ionnl Rifle Assodn-
     . tion? -                       ~
          Mr. F_REDEn1cx. I nm pre~id0~t          prthe Nntionnl Rifle Associntion
                                                                                                   •
       and I think l correctly vo1.ce its v10ws.
          Mr....DtcKJNsoN. Your .p urpose is to submit to· this committee
       recommendations desired by' the National Rifle Associfttion in con·
       neetion with this bill?
          Mr. FREDERICK. Among tha other organizations whoso· views I
       voice.          ·                                                                 ,
          The CaAtJWA.N. When may we have your written suggestions.?                             •
          Mr: FREDEn1cK. l will get at it this afternoon and try o,nd Jet
      you have it as quickly as 1 cnn. As a lawyer, l know that the drafting
                                                                          to
       of legislation is an extremely difficult job. Yott have.. do a loti of
       checking, and it is a difficult piece of work.         ·         ·      ·
          Mr. HrLL. When you do that, do not foi:get that we nre 1lfter th<>
       gangster.             .                                     _        ·· "           ,
          Mr. FnEuEtUCK. You ha:ve put· your fingllr on it. My. general
       objections to most of the re,,,aitlatory provisions nre,proposcd wit.It
       that in vfow. l 1Jtn just as much against the gangster as any man.
       I am just as much interested in seeing him suppressed, but I do not
       believe that we should burp dow11' the bo,rii in order to destroy the
       r~ts. I am in f~vor of some more skillfu.1 f!lethod of getting the l'l)ts
       withottt destroym~ the barn. In my opu11on, most of the proposnls
       the regulation o;" firen'rms, although ostensibly, nncLpropcrly o.i.moo at
       the crook, do not reacl1 the crook nt nll, but they do rearh the l1onest.
       man. In my opinion, tbc forces which are opposocl. to crime consist.
       of two general bodies; one is the organized polire n'nd the second is tlit'
       unorganized victims, the great mass of 1tnorg11,nizcd h~w-nbiding
       citizens, end if ~01t .destroy t.he efl'ei:tive oppos~tion . of either one of
       those,. you aro mev1t0My going .to mcreose n1me, _because ·os ron ·
                                             JA163                              Exhibit A, Pg. 779
                        ..
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                          )                                  -
       destr~y the forces of res.istnnce in th~ human body to disease, yoti· are
        going. to increase disease. So, by. destroying the resi.stance of any
        body \vhit'h is opposed to crime, you are going to incJ'e11Se orime.
        I think we should· be careful in considering the netual operation of
        regulatory meo.sur.es to make sure that they do not hamstring the
        law-abiding citizen in his opposition to. the ('rook:                 .
           Mr. KNtJTso~. There is.no oppositli>Ji on the part of the Victims?
           Mr. FnEDERICK. It is not a 100 percent effective~ or course, the
        riglit of self.defense js still n usefol th.ing.         ,
          Mr. KNuTSON: ' It is 11 right, but 11n ineffective right under the
        present si t1111tion.                                           '       ·
           Mr. FREDERICK. I would be interested to s l10\v you tl collection
        which I ho.ve made of newspnper clippings indicntmg· tl1e effective
        use of fireorms in self~efense, ns n protection ngninst·tho pe11pet.ration
       of <!rime. B ecnuse of 11rgurne.nts wbich lmve been advanced by those
       who ore ng1'1inst the' use of guns, I have made it my business to elip
      ,from Jlewspnpers pnssing over my desk su~ses ns T :run ncross of
     . effective self-defense -with pistolj;, most o1 Utem pl:>tols. l have e.
       scrnp bock two thirds Cull and 1 <'nil show yon dozen!? and hundred
       0 £ CQ!:;6S happening CVOl'V' year.                    \           . ,
          Mr. FREAR. How mn.Ily in this room hl\VC pistols in ~heir pockets
       for sel f-defeuse?                        ... "·        · .__
          Mr. F.nEDEnrcK. I doubt if nny bo.ve.                                     •
          Mr. FnEAR. I doubt, unless 1i mRn nnticiputes danger, that he is
       going to cnrry a pistol. Y 011 lin.ve looked ofter t he clippings of t he
       man wlio has used a' revolver in·setr-defense. How mnny men cnrry
       revolvers? What percentage of men carry r evolW!rs?
          llir. H.ILL. Quite o. few'tro.veling in nutomobilos.
       . wlr.     FREDERICK:. There nre u. good mil.Dy.              ..
          ?vfr. Fin:.A,n. 1 !llll llSking under present conditions,
          ~{{. FnEDEnICK. I hnve Jlever believed in the general practi!•e of
       ('arrying w~npons. .I seldom carry one. I hilve when I felt it was
       desirable tio' .do 1;0 Cgr my o·w1l protection. I ,kr.10w t!1at appli~ in .
       most of the mstnJlC'es where ~s ar-e used effectively m self-defense
       or in plft'ce.-< o{ btt!!incss. 6.Dd ;n- the ho1nc. I do not believe in the
       general proniiscuous tvting nf glins. l think it should be sharply
      .restricted nnd only u;.ider, licenses.                                     •    , .. I
          The Cru.rtt~.AN. '\\1'heit d.ld )•01lr Kssociat.ion decide to .cal] on Con-
       gress for le.gislntion dealing ·w ith thfa subjer.t? Jud:;:e Di<lkinson 1e!ers' '
       to .telc~roms urging hiil1 ta ·suppo~·t such legislation, When did you
       determine to come before .Co~wess 11nd ask for su{'h legi~lation as
       you now have in mind?              .             ·   ·
          1vl r .. FnEDt:nrcx. I do not. understand thut our association has
       decided to urge n.ny nat.ionul l<•gisl.ntion by Congress, and if the tele-
       grams or mcP..sages whlch mny httve com4,1 to Judge Dickinson indicate
       ~hnt the sencfer:i hl!lieve thut we .arc sponsoring som~ particular .bill
       In Congrcs.'!1 or mtend to do ~o_. they n~e bMcd On' n l}USB'Pprehens1on.
        · The C11AmM.AN. Your only mtcl'cst 10 the matter 1s created by tho
       introduct<ion nml consider11t.lon of this bill? If it W61'o not for this
       bill you wo11ld .not be here, nor would you bo taking any inte.rest in
       the mnt.tcr' or bringing it tQ our nttention; am I right?
          Mr. FnEDEJUCK. Iri 011.r opinion, little of vulue can be accomplished
       by Federnl legislntion on l;hla point\

                                           JA164                         Exhibit A, Pg. 780
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               M r. Xt1o'l'soN.' Is it your i bougbt to submit a substitute measure
            for H..R. 9066 and at the same,time not infringe unliecessnrily on tbe
        , .rights of law-abiding citizens?                  '
              ·Mr,.FnEDEUICK. As I ~y, I have grave doubts ns to the effective-
     J ' ntlss of any such legislation.
    · ~· - Mr. HILL. You concede the:rs is n. necessity.for somcthmg. Jo
  ._ . politics we have e.n old saying tho.t you cannot beat somebody with
           nobody. You cannot hope to d1ifen.t 01· m11-terio.lly alter the legisla-
           tion uiileas you submit to the committee somethlrig that is better or
           tbnt will better attain the object that this legislation seeks to 11c-
           complish.
               Mr. FBEDE!UCK. I must differ with you in principle upon one point.
           l do not belicye tbo.t Congress or the ~pie back home want us to
           attempt miracles. lo my opinion, baaed upon a rather extensive
         . experience with this ~ubject and att1dy !'! it1. very little o! practical
           value can be accomP,lisb.ed by Federal legJslat1on on the pornt.
              Mr. RILL. I take it then that it is·your opinion that the crini.inal is
           going to get firearms regardless of any l aws.                     ·.
              Mr. FREDERICK. I thllik that is the opinion Qf any per.son who has
           knowledge of the subject. In moat instances, t he guns are stolen.
           They are not~ gotten through legitimate channels. Dillin~er s tole
           his guns. J have a half-dozen, cases where guns have been usedjn
           prisons to efi'ect a break; we hav e had that in New Yo1·1', and all over ,,,
           the country. If you cannot keep guns out of the hands of crinunals
           ill jail.a, I do not see how you can keep th.em. 01.1t of the hands.ol crimi-
           nals walking a.bout on the publio highways.
              The CHAIRMAN. If that be true, then. the lo.we of the various
           States of the Union dealing with the subject, are not accomplishing
           a good purpose because they do nof put them all out of business?
       - Mr. FREI>Enlclt. l do not talce that view of it e.t e.ll. l believe·in
           regulatory methods. I think that malces it' desirable that any such
           re~14atio~. imposed should riot impose undue hards~ps ,on the ~aw­
           abuling-c.'1tizens and that they should not obstruct hiin m the oght
           of self-defense, but that they ahouJd be directed. exclusively, so for
           as possible, to suppressing the criminal use, or punishing the c riminal
           use of weapons.            .                                                 ·
              The CHAIRMAN. You spoke of your IDcperience, which we realize is
           valuable o.nd extensive, in dealing with this matter. This bilL con-
           t.em.plates the suppression of crime and the protection ot law-abid1ng
           eitizens. Do you consider that your experience and ·your· knowledge
           oi this subject is s:1perior to Uiat of tho Department of Justice? Do
           you consider thl\t your exl)ericnf,e puts ,you in a better position to
          say wlint is necossary to accomplish the suppression of crime than
           the Depnrtment or J ustice?
              Mr. FnE.1,,EnICK. I hesitate to set myself Ut> in any. compwative
           eensc, because I rec!lpize the p'restigo of the Department of J•stice.
              The CpAlRMAN. t ou reoogmze also thoir experier,ic-0 in dealing with
           this subject?                          ·
              Mr. ·FnEot:mcK.' Their experience, .l th~nk, has bee~ eom_pnratively
           rocent, I think· I may tfuthfuUy say this, and I think Mr. Keenan
           would agree with me, that I have given tnul!.h more study to the prob· '
           lem of firearms regulaiions, extending over a longer period of time l\D'd
           going into far greater detnil1 thlLll any man 00-  an     of tl1e'mon in the
          D epartment of Justice.                                               ·         ·
                                               JA165                        Exhibit A, Pg. 781
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           'The CuA.1RKAN. H.88 your experlenoe been with l,M sole purpose
        of dealing with crin1e?                                • '
            Mr. FREDERICK. I have never beon a prosocuting attorney.
     ,_, Tho CHAIRMAN. One of the.purposes ,{the Department of Juatfoe
        is t-0 deal witb crime.                             ··
            Mr. FnEDElU<lK'. I have approached it as a cjtizen interested 1n tbe
        public welfare, and the au.b ject of critne has been a m1ttter I have been
        oeeply intel'ested in ever since my college days, 30 years ago.
            Mr. liu.i.. You expressed tho opinion that perhaps any legislation
        would not be effective to keep.firearms <>ut, of the hands of the criminal
        element. ·            ·              .                               '
            Mr. FnEJ>EnIWC. l am quite sure we cllfwot do tllat.
            ?vlr. HniL. Assumin~ that is corroct, Ellid I nm tiuro a greo.t·many
        might a~ with you1 if the fuc11rms a.re Iounci in the possession o! the
        <Criminal element1 amt they cannot, under the provisions of this act, or ''
        of !!Orne s.imilar legislation,. show that tliey o.ro in lawful possesaion o!
        those firearms, would tliat.not be a weapon in the pands of the Depart-
        ment of Justh:e in enabling them to bold .those criminf!o}s until further
        investigation might be made of the crime~
            "Mr. 1''RED~RIOK. I think so, 11t1d· I made this suggest;ion · to Mt-.
      " Keenan 2~ months ogo1 tbRt wlienever e. ·.weapon, a firearm of any•
        kin~ and I would not liniit it to pistols..:...r would say ri.f:les on shot-
        gune-.is found iri the hands of 1.1.ny person •who has been convicted .
        of a crime of violence,. because there are many crimes which have
        nothing to' do with tbe use of firearms· and tJ1ab is why I make the .
        tlistinction; and i think he su~ested that we add to that any person
        who is a fugitive frqm justice-that mere possession of such a weapon
        should be prim11 fade evidence of it;s transport6tion fo interstate
        commerce, and tluit tra.nsporto tio1t in interstate l!omme~e of Wl!&pons
        by t.b.ose people be made a c1imo.                           .
            ~fr'. Hrt.L. WJ1at do you do with a man who has never been coni..
        victed of a crime nlthougl1 he mny be a crimi11al?·
            Mr. FREI> ERICK. l' do not k11ow of any,, way in wlrich yott Ct\ll
        catch ell the dirt in U1e stream no matter what kind of a skimmer
        you may use.                                                   .
            Mr. H1Ltt. It is conceivable that some of the most desperate
        gangsters may never have been convicted because we have been
        ~1nablo to get the ~vidence .                                    ,._
            Mr. FREDERICK. That,will sometini.es ha11pen.
            Mr. H1t.1J, It might frequently happen.          ~
            Mr. .FREDERICK. I suppoile so, bec&iuee there is a first time for every
         erimin111. I do not.know how you can get at tluLt; if lie is found· curry-
         ing a gun, and it is in violation of tlte State law, that is a St.ate matter;
         I do not see how it is practi.clll, without doing mdnjostice to the much
          'g reater body of law-abiding citizel}s to Conn a statut~and I have
           not yet been able to think of 1q1.y \vay-which would be effective in
         .such 11 case o.s;ou 'pU~.                .
              Mr. H11J11. take it that your objection to thi:e character of higis-
           Jntion is that the restrictions which it would imJl<!se upon the lav.·-
           11bi~ing ~it.izen in t~e ~tte.r of •fire~rms outweigh ~be ndvnntuges
           which nughL be gamed &n the hunting down and cat~hing of th~
           criminal.                                          ·
            .. ,   •   •   •   ~   ...   '   • • •     • •   ~   •   •   .I.   •   •   .   .. . .




                                                     JA166                     Exhibit A, Pg. 782
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                                                            .
         Mr; FREAR. This iw~geetion hna been m1tdo: Do you nppenr here
                                                                                            '


     representing nny privuto marrntacturing compnnies or anycme lnter.-
     ested in ttiemnnufiwture or firearms?
         Mr. FREDEnrcit. You rnen.n in the commercial sense?
         M r. ll'nEAR. Yee, in ncommercinl sonso.
         Mr. FREDgn1cK. Nono who.tover, nor have I ever beon.
         Mr. FREAR. And no cQmpensation is being paid you?
         Mr. FnEDJ:RIC.K. No, air.                   -          .
         Mr. FnE~, I am glad-to hear that, nnd 1 think you nrc entitlo1i l.-0
     have that in the recortl nt this ~ime.     -
         Mr. FnEol'1ntcK. I hnvo n<1vor, dirootly or inillrcr.tly1 been intercet--
     ed cornmetcially in firearms. I nm engaged in the privnte practice
     of law. I have not anyone, among my clients, nor have I ever had
     anyone en_gn~ed in such enterprises. My mcpenses here anti back
     and. such mcldental expenses ~e I incur 11re borne by ~he Nation,µ
     Rifle Association oflwhich I am president. · Prior to 2 yea.re ago, when
     they peid some eipensea that I incurred .iu thie connection, I boro
     all of my expen'8s out Qf my persc;mal pocke~, nnd no one has ever
     peid me llllyth'ing      for
                               my services. I 11m entirely voluntl\l'y and this
     and other service· hM been n. s(lrvice pro bono publico. I might
     refer, if I may, to one more point.
        Mr. McOonMAOK. Who co1npriees ~he Natlon1.1l Rifle.Association?
        Mr. FREDERICK, 'flie N ationru ltifle Association is an incorpo-
     rated body qrganized, I think, in 1871. It com_prises no1ate111' rille
     shooting in the United St11t.cs·and. it is organiz~d (or the purpose of
     promoting emall-Arllle practice; it works with the War Depn.rtment,
     !1-Ild, in c-011junotion with the W nr Depar.tment, until the dep~ssion ,
     Jt conducted nation~ matches_ for which tho National CongreAS
     af propriatod $5001000. 1t is colnposod of lndividunl members and
     o Affiliate groups, thatjs, shooting clubs, etc. Our memlforship rune
     int.o the hundl'eds of tliousands e.ll over the country,
   '    Mr. D1c1ttNBON. l have a. taiegram, not from my own section, tlu1t
     indicates that it is eent by members of some hunting Bfl90Qiation.
        Mi': FREDERICK. 1 mey say thn.t J. f\m also it1terested in the subject
     of conservation of forests and wild U/e. _1 know the sport.am.en of the ,
     country feel as 1 do.                                                    ·
        Mr. MCCORMACK. How did tb0y know you wero npp11uring beforo
     the cotnmitt.ee today?     .
       Mr. l<'REDERicl<. How did those organizations with which I am
     connected know it?
       Mr. McConMAcK.. · l am not criticizing; I nm glad to hnve ,you
      nppea.r before the· conunitteo1 as 1 Jiko to hefll' from thoso who nre
      shooting at tho bill. I value your contribution, whethor I ogre'e with
      you wholly or not .n t nil. I nm ourious to lcnow how thoeo peo1>lo knew
      that you were appearing here today .                                      .
         Mr. F1tED~JUC1t. ·I hnve no ide1~. Thero is a bill irl'ltho Sen11tu which
      wus proposed by tho eo-cnllod 1' rnokot.m:rring comn1itwo. '' I think
    . it. w'BS proposed quite a long tinie ngo. Thor<' hna boon i\ ~o(l denl
      of general e.l(citoment. witli ttspoct to that bill. I do not know wl1t1th~
      tliat is in nny way responsible.              ·
          Mr. lhr.L. l h11ve a l.tlfogrntn from tho Pndfici oonst, r4Jcoived ihid
      morriing, eigrtcd by o. n11mbor Qf persona, \Vhi<:'J1 s11Ys:
         We 11rg41 you· to ,glvo all po11Rlhlo eo1i•ltlomtlon . to 'rcr.nn1111onclntl<J11A proJH)llO<I
                                                JA167
      !)}' Natlounl IUOo Aenoclatlon In eotlncct on with U. IL OOUU nt r.nnmilt~            ln~ctlng
                                                                                       Exhibit   A, Pg. 783
      Wednl!edli.,r mornln~,                     -       ·
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            Evidently thc,y ·k now tliat this hearing is tn.lciug plaoo this rooming.
            Go11rrn1 RECKORD. l Ml responsible 1or that. information going- •
        out. 'l'wo days ugo, wl11.m fhfl chninnnn adviMo<l 'mo of this hearili!l'r
        l 11dvis(1(l a nwnbcr or poople by wiro thttt. 11. h1inring would bo bola
       on thii; bill.                            .
            Mr. McCoR~tAca:. Did these' pooplo luww that · ho w1111 comi11g-
       lll'ro?
            Gcnoral REcKonn. I do not know.
            ?.Jr. HtLL. It i::1 propognnda, then?
            Ornl'rol RF.cKonn. No.                    .
            ~fr. Mc(,'oRMAClt. Do intelligt-nt, people in t.Jiis country &ond tclc-
       grnm11 on n subject thry know nothing e.bo\lt?
            GNmrnl REcKonD. I thistk you will find tliey know & great doal.
       &bout it. They do not know anything about the particufor bill,.
       beonuso tho bill hos boon printed loss th1111 1~ week. We never 11111'\(
       the hill 0111"Relves, unt.il'2 or 3 do.ya ago.                                ·
           J\ir. OttOWTIU.m. For 2 months or moro I have hMn receiving soma
        tolegrams, and e great many letters Iroin rlflb asi;ociations o.nd win
       (llubs. One comes from a ln.rgt>. associntion connected with . thn
       General Electric Co. TbC1y IUI rel.at!\ to this general subje11t end tefe:l"
       t~ tho McLeod bill, the Oopclancl bill, the Ha.rtley bill, a.nd so fortb;
       n.n1l comment on t.l1om. So, it woukl npprM ·t hat)tis not nnow mat-
       l<lr bC1foro the gun clubs, bocm1so I know for at leai;t 2· months I hllvo
       bl'cn ro<ll'iving lcttera and tdrgrams, 1mcl SMn11 lengthy Jot.tore! in
       which thoy hnve givon the mnttcr great thought nnd considl'ro.t on,
       and they express tho hope thnt t.his lcgislatJon dnsignocl to nmch f,fi,,
       criminn{ might not t11ko such form as to 1;Joco nn undue burden on
       rifle clubs.
           ~{r. DICKINSON. It looks like the tolcgrnn1 \vhfoh J rnrcived from
       nrnnaon ~ f~o.m tlie $outJ1, whrro . tbey do b11X?iing; it i_s si~uod liy
       15 or 20 111d1VJduals; 1~ must. ho.ve b1100 snm& nfte orgu.nizo.hon.
           Mr. 1"fcCo~cx. Htw() .You had ht!urmgiJ on s~u1n.r lcgiHlntion
       liefnrc tho .Jud1c·inry C11m.rmi.t.ee? -
           Oonct·Al REcKoltt>. Thoro wos· a ll('itring but wo· wcro not adviimn
      nor did wo o.itenrl. 1 think tbo Attorney <le:nornl n.ppoo.rod in porsm1
       mul Mr. Keomm nlso. .AJ1swcring tl10 gcntlcmnn's 11uootion, thoro
       wns 11 Copclnnd bill wl1id1 wns i.utroducotl p<>seiblv 2 months ngo,
           J.fr. CnoWTHER, And a J.:lcLcod bill and a .Hattley bill.
           'l'ho C11AJRMAN. Tho.I> cloes not account for this stream of t~lo·
       i;rom~ in the Jnst day OJ' t.wo.. · ·
           Ornoml ]tEcltOitt>. Tho onlv person who r.oulcl possibly bo fo•
      .spo111tililo would bu toysl)]t CUld a!tor you t,41d 1110 you were giving U!J
       n lico.rin{? toduy--                        .       .
          ~fr. ~fcConMAcK (intorposing). Ymi ho v<• 1·011l11;itcd sud1 us vo11
       conl<I 111111 i,-;.;cd Um mtm1h<'rs of tho 11.sao(1i1\tion?        •        •
           Clo111•ro I RJ1JcKon1>. Jn NWh Stu to, or J>l'lll'tkully every Stntcl "o
       hnvo 11 Stnto rifle O.SStl<'intion, nn<i w11 a.dvilled a. n11mber of t 10MO
       111•npl11 ~lmt U..1.0 hruring WO\llll ho l10M toclny. Nol11ing wn.<i snicl
       11ho11t Mr. Frederick f>r 11.ny pnrtfou1at' indi-vitlut1I hC1i.11g prcscut.
           Mr. McConMAcK. Diel you mile tl1m11 to wirn in hr.re?
           Oof\l'l'!ll Rl'!cxono. I do not recnll the (lXDCt fongttng<I or tho t.dr-
       ~rnm.; I would Sll:V Y':,.'tz probnbly we did1 or l11tim1\.trd thnL n wira t<>
     .Mr. 1.ewi11-J wrote Mr. Lowis myseH, l>llCIUl80 ho is from tho Sil<tb
      .l )istrict ~1ri'd l 1m~tic111rly requested h.i~n .~o b~ (>resent'.
                                             JA168                          Exhibit A, Pg. 784
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                                                                               •
          Mr. McCOBlofA.CK.· Did you wire the ·people oolli.ng them what. the
       recommendations wer!l _going to be to the committee?                  .
          tJeneral REcxoni>. No, except tbo.t thelegislation is bad.
          Mr. MoCo.nJU.cx. _Ana they blindly followed it?                  '
          General REciront>. I would not say blindly.            .             ,
          Mr. McCoa.KAcx. They certainly had no information 1U1 w what.
       the recommendations were to be.
          General REOXORl>. 'fh.ey could not possibly have the infor.motion.
          Mr. McC011MA.CK. They did not know wlien they sent the wires
       in what the association was going to recommend?
          General REc&onn. Except that we were going to recommend
       legislation.
          Mr. McConMACJC. Nobody interrupted you. I nm going to con-
       clude, not as a result  or my friend'~ s taetment, but becatise I ho.ve
       finished.
          Tho CJtA:TRMAN. The Chair would liko to make an observation.
       We have been in session 2 hc)urs which is 11s long as the· Department
       oC Justice.htid the other-day. It is.requested that they.hii.ve time for
       one witness to make .a. bnef statement before this session adjourns
       today. IC you nrenot going to oonclude, we will have to con,e back; ·
          Mr. FREDEIUCK. l shall be glad to conclude with one 111ore observa-
       . tion.                                 ·
          The CHAIRMAN. We are yery pressed for tin1e, 11s we.110.'V'e other
       matters ·to consider.
          Mr. F.llEDERtc.L 1t seems to me that any provision regarding a
       permit suoh as that contained in section IO, po.ge 7, to transpor~ e.
       weapon in interetote commerce should call for n permit good indefi·
       nitely, because it is in t.l_ie nature of o. restriction.and l tnke it that
       is ab,out tlie only purpose. 1i>_f it~ Ir~ should go to Camp· J!erry or
       Sesgirt, ~r ~y ot?cr place where t he p1Stol m.atches are held, it would
       be a ventnble nutse.nco- for me t-0 get a permit to get there,. and onoe
       there, to get home; it would be a nuisance to go to the couptry and
       be· required to get a. perm.it, and then be required to get anotl1er-when
       you come back at the end of tbe summer. •lt seems to me that. cinee
       a man has r o,,<>ist.ered his weapon, and it is known tl1st be has IawCully
       obtained.a permit to transport it, that it shou ld .be good indefinitely1
       so far as he is concerned, and so far as tile particulaT gun 1s concerned.
       I tliank you for the privilege of· appearing before you.
         ·Mr ..L~w1s. Mr. Koennn has stated tbat hQ would li.ke to be heard
       for a few minutes.
          T11e CHAIRMAN. We cannot stay in session m ore than 15 minutes.
        S'l'ATE:MENT OF 10SEP11
             ' .
                                      B~GENERAL
                                          OEN.\N.- AsSISTANT ATTORNEY

           Mr. KEENAN. I will t~ke less than 5 minutes. So thttt tlJero will
         be no misunderstanding o.nd that tho record 'will be clear, the Depart-
        ment of. Justice was not.aware of nny O.ITTOemontiiimplicd or otherwise,
         to henr further °from Mr, Frederick or CJenoral eckord, inusmucli e.s
       , approximately 4 hours were devoted to hearing tbe n11alysis ·of the
         unifonn bill which was ndvocnted by them nnd their views na to whnt
         would or would not consti tute unren.sonable end unduly b urdeni1ome
         restrictions upon·th1,1 obtainillg of firenrma. The view of the Dep art-
                                       JA169                      Exhibit A, Pg. 785
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                               NATIONAL FIBF.ARMB ACJT                                 65
                                                         I                         -
      ment, briefly, wlis this: That t he Depart.went represented all of tht1.
      people oft.he country,. in response to demands,that came in for a long
      penod of tlme :requesting that BOme effort be tnade to form some type
      of Federal legislation to curb the ealo of firearnts. At the beginning
      it wns recognized that no criminal would go to the expense of taking
      tile steps:necessary to comply with the regulntions.                   ,
           We cannot over-emphasize our views that we hope to get some good
      from this bill in its present form OI.' some modified. form. As Mr.
      Frederick stated .to me in my office, and as it appears in the record_, be
      spent 15 years of his life in the study of firearms l~ation 1 and he
      snid in t.l1e record that none· of t.his leirislation had ever reached or
      touched the cr~ul, and we ~pproa~1'ed it· from tbat standpoint.
      We are fully alive .to the grave Jiossib1hty that we will not keep the
      criminu.l from getti11g firearms, but we do hope to make it a simple
      matter, when we do apprehend the criminals with firearms, t.b at they
      will not be able to put up vague alibis and the usual ruses, but that
     it will be n simple n1ethod to put them behlnd the bats when they
      violn.te these regulntioDB.                     .                        ,
           One word mote. · •We discussed pretty generally tlse basic prin.-
     ci pies behind this legislation more than 2}' months ago with General
      Reckord und 1vfr. Fredecick, on the 20th day.of February there wero
     intrcduced two bills in the Senate, by Senator ·Ashurst, Senate Nos,
      2844 and 2840, nnd I think Generul Reckord will n<lmit I.bat he had
      knowledge oi the introduction of these bills shortly afte1~ they were
     introduced.                         ,
     · · Gtmornl R ECK ORD, Of-those two.
           Mr_l{Ei~NAN. And both of tho9(l bills nl'e r.ombined in ~his one bill, -
      nnd tlaere are no changes, excepting <;ombining them in one bill>. at
     tbe request of Senator A.slntrst.· So, if there is any .sugg61Jtion tna'
     the Department of Justice lias been unfnir, nnd that tllese matters
     lin.ve not been known t.o tlaose represent.ing tho rifle association, I flll.Y
     ur1 c."n.minn.tion of. the Sent\te bills, nud tlie present bill will,,sbow the
     present bill to be a. composite unit, oJ those two bills, with t4eir, bASic
      principles.               ,      ·   ,
          Further, with·no disrGSpect intended, we feel in tl1e Depnrtme1It of
     ,Justice that we represent the ·people 0£ the count.ry who demand that
     some effort be mti,de to reach the Hroarlns oviL ·We have a tremen-
     (lO\IS amount of. dato. and corretipondenco coming into our offiro. We
     luwe hnd 'mc<'tings with the l nt.ernationRl Chiefs of Police Assoda-
      ttol:l of Amer\ca, that ropt·csonts tl10 chiefs of police of practically           "'
     l'v&y city in the United St1~tes of nny size, ·o.nd they hn.ve approved
     of il1is lcgisln.tion. They hl\XO asked us for it. 1Vc hnvo conferred
      with an execntive con1mittee th1it came from nll po.rts of tho Unitqd                 ' ,
     St11lcs to coll upon t.ho Attornoy General and ~1scuss it.,, Approxi·
      u111wly 2 or 3 wecl<s ogo General Rookord came into tho Depintnumt                  ' '  .
      rind J was occnpied, 1md Mr. Surith1 my assistant, discussed with him
      I.lit\ fircnrrns lcgisl1ition. · At that t1me, it is my ·understandlng, that
     General Reckofll snid tl'11~t ho would worJc with us if pistols QflU
      rov(llvets wore excludod cmd that Mr. Frederick would work wi,th ue
     if we eliminated .tho registration .fonture. Wo did not-tice tho problom
     oyt1 to eye. Wo think every possible opportunity Jui.a-been give~ to
                                                                                             ' '
      tltom. Wo think th1~t tltoso who l11lVo spent their livl'S in oolloo~ing
      I\ tromcndous a.mount oC d&tll, and Mr. Froderick, who- is the bnt                     ,I
     11hot in Amt•rlc11, 111,id tho Olympir. JA170
                                                <'h11mpion, of America, Exhibit
                                                                        might    A,
                                                                               hs'VoPg. 786
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      {;6                  NA.TIQNA!J JrffiEARMB AOT

       ~ view ofi' to th& left or to the right, whereas we who a.re more or
      Jess in the center, and ;Who arc not experts and have .not given the
      ~ame amount of study would be in a better position to sa.y wha.t is
      'IJ1e fair thing to do to eJj.minate the evil that unquestion11bly exists
      with the lea.st burdensome provisions tQ effect some legislation that
      would mean something. We had no morfl metJtings with Mr. Fred-
      erick and we thought we should draw tl10 bill and submit it to this
      honorable committee and to the Congress.                        .
          We have requested and we have received some figures on tl1e homi-
      cides in this country as compared with Oreat Britaill and other coun-
      tries, which we shall ask lea\Ye to submit for the-record.
          In closing, we cannot overemphasize o , position thfit we believe
      that an earnest effor~ should·lJc made by some governmental body to
      I&ach the crook nnd to trj to disarm him. We have.a witness here,
      and we a.re gomg to try to save all the time possible. I think thls
      gentleman can throw some light on w1lat might be expected from this
      legislation, particularly with reference to machine guns.
          Mr. SHALLEN.B l!lKGBR. Did I understand you to say that you would
      give the committee dnta on crime in Great Britain as compared with
      this countrj?                              ·
          Mr."KEENAN .. That is true..          "      ·.
          Mr. SltALLENBERGER. I would like to have that for t11e teeo1'1l. .
          Ml\ CooPER. Let us hear the other witness to whom lie has re-
      f~rred.                                                               •
      STA.TBHEliT OF W. B. RYAN, PRESIDENT                   OP .THE AlJTO
                         ORDNANCE 00.                                   .
          The CeAIRw.N, Do .y ou appear as representing tl1e Depar.tmen~
      o.f Justice?    •
          Mr. RYAN. I um preaident of the Auto Ordnance Co., which own
      th~atent rights to the Thom1,>son submachine guns,
          We have studied the bill fllll'ly carefully and we believe that the
      p_rovisions of it ,,111 materially a"ld in 'the disarming of the criminal.
      The policfos'o f the company itae.lf have been exactly those as emboilfod
      in the pending bill I.or a number of years, and we feel tha~ the restri~
      tions in the sale and the taxes to be im:posed Will eventually result
      in the disanning, ns far ae submachine g:uns ·a~ concerned, certainly
      of all criminals who now have them;
          Mr. ·cool'ER. I understood you to say, Mr. Ryan,. that your com-
      pany owns the pat.cf}ts fol' the Thompson suhmachir\e gun. ·
          Mr. RYAN. Yee, s11'.
          Mr. CooPER. '°And you 11ro engnged in the mnn11tncture 0£ t\1ese
      weapons? .              ·
          Mr. R YAN. Nol-sir; we do not mA.nttf11oture.
          Mr. CooPER. 'You own the patent; rights?
          Mr. R'tAN" \Ve own the patents.
          Mr•. CooPEn .. H<>w P~any companies in tho United Stat.cs manu-
      facture machine guns used by the gangsters or criminals today?
          Mr. RYAN. As 'fu.r us I know, there .is orily one company which
      actunlly mnnufncturos tho small ,type 1iinchine guns, tho Colts Fire-
      nrme Co., who m11u11focture for us, nnd they 11lso m1.m11fncture n snmll ,
      gun called tho 11 Munl tor'' 1 1\ gun of th(lir.own.       ..
                                       JA171                     Exhibit A, Pg. 787
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                                                                                 67
         Mr. CooP1in. lt is the smn.U. type _mo.chine gun referred to by you
       thut the oriminal element or so-called 41 gangst~r" uses?
         Mr: RYAN. Yes.                                                    .
         Mr. CooPER. And the Colts Co. mnnu.fnctm·es tha.~ liype of weo.pon
       nnd you own the patent rights on it?
         Mr. RYAN. That is right, sir.                .
         Mt. CooPER. Do you believe that· this bill· will aid in .keeping ma-
       chine guns out of .t he h11.nds of gangsters u.ud· the criminal element?
          Mr. RYA!i. I do; yes, sir. ·         ·          ·
          Mr. CooPEn, Is there any possibilitY ot such guns ns these being
        imported into this country?                             ·                .
            Mr. RYAN. There. are two type11 of guns made in Europe which are
         b.eing imported, I om told, in some quantities into South .America
        and I have heard that they n,rc being brought in here; That I cannot
                                                                1
        substantiate.                      ..                                       •

           M.r. OooPER. Is it your opinion.that this ·type of legislation would
        prevent that?                                                         '
           Mr. RYAN. Itis;yes,'sir.                           .        ·
           Mr. CooPER. Are there any small-arms manufacturers that a~
        cov~ by such arms a.s are contemplated unde~ this bill, ~h!lt would
        be ser:)O\lslY Q.fl'ected by the llltlnula.cturel'81 tlix, tn your opiruon?
           Mr. RYAN. Not so far as I know. I .know of nobody else making
       ·them. l cannot answer for the other tyPeS of firearms.
           Mr. COOPER. Tbt1n, is it your opinion, as one familiar with a.nd
        interested in the mimufacture of this type Of W6a{>Oll 1 that.this pending
        bill would bo desirable and beneficial. m a.ttemptmg to meet the prob-
        lem that we reco~e exists·in this country?
         Mr. RYAN. It J:3.         ·           . '                     ·•
          Mr. SffALLENBERGER. Is th11re any country t,hllt arms its soldiers
       with this type of gun?                         .     .          ·
          Mr. RYAN. Yes, sir; the 'Unite(.I States Army.
          Mr. SeALLENDERGER. And the peace officers of this country are
       '1rrned with _tJlat gun?  ·
          Mr. RYAN. A great many are.                       _
          Mr. SHALiiENBli:RGER. Do you know if Great Britain arms pollce
       officers with machine gun~?
          Mr. RYAN. Not this.gun.             .          ..
          Mr. SRALL~NBERO:ER. With any.kind of milohlne gims?
          Mr. R YAN. I do not know·that, Bil'.
          The ·caA.lRMAN• .Are you through with your· statement?
        . Mr. R\ .AN . Yes, sir.
                  0

                                          .      '
          The CHAIRMAN. We thank you very.much . .
       STATEMENT OF CHARLES V. DCLAY, MODE~ OF 'l'JIB NATIONAL
         CONFERENCE OF COltltISSIONERS_ ON UNIFOlUl :LAWS, 1•16
         F STREET, WASmNGTONi D.C.       -          ··
         Tho CHAIRMAN. Ploaso·givc your nnm~ nrtd address.         .         .
         Mr: {MLA Y· Charles V. Imlil.y. I ·11111 a niomber of tho National
       Conference of C_ommissionors ·on Uniform State LllWS, and my
       nddrcs.~ is Washington, D.0.    .·               .
         My connection, Mr. Chnirmnn, nnd 1i1ombe1:s of tho committeo,
       with· the Nntjonnl Conlcron<;& of Commissil>nerl:r on UDiform State
                                      JA172
       Laws is ns a roprcsentntive on thnt                      Exhibit
                                           body of the District-of      A, Pg.
                                                                    Columbia • 788
                                                                       •
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          The body h118 blien for some 43 or 44 ]'ea.re.meeting annuruly, dr&ttin~
          e.nd proposing to the 'Stat.es for aQoption so-called uniform .St.ate
          laws, being rep1'esonted generally by two or three commlfla\oMra from
         ea.ch of the States.
         . Some 11 years Qgo, na one of the members of that body, l wu
            designated chainnan 0£ a committee on a uniform fU'ea.tms act and
            that work ·was completed in 1930 with the drafting of the so-called               \
            unifonn firearms a.ct. ! ou will understand that while p., member of
            that conference, I am not here with 11.ny resolution from tbe comerw
           euce; I am speaking 88 a priv,ate' person from experience gained in that
           work ov.er a period of about 11 years on fi:real1n8 legislation. I after--
            we.rd acted as a member of the committee on the so-c$lled uniform
           machine gun a.ct1 which. was completed and promulgated by the
           conference in iw 1u33 session. .                                        ·
              V.ery briefly, mr. own personal objectioJl to the form of legislation
           in this propC)Sed bill is that it proceeds by u plo.n 9f requiring a ltcAnse
            to purchase which we saw fit. to abandon in the uniform act after a
           comparison of legislation during the entire history o{ this country in
          ·the various States of the Union we o.ppN;>o.ched th,e subject, as on&
          must alwa.ys approach the .s ubject of any t1niform S~te statute, oa
           the assumption that you must take what is the traditional form of
         'legislation that ht\S stood the test of e:q>erienco,and proceed on tho.t.
           AS to the course of that work nnd the course of observations lmade in
          'c qnneetion ·with it, I think I would like to file with th.e committee as
           an extension of my remarks, so·to speak, the official draft of the uni-
         ·fonn firearms act, upon which was modeled ·that act thav has. been
           rofcrred to as the sot for ·the District of Columbia.. l should like to
           file also some observations 1 niade in connection with the District Qf
           Ooltnnbia act in the11ummer of 1932 when it wus before this Congress,
           in the Federal Bar Association Journal at page 22.
              The CHAIRMAN. Uow many PllitlS does that cover?
              Mr. ]MLAY. There are several pages.                           <11
              TT1e OttAIRMAN. Have you several copies w11ich you could file with ·
         , the committee?                      .
              Mt'\ IMLAY, I hn.ve the·one copy. At .the time 6f ille reaffumntion
           Of the 1lnll01'ql fireSI'IllS net in the SUnfmer Of 1930, 1f prepared for th&
           American Bar .Associn.tlon Jouma). an article 'in wiiich I summarized'
           aU of the Stnte legislation upon the subject, and which~ is contained in
           the American Association Journal of Dec.ember 1930, on · pagos 71l9
        . to 801, and tl1oee pages l.:will also separate and leave with the commit-
           tee as part of the rocord.                           ··
             .The Cu,ua1114N. Without objection that may go in the record, '
              Ml". lMLAY,. If the time comes1 . Mr. Chairman when more oppor~
           tunity i$ efforaed to discuss these inatters, thend should like at that
           time an opportunity to discuss them from tlie st&11dpo'mt, aa I see it,
           of this a.c t Io.llowiQg the history of firearms legislation in thisroountry
           o.nd being unworkable on tbo.t account,
              (The.documents referred to urc' os follows.: )                            ,
                                       UNIJ'ORlf FIRJIAlUIB ACT
   .,       Drafted by tho N'atlona!.Conforonco of Commiealoners on Unitorm Stat4 l.awJ,
          And .by It Approved . and recommended for en!Mltment In nil tlvi Sta~s II~ i'6;
         •Fortieth Annual Conference at Ohlongo, lll., Aug1111t n t.o 16, , 1930 with eK-
                                              JA173
          planat.ory statomont. Approved by the                              "~Its meetln~
                                                  Amc'rloan Dar AesoclationExhibit   A, Pg. 789
         "~   Chicago, 111., Auftust 20-23, 1080.
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        The oommittee whfob acted for tha National Confete:nce o! COmmiuioru:ms on
       Ualfonn State Laws in prepai'iug tbe uniform fite1U1Dn act wa.e a.a tolloM1:
       JQllCph F. O' Connell, B~ton, Ma119. chainn1u1 • Jahle& F. Ail8hie, Oceur d'Alene,
       rdallO; cbainnan, unilorlll wrls and criminal law o.ots eeotion· .Teeae Jl. Millar,
       Oi!J! Moines Iowa presidoot ex-officio; Charles V. lmlay, Wa:sliingt.on, D.C.;\)
       Cbarlu E. Lane, Cheyeuoe\ \Vyo.; George B. Martinl patlettaburg, Ky.; A. L.
       Scott, Pioche, Nev.· autl Ju la11 O. Seth, Santa Fe, N.MeJc.                           ·
          Copies of all uniform D.<Jt.8 aud other prirlted matter illlHlOO by the confcron<;1>  '
       ni~ be obtained from .fohn El. Voorhees, ecc1'!ltary 1 lHO Nortn Dcarbpro
       StNiet, Chicago, Ill.
       A1< A~ Rt:otn.il'mo 'l"ltl: SA.t.•, T11,u1el'!!B, .um Po1111r.11S101< OF CEnTAI N Flas-
         A.l!Jl.ll, P&Bsc811111'10 P&1< .',1>1'1~ ANt> Rut.il8 o~ l';viot:P<c•, AND TO M....a.t! thu.-
         701u1 TIJll LA.w wn'll R1:rao£1'CE T~TO

         SsOTJOlll'•L DeJiniti1m1.--'' rtatol, '' as used i't\ lbis &ct, means &II)' llreatn)
       19Jth barrel less tban J 2 ll'ehee In length.
         "Crime of Violence, '' as u~ed in tliis net, meant nny or the following crhnca
       ar an attempt to cotl\mit any or tile same, namely, murder ma.nelaughter, rape,
       mayhem, 888a11lt to do grcllt bodily haTm, rohb~ry, burg\ary [nouaebl'(!aldn'f,
       btcald~g and entel'ing1 kidnapping amj larceny].'                      ·                       ·
            •• Pereon," as ueed m this Act. includes litm, pnrlncrahip, association, or oor•
       poratton:
           Sr.o. 2. Committing Grltn¢ when armed.-1! any peoon shall commit or atU!ll)Jlt
       to eomm.lt a crime o! viotan~.c when armed with a p!l\ol, b.t' lllAJ. in addltioo ~
       Ibo punhsbmen~ provided tor ~he 1rrlme, be pnn.Itthcd also as provided by tbie Mt.
           Si:c. 3. Bting ar111ed prima /om mdmce of int.::111.- In the tdal of a penoo for
       conunittln~ or attemptJng Mi c~mmit a crime or vloltmcc, the fact thilt hi' 'l'fM
       armed with a pll!tol and had no lfocnse to carry tbu 111t.me shall be pri'"o focit
       tlvldence of bie intention to cummit sa\d crime l)f vfl)JCmce.                   .
           SEo. 4. Certoin.persont'/orllidden to poseiu 11.rr1tt,-No person · who has bclln
       eo11v!flt¢d Jn this State or elsewhere or a crimi> or \llol()nne, ahall own a pistol or
       hove one iii hie \)OSsedlon or under his control.                      ·
           8110. 5. Carryuig -pilltol.- No person shall carry 11 pl11tol rn any vehicle or eon•
       ccalcd on or aboui lii11 J)et11on 1 except in his place ol abode or fixed place of bulll·
       tlut, wlthoui a lloense tbetefor AB hereinafter provided.
           S11c. G. ~ion.-The p1"0v~ion11 of the preceding &e0tion shall not 11ppty
       t o manllAls, she:-itre, prlS()o <rr jail wardens or their deputies, policemen or other
       law-enforcement officet11, or to IJU'IJlben of the Army, Navy, or Marine Corp• or
       th11 U nlted State!! or oft.he N"tional G~ard or Orgt1t11;cd Reserves "1:1en on duly,
       w to 1110 reg1tlllrly enrolle<t members or .any org1lnll':lll.llln duly authorized to f•11r-
      '()hase or rnceive such weapons rrom the United States or ltom thls State, prov <1e1l
      -i.uol\ members are at or nre going to or frotn their fllanoo of assellibly or tMgf\t ·
       pmct(ce, or to officers or empfoyeee of the United Stntca duly nuthorl~ed to carry
       11 conuooled p1stol, or to &ny peraon engaged in thtl ~llRineAS of manufacturing,
       Tct1iiir!hg, or dealing in firearms or the aj!ent or repreueot.atlvc or ll'll'!_ such por·
      ~<111 hnvh111 in blspossesalon, llRing, nrcnrrying o. pistol fn tile llA\1111 oi:otd1nary c()lfl'llO
       of @ucb h turine!RI, or to any llfllllLln while carrying n t>llrt.ol unloaded and i11 a &c>elll'C
       wmppr,1' rrom the pll>ce of p11rch11o11e tci hiR 11omc or l'lAllt' of' busine911 OT 10 o
       flltl<:c or repair or bHk t-0 hl1 home or pince of buflincsa or in moving ftom one
       plA~ oC Abode or 'busln- to aoot.her.                ·                             •
           Sa:c. 1. laaue of lie(n-19 to 44"11.-Tbe judge of a \'Ollri or roeord, (he ohlul of
       poHc-o ot IS municipality, tbc "licriif of a count.y, mt9' upon the npplicatlon of 1u1y
       1>ore<>t1 IHt111e a licet1~" to eueh pcraon to carry 11 Jh~t,nl In e. vehicle or conccalr<I
       011 or about his person wJthto thitl Stnte for not mo-re than 1 yeD.t fr'3m dl\to or
       is~ul', Ir It nppears thnt thtl' applicant hM good rc.llllllll to fear an injury to hlN
       per~on orliroperty, or b!IU nny othur proper rcuson for onrryil>g a pistol, 1rnd· tlu1~
       he ia 11 aul .able person to ho ~o liccnijctl. The lico11eo Bl1t1ll be in triplicate, in form
       to be prescribed by th0 ucoreto.ry of State, nml nhoJl beaT. the 110.me, addro!lll,
       1fo11oriptio.!!i. ond e1gnGt111'1l of the 1icellt!ce 1111<! tho ~son given for dcslrlog ·O.
       llcune ~.    Tne orlgino.1 lhttrv<)! shnll be delivered ti> tll1> l!Qenaec, tlto d\J'plfcalo
       ~lif!.11 wltllln (7 do.ya) be ftOnt bt regjel~red mail to the l•ecretuy of Stotel and lho
       trlpllento ah.all be pYoedClTVod tor 6 years, by tho .11utbarlty is1ming so.id llocnllC.
       Tlic fco for issuing 1uc'h llo.onM el10.U be S -             ,.,hfoll t~ sha.ll bC paid tnlo tllo
      1                           tttllllury ).
          •On- 1*9 tll<l!D¥lt.d IO bt tDOillO.d to 11Jlt ·IOC11l deOoJtlonJ,
                                                        JA174                         Exhibit A, Pg. 790
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         Ste. 8. Dtliw:r1r la "'i""'' anti atAmr Jur&iddro~Ntr j>ereon ehall don~r s
      pletol to sny perl!OD und11r the Age of 18 or to one, who llo baa reason11blo c11uae to
      bcllovo hAll been convtct«I of a crime ·of violence, or I~ 11 drug addict, e.n he.blt1ial,
      dtunkard, or of unsound mihd.                                                     ·
         Ssc. 9, Billet tegulat~~No eeller t1halt deliver o pie toI to the ,purch1111er thon:of
      1111tU 48 houltl shall have ol4pecd from the thne or ,the t.ippl!cation for tbe purcbu~
      thcNJof, and, when delivered, aalcl pllltol shall be eecorely wrnpped and aho.11 ho
      •mlo&dcd. At the tfrne of Applying for tho p11rehMe of a pistol the p11rch11Aar
      eball eign in triplicaoo 1111d deliver to the seller 11 ~t&tcmcnt containing his full
      11an1e1 Mldrese, oucup&tlun, 11olor, pillce of birth, ihv d&t.c 11ud bour of appl11U1tlc'm,
      Wio c~. IIUlke, niudcl, and wanuf!l.(:turer'a tlWJJbllr of the pistol to be pur·
      chMed ~d a etatcmcn~ th11t he h88 never bi!fn Clonvioted in thi8 St.ate or 4.11--
      wbore of a crime of ~violen<'.e.     Too    &eller .sbAll 11'1thln 0 houns after auc:h 11\PPllC!ll--
      Uoo1 eign a11d atte.eb hia ndd!'C811 t11Jd forward hy rc~atored mJill one copy of uuch
      ~ta~eut to the chief of police of the municipA!lty or the uberitr of tb.e coun~y
      or Whlol1 the b-eUer i.s " rcstdcut; the duplicaw duly a1~11ed by tbn seUOT Hholl ·
      witltln 7 days be scut liy h.f111 w1t!:t his addrC86 to tl1u sccreta.ry or S.tlltoJ; tllu
      trlplicnto ho shall rota.in for 6 yeaT'S. This scotion ~Im I not ,apply to all.Jo• tti
      WhOIMale.                          .                                                '          .
         Bini:;. 19. Dealera lo bt liccnted. -No retail dcaltlr 8httll ~oil or otherwise tr1111~rur;
      11r c.~pol!q for sale or tr11111for, or ~\'C i11 his p11.11¥~lo11 with Intent to ucll, ur
      oth(l~Wlsc transfe11 a.ny pllltol wiUiout bci11g liCl'llllCci 11J1 ltcreinnfter providlld.
         Si.ic. ll. Dealers' licm••~ b11 wltqm graflUd ond co"i:litiorur IM!-rof,-The duly
      c;omtit11ted liceruiing autborltres of a11y city, to"'11\ or txillt ical eubdi"J.lio;i of thf~
      State rna;f grant lice11Ml8 in roons {l!"eJlQrtbed b,y t Ill (ll(Grot.llry of St8foJ ~m.~t\\10
      t or not 111ore than 1 vear from date of isene, pc.m1Hti11g the licensee to sell piaWlll
      &~ oit.ail ivitbin th.is State ijul>jeot. to tbe followiJJ)t coudltlollll in addition to tbO!Ml
      ipedBed In aet't.iun .9 lioreof, for brc11ch of any ot wb.leb the. license ah.all bo
      forfeited and tile llcensoo subject to punishment 1111 provided in this: aet.
         t. The b1,1sine1111 aluill oo cnrrlud on only in tho bulldi11g dceign11tcd in tllll
      license.                                                                       .
          2. 'X'ho lfcenRe o.r a copy thQreor, certified by the i1U1t1ing authority, sball bo
      dl1pl11yad on the prcmiec.s where it can easily be read.,
          a. No pistol shall be &old (o) in viol&tiou of any provision of this net, nor (b)
  •   ahall a platol be eotd under any ~ll'cumetances UnJee• the purcllasc:r is pet'llono:U,y
      known to the seller or eball preae11t ~tear evidence of bis Identity.
          4. A true record in tl'ipllc&te aho.ll be made of every pfatol sold, in a bQQk
      bpt for the purpoee, the ton:n of whtch ma:y be pr«cribed by the {acc~t&ey or
      Slat.ti) and 11hilll be penonally al~ed by lbe puroh48cc and by the J>C1110D e1J~lln1t
      tlu) fWl' 11&oh in the preeuuce of tile other, and ahall cu11tfln the date or sale,
      the caU6cr, make, model lltld utanwacturera' oumoor of tb.e weapon, the llA.fDC
      AddtcSR, IJ<!Cdpa.tion, colQr n.11d pbt.~ or birth of tbo purob~J, and a statomoot
      •lgnod by the .purchaser i\111t Ile bas never bee.11 conviotcd in this State or 0180·
      where of" crime or v!olenco. Ono copy sbllll ~ithlo O ho11rll be sent by regi•t()l'l)d
      Jllllil to the ohieC of police or the municipalij,y Ol" thb Jlhel"ill of the county o(
      which tbe dealer is a resi<le11t; the duplicate the dealor "hall within 7 d~~ ll()Oil
      to the l~cret.ary of St.&t.e}; the t riplicate 1he dealer 8lln.ll nitaln for 6 yeare.
          b. No pl1tol or (mitAtion t hereof o r pl&card o.th•t1ttJ•ltlg tlm sale ther00f Aho.II
      be dlllp!Ayed in any part of any 1>remlse1t where I\ u.n ttadily be eee.n from the
      out<llde.
          Tho fee for issuing 88.ld lice1181) eh11li be $ .....• which fee shall be paid 11\l~
      tho!--- - ·-- ----- ~-- treaa11ryJ.
          Si:c. I i. Cutain tratwferi Jo16td1lt11.-No pel'l!on elu~ll make any loan seo11ro11
      l>y a mortgage, depoiiit or pied.go of a pistol; nor ~lu~ll Any penon lend or l.(iVll a
      f)llltol io anqther or otf•l!rwloo d~llvor a pistol coutrl\l'y to tho provieiona or tble
      act.                                                ·                              ·
       . Sile. ~3 .. Jlalac inf"rtt1111iot1 fMl>i1l1ltn.-No perso11 ~hl\\I, In purchasing or oihol'-
      wleu ll(lOUnng delivery of 11.plAtol or Irr appyfing ror a llcC.Tlllo to carry the a111110,
      give CAloo Information or o!rel' falna evidence oc 111* ldontity.
         Sxc. a . .Al~ati<>n ef iddfll(hring marko ptoMWJfll.-No Pl)mon 11!1a.ll ch&nJ'O,
      •lwr, ~ove; or oblltorlllo t.bo noruu. of the 111JJlct1T1 111udul1 ru:anuf-&otltl'\lr'a noni·
      1i11r o r 1,lhOT mark of h1t111tlflwUll11 on any pistol. Pt-1.'!lon of any pistol llj?Oll
      111h?cl1 any such marlt Hhall Iii>~~ llClln ch:mged, 11ltcre11 ro1novcd, or o1Jlrtorat.cd1
      Aliall bo prlmi. fa.de evCdaoco tllAt tho ~r hao c111\ngcd, altered, l'ClnlOYIMJ
      or obliterated the aa.ruo.               -        ·
         8110. 16. Enating liunet• re!io/<,d.-MI llceu~llll heretofore l88oed within i111~
      1tu.w l)Onnittlng tlui ciurylnK ur pietole conoealuil upon Ule por6on ell(11l oitJ>lro 11.t.
      mldnl3bt of the-· -··· d11y of,_ .. ·--    JA175
                                                   •J---• Hln .    ,      .      Exhibit A, Pg. 791
                                          -   •    0


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             SE<:. lG. F..xaapliona.-'fhU. nat shall not apply to nnti<11ie pistol& 1111suitable for-
         11se as firearms aud pussoosecl 111> curiosities or·ornamente.
             SEc. 17, P~'IUIUief•-Any vlolation o! any provll!lon of thill act. constitutes an
         offeus.~ p11oil)l)Jlble by [A fo1c of not more tha!1 (~- .- ___ .) or }m11risoil'!lent..for not
          more thall (••• - - ••• - ••••• . • JOf both, or by nnprll!Olllllfmt tn the vemtc11t1sry for
          not leS& ih11n [___ ________ __ _: ], nor more than l--- ~ - -~------ ---11.
           · Ssc. 18, Co11atilutionalit11.~[If any part of this act is for any rHAOtt declared
         voic1 1 such ;.,_,·alid.ity aho.11 not Affcd the \'alldity of tlle resnninillg portiot11i or t l1l1J
         act.)                     ·             '
             SEc. 10. S/i11tl tille.~Thls nct~av t,c cited as the ll Unifonn FiTeuma Aet.'1
             St:c~ llO. llnif11rm.{11lctprdnlinif......::TµU. act slull! be SI) intCl'pretcd end eonstr11ed
         011 to c!Tcc:tnate ite gencrnl tmrpu!lc ·to make unifonu ~he law ol those .states,whic,h
         enact it.                               \ ')     ,       .
             SEc, 2l. E;ffeeliil• r/ate.--!fbis · net slml1 f.11ke u1Te1•t 011 tlte · r--~ rlay or
         - ----- ----~----- · 19 __ _
             SEc. 22. Ct>'fnin act.. repfali'd.-_.\11 laws or parti; of iaws i11<'011sist.ent harowith
         11re licreliy Te.pealed.
                   l':XPLANATOl!Y l!TATE&IENT m m.l.RDlfllO t ll'l lf'Oll&f .rlJl~An.is A<''I'

              The Nat,ional Conference or Commissioners on 'Tniform State Laws is c9mposed
         of comrnissio11el'8 appointed by legjsJati,·e or executive Authority frtlm Uic Statee,
         the District of Columbia, the 'l'erritorv of Alaska, ~he Territory 11f Hawaii, 11nd
         the insular poaaeeeions of the United Stat.eii. The orga11i~atJon meeting wee
         held .at Saratoga: N.Y., in Augilat 1892; and armnal meeting~ have heCJ'I reg11latlY
         held since that _time, immediately preceding the meetings of the .i\Jl1ericM Bar
         Association. IJ'hc pm-pose or the orgaJliiation, as It~. name imports, is to J>ru010te
         uniformitv or Jegielatiori on subjeot.~ or commou interest throughout the United
         SUI.tea. Proposed 11ct11 attJ carefully drawn by ·sf)!leial eommitte!!5' of trained
         lnw~•cre, assistc<l by r.xperts In many instan~, and are printed. distributed, and
         riiscul!l'ed jn the oonfe'n'ntc at more than one ammal scssien. Wheu finally ap-
         J)ro\'etl by thti rourereni:e, tlte uulform acts are submitted to the American Bar
         .'\t'-'!ocintion and recommended for general adqption tbtoitghout tho jurisdiction o!
         the United Statcia. Eilch uniform act i&thns the fruit ·or one or more 1entntive
         dtarts submitted tQ the crlticism of the. CommissionCl'll in,annual conference and
         nf tl1c American 1'ar A.ssoeiatio11, and Te.present<! the experience and judgment or
         a sekct body uf law~·crs ohoscn from .e \'cl'y jla.t~ of the United States.
                  Xflt.ATlON OF J,CT 1'-0 l'A9T ~NO llJjJCENT -l'lliEARMB r,moiBLATJON

  · 1.        The l!onCercnce at ih fortieth 11nr111.Al meeting lield at Chi'cago, .A11g1rnt 11-lli,
           t 930, approved tho Unirorm Firearr11s A ct and \'<>kid that it be recommended to
           the State~ !or Arioptioo . . On August 21 the American ~Ar AE!80eiation, mooting
          at the same plac11, -1\l>ll•o''ed the a~t. Thte was in offoct " second approval nf
           the s uhjeofrmatter by hot,h bodies, innam11ch ll!l the 0011f<"nnce ·and bnr aeaocla.-
           tio11 linci at a previous rn-ed!ntt l1elrt at Denver. Colo., in July 1926, n.pprovcil till
         .act In s11hntnntially the •nme fonn. Tbe matter was, 11owe\'er1 after the Den\'er
          meeting ta.ken 11nder reconsideration by both bodh!A and for that tea8Qn tem-
          porarily withdrawn from Stntc legislatul'l!s. After 4 adrlit lonnt yenrs of recon•
          siderat!on tile principles of the former draft hnve·bcell ~ffirmod in'tbe new dmft
         .llnd that new dmft with only 11 Cew change!! from the fom1cr drart Is naW'r!!com-
          mcnded to.the.States for adoption,
               When the sublect-1nntter or the not wM firet brought to the attention ot thn
           Nation·a t CCnfcrence ~t Minneapolis in August 1923, mm1l1 had alnmd:y ·l>een ac-
          t'Dmplfshcd in the dlreetioll or nniforru firearms J11g1slatfon by the Vnitcd S-tatcs
           Revolver Ass-ociationi I\ <liaintereated noncommercial organi~ation or marksmen.
           Jts tcgiHlattvc comm ti.cc hnd draft<?ri ti. uniCurni !Aw whi~h hAd already been
          adopted with HOIDC fclV chl\nJl.es by North DakotA, and New Hampshire. Cali-
          fornia had a.lau 111lo11ted It with some·q11alitlcatione 11.nd adtlltlons. The !Aw Willi
          thcrcnfter adopted in ludiann in l Ol!J>i nnd muo!t of itlt Allbjer.t-mattet waa enacted
          Ju the Oregon, West Virginln, nnd Miolafp:an 11ete ol tl1c 61\Joo year. Tho oxtent           . . .• "
         1.°l Wl1ich the revolver association uct 111\d time already 113itied ground· as wcU os
          tho intrlueic merlt~ of tlu1t net. inc!ucc.d tho cot11mittcc or the conference ta se.leat
          i.t as 1.ho model or the draft or the uniform &ct approved by the conferoneo in 10Z6.
          D uring \heao 4 $'ell.rs In which the subjecf...mat!A::r has been ondcr reconui(f~mtlou
         and prior to the final 11111woval by l,ljo conference and the ha!' aeeocia11lon lo 1030,
          tho ui.tbstailce and form of tho act hlllt gl\locd Additional l'OcogJlltlon. • Much or lte
                                                       JA176
          f.Q"~ hM boon incorporl\tcd I n t"Cccnt act.. hi Maeeachueetts., Mlot1(ga11,   Exhibit A, Pg. 792
                                                                                          New Jcr-
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       72                          NATION AL l"fRE<l'&M$ i\CT

       84lY, and Rhode Islond1 11n1l t-0 11 very great c1ttont In I) 1927 oot. of Hawaii. The
       IMlt with sotne minor cnanges WM adopted by tho Unitod Ststcn House or Repr,e..
       aenlolililv~a in 1929, too la to, however, t-0 reach the Senate. 'With some changes [t,
       again passed the House ear\y lo 19301 Aud at the.end ot that year i&etill pcndl!)g it1
       t .he &mate.                         •
            It Is bolio\·ed that tl1e faitor tnus nlrct<d,y sl1own to the principles of the aot la
       due to recognition IJv tl\e ve.rio11s S~ate lcgislntutcs of th\' necessity of unifor111
       h1gi!sl11tio11 on the subject or small firearms. nnd tl10 soundncah of the principles of
        l't\gulation cmbniliecl In tho aot. These prfacipl06 are holic\'crl to b<: conRonaut
        with legialatl\•o precedent nnd .practienl cxperieuco, nnd strpcriOl' to mlnorit.v
       viow& relledcd in so1110 pJISt legla1ation and iu s fol\• reee·u t enactments. For
       example, the uniform a~t adopts. th u 1irlncir.Je qf u strict reg11lation of the enlc and
       purel1ase of pistols at the sRme time •hut it rejects the compamtively rare pro·
       vision of a license to purchl\Se, on the t11cory that. the sccurlnl!' of' o plstol' b \· a
       hotii!eholder 119 a legitimate mcanu .of defense should hot 110 mncle difficult.. 1'he
       p rinciple or license t o purchase wua for a long tllnc lhi1ited to New York where. it
       waa first adp,pted in 1888. It hna in recent vears re~cived recognltioa In Ma11e-
       6110huaetts, Mic:higan, New Jersey, nod Hawaii. and bas been approaobe.d in West
        Virginia and perhaps one or h\'O other places. But beyond tha~ the ~11trory or-
       ilcenl:lll to 11urel1111Je bM not hecn recogqized. The uniform act also rejl'l'te.1;11ch
       extreme tlteories of regulation as that embodied in the Arkanuas lMv or 1923,
       re9ulrfng a Stat.a-wide registtl'tion of pistole, which f1Tinciple1 th.oup;h repented
       eu~ueu~ly in .Arkall!las,_ !las more recently fo~n~ .some ~ecognltion iu Ule
       .M1chiga.n iu:t or 1927, an<;l ts approached bit the V1rgt111a act of 1926,     •
          It 'lllill be noted tbat the act deals with pistols and ravolvel'll onl)-. 'The cion•
       ference after careful considerati.on decided to cqnfinc the act to emt\ll 11n11a or
       Ude nature 115 .a st1bicct by itself, ten,·ing tlle ma.ttet of other dangerous·Wllllfl<>Utl
       of not ll!g:ltimat.e use to be .regula~ed ia. eepara~ ~ts.
                                   O&Ni:R.\J, 'f,ltl~CTl'loES OP A(f'I'

            TIU!~general principles emlJodled in. the act lll".V be s11wm11rizeil as follows:
            1. Without making It difficult for a l&w-alJiding citiien to secure arms for t he
        protection of his home, Bii' by the fnoonveoieni requirements 0£ a license to p u.r--
        ah8114l1 ~he act seeks by strict regulation of dealers, illentilication ·of !Jurch4sers,
        1md nrict licensing of those wbo onrry concealed ftreaf'lllJI, to ke11p such 11·Mpo11s
        out of the hand of ·criminals a.nd other prol1ibited classes.                    .     ~
            z.. A heavier penalty l.eJ1rovlded for n crime or ,·iolence b.y one who is n.rmed,
        wbctherleg&lly or not, 1;n the 'possession of 11. pistol by a cl'imillal ·i s made prima
        f•cic evidence of iotent .               .
         " 3. Tbe universal principle is ad()ptcd as in .all State statutes Coruidding thee
        can:ylng ol ~ncealed weapons with a complete e.oumerntlon of. clus.sea of el(cepte<l
        J>l)nona and without sufficient e:xcep~i9ns to suit •pecial u&cumstanccs. H pto·
        hlbita ootTYCng platols in a vehi cle whether concealed or not.                     ·
            4.. The 11.ct forbids. the Jl04!6easion under any circ1nn•ta11oes or pistols hy tiet·
        eons who llnve 11omm1ttod crunes uf violence a~ defined by t l1e act ..
            6, The general prlbciple of forbidding the t.ransfer or plst-Ols to l ninors ill in·
        eluded.                   ·                    ·
            6, A detailed method or identilicatlon ii! pro1ided 1n the caije of ealcs by
        111iv11te persons and transfers by deniers, requiring Ucenaes -Of de11lera.
            7. J\ cumplete system is set up for granting lice nl!lls t-0 enrey ooncenlcd wenponn
        In cuses where the character -0f the applicants sod eiuergenciea juatif.)I the Sl\Ult!.
            8 . The provisions of tile aet ere me.de effcet l\le by P.tohibitioos against the
        glvlt1g or fnls~ mforml\tion tiy purchaaera and applicants for licenae?s, nod lhu
      ' alterntlon or icientilication marks on wcopons.
            9. Pawning pistols· or trndin~ ln thllm by WllY or lllO~llJl:e {e forhfddeu ••
            10. A general pe1111lty provlaion ls contained in the act 'll'lth terms of Jmprie.011-
         m11nt nnd 11n1011nta or linetJ left blank so M to ~uH tho needs or the p nr-ticOIAr'
        Stat.a er111.etlnp: the lnw.          '
            Jn general, it Is eubmitted that the proposed Uniform act e1nbodlc&A61U1d Jol'ma
        or regul11tlnn which have etood the test or experience in this country 1mil tlu1t h
         cmbodioe suob TIOW idcaa as lulve boon prosented from time to tlmo t)y lndiv lduald
        and orgru:1\latio11e worldng lo the 111Hi10 s11bjeo~ mAtter. Thus at the ·B11mo um .. ·
         ib&t It proaervea the traditional methods or fireanns' reg11lp,tlon it . tAke~ 11dvnnta~
        or enUIJ.httiried oxperlenoc or recent. yeara. 1t comes as near, it ia belioVltd as 1t
         It P<>ftdlble to come In moe~lni tho 'two diverK')nt views of a too d"""tlo reg;;latio11
                                                    JA177
        on lllB'one hl!lnd !!Ind a too \Jbefal lack or regulatio11 on the other. Exhibit A, Pg. 793
"                                           ..
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                 ~               COllAl"EN'TS ON l'NDlVID1'AL St:CTIONB
                                                  '
         Section I. A 'piat-01" 1a defined as.a fiteArm with bsrrel leM thon 12 lncho1d~1
                         1

       length, in accord1Utce wit.ii ilefinition8 already prevailing in State. statutea. lt
      thus inolmles a revolver or nny amnll firearm capable of being ooncealed on tile
      person. Other kinds or dangerous "'eations nre not included. " OrilJlll of vio-
      lence", which Is u.aed' in numerous places in the act, is defined to cover such.
      crimes as ere ordlnaril,Y committed with the a.id or firearms;             .
         Scetron 2. An additional penalt.y is provided for persons couunllUng crimes of
       vioJen~e when arm~. Thla provi~ion ie found, nut pnly in recent enactments.
      following the revolver t168ooiatio!l 'net, 1>.ut In other 15tntes, .some of tong s~aruliD!f- ·
         Sootfon 3. The faot that & 11run!1111l es armed w1tl1 a pistol without l1ceotle ui-
      deemcd pri·m a faoic e\'ldonoc or his Intention to oomroit tho crime or violence
      with which be Is c;hargcd. This provision fe nleo found not only in I.hose SM.tee
      whlch have followed Uie revolvor' association act,, but in a number of otlier
      Sta.~s.                               '         •                                     •
         Section 4. One' convictecl or a crime or ~olence ia absolutely forbidden to own
      or possess a pistol err TeVolver. TUIA provision alstt llaa numerous 1ireccde11ts In.
      ex_iJtt)ng St11te lcgis!Rtion Md is useful in keeping firearms o\lt of the bandA of
      cr1m1nala.
            Section 6. This sections rorbids the csrtyi.ug or coocea.I~ weapons a.nd ia
       11imilar to ptOvil!loos pl'\1valllng 111 pmcitlcall~· every jul'istlictloQ iii this co1mtey,
        It 1ulopts the modern theory of making the prohib\tjon ei..-tend not only to weapons
       conccnleel on the'pcreon .but also we&pons oerried In vehicles whllther comiealed
        OI' nut. It is'intended th11s to remove the easy method by \Vhfoh n criminal 011
        hcing puamed may tmnsret ll \'tenpon l'«Jtn bis.pocket to a concealed place in u.
        vehiele,
            Section ll, 'l'.bls section enumerates. all the clnsses of pereouF who, ib eecme,
       should be excepted from the pro,·iaions ol ~ection ·51 tl\e Ii~ bein~ e.dop!,ed 11fter
       a comparison or persons n11med iu e,'<"1St i11g State etll>tul08. The ~ception of ii.
       concealed Wt>.&pon fn a dwelling house or place of bosinl!Bs is contained i~ ~he
       pret•cding section: Thie ~tion extenc1s the except ions f,o cases ~\lhere the "''capon
       may be in proces9 of. being cll.l'ried for mere purposes of legitimate transfer or for
       repair.                                                            ·
            Section 7. This section detineS\ the method for npp llctition and it:suance of
       liccnsea fo carry· concealed woo.pous andJor the preservation of the record or the·
       same. It is in line witH existing provisions. No bond provillion l1a.s been added
       bccall!)e ! till believed that, if A proper et1u...ing is·made on the }>art of the appJ(cant
       118 to chnriictcr and .n ecessity, the bond provision should not be lntl'<lClttced to
       make the ol>tainlrig of the l icense difti~ult 1i.nd burdensome.
           Section 8. 'l'ho provisions of thiij aection forl.litlding tlte. delivery of .a woapou
       to a minor, a crimino.1,. or incompetent1 are ainiilar to t.h ose now generall.r.- pre-
       vailillp;. Th(! age or 18 r c11rs named in t11c section has bt;ie11 deemed mo'(e deairut>le
       than the younger nge named In I\ numher or statutes and the hfghcr e,ge named in
      norne. It is believed . thllt' in ordinary instances youths will be or ·sllfficieui
      m11turity at IS, and thnt the nnmU\g or a higher age might makcitimpoasible
       to deliver weapons to mature youifig who might need them.
           SeQtlon 9. The 1>rovision of this eect.fon forbiclding a seller to trannfer Oil tho
      day of purchwre is l,11tended to nvold the sale or a firearm to a person in a fit or
      passion The section furtber re9ulrcs identification of purohwicr and WeApon
      and lbe prel!Crvatlon of this fdentffication.
           Sec lion 10. Thia.section requircs 11, license ot dealers and·is in line with ~isti11g
      stjlt11tes.              . - ·.                       '
           Section 11. Thid section con.stitutes tb·e conditions under wliicb lieer1Ses will ~
      granted t.o dealers anil' fot' the breach or which such lfeenses ·will be forfClfed, •.
      'I'J11>.11e conditions .ere in line w'ith" all modern legislation on the subject and con·
      stitute the d1ief safeguard 11gainat lireimna coming in·t o the possession o r 11nde-
      eirablcs.                  ·       ·           . ·                                         ·
           Section 12. This sootion in prohibiting a loan of a. pistol ~ured by "ny ol tile
      methods mentioned ls Jntondcd primnrily to.proWbit dealingviQ piotols by pawn-
      broken. ·                   . .                                        ·
           Section J a. Thfs Ao'lilon prohibite,tlie giving or false lnfor.lllatl.>n in purc~aslng:
      a firearm or ft\ applyIng .for a licenAe to ca.rrr tile &AID(!. The. principles of tlie
      a~otion have bfe.n tldo1 •ted not unly by tbOIJC Statce adopting thu rovolvor RiMKlci~
                                     or
      tiun act, llu~ by II nun: hel- other States.
        ' Section 14.' This l!cc\ 1.on, alilo designed top::escrve·tbe fdentfficatiOn or :Weapllllll
      In connection with · tn;nafore, fotbfde the clulnging of Identifying 'marlca and
      provltlee that the po.!1111'11aion of pistoleJA178
                               ~ .                             .                       Exhibit
                                                      from wbToh. auoh identifying marks      have
                                                                                               '
                                                                                                   A, Pg. 794
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        74
        t>e.en obllteral.erl shall be prilDJl racie evidence tlusl the·p<>Mcesor has changed the
       ...me. It baa been adopted 'bY e.U States whloh l~ve enacted ·thC revolver A&!O·
       elatiou act.
           Secllon 15. Thia aeotlon revokes all exlatlng lioeIUJes on a date to be iuserted
        by tho enacting Stat&.                 -
           Becl.lon 16. This section is deeigned to remove from the operation of \he act
        Breann.a that are kep~ llllll'lllJ" a.e .:u.riosiilea. 'It hAll l..>e1ln adopted already in
       t.hoee States which have pu!led'th.e revolver 8880Ciation act.
           Section l7. Thia is tbe.cgenetal"3eetion which provides {'Cnaltie& for violation•
       of the ,,rarioua provlsio11a of the act. The amounts or fuiee and the lengths of
       impruonment aro left blank so that these IDllY be fixed aeeotding to the needs
       an(l Ul!llgea or tho particular State. Tldl' seati.on is eo framed as l)o applicable      w
       to dllferen~ State definitions of wisdcuneanors and felonies. A ~<-ueral penalty
       aection baa been thought more scientific t .ban tlui n11mlng of 1ie.rlalties in <1on11ee-
       ti<1D wit.h specific sections.                •
           Beef.ion 18. This eeetlon la iut.endLod to avoid thu l.nvaJ(dlt.y of the llutire act
       Ji.y a judicial holding thnt a particular part Is unconatitntionAl. It hAB beeu
       included by the eonruence aa one or its model scetiong con'tained in mo!lt uniform
       acts.
          Section 19. Thlli eention, in Ae<col'dartce n·lth the practice ot tho conforcnce,
       PfOVidea /ozr 11 short dcsi"1o.tion of the act to avoid the longer d11l1nftiw 1 at tlJu
       beginning. , Iu the selection ot iJte words " Uniforin Fireat11U1 Act", the deli11ite
       Jllticle ,. lhe '' flM beetJ omitt.ed fn oroer to red\llle the abort t\tJs to if.a sruallee'
       tenn.s.
         Section 20. Thia section is Hie 111nta.l aection in unifonn aete .m1bodylng thll
       legialati'e intent that the act shall he ao interpreted as to make uulfom1 the !Aw&
       of t he Ste.tea.                                                         .
         Section 21. Thia !!edion is the U&lllll section found iu uniform acts provldillg
       for an effective daf.t!.
         Section 22. This section ill the usual eect.io11 In unifoTm act.a and contained in
       the revolver ABlloehtio n act , repealing e:<isting la\\'11 inccm(U1ten1, with ~be tll}iform
       act.


       Tim CAPl"llR F 11111Al!lfs BJLlr--'lTs. ~lON ~ U<itt UNll'oaM' Flltll1~s Acr
       !BY Obatlil!I V. tmlar, \r1c:11/prM1<1eot NaUnnaJ Cooft111n.ce or Oomm~ontn1 on Unlronn :i!tal< L.aws
                                  lll lb• l'.i01el Bar ~tfo~"3oum•l, MQrcb Ul'J2)        ,
           'l'ful t)1ll .ttcently introduced lzy SenntorCapper in the United Stutes Sc)oatir to
         control the J>O&&eSSion and trani!fcr of fire11rms aud other dAngero1111 weapons in
         the DiAtrict ot Columbia• ts Intended to replace t.he very inadequate l11ws upon
         that subject now prevailing nnd to supply for the District for the first time a
         thon>ugh and sane S)"lltem of rogulatlng traffic in~fireanns, in plU'tieulAr 8111aU
         arms e&Jl'llble of being concealed on the pen;on, with which the bill is chiefly
         concerned.. The bill has the endorsement of the Commlsslonc"' of the Dietrtet
         ot Columbia and or a numher of inftuential organizations which have studied lta
        ·provlaJons. HU. ,·cry similar to a bill which plll!l!ed I-he House of RepreseJttatlvClB
         In 1929 bµt wbioh falfed to. get consideration by ~he Senato that year bccauso of
        ·tbe short time t'l!mainlilg fn the legislative session.'                      •
         - The preaent Senate bill and the fomu1c Hot1ee bill, are with some additions and
 --,.._ minor chan_Eea the Uniform Firearms Act. promulgated b_v tbe Natiomt.l C~m-
   • lerenee or Commialliooera on U niform State Laws, iirst in 1920 and upon ~f>­
       cfrideration again in 1930, 11pon each oceaaion receiving the approvnl of tfu: i\meri-
        cm 1161' .AasOelation. •
                                          ll:J8TJ1JO n1tl"f)t1cT t.~WS

         'l"bt> present laws of the 01,trict or Oolumbln • are ns followa;
         One fa forbidden 11nder a penalty or a f!ne of SftO or bnprlsonment for not more
       tbaJi • Y'l&r OT botli. to can-y a ')"e&pon "concealed a\>ont ltl<J pereon" '(no mentfcm
       ~g made or A vehicle) , or openly with Jntent unlawfully to use the 11&me; with                                    I
       exceptions In cue or n - r y arme for.t he Army, Navy1 pollce, and aome othera.
       ~tlo1111 aro alao made of carrying weapons concealea In a dwelling house and
                                                 -         .                       .
       '° and from • pl~ of plltohaee ur ftJ>9<IJ. A lioo1J8Cl to carry concaaltd wul)Ona
         I B. '1~ 7911 C..., lit -   , JaG. 7\illlll. o blll (o _,lrol t:lle _ . .... alo, l.nwlils, aocl """ ofplalola
        Mldotbt<~--IDln,D                     trlclofOoll&mbla..tn-lll•penslll... M-lbeNl•UIM!Ollll...
        ~~~~-._,.,..
         f
         " ·O' OOI» mii. IAU. 41llJI, i,._1U. U$.
                                                         JA179
                                                             -
                                                                '
                                                                                                            .
                                                                                                   Exhibit A, Pg. 795
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                                     .NATIONAL FmEARMS AC'.1'                                  75
         m&y be granted for OA!lljC by jadgea of ~he puUce oourt upon the furnillb.ing- 1)( •
         bond by the applie&11t. Weaponll 1,a1'en Crom pen1ons aouvloled undor l be 1>tt>-
         vt4ion1 pf law may be eonfiacated by the judge. Selling danger9U1 'l\'O&pone to
         minora is prollibitOO (no mention being made of inoompetenta, cfuninal11 or drug
         addicts). A dealer in weapons must obtain a lictlJ.80 and fun1ish a bond. He
         muat keep a writt~n register,. open to lnspectioo lly ~1e police, or purclwiers and
         weapons.
                                       8tlllMARY 07 CArt>ER BILL

              The propoaed law aa regards' piatols provides in the mafn 8li' foliowa;
              The carrying in a \'Chicle or concealed on the peraou (except ln l.bll llomo or·
          place of h11sinea11) or a pistol (defined 8li' any fircATm 'l\itn b1u:rol lca Onm 12 lnahee
          1·n length) is forbidden to all except law officera and certain others and thOBe
          specially ilecnsed under rigorous safeguards, and e~cept under certain conditions
          a11 ,going to and Cl'om a place of re1>11ir.     A crime of violence committ~d by one
          armed with a pistol carries a furt.her penalty In addition to that prceeribed for tho
          crime, gr11duatcq from tho first to the fourth oi: au~quen\ offense from maxima
          oC 5 t.o 30 feats. The fact thd O'ne charged l\;tb auch crim.a i8 lmued -without a
          license ill primA facie evidence or inte1ition to commi& the crime.
              Po8Be88ion of piAtola by those convicted of crimes of \ 'iolence ia forbidden and
          clelivory M platolA la forbidden to such convicts, drug addict<i and incompetents,
          ag well as1 to minors under the age of 18.
              Delivery under BAies may be made only alter 48 hours from application &o tlie
          ~er, durin~ which interval a complo~ ffilOrd or the intendhig purcbuer and
          the weapon 1s eent t o the police. Dealere are 11ubject to r igorous fe!}uiremont.1
          as co111llt!ona for licenses to sell. Muong other things the purebuer niuat be
          pemooall)' li:nown to the eelle.r or furnish clear evidence of hl8 identity. No ales
          mav bo madc to tbe·prohlbited claBlles mentioned abo\•e.
              Penal~iea 11re provided for giving false mformation in connection with. a JIU"'
          cb&8e of a pmol and alteril!I{ the identifyill'g marks thereof. Proviaion la made •
          for liceneea to be. il6ucd by the 1mperintendent ot police fon:arrying pistols llOO·
          cealed, lor cauoo.                  . ·
              In addition to t\le regulit.tiol18 mentioned above ..uh relurenoo to pfatolil, 88 to
           whiohi a legitimate uee is recogui%ed, certain other dangerou~ w~po1111 arc. wJth a
          few o:\acpiione, entirely proaeribed. These are tho machine gun, &ear•p.11 guD1 or
          tear-gas bomb, or any instrument or weapon of the klnd commonly known as a
          blacli jilok, sling shot, billy, sand alubJ eandbng, metal knuckles, ol' ~ firearms
          aile:ncer. The exceptiorui are made in t ne case of machine gune and eeYenLl other
         -or the contrabe.ud wea~rui ruuned in favor or the Army a nd Nan'1 the police,
          and certAfu other l1Jdiv1duals and organbatlons.                               •
                       •
                                        UNU'Olllll Fllll!:AllMS Am'

            The Natio1lat ConrereJ1ce of Commiaaionet11 oo Uniform State Laws lle~q it.
         worl< In 1023 upon a request made of it to fr1unn a uniform la\\· which might be·
         adopt~ by all the States for t.be purpose priman1y of ellininating the- e\•il of the
         purchase of firearms in St:ot.c!r w'here regulatiou \\'ae la:\ 'l\;th the consequent
         nullil1catlon of the stricter laws or other States. A sttid)· was made of etatuf,es
         on the subject p?Cvalling in thls country aud the hiatory of the matter of fil'eanns
         regolation,. It was found that all State constitutions as 1vell as the Federal
         constitution • guarantee the right to luwe and bear &nil&. Jt ll' 88 round that
         practicnlly without 0:1coptlo11 nil jurisdictions interdict 'the carrying or concealed
         weapons.                                  ·
            Thus It might be said tlia.i all jurisdictio11s recognize JI lugjtimato and illegiti-
         roat.6 1186 or arms: Thia :is A \'ll"Opoeltlon tha.t firearTUB re:ronnon1 6ometimes lose
         $gM of. Colonel Goddard 1 baa rcfe"rred to ille "lime wbeIJ I he rlOe hung over
         every mantel, and tho. p\$:.Ol held an honorable place .as .a setondary "·espon of •
         defense aod offe1111e." An attempt then to ooutrol the llleglthnatc nsll' of the
         firearm m lU)t not <>verlooli ltA legitimate use.
            Tbelegitimate ll.ses of the pl.ato1 and otb® Breanne have l>een aummar:iud bf
         Mr. Preder:lck.• one .,, tlle lepl and t.!clu1lcal advh<en \o *e conference, as
    .~   lolJOWl!t
            "l. .By the po\lce, l!COl'C~ eervfoe, arid other law-en!otteme11t officers.
            11 :?. 'J>y the Ar#I)', Nav1, Marl'ne Corpe, Nati.o nal Gnard, and Orgel:illd
          a-rvea.

                                                  JA180                               Exhibit A, Pg. 796
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       76                                                      NATIONKL li'lREAltMS ,._CT
                                                                                                             '            .
        ir3, By bank guards and bimk employees, ~resa and mail ligentRt WAt<ihmell',
      met1eengcns, And others similarly employed,
        "4 . •By target.ehooters And marlt8mcn1
        "Ii. .BY houacholders tor tll.e Ri•otectlon of ~he lwme, ~ use which n°'v BB fo
      the plLSt le large and important.
                                                          UNBOUND MET1100S 011'               11 6GUl ,A'l'l0~

         !'he conference tound existing In the State qf New York the 8111livo.n law
      w!'lfoh for ma1~y years had .rcQ11lred n.• it does now a }mrchaser to ~f\euN! a llcenso
      to purchase, under somewhat burdensome requirements1 e.g., ~he filing-of o. photo-
      graph by.tne purehaser and hls eubmlssiop to fipger·Pri11ting. That law, llowevet;
      has not prevented the Increase In New York of crimes of violence committed with
      firea~. as Mr. Frederick co11cluaively shows.l While sllililo.r. Jo.ws have rece.ntQo
      been p,assed in Massachusettsi West VirgiJ1ia, New J11rsey, 'Michigan, and in
      Hawwlt th!$ method or regulat.lon hll!I not fl111nd extensive rul!>ptfon, It w1111
      believed by the conforence that such a regulation is unworkable Rnd leads ~o a
      11y.stem         or
                   pistol bootlegging, lt puts a burden, on tl1e legitimate purchaser and
      does not kcci> the pistol out of the hii!ldB or the criminl\l, It was for that reO.Son
      not embodiecl in the Uniform Firearma Act and Is not therefore p part or the
      Capper blll.
                                                                                                                                                •
                            .MEAN llllTWl:llN TOO LOOSE ,\ND
                                                                              .           /od Qlt~8Tl.C REGU.IL\TIOll
                                                                                          ~



          'l'brough rejcotlng what W!l.! believed to tie tb_e u11eou11d $ysrem of roglllalJon
       fn the Sullivan lllw And laws modeled1thereon the draftamen or the Uniform Act
       sought to incoiporate therein the sound principles of rigid regulation tbat were
       fincllng their wo.y i nto the eta.tut~ law of the•8tat.cs. Much of ihi8 hlld been
       brought into the proposed Uniform Aet drafted."bY tho Uni~ St.ates Revolver
       A!ll!Odatioo, which act had altcady been µ1188ed •fn 1923 In New lfa!I\pshire and
       North. Dakot~· n.nd tunned the 1:>111'1$. of \)le Califo'fAja law of the same year. Thus,
       at tJ1e &rune time that the dra(tsmen of the Unifo."tll Act preserved the tl'e.Wtlonal
       methods or firearms reg11lation which had stood tho :.est of time in this oountrr,.
       tihey took advantAge or enlightened experience· of recent years. Tho Capper bill
       mny therefore be said, as may be said of the Uniform Act upon whlcll rt 18 blll'Mld,
       to come as near 118 possible au meeting the two divergent views of a too dmatlc
       regulation un Ute one hand, nnd a too liboral ta.ck of :regulation .on the other.
      ·Like the Unifom1 .-\ot it 1J1t1.kes for uuifonntiy -0( legislation by incorpor11tiog
       within its tel'l:ns provisions that n~ll receive acceptance generally. And lt !9                                                         •
       obvious th11t 11nlfotmity canuot be ~eeurccl ,in State legjalation unless tnerc ia Iii
       hasfo ngrcement flinong ~e Stlltes on the !)rinci(lles Underlying a proposed uni·
       form law.
                                   •                                                •
                          i>Rtl'IClPLEt! OP CAPPEU lll'Ll.I A.LJU!lAD'I'. BXTEN8fVEl.Y Al>Ol'TEI>

          .Attention h.os alreu,dy b~n cailcu                                 to tlie fact. ti.u1t the proposed new legislation
      was already In olfecit iu C.Uiforilia New lJnJl'\PShire, •afld North Dakota, when
      the conference bcE&ll liJI work in 1923~ It was thereafter .ooac.t ed lh Indiana in
      1925. After tbe firs~ approval bv tho ooJlference in 1926 the Uni/Orm Ant, except
      tor the licen11e to ptu'Ghll&t featii~,                                 wBB
                                               &dopte:<l by Hawaii rn- 1n21. Sl11ce the
      second npproval in !930 tbe U11iforo1 A~t has been ad.opted in Pennayl\IAlliA.1
      Many of ftY provillio11S have been e0$Cted into the statute Jaw or other StllU!s.
      lhno.y therefore be s1lid .that the provisions of the Capper bill have a.lren4y re-
      ceived e.xteoslvo -ACceptance elsewhere. It ie believed th!it the favor alread.y won
      rcfr tl\111 type of legislatfon will increase nnd that the en~tment of tbo Capper blll
      by Congress as a focal 11\W for the Distriot of Co\umlJU. will plnce ~be District Jn
      the clo.sS or prog)'elllfive juriedictlone un thle s11bjeGt.                ·       •


                                                        Uimro.n v Fu111An1111           Am flE)\f'rt11Mi:1>                          •
      tn1 CtwlM v , lmla1, _,,,l..,. M CommltU.. oo Unlro,m F i r - AC!! ol <:ommti<>lolMln an Unlloaa
                             Stal~ Lari In the )\merlrno ftAI' AsooclllUon lounW)   .
         T·he Ur.trorm Fireanns · Aet, 0110 oTseverru M(a 11dopkd by thu ~&tlo11aJ
       Conrnrenre of Commitssloncn on Unllonn Stllte Ll\w& at Its sessions lo Cbfoago1
                      . :,... . ~~""• I\ '41
        • Piltol DeglllaUoll.,               ... .                       . ,.....
       •t:..,   _ , , _,1t't1. > . . . . : : .,.   I~ .... ~   _ -   t   ti        JA181
                                                                                  1-
                                                                                                                 .   .;
                                                                                                                              Exhibit A,I •Pg. 797
                                                                                                                                         ''11
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                                                                                                             71
          A11,g11At U-16 and approvod by the .American Bu ~aliOo fo it.i-100 there
          i\\1gu~~ 21, is in llllbl.t&nce and in f~nm alm06L identical "'itb A lomiet dro.Ct
         lldOPted b.y the con(erenQn &tld approved by the bar a&>OeiJLtion a' tlleir reirpe<ltlve
         8C~81ons ,at Denver in July 1926. The intervcnhJg 4 yean have been employed
         ill a Cull reeon.sidl!l&tlOu by the conference or \ltrt.iu controversial featurea (to
         which reference will bu made) which had promJ>tOO the bar associat.iOll Ukewise
         to ru~onsider its opprovn1 of the Conner draft8.                                          ·
             'l'ho 6ual <lrafb with 011\)• a few depari.urtlB f'ro111 the former, whioh llAll been
         rllvll)wed before iu tlli• Jourual,1 may be sunl111Arited ln ita im:portant proV'islona
         ~follows~                                                                        •
             "The earryil\g in a vehicle or ooncealed OJI the NJ'lfOn of a pillLol (defined as
         1111y firearm witli barrel I~ th411 12 inches 111 length) ia forbidden to all ~cept
         law officers and f'ulaln Otltcra and those s1~flll.>' llcenl!e(f under ri8l)N>U• a&fc-
         gUA.r ds. A crime of \•loJenee 'committed by 011c; 11rmed with '" pilll.ol ctmlcs a
         fur.tiler penalty ln addition ~ that preaciibc)d fol' the crime. Tbe fact tbAt one
         charged wil h euch crime is 11rmed without a llconac ia prima facie cvldcnoo of
        .i nteut.ion to commit tl1e crime.
             "Delivery or pistols i~ forblclilcn to convict;;, dru(J aildict!!! hal.>ltulll drut1hrda,
        and lucompctents, M well as to minore uudur tho 11ge or lts. The nrst rla11a are
             " SB!es lll&Y be     mflg
         forbidden to po6t!C8S pM q\e.                                                 .
                                     only alter 48 houT'tl from 1111pJio&tlon to the wlter, d urlng
         w}1id1 inter"al a coin lcl.4> record or the inte111llng purchaser is sent to till' ~lltt{J.
         OcAlen1 are sul.>ject       rigorou!t requiremeni. ~ 0011dilion11 for l!cen!it.'I t.o ~­
         Auumg other 'thingg he 1111rth.11J11?r must be pqn1<>n"1ly known to the ..clter. .No
        <11>lca may be made t:q the l'rohibited classea encnUcmed above:
             "PAwning pilltolb ia !orb1dde11. So., arc riving faltie lnfoanation in 0011nec..
         tlou with a purctu-. of a pisU>l and alterir1ii: the ldentlfyltig marks tllcttol. A
         gl)nQrtl peruiU~· s.ictfon provides puniehmenb for violations of theljf! provl•lon11
        M well air for th11 vlolAtlon of other proviaiono of tile llC>t."
•                                               0111.ECTJONS TO 1"111 D.llAl"I'
"
            The subject m11tttr of A Fll'tlnrms Ant WM Rrllt brought tq the attentior1 of the
        contcrcnt'e at iti J\llr111CAApoliM meeting it1 l IJ2a Ill the. form of .A mod~ IAW
        r.lroJt.cd bv the Unit«! St11tc~ llivolve.r AssNllAttou, t.he &ubstancc of whlch had
        Alreacb• been e1111ckd to tile California, North Dakotll\ fl.t\d New lilUUp&hlre
        ACtl ol that year. (h wu 1.tiereii.fter~tllll f11 t.he 1>1aiana Act of 11>26'.) It
        wu bttause or t.110 lllvor "'!th wbie.li the model law hnd already been ~tved
•       tluot the coJlfcrlll'.lce ad111<r~ t>O doscly to it lo thu t>en~er dran of 19'.l<> 1<1ld hAll
        dooa 'lfO also in the n 411w draft. But no\wltu8i3ru:Uug the momentum
        ga.ined for the uruforui a c t by the previou~ lldl.lptJQtl or tbe model h~'I" 8lld the
                                                                                                        "'"'lid.Y
        1mdorsement o! the ccir1for11nce and bar all&OOlation, t.he ai:t immediately u.pon
        Its promulgation late 111 1926 was severely 1·ritl¢.lt.c:d In .some quarters as not
        bcJ11g snfljciently draetic. These. critic.isms were In the main ftom law~nforce­
        ment officers, notably Mr. G. V. l\foLaughlin, tlJQ police commiesjooer of New
        York City. The critlci81Jl~ were presented hi folL £0 tlte conference by it.ii oom•
        Jn{ttec !tot tbe Buff1<lo na<!ell11g in 1927.' 1'1.111 obj!lc:Uons thus made prou.ipt'ed
        the conierence ~nd in tum the bat 88SOdatio11 to wttl~draw the .aci tcm1>0rntily
        for reeoni;:ldetation.• Another lea60n for rtcon~!(l.-iNhon WIUI the faet tJ1at the
        OJ&tt.e.r of littarmA l~aiJon wu beiug 0011-ltlctl>d by the National Crim&
        Cowtnl88fon which early rn 1927 produced an ~t wWcb inoorporatecl 11\mt u(
        the uniform act but deJ>~I therefrom in aome tmportant pattictil811l, notabl,y
        in the requirement or A 1foClllao to p11rclJU11e. (It AllJO introduced the new ma.tier
        ot machine guDB.)                                 .         I •
            Dud11g the 4 yeare interve11lng betwe:eu tho two ilrilJU. there llavc been frequent
        0011.ferenoeti between committees or the Nl\UOn11>I ~rime Conul)isalon 1'11i.l thn
        llonCereuce. · T he critir.la1ns of ttie aot and th() fiUfl~Cllltlons made by tho Grltne
        C(>inmission helve bOOu MrefuUy considered auel hrtv In eotne instances influ()1•Ccd 1
        the redraft in aub~tanc11 and form. 1n trus r.xou lduatlon all r~ent 11tii.tuW3
        11<nc.I judicial decisions h1ive been compiled a11d pl'i r te.d In clc.Qornte annn~U11t1~
        111 tllo committee re:port to the Chicago contcrcul'C.
            Ono criticism waa t hal. the d<1Jlnltlon eJptnol 1l1ould not oo confined to "any
        t\r(IAOll wfth a ~I 1&11 titan 12 incl1Cll iu f0)11gtb." B ut thbl Is tho d1tOn1llon
        [ltevalling iu a great 111ar1y ~tatee, indie&tlug tl\J!lt the lcgislatlon refers to &m11>ll
        flrea.mia. The dljfinltlo11 h         therefore been rolAlnoCI. It was Mid ll11Jt tbo
                                                           . n. pp. 707-7'!11.
                                                             JA182
          t 'A ....,.... Bit A;...Ji•doo I Ol.lnltl,                                       .    •   '
          • llllAClbooli: Na.I. Coor. conimll!>lootlf't on Uollotm 8toto l.•w•1 1027, pp. ~n.   Exhibit
                                                                                                 .      A, Pg. 798
                                                              m.
          • l61d. JI. fMIO; A.D.A: 11opor11, vol. a:t, 1927, p.
                 08278-U-:-O                           '
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         78                                       NA'tlONAL PDtEAJlMS ACT

         addlUonal pllnaltv Jor crimll!I <:ornmltted while on(I IR 11tmed i.hi>uJd oot be eon•
         611fd l.o ''crimes           of
                                violenf.e" Jl!<c murder, mau8l1H1gllt(lt, Cllo., !Ill defined in lhD
         aot, but ex~nded to cover ~ri1Ms of other kind$. lt was thought, llowevcl')
          tbat the pr<)visiou 11bould bu 111udo applicabl1t to tho{HI orime11 mentioned In thn
         aot beo11111M1 they are tbo110 In whloh the pistol ~poclfie&lly figures. For the 1111me
         rcAnon tho Conference hae Reen lit to interdict the anlo of tho pistol only to cora-
         vlob of tl1At class, as against t ho contention that it el\ould be interdicted to 811
         wl10 havo committed BIJY crime. '£hla ls on tll\I tM<lr,v thBt tlie pistol· hs• a
         legi_tlmAta u•e to a hou&eJ1older and should not he prouibited to him wHl!.out                                            1
         eumc:lent ca1L11e..                                         -
           The obj-O~tion of Commi&sioner McJ.aug)\lin tlu~t tl10 Denver draft fell short
         of thu t«lllif'l!ruents in mc.lrelv forlliildlng &ofe.r 8s a "~htcl11 IJ co11cemed the Cutf•
         Ing of 8 plJ1tol "concealed"' w11~ 1111tnttted to be aouod. • .\nil the com1nittcc of
         ~bo ooufflrence was more rie,...11&clcd tq admit tbi~ t1hfccllon llecawre the ulme                                            •
         COlll.mJ8'<ion had in i te drnft Corbldde11 the Cntcylng by Any person 'Of 0. pf&tCll
         "iu any vel\lole" without a ·u~oiU!, that is, 'Whether eo11ceo.lod or unconcealed.
         The lin1>l draft of the Unlrorm Act thorefore cont.Gins ll ~lu1llar provi~iou. 1'l1lls
         proventil tho po.ssibility RM Oon11nl~Klo1u~r M11Lll•1Khlln poiob! .out,.of crlmlol\lh
         placing pldtols on tho ltoor qr o.11\omub1les and <!Onto11db1g that they are not
         conec11lcd.                                     1
            The objection raised by otborv that the act did not t1rooeed OJI t-be theory of
         prohibiting m1111ufactu?'I) Jl.Jld .a11lc of pilltols, 'l\'hlah. .-m- at one time to h& ve
         l'«ICtvcd at lea.st the tacit AlllCfl~ uf t he bar 888Qcl11tlon 1 llOUld not be 11dmitted
         bccauu l t la opposed tn pdnolple to all tlieorics of ~1Jtlo1t 1Joretofore prcvaili11g.
         ThcN llO\' cr h8s bee.II •l\Y 1K11iom1 lllfort !Dllde tv OI>M\t 11:¢alat jo.n proWbltinlt
         tho. '-'111L6csluro and BAie of J)iiltcls, The 11eamrt al)111"(>11cl1 to ttiis wa.8 • hill
         eommonly known aa the Sbiold~ bill iutroduced in tb.o Ulllted St.tee Senate 011
         April 25, 1021,• which was' intended to reatriet tbo m1111ufacturc of firear111s w
         wcnpous of ~tll1ld11,rd Nmy 1111d l\nvy make!J. Tl\11 hill fil.tled of f)888age. TlilA
         Jogi~lfttiOn has Of COUl'8e frequeutly been dirocl.ccl Agnh111t OC111trab1111d WCll)lOll~
 •       thf<t llllW> no legitimate 1JAti l11 the haudo o.r pri\'111.c altlZ!lllB, e.g., recent stJ1 t11te~
         11g11lnut the rulinufaclurc and J)Oll<lelll!ion of machine gw1~.•
                                      LlCENaJI: TO      CAJlllY-NO~ t.108XSlo: T O r VJICl/lASll
                   T he ohjceticm moet al'rong.ly urg~"llgaiMt ·th<: lllllform f'it1'arms .\ ct hall
         Wll'll' ft(>D\ l ho•c Who have fa>'of'Cd the theory Of t.J'lo J~on~e ln Jlur'Cltll&! u-b.lth
         list bMl11 ~ettecl by lhe <:onfc-renre in l!f,th dtafh. Jt was 1iointcd 011l i11 _tile
         mvl~w 1n this Jonrnal <1t tho former .IM'.t that New Yorlt lud long stood virtuall;'.
         alone In ti.voring tlie Conn of rogolntfon I)~· licen!!C to flllffha.'le nnflcr the "0-t'allcli
         "Sulllv1111 law." 6TRt enactl'<l 111 tllll8, 11'nd 11ow cxi.6Ung there wit.11 certain amonrl·
         montl. It was alRo po!l\t~'<I out that, MIW!at'lm~ctl• h11ci rc<:l'11tl1· c.nart«I II' law
         111011~ Oto •11me linc,1 uml thM 11 ~t11t,11te of Wc.•t Vlrl!inin uf 192~ 1<eemccl to l\P·
           roiwh tho 11rinriple.1 l:!h11•ll thnt !"CYluw the Statt.'t! ofMkhlg1111 • and Now J<'..,.tiv
          r.
           ave 11m1cted legialatio11 Tequiriug a lic'<~uso to p11rcha11e.10 Snrh a pro\'i~lou t~
         aleo co11tal11~'<l l11 ·t he aCt of the ll•waii .4.gill)ature horufllll' moulfoncd. Do,.1111<1
         tlU1l, 80' far u the comm!l~'C 111 11(h'IA<..'<i, the pri11ri11lo h_..,. not prevailoo; the "r11111'
         and file ol tho State.e in tb.ib cq1111I~· aTC oppo!!Cit w Ii. I.Au Oregon Jaw of !Illa
         nl(lu1ring 11 license to p 11rch111<c II&>< bwn 11uperscd~tl hv • l!•w modeled ~lo.wl\' of\
         tlio U11iru.,11 Act.fl) It"'"" 011 1111~ j)riudplu that tllu ciornrnllloo of the co11f(!~u1ie
         waa une.IJI" to reach. au 11g1W1l11mt with the counniLIL'<I of the Crime Con11nl""1011
         . whl~b 111 flic draft inrorpOf'!ilt.'<l •tic lhcor.1· o( a llc1111•0 I~ lllll't'llllJ<O.
              In td(l('tiog t ho theon.' or tJ1e lirc11Ao to purehiw:i tho r.on(crcnce l1as not 011tr
                                                                                            or
           atlhtJrt'lll 1.4 what hai; ahvayij hl>UO th., prc ...aiHog form 16gl~latioo In thl~ country .
           but to what this committoo h1111 rontticlcrcd to ba tho Mtnm<1n eenllO ot pi~lol
          rt1iul1t1011. Tho requirement of o, lit·o1111e to purchMe with ii.!! eon11equcnt l11co11 •
          veulcnre and notoriety of unrh things aa J>hotottranhe1 aocl thumb prl11tc1, In
          acoordaooo. with the metllod prevl\iling 11n er the> Sullivan law iu New York,
          eub)Clf'te ~be l•"·..tiidiui cllJMJn ~o ha.rdilhlp and t11com·11ntcu(C, aod thue rondarw
               • 8 - U A.JI.A,, <Of. XLVll, 19'11. l>P· m-4U, OI.

          . , r· . .... . .,.cij.,. -,
               •l'Tlh~.. lll-8. 11...
               • o....JA. . ~al. ·1 m. ell. 662; ....... .ic. M-. 1177, cb. HI; ~ldll, "'"' ""' 1177, -
               l     -  O.. L,,                Mt lll_, iia, IQ ,
                                                                                                                          J   .
                                                                                                                JTI: NJ, 1"111),


               •*"""'·
               •  ,v.._ 1a... 1116, r!h. lNI. ..t ,-~ . :a, 1m. •1110ndlDJ: 8. ;. ob. ,.._ fi:(!l)At 'IV.Vt •
                        l'\i.I).. Al:Q 19'17, DO. 11-. t , ~ Cc>'"P· """' MW>., • • 711!< ('IV), fl04 IT•»
               " N .J, t.,..t 19'l7, tb. UI, 1. e,
     '         " o..,.on lo""" At21·W llupp.. ell. r.. o. 9,             JA183                                  Exhibit A, Pg. 799
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                                                                                                           79
        m•1rl' 11lllk11U Illa o\.ttAining a pt~tol tor the tc11:ltlm11tc purpose of the derc1itc ot
        1ho holflo &u<I Al 1.be ea.mo time d oe11 not .kl'<u> tho ti!Jtol out of the hAfld. ot the
        11rlmln11l. Fo.r Jic. will uot obey {he law~ but wUI ohtllin his pistol und~ All)' clr-
        vmu•l1111cc, Her does not stop at purr1111.1fng, like the re><ptttahlc l.'lll&cn, bui
        will miC>rt to therta of pietols, pistol hootlogging, •nd for laek or anytb.iog elae
        tt'.AOl't to ~hit UWed-<ift .!!hotgnn.
            Several dra.tt.G of tbe reviSed U11ifo.rw Act auring tl1ese 4 years of reconsider,..
         Hon, ti.((., I.Joe dmft presented ot Seattle tu 1028" nnd that at Memphis in 1929,''
         bud t1nbodfed ~ditional i::rudAlr'ial with rerorunco to machine guns, as hnd ~n
        du1111 in the ri'imc ciommission bill. An uot ndhcrlng closely to the lllll&-21> dr4ft8
        nnd umhcxl~·ir!g l?rovislona wit~ retcror1cc tu mnclilno g11na intended aa 11 locnl
        lnw for the D1atr1ct uf Columbia bad pnsMcd the United States H o11se ot Jkprc·
        rontutl"ea" ill the spring of 1929 but failed of pn11Snge in the Senate. It wn• ·
        <11m•ldored , howe,·er, by the commtttcu be~\ to co11611e the Uniform Act, u tho
        Dillt\'llf dr11rt or 1026 hnd been eouflnud, tu plstols, imumrneh BS the regulation ol
      1 emnll flre11rrn~ c01U1tituted n aubjeot {11 ftft1M, 1'he matter of the regulation of the
        l"'ll"''"''olt llnd tulle of ~aehine g;un~ ~nd ollmr l1igl!l¥ dnnge~us wea~nB (I( lh11i
        1u1foro 1111• l>cN1 comautted by tlte cv11r11r4'ncc to 1t11 committee 011 lircamJB for
        tl1~ tllll'J)OftC of" report at the 6eS8iQ11 wloiclt \dll be J\l'fd iu Atlllfltic City in Sep.
        tomfJft 1031. 111 this interveuiug >'""r thfll 3lllo)tol will therefore receive the                             •
        <:liPCr.tI nttcutfou of tbe oomruit''4.-e.
                        :11.IUX' Bt:TWE&N "l'OO 1.00~11 ASD TOO DllAllTll: llEG'CLATIO:<

             'l'l1e Attention of the commit~e \\'llA 1Utccled to lagi~lation of the kil•d known
       -11~ 1l1c "Etlmond WRles bill" or" Bau me:• hlll " 1" the text or which w11.11 pre9Cnted by
        t11e ccimm{ttoo to the conference il1 u11c of its n1)ortA. This proposed Jnw nn!l
        .Otll!'r» of tho name type have been before tho New York legislature a numbe? of
         tlmeA hut hn\·c never heen paMed . The~· go so fAr RA to require a license to f>Olllllllll
      · ~ pl•t~1l nnc1 to .iffcctunte tbnt purpoJIC wcml<I require. 11 State-wide reglatmtlon.
         An Ark1111•11n Mt of Maroh 16, 1923, so prO\'iding, waa repcnled 2 yca·ni l11tor 'all
         1111w11rkablc,11 Sucb a provisio11. i11. t1 Mlnhi111u1 Mt of Moy 26, 1925, Wall howev~r
         indudud in the most receut Michil!llll no~ of· 1927 mentioned alJo,·e.11 (The
         ror111ln1mc11l~ o~ the. Vi,rgioi.n Cude Su~11lt'1nc11t ~•f 19~6, S. 2324a, lmpo11b•g •n
         11111111111 t~K on p1&tols approacl1es the re111etri;tlu11 pmvis1011&.) ~o rerord tuu1 been
        follulJ uf e1111llt1f legislative attemJ>tli ~~vwhl)ru. Sueh vroposa.la o.re entirely otlt
        -0< 11110 with rt~ll8•li:.zed precedents autl coul1l 1111l rcceh<e general adoption by State
        l1't1"lat11rr...,.                   ·                                                                          •
             ll '1111 be 11okd that most or t he &d\'MIC cirlllelun lo. which reference hu bceo
        mode pro~e.111>011 the theory that the low In Jh pro,·isiona is too mild. On lb.a
         olhCJ' hand almost at the same ti111e th111. the critfoi,,Ulll mentioned above 'l"ent
         for tl1«'oml11g Jroru the chief of police ot Xew York Cl\y U.e Uoifonu Ad of 1!)26,
        Jun'lv1t pnssNl both legilllatu~ of U1c Sh.to Q( Arlzoua, was vetoed by C1>v.
         Gcor110 W p , fl unt in a veto mC1;11r,1W of M11~l1 4, l!l'Z7, fa \Vhicb be dillcnMes the
        Mt M 11 ~rio•1' Jn\'Mion of personol 1il>orLle11." He ('fasi;ca it with the New Y0rk
        Jc11i31r1t.Jo11 on die subject, and at<gue~ tlmt it i~ Mllreh· too draatic. ThlA l• lo
         lino \vjth numerous arl(uments adva)t~~·I ftou1 tin1(i to' time In pruentat1011A or
         ~hil tot\Ll\lr, ).K'lotc- tho Natioo11l Co11r<;ro11c:i:, rn1111;v r11m11bcn1 ta.l•Jng tlie point ol
        ''low that tlto 'lnw was too d rasti0. (This 11•11A thf! p11h1t of a ,·cno:-rnble mcmlicr
       .Qf thu ro11ferenco in casting the voto of his 4lnl.: t\(Cllln~t the law In the l'C)cent
         Chkugo coulc~nce.) This Ulustrateij very w11ll thi1 fact tl\11$~ldi:4'I 1111on the
        "ulJj~cli of firearms legislation take many rlilferont tum~. vary!qs.(\:om the cxtromc
         vlow 1111t fo'rward eon1etlmeA lJy 111..• oufottemcmt olficcni tb~t( firearms In tba
         JIOllM'Ulon of ordtnary citl2e1U1 .are 11.elc&11 to tho otht!r cxt.rel~'<)vie"' ao111etlrn~
       .nllvocAt.ed i hnt iiersone should be pt!1mlttcd to              &""   od lillititl!t.,' .~t..-~n the11e
         I wo ah111r1\~· contrutl:t1e; extre,mca t l10 v•>mmltt-O<J of tloe confllreo1l'.has. aollgM to
         "   U>J.1•100()~ l9'lll1 N>. ai-.211.                                                 ~ ~. ~
         U I fM>dl>ooll IO'lll, pjl. ~.                                                        tj.
         "'lll"  n01>.-.•~' -· n.n. 1n11.
         " llal)!lhook lll'J?,_ Pl).llOT~Oll.
         '' .#,1 ..•a.•
         ,,_.   N-v.    -ot'
                          ·~ Act No. J.61. p. 1047.
         "1laft~b'M>• ,.,._ m>- •~m.
         11 ll•Mbd611; o n , -pp . ~
         •• 7ot1t t:on1 •• 1t1 flllClel •• tl.tl. 1111L
         1111andt1ool um, t•P· oOl-9•3.
         ,.. At'kAllllM•Olt •H6, Aet. No. 3.'\l, o. 10.7.
         1: v N~I~ 0                         ·          .J.         •
                                                                                           J, ''
         "11.TI~t.ooi.    tm. 11:'!"1; Veto M -. n~•COJA184
                                                       llo11•0.1'hl)ofih, l\tb .. M~. IV, 10    ""'Exhibit
                                                                                                    11-1&~ A, Pg. 800
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      80                                 N4l'JO,.AL l'lBEAJUSS ACT

     11 iui and &middle gro1111 d that wilt be coll8iatent wittJ badlt.lonal fon:ns of regulAtlou
      In llllO in tJll• country.
         1 ~ I• tll4I belief of 1he ·oommilt.te that the Pn>J)Otlt\<l Uolfonn Act-embodln
      4out11J form~ or regulation wliloh l)a\·o stood the teat of e..'<t>eriencc 1o tbiltco11nwy.
      and that It emboaiea suoh new ideas as have been presented from ' time to time
      inoludlog thoee ad\aocccl by Commlsaioner Mr.Laughlin, the National Crlmn
      Oomml111Jlon, 11nJ other orgnnlta.~lona working along thlA line. ThllA/.at t~e aamr.
      tlmo that It preserves the tro.d1tfonnl methods of firea,1ni$ regu1a~1on 1, t tAkr.w
      advr.niag<i of enlightened experience of recent ,yea!'I, 1t comes as near, in the
      O}>lnlon ol the commiti«, u It l'1 -po11nible to comet In mroiing the two diver·g~t
      \•lew• of a too dr8$tic regalatJon on the one band, nnd 11. t-oo liberal lack or TCgu~
     tlcm on the other.                                                            -
         lt te ln~ruirng to note that- In the rcceni 1egi..~ation lllcntioned in Musacirn·
     aotU and Michigan, tbo l4ngu11ge of • 11umber of section& of the Uniform Act llu
     been adopted. · A Rhode llfADd 11et of 1927 hns lneoi'potaicd a number of section•
     verbatim." The legiafature ot Ilawlrii in 1927 odo}'l~d moat of the aectiorui of
     \110 ~t vf)rt1atim.~ Thu8 Uio prinolples and the fonn or the act, e,Ueady well
     atlv11ncc1l In the legjslatlU'M prfor to the beginning ot ~he undertaking by th&
     conr11mnco In 1923, have gained 11pprecmbly in Sttlt<) Oll!\Otlllent.s during the rottr
     ycara that the matter lias been \tndeT ttconsideT11tloo. H ill believed that tl1i8
     r11vn, 11lreAdy \Von will contlnoe and that the act, with ltk recent reaffimation hy
     conftll'Cncc 11.nd the bar .usociation, will have a f.avo~blc reception throughout
     tlle l'Ountry aa a :whole.

     STM'EllDT or 100 '11lOllAS TAYLOB., lllnlSDTmG TD
                     A1UIUCAR LEGION
       l.ir. TAYLOR. My n0-me i.s Johri Thom11s Taylor and ·r nipl"tleeot
     the American Legioo. I should like to .!!_ro&ent a resolution which
     the National Convention of the American Legion at Chicago adopted
     in consid11ring this subject. l would like t.-0 read the resolution, if [
     may {reading}:                                                                                 f
       lk ii rr~olrd, That the Ameriet.n Lclgion nlC()tnmeodJI that the Cot1greBS of
     tb~ Unik!d States snd the legl.al.tures of the ecvc,.i States p&sa legiatatioD
     tomml the end that the ~le of machine guns, 1uh~hlne guns, and lethal
     wnp()l'lll bit re.gulal~ and cottlrolled, &.fld that ~he ownc?J and holders •nd pur-
     chAM\111 of •ucb weapons be regulated and controlltd, tt.od that tbe owneni and
     holdql'll and purchaaere o r ~11¢11 weaJ>0na and tbefl' ~ti"• tnmsfer be regitU,rcd
     with tbc pl'Opet public 11uthorltlcs. and that· the P<*!Cl!lllon ot machine gune1
     ot1bm11.eblnc guns, and letbal weapon• be restricted !.() tho organized military
     lorooe ~nd Jaw cnfo~ment autboritill.'I of the United States and of tbe eeveml
     Staten.                                                      ,
         Mr. Ch.Urman, and mombers oI the conunittOO, you w.iil note ~t
     thie :refers to macbjno ~na, submachine guns, a.nd lethal weapollll.
     We aw in full accord with the Department of Justice on this matter
     tt.ncl ,wo ~ !e~d. every Aicl we can in carrying it out. Howeve:r, we
     &r& ul thtS poSJ.tion: So f&r ea the small wea'pOns are coJ?.c.eroed, tb&
     pi.stol or revolver, we do 11ot w&nt lligialation to be ena.ctea which will
     m fno~ not reach the crinti111tl, against ~~om ~he legislation i~ directed,
     but Wlll roach the groat mass of law·ab1dmg c1tlwns who are mtercsfott
     in htwing revolve.rs and pistols of theil' o~ ae $protection. That i&
     our inten;st. , lt is ev~dent that. everybody· !13 in f\Cc:ord fo~ ~he neces-
     lllty'Of Jegudation of this cl111ract.or, BDd we hop«; th11t whon it ts dra!ted
     it. will ronch the man it ia l\.fte1'-tbe cri:minal-bimse.l.f, a.nd not tbo
     greut bo~ ollaw·abidingcit.izcns. We hope there will not be another
     \Tol11~ ad Act., with t.he smuggling of the smt\ll amui, becaU9e tb11
     crimin.Al ia going to get 11i.s unJ(l88 you· go after hiin. J know you
     g.:mUamcn will bring out thnt type oI legislation.
      t• fl ,f, ell. Ui6:1, lAon nm.
      ,. u......u.....,,. ln7t 'ICt ~~
                                                   JA185                        Exhibit A, Pg. 801
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                               .
                               NATXOY;\L Fll:EA.n~ ACT
                                                             ..
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                                                                                 81
           The CnJ.mMAN. The Chair would like to suggest that.in view of ih~
        statement.a made1 that you confer with the Department of Justice.
         You are all going to the same destinatioo.
      ,,' Mr:TAYt.OR. We certainly are..

       STATni:ENT ·oF SETH GORDON, PRESIDENT AXERICAN Gilll
          ASSOCIATION, INVF.ST!IENT Bun.DING, WASHINGTON,· D.C.
         Mr. GonooN. My nnme is Seth Gordoni I am president of the
       American Game Association with offices in Washin~on. I will take
       about a :minute. The 6,0001000 spor tsmen in the united_,States          are
       guite perturbed n!>out t~e po~sible effect of this viece of.legislation.
       I am sure that I vo1ae their sen tunent when I say that every o:ne of those
       G,000,000 'would li.l<e to see·legislation that will contrQl and absolutely
       reg1ilfl.te . the possession of the machine gun and submachine gun,
       but whe~u go beyond that you are going 1o infringe upon the
       tradition 1 ri hts of the sportsmen of America who have stood behi11d
       this co1m · 1n time of need. Every time we luwe hnd trouble they
       have como to front more quickly than any ·other class of. people.
       1 think you do riot need to pass .any legi;llation so drastic as this bill is
       in its present form but that it shoUld be restricted to machine guns-. ·
          Mr. SHALLENBERGER. How about sawed-off s hotguns?
          Mr, Gom>ON. If you can find a way to regulate them,· I am in favor
       of it. When you go into pistols and sideftl'DlS that sportsmen carry
       <>n t.beir ·hunting trips and require them every time they cross a
       State line to get a permit in order to do it, there will be 6 10001000
       sportsmen opposed to it.
          The CHAIRMAN. What excuse or whut justific11.ti<>Jl is there for
       anyone having a sawed-off shotgun?                                       ·
          Mr. GORDON, None. If you will permit one observation, tliere is
       some question about how f~ you oug1lt to go "·hen YQU s~y sn\~'ed-0'1
       s hot.gun, When you speak about a gun shorter tlian 18 mches or 20
     ·or 22 inches, that is one thing. If you indude a gun which h11ppens
       to ho.vo -the end of the barrel blown off because someone got snow or
       mud in ,.it, and the barrels nre cut off and thev continue to usa it, as
       I.hoy do in the country, it is another thing. \ · 011 havo to be rnref\Jl
       when you say sawed-off shotgun SO thut. you do JlOt iJiciude a gun
       wJ1id1 'is still useful--
          Generol RECKORD. \\re helicvc tbt\t the machine gun, submnrf1ine
       gun, so.wed-off shotgun, nnd dnngerolli! and dendlv wenpons could nil
       be indnded in any kind of a bill, nnd no matter f1ow drastict we will
       support it. II you will give us nn opportunity to sit clown nna discuss
       tlus matter, we believe we ran present two or three hills thnt will co\·er
       this situntion.neurly lis well, hero.use it is a hnrd problem, nncl it will be
       aimed O.t the crook, the mnn we nil want, hut it ~ill not hamstring
       and injure or interfere \\;tl1 the rights or tbe prerogatives of the honest
       citizen. '\Ve o.ro·sincere; we will work \\ith your sub('ommittee, or with
       ~he Attorney Geoernl, 1£ ·~ven an opport1u1ity, ru1d we nsk the orror>-
       tunity. We believe tl1is JS bad legislntion nnd that it fa unnect'ss1:·ily
     · burdensome on honest citizens and that it will no more l'<'ach the
       rro~k ~ho.n any lagisln~ion heretofore~ If we only hnve the oppor-
       tunity to present our views-
   \      Mr. CooPElt. The Assisttint Attorney Geneml stnted that y ou ho~
      S6Yeral hours with him.             JA186·                       Exhibit, A, Pg. 802
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        Ge.neral REcKonu. Yes, sir.
        Mr. Coi>PER. You have had something like an hour today; how
     muc~onger is it going to take to be prepared to offer your definite
     and spedfic suggest.ion~ in 111eeting tbe problems?
        General RECKORD. I ' rht present specific recommendations by
                                  n
                                  . ng



     Monday o~be coming week.
        The CnA MAN. The Ohair would like to make this observation:
     In view of t e statement· just made by the adjutant general              or
                                                                            the
     State of Mar;Yland, who hae e:tpressed an interest in going as far
     as the Government cn,n go by legislation to·accomplish the purposes
     which are intended to be accomplished, I suggest that ·an effort be
     made with tbe Department of Justice to see.if he can work out some-
     thing this week along the line of an agreement whereby the committee·
     can have the benefit of Y<;iur jl.tdgment..    ·            ,
        General REcKono. I will be glad to do that.               ·
      · Mr. KE1:NAN. General Reckord, Mr. Smith tells me, stated tnut
     he could not hope to reach an agree..ment with us as long as we wanted
     to regulate pistols. I would like to kno.w if that is still your position?'
        General RlilOJCO.Rl). No; that never has been.
        Mr. KEENAl'/. There was evidently a misunderstanding.
        General RECK.ORD • . I went to Mr. Smith because I could not seo
     Mt. Keenan, and Mr. Smith can correct me if I am wrong; Mr. ,Smith,
     when I s~ted some legislation that we would propose ifjiven.
   , an opporturuty, Mr. Smith t-0Jd me the Attorney General an Mr_                     - '•
     Keenan had made up theirminds and would not accept the su.ggestinn ~
        The Ce:uny&N, We will now adjoum.
        (Thereupon, at 12:30 p .m., the committee fi dJourned.)




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   ..                       .,                                           '•
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                                          JA187                           \
                                                                        Exhibit A, Pg. 803
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                                              NATIONAL FIREAR~fS AC'r

                                                   AIONJ>AY, KAY 16, 19JI*
                                          HousE OF Rsl'RESEN1'ATIVES,
                                         Co>.WrTTEE ON WAYS AND l\(EANS,
                                                                 Washington, D.O.
                 '1'h~ committee met nt 10 a.m., Hon. Jtobert L. Do11gl1ton (cbnir-
              mnn) presiding.                              ·
                 fJ'he CHAIRMAN. I suggest that Mr. J(eennn proceed with his
              explunntion of this drn.ft, as 11e did in connection with the original
              bill.                                      .
                 Mr. VINSON. It occurs to mt that it might. be well to insert in the
              record this amended drnft.
                 The CllAIRltAN. Without objection, it will be inserted.
                 ~Jr. VmsoN. I think the heading, H.R. 9066, should be stricken
              out and that it should be shown tl1at this droJt is being considered
-· '          o.s n substitute measure.                                         .
                  (The committee h1.1d under consideration the following druft bill:)
              A ntLL To 1JNJvld•·l0t tbe t..utlon of "'-nul®tllnlN, ll11J)OrtM. AJ>d' <lt•lllrs Ill ~ llttiu:1la •II<\
                                                                                                              ...,....le
               11u1dlloo Cll'OS, to tax the 1&1ci IJt ~lh<or illspooui or such weapoll9. .od to ""'trlct lmpormtoo ...a
                lllt•t<frat.o tnlll$part8UOD th....,!
                Oe ii ~nodll! by IAo. Snial« ond Houac of Rtprtunlali~u· of Ille Unut4 5'41u of
              Am<riM •11 Can11ru• autcmbltd. That for the pu,,_ ol thia aet the t:erm " fir&-
              4ml" mca11s a. JJialol or TC\'QlvcT of more than .22 e!lllbu rim fire, a llhotgull or
              rifle h.viog a. l.>&rrel lC!!IS Uum l & inches fo fongth, or any otbu fuearm capt'"
              blo or befog concealed ou Ui.e person, a firearm m\lmer or fireann &ile11cer, or
              a macl'liue gun.
                 The t-0rm "machine ~m" meanR 111iy "'capoil wlllell shoots, or is designed to
              ehoutil a.utomatically or •cmioutomatically, more thau one el1ot, ·without manual
              rcloa ing, by a sfngle function of the trigger.                               .
                 The tirm "person'' inolude11 a partnership, wmp11ny, association, or corpora·
              tion1 os n·cll as a ruttutAl pareor1.       -                      ·
                 Tnc term " 'continental United Slates" mean• the Sta.tea of the United Slatee
              a11d tlie District or Colurnhla.
                 The wm "importcJi' ' m®na any person 'l\'bO lmPorts or brinp fi~ml rnto
              t.lse ~ntinental Uuit:etl Stat.ca. for we. .                                                           .
                 Tltc term "ms.nufacturcr" means any per&on who ia cnlfll8ed within tho con·
              tJne11tlll United States in the mn11ufo.cture of fiN&l'lll)l, OF who otbenriac produces
              U'1ercln &.)ly 6reann for ®le or di3poaition.                           .
                 The term "dealer'' mcaos AllV person not a manufacturer or importer engaged
            • witllin the .continentnl U11ltcd 'Stat.cs in the bnslnc..s of selUng flrcanns.                     'fhc
              term "dealer" shall iMlude wholei<alcre, 1111w11brokors1 and dt'aleni h1 uacd
              tlro&rrus.                         •
                  'rho wrm "interstate cornmorcn" means trar1111xirlatlon from any State or
              Territory ·or DiaLrict, or 1rny ln•ular Jl06l5csr<io11 of the United Si.t<l9 (including
              Llru PhlUppino Iefauds)\ to any oUlc;r Ste.to or to tl\~ J)1elPlc) of Columbia.
                                                                                                                           -
       ''         Tho term "Commies oner" means lire Commluionnr or Jhternal Revenuo.
                  The term " Secrctarv" meaM tbc Secretary of tho Ttcuury.
                 Tho t.cru1"t.o trauatcr" or "lmmforred" nbtdl ir1cludc to eell, .&1111ig11, pledge,
              lell8tl, loan, give away, or other~ee dispose of.                    a
                 S&e. 2. {a) Wlthin 11noc11 dnya after the o!Tecth·c date of twrs Act, ol' upon
              llnt engaging in budlllcl!I!, 11Hd thereafter ou 01 bcloro tho lat dq of July ot
              cMh ycn.r, every importer, m1u111flleturcr, aud dealer lr1 l!rcanns shall register
                                                     JA188                               Exhibit
                                                                                           83 A, Pg. 804
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  •      1"1b U10 oulketor o( lo!(lrn•I revonue for .ea.ell dldriot In '"hich such bwlvme
       1 b to be urned on_, hia nt.me or •tyle, pri11dpal ptacc or buaineM, and p1-,C9 o(
          bU11f11~ In such diiitrlF!~ 1md pay a •peeial tax at thci followlng rates: lmporteT'!I
      \ or manuf1111turenr, $l,oou a yt'ltr; dcn.lctS, other than pawnbrokers, $200 a ycaT;
         pawnbro.k·e re, $300 a year. Where tho t&."t Ia payable on •he lat day Q(,,July fu
         any, year It shall be· co1nputcid for 0110 year; wbaro tl1a. t.U ill (lliyablo ..011 any
         othor day It 11bAll be oomput.00 propoFtionatcly from .tlle' t &,t ' illi.y" of' the' 111onth
         in whli;ll the lll\bility to the tax uooru11d to the lat di')' of July followinft.          ·
             (I)) n ~h_all be 1~wful for ony ~J'l!Oll requfTed to rus\lll!lf UIJd~r the pt<;wiaJ1>111
         or thI8 ~lion to 1mport, m"11uf&ol11re, or deal In fireMtlut wHhout having ~gi>!­
         t('rocJ •nd paid the t&x Im~ bv ~hie aoctioo.
             ~lte. 3. (11) There ab:&ll be lcvi~, collecte<t, anti pnM upon li.r~at'llll! tl'anafemid
        •~Our ~-outl11e.ntal Unite<! Stata1 a t&."t a~ the ra\e of S200 per machine gun and ll -
        ~ other firearm, su~h t8$ to be paJd by the peJ'llOn ~o dltp06fng tberc<il, and ~
        bO l"QPntMnted by appropri~to &tamJll- to be pro,·ided by the Commiwoner, wlU\
         t ho &J>f)roval of the Secretaey; and tl10 etlUllpe hemn prov[ded s)l&ll be &filsed to
         U111 Offlllr for such firearm, honiiJilll~r ptovided (C)f . Tbe tax Imposed by thfll
        M\Ctl()n •hall be in addition to Ally import dut•y imp()8()(1 on such lirearm.
             (I'>) All provisione or !Aw (h1l•ludi~ thO!iC n!l&Uug tu spei:ial tll.,ea, to th6
        ~rmmts, collection, reml11J:lon, 11nd refund oC internal-revenue ta.,es, to tho
        cnp"avfng, iaauance, 831e. a.coountabllity, cancelatlon, i.nd diatributblp of We•
        paid •iswpe provided for in ilJe ln~rn&l revenue la'llis, 1rnd to penalties) applicable
        •i~b. nw~t to the tiu:etl lml>CIK'd by acctlon 1 of tbc Aot of ~miler 17, 191 t, as
        tunllr•(ll.'Cf (U.S.C., Supp. vtJ, tit.le 26, secs. t<MO aod l383), and all o\her l!T'O-
        vi.\191111 o( th~ internlll re.-cnuo I.Ml'~ e'ball, imdsr 1111 not btaoNi&te.nt wftb tbe
        provlnlona oJ Ulia Act be applicable wttb respect to the tllU!I Imposed by thUI Act.
             Ste. i. (a) It aball be ttW.>Jful for uy peJllOn 1(1 tr&m1for a lireann e:1<cept In
                                                                             w
        punmaMe of a writwn order from the person seekillg obt.ain such artfoh.~, on •n
        "Jlpllt l'\ior• foTm issued in· blaJ1lc in duplicate !of tb3t purpoee by the Co1I11J1is·
        91()110r. Suoh order     shall   identify the 11pplicant bv ~uch moans· ot Jdentiflcatlon M
        11\Aj II& ))reecribed by s'eghlt;r.tlonfl under thiB Act:' Pffllli1h1l, That, If the atttillc•flt
        tA An Individual. such identifrcaUon shall h1ch1de fi11gcrprlnts thcl"t'of.
           (b) The Commisaiooer, with the approval or the !!ecrollU';)', shall cause suitabli-,
        tomta to he prepared fot 'he purposes &bnre mentlo11cd, and shall cause the .~
        to be dlalributro to collecton of ir1temal l'evenue. to poet offices, a.nd to 4UCb
        .u.soclAtlone, deitigMUd by the Com1nis8ioner, All· 111 good Cllilh. are Ol'gl>nited Cot
        tbb plUJlOi'C or, and arc ('JIPRt'd fu, target shooting oY bunging.
            (e) Every perw.n «0 tr&fu.-f~ng a firearm ahall AJCt (ol'th in each ropy or 1111011
        ordu t'ho mAnufacturor'1 uumber or other muk ld~1tifyiug aueh 6re4rm, and
        etiall furwurd a ropy of euch onler to the Conunl11,loner. Thu origj1111l tl\Cl'l.'Of
        wltll etlll11)1e affixed, sl1111l be T"Utl1rn~d to the appHr.s11t.
           (d) N u pet!IOJt shall f-r,.1111felr t) Rn•sun which h1111 1uv viu1isly been transfot'T\ld
        on or Arter lhr. effectivo 111\t.,~ nr t,hl• Act, unleivJ s11oh pur~un, in addition l.o r.om·
        plyln11 with s11lk5Ci:tion (II), tMt1•fc,.,. the=-ith tho ~tAnJ(l..affi.wd order provided
        fOt 111 thlM llCct.lon for Cllllh 8UC11 prior disposal, fo CQrtlpllnuce with such reg.\lln-
        tiollft &.ti nmy be prcscl'il>c)cl 1h1(ler tlu~ Aet for proof ltf l'~."t1!erttof all ta...:es 011 Sl1Gl1
        tltt.llflll..                                                                    .
            (fl) [f thn transfeY   or ,, lir~ur111 i• esempted (ro111 the 111vvisions of thls Ad 113
        pro vll!l'd in section IS hl'l\'ur, llte penion trorud~mttll ~ucl1 firearm shall notify
        tl'u\ Cutitmilclliooer of thl>111111111oJJd11ddl'!s.' of Uic opvllcaot , tbu :111.mber or ottwr
        P\l!otli: Jt.IJ111Ufyiog such fi1'1:1tnn, ""d the date o! ita d11Jpo~o1. nud shall file mth tha
        CummWll011cr anch clocub1 ..11t.. So proof thereof N ttw CommiJlaione:r mar bJ'
        r<:8UIAtlOllt Jltcecril.Je.                                            '
           m Importers, m1111Ut110tlll'CfJI Anti dcalern who have                ~i•ltred And paid the
        tai Ill! provid~d ror io tWotlun 2 (I\) of t h i& AO't sho.11 q_ut be ,required to eonrorm to
       tlta 11rvvlaions of this. oc-Ot!Ott wiUI r(l811Ct't to tran1<L•cflo11a In ftt'CtlJ'mij \\'it.h dealcl'!I, .
       lillt Al1111l ~l)cp such n ;Cof(l11 ·101d n lnky ~ucb ropor1-!I rc}g/)rdh1g su<'h tr&!Jlll,ctlons WJ
       rnA)' lie 11,...:a<:rlbed by rcg11'l11tlo11e 1111\ler this Ad. ,Fl                  ·
          Ste. r.. (11) WithiJI rour mo11tbn o.Ck\r' the elTcetlva d11te M tbls Act e,·~rf l)Cll>IOn
       J!OllllllUlllg ~ firearm •boll rcct.i~. wltll the coll~tor ot the dlatrlct in whlcl1 110
       1"td••1 1 lho number or o th('r m11.rk Identifying .e uab 01\'!LTm. t<i«othcrw!tb h!s t160ll't•
       addr('M, place where 81tClt "~\>011 I~ t~ually-kept, a11\J f>IAe.ll o r bwslne... o r emplur-
       mcnt, and, Ir aneh ~n la other U1An a natutAl J>enon, the name and homo
       addl'CWI -0( 11n executive ofilcor \llcrwf: l'rotridtd, That no ptrtOn ahall t;>c- ~ulttd
       to l'tlgf.11~r under thiallCOtlon wl~h ro"poot to auy finlarm 11cqu:i~ alt.er tbc elfktfro
       dllW vt, tut!l In con!onnlty with \hu riroviefona or, t his Act.
                                                         JA189                                  Exhibit A, Pg. 805
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                                                                                                 85
          (b) Wbenever on &rial fat a viollltion of eeetlon 6 hereof the clcfondant Ill ahown
       to h.tlvc or to have Jiad (:'09-·i~n <1f 11Ucb firearm at &oy time Alter auell parlod
        ot f!)ur montha without having ~stered u ~ui.red by thle eeotlon, such~-
        1ion ahall create a preaumptlon that auah anwm came Into tho poaessloo of tho
        delencWJ.t aubeequent to the el'fedive date of thl• Act, but this presumption~
         no~ be conc!Ulire.
            SIC. 8. : t shall be unlawful tor~ pereon to meelve or poe-. iny firearm
        which ba ai ""1 to!me been tramfe              in violation ol eectiooe 3 aod 4 of thia AC!i.
            SU'. 7. Any fi:reann which baa at   .any     time be.en tnne!erred In ~olatioo ol the
        p rovU.iona of thia Act aball be aubject to eelsu~ Md forfeiture, and all the pro-
        vi&iona of Internal-revenue lawll relating to ooarcbes, eel1ures, and forfeiture o(
        unl1&alped artlcles are extended to and made to apply to the articles tued under
        \bia Act, And the pel'llOoa to-whOm. thia A" applies.
            S sc. 8 (A) PA.ch msnu!acturu and Importer of a .firearm 11hall identify it wl tb
        a n umber or oiber ldentifica.Wn mark approved by tl!e Commiuiooer, such
        zmmber or mart: to be stamped or othenriioe 111aced thereon in• ma.nner appnwcd
       bs the Commieeioner.
            {b) n shall be unlay,'fuL ror anyone to oblitemte, l'lllllQve, change, or .AJter auoh
        number or other identification tnark. Whenever,on trial tor a violation of tbis
       wt-.tioo the defendant is ,shown to hue or co nave had ~on or aucli                                •
        firearm upon which llUl!h number or matlt •hall have been obliterated, removed,
        cb.anpd or altered, such pc 11 ion aball bo deemed ·aufficient evidence to autho~
       be co.11yic~ion, unlesa the defend&ot explains such po68E'8aio11 to ~he satWactiop
       of the)~·                                                                                      •
            Sze. 9. lmpot1enJ. ma'nu[acturers, and de&lers shall keep such books and
        records and nnder such returne in rela.tfon to the tninsactiona in firearms apeci6ed
        In this Act as the CommiYfoner, with the approval of tlle Secretary, w~ by
       regUlatlons require_                                     ,
            SEc.·10. (A) No fireanns aha.11 be lmpo~ or brough.i Into the United States
       or any Territory under its conf.rol or jurisdiction (including tl\e Philippine Islands),
       t\l<Cllpt t~t,1 under ~ul&tiona J>t'escribed by the Seeret&ry, any &rearm rllAy he
       ao hnpon.ea or brought in ~hen (1) th& purpoee thereof is abown to be lawful
       a.nd (2) such fire&rm is ·unujue or o! a type which cannot be obtained -wlthtn
       the United States or such Territory.
            {b) It sholl be unl&wful (1) lraudulently or knowingly to ilnpon or bring ony
       ftreann into tfle United St.tea or any Terriroty undel' ita control or jurisdiction,
       in violation o! the ·p rovisions of this Aot; or (2) knowingly to asaiat in so doing;
       or (3) to niceive, conceal, buy, &ell, or in auy tll&llner facilitate the transporta-
       tion, concealment, or sa.le of any such firt!ann after being lmported or broug.ht
       in, knowing the ean1e to have been imported contrary to l&w. Whenever on
       trial for a viola.tlon of tllf& eection the defendant ill ehown to have or to have
       had~Hension of aueb illlJ>Orted lirearm, eucb. pcssearlon ahAl1 be deemed mffiaiont
       evfdcnce to authori.lio eonviotion unlees the defendant explahm 1uoh possession
      .to the saUm&etioo ot tbc jurv.                         .
            S11:c. l U lt ahall be unl&'l\.ful tor any peraon who Is required to register 8.11 pro- •
       vided In section 5 hereof and who abaU not'have eo registered, o.r any other person
       who baa not 111 hie r - l o n a etalnp·i!.flbed order aa provided In aectfon 4 he.reof,
       to ablp,1carry, or deliv11r any lireann in intontate eo!Dllleree: Prtnridea, That a
       perscm n1ay. t1hip, carry, or deliver a firearm in interstate comll)ereeil such person
       hAd such firearm 1n bis poe6e8aion prior to . the eJJeoth·o date of thla Act .and
       notUies ·tb.e Commissioner thereof by aftidavlt within t.wo ~s prior to such
       shfpinent, eaniage, or delivery, setting forth in such Affidavit .bis sdd)'eM, t he
       uumber or otber·m&rk idcntlf1lng such WCAflflG. and the place to which it is to be
        ttanllported.                                                               '
          . 811c. 12. The Commlllllloner with the ap11roval o r th.e Seoretsry, shall make &II
       11iiedf1&1 ruleti and regulations for carrying the provielona of this Act Into ell'ecit.
            Sicv. 13. Thie Act shall nut am1ly w tile t11u•ufer oC ffmrma Cl) to the United
       Slatea Government, any State, Territory, or J>088eNion of tlle Oulted States, or
        to any political eubdlvl11fon thereof, or to tho D~tric~· or Columbia; (2) to any
       peace officer or any Federal officer designated. by reg11latlona of tno Comml,,.
        tioocr; (3) to the traMfer ot a11y firunn whfob ls uoaer'vl<!Ublo •1'd which fa
      J1:11nJerred 68 a cutfo«Uy or onuuueqt.
         ·· & c:-. lf, A1,1y pen1U11 who violates or fails to comply ..,;th any of tho rcqull'&-
       1X1e11t. of this Act, ~cept eootlon ij, ah ..11, upon convlcUQn., ho ftned not mol'C than r
       t:l,000 or be Imprisoned (Ot not more than G yeat11 or bot)!, In tbe.dl11en:tion ot
      &he colllt.    '
                                                 JA190                                •Exhibit
                                                                                            · . A, Pg. 806
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           Sac. ts. The bLu9 lmJ>C*d by pa,.grapb (•) or aoot1011 600 or. the Revenue
       Act or 1926 (U.s.c., Supp. Vil, title 26. eeq. 1120) and by eect1011 610 or tho
       .Rev11:allb Ad ol 193i (47 Stat. 16~1 264), ehall 11o t •s>))ly to any ~I'm or\ whlcfl
       t.b11 tu JJrovlded by teetlpn 3 or thla Ac~ hM bollo pt\ld.
           Sao. 16. If 111>y provlalon of tht. Aot, or the apl)lloatlon thereof to a11y pel'llOn
       or elreumatance, ill held In valid, tho remainder ol tho Act, and the applfoe.tlon
       or 1ueb provielon to othcir pcll'IM>n• or clreumata11CC11, fthAll 11ot be all'octed tl1erob,y.
           8•c. 17. Thia Aet &hAl1 take elfect on tho als&lcth d-.y atw the dt0te of itll
       ooaetmcnt.
           e..c. 't8. Thill Ao~ mAY be cited u th~ "N.aUonal Flrunn.e Act."
       BTATIMRNT OP JOS.IPJI B, DRJJAll, ASSTSTUT A'rTOUJY '
                                               9DRRAL
          The OllAialilN. Mr. Keenan, you may proceed with your staW-
       m~.                                                                              .
           Mr. KEENAN. The bill has been read, and I desire to procct'd to
       point out the changes made in thia substitute·measure.                   .,
           The CeAmVA,N. Do you prefer to answer questions as you gu
       along. or do you wish to complete your statement aIJd then answer
       que&\ions T             •      ·       .         "               -    .
  ,        Mr. KEEN.UC. I am willing t-0 ans'1o<er the quesrione as I~ along.
           Mr. TRUDwiY• .As a matter or record, Will .,.ou please tell tbe
       eten~pber.your official position.·                                            .
         •Mr. KEENAN. Joseph B. Keenan, Assistabt Attomey Genera\, in
       ~barge of,the Crimin&.J Division, appearing on behalf of the ,Depart--                 I '
       ment of Justice.                                 .            ·,
           Mr. Ta&At>WAY. Tlfote is one other suggestion~ btltcmi the gontle-
       man ~; .why offer any rompariaon wit.h the original draft?
       Eviden th.at is superseded, and wbAt inUlrest is there in the original
       dr&ft?       e do not care how muCh you compromised with somebody.
       We can tell by the bill what you are aiming at.
          Mr. HILL. We ha"' had an explanation &f the bill whit".h was
       introduced, and we would like to know what the modifications are.
       · Mr. KEENAN: I think perhaps I would be nverstating i!- m ~ying
       that it is an entirely now bill. I think it followa the old· hifi witl\
       a few cert&jn changes tl\at I believe to be important. Before going
       into the details of th.e 4'haJlges of the bill, l would like to make a
       statement of what l oonsider to be the eeeeot.ial changes. As you
       will recall, the bill as origjaaUy dra.fted . exercised two powers, one
       under the taxation clause and the otbor under tbe commerce clause.
       Under the bill as noW' submitted, it foJlows the theory ·or taxation
       all the way through, and it contain& this one affirtnative change of
       atreme importance in that it ealls Cor a ~t.rAtion of ·a11 fil·earms ·
       within a prescribed period. This·new provtsion does not, however,
       require fmgerpr!nting, w~cb bo.s been considered to be the objoetion•
       able feature of 1dentificat1on.                ·
           Mr. FuLLEa. It does.                   .                  .           .
           Mr. K:u:NAN. It doea not include llng11rprintiog of tho am1s now
       io exi&t ence.                          ·                          .
           Mr. li'vu.1:a. I had ihe other impre!)Sion.
           Mr. K sENA.N. Lot rne make thiS clear: In lhe old act we had no
       proviaio.n fo?" nigistration of e.'risting poss~!Uld firesn ns. In U1i3 ae~
       we h.l\ve, but it only tcquires tho namo1 address1 and the occupation
 f.                                        JA191 i11ent.ifil'!e.ho1\ by fingerpri.ntihg
       of the possessor. It does not require                                Exhibit A, Pg. 807
       oii', photographing. ,            ·
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                                     ?l'.iTIOl'lAL P'IJUU.BMS JlOT                     87
                 !.fr. TIUlA-DW.AT, ·In conner.tion- with that, r ·would like to cnll
..            .attention to t~oviso under sel'tion ·4 (a)1 ''Provided, i.hat, 1C the
               oppllc11nt is · on 1ndividunl, such identification shall include fingor- •     ~
               prints thereof."                                                     · ·
              . Mr. KE.eNAN. Thnt h11s to do only with those firoanns specified
               herein, that &rll acquired after the 0ft'e ctive dAt.e or this act.
                 Mr. TREADWAY. All you eliminat.G is Bn_gCll'Jlrint.ing of owners or
              •old firearms?
                 Mr. 'KEENAN. That is correct.
                 Mr. TREADWAY. If I went into a store today an_d sbowed that .f
               was a .responsible person for the ownership of .a pistol, then I would
              ~ fing~1:ted as o~ng that pistol?                      ·
                ·Mr.        NAN. That 18 corrnr~t.
                • ~r. VrNBON. The gentleman from Massachusetts speaks of elimi-
              nntlng fingerprints. It is not a ques tion of eliminating fingerprints,
              because under the original draft, H .R . 9066, you were not required to            •
              ~ster firearms owned by private persons.                 .
                  Mr. KEENAN. That is true.
                  Mr. VINSON. It is not a question of eliminating fingerprinting and
              phot.Qgraphs; that was not required under the old bill.             .
                  Mr. KEENAN. That is rigbt..
                  Mr. Vrii'eoN. As to those weapons now owned. is itiiot the taxation
              power which provides the basis for n>..quiring the mgistretion of the
     .. .. · firearms now owned and possessed?
                  Mr. KEENAN: Yes. In executing or administering the taxation
              provision it is import8.nt to be ·able to identify arms to see which pea.
              sessors have paid taxes 4lld which firearms have been .tlixed and
              which. have not.                          _
                  Mr. VmeoN. What is the perullty for vi olating aection 5?
                  Mr. ~EENAN. ,There is no pentJ.lt.~ at all.        .                  ,
                  M r. KNU'I'SON. In order to expedite matwrs, will you tell ua just
              what sort of BrDlS this legislation is aimed at, and what arms are
             ·exempt from the provisions o[ this act, or will you come to that later? ,
                  MT. KEENAN. I Will do that now. This act affects all fireanns ,
              wit.h the exception of .22 c.aliber rim fire pistols, and riftes and ahot- , · "\
             ·guns l111ving a bnrrel 1ollg(lr than 16 inches.                               ~ ;·
                  MT. KNUTSON. Sixteen or eighteen inches?                            fll'   ~
                 'M r. KEENAN. Eighteen inches,                                            1
                  Mr. KNUTSON. I t exempt,jj ihose?
                  Mr. KEENAN. Yes, it exempts tbose.
                  The CHAIRlllAN. II a deo.ler only dealt in the firearms not inaluded,
              in this net, would he be subject tQ this tax7 H he only dealt in sflot
             ·guns and rilles b&ving a barrel moro than 18 inches in Jength. and .22-
            . caliber rim fire rovnlvers, would he bo subject to this ta."t?
          ·     Mr. Kl:Et-"IA!':. Are you ·talking l\oout 11 n11mufi1r.turcr Ot' d<lalor
           ·or both? • .
               The CnAtRMAN. Both.
               Mr. ~ KF.ENAN. The term "manufart11rer" means any fl<'l'!!On who
            is engnged within the rontinental United Statl.'!I in the menufac-turo
           ·of fireRnns or who othorwi..'16 produ<ros therein 11,ny firearm for sl\lo or
            dis1>osition, hilt. firenrm, ei; defined, exempts tho ntns£t'S I h1we mcn-
            lioned before., I think the answt1r would be "no."               .
               Mr. Woonttun. According ' tn your dcf\,nitiom1, would I\Exhibit h11rdwnre
            mnrcbant who ·<™ill. in shotgun11JA192                                   A, Pg. 808
                                                  nnd rifloo, tho bsrrol11 of whirh wero
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                                                               -
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                i                                     .                      -
     18 innhes11ong or longer, e.nd who did not deal ui m achine guns or
     rifles or shotguns with bauels shorter tha.11 18 inches, have t(,> pay the
  • S200 tax?                                  ·          '              ·
       MT. KEENAN. I think not.
        Mr. WooDRUFll'. What is your definition of.a dealer?
         Mr. KEENAN. On page 2 t.he' bill states, "The te'rtn 'dealer' means
     8ny person not a manUfaotu.rer oi' importer engaged within the con-
      tinental United States in the business of selling firearms.''
        Mr. WOODRUFF. Would the term ''firel\mts'' include all those that
    ihad barrels 18 inches long or long0l'? ' . ,          ··   · · . .      ·           l .
        Mr. Ki:gNA.N. For the purposes of this act the defuut1on of t he
      term "fires.rm" is a pistol or 'reVolve.r of more than .22 caliber rlm fire,
     8 shotgun or ri.fte haVing a barrel less than 18 inches in length, or soy
    ·other firearm capable o( being cQncealed·on the person. ·
        ?.ir. WooDRUFF. 'Where are you reading?             1
                                                              •                  • •

        Mr. KERNAN. !The first paragraph of the .first page or the net.
     " Or any other firearm capable of being concealed on the_J>ei'son, a.
     firearm muffler br firearm' silenc.er, or"'& ma.chine gun." Therefore,
     shotguiui or rifles with barrela over 18 inches in length are not included.
        Answering the question,' I would say quite clearly that such dealers"
     would not be required to pay the. tax.          ·                   ·
        Mi-. WooDRtn'F. And any dealer dealing in revolvers of more thuo
     .22 caliber or automatic pistols o! ·grea.t er ct1liber would c-Ome under
     the provisions of the a~t7                                     •
        Mr. .KEENAN. Precisely, yes.        .
         Mr.. KNUTSON. Suppase a dealer, at the time this act is passed, has
     a or 4 shotguns or 3 or 4 Ji.fles which he)1as cattied over from last
     i;eason. Would i t be nil right to allow him to de(llaro tha1i'fact wit.b
      the collector? .. He,oould·i;i?t tum theru iD as. the m~.~u£ac~1.1rer would
   ·-not take them back. · . 1'                          •              -
        Mt. KEENAN. Int.he mstance you t'ite, it is assumed that t he barrels
     on these 1ifles nnd •sho~s will be over 18 inches.in length. ' •
    · Mr.· KNUTSON; He bas in his posse$Sion when this act goes into
     effect t.tiose· shotguns and rifles. In order to sell those two or three,
    -he would have to take out a license?                                            ·
        Mr; KEENAN. Assuming the sh otguns and rifles have barrels 18
     inches or more in length, and are not sawed off, they are 'n ot covered'
     by this BC~ . .      ·                                                              I     '

         Mr. W ooDRtrFF. The sawed-off shotguns are those on wbieh the
     barrels ba.ve been sawed off after.leaving the manufo.cturer a.nd nft~r
     leaving the dealer. .,.., ,                                               .
        Mr. M cCLINTic. µi tli~ first pa~egrn.P.li y.ou say a p~f-01 or l'e.v olver
    ·of more than 22 caliber ~n·fite; 'ts there any probnbihty o! the two
      words "rim fire" co.using conlu'3ion, tnking into consideration th.at
      pistols of greater co.llbei are all cap fire or center fire? Is the term
     "rim fire " DOCflSSDJ'y? , Wou)dnot 22 c~lbec be sufficient?.
         Mt . ·KEENAN. We adopted that proVlston at the suggestion of tho
      National Rifle .Association, as being the definition tba:t would exclude .
     from -the provisions of this net the typical target gun t11Bt had· no rcnl ·
      vnlue ns o. gangster weapon. I think pe.-baps Gener11I Reckord will
      be better nble to answer th&t thnn 1 can.                    · ·
         Mr. McCLtNTtC. A· centor-fu'e cnrtridge might be e.'l:oluded if y<>u
     specifically refer to rim fire 22 onliber.
         Mr. K~ENAN. It wc,uld be excluded, I am ID.formed.
                                           JA193                        Exhibit A, Pg. 809
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                           ·' If they are excluded, tbeu you would exclude a
             M.r. McCLtNTic.
           lot a! ~!°ls that you want to include.
              Mr.      llNAN . We would want to, but we feel if we get more tbao
           tbe 22 cl\lihel'IJ under the provisions of tbo .tt.Qt we would be aocom·
           plish.ing a great dee.I.
              Mr. Htc.c.. Would you understand that pistols or revolveni of oot
           more tbn.n. 22 caliber, whether center fi.ro <1r 'Tim fire are exempt. from
          this defmition 7           ·                           •
              Mr. KEENAN. I would think oot.
              1'f11. MoCLtNTIC. It seems to me that the two ~ords '' rim fare 1 ' ·
 '.     •
          ougllt to come out, because you wo11ld be liable to exclude center fire.
              Mr. KEENAN. I am not particulo.rl,y interested in that. That wo.s:
          ndopted Crom o. provision request.ed by the Nl.ltionol Rifle Assoc?1Ltion.
          I! the Oongressmiln_would permit, r would rather those questions be
          nddre.1sen. to the proj>onenta of that. provision.                            .
              Mt. Rn.L. Under thii! definit.too, 1r 11 deoler sells ' a revolver thn.~
          tires o. center tire cartridge of nny co.liber, he. would come undOl' tbo
          J!rovisions of paragra]>h l o( the ac~ tl8 a dealer in firea1'lll8.
              Mr. Kxl:NAN. H the revoh·er is more tbnn 22 ealiber rim ft.re, I
          thlok the answer would b-e yes.
              Mr. McCt.r.NTtc. Suppose it 13 more than 22 nod cent-0r fire?
              Mr. KEENAN. I tbink·it would pl.llinl..f come within the provisioos
          of the Mt.
              Mr. CooPER. I hnve Que question on thnt. Is this determined by
          the ohllrnoter of the cnrtridge fired or tho ~J>e of gun that fires the
          Ct\ftridge? What I am getting at is this: Ww not a 22 ri.fte fire a rim..
          fire or center-fire cartridge just the same?
              Mr. l{f:&NAN. '\Te nre referring to pistols or revol~ers only.
             Mr. COOP!iR. What I am getting at is this: Ia the gun itself so
  ...     made and designed that it will only fin! rim-fire cartridges, or will it
          nlllO fiN center-fire cartridges? \                                         -
              Mr. "Kz.ENAN. I would p~fe1' to have that question answered b7
          tb1, expert.a who have ~uestoo µs to iricludo tliis language.
              Mr. WooDBUJT. I will 1'11, that a rifle designed for rim-fire cart-
          ridg~ will liro rim-~ cartri.dges\&tid no others. f\ ripe d~ed to
          fire cent.el'-fire cartridges, I am hOt sure whether tt. will fire run~fire
          cartridges or 11ot, but I do not believe-it will                                  ~.




              Mr. COOPER. Is it the tj'pe of.eartridge fired that controls, or is it
          the gun?                             I.
              Mr. KlllENAN. I understand it ta tho gun; General Reckord tells.
          me it is the gun.                ,                           ·
            Mr. McCt.rnnc. The thought comes to me that if we ]eave tbooo
          two words in, "rim-fire", manufacturers might change the firing pin
          or change the eartridge and mal.(o that particular rifle in the future so
          tLat it Will fire center-fire cartri~. {f you take those two word!'
          out, it will refer to revolvere of more th&n· 22 caliber.
            MY. X:s:BN.u;. I do not ~we wo~td have any objeeti~m to ~at.
            Mr. WoODJU1n . There are some high·pOwered 2~bel" noes,
          not of n type for target practice.                             ,
            Mr. V1NeON. This provisioo onls l"tl(Ol"8 to pistols and revolvers.
            Mr. LEW1e. Whnt IS the reason for ex~pting pistols ol 22 caliber?
          Wl11\t kind o( a p.istolis that?                                       ·
             Mr. KEENAN. It is the 22-caliber rim 6re1 used {or target praotice.
            Mr. L-.:w1s. As pistols are they deadly?                  ~
                                           JA194                        Exhibit A, Pg. 810
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       Mr. KEEN~N. They are deadly, but they nre not so Ionnidnble ns
    the hcaviel' co.Jibelj O.nU tfils is I\ C0tlCeSSiOn 1 i{ it may br. 1:10 termed~ to
    those who hnve a !lobby' of tn.rge't shooting, tallowing I!te suggestions
   that v;e at~mpt to get together a bill.on                                     .
       ~r. Li:wie. Would 11. '22-calib er pistol ~e used for target. practice?
   I t Is readily concealed on the person and JS deo.dly. Could &t be used
   for tiu:g~t practice?
       Mr. KEENAN. The rim fire;7es. This js ihe mcss~o t1h11ot comes to
   us from the representatives o the sportsmen and f,hose who hnve a
   hobby of using pistols as well o.e rifles for tatget P.rnctice. . It has been
   represented that while thi& weapon is techii.ically a deadly \veapont                         •·
   it is .not a foriniCl11;ble '<>ne, compared to the other o.rms found on the
   gangster today.                                  .
       Mr. LEwis. Is it required to be register~ under the new provision?
      Mr. KEENAN. It would not be required to be registered.
  • Mr. TREADWAY, May I ask o. que8tion'l I want to get at two
   things; first, what present regulation ot law is there appli<;able to the
   owners1?Jp of deadly weaP.ons such as we ~nv~ ~ascribed ~ere? I
   :would like to know what ' the present regulation JS m connection with
   those-weapons: I would like nlso to know, when you'spenk of giltting
   tJj?ether with somebody, whether tbnt included 1111~ business enter-
   prisas, manufnctm.ws, etc., who have up to now been allowed to
   manufacture these goods under certuin restrictions. Havb ·they been
   consulted at all?
      Mr. KEENAN. Yes.                                                  -·
       Mr. TREADWAY. I mean the fulks you are endeavoring to put out of
    b usiness. There a.re two separate questio11s; I ~011ld like to have
    you handle them separately.        ·             -
       Mr. KEENAN •. l assume the Conw-essmnn hos l'eference to Fedel-al
    laws.                                           .
      Mr. TnEAD'\"fjAY. I nssume thni is D)l we clln discuss.
      Mr. KEEN.AN. I know of no rcgitlnticns except the present ad
    vnlorem tax ol 10 percent on s11les. Other tlnin t.brougll the inatt-0r
    of taxation, I do •not believe that there i!J 4ny regulation i bow uf
    by the Federnl lnw.
        Mr. TREADWAY. You are la.ying emphasis on t11e F~dernl law. As
    o. side matt er, there are State reg'ulations?        . . '          ·
        Mr. KEENAN. Oh, yes. Of course, it is n very broad 1111bjoot, if ~-e.
     go into tbe details or different forms of firearms reguln:tion. We h1we
     the Sullivan lnw in New York, typicul of the law '~itb teo ~h. Wo
     have the so-called "uniform pistol !ttw" nJ.o~tcd by 14 or 15 Stntes.
     That }1as beeQ presentedo,t o the committee, without nn opportunity
     being given to nll the members for adequate oxaminnti<5n. · Answer--
     ing the second pnrt of the quest.ion~ I have hnd n op!lference with tho                 ~
     representative of tho Colt Co., wlu,eh is tl\e,lm:gest doml'lltic mnnu-
   . focturcr. l. think tihe Colt Co., the Remington .Anus Co., Smitl1 ,'(:
     Wusson, and'· Iver Johnson aro the only manufacturers of pistols.
     Wbon you tnlk to tho Colt.Co., I thillk you nre talking to the coinpnny
     tlmt; mnnulncturcs 1md sells t\10 grent lmlk or lirnnrms., tbe grentN·
     pl'oportion of pistols in this country. The machine-gun people were
     represented here at tho In.st sC11Sion of 'this committee. · I nm n ot
     representing to"tbis committee thnt f.bis bill ns drnftod 11nd submitted
     r eceived the npprovnl of the Oolt Oo. I do i;;ay thl\t o.n earn.est effort
     wl\s made~ get togetho,r. The repx:esQntativo of tho Colt Co'..is beie
                                            JA195                            Exhibit A, Pg. 811
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        now, and he seemed to be interested in lowering the tn.lt upon mnnu.
        Iacturers. We have suggested cuttina the mo.nulo.cturers' tax. from .
        $6,000 to $1,000. The mo.nulacture qlpistola and revolver.i,is not il
        profitnble pnrt of the firearms industry. It is in .red mkf 01~ far 1111 the
        manufacture nnd sole of sml\ll fiteorms are Concerned.
           Ml'. KNUTSON. Do you not thihk $200 ta." on n smftll tle11ler•is too
        much?                                                                     ·
           Mr KEENAN The question 11sRiid is whether a ta.-< of $200 oa the
        small dealer is not excessive. I am inclined to tlll<e this, position, as
        far as tho Dop'a rtment of ,Justice is concerned: Whatever amount ol
..      money meets the approval of this committee in the taxing of the
     . dealer meets our approval:                                          •
           Mr. W ooqnuFF. As a mattel" of fact, the purpose of tafing is ·for
       co~ trol only. That is ~he erinurry p~pose; that is the m~di~m th;rou~h
        wluch we hope, constttuti@ally, to take charge of this m'tua.tidn, ts
        it not?                                _
           Mr. KEENAN. Also th&, desirability of getting control ~ firearms
        away from paWllbrokers. ·
           Mr. WoonRUFF. I understand. 1 say a~aih tbnt theJ> · nry pur-
        ~se of puttin&: the tn..'t it.em in, this bill 1s constitution y to take
       charge of t.hia sttuation?                            .
         . lvh·. KE»N1oN. If that question is asked--           .
           Mr. WooDRUFF (continuing). WJ1ether applied to pa~'Ilbrokers or
        enybody else?                                                  /
           Mr. KEENAN. That question is asked directl,y, and I bn.ve to 1mswer
       frankly;. yes.               .      _          .      .           ..         .
           Mr. Woot>itUFF. The amount/Of tax is.not rmportao_t?
           Mr. KEENAN. The n.mount o( tax is not im11orta.nt excep't from this
       standpoint; it would be desirable t.o have the sale of gil.ns in the bands
       of as few people as possible as o. matter of efficiency to keep track of
        these weapons and see whether t11ey are ilold t,o the wrong people.
           Mr. WooDRUFF- That is a debatable question . and .I say that be-
       c.ause I come from a district rather spai;sely settJ;f, and tho merchants ·
       doing business in the various small towns in my district1 who handle
        these firearms as described by this bill, who have a desire to supply
        peaceable law~abiding citizens \\ith o. means. to defend themselves
       could not possibly pay that $200 a year.                      .
           Mr. KEENAN'. Our• position is that we would like to see ·OJI high a
     • tax ns is now suggested_ -We recede ii-om that; for practical purposes
       we ore willing to fi.y the tax at any n~ount the committee sees fit.
       That is one of the points that we agreed \vith the C-olt Co. on; thoy
       .were tbe ropresentatives of the general humuJo.cturcl's and were also
       interested in their de11lers1 since tbey"havo no soles org1U1i11ution of
        their own.                           .    _
           Mr. WooDR'UFl". My point is tJ1is: So for o.s the Constitution of t.b.e
       United States is concerned, th~ Department of Justice is just as Slife
        with a tn._.._ of $10 o.s it would be with a tax of $200?             ·:'
           Mr. KEENAN. I th.ink there is no q_uestion about tlrnt.
           l\lfr. McCLINTrc. li !read tllis biU riglll, tho m.an ufoctoror who only
       makes shotguns is not subjoot to the to.it.
           M r. KEENAN Thut. is right...                          ·
                                                                             '
                                                                                        ,
                                                                                          "   .
           Mr. McCLlNTic. And neither would be the d(laler, unless ho sells
       pistols and these. short rifiea and shotguns. It would leave shot.guns

                                           JA196
                                                                  ..
       and riOcs with ban:ols gi'cater thari 18 inthcs out ol the pictnro.            ·
                                                                         Exhibit A, Pg. 812
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       m1~
          ..
       .. Mr. KD:iiA.M. They are out Crom begioDing to end and nclver
                                                                 ,~
                                                                      were
          Mr. TB:&A.DWAY. Do you !eel t.hnt this finger prinmig, as a matter
       of identification, is essential?           ·
          Mr. KEENAN. I think i'.is of great importance. What is, and what
       is not eBSential-                                            /
          Mr. TREADWAY '(interposing). You provide for regjstration, his
       name, and ·all that !JOrt of thing, from the purchaBeT, -&nd on top of
       that you want to fingerprint hi.ul.                -·
          Mr. KE!mAN. Ou.r po;iition is this: The fireann today is ca\tsing a
          'great deal of d83truction and cieath in our land: We think anyone who
           wants to procure a fireal'J'..i of the nature deseribed in this legislation
                                                                                          '   .
           oUg,ht to be willing to go to that trouble to make h.is contribution to · ·
           the safety of the other people. We have not had any telegrams sent
           to this committee; we have not'atte.mptcd to genefate any pro~aganda .
           We have received literally thousands of letters from womens organi-
           zations and other public-spirited 6rganizations asking that something
           be done about the firearms evil, and we submit, that even though it is
           a little trouble t.o have fingerprints taken, we believe it is not too great
           A dmiation to ptake to the general safety of the public.
              The Cn.miMA.N. Do you believe that the crimin8l olasse3 will com·
          ply with that provision? .                                ··
              Mr. KEENAN. We do not,
              The. c~~N. Those who obey the lnw will, o{ oou:rse, comply,
           but the cnmnat classes will not do so.
              Mr. KEEJ'iAN. We have recognized that from the beginning. We
           do not believe that this bill will disarm thl\-hardened gangster, nor do
           we believe that it will prevent him from obtaining firearms. We do
           believe , that,it will permit effective and adequate_prosecution, and
           take that ms.n 'o ut of circulation when he does not comply. we think.
          it will be mqcb more difficult to do that if we do not have this l.lleans
           or identification. We are cognizant of the fact that those who oppose
    • , ,this type ot' legislation all make the argument that this is going to stop
    , the good citizens from getting firearms, but that the crook is going to
    · get t.blim. We do not agree to the first premise. We are inclined to
       " agree. Bli far ss the hardened criminal is concerned, but we think t hose
           wtio·ms.ke the assertion fail to ts.ke .into cons.iderntion that the har·
     · dened criritlnaJ was not always a hardened criminal. He was once a
           youngg!Alr, and he bought or got & gun and be learned to use the gun
        •at the time when he was not a b;;;iened c riminal. Probably the
           young hoy who·is now faced with no penulty for possessing a firel\l1n, if
      "'· there is a penalty, might think'once or twice before ho runs afoul of
           the Federal laws                              ·                      .
              Mr. FuLtiER.'l have a very bigh..clo.ss gentleman• wtio is in my
           home. At one time be was recognized as the expert pistol shot of
        . the world. He hns a pistol of every make in..tbe world, and he owns
           over· 101000 pistols now. For instance, i1 sdme notorious gangsoor
           had o. pistol he would go nnd bu.y it. He has tball collec~ion of .pistols,
           and he has exhibited it at world foirs a111d State fo.il"S. Under this bill1
          as I see it, ho would be rtiquired to stump and regiirter each one nn<t
           pay a dollai; for each.                                                •
              Mr. Kl!IENAN. He registers them, but l!e pays no tn.x on· them.
              Mr. Fm.LEK. For e11cJ1 firearm he pays· o. dol~ar. ' , .        ·

                                          JA197                          Exhibit A, Pg. 813
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           Mt. Kl:.&NAN. ·The CoQgTeSSm.an is fisking about that [eature of t.he
       regjstrntion law'T
           Mr. FULLER. ! · want to know how it 11.ffoct.s that man. Bo will
       have to register each and every one, o.nd ho will have to have each
       and every one stomped, o.nd tbe.n ho will ht~ve to. pay a dollar eao.b
       for' tho registration.
          Mr. Kl!lENA.N. I do not thir.k that is wiraasonable, because llOme
       enterprising gangster might leo.ru about those pistols and might go
       an..J equip himself. We would lik~ to know who owns those. He .
       would ~ay no tax on·tllom.
          Mr. F\;t..LBR. Sectioli 3 states tha~ theM shall be levied, collected,
       and J>Wd upon firearms transferred o tax of $1.
          Mr. KEENAN. He just ropsters t 1.iem. The regjstration feature ia
       confined to giving information, such ll.S the name, address, and occu-
     . pac.iOJl of the poSSOSSOI' of such fueo.nns AS are entimerated io this
       not. There is no peual~y for ·1 ts violation. There is no cost for .
       regi11trntio.n. That gentleman who owns 10,000 firearms might be
       P.Ut to considerable troub1~1 • but he v•ould be able to hire a clerk t.o do
       tl1nt for hlm, in e.11 J>i'ob'ability.        .
          ?I.fr. WooDRUFF. Tbore is somethini said aboot Lbe difficulties of
       f!Dgerprinti.ng. Having been fingerprinted n number of times in my
       ~re, fol' n _very ~or~by purpose, 1 ~ prepan:J to suy that t!ie p:ropoSt·
       I.ton of fi.hgerpnnting is a very sunple ono. Aoy'tfeo.ler m firea.nt1s
       could bnve a. fingerprinting ·outfit, o.nd whoo you buy firearms all you
       b11vo .to do is to put youl' htind on n flat stone with a little ink on· it.
       and transfer it iO a puico of.paper. Tliere is no difficult); of any kind
       whil.tsoever in connection with that 'phase, 11nd there will be none, if
       tb~ net becomes law.
          Mt. KEENAN. Every postmaster today bas thnt equipment in con-
       nection with the Postal Savings System. nnd we have not hen.rd niiy
       complaint.                                            · .         ·
          Mr. WooDRUFf'. Every denler should hnvo tbut equipment; it i3
       inoxpon.s.ive and. or no trouble.
          Mr. VnrsoN. The· photographing oI tbr. npplicnnt ho.s been strinkon
      <)Ut.                 ,
         Mr. KEENAN. Tlul>t is right.
          Mr. VINSON.' Mr. Keena.n, when. Mr. Cummings, the At.totnQy
       General, was testiC)'ing on tile. original bill the question was raise(!
       o.s to -paragraph. (dJi subsection 6 of section 10, which dcnlt with the
       presumetion of ros1donce. As I undcrs!.nud, thnt presumption is out              •
       of tho hill?
          Mr. KEENAN. Tbot prosumptfon is out; y113.                .
          Mr. VwsoN, In foct-, tho entire in~erstota commerce bnsis is wlth·
       drn.wn from the bill?
          Mr. KEENAN. The permit as such. ci()( conrsc, I bave·not como to
       tb1d, pnrt yet, but if; 1s mndo unlawful for anyone to transport nriy
       flronrm descnbed in this act in interstM.-0 commerce unless ho , bas
       r-0g,iswred, as provided uncler tho ·reiti:etrotion clnueo, tlio existing
       fironrms1 o.r unless ho Jms oompli<;d with t.bo .P.rovieions, thnt is; tuo
       ti.ngerpnntmg, and so forth1 relative to acq lunn~ firoarme aftor ~ho
       pllSS~e of tl1e o.ct..                                                     .
           Mr. VJ.NsON. I tJ1inky~m stnt.ed origioo.lly tlint H .R. 9060, as intro-
       duc:iod .on April 11 of thia yoo,r, bod as its foundation taxntion and
     · i~wr&td~ commorco, b,ut thnt the int.erstnt.o eornmerce·.!eaturo ha~
                                        JA198
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                                                                         Exhibit A, Pg. 814

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        boon withdrawn and t hat it WRS presented pt!rely with the ta.....ation
        !eatme.
           Mr. KEENAN. I meant by that statement, that now you are not
        1'6quired to got a P,el!lllit to bring a firennn from one State to another.
        You are required t-0 register all existing arms, and you are required
        to observe illl the formalities for the pul'Cliaso of arms- described in
        tlia act, o.ft~r its passage.          "'
           Mr. VINSON. Now you ate requiring thnt all existing 6.reamlll bo
        registmld?
           Mr. KEENAN. Under thut act.
           Ml'. VmsoN. Under thut aet. Under section 5 of the substitute,
        it is provided that all firoanns now possessed shall be reghitered;
        tha"t is correct, is it not?
           Mr. MENAN. Yes.
           Mr. 'VtNSON. But1.as you have stat-0d, there is no penalty attached                 I
       for failure to Tegister sueh firearms?
          :Mr. Klil'ENAN. Yes.                                    ~
           Mr. VINSON. Is the main purpose which actiuated you in providing
       Ior tegi,stration of existiutt firearms to i>rovide the basis for the
       preslim{:on that appearn m para.graph (b) of section 5?
           Mr.      ENAN'". I would rather say this, Congressman, that the
       pnr-poee of section 5 is to aid those charged with the administration
       of this act in determining whether or not tues had been paid on
       firearms that should be taxed.
           Mr. VINSON. Wlien you- fail to have a peoalty for nonregistro.tion
       of firearms, I am in thoioi1gh accord with tbat· thougl1t in the l>ill.
           Mr. KENNAN. I would assume so.
           Mr. VwsoN. It seems to me that the only purpose tbnt you could
       have in providing for registrations of firearms now owned lllld pos-
       sessed would be to pcnnit this pi:esumption in pal'agrai;b (b) of section
       5, that whenever a d.e fendant "is shown to have or to have had pos-
       session of such firearm 1lt any 'time after such period of 4 months.
       without having registered as required by this section1 sucb possession •
       shall create o. presumption that such fireo.nn came into the possession
       of the defendant· subsequent to tbe effectiv.e date of this Act, but
      -alls presumption shall not l)e conclusive."
           Mr. KEENAN. The purpose is to determine whether or not o. gun in
       11 certain instance wa.s purchased before or after the passnge of this
       act, to determine wtfether or not the tux bas been· properly paid upon
   '· it. , We also propose to attempt to dewrmine who possesses tlronrms
       11nd whore the firearms a.re, so we can mnke n. stnrt on this proposition.
       In my ()pillion, it will toke a long time to control this 'traffic o.dequstoly.
           Mr. VINSON. Do you think that there will be anyaffirmo.tivc benefit
       t? .t~-e Depart;meht of Justice in .knowing tb~ nnmM ~nd nddm$se11 of
       citizens of thJS country who roport llJld reguiter a pistol en· rc1'<>lvor,
       thn.t tbey_,now legallv own'?
           Mr. KEENAN. Not directly; no.                                     -
           Mr. VlNBON. Tho crook or gnngst-Or will not' register t.hnt wonpon?
           Mr. l(El;NA~ · We. boliove not.                            .
           Mr. V1Nsor-r. 'I'he \Qw-libiding citizen will, if he knows abo11t this
       provision; if jt is cnllod to his attention, he will so.re{,rister thnt firearm,·
                                                                                           -
       but _it ~ms to me th11;t. the .only 'purpose. hero i~ Tllquiring ~his re~-=
       trntion is to use the regu1\i'nt1on ns tho bn8ls for th~ pi:csumptJon which
      ·will certninly be n£ bonofi t to you jn the trial or Q man aoousod or bavjng
                                           JA199                         Exhibit A, Pg. 815
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                           .                                             .
       .in hls possession n firearm that is not regist~red. l s tl1ere no other
        purpose behind the roquirem1.1nt thnt all firearms now owned shall be
        l't\,aistered?                                       ..
               ).fr.l{EENAN. There is this additional purpose, ~[r. Vinson. I
           think it is not suffic.iently omphosized that a good m11nyof the8e pistols
          of the classifications described are stolen, not alone from onnories and
           commercial deofors, but:luso those wl10 possess firearms as indh-idunls.
          1\'e think it will help ·u s to have such matters reported. It will belp
           to have o. recoid of the owners.                                     -
               Mr. VtNSON. "To ho,·c such matters reported "; what do you mean
           by that?                                            .              .
              ·Mr. KEENAN. Wben reports are made of a gun bemg stolen, we
           \\-ill hRve that fnct brought to t he a.tten.t ion of the police. People will
           be more cnreful of the use of firearms. : They will realize that. jt means
          something to them to have a gun1 if they have to account for it. We
          think, too, t,hat it is a good t.hing to m11ke this start. It may take
          many, 1nany years before we milk.a real headway in the control of
          firearms .
              .Mr. V i.vsoN. As r understand pnragrnpb {h), section fi after the
          e}'."}>iration of the 4-mQnth period, after the time this would become a
          law, if I\ person were caught wi.tb a firen.rm, coming within tho purview
          of the net, without thnt firenrm having been registered, there is a lego.I
          presumption set up that such fue.n rm came into hls possession more
           t11on 4 months ofter the enactment of this law.
               1'fr. KEENAN. That is correct.
               M:r. V1NsoN. That presumption may be reblltt.e<lY .
               Mr. K~ENAN. That may be rebutted, yes,
               ifr. VINSON. It is not a. conclusive presumption j it is prirul\ fo.cie? · ,
               Mr. KEENAN. Yes.             ·
               Mr. McCLm:1c. Wbnt ";Ould. be tlte maximum penalty that could
          apply for cnr1-y:mg that firca.rm from one Stnte to nnotbcr? ·
              .Mr. KEENAN. The penalty is iliat within the discretion of the court.
          Conceivo.bly, a tr~endous u!ius~.ice .might be. done to a mi?'n c11.rrying
          a gun across State lines who hnd m bis possession a gun whir.h hnd not
          been registered as required; lie would be subjcet to the full pennlty
          pro.vided in the act.                  .· .                    -
               Mr. HILL. You have defined .. firearm•; in the firnt pnragrnpb or . •
          t11e new drnft of t11e bill. 'When t11e word ":firo11m1" is used in t his
          hill, does it refer hack to that d'efinition, and is it confu1cd to tile te.nns
          oI that definition?· ·              ·, I f
               Mr. ~EENAN. "Yo take it,tlipt nil f,Jui 'wn.y through; foi the purposes
          ol this net, the term 11 fireirfi1" Jl'lC(l)}S whnt the clcfinition stnte.s.
          \\·e linva used U1e term "firem·m " nn.d \\'e have not used e'n:v other
          lnngun.gc, confining its mcn.njn~ to t11at \\rhich it would bnve under
    ·". the aefinjtion l).S set, forth in tlie fiTSt. pntngrnph. I 11!1\·e nssumed
          t11ero is· no quL'Stion thnt hnving defin,ecl:t ho tern!' 11 firearm," wherever
          it is used thcr4.1.afte1• in the nc.E, tt would. be restricted tQ the limitations
          of tbnt clofillition. .... · - ·
      . .~Ir; HtLL: A shotgun with a batHll of 18 inches or n101JL\;\'ould not
•      ' ·be n. hrenrm ;>                          ·
               }.{r.'1{~:£NAN. It wt>ulcl not:        , ·,,...    ··-      .
              Mr. lit.LL. A ril!e,of JS inches or 11101·e"wo11t,111nt. ho 11. fil'flllnn tltidot
          this,definition?             •
                                             JA200                           Exhibit A, Pg. 816
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          Mr. KEENAN. It would not.
          Mr.Hn..t. It is hard to use tbe word IJ fire1wm" without referring
       to the definition to know \vho.t are the fir~m= not inCluded in ,the defi-
        nition. As to such fireal'ms, used in the generally accepted sense of
        the term, tho.t do not co~e within the definition of firearm, as defined
       in the Act, no registration is required, and no restriction is impmied on
        carefmj! such u. weapon from 0110 State to another?
           Mr. KEENAN. You mean as long as they are over 18 inches?
           Afr. Hn,L. As long as they do not cor.ue within tl1e definition o (
   ,    "fireann" in the act.
           ~fr. KEENAN. That is right;:yes, sir.                                          I    '

           Mr. HILL. Thero is perlect freedom, the sam e as now e7'ists, aa to
        the possession and use of guns, under thls bill, so lo~ as they do not
       come within 'the definition of "firearm," 11s set forth m the bill?
           Mr. WoonRUFF. There is no limitation whntsoever as to the use
       of sporting anns.                   ·                                      '
           Mr. KE£NAN. None at all, unless you call a Colt .45 a sporting arm.
           ~Ir. REED. Wlult I i!ee in -this bill is, and it is brought out quite
       cleo.rly by Mr. Vmson's questiollS that when you .require the regis-
        tration and fingerprinting, it ennh(es :you RS n prosecuto,r to take the
        man who bas not c.omplied with the law and raise thl" presumpt.ion
       against him in the prosecution.
           Mr. KEENAN. Thnt is true. 1 forgot to sto.te, and 1 think I sboUld
        h8ve, that if by chnnce o. per.;on who possessed firelfm'is <loes. not
        register them within the 11rcscribed period o{ 4- months and desires
        t.o curry t}1em into another Stalie, be may have th€m re$i:;t.ered .art.er
        tho 4-month period, and if he does register them withm that time,
        then he carries them as thot1~h they were rei:istered prior theret().
           l\<lr. LEwrs. Is it not true' that neo.rly all of t he Sto.te-; have passetl
       laws agt1i.nst all kinds of concealed weapons?
           Mr. KEENAN. I believe that to be true.
           Mr: L'EWis. That evinces o. purpot;e ·on the port of the State to
       require notice to t he public, publicity with regard to 't.he carrying
       and the ;ossession of t!lnall wenpons?
         Mr. KEENAN. Tho.tis right.
         Mr. LEwrs. The suggestion occurs to me that in requirin.. them to
       register, we are only effecting tho purposes of these lnws in ti10 Stntos
       against carrying conceo.led weapons. Will not the.y be as completely
       concealed as if there were no rei;stration.                               ·
         Mr. KEENAN. 1 think the bill would be helpful in o~l~ining
       auxiliary facts, to aid the States.        ·                               .
           Mr. FULLER. As I understand) if any person should sclli llSllign,
       pledge, lease, Jon?-, or givq__awa¥ a P.istol, that, be would _be iable to
       11 fiue ·not t1xcecding $2,0001 or impnsonment not exceeding 5 yeatS,
       or both. .                                                    .
           Mr. KEENAN. Unless the provisions have b'c en complied with witb
       respeo~ t6 thu.t firea~ 1 jes. ll you ~ro going to rcgulnt.. tl10 tr!lllBfer •
       ut. all, it seems to me it must be       ·                                  '
         · Mr. FULLER (interposing). I! he 11nd fa1led to obtain a porn1it und
       po.y a dollnr for the loo.n or gift or pledge or assignment, he would be
       goll ty o( thn t penalty?,                                ,     · ·
           Mr. Kn:.NAN. He would it1 voku thn t per111ltiy-, yes. · Othe.l"lll'iae, tho
       effects o{ the bill would be otnaseulntcd. 1( you oxompt g\fts, an!'
                                            JA201                         Exhibit A, Pg. 817
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            you t:ry the gmgster. for having the gun, he will interpose with grea~
                     1


            facility, as the past has sbown, tlte so.mo kind of an alibi tbot he has
            alw!iys bet:"1 able to cook up. You will .find somebody who has made
            a gift. t.o btm .
              .i\-lr. •F'ULl..ER. Do you think under tbo terms of tllls bill i~ would
            prohibib nn _o<lministrator or executor from transferring ·Rny of these
            WCl\~Ons't
               Mr. 1.V:ENA.N. I think so but, Mr. Fuller, we expt>ct to find some
            efo11,ent llJld some degree of conunon sense in the Federal judges and
            in the prosecutors.
 · •            M·r. 1'-tcCLtNTtc. Referring b11ck t9 section 1,, on the subject of
            pistols, if you transposed the langu11ge, it: would say" a rim-fire pistol
            greeter thnn a .22 cnliber." That .would exclude tho center ftre pistols
            of lnrgnr caliber. It seenis l.o nur th11t so1no attention ought to ho
            poid l<> that IMgunge so as to clarify it in such way as to eliminate
            tho r.lcment. oI doubt.
                :..tr. Ks~sAl't. I w-0uld be glad to take a not.o of that.
                ~ofr. ~1c0LINTIC. You are referring t.o tJ1e particular I-ind o( pistols.
                Mr. 1\ l:ESAN. I am frank to gay1 '1L·ith ttforence t.o that particu.Jar
            provi!lion1 we have followed the lluiguoge .suggested by our good
            fri(!lldr. 1 tnc National Rifle Association, and those representing sport.-
            mg    men, G"neral Rcrord, ruid !Ylr.1''.rcderirk, 11J1d the others who hnve
            followr<l this legislation for some fif~en-tldd yl'ars, and \Vt1 l1ave tu ken
            thrir <l<'filution ancl their lMguage us to the .22-<ialiher riiu fire, just
            as we 1ulopt,cd the ltmguai;e  a!ljt11e   marhine gun. 'Ve do not want
            t.o c;xclude from the provisions ' f this tl('t any other pistol over tho
            .22 cnlioor.
              Mr. McCLINTtc. ll you leav tl1e liuiguage as it' is written, J am
            afraid you do not do that.                                                ·
              Mr. lhi.r,. One <\uestioll rolatiYe to th~ definition of llls:chine guns.
            There is a distinction between 11n anto-londing and automatic gun,
            I toke it.?                                        .
                ~fr. KEEl'AN. I think so.                     ; •
                Mr. 1£11..L. An Rutomatic g1w is one tluit fires without pulling tbo
            trigger mo.re than once. An auto-loading might not be u aut.omatio.
            An auto-londing gun nught not be an autome.tic gun; for instance,
            you have these small rifbs, the .22-c!lliber riiles whicli are are aut,o..
            fonding, but you have t.o pull the trigger earh." time to fire them.
            That is not a ilUlchine gun.                   .                                ,
                ~Ir. KEENAN. A mal'hino gun is ono tbat shoots more thnn ·one
            shot without mahuol reloacling, b~· 11 sin~lc function of the trigger.
            11 it ('Onics within the provision 01 t-hat, Jt woul<t·oo a macbinc. glUl.
               .}.fr. Jft'!L· If you · hav~ to hll\'C, "101'6 than one function Of , the
            tngg<irt~t 18 JlOt automatic.              .         .      .           ~
                ~lr. AEENAN. That is right.            '                 - - ·          ,
                ?vfr. Hn,r,, I know ib these .amalJ 1·iQe~, wh('n you fire by pulling
            i hc trigtrcr they reload autQmnti<-ally, but lbev do not nuto11t11tirullj
            (i~ O{,'flln wilcs.i you pull t he tri~(,'<lr.         •
                .\Ir. l\£ENAN. I npp~iat.o tho distinction.
                ~rr. H1LL. That is not n mad1inc gut1 11J1der this definition.
                i\fr. 1\ltENAN. No.             ·
                Mr. V1r1soN. 1 nm still thi11ki11g nhuut. the..li.tt'nrm tTmt is now
            owned nnd posse.ssecl Jcgnllv, lllltl reCt'rrini: to tho s upplemental stntc-
        '                                  -
            m out thnt you mnde whiJe.}\{r. Heed of No.w York wos tntcrrogoting
                                               JA202               ~            .
                                                                            Exhibit A, Pg. 818
                                                                                               t
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                       v')
       yo-u, that sUch n weapon e<>uld he trnnsported in intet'Stllte (lommeree
       wit!io\1.~ being a violation of lo.w1 I find, on looking int.o that section,
       which 1-; seotloo 11 of the substitute bill, thnt befote that lDnn ma.v
       transfer ·t he firearm which he now owns and possesses legally in i_nter-
       11tate commerce, lie bast<> take the IllJlt ter up with-the cominissioner,
       noti£v him by affidavit, within 2 days prior t.o such sbip)'Jle11t, carringe
       or de)ivery, setting forth in surh affidavit his address, the number or
       other mark identifying such weapo1t, :nd t he place to which it is to
       be transported. In other words, ·1 citizen has n ot violotcd the
       law in the purchase or the possession of this firearm, hut. if lie trnns-
       potts it, (i41 does. H e may possess _it legnlly by registering it:
         Mr. K-s&NAN'. ~Iny I ask a. question there? You are refenmg to a
       class of those who possess guns not registered as required by this act?
         ?Yfr. VmsoN. Yes. That gentleman gets a penAlo/ for su<-h pos.-
       sessioo of the weapon 1'nd he will be guilty of a \iolntion of the Jnw i!
       he t.ransports tha t weapon in interstate commerce.
          Mr. KEfNA..."1. Yes,           ,                    _
 ,,          Mr. VINSON. If he live.3 oo one bank ot a river and was "ithin the
      ' law in the possession of th.is firelifm nod failed to register it, there is
         no pennl_ty a~1ed, bu~if hemoves_to the other s ide of the rh·.ci;•. then
         he h ns \'lolated the law ln that he h as transported the weapon lD mter-
         state commerce, unless he makes an affidavit and sends it to the co1u-
         missioner and tells him a.I.I about it.                            ·
             l\[r. KEENA.."i', That is right.
             Mr. VINSON. Wh1lt is the penalty for thnt violation? A fine notor
         more than $21000 or imprisonment of not more than 5 years, or both,
         1n the iiiscretlon of tbe court?
            lv1r. KEENAN. T11ose are the marimmn 11ennlties pmvidt'd gener-
         ally, and he comes within thnt provision. \'\"e have been hoping thnt
         the F.e dernl judge or the pro$eeutor would look into those matters and ....
         exett1se common sense.
            J\.[r. V1NSON . I u.nderstlUld the common-sense theory, hut you
         would not rely upon the whim~ of Federal judges in the 48 $ tntcs, nor
         prosecutors.                            r                             ..
            !\f r. KEENAN. {t must be awnitted tlmt thllt would permit, under
        some circumstnnces, a Very save.re penalty for whnt was nt lenst not...
        intended t.o be a violation of 'the lo\''- · It is n. stringent provision, I
         thinkyou will admit.                               "'
             Mr. VINSON. Assuming that section 11 were stricken out, would
                                                                                        ..
         that be vital t.o the purpose of. the Department of Justice? 'Ve hnve
         paragraph' (t) in section u with rcfcr-ence t.o the presuroption.
             M r. KEENAN. Will the Cc)ngressman please put thnt question                 c '
         e.g1lin?                                 .
             Mr. VJNSON. I am asking whether the abolition o f tlw.t lun$U~ii,
         the elimination of it, which sets.up nnd mak~ illegal what otdme.rily
        .:woul_d bo a la!"ful act~ the~ trans'p<>rtAtion of something which he bas
         ~ his pqsse!!Slon legndy, fro~ ~ne St11:te t-0 another. '\Vould thll.t
          v;tnlly affect thefureoses behind the bill?
             M r. Ku:-NAN. tlunk sb, for :this reason: If you t11ke tbut out,
         you might aa well take out tho rCgistrntiion provision entirely.
             ,_,[ r. \ 'i NsoJll. Not tl1e regist:rntfon provision.
             Mr. KeENA.N. I will withdraw thnt stalemeqt. It would still leav e
          the presumption o! those found with the fireorm, wiU1o ut llffeoting
          tho rogistrntioo,. it.tho weapon wns, procured before the net went into
                                          JA203                        Exhibit A, Pg. 819
                  I
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                             l'iA.1'IOlUL         A<:r
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                                                                             .
             okoct. I am inclined to think wo       cou!~ afford to· give way on tfuat;
             there Is a good deal to what Ute Congressman ·ea_ys with refe.re.nee to
             eliminating that provision.. I do not think it would vitally afiect
             tho:R~t answering the quest.ion ~~rically.
                Mr.JltLt.. I suggest that i~r. Keenan started out to gi,·a tli~
             riinln dllfe rences in the bill.
                The Cu.unKAN. He may proceed.
              1l\ifr. Kl'lENAN. I think we have, in the course of the questioning,
             t~ched u))On every important element of this act, as we have gone•
'i.         a ong. I think I cllll brio.Hy state that. we rui,·e changed tl1e pre--
            c · ing act ·by a definition of machine gun, which already has been,
            b' ugltt     lipfor some detailed discussion.
                Mr. H1L1,. ln that con.oection., th~re wns o. suggestion made here
    t1           the previous session of tlie coninuttce that you might consider the
  · \            tteT of requiring the registration of clips !or machl:oe guns. You
     't.        y,c noi done 11.nithing about tbet7
      l · ~· !\·f r. KEENAN. 'l'b.~re has. boon n otJ\ing done. on that.
 ·~~ I I :• • . Mr. lhLL. You also referred to 1t1eta.l 11ests.
:t lli · .j':} l\{r. K.E"t::NAN. That might go in nnother bill.         ,
   • J~ l
. :? f t;rr
         ·'
             tiMr. Ht LL. YQu do not think machi~un clips belong in th.is bill?
              f Mr; Kt:ENA~'. I t hink. it could be includ~. We had thought ~r
  t ·_;" ~ ~ ndling ?lachine-gun clips and metal vests m a commerce clause m
 ~, "   f'.   ,olher bill.
  ,               Ml'. HtLt.. Do you think machine-gun clips should come in here?
                  ~Ir: KEENAN. I think they. should.
                  ~lr. H1Lt,. Where would they come?        ·                      ·
              J    IVfr. 1KEENA-~. l suppose it would hove to come in the definition,
               m J,ho tit'St clause, as part of the firellrms. · We would have to change
                tho net considerably to indudc as fiteurms machine-gun clips.
              . J ~ifr. HCLt.. Do you think them or s11fficient importance to be in-
               t:ludrd bete?
               ~ ~ir, J[&XNA.'f. I do not think so. I think if we had control o f tho
               finns themselves for the purpose w-e w-nnt, thnt. it will not be o[ any
                tt'ernCl.Oi)ou& assistance m following the 1unmunifion.
                    ~11r. Bu.ti. A gangster might be in lawful possession of a machine
               gun, ond yet he r.n~ have; am.munition for that gun. You mi~:
                trace the ammurut10n to him and thereby contribute t-0ward
 ..            identification as the operator of tho machine gun.
                    Mr. ltt:'ENAN. You ean readily tell if the ammunitiop was of auoh
               a nnture n~ to be d6l!igncd for mne,hlne guns.. We have been working
               to gt1t a bill othCJ'WJSe acc-Optnblo to tlio vanoua groups 'o f the ·oom~
  · ·          mtinity interested therem, and we Jrnd not considered that seriously
               up to this time.                                                        .
                  . Mr. F.1n:AJt. In the sub~tituto l>ill, you have left in revolveni1
               pl.Stole, and all that?
               · ~ir. KJ:~w;.:;. Yes.                           · .
                 Mr. FnzAn. The protests wcra dirnc.~d toward those, I~.
                 Mr. KEENAN. We will havCl ti (ow wOr<l!! from Geneml A.lfen'about
              the mRt~r of protests: We dislike. to get into that subject about
              the protests, because we find that co1nmun.icatioos have been sent
              out from Washington by tbo NGtion$l llille As$ociation, in oJTect
              n1ik.inj) the members to bombard thls Mmmittce with objections and
              ellowmg a rather definite knowled.ge of the temt$ of the act 8s originally ·
                                            JA204
              drawn, nnd making some repre.sentntions     which, we regret   to say,
                                                                        Exhibit      we820
                                                                                 A, Pg.
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     tlllttk a.re not in accordance with the f~.ts of the case. We will h1•vo         •
     thoee to show the committee, if it is interest~ . I inwgine the Con>-
     ~an has not been hero before t.oday.
        Mr. FREAR. I was hero at the previous S(ll!Sion, but have not been ·
     here today.                                                                 .
        Mr. KEENAN. We htlve discussed the m1~tter of pistols. They are
     left in, excepting the .22-ilo.liber rim fire pistol. The suggestion was
     tnade tha.t t~y ough&o bo ~xcluded_, not boing n dead!y wen;lon lVJ
     compo.rcd Wlth the otti'er caltbere_d p!Sf.?ls and weapons included.
        Mr. ThEAX>WAY. You Bnl detlling with the small fuearn1s exactl:v                  •   I
     under the same cooditions ns you are the, ma.chine guns, are you not'l
     There is no ,djjferent. troo.tmeot. nccording to the danger -Of the ar ticle
                                                                             1\
  .: . involved? ·· ·     ·              ,        ·    ·
        Mr. KEi!NAN. Thnt is true; they will both lci.ll.             .       \
        ·Mr. Tn~Al>WAY. Isn't a machine gun a vory muchmoro dangerous
     woo.pon to have in tho hands of a .gangster? You can do a lot more
     work with a machine      g\:n
                                 than with an ~rd}nary revolver?
         Mr. KEENAN. There is no doubt that 1t 18 more dangerous.
                                                                       ·~
         Mr. Ttn:Al>WAY. What benefit is there in nllt>win.g machine gun
     t<i bo legally recognized at all1 Why not o~clude them from mllliu~
     !aoture'l      .
        Mr. KEENAN. We 11!lve not the power to do that under the Coh-
     etitution of the United States. Can tho Congressman suggest undor
     what thilory we could prohibit the manufacturo of machine guns?
        Mr. TREADWAY. You 'could prohibit anybody front owning them.
        Mr. KE&NA.N. I do not thlnk we can.prohibit anybody from owning
     them. I do not think that power resides in Congress..
        Mr. TREADWAY. It wo11ld be like t.be control.of a deadly poison,
     I s_uppose.                           ·               ·
                                                                                              \
        Mr. KEEN.&.>q.. That is controUed.
        Mr. TnlinWAY. Yes; that is controlled.                 .
        Mr. 'KEENAN. 'Ye have tried meticuloJJ!lly to follow the Hrurison
     Act, pnssed by the Congress, and the dec1mons "Under that act. We.
     hflve this strong analogy to poiso:n, but the poison only kills tho person
     who takes it, while the gun is d()Si~ncd to kill others.                   ,
       Mr. TREADWAY. That would. afford a basis of argument. Could .
     you not make a retetivNifferonce between the dangei:ous typM,
     acconlfug to how dangerous thoy are?                                •
       Mr'. KEENAN. In the penalty fo'r their transp<irtation?
        Mr. T1tEADWAY. Or in the control of thom.
       Mr. KEENAN. I suppose that could be done. The idea would bo t.o
     inctease the penalty for canying machine guos, or decrease it for
     CllJ't'Ying guns not so dondly as machine guns?  .    _.
        Ml'. TaEAnWAi. Wbonovor . Wff _hear of tboso terrible raids, the
     machine guns arc the ones which do tho most' dnmago, aro they not?
        Mr. K"EENAN. Yes; we usually find tho mnchino gun, b_utiwo always
     find a half dozeb or 8 or 10 Colt automatics or some easily concoalnble
     firortnn.                                      1-                            •
        Mr. Tnv..owAT. That is a matter of convonienoo, is it.not?
       Mr. K:ssNAN. J,t. is 11 matter oI convenience. Uthe ~a'lman
      would pennit. me to suggest1 in addition to I.he machine gull the
      modern go.ngtiter i'I not 1.6clm1cally w"ll equippc11l i£ ho does not hn\'11
      ee-vo.raJ conceable smnll al'llls for uS-O instnntly.   \• '
                                                              \
                                             JA205                    Exhibit A, Pg. 821
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           Mr. Th.EAJ>WAY. How large is a machine gun? How!coo.spicuoue
          must it be for a person to c.,ey it. aroun.d 7
            Mr. KEENAN. I have socn a Jot of them.
            ?\fr. TnEADWAY. Jt. wouJd be about bow long1
            Mr. KEENAN. About 2 or 2}' feet in length.
            ?vfr. ·T1UJA.DWAY. How large are they? WhtLt would they weigh?
            Mr. KEENAN. lt hoa a buU..-y stock; I would say it is 4 or 5 or 6
         inches across and j t has a dr\LDl. ·
           Mr. TREADWAY. What would it weigb?
            }vlr. Ki:EN.uT. 1 i:annot answer that.
'   .         ~!r: TuliDWAY. It i.s \!ery inconvenient Co:r a man to conooalf
              Mt. KEENAN. Th<1Y II.ave con·ceaJed them in ~-::-li bags recentl,y.
          You may.remember ml\ding thatDilliogerreoonUy went lA> bo treated
          for a gunshot 'WOUJJd by Dr, Mortenson, head of the Minnesota State
          Welfore ·Department.•, At thlt.t time J)jllinger's ·companion h&d a
         .mnohino gun sticking'out from his·coat, wh.icfi,·many people thought,
          should have indicated tbat he wa's dealing with a gangster. It was
          difficult to conceal the g\)n. ·
              ~Ir. TREADWAY. You do not feel that tboro is any way in which.
          more severe penalty could be imposed again.st tho machine gun, either
          its puroh.nse, snle, or possession, fhl\ll any other kind of a dangerous
          wev.pon?                                                           ·
              Mr. K1:t:NAN. I think that is en excellent suggestion. I think it
          rnigl!t be regulated in tho penalty.
              Mr. .lltLL. Section!! 3 (o.) of the substitut;o bill provides that there
          shall. be levied;_ collected 1,and .t>oJd upon fir(')arm.s tmnsferred: in the·
\         contmental United Stntes 11 tnx ·ai the rnte -of $200 pei:' mnehme gun
          o.nd $1 per other firetirm . Th:-:e is ·a diBCrimination there in the IJLt&
          of tlie ta..'t.        •       .-< • .. ·• ·          •              .,.,          ,
    •)
              Mr. KEENAN. There is-:- J still: tlrink tboro is-a groat deal to wb\t
          t11e Congressm~ ~s abOut the penalty (&r carrying a mac.bine 'gun,
          J do not think hfo un~nmailt ·would be too much. .                                    •
              J\ir. TREADWAY: 1 connot see what e. machine ~m would be for
          unless it was for breaking tho law. It' iS not an arttcle !or protection.
          Foi:_ i~stnnce,\if you. or t hnd a-permit to have a rovolv;e:r in. 6ui, home,
          t11nt\1s for our de!ense. I cannot see wl1ero a mncbine gun cnn 'be
          used 'in n legitimate way. •                       '                    ..
              Mr. KEENAN. The N.ivolver 11.nd pistol are dQSigned to frill .some
          being and so fa tho rnncbine gun. Lt is a matter of 'wliiclt kills the
          more effecli-vely: ·Thai is why we D.m a.s1cing tbe.eorpmittee to con•
          i-idor wbnt may seem to oo drastic ·regulation of all .fireanns. I bnv•
          '!ltnted @out nll oft.he important.points with the e~ption of m11tters
          such as ~ntiques.                          "• · ~ "        ~ · ·
           . The Ca.unMAN~The wooden pistol ece~ to ,have been u~ with
                                                                                    1

          grent'effect.             ,        ·         .·                             \; "
             ·Mr. KEE.NAN. 'l'he wood<1ii pistol migbt have gicnt eJfeet.\ witb                   .,
          poople with wooden hea'ds.                  ·               ·., .            t
                                                                                            1
                                                                                                   -~
              Mr. Fu1,LBR. What wo'l.tld you think,of a law which prohi4ita: th&
          numuftict'\Jre or sale of pist.Ols to Any Jf<v50n clt'Cept the Govemm~nt
           or nn o.llicn -0! tlte l1nvt                   · •                           .      , _
              Mr. K.EEN.A.N. I thi11k that ou!d bo *l)n e:ccellent provision if tJ1e
           Con~ss had powor to eon.ct suclV~Tu1ation. . \Vo tbjnk it would be.~~
          good thin!?. '11ie wny th1tt cnn· ~e nttncltcd, nutumlly,. is by some 1 1 •
           aotion of the Stnte assemblies.        '.                        · · ·         -          .\
                                            JA206                           Exhibit A, Pg. 822
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                                                        •'
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       Mr. FuLt.E n. 'We could enact a law -declaring 'it a . felony to seU
     them .
       . Mr. -;i(l!lENAN. I do Dot think thnt power resides in the Congress,
  " The Federal Government.hllS no police powers.             ·            ·   ·
         Mr. FULLER. It co\1ld require them to be registered ana .pny t'hem
      full value and then d«itroy the weapons.
         Mr. K~ENAN. I do not tbink thnt power resides in Congress.
         Mr. Vmso.N. It :S because of that lack of power tbu.t you appear in
     SUP.port.of the bij.l to do.something indirectly. through the ta.'iiD~ power
      which !()U cannot do directly under t.be police power?
         M f . KEElllAN.' I would rather n.nswer that we are foll<>wing . the
     &nison Act, and·tho opinions of the Supreme Court.
         Mr. VtNSON. tn other words 1·yon are ndvoCiitin~ the crentfon of a
   · llew felony in the fnil11re to regist~r n firearm ucq\llred subsequent to
      the enactment o! the law, with a Jine of not more thnn $2,000 i>l'              • ·
     imprisonment of not more than 5 years or both. '-.
         Mr. KEENAN , That is right.
         Mr. VrnsoN. Under the taxing power of the Constitution,
         Mr.·KEENAN. Yes, following the Harr.ison Narcotic Act; Urnt is
    right.             ·-                            .
    STATEMENT OF 1. WFSTON ALLEN, CHAIRMAN NATIONAL ORIMB
                  COMMISSION, NEWTON, MASS.
        •rne C.ELUnJll.AN. Plense· give your niime and whom you represent:
       Mr. ALLEN. My_name 1s J. Weston Allen, and ·my residence 1s
    Newton, Mass. • I am a practicing lnwyor in Boston. I w'a~ Attornoi.
    General of Mnssachusotts when. Calvin Coolidge wo.s Governor, o.nd
    I am a.ppoo.rin~ here as chuirmnn of the National Crime Commission,
    under the aegis of the Department of Justice, becnuse the Nntionnl
    Crime CommJssion has, during a period extending bnck to 1139G; beon
    direc't.J:y in.terested in the problem of the adequate control of fuellJ"ms,
  · both under.Federal and State legislation.                             ·
        The Nationnl Crime Commission was established as a voluntary
    association on the initilltive of Judge G!ll'y nt. the tune that tihe
    problem 0£ crime was disturbing the country, and in 1027 the Nationo.l
    qrime 9 ol!U!1i'>Bion appo~ted a special commit.tee ·W d!aft a firearms
    bill which nnght be aubnntted to the States. A.t th11tt time, there had
    been a. uniform firearms bill J'ecommended by the Commissioners on
    uni!orm laws, which organization has boon gomg !orwnrd for·a qunrter
    of e. century; and tha~ bill has been approved by th9 Ame1-ican Bar
    Associn.tion and hos been submitted to the Stutes. It aroi.lsod so
    much opposition; prowsts co.me from so many St'll.l.es to the National
    Crime Commission, that the adoption of' thu..t bill by the Status would
    he a reactionory measure tbn.t would tuke t ho teeth 9ut of existing le.w
    in so many of tho Sttttos, tlu~t tl1e N ntionll) Crime Commission osked
   .lJl!l if I ~vould orgn,nize a com!uitteo wh.ich :-vould st11dy tlte · que~~ion
    W1tli a 'VlO\V of makm.g suggest1ons 11s t,o n umform lnw to bo submitted
~toJhe States which would lulvo more efficient power to control the
1   situntion.                                      ,
        'I'Jrn personnel of t hat committee which cnrrioit on tho study and
     me.de. the dr!llt of ~he bill was cnr~Iully selected to roprcscnt all . the
    interests which were concerned. When the Commission accepted.the
    responsibility of' forn1in1.? such 11 committcci, it nnmcd three repre-
                                          JA207                       Exhibit A, Pg. 823
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                                      :S-ATIONAL FffiEARIII~ ACT                      103
               sentativils: A\1gusi Vollmer, llhlef of police of Berkeley, CalU.1· who
               was e;.recogniud aut.horit.y on police. problems ; P.hifi_R S. Van Dise1
               foriner_polonel of the United States Army during 'the World Wur. anu ·
               who ~chieved a reputation 1l.S a prosecuting attorney of the-city nnd
               county of Denvor; and myself. Later, the.Honorable Ogden L. Mills1
               who was in Congress.i:}Onsented to · act in an advisory rapacity on
              Federµ! legislation. .uon. George M.. Nnpier, attorney general of
               Georgia and president o'f the Assoriation oi States Attorneys General
              t1nmed as representatives of his 11Ssociation, at the request of the
              Commission, theHonornbleJay R. Benton, attorneygen(frol of Mnsstt"
'       I
              rhuS<>tts; the Honorable. H .,L. Eckern, atf,()rney general 'of Wisconsin,
              and 0. S. Spillman, attorney gene.rel of Nebr11.Ska.                        .
                 At our reqtrest, the Secretary of.'.\V.nr designnted Brig: Ge.n. Colden
              L. R\1ggles 1 chief of t he Ordnance D epartment, Washington, D.C.•
              to srn·c· on t he committee in an nd,isory capacity. The American
              B11nkl'rs' .Associtttion, which is deeply concerned,. drsignnted · Jll.lllcs.
              B. B'num, deJ>uty manager, to represent t hut body.
                 The N ntional Rifle Association Blld the United St11tcs Revolver
              Association sele'cted lvlr. Charles T. F rederick to ·sen ·e on the com-
              mittet> for both!associations. }..1r. Frederick, I unrlersto.nd, has been
              before your co11unit.tee, nnd b e has stated, nnd correct)y statco , that
              he wns largely film author of the bill whlrh has been approved by the
              COJlUnissioners 6n 1miiornt laws.                                         ·
                 The Reajngt6n-Arms Co., Inc., Jyei Johnson ,,\ rms & Cvcle '\Vorks
              t.he l-lau-rington '& Richardson Arms Co., Smit.Ii & Wesson, Inc., 11J1d
              Col l/a:; P atent Firearms Co., which comprise the leading manu!o.e-.
              turers of firear~s i~ this rountry, ag1·ec.d on ~r. S. M. Stone1 president
              of Colt'&' Patent Firearms Co., as their offir10J reprcscntatlV(! on the
              committ.ee. That comml'ttee met in New York City: we had s rssions
              in which tho question was fully taken up, and from that tune on the
              N ntional Crime Commission bas. followed legislation, both Federal
              and State wit.h respect to this subject.                        •
                 Concorning the bill in question , during the few minutes which are
              assigned to me, I '\Iii.sh to speak on tho question of fingerprinting nnd
              the importnnce of having section 5 in the biU, which provides for
              registration, nnd if I hnve time., to refer to tl1e arguments that this
    .   '
              legislation will take the prote..ction away frorn t.Jic home 11nd will
              n ot prevent t.lie gangster from gott\ng .gulls, wJ1ieh is ono of the
              argumcnt.s,E the ·other nrg11mcnt thnt it interfers with honest
              sport in rifle r anges and in hunting.                      :          .-
                 '\\"itb reg d to section 5, gentlemon,-t.11ero will .no,·er be tj!i?ie,nt
    •         contt.ol of fu      ns in this .co'un try until Stl\to and Federnl lcgislnLion
              aueeeed    in securing,   in some fotm 1 r~strn.tion of firen.rms which nre
            ' possessed l.>1 thll peoplo in t ho United States. Thn.t is, until we cnn
              hn1·r tlrn.t mfor mut ion the poliee and all Haose who · bclieYe in the
              ~rl.eq\1n.te control of firearms nro n.t n. disadvnntnge. rnris hill proYidt>s
              jn Ii most admirable wny !or tJ1is rcgistrlltion: It providrH for no
              penn)ty; .it simply in offoct says t.o tho ci lh:cn, ''you sho uld nnd tnust
                                                                                                \
                                                                                                •
              register your firenrme so tJrnt we cnn know wi_th r cg11.rrl to wh(lrc tJie
              firearms nre in this rot111try.'' Ot eo11rse, illl llrcnrms Hint nl'c not
              cfTcctivr for use nre elimin11tcd. All shnti;;uns 11nd r~nes nro rlimirrnkcl.
              The onlv thing that the eitiv.t'!o is nskcd t Q rrgisteJ.are firearms that
              foll within those dossee. '\'hy? One rcRson is Uint whria y nu gt~t I\
                                               JA208                           Exhibit A, Pg. 824
                         ...   -
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     criminal and he has a fi.tea'rm, tt is 1mpor-tant to find out where he got
     that.firearm, nut! when, ail tiine goes 011, wc are able to get a. ran.son-.
    • able degree ·o! tegistratiol), t.he important question· which comes ·
       up first, in getting informatfon with regard to criminal activitiy is,
     ' where did he get the.firearm, will be capable of more prompt solutjon.
       It docs not hMdicap onyone at all .to merely ref!ister the fact that they
       have these fircarn1s, provided they a.re serv1ccnble firearms. The
       effect will be in a smrul nnumbcr o.f years, and as time goes on, all
       modem firean:ns, s uch as crimfoals must have, will be l'egjstered. As
       for the purpose of this raw, which provides for the registrution oI all
       firearms sold hereafter, RS you supplement it by the registration of
       firearms now in exi~tence, you '~II soo!l have something we ha,, o never
       had bMore, an efficient mc11.ns of locnting firearms.
           Mr. HILL. How are you going to enforce the ' req'u iremcnt for
       registration'!
           Mr. ALLEN. You 11re not going to enforce it. by penalty. If a mM
       has firearms and docs not r<>gister them until he wants to trunsport
       them, you do not know. Wit h every year, you are going to get Jlli>re
       registrations. It is because this bill seeks to be re9sonable ttrntit does
       not put n Fenalty on a person who does not register.
           WiU1 tcg.a:rd to fingerprinting; when wo prep1i.red a uniform lnw
       which was submitted to the States, the only objection that wo.s made
       finally by Mr. Frederick, reprc-senting the associations, and by Mr.
       Stone, representing the manufacturers, was the fingerprinting; they
       did not want fingerprinting. The War Department at that time said
    • that they did not want to impose nny requirement, which would
       seriously handicap manufacturers. The vote was something like
       nine to three in favor of fingerprinting at that time1 but in order to
       meet tbe Wishes of the manufacturers and the associations, I tele- ,
       graphed all members of f,be committee, after tho meeting, nnd got
       their permission to omit fingerprinting from that bill. In spite or
       that, they went in and opposed the bill in every State l know of, where
       it was introduced . 1 went to Maine to be heard on tile bill. Some-
       body spoke against it and objected to fingerprinting and talked abo1H
       rifle ranges. I asked what his business was and he said a salesman. I
       asked what he .sold a_nd po objected. Ile fmally stated that he l'Cl'Te•
       sented the Remington Arms Co. 'Vith respect to fingerprinting,
       the tinie is coming, and I think most of us will Ji\le to see it, when
       fingerprinting will be recognized as essent.ial for e\1 cry cit,izen. Tboy
       ate liugerprinting babies in hospitals, in till th1,1 1caditig hospit~s.
       In Argentina, where finge:rp:rlnting is required, tho perce11t1~c of Jll'rc-
       sons who die and are buried in unknown g1·0.ve.s 1 is nil, where i11 this
       country they nro not able to identify_u. great many people, ond tJicre
       1).1'~ loi:go-nun1bers of people buried .. beeause of that, without being
       known.
           ln MnSS11.chusetts, we have bad fingerprinting, as a re1\uircment in
       tho registration of.firearms since before lll07, when t tis bill WM
       po88ed. Now Y ork h!lS it in tho Sullivan Act, and Now Jersey hns
       recently ndopttid it. Co~missioner McLnoWin of Ne\Y York, and
        Mr. Wilson of Mnssnchusetts, nnd practionlly ovc.ry police commis-
       sioner. in this country will stnte tJ1at thoy believe fingerprintin~ is
       essential. Recently m .Mnsso.cl1usot.ts we have cnllcd for fingerprint-
       ~of all taxi d rlvcr;i. No.nil oue cnn 11riYe 1\ ~axi with~ut being- finger-
        prmted1 nod tbero ts no difficulty.JA209                          Exhibit A, Pg. 825
I
                                              Tho sent101cntnl eden bnck     of tho
r
      Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 153 of 250
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                                "N&'l'IONAL J'IRl>tiR.:MB A.Cl'                    105
           -                                                               .•
       ,objection to fingel'printing is .that they think it. i.s liklfbe~g phuto-
        graphed f9r toe rogues gallery, nnd thnt· ls pnSSlng .~ . rapidly tbat
        there iS'' no longer any ronson to prevent the only effic1ebt menns of
        identificntion. I know of no one who does not rep~ent the manu-
        facturers or ossocintjons who, today, 'object to          fing]'rioting ns the
                                                                       ~~rd
        only menJlS of identification.                   "       .    /
            With respect to the. stntement that• is everywhere '             whenever
        these matters come before the legislature, thnt. you ' going to take
        the pistol nwny from the innocent mnn, you are going to deprive him
..                                                                    to
        from protecting bis home~ but you are never ·going' '{~(It the guns
        nwu.y·from tho criminal element, they are unrensonnhle u.nd -foolish
        enough to sny that we are not going to keep the gun from the crim-
        innl; but, gentlemen, this o.otmtry has ~ot yet come to rtloµzi: how
        much cnn be done to make the possessJ.o~ ot a !:?In by n crunmal a
       ·very serious thing for him, nnd the provisions m this bill, supple-
        mented by provisions in State l~slation, are going to make 1t a
        mC11ns of putting the criminal· behmd t he bars where he cannot be a                  •
        gunman any more, provided you will pass such regulations in this bill
        to make possession of the fireonns by tbe man who has not complied
        with the lnw a criminal offeru!e. Of course, the gunman is not _going
        to register. That is the rel\Son why the registration is useful; t he
        gunman ~ould not rogister, because he is ~own in the un!lerworl<!.
        but even U you ctinnot prove he hAs conumtted an act of violence, if
        Ile owns a gun you e11n put him a.wny for 5 yea~ and unless he has a
        wooden pistol, be will not malce trouble for 5 years.
            A pistol will be found iii an automobile and there will be three
        ~mne-!1 there who will say that ~ey do not ?WD it. We have .PJ?-                 0


        v1ded m Massachusetts that a ptstol found m nn nutomohile IS ta
        constructive possession of the man driving that automobile, nnd we
        stopped that loophole.
            If you will register guns, and the g\mmcm rannot Yegister, and if .
        you will nmk.e H1.ese p~visions in the Federal law which will fortifv
        our State leg1slahon with respect to t he control of firearn1s, you will
        go a long way to make it hot for the rtiminal to be caught with a
        gun. You are not going to keep the crirninul from having a gun,
        hut wl1en he hns it., you will catrh him and then you ";u send him
        away. Yoi1 cnnnot· do it now. In my opinion, the most valunblo
        !Wsv1ce this hill will reiider w;u be in putting teeth into every State
                               in
        lnw whirh we have all 48 Sta tes, which are endeavoring to meet
     - Uic problem or t.hc miminnl beil1g in possession of p. gun.
            \Villi rC!Sped to protecting n mun in 11is home. G1mtle1Ticn, if ~·ou
        want !<>" prote<'li you1· wife and c.-hildre~ a~n't, you p:(lin~ to bc·willin"
        ~6 register yn11r.tt}sn? IC yo~ WnJlt t.h1s kind of n. ~un in<'h1tlcd lie~<',
        1f )'Oil aro not w1lhng lo do th1s, vou do not npprcr111tc th<.' t remendous
        imJlortnnt•c of hn,·ing those la\\:folly in possession of gflns known to
        he IO\\'l\IJly in pof>Ses..,jo11 of gun!':, 1n order to get ut those who are
        nnt lawfn lly in possel'lsion of guns.           .        '
            The Into \\'illiom ~ft'Adno, of New York, wlio was 11n smthority
        during his lifetime on this problem,io ~1 INtt'l" written to :\fr. Wil"ker-
        illrnm 'sttttetl thnt lio hntl ' 111-gucd nnd would continue to nr:guc thnt if
        11U the law-11hiding pcoplo of t·hO r ity of N~w York wero <·rnek.shotE
        and were 11rmed with two rovoh·er5 apicco., that. it would not stop
        armed robbery tl1ld m\l'rd('.l' '''it.h flrrnrma, The faet. that the· poli"e
        in EnglMd do not <·11rry firearms,    JA210nnd the fac.t that. theExhibit
                                                                             chiefsA,ofPg. 826

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                        ,,
                       1, ' .
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USCA'l06'         ..
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      police o! cities like Mr. Mulready think it w<h1ld be bette1· if ~be
      police were not aimed ~ith pistols or revolvers snows how Ut~e tbere·
    · 18 to ·tJie argument that the private· citizen .is going to be protected ·
      by rev~lyeis. ,                                .    .         . '
      • Sometime a~o we had a bank !'°bbery on ~encon St~e.et lil Bostou
      m · broad daylight, and the policeman outside went mto the bank
      with his . gun. They took hls gun away from him : IU!d they t.hen
      had one more gun than they bad before. Someone has said that he
      would rather ' be a. live coward than a dead hero. There are some
     men     who would. The whole recent discussion of bank robberies is.
    ·due to the.fact f.h!it. t.here is no way of beating the gunmen who plan        ' ,
      such a robbery, when they a:re aimed with mac.hine guns, by shooting
      them down, ' because they bave the jump; they liave selected the
      timei etc. The theoy;y is a policeman should not go in where 1here
      is a Dank robbery: going .on; he should stay outside and shoo~ them
      d own as. they conliout. You are not going to prevent t.he tremendous
      criminal wave of robberies, hold-ups, and so forth, by armilig our
      policemen with guns"
         The CHAIRMAN. Assuming that it is true, and I believe it is t rue,
      that there is " ·comparatively small percentage of hon1cs ever entered
      by burglars, if. the occup1U1t feels more' comfortable and s11!er liy
      havmg a gun; if it relieves him to some extent and i.;ves him I\ sense
      of security, why should not.he be permitted to have 1t, for the 1i1ental
      relief it ·ntror'ds '? .      J\
         Mr. ALLEN, lf he feels ·~afer, he sho11ld be willing to register it.
      There may come a tirne whpu 1 will went 11 gun in my home. I nn1
    •perfectly willing to register 'it.            .
         The CuAIR1'£A.."i. Have you about concluded your rtntement?
 ..      Mr. ALLEN. Thel'o is more l'had expectod to s11..y.
         The CnArtntAJI:. 1 ou can cxten<l yom· remarks rn the recol'd, or iI
      you have further thoughts to present you niny contimrn for I\ few
      minutc~s 111 the morning at Hf o'clock.                   · .
         Mr. Aw.E~. If I stay over, may I hnvc 5 minutes more · iu the
      morning?
         The CHAJl'tllt.U:. Yes. \Ve V1'1.ll now udjoun1 until toJUorrow ot
      10 o'clock.
         (Thereupon, a't 12:201 the c0111mittee ncljou:r;1ed Until to11am·1·ow,
      May 15, 1934,' at IO a.m.)




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                                        JA211                       Exhibit A, Pg. 827
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                                         NATlONAL FIREABMS. ACT
                                                     '.
                                             TUESDAY, HAY ta, l984
I       I
                                                     HOUSE OF REPllESENTATI VES,
                                                      COJIJMITTEE ON WAYS A.ND MEANS,
                                                           .                     . ll'tUhingtcm, D.<J.
                  The committee met nt 10 a.rn., Hon. Robert L. Doughton (chair-
                man) presiding.
                  The Ca AIRMAN. The committee will p!ense be in order.              ·
                  When we rece$Sed yest.erdny General .Allen, of Massacbuset~, was
                testifying but had not completed bis ·statement. Il he is present and
                rendy to resume, w·e should be plensed to henr him at this ti.me.
                  Mr. KEENAN. Mr. Chnirrnnn, General Allen is not here. I would.
                suggest, if there is o..nybody from the Rifle Associntion presen t, the
                committee might he,nr him in the interest 0£ saving time.
                  The CHAIRMAN. Ve.rywell. We will hear General Reckord.
                           STATEMENT OF MAJ. GEN. MILTON A. RECKORD
                   Generu.l RECKORD. Mr. Chfilrmnn and gentlemen, with yollJ'
                permission I should like to make a statement which will take only a
                tew moments nnd then nnswer any qt1estions1if that is sntisfnctory.
                   The CHAIRMAN. Tlmt will be sat.i sfoctory, General.
                   General REcxortb. Tbnnk von, sir . We understand and have
                understood from tJie be,gin.ning·the difficulties with which the office of
                the Attorney Genera.I is confronted in ranching the crooks and the
                gangsters. We are sincere when we so.y that we wo.nt to assist in
                e\•ery reasonable way.
                   The Attorney General himself'nt the committee hearing on April 161
                snid:
    I
            _      The development of late years of the predatory criminal who passes rapidly'
                ~rrom State to State hllll created a situation which is giving concern to all wha
                 are interested in law and order. • • • There lies the he~rt of 0111'..prohlem.
                 The roaming groups o~ predatory criminals who know * • • that they 11~
                114/ct if they pass quickly acroas the S,t ate llne, leaving the scene or the cr ime.in a.
                high-powered car or qµther means o! quick tran.sport.,ntion:                ·
                 · Later in his tcstilitony tho Attorney Qonornl snid:
                  Now we are dealing. with armed people, criminals who have bide-ouf.a in various               t
                spots . .. They will stay in 0110 pla.co a ltttlo while .a nd in another pince a little while   \
                and then move about, alwl}yll with lll'ltl.8.                                             _

                                          in
                  At nnothor ytnce his testimony, in response to a question by Mr.                                  \
                Fronr, Oenern Cummings 'said:
                  With regard to reaching a m~n like Dlllin·ger, there Is nothing- ePeciflo In th le
                net that deals with tbnt sltuntion. Thero la pcndintt, however, before .t he Jua1.
                                                                                                                    \
                cln.ry Commilt.ee of tho llouuc a bill mukiug it n. Federal olfcnao to flee Ml'OSll lho
                814lt.o line to esQape prosecution (qr a felony, and U that bill should be enact.:d we                  \
                                                          JA212
                                                                                            107
                                                                                              Exhibit A, Pg. 828
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       would be n.ble to reach criminala wbo are po.s.qing ro.pldly from o'De State t4
      aoother.
          r lui.ve mnde these re/CrC'llCl!S t.o the Attomcly General's testimony
      bccnuso thoy have very immc<linte bc.uring on tho question of thu bill
      we ore llo\v consideri.ng-H.R. IJ066. It hos been the 01ought of our
      Associotion tbnt effective lcgisltlt.ion must bo nimed dil'ectly nt tbo
      criminol. It is t.Jie desire of ii.II of us to npply tho n111.ximum pressuro
      on people like Dillinger.                        ·
          The Att-0mey General rondo tho point very clonr1 with whi<'l1 \VC nre
      in henrt.y nccord: Thnt the criminnls with whom the Deportment of
      Jnstloe mny propedy concem it.self are the roving type, moving con-
      st antly ncross stat.e bo1mdnries.
                                                                                               '   .
          The bill to which tho Attorney Gencl'nl bnd roforcncc ns hcing in
      tbo J11dicillfY Committee of the liousc nt the timu or this statement Oil
     .April 16 wns Senate bill 2253. · This bill, if pnssed, •tbe Attorney Gen-
      ernl snid, would strike diroor.ly nt Dillinger n.nd others of his kind.
      '.J'he bill was pu.ssed by tho House Inst 'vcek 11.nd '\\•ns I believe ~potted
    · m ngreement to the Sonnto by the Senntll conferees on Fridny or
      Snturdny of lust v."eek.
          S. 2253 makes it unlawful for anv person l.O ftte from olle State
      into nnotber witb inteot to avoid prosecution foT murdc.r, kidnnpio_g,
      burglary, robbery, ll.9Sault with ~ dangerous wenpon and cert.om
      other CTtmes of n. felonious type, JJ.nd provides a pennlty of not more
      than $61000 or imprisoninent for not·loogoT thnn 6 years or both, for
      violntio.ns. This bill is a dir~ct attnCk and un ensily enforcibla •
      attack on the criminal use of firearms becnuse in n \'ery lni:ge pro-
      portion of the cases in whiob t.be Department of Justice needs to be
      Called in, t.he criminals move continuously oeross State boundaries.
          S. 2080 provides tbnt ·anyone killing n~ United States marslu~l
      or deputy egent of the Depurtment of Justice, Post Office inspector,
      &!enit. ~re operntive, otlicel', or enlisted man or the Const Guard,
      or any employee of auy United States pen11l or 1.'0rrectioTial instit.u-
      tution, or who shnll forcibl\' resist, intimidate, or interfere with any
   ' such. employee of .the United Staws while engaged in the perfoi:mnn_co
      o( his offic111l duties, sholl be ftned not more tl1an $5,000 or unpr1s-
      oned not more tho.n 3 years. This bill is nlso o. direct attn.ck, nnd n
      prol)11r frc:leral ntt1tck on th11 crintinnl use of /irenrms.
          $. 2573 proVides that aoy person who conv&ys or cuuscs to be
      conveyed into any Fedornl penal or oorrecliont1 inst.itution or who
      nids or ussisf.s in such conveyunc.e; or who co11i;1>' re wil.h any othar
      ~non or J?Crsons to so conyey nny f.ireAl'}ll 1 w              n , or e:-q~losi\'e- ,
 \    into tho pl'lSon shall bo punished by unpr1sonmo for o. period of
      n ot more thnn 10 yt'ors. 1'his is another direct Mt k nt the critnitinl
      uso oJ fiN-nrms which thro11gb tho provisions cone ning connivnnco
      will briv11 the Federal officers wi.do powers of nrrcst nnd conviction.
        • S . 28'1 l provides tllnt anyono who by force nn<f' v:iol<'mlo or l:iy
      pntting in fear Ielor,iously tnkes l)r l\tt1.1mpta tl'l tnko llny Jlrnpllrty or
      munoy t1r nny other thing <lf vnlue .:vhi<'h is in .~ho c.nstody, c.n htrol,
       mnnni:ement or possession nf eny meml>cr hnf1k of the Federnl Re-
      servo Svst.em, or nny bnukiug institution orgnni1.cd nnder dlo lnv.s
      Qf tho l111itod SL1ttes, 11hnll bo fined not moro thnn $5,000 or irn-
       prisonod not. more thnn .20 "CnJ'S 8llcl fnrtl1cr Jlmvicles tnnt !r n
       Jn11gN'o11e weapon is 11sod ho· shnll be fined !'tom $1 1000 to $10,000'
       or im1>risoncd 5 to 25 yenrs. Tho      JA213
                                                 net" Iurthor provides tba,t  nnyono
                                                                            Exhibit   A, Pg. 829
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                                                                                           109
             who J\ns committed the offense .l\s dt6ned in the act end in avoiding
             or at tempting to avoid e.pprehenfilon or in fret'ling himselC or attempt-
             ing to Cree h1mse1f of confinement for such offens.e~ kills or kidnaJ>8
             any person, he shall be punished hr ..inlprisont)'.Jent, for not les11
              thnn JO vears or by dent11 if the verdic-t of the jury ehall so direct.
              This is certainly II direct, <concrete, enforcible law, strildng directly at
              the criminal tise of firearms in 11.n extremely broad innnner, because
              practically all criminals depend on bank roliber-ies o( thA type defined
              lR the act to maintain themselves in funds. The penalties provided
,,   '
              &to more severe than ~~ose pro'rided in the l>l'OJ>Os.~ H.R. 9066 and
              the act has- the add1tionel advantage of tn<.'luding all dnn,gerous
              weapons.                                                            _
                 The Nn.tional Rifle Association considers the abo.v e bills as sane1
              reasonttble and efl'ecth-c approaches to the problem of the use ot'
              firearms by criminais. When these bills are ~onsidered in conjunction
              with S . 224~, prohibi tin~ the interstate communi<.'ation of extortion
             mesaeges, s. 2252, forbidding the interstate transportation of kid-
              naped J?enions, S. 2460, concerning the eAiension of the Statute of
              Lltnitnt1ons in certain cases, S . 2845, ~ending the provi!lion s of 'be
             national moto~ vehicle th¢t act to other stolen property, and B.R.
             9476 empowenng agepts of the J ustice Department to make arrests
              without warrants for felonies, we belieYe that the major portion of
              the criminal element , armed and otherwise, in this count.rv, who may
              be prop.erly ·~nsidered as coming within t he jurisw<' tion ·of the Fed-
              eral pobce,.wdl be completely covered.                  .              ·
                 \Ve feel that iI R. R . 9066 is amended so es to be eppli<.'eble in ell
             or    its provisions to m achine guns only and is fnrtber amended as
             suggest.eel by our associntion to bring within the Federal jurisdiction
              the interstate transportation· of firearms of any type by pre\'1ously
             convicted felons end to prohibit the interst'nte transportation and
             pawn.in~ of stolen fire~nns oJ any type, no further Federal legjslation 111
              concerning firearms \nil be neccssnry.                                                 I
                                                                                                   , I
                 We can pledge the wbole-hcnr ted support nnd cooperation ol the
              sportsme,n m this country with tlte n"ents ol the Governmcmt in the
             .o_pp.rohension nnd ronviction of cnmi:'inis und~r tho laws ab(>ve men-
              tioned nnd under H .R. !>066 if nm~nded ns we request.. \Ve do not
              believe thut th e gmierul inconvenience, the resentment UI muny enscs,
              against unnecessary Federal supervision which would be cnuscd by.
              t he! registriit.io1i requirement of H.R. 9066 will ndd iu1ything worth
              wJ1ue to tl1e Fcdl'rnl poliro j11risdidion inscJfor ns the artunl suppres-
              sion o( crime is cont't!m!!d. ,                                                 ·
                 Tho Attorney Gcnct,nl in n svr.dicukcl ncwspnprr, nrticfo under
              \}nte ns lntc: ns April 20, indlrl)t~ ll111t H .R . 0066 WI\$ u1teoded. to
              cov('r mnd11J1c guns. 'I he A ttorncr Gcncmi l wns <1.!_1otcd as ~nvmg
              tl1nt the intontion of tbc Depnhmcnt of Justice and the ne'cils o/ t ho
              D~pnriment wci:e "l'xpr<'Sscd hy n series of bills now brfore Congress,
             ·wjf,Ji the endorsement of this , bcpnrtment. Tho first in order may
              !10.t ho so impqrtont in ~ho lon~' l'\111 ns som<1 of t110 o.tbr.rs, bot we ti~
         "    it m ~order t-0 .rneot nn 1mmcd1o:tc emergency. It 1s t he one haVUig
              to do wi th machine gons." Tho ).\ttorney Oencrnl 'lescribed tho
              pro visions' of this hill to t'onqd0111bfo lcnj:'tb, Jnc-11ti011ing the t.o..~
              provisions and tho•licensi~~ ptovisio!ltdor 11urnµffi~t.urers, deniers end
              consumers. He then bnelly 1dc.JS<•nbefl t.ho provisions· bl tl10 other
              bills wlilch hnve nlrcndy heer1   JA214
                                                    plnco.U before tho Sennto      Exhibit
                                                                                       and A,tho
                                                                                               Pg.
                                                                                                 - 830
                   bs!l18-S4~8
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                                                                                                     I

     House. But at no rnm~ did General Cummings refer to the ordinary-
     pistol arid n<volve:rs. It would appear from this nationally broo.dcl18t
     statement that the. Attomey Genel"fll himself djd not consider tho
     pistol and revolver· provi\lions of this net n.s being of n.ny great
     imporlAn1ce.                         .
    · It rnay be of interest to t ho members of t ho committee to know
     that only a week ago, at t,he request of Mr. llonver'e bureau in tho
    Depa.rtment of J ustica, our association furnished tl~at B ur_eau with
    a list of men_, sll eportsmon and members of the N atLonal Rifle Asso-
    ciation and all tnuned rifle nnd p.istol abot.s, ofToring them as volun-
    teers to work with Mr. H~ver's special e.genUI, instructing them in
     the proper use of the \)ist.Qls and revolvers issuecl them by the Depart-
     ment. The local potica could not in most, cases train the agOIU.s of
     the Dep!lr,tment who are charged. wit~ the duty of sbootin~ it <?Ut witl1
     J ohn Dillinger and others o( his kind, beco.uso tho police m most
     caa&.1 do not t hemselves know very much about marksmanship. Jn
     this emergency, as in 1918, the Government of the United States has
     tumed to the civilio.n sho'oters organized undur the National Ri.tlo
     Assooilltion to Iumisb instructors nnd teach marksmanship in ti.to
     ea&e of & National em0rgency. I mention t..bie ti.$ an indication of
     ~e value o~ arm:in~ llni.f tr~g •our av:orug0 reputable citizim!i
     UUl~~d o( diseouraguil{ an~ restncti_n~ thrur armn!llent and p~per
     trammg. I also mention 1t ns additional proof, if the commit tee
     needs any· ad<ll"on nl proof of the earnest desire o! our association to
     coopernte in every pniutic:ablo way in the suppression of a.rro(ld
     eriminnl activities in this country.                                                                .,.
        The amendments which we now pl'opose to U.lt. 9066 are accord-
     ingly Lo eliminate pistols and revolvers entirely from the bill, c<>tl•
     finllig it to me.chine !!Uns, sawed-off shot guru. anCl mu.fliers or silencors
     and not. otherwise changing the bill a"tcept. to strike out sectiori l 0,
     I.be interstate transpo:rl.nt.iou section~ suhst.i~ut.ing t.herefor tho
    ·following Jo.ngunge:                      ·                 .
        611<:. 10 (o) . Whoever sho.11 tm11•port br cam>« to b6 Lru11~p<Jrtetl in it1h1rst3tu
    01" !11tci~n cQmmcrce any fireaN11 theretofore st.olen or tllkctl feloniously by lm11d
    Qt with ltllent to steal or p11 .. toi11, knowing the 111unc to havo been w stolen or
    t.l•kOn or whoever noi. being o. common currier, el111ll Ao send or trnnsport, or
    att.empt to send or transport, nr cause to be sent or ttll.nHpnrled any •uch fircnm1
    under $11ch Circumato.ncca as shcn1ld pnt him upon Inquiry whetl1cr tbe Slln\c had
    l;e()n .90 al.Olen of" taken, wit.!1out mAking_.rewionablo 111q\llr)' fn itooll ·raitn ).o llSCCr-
    taln tho ract, sho.ll be punished by a fine or not mor<i thi.n SI0,000 or by im•
    prilf(inmen~ or not more t hnn 10 )'CM& or both.
       Mr. Coon :n. Mr. Chninminl i f l ma_y intcrrupt!or just I.\ momonb;
    it is proposed to strike out sect.ion 10 (o.)l'        •     ·.
       General RJi:CXOnD. YCl3, sir.
       Mr. CooPEn. I undorst<10d you to any t.lmt thut rolntod to t110
    interstnte transportation of lironrms-. 1 t strikos mo thut section 10
     (n) of the now draft rolnt.es to importlition.
     · General REcKono. I am sp<1nlring of the old dtn(t.
       Mr. CooPmt. I understood you to rcfor to C,ho no'" draft.
       Genenll l<zc1tonn....f arr'l rolorring . to tho old draft, H .ll. 906(1.
    The now draf t. as presented yes t.orday hnd no number.
       Mr. CooP~. Tf10 now drolt ho.s a numoor, ~ho same number ns
    the .olJ bill, H.R. 9066.                               ·
       Mr. TnEADWAT. Tho now draft, of course, hO.B oot yet boon lniro-
                                          JA215
    du(ed, so it ~loes not havo a T\Umb<lr.                         Exhibit A, Pg. 831
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                                                                                             111 - -
               M:r. CooPER. 1 &Ill meki.cg no ci:itfoism, but I wanted to keep· the
             record clear.
               General REcxonn. I want it to be clear, too. I wo.s speaking of
             the printed bill.
               Mr. CooPER. Wl1at you are suggesting there, then, is in relation
             to tho interstate transportation and uot t-0 importation?
               General REcxoBD. That is right.           -      ·
               Mr. FuLLEn. Your redraft touches the transportation of sllwed-off
             shotgun's, silencers, and mn.chin.e guns--
               Genm·olREcxo~D. ,Yes, sir.
'       -      Mr. FuLLr:R.' Only?
                General RECKORD. Yes, sir.                           ·
                Mr. FuLLER. Why' do you insert the language "knowing the same
            · to have been so stolen"? \Vhy do you not make it altogether pro·
            hlbitive?
                General REcxono. We are willing to make it so broad that this
            section would refer to all firparms, all gnns. )Ve are perfectly willing,
            if n. gun is stolen, that that be used against the man who steals it.
                1'1r. FVLLEn. You are covering tho only section tba t seeks tu reach
            tho man who transports a machine gun, are you not?
                General R ECKORD. No. My language, Mr. Congressman, says au
            firearms.
             ' Mr. FULLER. All firearms?
                Genero.l RECKORD. Yes, sir.
                Mr. FULLER. I think the operation of tlie lliw sbonld.be more severe
            on the mun who cnrries the' sawed-off shotgun or machine gun than on
            tlte man who carries merely a pistol.                           ·
                Gcnernt REcionn. Wo are willing to go ns far as tho committ~e
            wishes to go on thnt.
                ~·lr. FuLLEn. H a man is carrying thnt type of weapon, if he is not
            an office:, he ou~ht ~o be tnken into custody any,vay, be.-au~ we know
            thllt he is carrying lt for nn unlllwful pu~ose; I nm refemng to such
            a weapon ns n sawed-off shotgun or muehmo guu, or n silencer.
                General RECKOIU>, 'Ve agree with thnt.                            _
                Mr. FULLER. \Vo c1nmot comp1H1i those with n pistol.
                General RECK ORD. \Vlmt~ver the <iommittee tlemres on that, we will
            be in accord with the judgment of the committoo.
                Mr. FULLER. You would have no objection to putting those in
    '       ditreront cntcgorios?
                G·enoriil REcKonD. No, sir. I think the language that I use here
            was prepared by tl10 office oC the A ttomey General after we had bad
            one of our conferences, and we accepted that Janguogo.
                The CnAJRMAN. llnvo you completed your main statement, Genaral
            Roulconl?
                Gonerol REcKonn, Not quite.
              • 'l'ho CHAIRMAN. May I say to tho members of tbe committee that
            tho witneS!! has roq ucsted thnt bo bo nl!Qwod tQ complete lliJJ.atatement·
             boforo being nskcd questions.                                        ·
                1\1'.r. FuL.LEn. I bog tho gentleman's pnrdon. 1 wns not bol'(I wherr
             ho stnrtcd.                                   .
               General REcJtonD. In section 10 (b) we suggost a pnrngrnph that
             would covor t bo pawning of stolon tiroanns, We SUggl)St iho following: _
               (b) Whoever eluill receive, oon.ccal, store, barter, 11011, dispoee of, or pledge or
             UQCCJ>t 119•euc1.1rlty for n loan any firear~ moving In or wlllcb ls a part of hiten~te
                                                     JA216                            Exhibit A, Pg. 832
                                                   •
;


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                      .
                                     l!fATIONAL FlB:EA.RMB1 ACT
                                                                    .
                                                                ·, ~.
         OJ' foteigii commarce and which, while so moving ~canstit\1ting such PAtt. h4c!
         been stolen or taken re1011iously by rraud or with   rr,
                                                               11t to steal or rurJola, k'now-
         1.Dg tho eame to !\ave been w stolen or talc.en; or 1    ver eh:ill receive, oonceal,
         1tore, barter, sell, dispose or, or pledge or Moe1>t a     curity for a loan, any such
         fireaflll, under such circutn'ltances as ahould put h      11pon inq11iry whether the
          t1a1110 had been so stolen or blken, without rea.sonlililo Inquiry in good fs.itb to
          ~in the fact, ehAU be pu11l8'1ed by a Jine of not more than Sl0,000 or by im-
          prisonment of not more than 10 years or both.                                 ·
              {cl l. Ji RhAll be nnlA\\1111 /or any person "·ho has been cohYieted of 11 r.rlwe
          of violence In 11 court of eompetr.nt jurisrliction or the United St11teH or or n11y
        - State, Territory,. or the District. or COiumbia, ot or auy i11sular possetAsion ot tllo
          United Stat~. (meludinR lhe Philippine Islauds) to send, sWp1 curt~·. or dell1•cr
          apy 1ireai-m in int(!nltate comm1?rce..                                              ,,
              (e) 2 . Any such person found iu poBSe88i'Dn of a firetlrm shall be presumed to
          haYe !mnsportcd such firearm in intcrstafo commerre contrary to the provM011g
          hereor, 11nlCR11 such> per!!Ofl hu been " bona 6do •tealdent for a period of not. leS!!
          thAD 60 daya of the State 11•herein he is found in poaM1<Sio11 of such tiretlrlll, or
          baa in his ~on· a stamJHllfiXcd 'order therefor lncJic11ti11g thnt it bus lx.~11
          P,Utthaaed m euch Stnte.            ·
           . This language that ~e. hiive suggested hero i.s lt~nguage that Wt\8
          prepared in the office of the Attome.Y General as substitute Ian~
          gu_a ge, but later was not used.                         ·
             Mr. VtNsoN. And that the Attorne1 General's office hns s t ntetl
          that they have not submitted it to go into the bill.
             General REc1tolio. They did not submit it yesterday. ,
             Mr, V11'!8QN. In ·otber words, .reCerrin~ to the memorandum ~hat
          they submitted at the former hearing,' after they thought about tlie
          constitutional rights .of citizens ~d the laws_of prosumJ?tion, they
          could not nnd !UJ.ythlng that squwted at such a presumption M wns
         'contained in that language, ~d so tl~ey were willing to leav(I it out.
         · General RJ;CKORO: They did leave it out, Mr. Congressman.
             Mr. VtNsON. A11d you want to put it b ack in?
             General REcxcino. We~si:ggeating thatH.R.9066 as print.eel - -
             Mr. VmeoN. I am asking if you want that language, that pre-
          sumption in regaid to residence, in? -                    '    1
             General RECJtORI>. I thllik tbis wouJd be much better il1an 'the
          ltulgunge of the bill as presented yesteriliiy.                'J
             Mr. V1NsoN. Are you 0: lawyer?
             General REciton1>. No, air.                                 J'
             This language"will, like the bills o.lready passed, strike directly nt
          the criminl.l.l witnout the roU.nd-about method of tryiJ\g to get the
          criminal through the 'horrest citizen. . •.                       \
             I would like to say t,bat du.ring our initial conference with Mr.
          Keenan this amendment to section 10 was tentatively oirreed upon,
          but subsequent developments, I ,belitive, in the Trensury Depllrtbulnt
          r.ausecl the Depo.rtment of Justice to withdraw ita tcmtativo npprovnl
          ol tho nbove fongunge, substi!tutiri(\ t11e-:(cquiremont discussed 1cster-
          dny tl1nt nil citizens now owning pistols ruul revolvers bo J'O(l_turad to
          regiil!A>r them or to. fi~ 11:,n aflidavi~ with tl1e C~mmission61' of Intemfil
          Revenue before sl11ppmg.qr ca'JTVmg the gup mto 1mothor State.
             I would also liko to ear. thnt immediato(y following our hearing
          before this committ,co on :April 18, we did c()nfor witll Mr. KC<'DIU\
          and roo.cbcd whnt appcnred to be n subato.ntio.l accord in severol·
          directions concerning . the registration and identification methods
          provid-od jn the orig1[\o.I drnrt of tho · bill. Subsoqucintly, however,
          eevcrnl ob1U1gcs were suggested, I believe, by tbo Treasury Dopar!•
                  '                  ••   I




                                                   JA217                             Exhibit A, Pg. 833
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                                        NATIONAL JPillBAIUtS ACT-                          113
               mr.ut which rnquired a rl\th&r extensh•e rodro!ting of the mensure in
               tho form ·as prosenWd to the committee yMterday by ~fr. Keen&.n.
               Mr. Smith, of 1vfr. Keenan's offico, mnde a consciontions effor t to
               keep us ndv'isod or these numerous changes nnd corrections, and we did
              our best to keep up with them. But it was not until yC.Sterd~y, when
               t,~c rovi!lO<i ilraft was presented by Mr. Keenl\n1 that we bad a cl~r
              picture of tho clJl\nges that were to be proposea. I do not say t.lus
              an ony criticism of Mr. So1ith or ~fr. J(aenAn, but merely to inilicat.e
               to tho conunituie somethinp: of tile difficulty wJlich we have bad in
               trving to keep abreast of what we wero supposed to discuss l\t this
              committee bearing. 'Vo do. feel, 11owevar, tlio.t tbl1 recoot action ot
               th(I House in np(ll'oving tho Senate bills above referred to Iii.IS so
              co111pletely clumged the picture and hw.1 so materially broadened
              tlul power of tho Depnrtnwnt of Jrn1t.ico to tuke jurisdiction over
              prnct.icnlly the cnt,iro (lrmed criininal clnss ~n this country tbnt
              nttempts to reoch I\ compromise on the pistol and revolver provisions
              or H. R . 9006 are no longer 11ecessar.1.                                            .
                                                                                                   '
                  \Vt' fl'cl tJ111.t if thh; bill is limited to moi•hine guns and &awrd off
              $hot guns, cxropt !fir tho intl'TState trnnsportation by criminnls
              dl)use, tbe Coni;fC$S will have done all ~bAt can be done to nsl!isti the
              Stntes in the suppression of lclonfos ,
                  In closing, I would like to say for Ute purposes of the record that.
              1\fr. Ket'ue.n yrslcrd11y stawd that tbe Dopnrtlnent of Justit•e was in
              t<>reipt of nu1ncrous requests, notnbly from Wc>men's organizations,
              r<.>qncsting antiflre11rms fogislntion . At the s ame tin1e, he seemed t-0
              fel'l .that. the roc·cipt hy Membl'rs ol Congress of .commu1tirotions
              from ' members ot men's organi1.ations op~ising this sruuo type of
              lt'~slntion tonstitutcd propngandu. 1Vo Itavc cndea,·orcd to keep
              the members of out asrociation advised as to I.he progress or the va n -
              on~ bills propo~ wJ1irh would nfTec:-t t11c uso and rarrying of firearms.
              'Vo hcliave.. thnt tl1is is both onr pri,·ilr1to 11.Jld our dnt.v lo our men1bers.
              " ·e do not consider. th.nt it is 11ncthict\l nor that· suc:-h action con·
              !\tilutes. inl'idious prop11g1Uld11:
                  'Ye wtmt the. rrrord t.o ho •JlPr{eetly dc11r on this point--tl111t wo
              forl it is <tuite ns proper fo'r mr-mbers of men's organizntions to
              hynb!\Uy nnd opc.>nly oppogc nntifirenrms lc~i>llation of this ch11rn<-tcr
              RS it ig for wonwn's or~11ni:r.11tions to propose surh legisll\tion.
                  hi .Jud~o Allen's lltatc.-.ment he.- raised some <JUt'!ltioa 3S to th4) valuo
              of nlpistnl or rcvoJvrr in tlio hands of lho pnvllle citizen in CR~ of a
              bold 11p. Th.e l.'nnnniU.~'<' mny be inl-0restod to know that u1 U10
                   0

              t'itv pf Chirngo in 1!}3:2, a3 hold-up m!'n and burglars W!'re killed by
              ftunfirl'. Of that nm11hcr1 26, or aP.pmximl!.lely 4.0 pett<'nt, wer&
              kiHt•d by armed r.it.ir.ons. In 19:l3, 7 i th11~"8 we.re killed in Chicago,
              Qf wliich number 33, or prrttv nearly 50 petcent, w<.>ro killed by
               nrine\I citizt.'ns. Tht\so figurl'S,'<>f course, luwc no rcf<.>rc.-n('O to Rl\ng
              killing11 1 but to th.11 kiUin~ of bandits dnring attempted hold-lips or
              burgl~nes. h1 tho pnsL 3 years thorn hRve hr.en rllported to us,
               thrcntgh the inooium of ne\Vspapct clippings and per!!lln11l ltlttC'rs,
              Bl'."\'oml lrnndrt'<l Cl\.8C9 in wlait"ll nih'1npt.ccl hn~ll\ries and h old-ups
              hnv<' born frtratr~wd by tho fact t.hM tl1<1 citizen against whom the
              fclony was aH-0mpud. or n passer-h~·, wa1111rmC'd.                    .        •
                  \Vo do not (1wor pl'Q rniscuous !!Un-toti~, hut it is n. !net whicb
              cnnnot be ttfuted thnt n pistol or rovoh-or m thll hnnclll or n 111110 or
      •·I..                                    JA218                          Exhibit A, Pg. 834
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    woman who knows bow to use it is one thing whiah makes ~ho smallest                   "
    man or tbe weakest woman tho equal of tho burliest thug.             ·
        That is tho position of the association which I represent ond tl1at is
    th~ reason we are here opposing the proposal with respoot; t-0 pistols
    and re\'olvers. W-e b01ieve, if sour committee will weigh carefully
    the bills that have ulreo.dy been pnssed- nt lenst I understand that
    the conferees have agreed on tl1e~n nnd tboy will shortly be signeil-if
    you will tnke all t.hoso bills thnt I luwe enumor at-0d( you will find
    thnt you hove covered the hooJ)lum, tho racketeer anc the crook.
       \Ve think in every way tlini tho Attorney Gonor'll1s office lms
    stated that they wish to cover that pnrticulnr elcthent, you will find
    it .coverecl by ·tho lnngun.go of those bills.
     , In addition 1 if you Will ndd mnchlno guns, ·we tlti.nk yon need 11ml
    they need no.thing more.                   .
       Tbnt is olir position. I . slut.11 be glad\ if I citn, to a nswer 1\11y
    question with respect to the <letnils of the oill.
       Mr. HI.LL, I underst11Dd you have gi,·en the numbl\rs of those bills
    in your statement?
        Genernl RECKORl> . Yes, sir; I did.
       The C e,\lnMA.N. You speak of n law to p1'tlvent criminals from
    fleeing nftt\r the crime, nnd that such Iogislntirm is pending_ before
    Congress, or hos been reported i1,1 n bill out o f tbo [!'1111.1te. You sny
    thnt bas your e.pprovnl. Is that correct,?
        General REc;1t.onn. Y cs, sir.     J               .               · .
        The CHAI RMAN • .As I understand ,one .of tho clue! purposes of tlus
    bill e.s proposed by the Depnrtment of Justioe is io prevent the com-
    mission of tho crime; instead of dealing witl1 a criminnl fleeing from
    the scene of the crime, which you seein to accentuate, tho Departmen t
    is trying through the control of the use of firearms and,. the restriction
    of the use of firearms to prevent the co.m mission of tho crime. There
    is a $f011t difference between dealing with n. n1an who bus committed
    o. cnme and drnfting a law to make more difficult tho commission o(
    the crime.                                                                  .
        General Rt:eronn. 1 <lo not-see how tbnt would be reached by this
    proposal, Mr. Cbnirman. The Attorney Gonernl bus noYor mode o.
    statement like thnt to me.                 •
        The 0RAJRlllAN. I mny be in error, b u t -
      . Genernl REC KO RD. H I may refresl1 •you r rnin<l-
       The CnAJRMAN. It was my impression thnt- -
        General R ECKonD. Only yesterday Mr. K'ccni1n made t f10 state-
    ment right here •thnt this now proposal they knew v;ould not get the
    crook. The crook would not obey the -ll\W1 but the honest citizen
    wol.lld obey the law. Therefore tliey could ('onio in-I probabJv did
    not' use just the correct language there-hut what I understood i\Tr . .
    Keenan to say was this: 'fhat tho] rcsiize t.hnt wlien you pass this
    bill the honest citizen would obey 1t encl thoro!oro when they onught
    \he crook they would be able to toke c11ro of bitu under tho J>roYisions
    ol I.his bill, bc;co11Se he had no~ complied with its rcquiroincnts.
        Now, we so.r1 and I honestly belle\'e, if you {(cntlemcn will study
     the two prine1pnl bills among those whicb I nnmc<l, you · will find
     thnt thr,y Juwo tho power n<>w under tho.new l~l,rj~Jntion t~ do J·ust
     whnt the.y arc nttcmpting to do lrnro. '\\ e nro m nt:r.onl with t 1at.
     We do not ~1i:e\"{'1 ~Ir. Choirme11 and gimtfomon, tbnt tho!'(! is any
                                          JA219 o{ thousnn<ls--andExhibit
   justifiont.ion for di$.commodil1g 1111ndrcds                           tl1cre A, Pg. 835
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                                                                   -   ,          ..
       \
           II.TI' that many-honest citizens and sportsmen who honestly        po.ssess "
           8lld rightfully posses$ a pistol nnd a revolver.    •
                 l\fr. YJNsos. Gonerol, I ·do not understand that in thoJl6 bills thllt
            were reported out. of the Judiciar y Committee, the nnticrime bills,
            B felony is created when a law-abuling' citizen bas a revolver in hia
            possession'.         ·                      . ~ .                             •
               . General R_EcKono. No, sir; not in any £those. . We are in accord
            v.-.th those bills.                       ,         ·   ·
                 ~Ir. VINSON. You st1v thnt the·s11111e t · gis done h ere?
                 Gent><rel REcKOJID. No, sir; not the some thing.                         ·
                 ~[r, VINSON. That is, nttemP-tt>d to be done bere?
                General RECKOlt,D. No, sir; 1 do not mean to sny thnt. · l say
            the DepsrtnU'rrt ·of J11sl1ice throngh thm;e bills. renches the men thnt.
            thC'y ,say they are t-rving w reach un<lcr this bill. Therefor<.'., tf1ia
           bill is not necessl\ry. •
                 ~1t. VINSON. So inr as :Fcde.ral leJcislotiun is concerned, this bill is
           probably the first ever presented mnking it n felony for n citizen to
            ha,·e in his pos5cssion a pistol.
                fieneml REcxonn. Yes, sir. :But you did not. understand my ~
           point.                                   .                              .
                ,;\fr. YwsoN. l think I understood you. ·                .
                General R ECKOIU>. 'This .bill, we believe, Is wmeceasary becauso of.
            tho foot that they alrcrulv hn\·e lmder t he new legislation all the law
            t.hcy will need jn ordert.o   reach the crook. '
                N[r. FULLER. There is nothing in the new lnw· about buying,
           cllttying, O'.r possessing machine guns nnd SD'l\--ed--Off shotguns?
                General REcKont>. That is true. But . we are willi.llg that you
           amend it. 'Ve 'do not care how se>ere you make R.R. 9066-and it • I
           is a very severe hill now. 'Ve do not care how severe you mnke it,
           if you will .strike three words out oI the bill. ··
                l\{r. CooPEn. "\\11y do you .sny tihllt this "!>ill is not necessey if
           yon agree thnt that ouS{ht to be done?
                General RECKORD. " "c sny this bill is not' necessary in its present
           language. At the same moment we also say· t hat we are glad to go
           !llo~ with them on machine guns, dangerous weapons, sawed-ofi
           shotgun..s, as far as they w11Dt to go, whether it is neeeiisary or not.
                }.'{r. FULLER. · But eliminating pistols? · .          .
                Genernl RECKORD. Pistols ·nnd revolvers.             ·               .
              · ~?w, i{ you want to omen~ the printed bill in the fiTI!~ !le~tion by
           ah iking out three wo."C.1.s1 "pIStols :md re~·oh-ers" we will go alo11g
           with i t, even though wt: oo not believe jt is necessary.
                lvfr. FuLLEn. Have y;m a copy of your suggcst.00 amendments to
           section 10?                                ·                                 .
                Gcne~nl RECKORD. rmny be able to fitrd some copies. I llm suro
            they can be gotten for you.                                    -
                Mr, TnEADWAY. I understood yon to say-and ·you now soom to •
            ho confirming it-that you support this bill, H.R .. 90661 insofar BS ic
            npplics to machine guns?                  ·                        ·
  ,,            General REc11.01u>. )"es, sir..               .· ·
                Mr:. TnEADWAY. And yon s ay th11t if we strike out three words.
           S(I for ns you Rro concerned, tho bill is sntisfnctory.           I llSS'Ume tlmt
            those thrco w-0rds Rro-
                 Gencrnl R£cKonn. P istols nnd re\"ol vors..
                                          JA220                         Exhibit A, Pg. 836
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                                                                                    j
      ·Mr. iJ'RE.lDWAY. Let us looato them. They IU'o in line 4; "pis I,
    revolver, abotgun''-Me thosl\ the three words? It seems to lll6_you                      I
      should strike out more thf\tt three words.                                              \.
           General RECKORD , No, air; .1{1'.. Treadway.
           ~1r. T~EAD'\VAY. Just whnt do yott wo.nt to strike out?                     ·
           Genernl REcKono. Just Jet me n.uswer it in nn intelligent way, Mr...                J
     Treadwa.y. Following that.you bnvo the lnngungo "shotgun huving
     a barrel less tbu.n 18 inches ih lengtli." vre would lell\"8 that in the
      bill. Thllt is ti dangerous weapon.              .
           :Mr: TnEADWAY. ·wnnt is tlui third word in Addition to "pistol" .
     and "revolver? 1'                      •
                                                                                              ..
           General R.EoKORD. 'Ve \\-"ould take out the wo1·de "n. pistol,
      revolver."                              .                              ·
           Mr. lfnEADWAY. Then 'y ou nre not strikipg out thPee words.
     . Genernl REcKono. I snid tliree words. t thought when I wns re-
     ferring to the bill that the longua.gc read "pistol· nnd revolver."
           Mr. TREADWAY. 'l'hen the h1.ngungc as you would have it wottld. be
    •that "For the purposes of this net tbe tenn 'firennn' menns a shot-
    ~n having n barrel less than 18 inches in length or n11y other ii.J:enrm
    ):ilpnble of bein~ concenled on the person, a mu111er or silencer tliere-
    lf~r or ~machine gun."                                                 ·
    , 1Oen<itnJ REcxono. Yes, sir; that is correct.
         · Mr. TREA.DWA'Y. So that the wor<ia to which you are renlly re-
      fen·iqg nre, ns I ho.ve snid, "pistol" nnri ' 'revolver ''Y
           General REcxono. That is correct. ·
           Mr. Vnri;oN'. In that connection you cm.'ld not lenve in th er.e ''or
     any other fire1trm cnpn.ble of being conccolet: on the person" because
      thn.t would include pistol or revolver, if it is vou·r intention to strike
     out pistol or revolver.                                  •
           G.enernl REcv.ono. I think that.· point is well ~'4ken-. TJ1e Jo,ngm1ge
      there i·ould hnve to be cl11rnged.
           Mr. TREADWAY. You lrnvc covered in gcnc1·n1 yom· objection to
      H.R. 0066'?                           ·      ·        ·      ·
        · Gene:ral REci;onD. "fe.s, sir.                                 .
           Mr. r"f1lF.ADWAY. Ancl uny suggested <'hnnges nnd nmendmcnts                            \
   . woi.tlci, of r.ourse, be left to our drafting force nnywo\·?
        " General R&ciono. Yes, sir.                                   ·              •,
          Mr. TnEADWAY. You.\vould approve the gcncrnl purposc..s of lf'.R.
     9066, provided those t\vb}words wm·o stricken out. and wlu\to\·cr olso
      might be necessary to harmonize tho rost of tho bill i is tltnt correct?
           O~nernl RECKOlto. Ycs i' sir; tlrnt is correct.
           Mr. Tn£ADWAY. That being tbo cn;;e, und inusmucb 11S VO\I say
      that tho nino j1idiciey bills, so ct\llo<l, ;.o,·cr nll of tho rcquu't'monts
                                                                                      -      .,
     sought tt'I he co,·cred by 'I.bis bill1 oxoopt t.lrnt fouching mnchino· guns,
      if those bills nro not nlllc'11dy lnw, why not insC1rt "muchino guns"
     .in some ono 'o f thoso ums;'lind not ~o to 11'11 tho bother of trying to pnss
     such n long IJjlJ 1\$ this, tlint hns objcotlo'nnblo fontures to people olhcl'
      than yoursolvM?             ,     ·            '                                 .
           Gcnornl llscll:ono. Tlrnt would bo \'crv uccoptnhlo to us. '\Vo nro
      DOt Offering this hill. 'fh t~t..M·oiilcl be, \\~O t.hink, · n 11\0At St\(isfoClQr\·
      way of COV<'l'ing tho situntio)l.       .                       ·                  •
            Mr. T.1n;AowAY. lf1Lv11.yo11 not trh:d j,o nmform with tho vimvs of
       tho DepnrllllClnt  or   J'ustite?.                               .
                                      . . y ()II l<'SiiCio1l' h l'ro 501\10 limo ogo, I .
                                            JA221
                               .'                                              Exhibit A, Pg. 837
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       1 remember; 1is to efforts th11t hnd be1m mnde to hnrmonize Urn various
      I confilctmg interests here.         •
            Gcnllrnl REcKono. Yes, sir, wo hnvo t'rie~. Wo hnve found .it
         rather difficult1 though, 1md I do not mean that jn a spirit of critic/sro
         nt 11ll. Bitt we hnyc found this,. that whenever we ~o over tl:)the
         Depnrh11ent of Justice-and we h1wo 11lwnys been rendy und willing
         to go nt nny time-we find ~hnt Mr. 1\cennn who·is 11andling this
        mnttor is vi;1y busv. And he is 1l lmsy mnn, we renuzc that.
            Mr. 'l'nEAoWAY: 1 do not d011bt thnt nt nil, hccnuse they must"all
•        be very busy to keep up with this ·n!phnboticnl proc~sion thnt is
        under wnv.                                                   •
            Gener1il REcKono. I ogrt'o with you; bufr--
            Mr. TtU:l AUWAY. Th<'.v onnuot laolp but, ho busy.
            Gencrltl REcxonl). -\Yo h11\·o found hint bu>'y, and tbfn we denl
        wit,h Mr. Smit11.                                       '               ,
           }vfr. TnEADWAY. Right nt thrd, point, 11r. Kcf.'nnn hns.bcNi here
        fo1· 2 do.ys. You so.y you cnnnot t'<rnch Mr. Keenan on nccount o( his
        bt,ing so busy 'vitl1 ot.her mntters. Me is right h<>ro. now. Let me •
        nsk 1'1r. Krennn, Mr. Chnirmon, what thero is in H.R. 9066 that his
        Depnl'tment is nsking Congress to pnss, other thnn the rcforenco t.o
        mnchinn guns, thnt is ,dot contnined in the other bills thnt 11nvo hccn
        rc/c:!rre.d to.
           Let mo put it n. littlo difiercntly, and ask ·this question: Do you
        agree with the present wit.ness th1it the 11ine jndic.iary bnts, so-cnfled,
        takii en.re of the situ.a tion s.o.fnr ns the nuth o1,ity of your Deportment
        if? rcnch gang:;te1-s the best you cnn ~y legislation, i£ included in those
        bllls were n. direct reference to mnclune guns?
           1vlr. KEENAN. We do not.
                                                                                             ~
          Mr. TnEADW.i\Y. Whvt                              ·
            Mr. K~~AN. :Seenusc \\~o fincl in cvciry cnso wh1.>re ·w!l .get a                1
         gangster he hns not aloncamncbine gun 1but he hns tho In test and finest
       'developed pistols and revolvers with which t.boy cnn kill 11.$ well ns
        ·t hey c.an w1tli a ·mnchine ~nn. It wo·i1ld be very helpful, of cot.1rse--
         t reme11dously so-to.,get rid of machine guns, But we do not believe
         that the job cnn be done onlcss wo mnko it oxpcnsivc for the gnngster
         to bnve the highly improved, dnngerous wcnpofl, either tho pistoh.o r
         the revolver.                             ·                                 \
            Mr. TR"EJtDWAY: 1\1r. Kccnnn, ns to the matter of e:q1cnso-, T do no~
         think I cnn go along withJc'n1 on .v our argument lit ull. Tho gangster ·
        is going to rni<l a bank n.n )1 0 might kill somobody trying to get to the.
•i       mon(\v in tho bnnk, but I.to io; .trying te> get thoµs!\11ds.nnd thousl\nds ·,
        of dollo.rs. You could 9ot mnl<o ·a pistol expensive enough so , t)mt '
         he could not nlio.rd to get itr Tho mntter of dollnrs and' cents would
        not he impo rtant to him. 1£ bo lS n hi~h-grndo gangstor,.·si1ch· ll5"-
        S(iems to bo opern.ting around these doys, bo i~ not going to be ·de-
       . tcrred l>y the price of tho pistol.                      .  ··    ·            .
            ~tr. I{EENA.N , '\".o do. not wnnt our pQi:1ition misstntcdin tJrisrccord ·
         bv nny or tho 'Witnesses who npp·car before tho committee. vv'e
         ll~mit frnnkJy from Ollf oxporienco thnt WO do not bclic\·Q thfa Or any
         other hill cnn doter n~ tho pre.sent ti111e tho hnrc'c.nc~ criminp\·and tho
         gm1gstcr from pro ~urmg uny l.ypo o( wcnpon, mel.11<11111! m11el111111 guns.
        .l311t Wl' <lo bl'Lie\·o thu.t ovor a pcrioil of tin10-i\nd wo hclicvc it· will
         be n long hnrtl row-wo c11ll stnrt nL the hc•ginniniz' nn<l tl).1m 1111 invcn•

                                          JA222                         Exhibit A, Pg. 838
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     tory and find out who have these pistols, and in the me1mtime make
     it very expensive to be found i n possession o! a pistol.
        For e~11mple, 1£ I mny tell thi.c; committee very l>Ticfly our e:x"']leri-
     ence in trying probably the worst mob..in this country. They had at
     least one man with just us bad n record ns Dillinger. That was
     Schaeffer oi tbe Touhy mob which-included B1mgliard and 1\:ator, rc-
     cen~ convicted in Chicago, in Cook Countv, and scntenc•c<l to 09ycnrs
     in prJSOn. They \\·ere fo~md on the higliwny, !our of them, in an
   • automobile. They. had rifles, they l1ad. rope, they hnd nil of the
       kidnnping pnrnplternnlin, the tnpe,' all ~endy for tho job. They hnd
       five or six automatics, but no mnchi.J1c guns.            .             ·           '   '
        . At the ti!ue thnt we found them they had no mnt1hin1J. gwis with
       theJn, but u1;.doubtedly i.11 n C41cbo some plnco thoy did lu~11e ronchine
       guns that they could get. But it was shotkin~ to tbe people in that
       court roo1ii when those pistols were brou~ht aut nnd lnid on t be tnhlt>
       and a bng of fl1lllllWlition thnt W11$ so heuvy it would be diffic11lt to
       cft.r rv in your arms, thnt there wns no Fedcml lnw undeT whic11 they
       col~ldbe        pmsecuted for transporting those pistols, t hose dcndly
       wenpoi1s, this moving nrsenul, literully.
            I b enl'(l a. gr2!lt many people, including Feder al Court judges nod
       some of the prominent writers of the country \.-110 lrnpponcd to be at
       thnt trial, express themsf)!ves tlu1t wny,                       · ·
            Thero was no way tbev could be effectively prosecuted. It might
       be interesting to ktiow that one of tho men wns not connected with
       tbis crin1e in Chi(logo, the Factor kidnnping, nnd the only t.hing
       they could do '1\--ith him w.ns to send him back to \Viscunsin to be
       tried on u chn.rgo involving n mnximum sentence of 1 .~'our, bernusc
       be was found in that Slntc in the possession of some fi:rcitrms.
            ~fr. TnEAfiWAY. \\"hat I d.m tryiJ1g to do is to help you pnrtics to
       get together.                                                              .
            ~fr. ]~U&NAN. Since you hnv<'I nskcd the question, ·1 ,;.>uJd like t o
       make t his statement fo1· t ho record. I h nve listcued pntientl.v and
       earnestly lo Goncrnl RerkordLo.nd 1 sny roost r cspoctfully 1 fill for as
       the AttoTney General of the liruted States nnd his pn$ition in ('(111-
       nection ,,;ith t his le~isla tion is conr.omcd, it is not ncccssnry for ~[r.
       Reckord by dcduct10Jl or othriwise to intcrprrt whnt the position of
       the Attorney Gencrnl of I.he United Stutes i<; in rcfl'J'<'ll<'e to thi.~ hill,
       It is nlrend.y stnted in the recol'd hcfore tll!l 'rommittcc.. I nm hcrCI
       as his reprcsentntivc 1 duly o.uthori?:ed hy him to say thnt ho r.onsidors
       this bill n, very impo'rtnut pwt of the lWO~l'l\lll of tho Dcpn1·tmcnt
       of Justice to do its full pnrt. Pcrhnps WC ore wrong,, hut. this is the
      ~restil t of our study.
            Mt;. TnEADWAY. Just one moro question' in connection with somo ·
       matters thn·t yuu bTought . up 'in illustration.       ·
            With these nine judicinry bills which hn\'O been rofon:eu to, will
       you then 11nvo covered-tho c11ses t.l11ij yo11 hn\'c dto'd ns illustrnting
       tho need of this legislation?                    ,
         j Mr. KEENAN. ·Not ono or Llwm.               :
         1' Mr. 'I'u ~ADWAY. You wo11ld not hn\•c cbYercd tltllm'!
        't Mr. ltE&NA.N. Jn not ouo of t.h em, rmTtiuul nrly tJrn glnrin~ instnnco
        tnnt l spo11k of, in which tlw T ouhy moh wns oon<10rnod, who were
        (~und in tho nutor.nohilo. Thoy wo110 ob,·iottsl.v- '111.n t 111>ou crime,
    /) t oy , .,,. ool "'"""<•       tl>0y '"" nnt •hooting.                           ,
                                           JA223                           Exhibit A, Pg. 839
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           ' ~fr. TnEADWA:,-. It seems to me we nre getting some\vherl' now.
          Tl111t is contriiry to t-110 statement made by tbe present wit.nrss tb nt ,~­
           th!!- nine judiciury hills will cover what you wttnt covered.
              )Tr. KBE~AN. \Vith nll tlue respect to t ho witness, we think we are
           abll' t-0 interpret our own position p, lit.tie better thnn h(I is,
              :\1x. Tni-:AoWAY. I w~s just trying to sec whether the conflicting
          oleml\nts c-0uld ho hnrmonirod. App nrently they do not ngrec.
              Gcnernl Ri-:cKono. No; we do no t, ~tr. 'i'rcndwny.                     . ,
              ~lr. V n:so:-:. Fot tho purpose of the record, there is no t.hini; riow
           to pre,·cnt t he St:itc of Illinois, where these mrn were foun<t with
          these rifles und revolvers, from nmking it n penalty pu11ishnble with
          dol\th to cnrry a l'cvol\'cl', ii; there?     , "
              :\fr. KERNAN. I suppose thnt i s wiLhan thdr (IOlico power; that is,
          there would be no restriction on n sovereignty to pass a Jnw with
          rt>spPet ·to ans thing thut 11frecfod the publi.: welfare of that ·sover·
          C'i{-'llty'                                                                      •
              ~Ir. VINSON. Even to the oxtcnt of inflicting tho denth penalty?
              \fr. KEENAN. I do not t}1ink there would ~ nnytl1ing un!awful
          the.re. lt is iutoresting to know, l\fr. Vinso:i, that in rending the
        '°report of the C rime Commi!lSion, meetings· of · whieh were held io .
              nshington-nnd of which Gcncrnl Allen was chairmnn; and some
          ot lhe 1nost· distinguished man of the country attended-          · one of the
          first things thnt I remember rending wns t.hnt at t hat time the State
          of I llinois through its legislature hnd refused t-0 pass nn act making
          it. unlawful to possess mnchine guns without n -p ermit. E·1en though
          tl1ev han~ t he powe.r, they do not do those t hings alwnys:
              ~Ir. ~[cCLINTIC. I would like ·to nsk tho 1Vi.tncss a question. If I
          1m1i11rstancl your position corre.ctly, you are interestecl in jlistol clubs;
          n nd I tnke it you nre interest~d in tbo subjec~ of pistol 1nttrks1no.nsbip?
              Grnernl R EcKono. Thnt is correct; yes su·.                   .       ·
              2\1r. ~lcCLtNTrc. If that is true, could there not be fo1u1d son111
          w1i:1· whcreliy n dul~ orgnnized pistol clt1b could Jinve exemptions to
          tht• t•xtent thut thfa kgislnrion would not ncce!\snrily 11pply. to tl1em?
              Gl.'ner..il R ECKORD. 1-lr. McCJintic, l shnll be de:lightecl to answer
          t.Jint r111C':> tion. The fac1, is thnt. in c-onfercnco with ?l{r. ·Keenan's
         ,office we thought we lil\d rt'ached n conclui:ion, and al though wc d~d
      .. not wnnt it, because we did not wnnt uicmbers of our association to
          lie t>Xemptctl os such over nnd above onY other hones t citizen-we
          rt'allr clid not wnht it-wo ngrccd to accept it and \\"o thought .they
          Wi'r<' ~oing t.o hrlnf tlil1t down ns one of tho new pro,; sions yesterday. '
          W~· wl.'re surp1iscc when it wns not in thcrl'.           "            .
              Mr. itcCuNTtc. In other words, your 01'g1miznt.ion docs cot d¢siro
          to takt• the pooition thllt tJio ri~l1ts of nJJ the public ,;hould-be s11_b·
          jugotNl in i;omo such manner tllnt you would hnvo n special privilcgo
          tJ•llt t,hcy..would not. hnvo?
              Oencrnl ltt:cxouo. Thnt is corl'ect. · Th1.1t is our ·honest position.
          \\'<! rlo n ot. wnnt nny privileges for U)~ !i111mbers of our'. ossociotion
          1 hnt nrc 110t f('iven to nJl other holl<'sl c1h1.rns. B11t ~·rt. wh<'n I lold
          ),fr, l\:ccnnn thnt, Jrn go t nngcy onll sni1t wn Wt'rO not, "illing 10 e.ccC'pt
        nnY responsibility:       -                 ·                  .     ·
          ~fr. i\l cC1,1s1•1c .. U W<' wcro to pl"co n provision in this hill which
        would ullow d11 lv 1'l'co.~'lli1,rd nnd p1'0P<'1'h· ·o~imi r.Nl pistol rlul1s to
        cnt-r,\• cm tl1o~c hi11('lil"lllB i11 1\·hich yqu 1irc i,1nrt1('1tl(lrl:v inh'rrstc1!, nnd ~
                                              JA224                              Exhibit A, Pg. 840
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                 then e.xd11d0 nil otl1ers-thus making the law applicnblc only lo those
                baving·the:ic weapons with criminnl intenlr--
                    ~1r. VrNsoN, V1'1ll tbe gentlemnn yit1ld tlH•re?
                    lvlr. McCL1NT1c. I yield.                             ·
                    ~Jr. V1NsoN. What status · haa fl <lulv org(lni7.cd piatol chib ovrr
                that, of n lnw abidi~ citizen?                    •
                    ~11'. McCLJNTrc. The point I hnd in rnino--
                    h-fr. \'1Nsox. In rcgnrd to possession of that which no" it is l1·~t'll
                to p ossess, such as n pistol or n rcYo!Ye..r?                                    ~
                    Mr. 1\fcCLINT!C. The p,o int I hod in mind ill this. It seems to me
                the public intl'rcst is so much greater, wl1en it com!'s to protecting
               Jife! thut some regulation ought to be put into rfTect concerning
                pistols nnd the currying of pistols nnd the Tegistrntion of pistols.
                    .l\ifr. VrNso~. H thnt wQre stricken from the bill, it would toke cor0
                of wlint the Genen1l hns in mioo.
                    :Mr. McCLL""TIC. I do not lb.ink JOU cnn properly put into dfoct
                n lnw ni:ninst crime imlcss you deal with pistols, becnus-o 11 thou~outl
                criminnls will use pistols where one will use n innchinc gun .                  .
                    Air. V1NSON. ~Ir, 1llfoCLintic, list ening to this 11rir11me.nt i.tt r('gnrd
                to mnk1ng it n felon.v to hnvon pistol, my mind reY(lrts bnck to felonies ·
                tbot were set up in Russin at the- time wl1cn the Cznr wn~ the rnlN' of
                Russin. I imngino thnt the Cznr nncl his depnrtm<'nt, of justice bo(i.
                t5e most_splenaid purpose lli mind when they picked up n Rn!>sinn
                citizen nnd tried thot Rnssinn citizen on i:omc.trivinl offen;;e nml tl1en
                transported him to Siberio. when, ns n. ma.ttrr of fnct, whnt they wore
        ?       trying to get nt wns n conspiracy nirninst the Cznr. 'I'l1ev j1istilicli.
                t he punishment ond thot method of dc-nliog it out hy saying thot tl10
                end justified the means.                                                              '
    •
                    1'1r. ~1c0Lii-:TIC. I do not th.ink thut is compnrnhle to Uio sit11ntlon
                thnt exists in lhis country.
                    1\fr. VtNSC·N. T r nther imnginc thnt thnt d1•scrihcs the mentnl
                processes of tho people <>vor th<"rc w]it1n they s('nt the.it' cit.izr.tis to
                Slbt?rin for tl·e curnmission of tl <:rirninn! offense of ono kind when thev
                could' not gel the e\·idenco to convict them for the o{feuse which U1C'\'
                we.re really trying to rencb.                           -                            •
                · Mr. :vfcCLrn1rc. It is my tlio11ght thnt in11sm11ch ns th~ grntlrnrnn
                is intere-stcd in pistol orgoni?,otions rintl the pcl'fcction of nrnrk,,11100-
                ship, nnd so Iort.11, it ought to be pc>ssiblc to uirr<'e upon soiuo riro\·ision
                whereby those orgnuir.ntiorn; would not be rumnlizcd by th e· prn11osctl
                lcgisfotion.                  •                                       ·
                    Genc>rnl R EcKon.o. J\fr. J'vlcClintic, nns\\'t>J·iu~ \'our <l•l<'sti<m. we.
                Rre willing to o.cccpt~on.10-such proYisioo, nlthougliit is onr hrst jnd[(-               r
                ment not to hove it. " rll- did nt.'Tee to do tl1pb iu on eifort to :;!Ct
                together. vr e did ngreo to nr.ccpt thnt nhumcfincn t . TliC'11 the
                Attornry GcneFnl, for f'lomo rcn son, 1lid 1101. includc it in tht' hill.
                    :Mr. McCLrnT1c, 'J'his committee hns th11 jm-!sdicf,i on 11nd wo c11n
                work out somolhing of tlrnl, kin'l'I to don l with I.ho subjoet <if pi,,tols
                in. thatw0:..v.          .                             .
                    Gcnornl REcKono. Pfonso h11v11 it in 1.hc· mcm 1il thnt wo 11ro not
                 nsking nny such pri1·ilogo for tl10 1\\omhct·s of our n~soci11tio11.
                    !ll r. :\lcCLJ:>;TlC.. Ilut J think your 11s~or.i11tion ou~ht tn '111\vr. :<omc
                 ki-n<l c>f 1>rivilcgc in re:;nhl to tho 11~•' of pistols f11r 1H11·poso~ of n1111·ki:;·
                 mllnshlp. J~uL I 1lo nut think tho 1nl!'d " rist,ul " sl11111Jcl ho <'li111in:1t.•d "
               .Jr11111 U1i~ . 1n-opo~e1l lrl!isln t i.1111.            •
                                                             JA225                          Exhibit A, Pg. 841
-       - L.
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                                      NATIONAL FJD.EARMS ACT                                  121
              lVlr. CooPER. Lot us see if we can get to something tangible as to
      ..- where you stand on this nui.tter. A considetnble po.rt of your state-
          ment -hos been more or less {,'(IDeral in nu.tul'e. I have no criticism
          nor huve I disposition to discredit you at ulL Let us see ii we can
          got down to something that Wo can take hold of in dealing with tJ.is
          subject. ·. "\Vhnt is your understnndin_g as to the provisions of thi.S
          new bill wif.h reference to owners of pIStols nnd revolvers?
              GeneTal RECKORD. \'Ve think it is very bnd in that respect..
              ~Ir. CooPER. I did not ask for your opinion about the bill. I
          asked for you to please tell me what your conception of the applica-
          tion of this l>ili was to pistols nnd revolvers.
              Geneml REci.ono. My conception? I hnr<lly know bow · to
          unswer you.                                                                          •
              ?.Ir. CooPEn. ·what do ,you understlllld. tbe bill docs, in so far as
          n mnn owning' a pistol or revolver is concerned? · '
              Gencro.l REcxoni>. It 'makes t ho man do things that any honest
          citizen is not going to be able to do. · One of the provisions provides
          thnt•if a pistol is sold n dozen times, every time it is sold-nnd I t.m
          spanking of the new dl'itft-a bill of snle, 11 stomped hill of sale must
          go along with it, tind the Inst mun who buys it, ever.v .time you find
          h im with tho pistol on hini, he lrns to hnve nine bills of solo in' his
          pocket. It is a silly provision.                                                  .
              ~11'. CooPk:n. Docs not tJie l>ill pl'ovida thnt the owner of n rc\•oker
          01· pistol shall register it'l .
             .Oener1\\ R EcKono. Yes, sir.                                          ..
            · :vrr. Coor.en. II he doe's tlmt, isn't thttt ull he has to <lor
              O<.>ncr:nl R£cK010>. Tbc owner of n revolver prior to the ennchncnt
          of. this low, within 4 Jl\onths theronfte.r must registl'r .
      "       11r. Coo?En. Th11t is what I ain talking about.                                    '
              Gr.ner11l REcKoau. Vihen he se.lls tl1nt pistol, 'then J10 comes within ~
          tho other provisions of 010 net. He could no't, givo it 11wnv. Under • '
          this bill t iI I lh·ecl next door -lo a goou fri('n.cl of rnino, nnd 'I Jrnd un:.
          cxpl'ck<lly n forge. 011101111t of.mmtt\) in ll\Y house nnd no :reroiver_,
          I coultl not w11lk next <loot· uncl borrow' his pistol for t.hc night. 1f .l
          did I would be Sll bj('Ct to n fin~ of $2;000 or ilnp1i.>onmont for ij ycl\tS
          or b0Ll1. \.Yo\ s1iy th nt iS too severe nnd we. should not luunstling
          honcat citizens tlin~ wav.                                     ·
              11Ir. CoorElt. Wbnt other criticisms do vou hnvt>?
              Gcncrnl R ecK01ui. "~c scvcm~v crit1cizn the rrgistrnfion pro,ision.
          lf you \\;n pcrlllit, I will rcf<'r t.o t he first hcnring on l:-LR. UOtiti, 'rhich,
          I think, was in cx<>cn tive srssiou nnil thn Attomo:v Gen(•rol \l'!ll> b~foro
          you himsel(, nnd :t.1r. !.ilcClintic nskt~d this (jt1l'st\011.
             I 'l\'Ollld like tons~ just one q\ll'Jlt)on.. I t\ru very m11ch intcresicd in this 1111bjcct
          nnd whnt in your opiniou, would ho the uoustitu~ionnlity .of n pro\'islon nddo<I to
          this bjll \vliicl1 would require rcgistt1\lio11 on the pnTt of tltosc who uow own ttiu
          cl:iss.llr typo of wcnj1011s thnt nrc hcludcJ in thl• blll?            . _
              Mr. ·cuMMrNna. We \\'ere nrraid or th11t, sir.                     ·
              Mr. ~McCLINTIC:. Arrnicl it woulrl conflict with Stl\tc •aw~?
             Mt. .CuMmNas. r 1110 n.fruld it Wllllld bn unco11stf~utiono.I.
             !\fr. Kf:l·::>rA~. \Vhnt pn~c is tlrnt?
             Gencrnl Rl~C KOltP. Thnt is pngo l!l, tllCI to}l or th r pn~<'. I lllll 110~
          n J111\1·cr,' ln1t tl1<•1'ft is tho Atton1<1y 'Grnrrnl :;pruking.


                                              JA226                              Exhibit A, Pg. 842
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                          NATION.\L            Filed: 03/04/2019
                                    l?rREARMS ACT
                                                                             ..
                                                                 Page 231 of 386                                .
            ~lr. Vt}TSO!';. It sccn1s to me that when they .fniled to.put a penalty
         in this substitute bill for the foih1rc 'to rt>gister, that is another.way of
        'making it b11rder to test the constitutfonality· of it.        .
                                                                                                           , '
           Gcnernl Ri::cxono. Thero is no question nbout it.. •
           lVfr. VmsciN'. Then, not J11wi11g the 11cn11lty, ancl not.Jicing able to
     test t'ile.oonstitutionnlity, they get n presuinption under paragm)lh
   ' (b) of sect•ion 5 in the 'substitute bill, ns 1 recnll ie, in regard to the
 ~
 '.ll
    .
     time when the man became sossessed of it.             '        .:     .. .
           ~rr. H1LL.'. I nsl~cd Yi:ster ay )low you would e1,1fot·r..c th~· rt'q;u.it-e-
      ment for. rc~strnt.10n with ~o pc;1111ty. :~~\qtnt would, h~ppcn ~<! an
                                                                                                                ..
   l. owru.•r of n pistol or revolver.for fnilurc to•registcr under the prov1s1ons
   J of this actZ . ·                                ·    :       . ..                       · ·
   ,    -Gener9.l :R.Ecxonn. This would }1appen, ns' I rcncl tlie bill; if I nr11
  ,, incorrect I wnnt to be corrected: As I rend theJbill 1 if a. man foiled
      to ·registc;r; -assume he livetl in Baltimore ·11n<l he \vns JmrricClly· cnlletl
      to Washington and ;wanted to bring n pistol with him whioh he •hncl
      not registe,red. H1i could not bring that pistol into.°"rnshington on' n
      trip, no matter how )11Ucb be needed it.                                           . · '
         Mr. VmsoN Unless he violated t.he lnw.                              ·                    •
          General Rc:ekono.          Unless      he  violated   tlie   ln\•' nnd    becnme    nmen-
      4ble to t.hc fine lln4 imprisolltl)ent.
         ~fr. H1LL. So long 11s he did not cross the Stntc line Jae would 110L
      violate the law.                                                                                 ·
          General REcxonn. That is n smooth wn.v they nre t1•,ring to !!;t't
      that in in <'onnect10n \lith transpor ta tion ; tlicv nxc trying. to get tiint
      in which the Atto111ey General himself snid i1e' believed wns uncou- , ·
      stitutionnl. They p_u t thnt in; thry say within '4· months you must .
      register, b1tt f,hcre is no 'pennlty if you foil to regisi~·r, nnd they then .
      go 011, if you e1·os5 the Stnto border nud lrnve·,uo't TC;!istcred, tfum ,vou
                                                                                                           ..
· · , mny register within 48 hours prior to crossing the .Stnti1 )1owlrr,
      S\lppose you do not have time; 48 bo'urs is 2 du vs; suppose yo11 l111'' 6
      to cross in It hurry, 'then you 1u·e fl law'brcnJrnr. • I um 1ust. ns sinrc-n.'
      nbout this us I cnn be.                      ·                 . ·, ·
         Mr. 1-fILL. So long us you do not go out of'thc Stutt-, you wall nnt
      be violnting uny Jaw by not registering.                    ·
         Generul REcxo1w. Tlu.tt is true. Yon" "'ill vi•>lat.(I (), provision
      whi<'h they s11y is 11nuo11stitutfon11l. I.f yon sQJI the pistol, t.llt'n vm1
      rnust r'omo within tha rfot'Vicw of the other stll)Lion.'                           ,      • '
          ~tr, HILL, or tfa,c t1~xi11g scctio11 't                      .              .       '
          Genernl Jlv.oKOnn. Yes .. This hill is n s11hterf11gc. 'l')1e1· nrr tn·-
      ing to !'<lt n0oks iav n r011iiJ~nbo11t 11"n;v. 'I'ltoy sturtNl ont' hv lmil;I- .· .>
      in:,; the hill on t,hc Nnr1·otic At·t. No hone.it ~itir.co sl10\1lcl h;tw• nnr-               J


      cotics. Bnsicnlty n pistol oi· rP.Yoln•J' is no t d11ugcro11s; it. is un iv
      dnn~('ront-i in. 1.l!t~ f1n11tls of I.he:' N'ook ; i.t is ))Ot dni1g~1·ou!S in the hfl uds
      0£ the !ionc~t Clh7.l'll.
          ~Ir. D1c 10:-.sos. Yo11 s11y th11t the At tm·1w~· Gcmcl'OI <.·ourlt1J<'if
      thnt thnt prm· i~io11· wns UtHJ.on~t.it,11tio11111. Did 111\ not HUY ];c f1•11n•tl
      H \\"llS 11111·011stit11tiont1'l,) 111111 lauR 11ot .tlu' Dt>p111·t111<'11t ':1C .tustica 110\\·
      <·onc.'h1dl'il .tlwt it is 1wt1un(-.1u1::1tit11tion111 ?, ·
          Clt•rwJ·nl HI:c:Konn. I 1111vc not l1c11nl t111•J11 sny tl111t, but this i~ the
        'lnJlj±\111~"·                                -                      .
           :\fr. 1\.Jo:1.;N-AS. 1' lic .,\tton1ry Gcu ~rnl s1lid , " l 11111 1urnld it would
         be 0111'<111s titul,01111I."
                                                    JA227                               Exhibit A, Pg. 843
                                                     ..
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                                        NATIONAlJ FIREARMS ·ACT            1                    123
                                                      -     '
           . l\'("r. D1cKJNSON. He did not say positivelv thnt it Wll.S unconstitu•
          .. tiopnl. lfo.ving included it in the substitute bill, lins not the Depart-·
          · ment of Justice conr.ludecl that it is '. not in violation of the Consti-
             tution 'l                              · ! ' ,
                 Genern11b:c1\0nD. I cannot nnswcr for them; they nre here. .
                 :\fr. D1c1'.'lNSON. I wu.s cnlhng attention to the fnct that the
            Attorney Gcuornl did not stnt.e., thnt it' WOll unconstitu:tional,·but that
            he feared it wns ur1constitut.ionnl. Upori fw·ther i.Iivestigntion, nnd
     ,.   •·having included it. in this bil~ ·would no't.j.ou say thnt they huvo
          · renrhcd the conclusion thi1t it is not unconst~tutionnl? · ·
               · General REcKORD. No, sir,                                             .
                 :!\·fr. H1LL. TJ1e rcnl effect of this tegistrntiort requirement is to
            mokP- it tmlnwful, \\;t11out regist.rntmn, to t ransport n pistol or re-
            "(l)\>N' ot otner t:ri>.arm neross 'State lines?
                 General REcxonn. I thinl' the renl renson is to attempt' to get the
            r'egistrnti_on.' As I understnnd it, they would like to Jinve every fire-
            ii.rm in tli~ U11ited Sto.tQS rc:gistered.
                 1'.fr. .HILL, Of co11rse, if you re:g'istercd volul,ltorily~ t.1.rnt would. be
            fine from the stnndpoint. of the Elcpnrtment of Justice. H you do
            pot do it, tl1ere is no woy they can !01'Ce you to· do_it.                       -
                 Gcnernl RECKORD. No, sir.                          ,
                ~1r. HILL. If you fnil to «'gister nnd then transport the fireo.rm
            o.cross the State line, you nre· doloting the Iini.
                Genernl Rr-:cKonn. Yes; you n;e violating the lnw. I will te.Jl you;
            gentlemen, if you ~ass this le~slntion, I '~ill- co.m~ bnck in 5 yeru:s
                                                                                                         -·
            nnd I know you will ngrell with me that 1t 1s going to · be · nnother
            Volstead Act. The lionest citizens ure not gomg to. be bothered "ith
            sucl1 .restrictions. . They won't obey the ]itw 11na you are. going to
            )e~islate 15 rnillio:i spor tsmen into criminnls; vou nre g_oing to mnke
            cnminnls of lhem with the stroke of the Presiacnt's pen ..
                ~1r. litLL. It is nnt u very onerous opPrntion to register o. pistol.
              ~Gerternl ltEcKORD. You inust remember thnt when they started
            out with this Mil, it wns n m11cb worse bill thnn it is now, nnd they
            hn.vc wl1ittlcd it nwny nnd whittl.ed it. 11\\'.llY because of U1e objections,
            nnd if we Juwc time eno11gh, 11ot in this sl'ssion, but if we hnve time
            enough nnd cnrry tite bill OYCr until next Jnnunry,                 ondif they \\~J
            tillow us to work honestly nod c11rnestly to rench n. conclusion, we
            will do it.                           .                                      ·
           . · 1,tr. HILL. lt is n. dilferencc of opinion ns to wh<'thor· Uint might
            not cmnsclllole t.11e bill, SO fnr llS its utility is concerned.
 "              Genorol ltJ·:cxono. Ylls, bnL the committee JJ(ls thnt rl.'sponsib1lity;
            that. is for the committee.                        .
                The CnA 1ll lfAN". lL is no grent l1twdship for- nny, hon<'st citiz(\n to
            rrgistt•r u pist.ol if lil' needs· it for n fogilimn tc ]Hliposo. And, ~o for
            nsl cno sec, thht is the onl.vw<:np(m . Ho dot·~ not 11·nntto trnclcit; be·
            <\hes nnt wn n t if, 11s n mnl tN' of bllrtcr 1md sn lo; he wnnt~ it ns ol\ mnttcr
            u! pro lcclinn. Ir he is I\ ~port smun, lee wonts it. for .1drntrvcr USC ho
            rnny hove for it nlong fhtlt line. In view of tho prc~nnt very srrious
            con di tjon with rl'gn nl tot lie <; riminnl F-i tnn t i {10, the rnckctcl'r.<, 11unk rob-
            bor"!, kitln11pvr!{, nml so fol'lh, i~n' L it inen mhrnt upon th{l ln.w-obirling .
            citizt•ns for lhl'm to Im willing to !:'llrrC'ndcr ' sornr. minor privilege,


                        -
          · ~01netlu11g th;it do('s i11 1t imp(lsc nny cnt1sidt•rnblc hnrdsliip ujmn
            tlu•m, for tht• irf'nrrnl )!O•>tl'! I rnrm ot. 1mth•r.:t11nd 1 if th<' J)rpnrtnum ~
L~" C~ci" Im it ;, ""'''""''JA228
                             '"" tho p•o«<I ion of "'""Y '" put o
                                                       Exhibit A, Pg. 844
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       limitation upon tho· ownership of a weapon such ns is proposed here,
       why l should stand p and say that U1at is too much trouble, not-
                                    Q
                                    .·

       wit,hstanding it is on attempt to protect someone's life notwith-
       st1rnding it mny protect someone from being kidnnped, o.nd not-with-
       st.anding it ma_y prevent some bank robberies~ Yet it is argued that
       on the great broad frinciplc of pcrsopal libe.r ty, I run not going to
       regist.er the pistol.             think you misconceive the spirit o{ cooperation
       of the American people. If this is the answer , and I do not know
       whether it will o.nswer the purpose or not, p ut I cllDDot believe thnt
     · the lnw-nbiding citizens nnd t.he ttue sporti;men would hesitate going
      ·to tha t incon~eniencc if it would accomplish the desired results. I
     1 tliink that point hos been muah overdr awn.                               -                          -
           Gencrul R ECli:ORD. Thnt wns never present.od until yesterday; the
      1.r~gistrntion of tht> pistol now in oxistence was never pte.sente<l until
       yesterday_ Along with it is this provision that every lime ll pistol
       i!i sold 1i°bill of sOle must go ulong; no mutter how mnny times it is
       sold, all of those bills of sale must uccomppny it.
           Mr. LEWIS. \Vould not tha be true of nn i1Utomobile?                                           ,
           General R ECKORP. l\o, sil'; the Inst ono is. oil thoy curry. Tbe
       lnst is nil they need tr• co.r · here. Tl1cn they come nlong "ith
       fingerprinting.
           The C11A11u1AK. lf th t requi1·em~nt were eliminated, would you
       object to the bill"l
           Ge11ernl Ri::oKono.               10!._would help.
           Tho CH.AIR M A~. l ~n<lerstond you object to nnytlung- relt\tjng to
          istols?
       P Gcnenu R EcKono. The bill is hod. Ui our judgment. \\'e clo not
       beli<h·e it will help to get the c1·iminnl.
           ~lr. SH·ALLEKBEJlOEn. As 1 t ec11ll your stntcmeot, you do not
       object to its including ma.chine guns oud sl\\\'Cd-off shotguns?                                 ·
            Gcn01·nl rt&CKOnt>. Yes, WC will go nlong-on 'm11ohine guns nud
       sawed-off shotguns.
           ~lr. S HALLE~B~;nc£n. I wnnt t.o know why you ohject to including·
       nutomntic pistols. Alter ·1111, this little machine "f;Un is only on im-
       provement ou the nutornatic pistol; it shoots rhor11:1times~ but it hns
        the same nhility and kills in the snme wny. 1 run n b1v1k for 20
       yell.TS, nntl I wo11l1l ns soon ho shot by n mncliinc g11h tts on u11tom11tic
       pistol. H you nbolish tho 1111u•hinc gun 11nd l<:nv<l tho ~nngstcr to i;ob
       the uutomntic pistol nntl ~i,·e bim two, he i!I just ns tlnngorous tlB if
      ·he hod tho -nutomntic llHlchine g11n, which is nuwr. or loss of nn
       intimidntin!! wcJtpon. I c1mnot um\crstund -why you object l11 the
       nu t omn tic pistol. ·                             '
            Gencrnl R l:lCKOno: \Yo holi(l\'O tbh.t it. i!l co,·01 101 l hr one or two
       other bills nlrt>ntlY ptl.Ssed.                              .                . .
           iir. SH ALLE:-on.J-:rtGEn. Tho Drp11dnmnt o f .T11sli<'c wo11!1l like ' to
        hnYe e\-cry fh-enrm in the \.Jnit<!cl Sto_tcs r<!::jst01'6tl.
            Gcnornl .R 1".CKonp, Yos. ·                   ··                     ,
            11r. S1111Ll-oJ::-Nfl.1:J11oi,:1t. Isn't this thr. wn>· to11·11v<I which wQ nrc
        working in mnr1y c1r~cs? l\ohucly cun lish in my Stntc witho11t
        gott.ing- I\ license. Ko 0110 <'1111 hunt', ov<m with II rl10tgu11 or n rillc,
        unless he h11 -; it ro:tiSf.(ll1fl1l. r h1I \'I' nhS(' l'\' f!(! 11\n't wh1•n \\'(' hCj:!lll ~hiA
        iJ011 of gcLtillj{ Clllltrol of \;l'l'lllill thil:j!~ hy n•i:i~lhl!LC.111 thnt those

                                                    JA229
                                                                              'l'
        who 111·0 nlfoclll<l h)' it ut Jlrst 111'joct. The lishr1°m11t1 did nnd tho
        )l\lutor>1 tliu, when ' wo bti).(un ~11 1•t•r111irc liccn:;cH              thom. I 11sk if
                                                                                             Exhibit A, Pg. 845
                                                                                            ...
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                                    :<i:A'£ION.U. FffiEAllMS .\Cl'

        you do not think it '''oul,d bo renll,y n. flne thing f or every fiream1
        whi<ib could he used t o tnke humnn lifo and.!'! <j>mmitting robberies.
        lUul. o'ther crimes, to bo registered so we wo~ow where they are
        in the .United States?                 /
             GeJleral R Ec1'0RD. I do·not think it would do a bit o! good. The               •
        reason you -haw~ not h11d obje~tion with respect to fishing licenses is
        because th at money is tnkcn,und used to rnlsa fish whi_ch a:re thrown
        into the streams about thnt long {iudicnting] so . tbRt fishermen _get
        something for their iuoney./
             ~Ir. SaALLENBERG1'."Il. Lt' is to pren.>nt tl1e violation of certain rules
        o! law; and this is for th~' s1une plJrpose. I just wnntcrl to "ask yon ·
        thnt question to sati.sf..y; myself. In mv· judgme~t, it would be •the
        hest thing that could h appen , so faros the regulation of firearms, and
        their use by criminnls, .t<> hKve the ownership and the location of ·
        those firearms found 011t. 1 "ill sav this: The Government Qf i he
        F!iiled States, when we bad control 'in th<' Philippine Island!!, intro•
        duced n policy a! trying to promote order t here, and we hncl the                      •
        Philippine . Const.nbulnr~· for thnt purpose. The cnptnin "Of one of
        t.hoso organizations was from my home towr:i nnd he told me thnt. the
        best 1•egulation \\'hicb they had, ill order to stop sniping and the
        shooting o! .t\ntcricnns by t he Insurectos end those wl10 were,,engaged •.
        in th at business, which is something like our present day robbers.and
        bandits, was when. th ('~· insfillled- I do n ot prcsume they passed any
        lnw-but by deelarntion or edict. they installed the. practice of re- 4
        1111iriog e'>ery person with nn implement of dent.h to have it recorded,
        so they knt:w where t.IJo~e 't~ings '\~re . .                 ·          '
             Gl!neral REcKonn. l ilm m 11ccord with that _
             :\Ir. SHAI.LEl\BBRGJ::):{. Th11t \\'as 11. very essenl-iHl t hing in control-
        ling the killing of A111t•ricru1s in th<' J>hilippi.nes . Thnt is the purpose, ·
        ils I ,·iew it ; ?f this net. ~t;; Jlllrpose is to fln<l out; as soon ' ~s W!J can,,
        wh ere these tnrpll\JUM LS of de11th 11r1.1 locntcd. - As 1,he Chnirman .has
        s11id, it seems t.o me tl•l\t the good A11wric1m citizen will b e willing to
        ~o througli the forcrn uli ty of hKvin~ his gun· rt'cordcd, and that he will
        1iot. objt•?t to 1lojng. so. In cunncrlion with this idea ~f rccordin~·1 ihe
        rf':nst.rnt,ion o! trlHls!er,;, you c11n go th1-011gb 1111111.Y lines of busmcss
        wht•re .it wus not reqttjred hcforc, so t his prilldple which it is now
        proposed to incorpo'r11tc in this bill is 11Jo11g the Jine of n ~ood many
        other rcquircnit'nts in conncl'tioir>wicl1 tltt' husinrss of tins co1wtry. '·', t•
        A record is requited :of ever~· lrnnsfl'i- urnde of nnythin~ which it is
        t':,;!\1>ntinl to hnvc recordt•1L                                            ,
             Ol'!Jeral RECK~no. 1 do not think ~·011 will lind nn~:t1*ig us sc\•cre
        HS thU!.            . .-                               ·     •' '    '
          ~!r. SaALl.i::t>nEma;11. This mukes it. 11 crime uot to record l\ t ruiis-
        for : it is n li ttlo different. '                              .
            ~Ir. VINSON. Go,·ernor Sh11Ucubergcr refers to the Cnct t hat we have
        Hslling lic<roses. Thot is under ·n State law. \\"e· hoYe no Federal
        l11w rc'<111iring licenses to bo tu.ken out· to prrmit a person to fish. · \Ve
        h11\lo co111purubll' luws in regnrd to·thc rcgulution of weupons in Yarious
        8to.td1, pcnnl sttlt.lltes concerning We!lp0119 1 bu!, We hllVl) 1 08 yet, no
         f<'l'llN'lll lo w with refl'tliucc to 11 />istol or 11 revolver. .l\ow., l think
        tlrn q\~cst.ion 11nswct-s it!felL ill t il:!rll' u mnn on this conunittee, how-
        1'v(lr 1in~ i ~ might Lo, whtt wvuld s1111port u biJl that would mnk~ it a
        !lrf lll"1 to. fish without ii .F<!dllrul license'~ It is the li'c>dcr1H r.ontrol
        fop,tu~e.
          \ " " G8~7~ ·:LJ- i 1 .
           I       .                         JA230                          Exhibit A, Pg. 846
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      126
        Ml". RJLL, How about tho <luck sta.mp Jaw?
      . Mr. VINSON. 'Vhot iB the duck stomp low?
        Mr. SHA.LLE~DERGEn. Wo have some analogous Federal lows.
         .l\fr. VINSON. I rememher, in the 10 vears that the migratory bird
      legisfation has come before the Congre$s of the United States, every
      effort mode to place n ta.'t or to require the folks who live out in the
      districts, and who happen to vote-and that is somet.h~!lf quite im-
      portant-to Pfl.Y n th.""t or to aeeu.te o license in order to · migratory
      ~ir<ls thnt lire under tbe control nndsupen;ision f!Jld subject to reinila~
      t1on by Congress, those efforts ho.,·e died tgnommous deaths. There
      is no lo.won the books requiring a Federal permit before you can hunt.
          Mr. l\1cCLtNTIC. The gentleman has lnid great stress upon the
      necessity for registering a pistol everv time it. is sold. I ha-ve lived
      in o. section of the country wbere a pistol was a part of every man's
      equipment. for a. great muny y~re, nnd l venture to assert. that. 1
      never heard of 5 pistols, in 30 yellI'S, ever being; sold. Does the
      gentleman have in mind any instancel! where indiv1duuls sold pistols
      to others?         ·
          General R~cKoso. Answering the Congr.e.sSmnn's question, my
      lll!soci'.'ltion publishes n magazine, and I venture to say thut there are
      thrc~ poges··of ndvertisements, little squibs, about rifles nnd pistols
      in thntmng8.zine "very month, where one man wnnts to sell o.nd another
      ~~tobcy.                                                                     ,
          Mr, McCt.mTIC. There miJ?ht be a few insf.ntices where they would
       want to sell rifles, bllt the different individuals do.not sell -pistols. ·
          General REcKono. Out in your country o, man wo1dd buy o. pistol
      o.nd keep it all his life.
          Mr. McCLINTIC. Thot is a mount.ain mode out of o. mole hill.                .
          Generol REciono. Let me point out this: \Vhen the Attorney
      Genernl came here \\ith the bill in the first pince, it p1•ovidcd that
      every time o. mnn in your country wonted to buy o _pistol, he Juul to ·
       throw his leg over his horse anil go' n hundred miles or so to the
      office or the eollector of intemnl ~evenue to get I\ . stnmp; ride a.
       hundred miles to get n.dollnr s tnmp -to put on that pistol,
          Mr. McCL1111T1c. You menn Urn.I. WllS in t he originnl <lrnf~T
          Genero.1 R~cxono. I sn.y to you, that if it hnd not been for our
      opposition to the ridiculous features of this bill-1 won't sny ridicu-
       Jous,-J will correct that-if it were not for opposition to the very
       severo fentures of ..this bill, os iippHcd to ·the honest citizen, theso
       chnnge.s would not bo.vo been mndc.                                        .
          Mr. CooPEn. 1 do not koow thot tl1at et.ntement is justified.
          General Ri:;c!lono. qihut they would not hU\'C bQ('n mode?
          Mr. Coo'P'i::n. You n iAlii:o tl1nt tl10 mcmlJN'S o r the committ('c
       were ull prooent, and we n111y lmvc done some o~ tho things \\'hicli
       you have pointed out os being objccl.ioonl>lo.
          General ll.Ec1<on.o. I itgreo.               j
          !vlr. M.cCJstNTlC. H your. pist~I nt·gnui~tit!ons, whid1 arn orgnni1.t'd '
       for the 'purposo or promot.mfl n1111•Jcemnqsl11p, 11ro ··~<'111dc<I, you dC>
       not h 1WI\ o log to stand on. l'horo Is nothing to tlrn nritmncnt 11bo11t
       sellini; p.istolR.        ·
          !\-tr. !.)1cxwsoN. " -ould there not l>1.1 rulrs nnd rrgulnljons 111lop1ccl
     . hy which u d<1put.y c:oulcl ho 11nmNI so tho riti?,rns tlrsirin~ to rcglStrr
        thci~ WOl\llone wo11l<l not huni to {:o 11nywlu•r1• 1 rxr<'pt 110,sihly t11 the
      court.huu~c~
                                          JA231                           Exhibit A, Pg. 847
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                                   NA'l'IONAL Fm:BAnMS ::AC'I'                        127
              General REoxono. Those nmendro~nl8 hnve been c1nde.. They
          '\\'ere.not in. the originnl.
              ?-.fr. LEWIS. This question is J1ddressed generally to those· helping-
          the• committee. Does anyone know the statistics of homicides in
          the United States and other countries? · I have a _..v ogue recollection
          of figures like 20,000, which were due prob~bly -not only 4> acts
          of the gnngsters, buf. to acts o~ people wbo have ' pistols in their '
          pockets lllld who use them when they a~.dfunk Md.sci on, 'nnd those-
          bomicides would not have resulted il some kind of restraint Jiad been
          applied in connection witlt the pQSsession of pistols, such ·as tli~· ~
          restraint which is applied in the 1nost disciplinary way lo the driver
          of the l).Utornobile.         . ,-        I       •• .     n •           I

              ~fr. KEENAN. I have Ii incmorandum which wns submitted' to tho
         .clerk. \Ve got t he statiSti cs gnthered 'from t he lnfest sources avail~
        . able and I think t.he clerk ho.s a memorandum of them. The memo-
          randum wlis handed in.             .    ;• ,      . ·
              General RECKORD.' l will he glad•to ons\\·e1· snch other. ·questions · ~
          as the ~ommittee mny desiie 'to n:;l<-. I would like for MT. lll'.11ny
          to be heard. If he cnn be beard now, 1 will appreciate it.            ..
                                                   1             ,
             1.fr. TRE At>WA\'. G eneral Allen is 'here and he bas not compfotecl
         his statement.                 ·
             Mr. COOPER. When we niijourne ·yesterday, WC promised General
                                                                                 ·
          Allen 5 minutes more.                          '.
        '' General RECKOR!l. I clo not wc\n ~1 to tnke thnt trom 11i'ro.-:
             The CHAlRMAN. \fe will let hirti ·con clude his stntement. We
          thank yo~ foJ,-your app~111"ancc ond the te!'llirnony you have given
          the comirnt.tetf.            ·                     .       ·
             Gencrnl R ec&oXU>~ Bcfor~ the general makes liis stl\temen t! may
          I sny tbat in his t1:stimony .of y~~rdny, I tt.ink he. mnde a ·mistake
          in connection ";th one ma'tter nslto.lingerprinting·in J.1Rss11chusetts~
          I wired for information nod f bn~ a' t:eh•graru rea<lin~ ·as follows:
          ''Present Massncbusc~ts law does not re.quire fingerprints for pur-                  l
          cht1$C of revolvers or pistoN!' I thought he would probably want ti)                  I
          correct the record to tllRt extent.                                                     ·
                                                                                              (
                   STATEMENT' OP J.-W~TON ALLp (r.oni~nue3)                                   \
              lv~r. ALL"EN". M.r. Cbairmon RJ1d gcn tlem.en of the committee, the
           discussion which hns just int<>rvened with re.speet to registration hits
           nt O(Je of tho fundamontnls in t his bill, wl1ich m1.1k<>.s it ser.vicoable-
           jn renchi11g the gru1gstcr. It has been snid tbat I was. ehainrian of
           Llio conference hero.. in \rnshingtoh where• thiri matter was covered. '
           At that ~ime, Mr. :Kowton D. Boker wns chairman. · He was chnir-
           mnn at the tlmo of drnftin.g this bill. I. would -like tO have {our
           con·111ittco know t,ho membership of t.he excr.utiyo committee o the
           Nntionnl Crime Commissio11, which wns composed of Hon. Newton
        ~ D. Ilok<'r; Ri<'hnl'ci ""nshh111•n Child, F. Trubee Davidson, E . 'A .
         . AM<•1·m11n, of tho L"niYersity of Vi,Wnia; ~Jrs. JUr.hurd · Dcr!>y,. a
           dau~ht-<•1· of t.h~ lnie former Pre1>idrnt Hoose,:1•lt; Grn . •J1i)11cs A. B.re<in,
           ll ul!h 1"rnnt•y 1 rrpn•st111ti11i.: l1~hor i llerhl'rt S.• Hnd lry, Charles'. E.
           lln{!h<'1' 1 Sn111ucl Lcwi$ohn, l~r1111k 0. J.nwden, Snm1wl l\lcRobrrtsr.
           nn<l t.hc 116.'\istout to tho clinlrnrn11 w11s Oolonl'I· Howe, whp Is sccrc-·
           tury to the J'l'<'!iid<>nt. Colon~l llowr wns 1.issi~tnnt -w .thc choirn1"11          ,
           frnm t.h1' t.imc 11. wns orco11iic1l until rcrcnily~ whl'n hls d uti<'s mndc
                                                JA232                         Exhibit A, Pg. 848

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                                                                                      ·- __J
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               it necesia.r y for him to gi\•c up that work. It WftS "ith Colonel
               Howe that we organized this conunittee which drafted the law thl\t
               I referred to yesterday.
                   The nub of the whole situ~tioo with ro~pcct to registration has
               been met by what bas been smd by the chlllrlnan and by you, Gov-
               ernor, and by Mr. Hill, at tlie previous hearing, when l\·I r. .Frederick '
               '\\~as on the stnnd. 1 want to read a question thRt was nsked by l\:lr.
               Hill of Mr. Frederick. ~ft. Rill said:           ·
                    You expressed th.e uplnion tlu1t. pt'rhap11 an~· legislation wuuld nil~ he t'ff~th·e
                to keep firearms out of the hanct~ of !lie c~iminal element..
                    Mr. FazDEllHl &. 1 am quite 1nire we Cllnnot du tll4t.                            .
                    Mr. Hu.r.. A l!8umiJ1g tbnt ill correct. and I um suru a great 11uu1y migl1t 111<ree .
                with yo11, if the 6rcarnui are found in the f>0&;cN1IL111 of th~! criminal \!lemcnt, un<t
                they cannot., under tho 1>rbvleion11 o f tht6 tM:t, or o f ll'Jme ~imllnr lcgU.l .. tiu11,
                show t4&t they tire in lawful pusae1111iu11 of .t(w"" fil'V11rtru<, would that nut he u
                weapon i.11 tbe h:mdi! of the Department ur Justice ju enabling tltum to hold tlto""
                crimiu1116 untiU11rther investigation m i.1ehl be 1uJMle'or t he crillieT
                    Mr. F11ED£Ult:Jt. I think. 1;11, nucl { 111111lc th.iH ~ugp;estiun t o Mr. Kce11n11 twn
               .and a hair 111011ths llgo, t1111f whcnc,·cr 11 11-.::tt1Ut1, a firC!m11 nr any kin<I, 1111tI I
                would 1101· ihuit.it to p\atol&--:"l wnulll my rilletJor s hotg11m1- ia foond i11 the h1'nd~
               .of any person who hu l)IX!n COt1\·lch1t.I of 11 crime of ,-lolence, hecnuee thew are
               '.lllAny crimet< whicl1 ha1·e uothln~ lo do witl1 tho use of flrc11r111s, :.ud that i(! why
               1 make the diaUnctlou; 1111d l tbank he 1ftl!(gC6tcd tlmt WC aud to 0111t 811.f flt"l"KClll
                wh9 i.s a fnitit h·c from j11.11tic<.--that 111cre 1>0~li111-c1f 1111th 1• "''-'"Jl"" •h1111ltl lie
                prim& facle evidcnro uf it5 tn.r~p•>~lation lo l11tc111111lt1 comm\'rt'e, un1l t lui.t
                tro1111portatio11 in intcr~tnlo coumtt.-fn· of Wl!llJNll~ hy th~ l~~plc lie 1m11lc 11                 ~
                crime.
    ~,
                  Mr. VP:soN. Ha\'e yoa any s11<1\i liiuit n!!' thnt in "ithor the <>ri~intt.1
               hill Of tho s11bstitute?              •
                  Mr. A;.Li::N: Ttie bill before y1111 Jtow"!
                 M r . V1NsoN. Yes, either in tht> oti~nlll hill or the substitut{'; i:1
                                 u1
             •r that thought either one of t he bills?                    •
                · Mr• .Al.LE°!'/. That it must be a pc.>rson who h11s bec.>n ro11\·ictt•1l:'
                      Mr. VtNso:.;. Yes.       ·         ·                     ·             •
                    • Mr, A.Lt.EN. No, sir. I nU1, comio~ to ~at point'. Gentle111en,                                         "
                   this. is just the trouble; when you linut it to •~ person who has,l.1eco, *·
                  .:oOvicted Of Q cnme1 bCCUllSC a Yer~- !u.tge Dlltnhor pf these· gunm.e n .
                  in niy State, nn·d iu e\·ery State have not got n .recor<) 11t- the p~ent ·                             '
                  tim0. As-~Ir. Treadway il!          well
                                                      QWUff,,, wouuwe I\ murder trial going .
                  on now, o( the -tvfillens, 'who cpmmittc>d 0. b'rotnl bnnk robbc>r.r nna ,,
                   theater robbery in ~tassnehusotts. \Vhero \\'ere._those men taken?;
                  In New York, nnd they were nrmed 1 nnd they hlid .no r riminal rt'Cord, ~.
                 ~od tht>y lfid, not hiwe tfofebino .g uns on their pcl'llons.. Thf'~· were
                 .urtned with these t\utom.ntics. •              ·                          •
                      ~fr. TnEADWA l'. \Vould it no t' ho well1to udd thut there wert\ two
              ' ·dress sttitcnses filled· with nrmt1 nnd.11n111wnition; which were Councf 1\t        "
                  .the Union Station in \Vnshingtou'! ·                  " ·     · ', '
                      Mr: ALLEN. Yes; artet' they Wf.'r e !iali.t'!tl, tb~r(I wns u reg1ilurarscn11l
                  ol 6r«1rms found'_in the Union Station in \\'11shinjjlon . ~ot on!' of             ••
               t.hem had I\ .criminal record'.                   ·•    ·
                   ?vlr. YINllON. Aro they on t rial no.~·~
                   Mr. ALL.EN . "fes.               "
'        '         Mr. V1NaoN. F<ir whnl'~ . ,
                  ·Mr. .ALL11s. !<'or m1rrder. .r        •
                , Mr. VtNllON, Wh~t is tho prn,11lty for .mU!'llrr in ~1a.ss11ch11scLts t
                   ~f.r. ALt!EN. \Ve io'v e tho 1lciath penalty.         •
                                                                 -      .
                       .
                        -                                    JA233                    r
                                                                                                    Exhibit A, Pg. 849
                                                                            ,
                                                             •
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                      . l\lr. .\-~sox~ Thut is qoit-P n Sl'V1!rl' pennlt.v, nnd ,if 'they ntt' gliilty .
                    of t.hnt crime, s!X'ir.ty will not ht" numnct"d with them any longer. .
                    This Iii\,.. wonld not ntf<'ct thl'ir r011Clit ion on\'.
                        ~·lr. l\.EENAX'. Suppose thev nre 11cqoit.ted?                                 •
                        ~·fr. ALLEN. \Ve W('lrc fort1in11te in getting confossions from them.
                    Jt. is 11d111itted tl1n t that. whoie series of robberil's wns so cl!'ve1•Jy·
                    hrought nbout that wit hout their ndmissions: it would be a very
                    diflicul t thin!! to co1wict t.h!!m, \Yhn t we want to get, when we (ind,.
                "   n fi ren.rnr in the lmnds of n mun who is 11 g11nmnn or eriminnl; we do-
                    not \\;nnt toJvnit nntiJ he h ns beep con,·ided before you rnn reoeh him
                    for cnrrvin·g these wenpons.              ·                         .     ,
                        'fhf' CRAUIMAN. J:Vght t.lu>re, ~·011 would havC1 somcthinf? to hol1l
                    him on, until you m11dt• n f11rt h<'r ln\'estigntjon, if yon found bim with
                    firl'nrms, contrnr" to low?             ·    ,,            .            ·
                        1\1 r. ALLt:!';. yrs, sir; but 1f 'we rnn hove thl' right to rt>gister' runs,
                    60 thnt II nlnn who h os unregis!!'red {(\Ins ir. thereby ~uiJt.y of ii fo,onv,
                    vou or(" going to put,, in mv opinion, morfl gunmen nod gri.nsters in
                    ]11il thnn bv nnything thnt tlus conunit.tel' c11n do. 1 hn,'e rend the'
                    ot her bills b)· t.beDCJlorlrn!"nt of Jusficc, und I ngrce with thl' Att.omcy
                    General; in liis ·opinion, t.hn t this situnt-ion is not lnP.t b)· the oth<ir'.
                    liills.                             ··
                       ~Inny    lt\ticrs · hnvc been recf\i\'ed bv CongreSSl{um ; they have·
                    spoken to rile si.oet> I ceme ,to \\nshington. Many letters have bec.n
                    J't>ceh·cd from mt>n who ha,ce writt~n 11,; sportsmP.n , nnd article~ have·
                    ii ppeared in tht.' nrwspnpen; ";th TC?!lpt>et t9 hunting ht.>ing imperilod
                    just hecause Dillinger begs ii fow sh.eriffs. · I wnnt to r.nll the attention
                    of th e committee to the fiict thnt lettl'rs •1·cro sent ·out h_v the N.ntionnl
          \.'       Rifle A~s<>ciation of .<twerico, in· which i't wos stilted t.lmt the officers
                    in \Vnl'hingt~n wHI do itl~ tJwr <'nn. but ;that-                        ·
                       A pc~onnt letter ur tclcgrnm of yourself · nnd 11\'Cr)" sport•mnn in Alhericl\
                    objecting to the l>lll is uece88llty if l\'C,Jlre to wo.ge n dU CCC'asful light. ; With youf-
                    hclp WI) killed the Copclnnd bill, hut the eolmnittee t hinkK thi• 011e, H,.R. llO!il~
                    la goiug to be ho.rder to kill.
.•    I
                        Thl'n, in nnot-ht>r r6snn.H< of this hill, it wris sni<l ~hi\~ 'nil of the rl'-
                    stric tions whicn nre propoSf'd in Ho11se hill ~066,' nimed ot the pistol
                    11nd r1>Yoln·r 11re nlmost worthlrss, ns fnr 'ns proviclini? enyrc•n1 FNi<''ral
                    cbntrol of lirennns is concetnrd, thnt sll gun·s, shot~ms, 11nd, rillei',
                    ns ~"<'II ns pistols nncl nwolvl'ri;, mu;;t br 'in r,.lndrd ill' the Federnl
                    statutr.- if it is to.serYc Rny 11srfol p11rposr. . " lf not'inch1drd,_Ho11~ ,
                    bill !Hl!lG i.; not 'v-0rth tlie r•aper it. is prin\('{i on, fl;; n rrim('I p~ventivt"
                    mrnsur<'. JC they ore, inclndrd, t.he l1on<'st sport~nlQn in thi!l 'r mmtry
                    wilt ris<' 111> in nnns 11s 'th<'~' did over the 'C'opelnnd bill." lt is nl$0
                    11!1i<l tl111t th(I hill iRundoohtc-<11:1-· 1m-s1•nted in it~ presPnt form ; b<'t'ft11Kf'
                    tlwre . m·o frwt•r ownt".s of pisto)i; nnd rrvolvi'i"s .t hnn there Ill'<' of
 ••                 sllotJ?uns on•~ it is hoJ1NI in th11t wny to !!Ct. tho Jn)i· jlnsseil, ontl th11t
                    ()ll<'" on tho hoo~i:; tl.i<' :\ttm11ry CTeul'rnl cun g<i to tho nP:d C'ongrt'l'lt
                    nncl i;:1y tlint tlit• lirc•nrms hit! '1w1•ds 11 :-:light 11m1•mh1w11t !io· it c-1111 h1•
                    111mle to \nrh11I~ 011y fitl'Ol'lll nn<l th11t-                         :                   ·,        ;
                        'Fl•w C1l111<t'l'll!lmrn will lin''" lion~ fo nnlitu It 111111 wtthl1v11 ) '<'llr l\Ctc;t11e r•n~~p;u
                    of lfo11•u t.111 l)O!iO c•' rr,,; rrnr 111111 11ho~111111 O\\'llUf' it1 the rm111t.ry ll'HI flod hhn~dt
                    p1(yin~ 11 ~j1rcl11f t11x 1111<1 h111·!1111: 111tn•<•I( ll11ic1•rpri11tv1l nnll· pho(ol(rnpl.w•l for th;.•     r
                    l'cdcrnl fOll:n\·~ 11:nll\•ry V"cr.v 'U1111• Ii\• luoy• or """~ II !<'"' or""}' •!•·~rttptl1~11 -,
                       ~Ir. 1,111.1•. \\'bu i); !hn.t ,frou1'!                                                         ·
                                                               JA234                                  Exhibit     A,     Pg. 850
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     130                         NA:r!ONAL l"InEARMS AC".!!
                                       - ..                                               .'
       Mr• .ALLEN. 'fhe author of the letter~ here, add it was .Ugned by
      the N ationnl Rifle .Association .of America,' home office Barr Build·
      ing,_Wnshington, D .C. _ .              ·      L
         Mr, C9ori:in. Who signqii elie letter?                .
         Mr. ALLEN. It is.signed ' 'Fratem11lly, National Rift.e A.ssoaia.Lion,
     c. n.     Lister, Secretary-Treasurer."                                      --
         Gentlemen, for 15 yen.rs I have Iollowed,-o-a beho.1.f of the Nntional
      Oritne. Coml}lission, the legislation in \\·bich we sought to . obtain '
      masonable regulation of firearms, and I wish ;to say to this committee
      that in all that 15 years I have never known tho American Bar Ass~                                I
    · ciation, .the Coomussion on Uniform L.aws, tho National q~hne Com•
      mission, or· the Attorney General's Office lo ev-er suggest; the.t they
      ivere going to do 'just what it is said here tho Attorney General will
      slip over, and that b, reac}1 riOes aud shotguns.- It is not Aecessiuy;
      dtil rifle end shotgun are not c6ncealed weapons. I can sn;v tl\at ·I •
     'believe that· the good·Ct\ith of the Attorney Genero.l'sOffic:e is involved  -<'
      when it is said that this merely a stepping stone t.o inttwfcire \\ith the
     ~portsme.n'~ honest and prqper use of shotgo~ ancl ~rearms. -. .
         The press ~ease was sent out by the Nat1onal'•Rifle Association
      which caused news articles to be pul1lished'-Over .t he country, under •
      date of .April 30. That press release wa! sent out by the National
     "Rifili Association and it said, ·among .Other thlngs: ·
        B\lt the Attorney General .. ·• • has had inkoduced a bill wliinh & • •
    11"ropoeea t.o give almost dictatoriil.1 control tQ an offi.cie.l of the Qovernment In
     W118hington whose tre.ining has·nothlng whatever to do with this phABe ·of gO\'lltl\•
    1:i1ental activity.                                                           ·r t
        Gentlemen1 a.s a matter of fact p<>wer to enfonie this aet is gi\·cn to
    .the s ,.cretarv of the Treasury and his nnder-offi cial, the Conuuissionel'
    -of Internal Revenue.
       Mr. B.n.L. .Are you rending from the release? .                         .
       M.r. ALLEN. This is my statement. Their statement was that. it
    was ~ing dict!'torial control to an official of the Governn1ent whose
     trnimng l1as nothin~ whatever to do with this phase of govern.mental
    ~etivity. I am -suying to !the committee that the Treasury Dep11.rt--
     r1tent is tnoto oap11ble and better experi~nc:ed in carrying out the p-ro-
    -visions of this act than is any other department of the Government.,
     .All intenuil reve'*e laws are enlorced.lly revenue agents of tbe ',l'reas--
     urv Department. · All customs laws a1·e enforced by officials of thil                         .'
     Treasury Department. The regulation of narcotic dru{.rs is in this
     Department, and. so is the Secret Service. The 1nt1ans and methods
    -0£ registration of dealer; and. individuals in connection v.rith occupa~
     tiohal ta.."es•nnd so.Jes ta.xes is properly and pecu1iarly within tho lmowl~·
     ~dge or this Department of tJte Oovo.rnmont.                         -
        The' ~ext statemont in ihis press release is:                   ·
       Under tho provisions of the ·sumflcrs bill pre11c11t ownero of the types of gu11a
     to whioh tho bill npplies would 111.vc to obt.a{rr tho lll'rmlsuion of tlunevcnue c.olluo·
     tor to 11hlp on.ell o. g1111 nnd rcgi~tllr their Sugcrpriut.8 nHd pliotogi>aphs und fl8Y
     • la".                •                                             .                     .
     This is o plain misstn.temont. ·Permission of tho revenue collcrcto.rs is
     not necessary either to ship, soil, or b uy a .flronm1. If a g\m upon
     which the t,r ansfer tu has not boon paid is ~hipped in interstate com·
     Jncrco it would be necessary to ohtoin a permit from any of the per-
     sons dcsignn.ted by tho Commissioner of Intiimn.l Revenue to iss11e
     Jletmits, but "Such pN·ini~ miuit be JA235                         Exhibit A, Pg. 851
                                          g.r4ntcd to·ovei-yon11 if the proposed
                                                •
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                                      .NATIONAL :FIRRAllMB AC'l!                             131
            transportation is lawful. · IYiot-eover, pe'tsons · who sell or otherwise
            dispose. of a. gun are not required to regisWt' their fingerprints and
            photographs.                                             •
                1.ifr. VmsoN. You' say that under H.R.· 9066; you would not be
            required to make 'an application t.o the .Coinmissioner of Jntemal
            Revenue before .you couJa sell, o.s;;ign, traiisier, give away or other-
            'il<ise dispose of a firearm, except on application form issued•,in blank
            for 'that purpose by the Commissione.r of Tutemal· Revenu.,, and in
           ~noh applicatfon it would be necessary" for yon to be identified by
            mune,; addtes~, fingerprints, photograph, and suc11 other means of
           identification as may be prescribed.
                Mr. At."L»N. You make application to the Commissioner of.Tute:mal
            Reve.nue.               · l , 1.  , '                              :
     D          Mr. V1NBON. I 1mdersto·o<l you to say that the statement ll1 the
          _press relea&- wns inaccw·ate fo: regard to tbe photograph and finger.,
         '''printing, I nm ret~di.tig from the bill, which in section 4; ,eage 4,                        •
           which requireslou to make this applicat.ion and to be identified by
            ~rint,9 an : puotographs, so cert.a.inly the gentleman is in error
            when he says that· statement in the press release was inaccurate.
                Mr. ALLEN. The statemcBt said that permission must be obtained,
                Mr. V1NBON. That ·is what this says; 1t says it co.nnot be done- '
           ~cept io pureuance of a written order from the penon soeklng to obtain a1Jeb
          article, on an appl1011tion form i.5sued in blaflk for tllst purpose by the Commi&-
          sioner of loternal Revenue,
             Mr..ALLEN. The penni813ion runs to the Oonunissloner. That is
          true of most o'f the regulntions, where you make.applicat\on; you do
          uot make application to the local man.
             Then the press release said, "Under the bill, there is no right of
          appeal from the :d.ee~s\!)n. ~f the· Gonunissioner of Internal ·Revenue
          should the pamut be J't!fuse~." Tho1:!9 dl us who are ]a~ers know                              "
         J,hat there lS) of course( 0. nght or O,l)peel front the dec1s1on of the
          Commissioner in this case, just o.s there is in any other case where '
          tho'CommiSsioner is Selego.terl with o. discretionary power.         ·
             Theti the release snid "A citizen owning a gun before tl1e R.Cf. went
          into effect would be subject: to' artoiit, his·gun would be confisco.teCi
          and he· would \ave ·to ucc3pt the notoriety, pay the costs of legal4
..        counsel, nod lose the time from bis J:>usi..llcSs to prove to the satisfa:i-
          tiori of a. jury in •Fodernl Court .tbat- ·he hnd not obtnined the gnn
          ille1mll:v. II          r             '      .-   ', '
            The; onl.V' instance where n citizen owning a gun boforc the net
          went into effect would l:ie subject to arrest, and so forth, would be
          under th.c interstate '-n1nsport11tion provision if lie should be arrested
          for having transported the weapoo in interstate commerce end if it                         •
          should be proved that be hnd not been a resident of t.he Stnto for
          60 d.a ys . . Moreover, this.·presumpti9n· would not npply if be lutcl
          lawfully purchased the gun after the net went into effect. Even this
          proviRion· cont'.erning interstate triinsportntion without n permit hlls
          been removerl from the bill. 'l'hen it soys: ·                          , .
              Mr. Lister points t() the rank injlltil.icc the Sumners bill 1\'0nld ,impose 111>011
          farmers, ranchers, and borncstcad'c~o ·not livlr1g witbh• 11 r~Mb1111l>le dist1111eo oC
          an ill~rnal rovc1111e l>Or<JAo office. The bill provides that all purchasers or the
          flrn11rmu mentiont!d in the act be required to get 1111 order from luwwlil-rcveuue ,
          ag~uts !illoning a purchas(l h) be h1Adc.       ,              ,       • •          .
                                               JA236                              Exhibit A, Pg. 852
                             .,
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          The net merely pro\•ides tl10L before u gun can li.n purcba.eed n form
      must be filled out antl presented to the person who sells the weapon,
      These forms, ns well ~s the reventle stomps; will be o.vn~l~ble at 11ny
      post office or nt any mtemnl-revenue office, und quantities mny .b&
      obtaine·d by any shooting association or sporting-goods dealer by
      merely making the re9.uest.                              ·
          It further says, "Fmgerp;inting1 P.hotographl!l-~• ond the e~ellfb
      of a revenue-tax $t~mp are included m t.be pro\'1s1ons of the bill."
          Alt,hough a reven':'e-tax stamp is req11jre<I, trus 1~ress rel~llSe foils
      to state that the present tn.'< on the snle of lirearms Js.repeoled.          ·
          Mr. LEWIS. I have here the figures with respect to homiCides in
      the United States ail compared with other countries. For the year
      1928 there were 101050 homicides in t hl' United Stat.es; in France,
      520; in Germany, wit.h half of our popu!11t.ion, 1,264; in Gnmt Britnin,
      with one third of our pop\llation, 284; in Italy, 1,1.--ith ab(}llt one third
      of our population, 988.. The method of treatment in Great Brit11in
      of this small-arms subject is of interest to me and mAy be. to others
      who read the record. In England every person, with certain excep-
      tions, must have I\ fu'Oarms ~rtificote to purchnso, possess, uso, or
      ce.rry a firearm or ammunition. The term "firearms ", includes any
      lethal firearm, t.<fr other weapon of ·any description from which nny
      shot, bullet, or other missile can be dischl\l'ged, or any pl\l't thereof.
      1t does not include antiques or firearms possessed as trophies of an;v
      war, although no nmnmnition mav be purchnsed therefor. ·Amm11n1-
      t.ion is defined to be ammunition for suoh firearms, and it also includes
      grenades, bombs1 and similar missilea; the firearm cer~ficate is granted
    • by the 'chlef of pollce in the. district in whir.h the applicant resides, if
    . the po!ice ·officer i;i satisfied that the applicant h~ _good reason. for           •
      llC'l.ulrmg the certifie11.te, and that he cnn be pernuttcd to have the
      fire~.nn without dnngar to the public snfety, and u pon payment o£ a
      presc.-ibed ree, which is 5 powids for the first period of 3     years,  and
      il is n :newable every 3· years for 2·pounds 6 shillings. There is muc'h
      more to the statute, but that is sufficient t-0 set up the comparison l
      have in view as to homicides in OUl' country and in otber countries
      and ns to the character o! legislation Great Britoin has found it
      de11irable to enact in an endeavor to control this homicide tendenov.
        - Mr, ,A:LLEN. In tbnt connection, there u1·e two thin~s that will vei-v·
      greatly reduce tl1e .enormous number oi homicides m thil> countrf,
      I believe. one of t11e1n ls the. rl'gistrnt.ion of firearms. In EnglMd, as
      you soe, the provfaions are very severe, compared with what tbe
      Attorney Gener11l is s~ggesting in this bill.. In England, it is neatly
      $25 for tb6 first 3 ye11rs. The other mutter is a matter for the StRt.es. ·
      Wbcm y-0u can get a. provision that requires 48 hours or any grenter
      timo between the time when the tJllrSOn purchllStls ·the gun and tho
      time .when it is delivered, and that.is the lnw in numerous States 11ow,
      you thereby pre-vent a very lnrge number of suicides, voluntary homi-
       cid11s., bocnuse. in rnllDy, many suicides, where P.cople go 'n!'.ld buy n
      ~un, 1f there is i.. deJn,y o{ 1!8 bom'S boforo dolivory, tho msurnnce
       uompnnics say that it will greatly fossl'n tho number of suicides.
          Tho CHAlRMA.N. · We t,bnnk you, Gen:ersl, {01• your llfP!lDrl~:oco u.nd
       the testimony you h11ve gh•en ·tile committ~e. Got1(1.rl\ K<!onan, 11ow
       m.uch m ore t1me WO\lld yolt roctuire?               ·
       · ·Mr. KEENAN . . 'I ,viii no t require vocy inucb n101'0 ti'mo.
                                          JA237                          Exhibit A, Pg. 853
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                                                                                    133
              'l'he CnAtR~rA.'i. 1\ie will he.ve anot.her session. tomoJTO\V1 iC thnt iB "
          'j\gl'eon blo.                      .
              General REc&ono. Jn view ol the rending Into tho minutes of cer-
          tnln data which tmme from our office hr General ·Allen, 'rtiay I be                I I

          permit ted to extend my remarks by l;eading !nto the minute;s certa.in·
         otl1e.r datft.?          .                                                      ,
              The CBAJ RMAN. Without .o bjection, you ffil\Y do so. The Chair
          desires to state that we will have another SllSSion tomom>w, and it is
         our purpose to close tho hearings tomorrow.                   -"
              General RECKORD, We shall not need over an hour, unless the com-
          mittee takes up our time in ask;ng questions.                    .           ·
              M r .. Kl:l:NA.N . I.have a hrief statement 1 would like to mnke. at
          'this time, and tf111.t is, we haYe no desire to enter into a controversial
         subject. Each nnd every provision that has been submitt.00 to this
         committee has recP.ived study from the Department or Justice and
          the a{lptovnl of the Attorney ·General. In appearing before this
          comnuttee, at the very beginning, the Attonu.iy General stated that
          we were, to some extent, feeling our way about in attempting to
         grapple with a tremendously important. prohlem. We had sugges-
       . tions from orie or the members of this committee with reference to the
          advisabjlity, if practical, of e. registration feature, I t was following
          his suggestion that we had a conference with the other branches of
          the Government. T would not ht1.ve the committee under the hn-
                                                                                             .     (

         prcssion that t he Departn1ent of Justice submitted o. bill· for this
         <iommit tee's consideration. without investigating, wi thin· the time
          permitted,, the ,x natters of law involved therein. For example, 'with
          reference ·OO t,he matter of registration of firearms; recourse was had
          to the practice followed under the Hamson Act which we have
         attempted to follow generally, in the taxation features. !fhere we.
         find that although the provision with reference to ~x.isting dnags was
         not specified in tbc act itself, regulations were promulgated by the
         Treasury Department which required certain memoranda to be
         inscribed a.s a record upon the artic.le 80ld, on the boxes and con-
          t11iners, whio~ the Treasury Department felt was o. reason able regu-
         lation looking toward the oollection of the tax 11pon the article.
              We have no d ooisions of the Supreme Court that we 'ti're able t.o
          find to guide us, but we believe the souno principle of law to be that
         ti. provision fo.r registration of all firearms would be constitut ional if
         it be attempted nnd considered to be a .rensonahlo regulation, and a
          rea.sonnble protective stet> taken by the lnw enforcement agency to
         coUcct the tax provided m tho.main body of the act . I may soy,
          from such inquiry os we have m ade, we have been unable to find tha t
          tb11t regulation has been nttaoked in any court of this country up to
          this timo, which afforded us some reason to believe that a sin1ilar
          regulation with l'cference to the registration. of firearws, might
          receive and probably will recci,·e offiCJal snnction as the exercise of
         constitut~onal pow~r, and wit~ ~he provi~on, if you plenso, that ~ur
          act proVldes that i1 My portion . thereof is Jound to be unco11st1t1)-
          tion11l1 it will not invalidate tho entire. act.         '              .
              Mr. VmsoN. There is <1uito n difference in the application· dt the
          U.w, as I see i t 1. to 0. firearm OO\V owned and posscssftd lc~ally, with
          roferenco ~ registrnt.ion, and tho power ~ cause rcgi'stri:t1on of D!e-.
          1irms ncqmrc<I sul1s<'q11ent to tha c1Tect1ve date of the act, which
                                          JA238                           Exhibit A, Pg. 854
                                   ,.
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                                         NJl.'rIONAL FmEAR.MS ACT
                                         '                                                          '
                 compels the payment' of tho tnx; und0r your bill, you do riot require
                iutymentof the tftx on the firearm now possessed'?               .
                    Mr. KEENAN . That is right. I do not think we would have such \
                .power.
 I                  Mr. V1NSON, Your power 1mder the t.axing statute would apply to
                 those weapons, but I cannot see by any stretth of imnginatlon how
                you go back and apply the ·taxing.power as a basis for registration,
                 when there is no tax applied on those we11pons thitt nre now possessed
                and are required to be registered.
                    Mr. Kt:i:NAN. Of course, ull such firen.rms referred to in thiA a.et a.re
                 ta:iroble upon tro.nsfer. ·
                    Mr. Vmso-N. I understo.nd tho.t.
                    Mr. KEENAN. It might be that it would be hcild to bo constitutionnl,
                as o. proper provision t.o determine the identity and ownership of the
                firearm, so that when they were transfetred a proper check-1.lp could
                hm•.                                                             ·
                  Mr. VrnsoN. It might be you could require the tax on the transfer.
                What.I am speaking of is, under the taxing power, when you have to
                pay a d ollar for the transfer, that you r equire registration, ·and then 1
                cannot see how you use the taxing powe.r to reguire registration when .
                no tnx is involved.
                  Mr. KElilNAN. There is no ta'K involved then, but tltere would be1n
                the lut.ure.
                  Mr. VmsoN. If the registration applied ns of the time when the tn.K .
                accrued., there might be some argument. Ior it, but .f or the life of me,.
                seriously7l c-nnnot see how you ate going to use the taxing' power to
                require registrntion of an nrt.icle that does not req11ire the payment of
          ·:'   ·the· tax.     ·
                   Mr. HILL. Would it not be used in determining whether or not thu
I                po,rticulnr firearm was subject to the tax?
                   J\i.(r. KEENAN. '!'hat is the precise eoint.
                   Mr. YtN.soN. Th°"'doesnotdeternu.ne it; thnt is a fact ; .whetberthe
                tireo.rm is t~bl~   or not is 0. f act .- When you estu.blish tho.t" fact, if
                you do establish the fact thnt the man mmcd it before the effective
                date of the' act, then there is no tax. ·
                  ' Mr. KEENAN. Mr. Vinson, using the same analogy in connection
                wit.h t.he drugs, the Federal Government had a bsolutely no control
                over the drugs that existed at the time the Harrison Act been.me lnw.                   ,,
                    Mr. VINSON. Of course, .I t:hink there is quito a difference.
, ~  ..             Mr. KEENA~. ResJ.>ectfullY.o I 90 not sec t.he difference in the
                nnoJogy. They roqulI'e certttm things to he done under pennlty! but
,,              ypu do not hn.ve the matter subiect to taxation. Referrtng ngn n to
                the British la.w, they have no dilliculty; they do D.(lt have the same
                constitutional limitations nnd constitutionoJ questions that we have.
                I said thnt I would only tnke n. minute, nnd I do not wnnt to impose
                upon the committee, but tho point I nm trying to make· is ·we are
                struggling with n difticult problem, with limited powers of the Federnl
                Government. It Is what we believe to be n growing need fol' some
                                                                                                   .. .
                Fedeml legislation, and tho inspiration for which we l'oceivcd, not
                from buronuorn.tic membors of n centrnlfaed go\lernment, if such there
                be, .but from the inte'mnt.ionnl police ohids qf t.his country, tho lnrgest
                organization of its kind 1 whlch includes in its membership prnctionlly
                every police chief in tho c9untry.                            ·
                                                   JA239                             Exhibit A, Pg. 855
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                                                                                                 .......
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                                  NA3'l0NAL l'mEAIUIS ACT                     <
                                                                                    185       ,,
            J.i:r. Yt~SoN. They did not·nskloJ' the l'Ogistro.tion ol \\·enpons?
            Mr. KEE.VAN. Tlley asked fo1· it ut tha hoginnin~. Tbe Attorney •
         General was inclined to believe that Uie snme thing could be 11rrivoo
         nt through using the tn.~ng power, uncler the sii.liis ta.\" provision
         nnd under the con1merco nud trnnspo1·tntion cl'auses, nnd it WB9 clue
         to tho sµggtist ion of regilitration mndo in this committee thnt we
        11.tt<m1pted to work out P:>met.hing whi'ch we respectfully still bc:ili.,vt•
         would hose -a good ch.once tAl po.ss the test. Ir it would not, it would
         not invnlidato the net in it~ antirety.
            Mr. VuvsoN. llow would you make thn.t t-Ost.? Unde.r the llln-
        gungo of the bill, how would ;-ou make the tAlst !
            Mr. Kt:E'NAN. I suppol!6 ~lw test would urrive, in ca.so u ulm1 pos-
        sessed n. firennn describe1.I in the net, 11.nd J>t'ior to the offe<'tive duto
        of tho net, be utternpted to trunsfe1.· it in 10 t.et-stnte ·c.omm1.wce; th fit.
         would bo one w11.y .                                        ,..
            Mt. VINSON. f thought you ngrced yes to.r<hLy·t hnt section 11 could               •
         \•ory well comeout.                                    .        .
            Mr. KEENAN. It could come out, b~cttuse ;. us I inte1·prct. t he aet,
         llny mon who is found in possessioJ) ofn firoorm after tbe 4 moniht1
        pcrfod, tl1ere would bu tt presumpliim &h1it. ho noquired it olter t.ho-
        etfecth·e date o:f the act . Tl1en, ii we attempt to apply the act, we
        hnve found the mon in possession of tho tironnn; it was not ideotiffod ;
        he did not have the 11tnrnp on it; then be would be subjert t<• Q.l'rest
        nnd indictment un1l when he clime before t he court you could, I sup-
        pose, test the sullicienoy of the indictment.
           ·i·Ir. VINSON. You luwe two propositions; you ·h ave a lioe d1·1Lwu
        as tct when he acquired it, W"ltether he ncciuil'ed it before or nfter tho
        effective dnte of t he act. lt mny bo constitutional; I howl not, o(
        roun;l.'.,in,·estignted 'it. 1•xha~1sth·ely. Jt. mny, ho cons_titution~I under
        tho tn.~'ln"" po~er, In make 1t nn offonso fo1· l11m t.o fail to register the
        wenpon a1tar the elfer.til"'~d1tt.e-of tho act. lt becomes a !net for tho
        j1Jry t-0 deterl'J)ine, \\:h11n J1e pl'Ol'Uted i.t. If ti.Icy sn:v _he is.gui!ty, the
        co1u·t.enn s11.y thnt lt wns en the bnsrs tlmt, hfl ncqwred it mter the
        elfoctivo dnte of tho o.ct. I connot see how y()ll 111·0 going to tt,st the
        4"onstitutionnlity ns it nffc.cts tl1c rogistrotfon or the weapon prior· to
         tbe effective dnto of the n.ct..                          ·     -·              ·
            Mt. }II.LL. I s tbet& ony gonernl penal provisivn in tho stututo thut.
         WOUid upply to ll fojlure to rogiste1• I\ Wl'f\pon 1 llllOCr tlie provisions
        ol this proposed nctT                                               ·
           1'-1r. KEENAN. Th(lro it> no genOTnl ponnl pro\'ision.
            Mr. HILL. Is thorc uny genornl lJCnol ~ll'OVision? .
            Mr. K l:l!NAN. Un<.101• the net, it is n(lt '' violation of the n<'L; tl111ro
        is no ponnlty provided, ond it .is not 11 violntion.                    -      ·
            Mr.1HtLL. Jn sorno c.:nst~s, where you rl.'.qui1·e n m11n to do .n crnrtnin
        thing, 'J1e ·mn_y bf' <•ovorecl nn\!c1· som"o g<mornl ponnl ptovision if he
        does not do it.
            Mr. KEEKAN. It is not i n this .act, os I intorprot it.
            Mr. HILL. J t. is cithru· t.rno ih11t. tho .ll'('dor11l G0Yorbm41n t hns tho
        pow(!r to rcquil'c it 01· jt 1locs not hu,·o the p11\rcr.                             •
            ~tr. hEENAK. Thnt is C'orroet .
            Mr. llit.L. ""hy clo you not 1111t soni l'thing ill'tllel'{' to enfn1·co thu t.
        lcgi81otion? ·
                                           JA240                         Exhibit A, Pg. 856
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          136                     NATIONAL FlilEARMB AC'r
                                                   •
                                   '                                                    ,.
            MY. KEENAN. Renlly, whnt we uro after is the crook ,\·ho hns not
          regi~terecl, ntid wo do not bo)jevo he is ~oing to register. ·
                 Mr. HILL. . Tbe law-abiding citizen. prob'a.bly might not register;
            what lll'e you going t-0 do if be does not regU!ter?
                 Mr. KEENA~. lf· the ~w-abldi1_1g citizen does not register, nnd
           <foes .not got mto any kmd of difficulty that would cause• hun to
           oome to the notice of tho polico,.and there are not going to be snoop-
           ing squads going around. froi:n house to house to see wl10 ·does.,und
            who dolls hot possess nrrns; t11is is a pructicnl piece of legisliition.
                Mr. VrNBON. You get tho benefit undt1.r section 5, pnragrnpl1 (b),
           .in regnrd tQ the presumption.         .                                 ~
                Mr. KEENAN. The prcsumpt~on i;5 applied to ~he gangster. ,
                Mr. VtNSON. That"p resurnption ts there, but that does not touch
            the question of whether it is a good thing or a bad thing;"thut does
            not touch. the constitutional power. -       .                       .
                Mr. KEENA.N. It all comes to tliis point; I nm nhuost tempted to
          ·sny, even nt the eleventh hour, that it is quite evident there is o. good
           deal of difference o.f opinion in the committee ns to whether there
           abould be fingerprinting, or anything that tnight. be considered a
           burdensome regulation. I bope, if we are going to do nnything this
          ·session, it mi~ht be considered whether or not it will be prncticnl
            to .eliminate fingerprints, nnd -whether or not general registn~tion
         . would. receive more sympnthetfo he!lring fro]Il. s.~me m~mb~rs of the
           committee thnn nttemptmg to obl11m fingerprmtmg leg1slnt1on. We
           fool there Is n.n \lrgent.need to do .something. . Our prnctico.l experi-
           11nce causes us to believe that you are not going to solye the problein
            r.if the roving gnngster and apprehend him and put him a.way before
            he kills people il · you strike at the machine gun only, tbe crook
           is clever; he is enterprising and he is going bnck to his very effective
           Colt ancl other .45 automatics, if be is restricted.
           _ The CBAITIMAN. We will ndjpurn until 10 o'clock toll}orrow morn-
            mg.
                 (Thoreupo11, nt 12:20· p.m. an adjournment wns lnkcn until      to·
           morrow, May 10, 1934 1 11t 10 11.m.)




I                                           JA241                          Exhibit A, Pg. 857
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                                .-
                                NATIONAL -FIREARMS. ACT

                                    WBDNBSDAY, MAY 161 1934

                                        · · . Hou.sE OF REPRESF.NTATtvEa;
                                             CoMMI'M'EE ON WAYS ANO MEANS,
                                                         ·           H'asM11¢cm, D:O.
           Tho committee mot at IO u..m., Hon. Samuel B. Hill presiding.
           Mr. Uu.r.. General Record, you mnJ'.procecd with your witnesses,
        either yourself or anyone else you mn.y dcsignnte.
           Genernl REcKORD. Congressman Hill, wo would like· this morning
        to have the committee henr Mr. Imlny, who is nn nttorney. wit.11
        offices in the District. of Columbia, and who hns lind long cxpc.rienco
        with t110 matter of firhnrms lcgislntioo o.s a memlicr of the American
        Bnr Association. His experience is s\tl!h that we believe he can
        bring out some point.'! in connection With this proposed legislation
        wJ1ich lrn.vo not been brought out up to this time.
                                    .
        - Mr. Hn.1 •. The committee 'will be very glnd to hoar·.Mr. Imlay.
             STATEMENT OF CHARLES V. IMLAY, $ASHINGTON,
                                             ...        D.C•
         Mr. IMLAY. I appreciate tho privilege of making a statement thi£J
        morning, but pJcii.se let rne·nsk yom· indulgence, however, because or
        a cold tl111t has somewlu1t interfered with my hearing p1u:isnge.s, and
        if you wiU bear with me and let me mnke my s tntoment, I shall be·
      . - glad to answer nny q_uestions then.
              Mr. HtLL. Please givo' your name, nddrnss 1 and the cnpacity iu
           which you nppQar.                                                      ·
           , Mr. IMLAY. My nnme is ChnrJes V. Imlay; my profession is
         · attorney at Jo.w, and my studv of firearms legislation liu.s. been in·
           connection wibb my membership         u1   the National Conierenecof Com-
          missioners on Uniform. Stnte '. Lnws. TJint ·corifuronce is composed
           of two or more roprescntn.tives Crom oach of the vnrious States, which
           meets o.nnul\Uy_under tho name of the National Conference of Com-
           missioners on Uniform Stnte Laws, nnd it bns been cngngcd for some·
           45 :yen.rs in prepn:ring nnd recommending to tho Sto.tos for adoption,
           vnr1ous uniform Stnw laws: Jt is nffilinf.lid with tho Americnn Bor
           Association, although 'distinct from it, and the American ·nar Asso~
           ciation functions-through it, recoiving Crom it, in tho first inatnnco~
           before it nets upon them, nny proposed unifom1 Strito laws.                   ·
               My membol'$f1iJ> in thot r.011£crc1ieo wns f,ho occni'lion for my gl''ing '
           11 i;tudv, w'hi(.'h hn.s.11ow lasted for some 11 or I 2 yon.rs, on this sub:.
           jc~t or firl!llTlllS Jcgislntion . \'\'Jion WC hc~nn ·thnt study SOmo l J.
          yenrs ngo ,\,e were t.old thnt it wns iJnpo~siblei tha.t there could bo no
      , such thing us Ii uniform fire11nns law; that wo would fail just as tl10
                            '   I
                                              JA242
                                                 • ' '       •   •         Exhibit
                                                                             137 ' A,
                                                                                   ' Pg. 858
                                        ••
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      -0onrerence llRcl foiled in' n uniform divor('o l11w. It$ conspi1•uo11s sur-
       <1eSs with the l"Ommercinl 1wts is known t.o everyhody; hut when we
       app,mnched tho mntter we sought first to find just \Wrnt the e!l.isting
       lnws in the vnrious StRtcs nre on firearms legislation, 7md we ·round
       thllt ~tis n n~ut,tcr iri whir.h St11te control hal'I progressed_ t.11 complete-.
       ness 1n f>l'llCtl<'Rlly nll of the. Stiites, 1rnd 'we fmlnci thnt it hns nlw-ityR
       heen nssumcd thnt it wns n 1nnt'tor of Stnte regulntion, ns distinguished
      from Fodernl regulntiou.                                                         "
          Tho .t~nditionn.I fotm or fil·o.11riW\ log,i11la!Jion lit1R hecn to. TCC~gnl~e
       tho ~cg1·t11niH"Y of the po&se'is1on of t•1>1·tn111 well.pons, to forbid tho
       carryiug of ron('~enled wenpnns, nnd in those States in whi!·h progr~s
       had hoon mnde in the way o{ re1wl11tinn, the efTcJJ't hnd bren made·to
       follo'\r doi<ely the iclentity of wenpons nnd tho•itlcntity of purchnsern,
     , and tnldng those n.o; the h11sre, this nnifo1·111 firennns 1ll·t wh.ifh h1\s
       been referred to 11 good ninny t1mc1', 111111 which I in trodm·ed i11 t.hc
       record when l first spoke here 2 weeks 11go, wns ·passed to emhor!y
       those f eat111·es.                        ·                                  .'   ''
          Now, Mr. Alll.'n, who spoke ut co11sidcrahle length yesterday nnd
      tile day before, t>rou~ht to .your attention the work ,tl111t was done hy
       the Natio1111l Crime Com11ussion, and he told you how the NationnJ. ·
       Crime ConuniS&ion took 11p t1Jis work, but I am not sure tbRt Mr.
      Allr.n emphasized the feet t11at the N ntional Crime Commission in its
       work p roceeded on the theory of 11 St11t(I law nnd State control and
      State re!!ulntion. .\Ve neve;r' hoard from the Crime Con\rnission in
      the direction of n. Peder11l lnw. • \re woTked with the Crime Commis-
      sion, and when this nnifo1·m net that is. spnken of was first passed by
      the Nntionnl Conference, 11pprovcd hy the.bn.r association in Denver,·
      in 1926, when it wn.s reoalled from the legislo:ture, it was not; as 1-ifr.
      Allen says, ~E'Ct1use it rcct>i,~e1' u.ni\•t•rsnl oppo~itio_u; it WllS heeau~e
      the11ew pre::11dent of the Amencan hnr a..<\Soc1ation requested t hat 1t
      he withdrawn for further C1onsidrr11tion. The Jnet o! thr. matter wns
      that'. t.h~ onlv opposition thM. ~or(l~ from it wns the. opposite of the. :
      oppos1t1on thnt Mr. Alle.n pomtcd out. The Governor of .Arir.nna .
      thou~ht it wos   too      dl'ltstic, >tncl thnt is the pecnlinrlY c10ntrovcrsi11l
      nature of oil firc11rins rogulat,ion. One mnn will tell yp11 it L'} too ·
      drnstio nn<I ont~ wiH tell _you it is too Jihrrnl.                          •. _.
          Whot t.lw Nntionnl Cri111e Commission sought to do in their droJt·
     .of n prOJlO!l'Nl uniform net wn.s to t.nke the uniform· ne t, thu.t ltnd r.onio
      out of tlw Nut.io1111I Conferrnr.(' 11nd the Rnr As::ioolotio1i'; t11ko i~ .          I'
       provis!ons nlmost 95 pel'Cet~t i11 toto, tH1;d then incorporate jn.1t tho· ·
       New 1011k theory of the.SuJltvnn Low, which, i;o for·ns I know, hM mot
    ·:llOCCJJtifnce i.n only tlrrco or fo11r Stntlls or tho Union-Kew Jersoy1 ·
     .M'1lsanchusetts, nnd probo.hly one or tAl'O others. · Th9y proposed n
     .State lnw, 11nd thh1 is tho first timo in the prcsontntion of this bill '
      ·before this committee, that nnvon{I hna ever sought to st\Y thnt this
       vrry difrlcult. m11tt<>r could ha iumdlP.d by Fed11rt1l lnw, 1m1t with nll
     'deferenoo to ilia Attorney. Ornernl Md Jue oble nssistRnt; nnd to Mr\
       Allen, and to 11.ll otl1ers 'Who hnvo nd voclltcd, U1is propQS(\d Fedoral
      lnw! I ~isl1 to sny Ut!1t my <ixy>e_ri~nee of .11 yonrs in Hui..study of t11is .
       svbJOCt nutlrns me tlunk thn.t it 1s impoiunblc tn regulate 1t hy Ft1dtlrnl 1
     lnw.                                                          .     •
         First of all, Mr. Keontln says that he htlB the analogy of tho Hnrri-
     ·son ~ct, and that: that e.1~illogy is verv elo!IO. I Wft~ looking OV(lt the
      ;Ilarnson Ac.t agllln Inst night, to JA243
                                           Yct1fy aome of m,y study of tha• sub- A, Pg. 859
                                                                         Exhibit
                                                                          •  ..       •
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                             NATIO~Ab FlREARi\LS J.\CT                                         139
             ject.       'l'h'o Hntrison Act nttl.'mpts t,o· set up a syst1om ol Hconsing
               da11lers, oud then o. systom by which p1u·cbnsos from denlars nre made
               by mo11ru. of an order which establishes identification,, but when we
               havu f-0und that llS tho nnnlogy, then the annlogy stops, beenuse when
              JOU ge.t by the dealer who purchases from the mnnulacturer; we will
              1'ny, ns you get clown t9 th(I patient, tho patient docs not get the drug
              fln nn order but he gets thr. drug bcctw\\o his physician pr~cribes it
               for him, nnd you have, therefore, nn entirclv diffeiient s1t!>ject matter.
                  I ( you were to try to fo1d exact. 1malol{y botwet'n t,he Harrison Act
               n.nd its systom ~f regulntion 1md npply 1t ~o ftr~n1·ms regnlotion1 you
               would have to mtrocluc·e a aecond story rn thi.q structure, nnct you
               would have to find 1\ place whore n pnrtic1tlar potentnto, liken doctor
               of n1e<liciue, sn&s, ''Now, having satisfied tho law in the pu.rohase
              of o. firearm , I lln1 U1e dispcnc;N i I nm going to dispense tho firearm to
              A and Band C ilnd D ''1 an<i so forth, so thnt the normnl nr.coi;sity for
              ~ho J)OS$0SSi(m of tne:pistol-<'·f!Il bo S~tisfiod by liOffit'\bOdj thllt l\dmin-
              1stors ~ho law according to !us ;:;upr.nor knowledge.
                  'l'nkiog thll l'l'g11ln.tio11 . ~1 . the Harri;;on Ar.t, as far its it goes, it
              sturtecl out ln 19i.4 1u11lor co11ditio11s where there. wns. no Cully devel-
              oped -State regula tion in existo11co i11 tbia country,'1md f,he 011'Pelience
              from 1914 to elute, over t.l1e period of 20· years, hos demonstrated the
             ·! act thnt i.t does not succeed by itsoU.uucl tti11.t it cannot S\IC<'COO by
              1tsel.(, 1-..nd tha.t was demonstrnted so '1tlly some 5 or 6 yf!llts ago to
              t.ho 1>ffici11ls of th~ Ruroa.u nf N!\fl'(ltfo~ in the T1·ens11ry Department. .
               ~ha~ they Co\lnd. it necos~nr,.v to form11lnto nnd propose a so-called
              " uniform nu1·cnt1c drug net• for the States, and thnt so-called ''nnr·
              cotic dn!g 1rnt" for11111l11ted hy them/or tho Stntos, 'Yl\S brought l1efore
              1he Nntionnl Conforon<'e of C mnm1ssionera on Umform State Lnws,
              by them promulgntcd, 1\J>proved hy the IlRr Assol'iution nt its meot.-
              ing in this ('ity 2 ,ye11rs 11gc), in 1?8Z, rccotnmonded to the St11t01;, nnd
              thus far has bee1\ 11doptod hy eight Stntes in the short period fram
              1932 to dnt,c, 11.nd is on the po.int of be\ng ach)ptl.'d by one <W two others;
              n.nd I ven~urc to 1we1Hct th11t within 2 more yenrs h will ·l)o tho Jnw
              o[ 1wnctic11lly every j11ri!l<lictlon in the United Stutes, whirh mcnns,
              T snhmit, th11t the H11rrison Nnrcotic A(·t, o 1"C1dornl 11rt, by itself
              cnnnot suuccod hut must depoud upon n rigid, <'!11't'ful. 1111d con-
              $c.ientious enfor<'emcnt of a Stnte l11w on the 1111hjeet.
                  Tho rcnson why you cnn 11rlminister n Stt1tn Jo,\., nnd t his proposed
       ,.    .r1nrcotic 1tcL do!'~ i11 fo<1t duplicoto the pl'oviiiions of tho Hu.rnson Act/
            · is t111~t. your lllOthod of <111forcemcnt is 1mm!'dillte nnd in thr, hnnds o
              dti11('ns Utnt 11r1• 1-i<Jllt. then' to do it., nncl suppnrt11d by tho public
              s~11t.imo11~ of 1\ll f.l1f.' people in th() eommunity.
 .',              Some mci1tio.11 wns m•1d~ yestrrd11y nncl tho d11y hc>for<' 11bo11t
              fls11ctulo.tl 1s liceusos. ThCI hshet·n111n'R liconsc l111s bl•1m enforced so
               well ng11irrnt nourcsidctf't:; hcc1111st1 tlto nonresi(IC111t is 1.1 bri~ht ond
              !!hining mr11·J; wJ1c11 he comes to llsh in tho i;trrnm or lnko or n com·
              munity. · J wont 2 Vl'fll'!\ ogo int.() tho oxtrN110 so11tl1wostom <:ounty
              of your St..11to, .M r. Chnir1111111 1 111111 thoro In t.J111t ht>o11tif11l Lnk(1 Snn-
               beol1d1 l fished, 111Hl whoo 1 got Ill~ licuni<o to llsh, hcco use T trind to
              obey tho l11w of tho Stnt<', <'Xp!ms1vt1 us it wns, l httd to pny $5 to
               fo1h for one d11y, nnd I did not c11tch nnv tis)\, Jt is nov• 25 cO'nte.
                  '.I'ho 0HA111 ~!M'1. Yo \! 1\1ill hnvo to go buck 11omo time one! get your
               $fi worth .
                 •
                                                       JA244                          Exhibit A, Pg. 860
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                           •
            Mr. htL,\Y. Wbnt 1 did was to go to t.lu.1 country store lllld t.horc:t
         tbe keeper of the storo gnvo men receipt for my $5 ond tlte additional
         ~O cent.s which ~he United Stintcs chnrges me, .ond he gin-e mo a r~ojpt ; _
     I m t he name of the game wurden.                                       ·
    '/ ,· Let us imagine thot you would a t tempt here to erect a o«tio1111l
   / fishing-license system, and you- would get that same stort1keeper to
         administer it for you. Yon wollid have an t>Xnct. duplicate of whnt · ·
        you are teying to do here, in saying that. alongside of the syswrn oC
         regulations in the St.ates that now exists, with roference to firenffllS,
         n fU'Slem of r~tion which lia.s gained ground. under the influence of
-•       the uniform act. whir.h requires an application that fullY .identifies the
         applice.n't and that fumislic!l to tho police tLo information as to who it
         is that is applying for the pi!ltol nnd requires the lapse of- 4~ hours
         before the pistol can be _got. Now, let us suppose that we erect nn
I
I
         en tirely different and distinct system of. regulation by the . Upited
        Statos. .According to sections 3 and 4 here, in which we· haw the
        deo.Jer liccn.se, in whioh we provide for the order and for ·t he st11mps,
         are we going to nsk the St.ates t o wiihdraw?
            When the Volst.ead A.et began to be unpopular and irksome, aoru&
        or the States withdrew State control, and· I bclie"'e said somewhat
        hypocritically that they were withdm\ring State control bccn,use
        .Federal control was suffi<'ient.. Now, I venture to say'thatif you were
         to erect an elabonto system of United States or Feelers.I control like
         th.is, eit~ier yo11 are fomg to ho,ve .~ troubfosome duplication _of State
        and national cont.ro or you nre gowg to ask the State to W'lthdra.w.
         N<,>wt jf yo11 get a picture of this form of regulation, you can see just
        what it means. &et.ion 4 of the net--                    ·
            Mr. B1LL. Of the original net or the red.raft?                 ·
            M.r. }MJ;A'1._ I nm &peAkixu? of the revised draft. Section 4 of t.hl)
        l'Ovised draft says thnt i~ shall b.e unlawful Cur 3ny person to transfer a.
         firoorm except in pursuance ot a written ordot from the person sccl<lng
         to obtain such article, oo 8ll application fr>rm issued in blank, in
        duplicate, !or that purpose by the commiwiloner. In one of theso
         remote counties of wl1ich we were speaking a momen t ago, let Ut>
         lmaipne two householctcrs sit!lated close by; let us ~agine one o f them
        commg to the other·o.nd nskmg for n perfectly leg1tmtp.te purpose tllo
        loan of a riil.e or a shotgun. Those are not affet\tOO by this act, but let
         ue suppose thaL he asks for tho loan of ti pistol, which, I boliove, is
         recogmzild as perfectly legitimM.e when it Is lcept by a.hoasobolder in
        hia house. The owMr will naturally loo.n ;~to 11im, fltld if ho tokes it
         mllis band he is violating the FederoJ law hccruJBO he has not t11e
         ordtl'r lllid·tbe stomps, n.nd I.he pistol hni.t t>r.cn trl\osferr-ed, becaueQ, if
         you look back nt the definition of th e word "trnnsfor" you will find
         that itmetms .to sell, to leuse, td Joan; end yon luivo n man com11,1itting
   ·, , I\ crimo by a perfectly nntur1il, normal !\Ct of l.iorrowing a pistol !ron1
         his neighbor.                   , - ·                 .           . .   ·
       - Mr. 1'11EADWAY. "\.Vould you mind' o.n iotol'rA1pt.ion? "'
             Mr. h.1.LAY: No,
            Mr. Tnl:ADWAY. T110 rtnson I want to intcl'tnpt the.re w11s to seo
         whct~1er you are st1111ting wjtb n good promise i-n tl1ot you sny tl111t,lt
         this neighbor went to nn ndf1>ining hmiso it would be natural t.hot tho
         owner of the pist.ol sbould loan .it to him: .A11 ~ neigbb >rty act, tbnt
         i~ truo 1 \)ut have you not ovorlooked the (net thnt if I.ho noighbo'r l1116"
            . pistol. in his poseeaaion, if this bill sl1011ld become Jo.w, ho mu11t,
        .th1Lt                             JA245                           Exhibit A, Pg. 861
                    •
                      •                       '"
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                           •
          umlt•r the conditions under wbieh he 1111!1 lt1 ha.vo it nigistcrcd. ln
          olLor words, this fart o! registration woulcJ bt' obsolu oo knowlcd~l\ to
          hi111 whereby he sliould sco that he should get in line with rcsprr.t to
          thnt pistol. Do 1 make myself clcnr?
               Mr, IMLAY . Yes, your s tnt.€-ment is rlcnr. ·
              1\llr. TREADWAY . \Vhl\t. is your reoetion ro that viewpoint?
               Mr. J~1i.Av. Yoµr stntcmont is clear, but. yet ir "'e assume thn.t. it
          w1111 registered or w1ls not registered, whether it is rc.,"1.stercd or not,
          tlao Joi.Ill of it under those c:ircumst.n.nceJ:J i~ ll violaltion of tho la.w.
              Mr. TnEAZ>WAY. ;i\hsolut~ly.
               ~.fr. IMLAY. And iyou have p-reciscly the snmo unhappy conditinn
          thnt you bnd under,the Volst"'nd Act., where Lic1uors v.•ere eantrulmtld,
          mul where :my trnnsfer of the liquor neccs!\itntes cit.her Ii \tiolntion of
          th9 lnw or a very ~Jnhoroto system of °"fionnge ond c-ont.rol.
              l hnd occo.pion nbout 2 years ago to sol t\. drug store in this District
          nt public auction, and wo 11Ad o,·fow quarts of gin llild n few quarts of            •
        . wl11sky in tha.t drt1g s\.Qrl). Three or four inspectqrs from the Pro-               •
          hibition Unit were tl1orc•, 11nd thoy were nii t~nder about th11t gin and
          whisky ns u. mother would be about. a 2-week--0ld infant. They
          stood around for houN, and they finally ro\ieved us of embnrre.ssmcnt
          hy tnking it to tl1o st.or11go rooms of the Prohibition l .Tnit. You h11vo
          sot. up n system of Ferfornl espionngo, Fed11r11l visitation, and yon hrwo
          mnclo 11 crimionl bI 11 mnn wl10 borrows n. pistol of his nei~hbor, unless.
          ho ~oos through/ thi'l system. Even und~r tho most rigid system of
          lic1•nsing 1iutompbiles or titling autornobile!i, thcro is no difficulty in
          borrowing an automobilo. ·1c tho analo~ of· the nutomobilc-titlo
          3ystem is sound, then this system of rcgislrntion ought to be plinblo
          enough to i;et awo.y from the necessity of violnting the law 'if you hnnd
          I\ mnn 11 p1Stol to exnmine und givo his opinion on.
              ~fr. ~fcConKACK. From n pmct.ical angle, do you plnce pistols IUld
          l\llt..omobiles in1the some category? Let u.s get nt this from a. practical
          point. oI ''icw. Lookini nt. it. from u practical standpoint. do you put
          n g ull and o.n automobile in I.he sumo category, lllld do you put a t;\m
          ond liquor in the i;o.me category?
              Mr. bn.Av.1No ; f.. rlo not. I· think tho pm is n dangerous in11lr11-
          mon t.
               Mr. M cCoaM.\Clt Jt is inherently d11ngc.rous, ici it n nt 'l A gun is
          J•llll(<'rous from the be.ginning. is it not?
               Mr. htLA\'. J.\ ~irn 111 don~etoits; u pi... tvl is ilnngerons. I do not
          wnn t. to give U\o conunit.tco the in1pr6!;."lion tJml I nm r11t,M 011 lhiA
          11\1hjr.c t. in either dlrnct.ion.
              Mr. ~1~0RMAC'lt. I lllll not convoying my state of mind. ~f\'
          11t.oto of mind is npcn; { wnnt, to listen IA\ rill Lhe evidence nncl I w11uftl
          liko to ~ct your stnto 11{ mind ns to whoth<'r o'r not you wont. mo, os
          11 m1Jmbcr of this rommitt.•c, fio scrinrn;ly c•m1sidcr the nrg11111011 t t.1111 t
          ~1111s and automohilc:s nre i11 tho sn1nt' 1•11tcgory, so rnr ns horrowinc
          1, Cl)Occm<'d, frnm o procticol nnglo. 'iVo will nhminate the thMrrtirnl
            ido.
               Mr. hlt.A Y. Prnrticnllv, harrowing n (llllll'I is more dnngero1111 thnn
          borrowio ao A\l toniol>ilo.                     •
                                                                                       •

                                           JA246                          Exhibit A, Pg. 862
                                   /
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        142                  NATIJ>1'Al• ~lltEAnl\tS ACT                    •,

         11 gun; woulf! you loan it
         would Joan an automobile?
                                      J
                                      me ·,vith tbe samestote or mind thot
                                                         -
                                                                               y~u
           Mr. IMLAY. If I knew1you.
     '     Mr. M cCoRMAOJ(. You nro n romnrkoblo man. I would not loan
         a gun to tny best.frien /without an explanation froiu him as to what
         he wanted it (or.                                                 · ·
           Mr. hU...\Y. I will ti d that qualiftcntion; I will go 11long with you
         on that qnnlificntfon, hat l would want. to know wlrnt be wanted
         it for.
            ~1r. McConMACK. And thPrc would be a lot of other nwntBl
         st-ring:; Bttnehed to t c loM of tbo gun.        .     ·    .
            1v[r. bn-16 ,._ Yes.
             Mr. ?vfcCon:!>tAC We arc bumnn beinr;i;, nnd l t hi nk we arc pr11c·-
         .ticnl men. Taki~ tho angle of prohibition which yo11 spoke about.
         Y 011 talk11d abo t the public i;tate of mind. You t1d<lrcssod t,hat
         argnmt:>.nt to thteornmittee to indiente the puf>lic. state of otind \Vitia
         referenc.c t.o r> hibit.ion and the fort Lhnt theore.tir.nlly, under this
         bill, the same ouditions n1ight o~t.. That is the purpose of your
         argument?                         ,1  '
             ~[r. IMLAl". 1Yes; that is it.
             ~fr. McColQIACK. It nil rests itpon wh11t tho 1>11blit s tnte of nrind
         was and might be'?            •'.                                 •
           Mr. IMLAY. Yes..
--          Mr. 1\i[cCORMACK. Do you think the public si11t e or mind would
         he the some with reference to regulnting the si1le, or eli:minn ting the
         sale or transfer for a consideration for commercinl pUlposes of fire-
         anns, n:; t hat whic{t revolted agninst whut l on mnny occasions lerm~d
         the in1J>racticnl inequities of prohibition?              · "
            MrflMLAi. I do. I think the public state of mind will be the
         satne.                                                  •
            Mr. McConMACK. You think t1H1t 11 us nn .ttvernge citizen, "when
         I rend in the pttper of sornebody borrowing a gun irom "Jo'm Jon('s ",
         of his being arrested hecnuse ho hnd n ot eolnplied \nth I.he lim·, that
         I nm going to have tJint snme feeling of ~-evolb that I l11td when the
         prohibition ltiw wns on the statui.e hooks'
            Mr. .IMLAY. 1 nm not suie thu.t you individually will h ttve.
            Mr. McConMACK. I nm t nlking ubout the average mun.
            Mr. IMLAY. 1 am· sure.the nvcruge J1\an will.
            Mr. McCon111AcK. Thnt is nll 1 consider myself, the nvero~e ml'ln . .
             Mr. hlLAY. I think when you get int.o thnt remote county of North
         Carolina, or you get into n rl'motc county o( any othcr Stntc, you nrc
         going to find thnt feeling.
             Mr. M cCORMACK. Prohibition nevt•r bothered Nol'th Cllrolinu or
         nn,y other of those State,s. They hnd their liquor nll during prohibi-
          tion, nlthot1gl1 it bothered certnin other sections of the. c01111try.
         Those thin1::.rs have n prn.cticnl wny of ndjusting themselves.
             Mr, IMLAY. When you got into tho r cJnotc sections of nny one of
         our ~tnt.M, you nro gomg to fin(l ti great Rvorsion ~o the Oovenunont'e
         commg m there nnd controlhn~ them on those tlu.ngs.
             Mr. McConM.ACK. Agnin, to get your stntc of rcili1d', nro you op-
          posed to nny kind of Fcdorol regulation of firenrms?         ·
             Mr. lvt.Ar.' I nm O{>Jlosud to Federal regulation of fir<1nr1m1 , othnr
          than n fom1 of rcgulnt1on that stops where the Munn Act·&tof>s.

\                                            JA247                          Exhibit A, Pg. 863
                                           ,
                                 ,
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           'I
                             • N'ATIONAJ'.. l"IDEARMS AC'I'
                                   ' . '
                                                                             143:/.
                                                                    ,,
             '                 .. -#

                 .\!fr. ~·lcCoRMACK. I anf not nrguiug with you: Do not think
          • becnuse 1 ask questions, that I nm arguing with you. ,1 want to get
             yotu' stnte of• mind to· the extent thiit it will eno.ble me to obto.in
             -0viden.ce so tbnt I mo.y form nz1        o inion. You nre not 'opposing ,n. .,..
             regulnt.ion of some'kind?              ·       · ,                '
                 )f'r. }MLA Y. I nm not oppose t,o u. !011111 of Federal reg1ilntion thnti
             stops whe1·e the Mnnn Act stops, confining itself to int~rstnte com-·
            'merqe, o~· w!:ich goes' as (ar ns some of the acts passed in the Stnte
             proliihition history, whi.<ih were in nid of the State1 nn act which
             would 11111ke it unlnwfol t.o t)'n'nsport W<'npons thnt wpuld· be in
             \'iolntion of Stn.te lnws on the subject.                 "       ·               :
             · Mtiy I r<1fer for ti m<>ment to".the umtter of r1:~sll'11t.h~n, because
             r •do not. w11nt t-0 to.kc too much tune. I ho.ve set torth some of ·these
             viows in th£> record, in thatie ttrticles whit'h I hod printed there. '
                Stlction 5 provides for (t regist.rntion 11( these types or w-enpons,
            iuducllng revolvers. Now·, •if we were to nssullle 'tho.t everybody in
             thl' United Stl\tes would come ,for\rnrd nnd register his weapon, l
            wo11ld·s11r J!O to it, nnd l would be w.ith this legislution heart ttnd soul .
             I n.m .n1't hl!Hiatecf witb tho Nationul Rifle Associution ond l nn1 not
      • · ullilinted· ":i th the nrms mnuuflicturers. I hnve never hn.d o. i'etn.iner
           .from u.ny or them. 'I nm not affiliated with nny orgnnizo.tion on this
           -subjert: On the other band, l ttpl cormected \vitll this organization ·.
             wrnrh, in. I\.. disit;iterestecl \Vnyk~.~9 ~o~ght to, le11rn whnt th~ .State law
            on the ·s11b1ect JS, 11nd t.O loo ..nt 1t 1mpnrtllllly from a d1S1nterested
       - - stit!ldp'Oint or formulating n.nd t'ec~mmending· to the $tates ll uniform..
            litw on thr subject., nnrl \ve looked 'ut this mntter or firearms regi~trll• •
             tion, nnd we considered"itrvety cnrefUlly .
                •-\n 0 tht>r o.n e of the things thnt surprised me in ~fr. Allen's state-
             ment is thnt he ndvocntccl this registmtiou pl'O\"ision1 bceliuse the
            dr11rt of 11 proposed IBW fol'lnulll't ed by the Nntiounl e 1•ime Commis-
            sion did not contain nny regiRtr1ttion featur'-0 1 imd I looked ut the
··         '<Lrnft of th'e net Inst nigbt agoin to veri'fy tlrnt t11ct. The nrst time I
          ·ever h£>n.rd Mr. Allen,. nnd I lit\ VO hen.rd bim for o. good mnny yco.rs
            sny 11nyt.hin0' about registration w11s when he stood here 1111d tn.lked '
             to ,vou gt•ntlemen about reglstr:11tio11 nm! tnlkcd of it ·,LS something
             wlucli, in · the words of St. Po.ul, wns I\ thing to ho l1oped fo.-. In
            other. words, everybody is not going to co1110 forwnrd 11nd 11egist.er his
            1m11. We 11ope tlmt some of tliem will, so WI.' incorpomte section no.
            5 wlthout 11ny penalty attached to it, nnd w0 bop<1 thnt more n.ncl •
             mo1·~ of them will come· forwn.rd 1mtl register their guns, ·s o tlmt us
            cncb ye11r rolls by we will hllvc more 11nd lnore registered gi1hs. · ·
                :\fr. V1Nsor-:. \\i'hnt is the pu rpose of the registrutiou of the ·g1m11
           now owned?                  -
                 Mi:· lMLA)·. The p111'Jl0S!'l or rcgi:itrnlhtn ia, tu.tl10it ·minds, frymkly,
           ii pohl'e meosuro.     ·                               . ·     · ·    , ·' •.
               Mr. VJ.NsoN. Whut · would it effect11nte? Thn J·egistr11tion is for
           t.l1e purpose. of dctormining ownership, nnd the time when the party
           owns it. ln othor wordH, thoir dnim is. with regur~ to registerin~
           rcvoh·ers nncJ pistols now owned tlll\t if they catch 1\ m11n with a
           pi'3t10J nnd it is not registered, it is l1ard for t hem to dotenniue whether
           i t wns nt·quired subsequent to th<I olffccth·e dnte ()( tho act or prior
           thereto. Do not 1111 rovolvcrs 11nd pistols .hnYe f1IC'tol'y numbers that
           ~et.ermine when they l'l\1'118 from the factory or wi1en tliey wofo •
           111nn11{n<'turod?                JA248                          Exhibit
                                                                                . A, Pg. 864
                                                                       ..
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          .
     Ivfr. hu.. A'Y. Yes.
     Mr. VtNBON. Would not that show whether the r;iln hu.d b~n
   acquired subseq_uent to the efl'eotive du.ta of thll net?
      .Mr. ha.._.\Y. Yes; and to that e.'Ct.ent it operates. To the ext.en~
   that they find somebody with ft contrabnnd weapon, not regjstel'ed,
   the aet succeeds.
      Mr. V1NsoN: Could not they find that without requiring this nntr-
   constitutional measure to be inserted in the bill?
      Mr. lMLAY.. It can be accomplished under a. Stute lo.w better than
   under a national law.                           "
      Mr. V:m110N. I know,- but even under this ln,w could not the d:IB--
   trict attorney, without mu<'b trouble, ascertain from tho !11otory when
   that gun was mo.nufactU:red?                                        'lo
      Mr. IMLAY. Absolutely.
      Mr. VINBON. Certainly a person could not IlaYe had it before it wn&               1
                                                                                          '

   me.11ufactured.
      Ml'. IMLAY. The system of identification from the factory, or-
   id~ntification in ·c onnection with purchnse, is fully•elfectivc.                        ~'(·
      Mr. VL.'ITSON. 1 am. speaking a.bout the pistols nnd revolvers t hat
   are now owned, before the effective date of the net. I think I co.n
   see a lino between pistols and guns now owned and those 11cquirea
   subsequent ,to the effective do.ta of the act.           ,    :
~     Mr. httAv: .Yes; it can be iiecertain!?d1 Mr. Congressmnn. U
 . can be ascertamed by that process, tho.t does not ho.ve the effect of
   ereating a great body of law-breakers, who do not tnke the time or
   the tro'u ble oo register their pistols.
      Mr. VmsoN. Ao<,! it con be ;iscerto.ined ·w ithout·Coagress enncting
   what might be an nnticonstitu\.ional provision?
      Mr. 1Mt..A.Y. Yes. The registration feature bas been tried and hos
   foiled, and I should invite yoUl' o.ttention po.rticulo.rly, Mr. Vinson,
   t o page 79 of volun1e 2·of the record,, where I have pointed out that
   t,he Arkansas lo.w pussed in 1923 reqlli.ring o. State-wHle registration -
   wo.s abolished the followin.g year as being unwo~knble,\ and there oll
   page 79 of volume no. 2 of the •record I have CJted the net. of 1923
   m Arkansas, and I ho.ve cited the act of 1924 in which the ·registra-
   tion feature was nbolished. Frankly the registration feature was in-
   tended to: aft'ect a certain class of lawless persons whose pistols they
   wanted to have registerc<J, but those people did not come forwo.rd .
   lt did not Teao.h those people, and then, on the other side, there were-
   a great ~any people who1 froi;n indi~fere~ce 1 stubbornness, or obsti-
   oaey, which was the same attitude Iflanifested toward the Volstead
   Act1 refused to register their JrUDB, and 2 )'enrs later I happened to
   be .111 Detroit, where the N ~tionol Conlere.nco was mectirig, and w&
   were discussing these things, and this registration feature, And one
   of _the leading citizens of that State which l)ad passed the registration
   feature.that year, in the spring of 1925, said: "Today is the dny 'fhon
   we· ate supposed to register our pistols. I am not going to register
    mine." Michlgan stilf hes tho.t rogistration feo.ture. l have no~ fol~
   lowtid it olosely since 1925. It was teenilcted in the ·aot of 1927, <but
    J ventnte to say th11t you r.an go to Det.roit or to 11.ny other city· or.
    town i'n M\cmgan an!l' you can fmd co"ntle.ss weapons which or~ not
        'ate'red r    ··      , : ,·            ··                         ·
    ~-he ·Ct:r'Arn¥1\:N. ·Ar1nyoo op11osed t-0 the:•1>rinciple-o~ Ngistryi.tion,
    either by tbe Stnte or 'tbe Federal JA249
                                          'Government?        1l ·     Exhibit
                                                                         , ·· , A, Pg. 865
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                                      NA'l'IONAL .l!'~ ACT.                         145
                  Mt«'lVLA.Y. l Bil\. opposed to the ronn: of registration, either by the
                Ste.to or Federal Government, that consists in requiting everybody to
               <!Oma forward and .register a pistol. It is unworkable; i't did not
                wor.k in .Arkansas, and they repealed it in Arkansas.
                  Mr. UJCKlNSON. What roll.SOD did he give for not registering?
                  Mr. IMLAY. He is a bad citizen; he is a good l~W-yer and a man of
                means, and I do not justify hl,m: It is bad citfaensbip; it is bad
               citizenshlp whether it is a violation of the V9lstead·Act or a violation
               -0f the Firelir~ ReA,>istration A-ct.     ·                 ·
                  M.r. CooPER. How many State!!' of the Union now have the State
               registration requirement?                      ·                        .
               • M.r. I MLAY. None, except Michigan, and, I believe, Wisconsin. .
                  Mr. CooPEn. You say the act in Michigan was repealed about a
               year after it was enaotea? ·
                 Mr. !MLAY." Yes.
                  Mr. Coo~E.R. ~ou cite the instance. of. one citizen '~bo, you sa71 is
               not a good citizen, from the State ofM1ch1gaii who declmed to ttgiste.r
   \'if.       bis pistol?        ·
                  Mr. lMLA\'. Yes.                     '
           i      Mr. COOPER. Does the con~ersation .w hich you bad with one man
               ~ont.ral yolll' conclusions or your views on this proposed legislation?
                  Mr. ·11.tw.Y. I did not understand.         ·                 ·
                  Mr. CooPER. Does that conversation which you had with one man
               <!Ontrol and influence your views on this whole subject matter?
                  Mr. I MLAY. No. I was told that was the general aHitude of
               rebellion.                                        .                 ..
                  Mr. CooPER.. Ravo you been to the State of Aikansas?                .
                 Mr. iltLAY. I b,ave been there flince, but I rely, not eo much
               upon being there, but upon tnlk.ing with men familiar with this
               su~iect.               ·                                      .
                  M.r. CooPJm. Have you mQde any considerable investigation of the
               sentimeqt down. there on that matter?                            ' ·
                  Mr. IMLAY. 1 am relying upon what was told me by my fellow com-
               missioners from tho State of Arka.llsa8, upon their .knowledge, what
               they: la;iew.        ·
                  Mr. COOPER. Is this man with whom you had the conversation,                  ')
               whom you spoke of, one o'f the com.missioners?
                 Mr. IMLAY. Yes.
                 Mr. CooPER. And you say he is a bn.d citizen.?
                Mr. l~LAY, Yes.                     ·
                ~{r. CooPEB.. I huve been interested in your observation relative
           • to the Mann Act.- with reference to the interstate questiOn involved
             bore. Would you objeot to a reusonublc rest.riction on the interstate
             transportation of pistols?                       •         ·
                Mr. IMLAY. Formulated in this w11y;yes.                       _    _
                Mr. OooPER. And you would object to any reasonable restrict.ion
             on the interstnto tnrnsportation of pistols?       ·               .
                Mr. I~Y\ I would not Mr. Cooper. I would be williilg. t-0 see
             an Mt pass"ed tho.t would dec).Q.ro tbnt when the pistol in the original
             package has crossed the State line-it becomes local introstnte oommerco
             and.i\!._s~bje_ct to 1oc.nl roguln.tion.
                MF: 'CooPER. Do you think your rather theoroticru views of 010
             lrentrornb of tho subject would work out very sntisfllct-Otily?
                    ·-     .
                                             JA250                        Exhibit A, Pg. 866
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                               :s'ATL01iAL FtnEAllMS  '
                                                     ACTr

         Mr. h&LAl'. Mr. Cooper, I OJO just bold enough to sny i tiaink my
      views o.re not theoret1clll but practical, tor this rcl\Son: 'fhati 1
      believe I au1 talking obout. l system of l'egulation tha.t is traditi()ll•il
      in this country,   ana  hos existed for 150 years.. It· is only within
      recent yeo,rs thllt. there has been any attempt · to make any exact
      identification of the purchos~, and mnny States, following th<>
    · theory of the uniform act, or, in some few States, following tlif'
      theory of the Sullivan Act, have proceeded by that sy.;tem of regula-
      tion, N.ow, if an Act.of Congress were to declare that whe~ the pistol
      crosses the State boundary it then ceases to be in the jurisdiction ,of .
      Congress, but is in the jurisdiction of the State, then the State or
      Ne\\" York could ~pply the Sullivan Act, or t he State of ~tQryland
      could apply their svsteru of regulation, or tl1e State of Pcnusyh·Miu
      could apply the uniform act, or the.·District or Columbia cottld npply
      the uniform act. I think .'·ou,were here when I spol<e of the .florrison
     A<lt.
      . Mr. CooeEn. Yes.                                              ·
        Mr. lMLA\'. You would bave what they ha,·o today in the HarrL.~n
     Act; ~OU \\·ould bnve the State and the'Xnt.ion working together on -
     tihe t.liing.                                                  ' .
        Mr. COOPER. Do you contemplate that the State a.utborities a.od
     the Federal outhoritfes will not work togetbn under tbis propo!uil?                      ••
     • M.r. IMLAY. Not if there is duplicn.tion .  ·
        Mr. CooPEn. Did I understn:.1d vou to sav tho.t nlthottgll th~
     Federal.Government.-passed tlte. Hnra·lsori N o.1•cotic Act, that then th1•
     various States ol the Union bnd to poss 11 similny· or identicnl net to
     that?                                                (
       Mr. IMLAY. Yes.
       Mr. COOPER. Is not thot. the t.ype of cooperntion 11nd \\"Orkin~
     to_gether thnt might bC> rensonnbly expected \tnder legislntion of t his                "
     type?
        Mr. IMLAY. 1n those local nlll'cotie :nets, t:l1e Stnte law' \\till uJti-
     mately supersede the national act.
        Mr. CooPEB. I respectfully submit tbo.t you are in e.rror on thrd..
        Mr. IMLAY. P erhaps I am.
        M:r. COOPER. From my experience and observation, thot is not the
     result at all.
        Mr. IMLAY. I will noJ contend with you on that.
        Mr. COOPER. It is my experiettcc in the <:ourts, altl1ouitlt my Stute,,._
     has nn aniinarcotic act, OS I recall, patterned after the 1fnrrison Act '.
     still <>ffenders are consfontJy arraigned before the Federal court. If··
     your knowledge of this subject matter is gained from your experience
     undrr that act1 I am afraid you are not making tbe contribubon her&
     that vou would h'"ke to make 11nd that we would like to Juive vou mo.kc.                  ,,
        Mr. IMLAY. ·it will rest with your judgment_ and the jodg01ent of
     your colleagues ns to whether I hn.ve or have not.\mnde tl contribution.
     I o.m wrong in 11sing the word "supersede.'' Let me qunliry that; lot.
     me qualify the entire stntement by snying the Unifonn State Ln.w is
     o nly 2 years old, so my answer is rather n. prediction than the state·
     ment of 0. C1rnt._. Whn.t I an~cipat.e is· tl1nt·the conviction on t·he ..ru1rt
     of the officers m th.e. N 11rcot1cs Bul'()nn thnt they needed the help of
     a State law, which caused them fo dtnft it, o.nd hns brought nbout
                                          JA251
     the eonctment of a Stn.to law, will men.n    t hat they will rely very Exhibit
     upon State contro1. Now what I o.nticipnle1 nod l mny' be' \\Tong,
                                                                            heavilyA, Pg. 867
                                                                                            " .
 '.,
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                                       NATIONAL FIREARMS AO'l'                               147
                                                          r
               and T say it with deference to Y.Our a~erienco, .what I nntici{?ate is
                th&t the bnlk of I.he responsibility will fe!lt upon the Stntc m the
               enforcement o{ those rules.                               •
                   Mr. CooPEn. Thero is no disposition on my part to nrguo with
               you. 'l nm trying to get nt something t1.1.11giblc1 something wo can
               tukc bold of, t.o see if there is sonic wo,y to control this mntt.er whioh
               wo nJI wnnt, you nnd 1, nnd I nm sure the other members of the
              'cotnmittee too. ?vly experience l111s not ut all been along tbe line ol
               thnt indicated by you with reCc,rence to the Nnrcotic Act. It eo
               bnppens that I 111wo hl\d somo limite(I <'Xperfonce with cnses coming
               under that net. l t hos occlJJTed thnt nn offender might be Uidicted
               under the Federal act ond ltnder tho Stato act nt. the same iime, pnd '
               in prncticc the Stnte conrt$, in my purt of t he country, will wsnt for
               tlio Federal court to net nnd yield jurisdiction of the mnttcr to the
  ' ,          Federal court. It li11s n)so been my· observation .that in my pnrt of
               the country there nrc pru·hnps 10 ol these narcotic cnscs proscmited
               in the Ft>derol cou;t where ther-0 would be one in the State court.,
               olthougl1 the offensc would be n violntion af both Federal nnd St11te
               luw. When you moke the stntemen~ U1ftt lt'gja1ation of t.his type is
               going to require Stn te l<>!ris1ation tbnt will supe.rsedr the li'edernl
               fogislnt,jon, and you baso tJ1ot upon the wcporience oI the N orootic
        - Act, m.v e.xpl"rienco j>revents me from foUowiog in thnt conclusior).
                   ~lr. IMLAY. I submit thnt t.o your judgment.
                   Mr. McConMACX. Whot State do you r.ome from?
                   !vlr. l1>1LA v . . I IUTI from ·the District of Oolumbin.                             -·
                   Mr. ~1cConMACK. l appreciate what ~1r. Cooper says, but I t.hiok
               that in our State our conditions Me a little difrerent. In my sect.ion
               there ~re a ~ot of proser.i~tions in the ~late courts., I suppose, if we.
               were cliscussm<> t·be question. as o. <JU€lStlO'D o! ~enence, 1 would nor.
               want the genUemnn to b e placed m the. pf}!lit.ion of ninkin~ 1m n.:gu~
               ment wlt'ich., at least, does oot support somo of the co11ditions which
               exist in some sections of the count ry. Tbere is n tremendous .number
               of prosecutions in t,he State courts in Mnssnoll\lsett.s, the minor
               enses. The Federol courts take up tbe serious ones, but tho police ol
               Boston cntcl1 some wit.Ji elope in their possession; They bring them
               in or ci,tcb tl)etn selling dope nnd tl111 Federol court muy Jt,ter to.kc
               jurisdiction, but there is a considornblo number of prosecutions in
               tbe State court.... My only reason for tbnt .is ·Dot to <'lltltrodict my
           \ friend from T ennessee 'but in order tht\t if Ywere in this gentleman's
           • position, and if I cntert.R.ined the sntne thoughts, r would llltLkC tho
               s1UTie argmnen t he did, f.t1,sed on experience, assuming I ugroo wit.Ji
               the gontlcrnnn.                       ·
                   Mr . hn.AY. Mr. Chnirmtll1, mo.y I conclutle in just about 2m\nut.es?
                   The CHAIRMAN. I J1ope you Will be o.ble to conclude soon. \Vo
         1. desil'c to finish t h1.1 henr1r1g t his morning.                  ·
                   Mr. 1111.:.AY. J nm willing to ngr<'t>, in rc.sponsc to the suggestions
               just m11de., froJn t\. police standpomt, from tho standpoint o ( prosrcu-
               tiot1, like Mr. All1rn, tl111t flu-re arc ccrtnin tilings th1tt might be done
               that wlll mako th(' lnw tight and will oid tho police 11nd sid the proi;c-
               ~l_lt<>rs, but you 111'1' Jt1 ~isJnti.ng fo!° .r.itfaetls ~d whe.n ,YO\l toke l~e
               lu.etory of firel\rms nnd their legitunatt~ 11~11 m tbc history of tJw1
               c•n1mtry, what do you find ? You find Hint law nnd order bns otwnyz;,
               liccn rnforecd by 't hr .<'itizen bodv nnd vot1 r:l\n. go no": into somo of
              ,011r rurol section~ 1111d you fBn       JA252
                                                         f1nd it Is plill true, ns Exhibit A, Pg.
                                                                                   it w11s in tl1c 868
            1
      Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 196 of 250
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     148 .                  NATIONAL FIDEABMS ACT

    enrly part of the Republic, that when the sheriff goes alter ii gangster,
    he cnn go fro~ housil to house nnd he can be sure Lhere 1s ~ house-
    bolde_r there with a Wllapou. It wa.s once a shotgun or a rifle, but
    it is now a pistol, !llld the weapon is as much a part of the eqµipment
    of thnt household ns thli Bible on t he mantle, but when. you 'go into
    th& city, and much of this Jogislatiolll has come out of the city, you
    find a differen t situation. I ask you, before attempting a system of
    regulation like , this, that you consider somebody other thnn the
    attorneys general, somebody ot.her than ~he police, and consider the
    Citizen, the one that is primarily affected. l thank you.
      · Mr. Hu.i.. I want to ask 2 or 3 questions. Using the tenn "fire.-
    arm" as it is defined in th.is proposed legislation,    ao
                                                             you think that
    tber~ is sufficient law now to properly and ndiiquately regulate the
    use o! them?                  .
        Mr. f.MLA Y. To regulate what?
        ~It. HtLL. The use of such firea:rms.
       Mr. IMLAY. yes.
     · Mr. HILL. That is, for the protection of society and having in
    view particularly the development of certain classes Qf ctltninals
    that have grown up in this country ·within recent times.
       ~fr. 11\Uu\Y. ·yes.                             .
       Mr. !JILL. In other words, you cfo not feel there is any need uf
    any.further re.g uh1tion of firearms'!
       Mr. hu.,\Y. . Not of Federal regulation.                             - -
       ~fr. HILL. You said it was impossible to l'cgulate by Federal laws?
       Mr. ilu.AY, l thljik 501 yes.                        . .        ";:•     --
       Mr. H1LL. Did you mean it wns ilnpossible, or is it from ym1r yiew-~
    point undesirable?                              .
       Mr. lMJ.AY , I tJUnk both. ~Ir. Hill, l think ·when 2vfr. Keenan
    fronklv confessed t.hat he got by the Constitution by making the·
    oontro1 ·measute n. t.uing mensure thn.t it is rep_ugnant to me. I t is
    repug!1ant for th!l Attorney: .Gen~ral to teU you .lie ~ets by the Con-
    st1tu t1on ·by calhng an act m th'e proan1ble .n tflxmg mc11sure and
    ending _by sayin15 t.ho.t it mo.y be cited us the National Fireanns Act.
       Mr. HtLL. If it is lawful to do it, it is not n cnse of getting by the
    Constitution.                              ·         ··
       Mr. IMLAY. It is side-step.ping tho Constit11tion. .                  ..
       Mr. H1LL. II you cnn do 1t lnwfuJly 11n(!er tbe tnxmg power, ~t JS
    perfectly legitinui.tQ legislation, is it not?
       Mr. IMLAY. Ii is legit imate when you tnko iho lottct· of thu luw,
    but not the si>irit.                             ·
       Mr. HILL. Y 011 ore opposed to noy li'cclcml rcg11ln Lion; th nt. is your
    attitude?
       Mr. IMLAY. Except inn luuitcd sense.                          •
       Mr. HtLL. And you !mY you have been working or~ !he flrtlpusul ot
    a uniform firon1·n15 regulntion under Stnto lnws?               ·
       l\llr. htllAY. Thiit is r ight..
       Mr. Hu.i.. You J111ve not eucccoded in obtoining u11ifur1nit.y in
    that respect?                            ·            _ - ·~
       Mr. IMLAY. We luwo mrtdo very good progress. Somo 10 or 12
    Sto.tes hnve .pnssod tho uniform oct.                         · ·
       Mr. RILL. But it l111s not in 1t m.ntorinl w11y contributed towurd
    thesupptcssion of kidnaping·tlnd bank robbery and general gnngsl.or
                                        JA253                           Exhibit A, Pg. 869
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                                 NATIONAL l"ITtEARMS ACT                           149
         oper111.ious thnt- cross Stote lines and nre not '";thin thu juri.sdfotfon
         of the State oourts, in thoir full nnd··eomprehensivc sco1>c?
            11r. IMLAY. Not uoticenbly, and I do nQt know tbnt nny fireDl'm
         low does, noticenbly.       ·                  .. ·
            Mr. Iln,i,. II you hove Federal regulation such as is proposed hero,
         whereby the Department of ,Justice nn<l the Pedcrnl See rot. Service
         force con take jurisclic'tion of the 1n0;ttc'r, cl() yon not t·hink thnt it
         would contribute lnrgely townrd the stomping out of tJ1is khid of
         crime, toword which t11e legislation is directed?
            ;\fr. IMLA v. I think not. If it woulcl, J v:oul<i bo for it,.   .
         · Mr. TREADWA v. I would like to follow you o momt\nt nnd plencl
         ignorance. You referred- to the 1_>ossibility of side-stepping- the Con-
         stitution. The one feature of tins hill tho.t nl>peols to nie iii ge,tting
         rid of nmchlnc guns.' H the Constituticm is s1de-stepped·to bring in
  ,·     a ta.xing meusure in orclcr to secure regllln.tion of this nature, why
         could not we side--stcp it once more anll provcnt1 by some kind of
         Fc<ierol stntute., the manufacture of m11cbme guns?_ \'\1l1ere, in the
         Constitution, are we so' terribly tied clown thut we co.nnot prcvc.n t
         the n1nnufo.c~ure of instruments of >mcb n. serious Jestructi\"e nntu~
         as these o'rc to Jrnmnn Jifo?
            Mr. IMLAL If the courts ore willing -to soy tbo.t a machine gun is
         so fo.r contrnbu,nd, or such n. dangerous thing; that wns the theory of
         some o( tl1e eurlier prohibition ~1cts. If U1e courts are willing to say
         t.bot n mocbine gun is a nuisance, o.n<l insofar ns Congress can legis-·
         Jato it legislates ~hem out of. existence, or for example, if they say
         they sholl not sb1p nny ntnchme gun ncross the border at nll, if the
         court.s will go thnt fur, I am perfectly willing to see some regulntiog>
         o{ machine pms thnt will confine their mnnufocture ond their use
         entirely to tlie police. We 11ave Mr. Treadwny,·n uniform mncbine->
         gun net.. I have not mentioned timt before, but tbis unironn mor.hine-
         gun net hus been approved by the Americon .Bor .Assoorntion, os '"ell
         ns the n1\tional conforonce, w])ich approved it in its 1933 meeting,
        ·and this law .is designed to accomplish in the States in legislation
         n.gninst inn.chine g(Jns the smne thing tbnt .the uniform net :s with
         reference to pistols.                                                       ,
            Mr. TnEADWA \', That is n t·ccom11u.mdntion you 11rc 1!111ldng to the
         Stnire?
           Mr, IMLAY. Yos.                                                  .
           ~tr. Tnt:ADWA \'. Jt has 11ot.hing to Jo           with tho :Fcdc-ral Govom-
         ment?                                            .                   ,
             Mr. l ML.A Y. I d1ink prrhnps n butter answor to your q\1ostion is
        .thnt thore is now prnding bcfon1 the Committee on Interstate and
        'Forc•ign Commerce of the Housl.'l ll.R. 9399, which is a liill t-0 prevent
         the shipment of mnohinA guns, submacl1ine guns, 'sn\vcd-olf shotguns
         i~od l>ullet-proof Yt~sts ·in interstate com.merce. I bcli<we · that if
         Congress Wt>rc to 'pnf;S that ncti 11s~1uning thnt the courts would con-
         stn10 it 11.s I think; they would, us ,sufliciontly dnnge.rous to prevent
         t.l1<'ir sl1ip111c11t. nlloget)rnr, 1 b11JiC\'!l thot la occoniplisbtid by that
         WI.                                                                               ~
            Mr. TnEAnwA\'. '!'hat, would not ~o ns for nii lice' J<'ctlcro1 prohibi-
         tion 11i;ain:.t 111roiufoct11r(', if W<.l 1.:m1l!l ~ct by ,\·ith thnt.
            :rvrr: ht LA'"· It. clocn.i 1101.
                                         JA254                          Exhibit A, Pg. 870
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       150                          l'l'ATlONAL FllIRAl'tMFI AOT

          l\ol r. TREADWAY. You spoko about whother tll(I conrl!I wo1t11i sup-
 (J    port s1ich a proposition. I am not a lawyer, nS prohnbly you will
       t'Oe from my line of questioning, hut what dofonso is thorn the POR·         of
       sessioll or manufacturo o{ nuicliino guns. outsi.do o[ thl\ country it.•mlf
       using them in cnoo of wnr or in connllctioll with V<1ry dnngcrom1 police
       needs? What other gooii purpoRO csu be ~orv<1rl hy tlm mnnufocturo
        of any such articlo?                   ·             ,
         . Mr. JMLA Y . Thero id no gooil .1rnrpos11 t>xcopt p olicl', hnnlt gl1BmR,
        Government irimrds in huiltlinJtfl1          ct
                                                  cotorn; t.l11.1y 11ro tho only onr.s
        th Rt bu~ht to hnvo thorn. · ·
           Mr. 1-n~:AllWAY, A11 a Jnatt<lr·of jnt<'roiit., in your j11clgnwnt how
        many' machine guns could ho usod for lct,ritimnto J>Urposcs 1111ch as
        you nl'Q naming now?
           Mr. IMLAY. 1 should suy, in U111 Distl'id or Cnl11111hi11 , p orhnp!I                                •
        100 ought to be enough. 'l'hera aro .some \\·11gons tl111.t .go nbout. th~                          '
        streets, from tho Trensur)' Dopnrtnrnnt to tho n11ron11 of F:ngrnving
       ·nnd Pl'inting equipped Wlth them:           ·                     ·
           Mr. 1'nEADWAY. This Jm..ci just come to my nt wntion t.l1iR morning,
        in n. very unoHicinl wily, but J undmi;Mtid U1nt t.horo is in thiR city
      - f.bduy 1m nutomohilo c»1111ippcd with mnchino guns thnt 'YRR cn11t11red
        in Chicngo by the Dopn.rtmont of .ht!lt.icm n1rout.ci thnt llllll tl10 most
       .comploto mcchn.nicnl dcvicr.A concoivobfo n~inflt lrnmnn lifo. . I cnn-
        not soo why some form of fogtslntion cnnnot ho onnr.0011 wifll1in tho .
        provi!!ions or the Constitution ti.int will uhsolutoly ovm~orno t ho
        posaihilit;fi not of tn\nsporting it in ink\n;tnto contmP-rro-thnt l 'fo(ll
       confident wo could r"gulate-hnt why p11nnit t!t(lir mnnufunturo't'
       As o. result or ponnitting thoir munufncturo, cvon t.houµh tJ1l'y muy ho
       tronsportod c:ontrnry to interatnto commerce rftµ11lntiom1 t.lll'Y run
       be usod in this to1Tibly dCRt.ruct.ivo wny on nn nutomobilr., mul t.hoy
'•     are sot off, o.s l .underatnnd, hy 1111 dcctricrJ connection.
          Mr. IMLAY. . 1 nm in fnvor. of Stnto lu.wR thnt forhid tho n111n11fnc-
       t11ro of machine gun~ <1xcopt for thoilft fow U!IO!I.
          ~Ir. 'J'nJo:ADWAY. You r.nnnot go AA fnr ns to s1~y tl111t. WI' r11n Ricl1•·
       step 'tho Const.it.ution s11fliciontly to prciv<lnt th(lit 111u1111fo<" t11ro'l
          Mr. 1~U.AY. l t.hinJ< tmt.. l t.liink :vo11 r1111 Jllli>l!I n hill whid1 s11y;>
       you cnnnot 11hi{> 111n<'l1ino J:."llll!l nc1..1!li;. :-it11tn lim111 . ..'.thot. i11 11!" for ~1:oi
       the Jl,fnnn Art itoes.                                                                        .
          ~1r. 'l'111·:AoWA v. Mr. lr.Ynn!l tn<'nlions on in lt>rl'~tinj! unnloi;o• of
       nprnm. A Jl'edr.rnl !ltnt11to· 111•(\V(1nt.q thnt. hru1'1' 1111rn11fnrt111•rll, ih11•>1
       it not'?
          Mr. hrLAY. J nm not fomilinr wi t.Ii Umt. I clc) lmt know 1\·lwt.l111r
       there is fl !lr.pnrnl(I Clpinm nrt >ol' not.
          ~tr. )ham. I wnnt le~ 111o1k U1i; wihu1Hfl 11 11u11st.i11n. l>o .vou)~now of
       nny 110WN' otJ1ot tl111n tl1C1 tnxm~ powl'r nml t.lw tmwc•r to r<'i.:11lnto
       inWTlllllto <~lllllTIHll'l'(I hy which WC ro11Jrl pro vonl. t,h11 lllllllllfnl't.Ul'll of
       l1rnnrnn1?                    ·   .    .     ·                 -
          Mr. I MLAY. 1 know i)f          no1•t.l1N' J>oWN'. !\h. <'h11irm11n, J .1.hi11k
       1 hav<• tn.ken 11no11~h t.i1irn.
          Mr. Kt~•:NAN. I wonclm· if f 111 i~la t lru p1•rmif.fo1I to osk lli<l 1\·ihlrAA
       ono quosticii1'f                                                     .          ·           ' ·
          Thi\ C nA11tMAN. 1L iA 1·01ht1t• 1\1\ 11n111m11l 1•111111r!lt.,
          ~tr. Kt~ f:NAN. 01:,.!f I 11111y hnn1 1.11(1 ljlll'!lfion 11!4kl'cl or thr witnos~.
          Tl.!<1 C'llAHtM/\N, vvitlio11t' ohj1•r.tio11, yo u mn:v n~ k n' 'lllMliou:
                                                 JA255                                       Exhibit A, Pg. 871
                                                             •
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                                                                Page 260
                                                                                                         151
            Mr. KP.ENAN. R(•fN'<lnco hn:i hnrn It> I.ho octioil of ~ mornbrr or I\
          committo<i with whi(;h 1.ho witnos.-i 11orv<1d, 1111<l l i;?Ot horo 11 fittln lt1tn,'
          ond l do not k11ow wh11t the rnmmit.t<'.tl w1111 1 hut 11 mmnhur of that
          rnnnmitt.cn 111111111 tho 01w11 i;t11tA.J1111mt thnt. Junlid not int<(lncl to 1·omply
          with thl' St.nt.c1 Jnw w li<·h J'N111irl'll rfl~i:1tr11lion or lirc11r11u1. I only
          W1Ult to know Whht thllt l'(lltllllitf,oo w11.i<; \V11>< thut 1~ COlil11tH.t,oo of tho
          Amnrimm Hor A>1sc1<~i 11 t icm on l fniforrn ~t1~l.1• L11w:<1, o:r how w1111 1,ft()
          ~\Olllllli tU~ l'hOS(lll?
              The C11A11ntAN. Cnu you 1\11s\~N' thc- <tHi>Sti<'n!
              Mr. KF.~:NAN. Yon toltl 11hnut u JU1Ul who .inid ho would not 1'011111ly
          with n Stuto lnw with rt'>llH'Ct to tho rcMi11tr1~tion oI ft pistnl, n romom·
          IH•r or IL com mitt.en with \'Oii,
     "-     Mr. IJ,tt,AT. 111' wus ,;ol- 1111 ·tho 1·0111111itfoo; ho wn>< 11 1:it,ii:(ln of
          l><•troit.
            Mr. K~:~:NAN . Wnll h<' intoro!ltcd ill tho uniform Stute. Jnw, or wns
          he ('OlllHWtt•il with it'?
            Mr. h!LAY. flt• \I'll!! t.olking with u~ ttlmot· our n(·t, and our 11ro-
          po~c!d Ut!t.                                                          '.
             Mr. 1'11EADWA Y. '.l'hil< hrl\ring, 1ms run 1Joni: J1r.rl' for Sl'Vllrol duv11
       01111 ht1!1 krpt j!oiu~ 1ilo11g t11t' :;mun linr'-'I. l do not, know whotlirr
       JIO.)' rc•11rrsr11lnt.iVflll or t.i1c imlustry, 1n1m11r1u•Lt1r(ll"!I o~ pistols, dfll'llM
       to hil 1rnrrl. 'l'lwro huvfl hrr11 gl'nlJl'Jttl'll lwro e1ontinuo11HIV r<•prr...
       "({ntiui,: the inclt1i;try, t111rl. i~ wo nrc ~uin~ to rn111j1lrtl1 th11 hc•ntltl1'9
       t.l1i:; morning, l wi:;h t.lwy 1111µ:l1t ht' giv••n tinw, if,t. 1(1y wnnt it.
           ,The> C'11AJn~rAN , 'f'ho Uhnir will stttlll tlt11t Mr.. Nid1ols wns in tnv
       ofli1·1., nnd ltr suid he would•iikn·!i Jninut••i.;.                                    ·
        STATEMENT               OP FRANK C. NICHOLS. VICE PRESIDBNT. COIT
                         PATENT FIREAJWS !UNUFACTURlliO CO.
 •
          ' Thci <'HAtRMAN . 'J']t(I f'l111ir will 11tn10 lhut. Wt\ 11111~1. if t'l)flf;(•nuhl.v
       pn1e11ihll\1 cl~o t,ho l1m1l'inJ..".'I hcforo 1ioo11. Mr. Nidwls, 1 tole! ,v1111
        tf111 of.lltlt iin,Y litnl if it. Wt\R 11~roo11hli1 1.0 tJic1 l'Ommilll'-01 WO WOnlcl
       f~ivo you !i minut.1·:<. J'lt•nflCl ~ivo ,\'OUI' 11111110 111111 i11 whnt c11p1wil,;\"
       y ou 11 pp~111'.                                                           -
            f\h'. N 1c1101.s. M.v 11110•11 i~ Fr1u1k C. Nithol~; I 11111 vico pn111lcl<'l\t.
       of Colt. J'11tc•11t Firnnr111>1 l\1111111(ncL11ri11~ C'o. l\lr. f'lmir1111111 111111
       1!•'t11l0t11£o11 1 fltrN' •II'<' t.wo point>< I wnut to htiu~ 111~, on!\ ·in whic·h l
       think · v1111 will he• ·p11rlic•11lnrh· inlN'1-st1•d, 1111m1•Jv, thr ·rd4'f'<llHlO t(1
       m111·hi1°1c>    !!"""·      Mv 1·mnp1111\: ii; lht• onlv 111111111fi1t·l 11rur of 11111rl1i1111
       l!flll~ in tltr l1uil1•1t' Stntl•ic1 111iil our l11q:1•~L 111111 ptin1·ip11l rlic111t i1< lhl\
        l htit.l'tl St.ttt.ci; Onvf'rt11nc111t. 'l'hn 1a1ll'hi110 1-(1111 ,,. 11111. tL wo11po11 th1l(.
       1'1111 liO U~l\d \vitlt 1111\111111!1'••0 of ('Oll\'l'rtit1 llC'(\ Cll'Ntllit1ftWl-io11 10 1111' dlll'll'I
       of r111w11l!l tlrnt th11 b<1p111·t1111~111. of J11Mti1•11 ,is 11rtor. \\'11 tlo 1101 11111ko
       H1th111u1·lrinu ~Un:;.                            ,
            Mt'. T1n:AnwA v. 'Vl111t i11 tho di,. 1i1u~ti1m l1111,w1•011 11 1111ll'hi1111 l,tllll
       11111l 1111hlntll'hi1111 ~1111'c'
            l\11'. NrcnuJ,fl. A 1111h111nc•hinl'- i,:u11 j,. n icmull ll'(lnpou, 11!1 dc>s 1•tll11' d
       Io you y<'.-;ttmln :v hy l\11'. I\ N'llJm, ·wh i1•h 1•1111 ho r.11 rriril 1111/IN• tho
       1·11111.. "' is •111I~1111111.i1:, wi I h 11 ii ro 111 rl•NI. l111ltli Ill! u:; lii~h IU' r,ou
       ••11 rtvi<l!'I'~, w It i1'11 !'Ii 111 ply ~pu rl<11 lil'I'.                                        -
            f\lr" VrNHON, \Vito n11tr111fiwt1m•:l th11>11'?
            1\11'. Nw110J.s, \\'1• 111111111r111·~11rc•1l I r.,ouo of ·u1u:1" i11 19:!1 f111· tho
        ,\11t11. (>i-dnn111·0 Co., Nc~w Yol')\,JA256          Thi\ At1h) 01~l111ittl'.t' ('11 ,Exhibit      A, Pg. 872
                                                                                                111·1• J'lf•'l'J'l'tl
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                                                                                                      I

        to on pngo 66 of r.h e J1earing of April 18. They do not nnd never did
       mn.nufo(!ture 11 nto<'l1ine gull or n subnrnehme ·gwi. How m11'11y they
       hnire foft, nnd whnt their method .of merrhnndising wns1 1 do not
       know. It wus.the jnvention oC Col. John Thompson, formm·ly Chief'
       of Ordtui.nce, nnd wns clcsiimed fol".purely o. militnry weapon, shooting
       only I), pistol Cnrt1idge, It W09 l)Ot SUCCl1SSful OS 0. military Wl'ilpon;
       ruid, 1u1fortuno.tely, I think we c.nn stu.te correctly, they._were n ·hit.
       cnt'elrss in thrir method of merchnndising. It got             mtu
                                                                     the Liru11ls of
       t.!1e dealers, nnd some of' the dealers were not entirely 1:eSjJ0115ihlc:
      ,r will nsk the privilr.ge of filing t his catnlog with. thC\ clerk, -illos-
       trnting nnd desrribin"' e.~nctl.v what a m11cl1ine gun is. 'ft; is not soli;I
       commercinUy; itjs sold for st:ric.tly militnr~· purposes to this Govern-·
       ment nnd to foreign governments, if we nre: .lucky enough to' gl•t
       foreign ~outrnels.                                                       ·•
                                                                                           •   { I;
           ~Ir.''VrNsON. Do I unclrl'stnnd todny thnt. there is lfo mnmtf11C't11l'er
       in this rourtt•tY 11111king o. s11bn1nchi11e gun?                      .        •
         'l'\1r. N1cnots, ~o, SJr; 1m)es.<i 1he is 1n11kiur it under·cover.
           The CHAIBMAN. T!u.•1-C would be -no objet-t.ion, if it is such u me.11t11•c:-
       to society nnd there is no demnnd• for it, to. n Jnw ngninst its being-
       trnnsported in inte1-stQ.te rommerce?          '              -      ·        ..
          Mr. NrcBoui. No:rie wbnt<.wer, nnd frankly, gentlemen, it s hould
      not be mnnufnt•htre<l.                                                 '. •
         Mr. HILL. "'11ere dill the mncblne g1111s come from thnt ore in u~~
      in this country now?                                   '          .
         Mr. Ntc;Ho~s, In     my opinion, they linV'e hr.en stoll\11.
         lVfr. }fI.LL. St-0lm from wl1nt source?       , ·          ·
         Mr. N1cu0Ls. Stolen from police depnrtments, priSQns, nnd from
      deniers who got them sbortly nfter the nrn1111fnct11.re bego.n, nod
      before they were stopped or fl.g reed to ~top.                      ·
         Mr. HrL.L. ls t.here u.ny importation of t.hnt kind of gun?
         Mr. N1cHOLB. Not to tny knowledge..
         l\1r. HILL. Where did the polif(e depnrtment.s·get t.beir supplies?
         Mr. NwuoLs. From Ure Auto :Ordnance Co. .
         Mr. Hn,L. Those 15,000 which.l fou murlUfncturod wcro1or the Aut<>
      Ordnnnce Co.?                   ·   '
         Mr. N1cnoLB. Yes, sir.
         Mr. HlLL. Tbo.t supR!y, is gp1d1111lly being exhnustcd, 1 t.oko it, ns
      Io.r as the -Auto Ordnunre Co. 1s concerned?
         Mr. N 1cn0Ls. Yes.
         Mr. TR&ADWAY. ·Those nre submnc.l1inc guns?
      . 11 r. N IOJJOLB. Y cs.               -
         Mr. RE~D. Shortly after the war, the Orqnnnce Dcpnrl-mcnt put
      on s:.le' qmte n number of gnns, among them some Colt .32 revolvers
      in a .45 frame, nnd t,bey wore sol<l to poop.le out.over the country for n
      small sum, I think, around $4, Did thC1y nt that time have mnc11lnc·
      guns for snle, in the so.me way?
         Mr. N1ctt0Ls. No, sir,                                    1.

 ..      Mr. R»EJ•, Do yoh believe thut these 1nn'cl1ine guns nro mnnu-
      Cncturod by the criminals themsclvQs, or through some orgnni;o:ntion oC
       tl1e criminals?         .                               · ··
          Mr. N1cB0Ls. Thev could ho, very cnsily.      ·
         Mr. HrLL. Wher(l i1o they got tho ummunjtion for tho subri\nehin~
       gun?
                                           JA257                            Exhibit A, Pg. 873
                     -- .
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      I
                                                                                     ."
                ) •( r. N1caots. They con buy the-amm'~ni~ion 'nt ~~y :sporting-goods
           st-0re.          ··                  ..        .             .... .   •                  •'
                !vfr. V1NSON. They shoot an onlin1u-y pistol cil.rtridge? ·
                Mr. N IClfOLS. Ycs.                                 ,                     •
               The CaA1nMAN. Ofwbatcaliber? .. . ;·:
               '.\fr. N1cH0Ls..45.                      ·                     •         ,                .
         · Th'e Ctt.AJRUAN. Referring to the question of }[r. Re&! 11s to the
          -possibllit.~· of ~nnnu~ncturing machine gu_             1!s by the u~}l_nwful clemt:nt,
         it would rolJmrc qmte a set.up in the way: of n foc.tory. to do tbnt,
          would itnot7                       ,-           ·-· . .      1·                 •     •       · .,
         '-'.l\fr. N1cHOLs. NQ, sir. You 11re reforring to the machine guns;
         l 11111 referring to thesubmnchineguns.                        ': ·
               The CHAIRMAN. I nm tolking abont snhmuchine guns. . .                                ·
               ~Ir. N1ctt0Ls. A cle,•er gunsmith or o, clever locksmith ·could _p11t                         '
• I '     <>nt:    of thos~  together IH1t it   would     be-t1   c-rttde    job;-although  it would
         shoot.                             •         .                · .         :.               ·
               '.\fr. H 1LL. )fr. Treadway referred to a f11Jly l'qui1iped niltomobile.
               '.\1r. Trend wny. Yes; it is in the.city today. .                                      .
               Mr. .H f LL. Thnt was not o. crude·n.ffair, wus tt?. · '
        I ~fr. NICHOLS'. That Jnny hn,•e bclin u Thompsbn submachine.gun.
          l cannot conceive, if you will study that catalogue, how tbey could
          use n. mnchine gun.                       -
              J\1.r. TREADWAY. In n.n automobile?
             · ~fr;· N'1cn0Lt>. Ye8; in an automobile, or 1mywhere else. ·l\fa<Jh1ne
         guns nre only m1muf11ctured by my company ·in . tliis coimtry, o.nd · .
         thev nre ·nil cham bercd, for shooting the high-power military ,cart- · ·
      ._ ridge. ·· -          •                   .               '               ·               '            J
               The CHAIRMAN. \\'l~nt is .t he t1pproxi111ute weight of o. innchlno
         gun?                    ·              ··                   '" .
           , )1r. N tcHQLS. Sixty-live to ninety pounds.
           1 The CnA11t~rc         They nro too hea·n' to"be. cnr1ied:
           I !\fr. 1\tCHOLS. •CS.              •
                                                                      '
           1 :\>fr. \"JxaoN. Yo certainly could equip 0.11 nutomobile wii.h -. a
           1~111chin<1 ~uu.       ··           ·       ·     ·                       ·,
            l Mr. Tnt:AOWAY\. T~lnt wns whn.t. I \\'RS told.
               ~fr: V1:-isoN. Yo!rlmdouhtcdly ci>uld plnnt 11 mnd1inc gun in ,an
           1rntomobile and use it from IUl automobile.
             I ~fr. N 1cn0Ls. Jt .would. he 11 very inconvenient. thing to do nn!l I
           doube \'ery much if any cri111innl or crook or racketeer would rci;o.rt
          · tb thnt typo of w!'npon. .                           .. .          .
             I ~fr. EvANS. ) - 011 said your mo.rkQt wus nlmost e."\~h1sivelv to the
            t; nite.d l:'tR ws Government?                                  ·
               Mr. Nti::UOLS. Yes; and .such foreign go\'('flllllents ns we enn i;('ll,
            I  ~1r.,EVANS. Do you have nny.othl'r demnnds ut nll?
               ~1r. :NicJtoLs. No, sir.          ·             ·
                                                                                                                   r
               ~1r. E VANS. lfyou should h1wc, would you sdl one?
                J\1r. N1cHOLS, No, sir. .                  ·
                '.\fr. Ev.ANS. Are you .restricted by law or re~ulation or otherwise1
                ]\rfr. N 1cnoL$. Not thl\t 1 know of, c~octly,
             Mr. Tni::ADWAY. You use your                  own good judgment. ns to the
           ~ustomers you ought to deal with?
                ;\Ir. N1CHOL8. Y es.

                                                     JA258                                    Exhibit A, Pg. 874
                                                                                                         I
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          · ·Mr. EvANS. Your ron~en1·woulfl not,, 1m'ci.er nny wnd\tions, sell
           anyone but··somo..P?hlfr func\,ion1.r,r or K,Over.n montnl H! ·cmo~·? ,
              Mr. .N 1c11oi.s. Either the. Governmcmt or n· duly at .• hor1zeu sµb-
           sidiary thereof.                      " ·             · ·            .        ·~
              Mr. Ev ANS • .Tho.tis nn ~varitible rule th,at rou }),ave?
              Mr. NrcHoi.si Absolutely; there is no oxce)>tion ..
              Mr. Ev.ws. H ns that alwnys beenyo.ur rul~? . . ·                              •
              Mr. NICHOLS • .Always.               .     . . .. " "                       .    · .·
              Mr. Ev ANS. So thnt any machine gun that may- be in the ho.nda of ·
       _• racketeers did not come through your soles department1.or otherwise?
              Mr. NICHOLS. No,:sir; and furthermore, I <Jo not~betieve there are
           any mnohiae gt.m s in the ~111.nds of racketeers; submachine gups; ye!:l,
          but we never sold those.                   . ·    -'   . · "              ·
              Mr. EvANS. Yon.sold' 15,000? ,                      .
                                                                                                                          ••
              Mr'. Ntcno'Ls. Yes; t-0 tl1e Auoo Ordnance Co.                                                      1(
          . Mr. EVANS. • Are t.hey restricted in their !lnle or distribution of those
          moclllne guns?                   ·             · ·        . ._                     ·        ·
              Mr. N1cnor;s. I do not believe in the ~n.rly days.they were.
              Mr. EVANS. That hns not·been·so long ago.                · ..
           . Mr. N1cu0La. It was in 1921.                                                                        "'
              Mr. Ev ANS. That is 13 years ngo. Those macltlne g uns could very
         .well-be in use yet, cotlld tl1ey not?           ·                              . · \
         · . Mr. N1cno11s. Yes; they nre in use. ·                                    · ·      ,· •
 .            Mr. Ev A.NS. Do you think those are the ones in the hands of the
 ' '      racketeers?                          '                        .         ..             • "
             ·Mr, NweoLS. Yes,~.                      ··     . . .            .                    .
          ' Mr. Ev.A.Ns. Tluit explnins where the racketeers OJ'C getting·machine
          guns, i n part, nt lea.st.         . · ··            . ·                     ·    •            '
              M.r. REED. That ·exactly is the point I wns· trying to make when "
          I questioned tbe witnes$· before, that right after t he war they sold a
         -great number of implements suell as revolvers and things of that
          kind as surplu.sage.. They had been slightly used but they were
          apparently .in good condition. Doe!:l anybody know hQw many or                                     \
          these machine gnlU[ or submachine guns the Ordnnnco Department
          sold indiscriinrnately'/                                          .         ·
              M"r. ~EENAN. They did not sell any. He refers· to the Auto Ord~ ,
          nnnce Co., which is a p r ivate· co'rporat.icin. Mr. Ryo.n, the president
          of thnt oompany, has already a11pe11red. As I understand, the Colt
          Co. man ufactured and· seld 15,000 submachine guns to the ~uto ·
          Ordnance Co.
              Mr. REED. Wbat did they want them for?
              Mr. }{EJ!<NAN. They owned the patent on the Tl1ompson machine ·'
          ltlln and they wanted t~em _to &ell.at a -profit nnd ma~c some money;
          1t wns n puro commercinl tr&n·.:1nct1on.             ... . : .              '                 ,
              Mr. REl'D. They '>old thorn to nnybody1 mdiscnmmntely?·
              Mr. Kt<:ENAN. They sold thern to dealors or nnybodr tpnt wanted
        . them. l think tl1orc is no mystery about, that; I think Mr. Ryan·
          \vould admit it.                       .                   .          ·           .       .
              Mr. Ev A.NB. I Wlirit. to know ii this bill is oriact.cd"into lnw, would                                •
          it bo possible for anoihbr batch of submachine guns. to· got into the
           mnrkot in some wa)'.'?        •
              Mr. NrottoLS. I do not soo how. .
              Mr. Ev~NS, ~do you sny, Mr. Keenan?
                                                    JA259                                 Exhibit A, Pg. 875
                                                                                                       -     .
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                                                                                         155
           Mr. :KEENAN. I tllink in the firs~ plnoe there ia not. illlY legitunate
          manufncLuror o! machi ne guns.
           Mr. EvANs. But tht>y could still manufacture them.
           Mr, KEENAN. I imagine they could, but it would require elaborate
         cquip)ncnt:                    \      ·                ,
         · Mr. V1~sot1r. Th.'}y enn st.ill !llanufncture, oven with the Ill~'· .
           Mr. EvANS. Why not make 1t strong enough to make thnt1mposs1-
         blc?                                                 ·                  ·       _
            Mr. VrNsoN. You run into !the constitutional l)l'evisione.
                   The CHuRM~. lt would be a q uestion of whether you took the
               profit. ou t of it.                                                  '
                   Mt. Ev ANS. I am in tavor of making it im1)ossiblc to milnu facturo
              inst.nimcmts of that kind.
                   ~Ir. TREADWAY, lsn 't tfiis the unlortunfite situ&tion? .According to .
   11• '      Mr.      Nichols, I\ subn.11101\ine g'!n, crude th~ugb it mllY. be, on~ be put . -
               tog.ether by an ordmat1ly bnght mcchon1c. That is the s1t11ation,
               and if th11t·is going to rcnch the racketeer, you cannot ovcroomc it.
                   Mr. J:<;vANS. He would be a . bootlegger in the business, ond you
              tlllnnot. stop bootlegging.                                     .          .
                   Mr. TREADWAY. You say that so fa.r os 1.he present supply of t~ese
              dangerous submachine guns is concerned, you think they ure boi11g
              llll'l!cly stolen from police hendquarters?
                   Mr., N1cJioLS.,,Thoso used by the gangsters. The Auto Ordnance
              Co., as l undcrstaiill, still ,hnvo, lfut I do not know how many, a quan•
              tity oi the 15,000 thnt wc1'.c made in 1921.                  '
                   l\ltr. TREADWAY. 'Vhcy~rc allowed to sell them without any re$tric-
              "io11s'l
                  !vb. Nxcaots. I think not.                  .
                   MF. KEENAN, There is no Federal law.
                   Mr. TREADWAY. They ore situated in New York; is there 11 New
              )," ork State lllw that prohihi ts tbem from being sold in the Stato rif •
             New York?                                              .     .                   ..
\,
 \                 Mr.     KEENAN.   I  cannot    answer   that.      Jlre
                                                                    There      severnl States
              , ,·hich huvc luws. Illinois hhs such n lu.w 1md 't'exns hos nlso. · · • . ··:· .~
             · Mr. TREADWAY· . New York you d'o not know about?
                   Mr. KEENAN. l can.not answer that.
                   Mr. TnEADWAY. I fLS!lumc these ure storod in New York?
                   Mr. 'KEENAN. " re have on agreement, a code ~ement., whoroby
              thoy do~ot distribute or sell tnem to noyone wtthou t. the s~ifio
              permission of tho Department of Just.ice, ll.tld I would like to hnvo
              tho l'Ct'Ord show that this company hOB lil'ed up to that agreement and
              bna acted in an honor1lhle foshion.                ·
                   Mr. TREADWAY. len'~ it i1 !net that those three men who nro on
         '. trinl for murder in Muesachusetts today, in connect.ion with t.ho kill-                 •
           '· it1g of•~ policeman nud bnnk officinls secured their big,supply' of those
              ~oarona Ii 1 nn e:.xhibition in nn armory somowI1ero in Massachus11tts
              which they              'nto?
                   Mr. NtcHOLS.         at ie my undeTStooding.
                   Mr. 'fn.tA.DWAY. Ao<! th11t is nn illuetmtion thn.t led you to say
              tbnt the prest1nt &~'J'.)ply iiJ beisig st-0len, I llilsutn9? . ·
                   Mr. N ICROLS. 1'. \18.
                  Mr. EVANS. Mr. Chnirmnn, it occum to m11th11t13 years ego when
              hod'1lru>nl n111hority to b,uy l\ndJA260
                ·~                                                       '     .
              lhie concern bo11gl1t these 16,000 eubmo.ohino guns, it 'Ulldoubtodly ,
                                                     sell them nt· that timo. IsExhibit
                                                                                  it.not A,
                                                                                     '
                                                                                            Pg. 876
                                                                                         vory'
                                       . •.       I
                                                            I                               •.
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          likely that they have the same legal nuthority to sell them n.ow thAt
          they had then?                                           .            '
            Mr. NICHOLS. As far u.s I know. ·                                           •
             Mr. EVANS. You would know about it iI New York had passed n '
        . .law in the meantime? .       --- · ·                  · ·    •
             Mr. Nicaoi.s. I do not know of any law in New York that·covers,
          that point.         I                               .

         · Mr, E~ANS. I (>1'6S\lIDe they- are selling those guns yet,           ·
             Mr. VJNSON. Mr. Keenan, as I undsrstood him, said. that they had
         s!g~ed a code ngr~ement and that this concern .did not sell the sub-
         m&chine gun except whero_:mch sule wns approved by tho Depart,.
          ment of Justice.
           - Mr. KEENAN. That is correct. We have no practical problem ·
         with reference to machine guns mado by legitimate manufacturers or
         dispensed by legitimate persons. There are, in several parts of our                 ' I'
         country, bootleg organizations tbo.t are manttfucturing t hem., in
         accordance with reports from special agents.
        ' Mr. V1NaON. You are speaking of submachine guns?
             Mr. KEENAN, Submachine guns; yes.            .             .
             Mr. McCLmTic. What is the name of the company that owns
         the machine guns in New.York at the present time and bow were they
         acquired?
             Mr.'N1cH0Ls. They are named the Auto Ordnance Co. I do not
         know the address. We ma~ula-0tUNd u~er a...contract in 1921 1
          151000 of those submnchi.n e guns, not. machine gunA, btrt submachine
         guns,·for them.               ·
             Mr. MCCLINTIC . For whom?                            -
             Mr. N10a0Ls. For the Auto Ordnance Co., Nnw York City.
I            l.\ilr. ~{oOL1NTtc. ·They bought them and p!lid the regulor price?
             Mr. N1c110LS~ They bougl1t thent rutd paid us tbe conitnct price.
[         \~e had nothing to do with tb~e sale or distribution anywhere at nny


I         t11ne. .                                          -          ·   .
             Mr. TREADWA Y. Until there wns a (',odeo.greementreached with tlto
          firm, they •Were abl~.. to dispose Of them le.gitin111tely to SUt'b CUS;              .,I
I.        tomers as miltht apply, without rp.striction, either of a 1''eder11l natul't'
          or under tho 'New York Stnte lnw, 11s fll.r Rll•WO can learn.
             Mr. ?vlcCLtNTtc. Do you bave llny information as to ho_w many
          they now ha'Ve on hand?                         ·      .
             Mr: NrcnoLS. 'l'hey have never ordered ariy since the original
      • · contractt imd I do not beHcvc th11y will. If th11y r nn get out of thnt
          <l11nl whole, I do not think th<'y will go hack.
              Mr. Hn.L. \Vlint wns th e other proµ osition you wantod to submitf
            · Mr. NtcHOLa. It w11s 11hout J.he tnx in tho n11•1is11ro under discussion,
          nnd for this reason, for in11ny, many yonra wo' have distributed our
          product through a selected number of jobbers, wholesale.rs, and
          retail de11lers. Vi' e do not sell to tho (',onaumer or the user under any
              . umstances. TJte~re is DO profit in this business, to speak. of, to the
          <:ire
          del_ller. He ~ill not pay this t.n.x ; ho will gq 6ut -of business.. You c11n
          quite approc1ate, I ohev<', whl\nl thet 1.-aves 1Ul:' ·\Ve will not et\11
    ,     the user; we refer him now to bis nonrcst deruer, give him the name, if
          you please if thni will help him amy. I dm1bt ~ery much', gentlome.n -
          af; under tbia measure we woi1ld bo just.ificil in continuing in this.1u1111il
          "rms business. •                                          .
                                                 JA261
              Mr. TRr.:ADWA y, Yiou n;ioan piAtol11 and  rcwolv'1m?             Exhibit A, Pg. 877
'                                                                               I
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                                                                    .
             Mr. NICHOLS. Yes· spto.king solely ns to pistols a.nd revolvel'S.       -
            Mr: Tn'EADWAY.     You    Iceh tbn.t the inconvenience of this registra-
        tion and the ta!'Cation wouletpracticall.y do away with the demand for " •
        legitimate sale of your goods?                      ·              .
            1"1r. N rcHOLS. Yes, sir.            .                .          ·
            Mr. HILL. You have reference to tho sue or the ta7'; not' to the priD-
        <.'.iple, but. to tbe amount of the tn.x, {lo you not?                 ·
            Mr. NICHOLS. Yes,· to the 11IDou11t of' llie tnx; nnd ruso I a.m con-
        sidering that in many Stntes n. law olrondy exists where the dealers
        pnys such a. tax to handle smoll nrms.            ·                      ·
            Mr. H1Lv. If you take away tl1e tax feature entirely, this bill goe.s
        out of the picture.                                                    ·
            .Mr. Nrnnois. I undershw<l thttt.                      '
            Mt. McCLrNTtc. ·what otJu~r articles does your concern manu-
i
        facture?
            ¥r. NICHOLS; We manufacture
                                        ~
                                                a
                                                                      .
                                                      molded compound material,        . .,'
                                                                                              .
        such ns bottle cnps, tube cops:, nnd certnin lines n{ electrical equip-
        ment. We me.nu!acture d~h-wsshing machines Qf large types.
            Mr. McCLINITC. Y 011 do not manufacture shotguns? · .
            Mr: NtcHoLs. No sir.
            Mr. McCt.mT.Ic. Not.bing of t.hat character?
          Mr. N10H0Ls. No, sir.          •      .
            Mr. McCLINT1~. You d'o ho.ve quite a.n e:ttensive foreign businees,
         d.o 3'0U not?                                                   . ·
            Mr. N1cROLS. On n.rms we have had, up to the pl'esel)t depression.
            Mr. McCLINTic. Then Hie placing of o. ·to.JI on pistols does not
         necessRrily ,mean that your concern would go out of business?
            Mr. N1bR<>Ls. No.            _                      ·1
       \ 1\1.r. McCi..tNTIO. What you have in mind is that you might sto1>
         tno.king pistols?
       '-.-Mr. NtcaoLs. \Vo might stop making 11.Dd selling pistols. I
        'w onder if you gentJemen want tho.t brqught about. ~we were very
         Vl\hiable to the GovNnment during the war.. We cannot maintain
         a plunt to assist the Govenunent in cu.se of wnr, unless we co.n stay in          ..
         the business. We have been in business nee.l'ly 100 yen.rs, an honor-
         11'h!~ business and n.-Je.gitimo.to .business. We '11ave US6d the utmost
         co.re in the distribution nnd sale of our product. .
            1\1r. 'VINS-ON.- What is the average Stnte tnx upon deniers lor the
         slile of pistols and rovotvers?                          ·
           '}.-Ir. NtCHOLs. 1 am very sorry, bnt,I cnnnot give tho.t.
            Mr. VINSON. Cnn you give tl1e 1n11ximum?                '
            ~ir. NICHOLS. $5 to $10.
            Mr. VtNSON. This substitute '&Ill, ns I see i t, cnlls upon .t,he donler
         to pay $200 a year. That is quite some ditTerenc~
            :Mr. McC'uNTJC. WhBt wo11ld be t.ho <'ffoct of th.egisln.t;iqn if'n.
         now provision wore ndded which wo11ld exempt duly organized rifle
         clubs or pistol clubs, o~nized under some Fedl'rnl supervisionf
         Would not that· nllow those thnt are intorcst.cd in nmrksmnnship nod
         pistol shooting to oorry qn in n. sntisf11c~ory mnnne.r? ·
            1'1r. NICHOLS. To I\ certnin extent.
                                                                                          '
            Mr. McCLlNTlC. l think that snoh U: provision along IJ111t lino cifu ..
         bCI odded to the lC1gislo tion.                         · •·          ·
            Mr. N1cnoL~. ·The prose!'ltnt.ion 1uong thnt line by Oenernl Reckord
         yeaterdny, I tlunk, covel'S it very Cully. I am not 1t.lnwycr; I am a
              n8278-H4':--11             JA262                          Exhibit A, Pg. 878
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         plain, ordinJP'Y busID:esa man, and sometimes I tJUn!c no~ a "Very good
         one. The other _pomt I w~ted to touch upon JS this: That the
         rascals that the Department of Justice wants to get hold of is a
         difficult matter. The first thing the Tacketeer and the bad man
         does when he gets hold of a gun, and they .w on't bi.ty it; is to chisel
         out every identifying lntll'k on the weapon. We keep a record reli-
        giously, and we ask our customers to keep a record of where they a.re
        eold.                                              ·
            Mr. H~L. This bill provides against that; iii rrovides for that
        contingency, where they.obliterate the number1 as understand.
            Mr.'N1ceoLB. Would that stop hiIQ from domg it?
            Mt. Hn.L. It would not stop 1iim from getting the gun.
            Mr. N1cnoi.a. Would it stop.him from taking off the.number?
            Mr'. Hn.r.. No;J>ut it would make it an oflenseif be did take it off.
            Mr. NICHOLS, JSut you ore talking about the registration.
            Mr. Hn.L. It is not expected, as I understand, that he will regist.er.
            Mr. N1csoxa. No.
            Mr. Hn.t.. He will bave the gim in his possession; he may have
        chiseled tbs number otf1 but if you find him with that kind of a gun,
        not ~t.ered, then he 11as comm.itte<l an offense.
            Mr. Nrcuor.s. What is not regi_stered? He does not register in .the
   ,    fi:nrt. place. I may be thick. on this; Mr. Keenan ha11 been ·the soul
        of courtesy to me on two <?CM8i~ns, but I ~llllll~t get through
        where the matter of registration, the licensmg, tbe 6ngerpnnting,
                                                                         mr   h.ead
        photograp~, if you please, are going to get that bad man or hefp
        to geti him..         ,
            Mr. RBlilD. I do not know that I can make it clear t.o y ou, but here
        is my understaading: That if they find the man with• 1the weapon,
        with the number chlSeled off, the then has in his possession l!Otnething
        unlawt~i and it raises a· presmnption of guilt against him.
             Mr• .NICHOLS. Yes, sir.
         · ·Mr.. REED. And that aids the Department of Justice in the prosecu-
        tion of tJ\e man; that is .the theory of it.      •                           "
            Mr. HrLt.. It enables them to hold him until the case is investignted .
            .Mr. VmsoN. It subjects hinit<> a fine of $2,000 or imprisomnent
        of noe mor6 than 5 ye8.l'!!.
            Mr. NICBOloS• .Even SOj nut    wliere is the advantage of registration?
            Mr. Ev..ws. It seems to ine that is the answer.
             Mr. VINSON. Hie point is you could have that offense for that
         thing without the necilsRity for registration. You can trace a revolver
         from the factory; it h118 boon done hundreds of times; it is more cum-
         bersome,_ perliaps, than if you ·simply had to look at a list. The point·
         tho gentleman is makin_g is "f.O~ could have_ li.n ofrense with !11gard
        .to the erasure of an 1iientifymg mark without the necess.lty of
        registre t.ion.                ·                   '
          Mr. N tcBOLS. That is my understn.ndjng:           .
          MT. EvANs. The primiµy purpose of the r~tratio11, as ·1 get it,
        is to ~isb a means whereby one may have le19timat.e possession o( a
        gun. 18 tt not?
           Mr. N1cmot.s. I beg your pardon?                    '
           Mr. EvANB•. The p1,1rp0se of registrt\tion is"f.Q legitimatize the poa.-
        aesSion. o( firearms. ·
          Mr. Ntcnot.s. For pistols and rev11lvere.
                                        JA263                        Exhibit A, Pg. 879
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                               N.&.:rlONAL l"fBlUBMS .Af!r     •                169
          Mr- EvAl'iS. 1 have o. pistol which wns given me 25 yelllB ago. i
       h11.ve not soon it lor-10 years, but U this law passes I will have to have
       that pistol registered. That meal.IS T, 11.m in 1&.wful j>O:SsClSl!ion of that
       pistol and nobody' can gues&aon it, 1>ut if my neighbor h88 a pistol,
       not registered, as Mr. Reed points out, there is some presumption
       that he has that illegitimately. Is it 11ot a good thing w have the
      registration, then?                              -                           . ·
         Mr. N ICBOLS. I am afraid on certain of your questions 1WJ re1)ly
       would be prejudiced because I am in the busineis. -
          Mt. MCCLINTIC. I have before me a statementi ol lour company
      whichs.hows that in 1932 you had a profit of $20,795 an in 1933 it had
      increased to $675,132. I WllS just wondering whether the increase of
      law violation, gangster operation, and so forth, had brought . about
       any increase m the sale of articles which you manufacture'! .
          Mr. NrcHOLS. No, sir.
          Mr. McCLJNTIC. How do you account for this enormous increase
      in profit?
                                                                                        .~




          Mr. NtosoLs. That increase in/rofit as you haveJ"ead if, was in
       connection with a con_tract I close with the .Argentine Gover,mncn~
       fu 1926, and for one reason or another, we were unable to find out
       we completed this contl'act but they did not pay it until 1933, and
       that is reflected in tho increasG. Tlist wss for machine guns.
          Mr. McCLINTJC, That is anticipated profit?
          Mr. NtoBOUI. They paid it in 1933.
          Mr. McCLINnc. Then the impression is lmt by you·\vith the com·
       mitteethatyourcompanydealse:ctcusivelywith manyforeignDAtions?
          Mr. N1caox.s. Yes., sir; we did prior to the depression.
          Mr. McCLINTIC. The (act that we would put in a limitation on                    I
       pistols would not in any way cause you to go out of business, would it?
       It might reduce your pistol sales to a sm8.ll e.tjent, but it is liable to
       be made up by some ·sttuation in foreign·cOJmtries whieh bring about
      -e.n inerease in business.                 -..
          Mr. N1cBoLS. No, sir; not in sme.11 arms.
          Mr. REED. The thing 1 have in ntlnd, l cannot see· the point in
       t~~&l these small dealers. 'I will take my own home wwn, which
       is typ1ca] oi many town-; in °?Rn~$trict. There are several htndwaro
       stores. One man will be se ·         arms beca~ b<i handles .t hem in
       connection with sporting goods. I do not kiiow how many such
       there might be a dozen or more hMdling firelU'IllS. Hyon           rut
       stores the.re are in DlYi town; I suppose in this little town .of 17,000
      •of S200 on them, I can see where 9 out of 10. would go out o business
                                                                             a tax
       rather tnan pay any such tax. The. profit is too small.
          Mr. 1'{tcsoLs. ~d you would put that tax on revolvers and pistols,
       where he may sell 8 or 10 a yettr.            ·
          Mr. REED. I think the tax is too large; I do not t11ink it accom-
       plishes a.n:y great purpose. You may require them· to keep rec~rds,
        but when it comes to a tax of that size, I think .i t is too llU'ge.
          Mr. MoCLINTIC. Does the gentleman have in mind the t hought
        that he pays no tax on the kind of firearms that are most in demand,
        shotguns and rifles, which are the two killds of weapons bought.by:
        the sportsmen?                 ·      · ·•
          Mr•. REEJ>. A lot of pooplo havo Mbbiee. . I b3ve qllito a number
        of tevolversl· I like to ·shoot at tlµ-gete. I b~ve a .22 Colt and I
        have the Co t,.32 in A5 lrames1.whioh I toke down to the f&nn and
                                         JA264
 •                                                                      Exhibit A, Pg. 880
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                                         I

           shoot at targets wtth, It is o; hobby. Alter you use one so_Jong,
           you like t.o try something new. I can see where t.b e small dealer·
           will sell a number or such W'eaj>ons.
              Mr. McCLINTIC. We are bound to admit that it would reduce tho
           number of dealers.
              Mr. "REED. It seems we migl1t a.ccomplish the purp<>se without
           destroyirig the dealer, without to.~g him out of business.
              Mr. McCLINTIC. I have thought 'that if the present situation
           ex:ist..'i tJU'Oughout the Nation, with respect to kidnaping, we l'tlquire
           something pretty strong.
              Mr. REl!U). I Will do anything that stops )<idno.ping. The question ,
           is, whether you a.re going to do it without putting on the heavy tax.
              Mr. HlLL. 1 think this is a matt0J' for executive session.
              Mr. EvANs. How many States in tl,10 Uniou have laws ~gainst
           cfl!'Ij'IDg_ concealed weapo.ns on the person?
              Mr. KEENAN. I should say approximately three fourths.
              Mr. EVANS. Some have no prohibition oJong that. line?
              Mr. KEENAN. No; some have none.
              Mr. BILL. Who is the next witness?
              Gener~l REcKORD. This gentleman W88 not our witness. H o and
           Mt. B~n Wel'6 ment.ioned by the cba.innan.                           .
            · Mr. BJLt.. Does Mr.. Harrington wish to me.!<o a stawment?
              General R~KORt>. All we would like to say in closirig is what we
          .have stated re~atedly, that we aTe willing to withdraw any objection
           that we have mterposed if tbis bill is made to apply to machine guns,           •
           submachine guns, and sawed-off .shotguns. We will go ,along with
           such a bill as tbat. We will take either bill that has been proposed
          if they will eliminate pistols and revolvers, and ·we suggest they do
          it for a ,Y.ear or two and try ,it out. If in a year or two, with all the
           other bills that have been passed, and the colwnns of newspapers
           stated last night that the &nnte and House were in agre<>m.ent on
           those bills, and with this os fl. m.aehlne-gun bill sole~v1 we believe the
          Department of Justice will get the men they are after. ~If they ·find
          they co.nnot do it, then we Will come along and try to work out ·the
          .niatter ·of Eistols anu revolvers,
              Mr. McCLINTJC. What would you so.y along the line of a com-
          promise by adding to the legislation a section which would allow
           pist<il clubs o.nd·certain organizations to be exempt. from the provisions
           of this legislation{ in order to take ca.re oI those who are conscientious
          in the thou~ht o promoting mnrkemnoeb.ip and. t~gs of that Jcind?
              General REcKoRo. Mr. Cooper asked me pre.ct1ca.lly that ·same
           question. I told him tbt1it we had agreed, in an effort to get together
J          with t11e DepsTtment of Justice1 to o.ooept. SU'}h an n!Ilen~n;ient,
           n.lthough we are not favorable to 1t, because &t. will look like it JS an-
I          effort on our pnrt to force peo{lle to join our orgnnizntion.
              Mr. VINSON. There will be tnore folks nftooted who aro not members
I          of pistol c1ube..
              General REcxonl>. ·~lillfons will be affected. II this bill is ba!Jically
          'right, you do not need to lllfcept. our mtirr\bors, fl.Ild we are not asking
           you to except them. We ask you to elinu"nate pisto.la and revolvera
           and rnnke it o. mncl1ine-t,'11n bill and lot us t.ry it.
              Mr. M cOLJNTIO- We mm take care pf the membership bnsinass;
           wo can write e.n QJD.ondmont so t\8 to foot it so· thn~ en org1mIZ~tion that

                                             JA265                        Exhibit A, Pg. 881
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                 had no n1Blll~rship lee could have the privilege, of participating in
                 matches of this kind.
                   General R"ECKO.RD; I would ~e, f<>r _tbe benefit ot ~be re1iord1 if
                 Mr. Soth Gordon ~hti be pemutted tO read a resolution. He nas
                 handed me a resolution whic11 his organization h11.s passed.
                           STM'EJDNT 01' SETH OORDON, WABBINGTO~, D.O.
                   Mr. Goano~. This is a resolutiol> of the I.znak Walton Lengue of
                 .America. The Izaak Walton League of A,merioa, at its convention
     I   J.      ~Aprill recomrneI}ded tha~ there be n1:> legislation o( this kind 11t this
                 time ana. passed this resolution.
                   ~. Hn..J... It may be included in the record.
                   (The reROlution referred to i,-; as follows:)
                 11.EBOLll'l:ION ADOPTED BY 'Tll1: TWELFTIJ ANN tJAt. CONVEl!lTION OF Tll6 lL\Ai;
                              WAI.TON Ll!lAOUll OF AP.UlRICA 1 ORTOA00 1 ltl.., JANl1AIW aJ, 103t
                   Whereas 110me 13 million citizens in this Nation, both mun and women, take
                 part in the sport of hunting, both with rifle und sbotgun, rille and pistol tnrgot
                 ahooth1g, and the sport of shooting cla,y birds; a11d
                   Whereas it is moat desirable t hat the youth of this land, hoth boys and girls,
                 should be taugbt the proper use of firearms while young and thus, lo a great -
                 m.caeure, prevent. tbe occa.siono.I accident generally boro of ignorance o{ the
             _ proper handling or firearma; and ·
                      Whereas, during the past rew 1ears, thirtountry has been experiencing a dis~
               graceful wave or crime and dommation of gangs and raeketeeis in many or our
               leading and most erospcrous citltu1; and                                            .
                      Wl1creas a certruu element of our citizens propose, a~ a control to this dlsgrn.ce-
               ful ciriroe W&'Ve, the control and restTiotion of the sale of all firearma Of wbatao-
         r-...;e;,,;,v:.. er:...nature, and to prevent by law the tTnining o( the youtl.i of this la11d in tlte
                              ( firearms; and        '               .              '          ·
                      Wltereas at tho present time there are certain bills before the Nat:onal Con-
               gresM designed to restrict th.e use &nd sale ol fireattru1 in t!lls coimtry; &lld .
                      WllerC48 such lnws will merely_dissnm the. law-abiding citizens nnd will in no
               wt.1.:/ prevent· the crook, the robber, and the gangster from getting fireanna, lllld
               it is self-evident to any thinl<iug pen;on ih3t the real remedy to our crime situa-
               tion is not in disarming the luw-a.blding 11itizell8 but, on the other- hand, the
               diligent.onforecmont or suob·1awa 111> we now bavo; Therefore be it
                       Reaowed, That the Twelfth l\nmml Oouvuntion of .tile I21>11k Wnlton League of
               America, in it.a annual convention aasembled, ibis 20th day of Aprfl 1934 go on
               record WI being oppolied to any and a.11 antlJircarma lcgisllltion that will in A'n,Y
               way o..lfeot the right of our citizens to own a.nd bear 11ru1s freely,
                                                                  '
                    STATEMENT Ol7.TOSIP1l B. KEENAN, ASSISTANT ATTORNEY
                                           GENERA:!.
                                                           '
                   l.1r. Btu. M.r. Keenan, do you have anything fur.tbar?
                   Mr. K."EEN~. 1 do; but I would as soon put it in the record. It ia
                 veri brief; I will not burden the col1Ulllttee; it ia merely this: For
                 the· purpose of the record, and ~o there will be no misunderstanding,
               · a common impression bas been created tbut the legitimate firearms~
                 mo.nu£acturing companies of this country have opposed salutary
                 reguln.tions of firearms from a selfish viewpoint. I want, t.o say thn.t
                 I bnve been iti communication with the large.st -mnnufacturera1 and I
                 have found that their attitude was nn extremely decent and {air one.
                 They have attempted to work with the Depnrtment of Justice and
                 in some way to preserve the "legitimate business interests, and to
                 w.ork out the best J.>..roposal avt\ifable.                    •
                    Mr. TnE.\DWAY. Jsn't your statement. bomo out by the ·testimony
                 or Mr, Nichols? Ht> waa em[lbatio JA266                         Exhibit
                                                         in hia statement tha~ his       A, Pg. 882
                                                                                   compaQY
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    wants to abide by the proper ~egulntions of the Government in con-
    trolling the illegitimate sale ol these weapons.
     · Mr. KEENAN. That is correct. I cannot overempbasize that.
    There has been a rea.I effort made along that line, o.nd we feel that the
    opposition to rules n.nd regulations that would not be burdensome
    come from those whom we term hobbyists; but the legitimate enter-
    prises, reflecting an investment of capita l and the jobs of the cm-
    ployees,·have shown a splendid sx>irit of cooperation with the Depart-
    ment of Justice. I do .not. want this occnsion to go by: with some
    contrary notion prevailing. I t doea n.ppenr-nnd ·I think it would
    be agreed to by Mr. Nichols-that today such companies 'ns he repre-
    sents l\ro not making mo11c.y 1n the manufacture and sale of small
    Jirenrins to individuals. On the contrary1 they are losing money;
    they Mt?. in red ink. Mr. Nichols says. t11at is correct. If we do
    eventuaUy ourtail the distribution of .firearms, we will not be destroy- .
    in~ the profits ol legi.ttma.te industry. The fact is, they arc not oper-
    atmg 11.t a profit iA the mnnufacture and distribution of small firenrms.
    We Will let thnt spenk for whatever it means., So many times refer-
    ence has been made by members of tbe.comnuttee to this unconst1tu-
    tionol l~lation. Before this hen.ring closes I would like respectfully
    to call attention to the cruie of Nigro v. The United StateR, found in
    volume 276, Uni ted Stntes 3tt2, which is a decision by Chief Justice Tnft,
    decided April 9, 1928., in int;wpretation of the Harriso.n Narcotic
    Act.
       Mr. T.nEADWAY. l:Ins that n direct bearing on our problem?
       Mr. KEENAN. It bas on IJie constitutionali ~y ol tl\e provisions set
    lorth.                                                     .
       M r . TREADWAY. I suggest that Mr. Keenan Cumlsh Q, synopsis of
     it.
        Mr. Hn.L. Ht)w long a decision is.it?
     . Mr. KEENAN. It is qui~ long o.nJ invollfed. I think it might be
     epitomized.
       Mr. TttEADWAY . Will you mnke a.synopsis of it?
       Mr. KEENAN. Yes.
       Mr. VINSON. What is 'tl1e constitutional point mvolved?
        Mr. KllE~AN. The point involved is where o. tn.x is required to be
     paiCl by cartnin persons under the Harrison Narcotic Act, and whether
     other pe~ns tbnn those required to pay ~he tux r.an be required to
     perf?rm c~ to r.omply with the. law, which t.h e Congr~smen will
     see ts ge ting dangerously close m ano.Iogy to the precise matter
     involved ere1...!19 far os .the ·~onstitutiona1:ity is. concerned. ,
        Mr. R n.L. I ou are refernng to the registration fenture?
        Mr. KElilNAN. Yes. I think w1,1 ought to4i.ns\\'er one question, par- .
     tict11arly1 usk~d bY. t~e Congr~man frc:>m Cnlifomia, as to what ·
     good reguitre.tion will ao. I think t he pomt hn.s escaped some mem-
     bers of th0 committee that hnve not attonded all of the sessions.
     Wrtbout-registration, _thore is no w11y_ to get o.t tho control of fire-
     o.rms now possossod, before the elTectlve date of the net. l t would
     be helpful m the prosecution of cneos where fironrms woro in posses-·
     sion of t hose go.1:1gsters roaming the lands, whicl1 wero acquired
     previous to tJia 'lnnobnent. of tl10 ru!t.       ·
        Mr. V1NsON . V\1hy di'd yo~ not provido for r~gistrntion in Lhe orig-
     inal bill?
                                           JA267                        Exhibit A, Pg. 883
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            Mr. KEENAN. My IUISWer to that is we luul not given it sufficient.
                                                                 or
         t.hougbt to exhaust nll the possi~ilitios Federo.1 control.
            Mr. V1NsoN, You had given it thought ooough to cause the Att.or-
         noy Oeneru.l to so.y that lie was afraid it, w11s not constitutional.
            Mr. KEENAN. l think I ought to answer that the matter of registro.·                                       ..
         tion1 following the provisions of the n arcotic aot, not tbe terms of tho _.
         net 1>ut the rcgulnttons promulgnted1 bnd not been tnken up wlth the
         Att-Orney Genernl o.t tbe tirll.e he made the stnternent.
            Mr. V.msoN. He eicyressetl his view at that tinio.
            ~1r. KEENAN. I thtnk the Attorney Ocnorol oxpn'SSCd no clafinito
        opjnion o! its unconstitutionality. b ut lie bad some doubt.
            Mr. VtNSO"ti. He said be was afraid i~ wos unconstitution11l .
          . Mr. l{EENAN. Ho su.id he Wl\S nfr11id It wus unoonstitution11l, 1U1d
        we got the suggestion while discussing it with the committee, and from
        f.urther consultation with another brancb of the Government,, otbor
        than t11e D epnr tment of Justice.
            Mr. REED. With teg,ard to tlie 'registration, what we·are seeking to
        do is when n criminal comes into court to prevent him from escaping
        prmw.cntion by his saying that he pu:rchu.sed t.hc weapon prior to the                                        •
        enactment of the st.atute, "'-
            Mr. KEENA.N. ExMt.ly.                  ·
            Mr. VmsoN. Oriruinal or law~abitling citi:r.en1 if he did he.ve it prior
        to tlie effective date of tb.e act, under the la\v tnere is no ~Ity.
            Mr. KEENAN. 'l'here is a penalty if he tr1ineport.s it m interstate
        comnierce.                      .
            Mr. VJNsoN. But I thought you indfonted yesterdliy, or the day
        before, or some other time, that becnuse there was no .crime in the
        possession of it that tbCl'e was so.me coosidortitioo to be given to the
        iden tbot you ougb.t .not. to make it a crime t.Q.tronsport it across St.ate
        Jjpe.s.
            ~·b~ KEENAN. 1 did not int.end to oonvey that idea.
            Mr. VINSON. You conveyed it to me.
            Mr. KEENAN. I did not mt@d to so.y other tl1111J this: No j>ennlty
         was provided for the failure to register, although the Treasury Dep~rt­
         roent bo.s suggested thot such a penalty be provided in the act, but
         it was left out, because we wanted to got a bill, from a practical
        ·standpoint, that might receive the favorable oonsidere.tion of the
         commi.tt ee, realizing tl111t there would be grco.t opposition, os hoa
         developed, from I.hose opposin~ the measure, even to the point o(
         one man saying, "I am not gomg to U1e trouble oI registering nnd
         givmg my nnme llJld nddr~." ·                                . -
            (Mr. Keeno.Ji subsequently submitted the following est.imat.e of the
         o.nnual revenue to ho derived from the propuscd firearms tax measure
         and an·amendment to seotion· 4 o f tho .proposed act upon the e1igges:..
         tion of Mr. McClintic:)                                              •
        Salca of new firenrms1 60,00011 year ••••••• ••••••.•••• '.:· --·--- ~- · - $6()1 000
        .$111\:11 and tTanafere or Ulllld ftroarma, 40,000 a '.\'llAr •••••• :··---·----·· · 40, 00.,
         R evenue from ta:t on doAIOll' nm.I po.wnbrokefl!:
                200 whole641crs and 2,000 ret'f'Ucrs ot SIOO c6Clh •••••••••••• • •••• 220, oOo
                 IQO J>&.•mbrokcra 8\ $300 1111ch•.•. - - - •••• • • • • •••• ··-- ••• ·-- --· SO, 000
         R ev... nue from trur cm m1<clltnc-gun J1U1Dt'lract11rens:
                 20 Mies o.t $200 caoh . ................ ....... ..... ........'\...                4, ()()()
                 • roo.nufllctun.-ni ni !$GI)() cnch. _.• ___ •• •• • • _•••• • _·-. ___ ••• ••• • • 2; 000
                                                                                            .
                                                       JA268
                  Toinl-- · -M ·· ·· · · ~·· · · -· M -·- - --- - ··- ·· ·· ~· ·- - ~~-- ----- Exhibit   A, Pg. 884
                                                                                               -- · · 850,000
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       164
           Th11 ~titnated number of new and ueed ·weapon• hu ~n made from t1g11res
       &hOl'l'ing Ute preswt nlY"11ue derived from tb.c lautfon o[ piatola a11d rovolven
       rrom Ure- number or machlne 111111a eold annuaT!y1 Imm tlle number of .Pistole an~
       J'OV~l\'.<:l'!I manufactured lo t'!tio country.I wbfill1. h111 fluetuated from approiu-
       matcly 165,000 in 1920 to 00,000 In J9;j;j 1 and from t.b u 11u!Ilber of llcen84)" ob-
       t.alncd In New York Olty in JOiJ3 to p11roballe piAtolu111d revolvers.
           Si:c. 4. (a} It ehall be unlawful for any pcfQj)ll to trnnsfer a 1ire11rm1 <ixO()pt In.
      plll'!luancc of a written order from the person aoold11g to obtain such nrtlchi, on
      11n appllcation form ioued In bhmk i11 duplie11tu for Llu•t (lUJ'J>08C by \he Oom•
       mlNsl'onor. JC tho np11Ueant le e. !IIOmber·or tlll}' AMOGlatlon, dC8igJlated by tho
       Commlulone.r, which, Jn good faith, fa organbcd for \ho purpose of, and 18 engagM
      It; argot nhontlng or lmnting,auch order abaJl ldcntlly the o.ppllcant ns a m~moo:r
      01 aueh nasoeilltion. lf\>1111 other cnses auch or<lcr ahcdl identify tile applle.t\nt by
      11uch me1rne or jde11tifico.tion u may be presctl~d by reg11utio"" nnder this o.c1t:
       f1'ixtid(d, Thnt if tlic &J)JlliCA11£ ie an individual suoh idc11tiliution sbaU b1qlndc
      finge111rinta thereof.                                                     -
        Mr. HILL. Thisclosos the hearingi on tl11.1bill, as far asl om adviaed.
        General REcKono. I Jesire to extend my remarks if it is agreeable
      to the committee.                                                        ·
        Mr. H tLt;. Without objeotion you moy                       me
                                                               any additional s tate-
      ment. you desire.                                                          ·
        (The etatem.ent. referred to is as follows:)
        The circula.r ttlatiV'e. to H.R. 9066, referred to by Mr. Allen, was not bl'Olld·
      esat., llecauae by tli~tinio It bad been deliveTCld to 1111 IU' tho printer and Ure n1111ea-
      saq eopy o! tho bill to accompany tbe circular ba.d been obtained &nd printed,
      conferenQCa were ll.lrell.dy under way With tJ\o lltt1>r11ey General's Omcci 111111
      lndlc&tions were at th&t thno that several illlpott&nt ohanges would be llllldo In
      tbe origlnnl dtart of the biU. Having. no desire to aprend misinformation, tho
      mt.lling .of this J11tter \\'II.If withheld, and it wae fi11111ly deetroyed about G week
      ago. A consl:lerable number of Individual copies or the lotter and tbo llOCOln•
      panylng bill were malled, pr1ncl11ally fn response to Inquiries from sportsmcm, but
      ID et.~ case a per1011Al letter accompanying the printed circular pointA.1.d out that
      111.ny of the comment. would probably not applJI to the rcdm!tiug of the but oo
      whleh we 11-ert: working mtb the Attorney GeJ1eratlll Offlee.
        Tile attempt whieb WM made by Mr. Allen tu luve the Impression in tho ml:ndA
      or the cotnllilttee tbt.t thl.t circular wsa btoadcaaL throughout the United SIA~
      wt.a therefore cnti~ly unwartt.uted. I n vie'Wof lbo fact that the repl't'8Mta.tiv(-o
      of tho DupAl'tmcnt ot Justice at tbe committee hearhtg on Monday tJus Jiit!\
      bad 'befln personally advli;® tltat tWs letter wos J1ovur bre>Bdcast, the effort u11 tt1c
      part or Mr. Allen to Juve this impre8llion with tho committl!I! can scarcclyhe
      credited aa!ythlrlg .mom than o, dclibere.to o.tt-0mpt. to di•credit tho National
      Rifle A.ssoci 100 in the eyes of tho committee mcmbcll'll.
        Thn atatem nte made in tho ciroul.cir were the r111mlt of careful eltAlllblation of
      the provtalona of the bill u orll(lna.Uy drafted. M11oh or tho fault tlu~t Mr. Allen
      found 'WIU1 this tcttcr appaarotl to be baaed on tl10 fa.ct ttu.t the totter dltl uot ·
      apply to ibe bill in it. p1WOnt form. The ll'tte.r u writtcm bAd 11othing \o clo wit~
      tho blll In ita prNC!11t fonn but Mflll"l'Cld ~ the orlgfnal drnrt. Many of tut' cum
      monte do, bowiuOT, •till •t'IPIY to the TCdrart aa autimtttod on the l4th by Mr.
      Keenan. Evei;y statement l!Ollcarnlng tho p robable elfootivcnCS!! of thn bill 18
      •nbtt.antlAtod by whAt would 11ppc11r to be. atuplc ev~e to wanant the oxprcn·
      aton of auch opinion.                                         7
         The history of the ao-onllecl "Sullivan law" Tn Now York State ls an c~ooUcmt
      oxample. Thia law wM orl11in11lly enacted to t11ku tho pl.a.ee of t.he cunve11tlo1111.I
      prohlb.i tion agair1s~ tl•o 11nrrylng or concealed wuuvu11~ more than 20 ycaflJ n.g(I.
      AcldltfonaJ efforts to adcl teeth to the law !\ave 001111 1111 abnoat annual ocourre11ee
      aud II.ave fuJally reached the p<>fnt or c:ompleto prohlbltlun of the usu of 1 Ulue In
      1111mo CM!Cltion.s of tl10 State.         ·                                 ·
        I~ MS&!&Oh0&eti4, U111 l1l~tory or the firearm~ IMv luaa been the same.               Orl$i·
      D.t.lly t. law prohlbitlug lllf• 01tnyin~ o! conecalod wcapona, ihe MAB8acho•ott•
      t.w wu o.mendcd oo M to roquirc tla1 a pcrmi~ be obtaCnccl ftom the polil!G ~toro
      & pfml Of rc'•olver mfgM bo pttT'OllllScd. Thu        '°'"'
                                                               o.lilo rcc11.1lred that a f)Orrol~ l>o
      ol>t.aln1Jd to poa8Ct!& " plet.o1 or revolver in U1c T1oc~o or place ot busincse, &11 wo.11
      "~ • .,peclal fonn or f>Cflnlt to c~\'TY oonce&lcd.    A~ In tl\0 cn~e or the SuUlvun law,

                                                    JA269                              Exhibit A, Pg. 885
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                                      RATJONAL P1llll.AB:J,{$ ACT                                   165
          tho Ma.esachusetta law ,11118 had the p\"lloUenl olfOGt ot diMrming h onest <1ltiio11~
         W'l tllou t disA.rming tlie cJ'lmJnat 4uordingly, thlll year in M11SS&Ch1111ut1« thu
         eonventiona.I etep waa taken of introducing a bill will.ah would require a peJ"mlt
         from tl1e police fn order to p11rehase any firearm, rlno, or aholgun 118 well &A plMtol
         or revolver And tho n:i1lntrntioo of .Ruch anne ·Alrondy l)Oa11C'.911ed.
             Jn M ichigan the hintoryof firoarms legielation pMAllol~ that of New York nnd
         MuMnohusctts. Startl111t from the fundamcnt.41 cooccnled-weapollJi Jaw, t hci IAW.
         111>11 001111 e xp1Lndcd And ma.de roorc 11cvere until to<lhy tho regulation.a oovcr rilfo~
        1111tl ~hutrcuus as \VClll llll pi•tol!J ar1il rcvolvcra. ThlH law hll.!I already liue.n In
        1ilfcct In Michigan fo r 3 ur q ycarB, but fortuu awly i t is being 6&nely sdmir'ii~tcrcll
         by " a1111erinteodentof StllLc police who is favomulc t.o oivilion •nu1ll-Mn\3 prnotfco.
         WhAt  ,,.ill     happen whon u. obo.roge in ndmJni•trii.tivc officers becomes nct~ry
         ~•11uot 1>e foretoTd.
             1n Pennsylvani11 tho ume hlat-Or,;t of firearmJ> rcmulation has applied. Fi~t,
        the conooalc:d-wcaro1ta faw, Uwn a bill based on the. unlform·fircarm.s 11.et, and 11uW'
        at~nn>la on the par·t o Ctl•c'llamn reform groups ~, , puL 'more t(:cth into tlm u11ffjlrm
        Get by requiring a (lOflOO potlfllt (or the pnrcho.t!O or rifles a nd shotguns ·an1J Ahl•
        munition, of all type~.                             .                        -                 · -
             The history of the ait1111tron in West Virginia hllJJ bnnn the. snmc. The ronnon
        tl111t tha u nifonn-firearrns bill hos not been odov w<t hi Illinois lip to this limo lu111
        been because of the efforts of the reform elem e11t to Add to the unifotm act pro•
        v(Alotll! l'CQUiring B permit to purchase, proV.il!iOll (01' tho fingerprinting Of bulJot~ 1
        go-<talJcd, and various other tbcorclioil pla1ur tor di111mnin1t the crbnlu&I.
             In CllliCoroia the.1<tllry bA'I heon the sstne. Frnrn ilte h~Ts of tlt.ll concoolod·
        we~pona law, Caijfon1[i• went to a very exc:ell1111t fnrm or revolver, pi,tn(, trnd
        maohine-t!'m regulat ion blU!Cll 1111 th&pn>l'isiQDll of tJ1g uoirmm act. The W1>1l1tn't
        ol'girnizahona in CtLUtornfa, partieltlMly iu oull lllloU•>n of toe State, ho.ve hoen
           artioulsrly active in dem311din~ that t hi11 law Ix! uo.n<le siill more .1Siricl. And
       f    HllBpect that.some or thu potit1011a mentioned by Mr. J<eeuon M h1wi11g cume
       from ·women's orgo.niU}tl11n$ favoring strict F odC!r1.1l llrunrms tcgi"ll\tiott h11\•0 come
        fnllll l,heac particular gr.M•J>• iu Ca ltrornis, as w11 ~ 1111w that the_)· bs\'e foTWll~<led
       •imll11r pcti.tiona t o their llepro~cntntives ond &1111toM 111 Congress from tl m(J t o
        t ime.                                                                                     _
            Thero. is no rCJ1son tu bollave. 11n tbe 1'ace of the oviitcncc supplied ~om nit
        p11r1.<1 or the country over A hmg period of tim\;, tlmt 1''cdcrol firearms leglafot11111
        would not follo"· the Ua\1Rl trr.rn1 : Yicst, the 111!11piion of some k ind of a J.'c(lcrl\I
       tlN-...anru1 bill~ se<:ond, t he ottort ti• .. ~ngtllen il3 Jl""'iGh•n1;. ·!lncl to p ut rout<> ~ih
       fnt.o ft : ft.nd finally, the nlfor~ In 001npletely 1liruirm tJll' avcrnge dtiten on 01~
        t.llrory tlU>t by &n dojllg we wo11ld be able to bet l.Clr Am i•.;t t.!Je,mnod c.ri111r1wl 11ntl
       l!t"'I) ln(Lny people frlill't •mieitlCJ,
            '1'11m<t1 is another r-0Aj;o11 for lJclieving thnt thie Ft•tloml leJ:l~lrttfo11 would t·nkO.
                                                                                                             •
        tlio turn incUCAted. Tho prop11110nts of this hi\), l•1clut\J11g thn reprcscntnitvlllt of
       tho Dcpnrtment ur Jnstlco, hnvc rcv.cntcclly •tlltoll I.hi•~ tl1oy know this l.illl t~
       not fdenl but thot they wunt to make n atnl't. 'l'hn l1>gic11I question is " A ~1.t•t~
       townrd whnt? "                              ·-
            Further.more, M r. JCccn ..11 hna n:aid very ftanldy tl\11t the itfeal solution of th!•
       problem wo11ld pro"babll' bto to have the mon11 tnct uro of nil types of firurm.
       cmtiroly in Uie lmndG or tltc Government ~Ullll, \x>onuNe tllll" GoYC.r:OURnt co11ld
                        w           w
       011111 l'\!rll8e sell ~n1~ anyone it migl1t oltOO<tO t.o refu~e.
          • Wiien the impot't&n~o <J[ i n1ioing 011r a.lile-bodlcd cHiic1111 in the use of ~111&1\
       nml8 ..,. a measuro of n11\Jo11nl defcru:c was suggcot(ld to Mr. J<et>niu1, he c>:11rc.&11od
       the op iniou tha t if1At WllJJ o f rcmtiv·ely sma.li in1pur\tince, because the ousi WAr
       wool)(l not be w-0n .fl,)· ~1111111 Arms, and tbot in hi• <)}1iolon both the i1ldiYlclt11.l
       eololict, I.lie s1Tioll nt111~. onll the Ahipe of the ll~ot wo111<1 I.le or no, tonglb lc v11hio.
            l t wru-. on the evidettc<> prMontcd by the N11t1011-wfclo hiat.ory of firc11rf11H legia-
       l1itfon 111 this country, phrn tho trnnkly e:itprcs~t\d opinions or the Aseiatont Attor•
       ncy Gcncrnl h imself, thnt we pointed out in m1r letter tho future posalbilltlc11              or
       nmondmcnta to ff.R. IJOOll.
            Tbc reference to poBBiblci dlctotorlnl control b'· 011c or two men um!o.r the 11ro-
       vi6ion11 ol thia IJUl which llllllll.' I~ pos3fble for t't1c &tor1\lllry uf tbe TrClljlurv or
       th6 Commi88ioncr or l 11l1lmgJ Ruv.,nue to do 1111\11)' tl\lnga· ey regula t ion which
       are no l ."pecifh:nlly ·rfl(l11ll111u11l in tlu1 f?ill WM' t1l~11 b1Vll'd on n1m1eron~ ~onv<lr~l\.­
       \fo.no w1\h Mr. K'"-cnan and Mr. Sn11th of the. L>op11.rtmc11L or Justice. 'l'hoy
       mode rt evident t bot mony o l tho cfTccth•o provlnlo11a 111'1 d cT whkll the N11rccJtlc9
       Act la bolrig odminloUm.-d wcl'!l not ip~Judcd ln tt16 orf1tfn11\ law n~ 1111 bu~ ho.d
       muroly been addc<l 1111 nu rugulritiollJI.                                           •

                                                  JA270                                 Exhibit A, Pg. 886
                                                                                      .   \•

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      166                 NATIONAL

        It bu MCmed to 1111 that while provillona W"rlUcn Into a bfil may euil,y be
      teelod In tbe cowte ror constitutiooality, It would probably be a mucjl more
      dlftlcult, long-dnnm-out, and upemive proceeding to prove that a reg'ulaU.on
      WM unconatltuUonaL A. a matter of raet, we wonder U a regulation, not belllg
      a law could be doclared unconmwtionaL
        Thi. It the evidence and tb- are the l'UIOM lylng behind the statement.I
      contained In our diacueaion or B .R. vooe.
        (Thereupon, at. 12:20 p.m., tho hoarings wore concluded.)




                                              •


                         ..         .
                                                                    •




            x                            JA271                          Exhibit A, Pg. 887
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                   Bureau of Alcohol, Tobacco, Firearms, and Explosives

    ____________________________________
                                                )
                                                )              Docket No. ATF 2017R-22
    Bump-Stock-Type Devices                     )
                                                )              RIN 1140-AA52
                                                )




              VERIFIED DECLARATION OF RICHARD (RICK) VASQUEZ


           I, Richard (Rick) Vasquez, am competent to state and declare the following based

    on my training, experience, personal knowledge and prior qualification by the federal

    court as an expert:

       1. I am a former employee of the Bureau of Alcohol, Tobacco, Firearms and

           Explosives (“ATF”), where over my 14 year tenure, I held the titles of senior

           Technical Expert, Assistant Chief of the Firearms Technology Branch (“FTB”)

           Acting Chief of the FTB, and Acting Chief of the Firearms Training Branch.

       2. In these roles, I was responsible for evaluating firearms, non-firearms, and firearm

           accessories, consistent with the Standard Operating Procedures of the FTB, and

           making determinations on whether a particular item constituted a firearm, non-

           firearm or merely a firearm accessory. Additionally, I provided instruction on

           definitions of firearms in the Gun Control Act and the National Firearms Act, for

           ATF.

       3. As a result of my knowledge, experience and training, I have been qualified as an

           expert by numerous federal courts, including in the case of U.S. v. One Historic

           Arms Model54RCCS, No. 1:09-CV-00192-GET.



                                            JA272                                          Exhibit A, Pg. 900
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       4. During my tenure with ATF, in my capacity as Assistant Chief of the FTB and the

            senior Technical Expert for the ATF, I evaluated the Slide Fire stock and

            concluded, consistent with my Slide Fire Analysis (see Exhibit 1), that the Slide

            Fire stock was neither a firearm nor machinegun under the Gun Control Act nor

            under the National Firearms Act.

       5. My conclusion that the Slide Fire stock was neither a firearm nor machinegun was

            reviewed by ATF Chief Counsel and higher authorities within ATF and affirmed.

       6.   I have reviewed the video to be submitted by Firearms Policy Coalition as

            Exhibit 28 to its Comment in Docket No. ATF 2017R-22, RIN 1140-AA52.

       7. The video depicts an individual, Adam Kraut, Esq., firing a Slide Fire stock, in

            the only three possible ways to fire a bump-stock-device (i.e. (1) single shot with

            the Slide Fire stock, locked; (2) single shot with the Slide Fire Stock, unlocked;

            and (3) as the NPR describes (83 Fed. Reg. 13444), unlocked, with the shooter

            maintaining “constant forward pressure with the non-trigger hand on the barrel-

            shroud or fore-grip of the rifle, and constant rearward pressure on the device’s

            extension ledge with the shooter’s trigger finger.”

       8. The video fully, explicitly, and accurately depicts the function of bump-stock-

            devices, including, but not limited to, the function and operation of the firearm’s

            trigger, which is exactingly consistent with my evaluation and review of the Slide

            Fire stock during my tenure with ATF and my Slide Fire Analysis (see Exhibit

            A).

       9. Specifically, as depicted in the video,




                                                 2
                                               JA273                                       Exhibit A, Pg. 901
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               a. The bump-stock-device neither self-acts nor self-regulates, as the bump-

                   stock never fires, in any of the three possible ways to fire a bump-fire-

                   device, more than one round, per function of the trigger, even while the

                   shooter maintained constant pressure on the extension ledge. In fact, as

                   explicitly and accurately depicted in the slow motion portions, the bump-

                   stock-device requires two functions of the trigger before a subsequent

                   round can be discharged (i.e. after the firearm is discharged for the first

                   time, the trigger must be fully released, reset, and then fully pulled

                   rearward for a subsequent round to be discharged); 1

               b. Bump-stock-devices do not permit a continuous firing cycle with a single

                   pull of the trigger, as the video clearly depicts that the trigger must be

                   released, reset, and fully pulled rearward before the subsequent round can

                   be fired; 2

               c. The bump-stock-device requires additional physical manipulation of the

                   trigger by the shooter, as the video clearly depicts that the trigger must be




    1
      It must be noted, as made explicitly clear in the slow motion portions of the video, that
    the bump-stock-device actually requires over-releasing of the trigger, as the shooter’s
    finger travels past the trigger reset by approximately a half-inch, before beginning the
    sequence to fire a subsequent round (e.g. video at 3:46 – 3:51; 3:52 – 3:55; 3:56 – 4:00).
    Thus, the video makes extremely evident and clear that bump-stock-devices are actually
    slower than a trained shooter, as a trained shooter, such as Jerry Miculek, would
    immediately begin the sequence to fire a subsequent round after the trigger resets.
    2
     If the device had permitted continuous firing cycle with a single pull of the trigger, the
    video would depict a scenario identical to Exhibit 26 of Firearm Policy Coalition’s
    Comment (also available at https://www.youtube.com/watch?v=NwQ1aZnVLFA),
    where it clearly and accurately depicts the emptying of the entire magazine, while the
    shooter maintains constant pressure on the trigger.


                                                  3
                                              JA274                                             Exhibit A, Pg. 902
      Case 1:18-cv-02988-DLF Document 1-3 Filed 12/18/18 Page 230 of 250
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                    released, reset, and fully pulled rearward before the subsequent round can

                    be fired;

                d. Even when the shooter maintains constant forward pressure with the non-

                    trigger hand on the barrel shroud or fore-grip of the rifle, and maintains

                    the trigger finger on the device’s extension ledge with constant rearward

                    pressure, after the first shot is discharged, the trigger must be released,

                    reset, and pulled completely rearward, before the subsequent round is

                    discharged. See video at 3:47 – 4:01. This is no different than any factory

                    semi-automatic firearm; and,

                e. The bump-stock-device does not permit automatic fire by harnessing the

                    recoil energy of the firearm. Harnessing the energy would require the

                    addition of a device such as a spring or hydraulics that could automatically

                    absorb the recoil and use this energy to activate itself. If it did harness the

                    recoil energy, the bump-stock equipped firearm in the video would have

                    continued to fire, while the shooter’s finger remained on the trigger, after

                    pulling it rearwards without requiring the shooter to release and reset the

                    trigger and then pull the trigger completely reward for a subsequent round

                    to be fired.

      10.   The cyclic rate of a firearm is neither increased nor decreased by the use of a

            bump-stock-device, as the cyclic rate of a particular firearm is the mechanical rate

            of fire, which can be explained in laymen’s terms as how fast the firearm cycles

            (i.e. loads, locks, fires, unlocks, ejects), which is an objective, not subjective,

            mechanical standard.




                                                   4
                                               JA275                                              Exhibit A, Pg. 903
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      11.   A factory semi-automatic and fully-automatic (i.e. machinegun) firearm,

            manufactured by the same manufacturer, will have identical cyclic rates, unless

            the machinegun version has some form of rate reducing mechanism; whereby, the

            machinegun version may have a slower cyclic rate than the semi-automatic

            version.

      12.   All factory semi-automatic firearms have an inherent ability to be bump fired, as

            the act of bump firing is a technique, which does not require any device, and can

            be performed through, among other things, the use of one’s finger, belt loop or

            rubber band.

      13.   A firearm in a bumpstock/slidefire stock cannot be a machinegun because it

            requires an individual to activate the forward motion of the stock when the

            firearm is fired. Additionally, it requires a thought process of the individual to

            continually pull the trigger when the stock is pulled forward bringing the trigger

            into contact with the finger.



                                            *     *       *


            I declare under penalty of perjury that the foregoing is true and correct. Executed

    on June 18, 2018.


                                                   _________________________________
                                                   Richard Vasquez




                                                  5
                                                JA276                                       Exhibit A, Pg. 904
          Case 1:18-cv-03083 Document 2-2 Filed 12/26/18 Page 2 of 6
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                                     THE WHITE HOUSE
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                                      November 8, 2018




     MEMORANDUM FOR MATTHEhI GEORGE WHITAKER
                             Chief of Staff , Department of ,Justice

     pursuant to the ConsÈitution and the laws of the United SÈates,
     including section 3345(a) of title 5, United States Code, Yoü
     are dírected Èo perform the functions and duties of the office
     of Attorney General, until the position is fiIled by
     appointment or subseguent designation.




                                           JA277
          Case 1:18-cv-02988-DLF Document 9-1 Filed 12/26/18 Page 265 of 675
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                                                      Bureau of Alcohol, Tobacco,
                                                      Firearms and Explosives



                                                                                          903050:MMK
                                                       Martinsburg, West Virginia 25405
                                                                                          3311/2010-434
                                                       www.atf.gov

                                                       JUN 0 7 2010




This is in reierence to y0ur submission and accompanying letter to the Fiream1s Technology
Branch (FTB), Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), asking for an
evaluation of a replacement shoulder stock for an AR-15 type rifle. Your letter advises that the
stock (referenced in this reply as a "bump-stock") is intended to assist persons whose hands have
limited mobility to "bump-fire" an AR-15 type rifle. Your submission includes the following: a
block to replace the pistol grip while providing retention for the selector stop spring; a hollow
shoulder stock intended to be installed over the rear of an AR-15 fitting with a sliding-stock type
buffer-tube assembly; and a set of assembly instrnctions.

The FTB evaluation confirmed that the submitted stock (see enclosed photos) does attach to the
rear of an AR-15 type rifle which has been fitted with a sliding shoulder-stock type buffer-tube
assembly. The stock has no automatically functioning mechanical parts or springs and performs
no automatic mechanical function when installed. In order to use the installed device, the
shooter must apply constant forward pressure with the non-shooting hand and constant rearward
pressure with the shooting hand. Accordingly, we find that the "bump-stock" is a firearm part
and is not regulated as a firearm under Gun Control Act or the National Firearms Act.

Per your telephoned instructions, we will contact. you separately to make return delivery
arrangements.

We thank you for your inquiry and trust that the foregoing has been responsive.

                                         Since el)' yours

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                                         ---;. ,'          -     '   .
                                         5ohn R . Spencer
                               C                    Technology Branch
                                   1


Enclosure



                                                    JA278                                        Exhibit A, Pg. 264
          Case 1:18-cv-02988-DLF Document 9-1 Filed 12/26/18 Page 266 of 675

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                                                            Bureau of Alcohol. Tobacco.
                                                            Firearms and Explosives




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                                                                                                       3311/2012-196
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                                                            APR 0 2 2012




    This is in reference to your correspondence to the Bureau of Alcohol, Tobacco, Firearms and
    Explosives (ATF), Firearms Technology Branch (FTB), requesting FTB to evaluate an
    accompanying stock and determine if its design would violate any Federal statutes.

    As background information, the National Firearms Act (NFA), 26 U.S.C. Section 5845(b),
    defines " machinegun" as-
    " ... any weapon which shoots, is designed to shoot, or can be readily restored to shoot,
    automatically more than one shot, wilhout manual reloading, by a single function ofthe trigger.
     The term shall also include the frame or receiver of any such ll'eapon, a11y part desig11ed a11d
    ilrte11ded solely a11d exclusively, or combi11ation ofparts desig11ed a11d i11te11ded,for use i11
    co11verti11g a weapon i11to a mac/1i11egu11, and any combination ofparts from which a
    machinegun can be assembled ifsuch parts are in the possession or under the control ofa
    person."

    The FTB evaluation confirmed that you have submitted a plastic shoulder stock designed to
    function on an AR-15 type rifle (see enclosed photos). For your stock to function in the manner
    intended, it has to be attached to an AR-15 type platform that is assembled with a collapsible-
    stock receiver extension. Along with the shoulder stock, you have submitted what you have
    identified as a "receiver module." This module is a plastic block approximately 1-5/16
    high, about 1-3/8 inches long, and approximately 7/8-inch wide. Additionally, there are two
    extensions, one on each side, that are designed to travel in the two slots configured on the
    shoulder stock. The receiver module replaces the AR-15 pistol grip.

     Further, the submitted custom shoulder stock incorporates a pistol grip. This grip section has a
     cavity for the receiver module to move forward and backward. Additionally, two slots have been
     cut for the receiver module extensions to travel in. The upper section of the shoulder stock is
     designed to encapsulate the collapsible receiver extension. Further, the custom stock is




                                                    JA279                                                    Exhibit A, Pg. 265
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     designed with a "lock pin." When the handle on the lock pin is facing in the 3- to 9-o'clock
     positions, the stock is fixed and will not move; and when the handle on the lock pin is facing in
     the 12- to 6-o'clock positions. the stock is movable.

     The FTB live-fire testing of the submined device indicates that if, as a shot is fired, an
     intermediate amount of pressure is applied to the fore-end with the support hand, the shoulder
     stock device will recoil sufficiently rearward to allow the trigger to mechanically reset.
     Continued intermediate pressure applied to the fore-end will then push the receiver assembly
     forward until the trigger re-contacts the shooter's stationary firing hand finger, allowing a
     subsequent shot to be fired. ln this manner, the shooter pulls the firearm forward to fire each
     shot, the firing of each shot being accon1plished by a single trigger function. Further. each
     subsequent shot depends on the shooter applying the appropriate amount of forward pressure to
     the fore-end and timing it to contact the trigger finger on the firing hand, while maintaining
     constant pressure on the trigger itself.

      Since your device is incapable of initiating an automatic firing cycle that continues until either
      the finger is released or the ammunition supply is exhausted, FTB finds that it is not a
      machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18 U.S.C.
      921 (a)(23).

      Please be advised that our findings are based on the item as submitted. Any changes to its design
      features or characteristics will void this c lassification. Further, we caution that the addition of an
      accelerator spring or any other non-manual source of energy which allows this device to operate
      automatically as described will result in the manufacture of a machinegun as defined in the NF A,
      5845(b).

      To facilitate the return of your sample, to include the module, please provide FTB with the
      appropriate FedEx or similar account information within 60 days ofreceipt of this letter. If their
      return is not necessary, please fax FTB at 304-616-430 I with authorization to destroy them on
      your behalf.

      We thank you for your inquiry and trust the foregoing has been responsive to your evaluation
      request.




                                                   hn R. Spence
                                            , F' earms Technology Branch

      Enclosure




                                                     JA280                                         Exhibit A, Pg. 266
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                                        Bureau of Alcohol, Tobacco,
                                        Firearms and Explosives

                                                      Assistant Director

                                                      Washington, DC 20226
                                                      www.at f.gov

                                     APR ·1 6 2013



  The Honorable Ed Perlmutter
  U.S. House of Representatives
  Washington, DC 20515

  Dear Congressman Perlmutter:

  This is in response to your letter dated March 5, 2013, to the Bureau of Alcohol, Tobacco,
  Firearms and Explosives (ATF) to rescind a previous evaluation letter and to classify all bump-
  fire stocks (to include specifically the Slide Fire Solutions stock) as machineguns.

  As you have indicated, machineguns are defined in the National Firearms Title Act, 26 United
  States Code Chapter 53 Section 5845(b). The definition has four distinct parts. The first, as you
  point out, states that a machinegun is "any weapon which shoots, is designed to shoot, or can be
  readily restored to shoot, automatically more than one shot, without manual reloading, by a
  single function of the trigger." The remaining portions of the definition go on to state that: "[t]he
  term shall also include the frame or receiver of any such weapon, any part designed and intended
  solely and exclusively, or combination of parts designed and intended, for use in converting a
  weapon into a machinegun, and any combination of parts from which a machinegun can be
  assembled if such parts are in the possession or under the control of a person."

  In the course of examining a number of bump-fire stocks, ATF found that none of these devices
  could shoot nor did they constitute firearm frames or receivers; therefore, the first portion of the
  machinegun definition can not apply. Those bump-fire stocks which were found to convert a
  weapon to shoot automatically were classified as machineguns and regulated accordingly-
  most notably, the Akins Accelerator. Other bump-fire stocks (such as the SlideFire Solutions
  stock) that ATF determined to be unable to convert a weapon to shoot automatically were not
  classified as machineguns.

  Reviewing findings with respect to the Akins and Slide Solutions, ATF, in Ruling 2006-2, found
  that the Akins Accelerator incorporated a mechanism to automatically reset and activate the fire-
  control components of a firearm following the single input of a user. Thus, the Akins
  Accelerator acted to convert a semiautomatic firearm to shoot automatically. Conversely, the
  Slide Fire Solutions stock requires continuous multiple inputs by the user for each successive




                                                JA281                                         Exhibit A, Pg. 267
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 The Honorable Ed Perlmutter


 shot. Similarly, other devices exist, such as the Hellfire Trigger, which attach to and act upon
 the trigger of a firearm and also work to increase the rate or volume of fire of the firearm. Like
 the Slide Fire Solutions stock, the Hellfire Trigger does not provide an automatic action-
 requiring instead continuous multiple inputs by the user for each successive shot.

 Public safety is always a primary concern of ATF. We remain committed to the security of our
 Nation and the fight against violent crime. However, bump-fire stocks that do not fall within any
 of the classifications for firearm contained in Federal law may only be classified as firearms
 components. Stocks of this type are not subject to the provisions of Federal firearms statutes.
 Therefore, ATF does not have the authority to restrict their lawful possession, use, or transfer.

 We hope this information proves helpful in responding to your constituent. Please let me know
 if we may be of further assistance.

                                          Sincerely yours,




                                        Richard W. Marianas
                                         Assistant Director
                                  Public and Governmental Affairs




                                              JA282                                         Exhibit A, Pg. 268
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                    VERIFIED DECLARATION OF DAMIEN GUEDES


          I, Damien Guedes, am competent to state and declare the following based on my

    personal knowledge:

       1. I am a resident of Whitehall Pennsylvania.

       2. In 2014, I became interested in a bump stock device.

       3. Prior to purchasing a Bump Fire Systems bump stock device, as I wanted to

           ensure the legality of the device, I went on Bump Fire Systems' website -

                                          - to determine ifthe Bureau of Alcohol, Tobacco,

           Firearms and Explosives had approved the device.

       4. Bump Fire Systems' website stated that it had obtained approval from ATF and

           provided me with a copy of ATF's April 2, 2012 determination letter. A copy of

           the letter is attached as Exhibit 1.

       5. In reliance on ATF's determination letter of April 2, 2012, I purchased a Bump

           Fire Systems bump stock device at a cost of$99.99, plus $6.00 shipping, which I

           still own today. A redacted copy of the receipt is attached as Exhibit 2.

       6. It is my understanding, based upon ATF' s notice of proposed rulemaking - RIN

           1140-AA52, Fed. Reg. No. 2018-06292-that ATF intends to reclassify bump

           stock devices as machine guns in violation of Article 1, Section 9 of the United

           States Constitution (i.e. Ex Post Fact clause) and to require me to surrender or

           otherwise destroy my Bump Fire Systems bump stock device in the absence of

           any compensation, in violation of the Fifth Amendment to the United States

           Constitution.




                                                  JA283                                   Exhibit A, Pg. 274
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           I declare under penalty of perjury that the foregoing is true and correct to the best

    of my information, knowledge and belief. Executed on April     j_, 2018.

                                                          Damien Guedes




                                              JA284                                         Exhibit A, Pg. 275
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                              Exhibit 1




                                    JA285                             Exhibit A, Pg. 276
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                                                                                .APR 0 2 2012.




     This is in reference to your correspondt.Ti<.:,; to the Bureau of Alcohol, Tobacco, Firearms and
     Explosives (ATF), Firearms Technol•Jgy Bn:mch 0-''l B), reqw:sting FTB to evaluate an
     accompanying stock und detcrmbe if ib (k;;lgn would violate any Federal statutes.

     As background information. the N1uion;.:i r in.:·nnn:; i\Cl (Nb\), 26 U.S.C. Section 5845(b),
     defines '·machincgun"
     " ... any weapon which shoots, 1s d.::.>i>;ncd io sftoot, or can be readily restored to shoot,
     c 1JtUiitafic,1iiy nwn::inan um:sriut, i>'Viihu<d fllll!;mti                                  !:)':,;                       trigger.
     The term shall also include the.frame or n:ccfvf'r of'any such ·weapon, any part designed and
     int1mded solely and excl11siveiy, or combination ofparts designed and intended,for use in
     co11verting a weapon into a                and any combination ofparts from which a
     machinegun can be assembled if such part:i       in the            or under the control ofa
     person."

     The FTB evaluation confirmed that you h.,1.ve submitted a plastic shoulder stock designed to
     function on an AR-15 type ritle (see'enclosed photos). For your stock to function in the manner
     intended, it has to be attached to an AR.. 15 type platform that is assembled with a collapsible-
     stock receiver extension. Along with the shoulder stock, you have submitted what you have
     identified as a "receiver module." This module isa: plastic block approximately 1-5/16 inches
     high, about 1-3/S inches long, and approximately 7/8-inch wide. Additionally, there are two
     extensions, one on each side, that ar+.! designed to travel in the two slots configured on the
     shoulder stock. The receiver module replaces the AR-15 pistol grip.

      FW'ther, the submitted custom shoulder stock hicorporates a pistol grip. This grip section has a
   ' oaVi!yfor the receiver moduJe,to'move               backwm'd. Additionally, two slots have been
    •· · · ·              ·.         ·.. ions t9.       The upper section of the shoulder .stock is
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                                                                                                F.urthet, the custom sfock is




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                                                                JA286                                                           Exhibit A, Pg. 277
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   designed with a "lock pin." When the handle on the lock pin is facing in the 3- to 9-o'clock
   positions, the stock is fixed and will not move; and when the handle on the lock pin is facing in
   the 12- to 6-o'clock positions, the stock is movable.

    The FTB live-fire testing of the submitted device indicates that if, as a shot is fired, an
    imermediate an1ount of pressure is applied to the fore-end with the support hand, the shoulder
    stock device will recoil sufficiently rearward to allow the trigger to mechanically reset.
    Continued intermediate pressure applied to the fore-end will then push the receiver assembly
    forward until the trigger re-contacts the shooter's stationary firing hand finger, allowing a
    subsequent shot to be fired. In this manner, the shooter pulls the firearm forward to fire each
    shot, the firing of each shot being accomplished by a single trigger function. Further, each
    subsequent shot depends on the shooter applying the appropriate amount of forward pressure to
    the fore-end and timing it to contact the trigger finger on the firing hand, while maintaining
    constant pressure on the trigger itself.

    Since your device is incapable of initiating an automatic firing cycle that continues until either
    the finger is released or the ammunition supply is exhausted, FIB finds that it is !!!ll a
    machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18 U.S.C.
    921(a)(23).

    Please be advised that our findings are based on the item as submitted. Any changes to its design
    features or characteristics will void this classification. Further, we caution that the addition of an
    accelerator spring or any other non-manual source of energy which allows this device to operate
    automatically as described will result in the manufacture of a                as defined in the NFA,
    5845(b).

    To facilitate the retun;LQf Y<>ll?          •      ,,                please provide FTB with the
    appropriate FedEx 9f &imitltr account blfi .· .         .witmn 60 days of receipt of this letter. If their
    return is not necessary, please fa F'fl.,lt                    with authorization to destroy them on
    your            >                     ··· "'


    We thank                    .                     regoin& has been responsive to your .evaluation
                        .   .
           '




                                               JA287                                         Exhibit A, Pg. 278
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           When an added switch behind the original trigger was pulled, it supplied electrical
           power to a motor connected to the bottom of a fishing reel that had been placed
           inside the weapon's trigger guard; the motor caused the reel to rotate; and that
           rotation caused the original trigger to function in rapid succession. The weapon
           would fire until either the shooter released the switch or the loaded ammunition
           was expended.

   Id. at 744.

           An ATF expert testified that a true trigger activating devices, although giving the

   impression of functioning as a machinegun, are not classified as machineguns because the

   shooter still has to separately pull the trigger each time he/she fires the gun by manually

   operating a lever, crank, or the like. To this end, the court stated:

           We reject Camp's contention that the switch on ... his firearm was a legal
           "trigger activator". As discussed, those activators described by the ATF Agent
           require a user to separately pull the activator each time the weapon is fired.
           Camp's weapon, however, required only one action - pulling the switch he
           installed - to fire multiple shots.

   Camp, 343 F.3d at 745 .

           Similarly here, even though Freedom refers to its ERAD as a "trigger reset assistance

   device," a firearm fitted with the ERAD does not require separate, mechanical pulls of the trigger

   (i.e., pull and release) to discharge more than a single round. The trigger is moving at such a

   rapid rate that the shooter's finger does not pull the trigger each time to fire each shot, but

   instead pulls the trigger once and then remains stationary, resisting forward pressure, as the

   motor causes the weapon to function automatically, and continue to fire rounds. It is undisputed

   that when the shooter's finger remains connected to the "reset bar," and an electric motor is

   activated, the "reset bar" functions as a trigger in and of itself, and controls the pace of the firing

   sequence. The only action required by the shooter is that of continued rearward pressure. To

   this end, the ERAD is capable of firing at a rate of 500 rounds per minute and does not require

                                                     20




                                                  JA288                                           Exhibit A, Pg. 708
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                               Exhibit 28

                   ( Bump Stock Analytical Video )




                                   JA289                             Exhibit A, Pg. 718
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  )      in this bill?- ,                                        .
               )fr. [<1rnoEmoK. l nm t1;yin~ t.o brini within this ovcrythin!! thnt.
  t      in my 1>pinion should 1111 inc.l11dcd under th11 ti•rm "machine gun."
               )1r. l"rrnAn. Thnt wouJJ_Im dcRifoble.
               ).1r. FttEDEniCK. I l!ho\1lcl not likl', if thnre is t-0 lie legislation with
         f(l~pl!rt to machino g1mR1 to have mM'hino f<!11l1R l'npnlile of ftri:Jlt: ,up
         t o 12 !!hots exempted from tho operations o I.his hill.
               Mr. CocmtAN. Mr. Frederick, under your propoS<'tl delinitioh, "'_
         woukl the Colt automatic pistol he a. m1whioe gun?
               '.\Ir. F.nEDERfCK. No, Rir. I do not think ll'i11t. in tl\(I eyl'R or nny
          hn1Iisti1· cnginco:r it would br. 110 regardrd. I do not think it should
         h!\ w rrgn,rded,                     •
                :\tr. CocunAN. DocR not tbc Colt nutoml\t,ie pistol ro11tii11u1 l.o.
         flho<>t. f\11 long n.s yo11 (1-:<~rt ptO.<>surc upon the trigger?
               :\rr. l•',1mDElHCK. No, sir. Tt re(J'1irl's rt sepnrnt<i pull of the trigg<w
         for t'\' <',l'V i;hot fired.
          . ).fr. 1\JLi,._ 1£ tho Colt nul<!matie p~stol. r.oulc l f)m 12 time~ 1 woultl
          1t"hr n maohme gun umfor this dC?.lin1tion m the bill?
               >Ir. FnEnE1ncK. U0t)l\1" Lhn ddin1ticm 111< print.eel in tho bill?
                :\lr. Hn.i:.. Yes.
               :\tr. FnEne:n101<. 1 do riot know· wlrnt tl1C' faht:nngo menns, "nu l<>-
          nll\ticnlly or scmi11utom11ticnlly." The lnng1111~e is not.i as I re11d it,
          nnil from .my limit<'d knowledge of .firenrms nncl bnl ~tics-which
         1111$ some scope, but, 1 do not pretend to be I\ flnisli<'d master in thut;
          I nm A lawyer, 1 nm not. 11 fire11rms monufnoturcr-1 do uot know
          whnt "nutomaticnll.y or scmi11.11iomaticnlly" mcnns. T11t>rc nre
          nutomotic fC'ntt1ros about tho Colt. pistol in tl1e sense tlmt. when a
                    is fired tbe ~ct.ion_ of tile gas not only oxpels tbc bullet from one -

                                              JA290                       Exhibit A, Pg. 762
                    •' '   I


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      Case 1:18-cv-02988-DLF
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                '.~I ,'
            you t:ry the gmgster. for having the gun, he will interpose with grea~
                     1


            facility, as the past has sbown, tlte so.mo kind of an alibi tbot he has
            alw!iys bet:"1 able to cook up. You will .find somebody who has made
            a gift. t.o btm .
              .i\-lr. •F'ULl..ER. Do you think under tbo terms of tllls bill i~ would
            prohibib nn _o<lministrator or executor from transferring ·Rny of these
            WCl\~Ons't
               Mr. 1.V:ENA.N. I think so but, Mr. Fuller, we expt>ct to find some
            efo11,ent llJld some degree of conunon sense in the Federal judges and
            in the prosecutors.
 · •            M·r. 1'-tcCLtNTtc. Referring b11ck t9 section 1,, on the subject of
            pistols, if you transposed the langu11ge, it: would say" a rim-fire pistol
            greeter thnn a .22 cnliber." That .would exclude tho center ftre pistols
            of lnrgnr caliber. It seenis l.o nur th11t so1no attention ought to ho
            poid l<> that IMgunge so as to clarify it in such way as to eliminate
            tho r.lcment. oI doubt.
                :..tr. Ks~sAl't. I w-0uld be glad to take a not.o of that.
                ~ofr. ~1c0LINTIC. You are referring t.o tJ1e particular I-ind o( pistols.
                Mr. 1\ l:ESAN. I am frank to gay1 '1L·ith ttforence t.o that particu.Jar
            provi!lion1 we have followed the lluiguoge .suggested by our good
            fri(!lldr. 1 tnc National Rifle Association, and those representing sport.-
            mg    men, G"neral Rcrord, ruid !Ylr.1''.rcderirk, 11J1d the others who hnve
            followr<l this legislation for some fif~en-tldd yl'ars, and \Vt1 l1ave tu ken
            thrir <l<'filution ancl their lMguage us to the .22-<ialiher riiu fire, just
            as we 1ulopt,cd the ltmguai;e  a!ljt11e   marhine gun. 'Ve do not want
            t.o c;xclude from the provisions ' f this tl('t any other pistol over tho
            .22 cnlioor.
              Mr. McCLINTtc. ll you leav tl1e liuiguage as it' is written, J am
            afraid you do not do that.                                                ·
              Mr. lhi.r,. One <\uestioll rolatiYe to th~ definition of llls:chine guns.
            There is a distinction between 11n anto-londing and automatic gun,
            I toke it.?                                        .
                ~fr. KEEl'AN. I think so.                     ; •
                Mr. 1£11..L. An Rutomatic g1w is one tluit fires without pulling tbo
            trigger mo.re than once. An auto-loading might not be u aut.omatio.
            An auto-londing gun nught not be an autome.tic gun; for instance,
            you have these small rifbs, the .22-c!lliber riiles whicli are are aut,o..
            fonding, but you have t.o pull the trigger earh." time to fire them.
            That is not a ilUlchine gun.                   .                                ,
                ~Ir. KEENAN. A mal'hino gun is ono tbat shoots more thnn ·one
            shot without mahuol reloacling, b~· 11 sin~lc function of the trigger.
            11 it ('Onics within the provision 01 t-hat, Jt woul<t·oo a macbinc. glUl.
               .}.fr. Jft'!L· If you · hav~ to hll\'C, "101'6 than one function Of , the
            tngg<irt~t 18 JlOt automatic.              .         .      .           ~
                ~lr. AEENAN. That is right.            '                 - - ·          ,
                ?vfr. Hn,r,, I know ib these .amalJ 1·iQe~, wh('n you fire by pulling
            i hc trigtrcr they reload autQmnti<-ally, but lbev do not nuto11t11tirullj
            (i~ O{,'flln wilcs.i you pull t he tri~(,'<lr.         •
                .\Ir. l\£ENAN. I npp~iat.o tho distinction.
                ~rr. H1LL. That is not n mad1inc gut1 11J1der this definition.
                i\fr. 1\ltENAN. No.             ·
                Mr. V1r1soN. 1 nm still thi11ki11g nhuut. the..li.tt'nrm tTmt is now
            owned nnd posse.ssecl Jcgnllv, lllltl reCt'rrini: to tho s upplemental stntc-
        '                                  -
            m out thnt you mnde whiJe.}\{r. Heed of No.w York wos tntcrrogoting
                                               JA291               ~            .
                                                                            Exhibit A, Pg. 818
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 Twelve of those guns were outfitted with the Bump Stock accessory that you are considering today.
 Paddock was able to fire approximately 90 rounds every 10 seconds into the crowd below. This deadly
 device has only one purpose – it enables a gunman to fire rounds at a speed equivalent to that of an
 automatic firearm without removing their finger from the trigger. While it is illegal for private citizens to
 possess fully automatic firearms, Bump Stocks are legal under current federal law.

 The sole and pointless purpose of the Bump Stock is to accelerate the rate of fire to equal fully
 automatic firepower - exactly what Congress attempted to stop with previous legislation that bars fully
 automatic weapons. To prevent such horrific mass murders in the future, Major Cities Chiefs strongly
 support Senator Feinstein’s proposal to ban Bump Stocks and similar devices. We appeal to Senators
 from both parties to join with Senator Feinstein and make S. 1916 a bipartisan effort to prevent another
 tragedy like the massacre in Las Vegas.

 How can this device be justified for sporting or hunting? The assailant in Las Vegas left 58 dead and over
 546 injured within a ten-minute time frame. Major Cities Chiefs are calling upon Congress to act now
 and give to ATF the authority to stop the carnage which results from a military rate of fire.

 Appeals from Houston and Las Vegas

 At our recent meeting in Philadelphia, the Acting Director of ATF who has testified today advised all the
 Chiefs that ATF does not now have the authority under Federal law to bar this device and new legislation
 is required to do so. I have submitted for the record a letter from Houston Chief Art Acevedo who
 supports S 1916 and notes that bump stock legislation is “common sense” legislation to protect the
 public.

 Today I am also entering into the record a letter from Sheriff Joe Lombardo of Las Vegas, in which he
 likewise calls for action by Congress to give ATF authority to take action against the Bump Stock device
 and prevent further tragedies. In the aftermath of the worst mass homicide in our history, Sheriff
 Lombardo has appealed to Congress to empower ATF to protect the public. Surely the Committee can
 find a bipartisan way forward to protect the public from another tragedy of this magnitude.



                        National Instant Criminal Background Check System (NICS)

 Sutherland Springs, Texas Case Study-November 2017:

 The tragedy in Texas exemplifies a broad systemic weakness in NICS. On November 5, 2017, 26-year-old
 gunman Devin Patrick Kelley entered the First Baptist Church in Sutherland Springs, Texas. There he
 murdered 26 individuals and injured 20 others. Like the Las Vegas shooter, Kelley also died at his own
 hand after a self-inflicted head shot. This shooting is the deadliest mass shooting by one person in the
 state of Texas, and the fifth-deadliest mass shooting in the United States to date.

 Kelley entered the church wearing tactical gear and carrying an AR-15 pattern Ruger AR-556 semi-
 automatic rifle. He walked up and down the aisles of the church firing in the pews. Law enforcement
 later reported for evidence they found 15 empty AR-15 rifle magazines capable of holding 30 rounds
 each at the scene. Two additional firearms were later found in Kelley’s vehicle; a Glock 9 mm and a
 Ruger .22-caliber.




                                                   JA292                                            Exhibit A, Pg. 891
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                   Bureau of Alcohol, Tobacco, Firearms, and Explosives

    ____________________________________
                                                )
                                                )              Docket No. ATF 2017R-22
    Bump-Stock-Type Devices                     )
                                                )              RIN 1140-AA52
                                                )




              VERIFIED DECLARATION OF RICHARD (RICK) VASQUEZ


           I, Richard (Rick) Vasquez, am competent to state and declare the following based

    on my training, experience, personal knowledge and prior qualification by the federal

    court as an expert:

       1. I am a former employee of the Bureau of Alcohol, Tobacco, Firearms and

           Explosives (“ATF”), where over my 14 year tenure, I held the titles of senior

           Technical Expert, Assistant Chief of the Firearms Technology Branch (“FTB”)

           Acting Chief of the FTB, and Acting Chief of the Firearms Training Branch.

       2. In these roles, I was responsible for evaluating firearms, non-firearms, and firearm

           accessories, consistent with the Standard Operating Procedures of the FTB, and

           making determinations on whether a particular item constituted a firearm, non-

           firearm or merely a firearm accessory. Additionally, I provided instruction on

           definitions of firearms in the Gun Control Act and the National Firearms Act, for

           ATF.

       3. As a result of my knowledge, experience and training, I have been qualified as an

           expert by numerous federal courts, including in the case of U.S. v. One Historic

           Arms Model54RCCS, No. 1:09-CV-00192-GET.



                                            JA293                                          Exhibit A, Pg. 900
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       4. During my tenure with ATF, in my capacity as Assistant Chief of the FTB and the

            senior Technical Expert for the ATF, I evaluated the Slide Fire stock and

            concluded, consistent with my Slide Fire Analysis (see Exhibit 1), that the Slide

            Fire stock was neither a firearm nor machinegun under the Gun Control Act nor

            under the National Firearms Act.

       5. My conclusion that the Slide Fire stock was neither a firearm nor machinegun was

            reviewed by ATF Chief Counsel and higher authorities within ATF and affirmed.

       6.   I have reviewed the video to be submitted by Firearms Policy Coalition as

            Exhibit 28 to its Comment in Docket No. ATF 2017R-22, RIN 1140-AA52.

       7. The video depicts an individual, Adam Kraut, Esq., firing a Slide Fire stock, in

            the only three possible ways to fire a bump-stock-device (i.e. (1) single shot with

            the Slide Fire stock, locked; (2) single shot with the Slide Fire Stock, unlocked;

            and (3) as the NPR describes (83 Fed. Reg. 13444), unlocked, with the shooter

            maintaining “constant forward pressure with the non-trigger hand on the barrel-

            shroud or fore-grip of the rifle, and constant rearward pressure on the device’s

            extension ledge with the shooter’s trigger finger.”

       8. The video fully, explicitly, and accurately depicts the function of bump-stock-

            devices, including, but not limited to, the function and operation of the firearm’s

            trigger, which is exactingly consistent with my evaluation and review of the Slide

            Fire stock during my tenure with ATF and my Slide Fire Analysis (see Exhibit

            A).

       9. Specifically, as depicted in the video,




                                                 2
                                               JA294                                       Exhibit A, Pg. 901
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               a. The bump-stock-device neither self-acts nor self-regulates, as the bump-

                   stock never fires, in any of the three possible ways to fire a bump-fire-

                   device, more than one round, per function of the trigger, even while the

                   shooter maintained constant pressure on the extension ledge. In fact, as

                   explicitly and accurately depicted in the slow motion portions, the bump-

                   stock-device requires two functions of the trigger before a subsequent

                   round can be discharged (i.e. after the firearm is discharged for the first

                   time, the trigger must be fully released, reset, and then fully pulled

                   rearward for a subsequent round to be discharged); 1

               b. Bump-stock-devices do not permit a continuous firing cycle with a single

                   pull of the trigger, as the video clearly depicts that the trigger must be

                   released, reset, and fully pulled rearward before the subsequent round can

                   be fired; 2

               c. The bump-stock-device requires additional physical manipulation of the

                   trigger by the shooter, as the video clearly depicts that the trigger must be




    1
      It must be noted, as made explicitly clear in the slow motion portions of the video, that
    the bump-stock-device actually requires over-releasing of the trigger, as the shooter’s
    finger travels past the trigger reset by approximately a half-inch, before beginning the
    sequence to fire a subsequent round (e.g. video at 3:46 – 3:51; 3:52 – 3:55; 3:56 – 4:00).
    Thus, the video makes extremely evident and clear that bump-stock-devices are actually
    slower than a trained shooter, as a trained shooter, such as Jerry Miculek, would
    immediately begin the sequence to fire a subsequent round after the trigger resets.
    2
     If the device had permitted continuous firing cycle with a single pull of the trigger, the
    video would depict a scenario identical to Exhibit 26 of Firearm Policy Coalition’s
    Comment (also available at https://www.youtube.com/watch?v=NwQ1aZnVLFA),
    where it clearly and accurately depicts the emptying of the entire magazine, while the
    shooter maintains constant pressure on the trigger.


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                                              JA295                                             Exhibit A, Pg. 902
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                    released, reset, and fully pulled rearward before the subsequent round can

                    be fired;

                d. Even when the shooter maintains constant forward pressure with the non-

                    trigger hand on the barrel shroud or fore-grip of the rifle, and maintains

                    the trigger finger on the device’s extension ledge with constant rearward

                    pressure, after the first shot is discharged, the trigger must be released,

                    reset, and pulled completely rearward, before the subsequent round is

                    discharged. See video at 3:47 – 4:01. This is no different than any factory

                    semi-automatic firearm; and,

                e. The bump-stock-device does not permit automatic fire by harnessing the

                    recoil energy of the firearm. Harnessing the energy would require the

                    addition of a device such as a spring or hydraulics that could automatically

                    absorb the recoil and use this energy to activate itself. If it did harness the

                    recoil energy, the bump-stock equipped firearm in the video would have

                    continued to fire, while the shooter’s finger remained on the trigger, after

                    pulling it rearwards without requiring the shooter to release and reset the

                    trigger and then pull the trigger completely reward for a subsequent round

                    to be fired.

      10.   The cyclic rate of a firearm is neither increased nor decreased by the use of a

            bump-stock-device, as the cyclic rate of a particular firearm is the mechanical rate

            of fire, which can be explained in laymen’s terms as how fast the firearm cycles

            (i.e. loads, locks, fires, unlocks, ejects), which is an objective, not subjective,

            mechanical standard.




                                                   4
                                               JA296                                              Exhibit A, Pg. 903
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      11.   A factory semi-automatic and fully-automatic (i.e. machinegun) firearm,

            manufactured by the same manufacturer, will have identical cyclic rates, unless

            the machinegun version has some form of rate reducing mechanism; whereby, the

            machinegun version may have a slower cyclic rate than the semi-automatic

            version.

      12.   All factory semi-automatic firearms have an inherent ability to be bump fired, as

            the act of bump firing is a technique, which does not require any device, and can

            be performed through, among other things, the use of one’s finger, belt loop or

            rubber band.

      13.   A firearm in a bumpstock/slidefire stock cannot be a machinegun because it

            requires an individual to activate the forward motion of the stock when the

            firearm is fired. Additionally, it requires a thought process of the individual to

            continually pull the trigger when the stock is pulled forward bringing the trigger

            into contact with the finger.



                                            *     *       *


            I declare under penalty of perjury that the foregoing is true and correct. Executed

    on June 18, 2018.


                                                   _________________________________
                                                   Richard Vasquez




                                                  5
                                                JA297                                       Exhibit A, Pg. 904
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                               Exhibit A




                                      6
                                    JA298                             Exhibit A, Pg. 905
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                                   Slide Fire Analysis
                                      Rick Vasquez

 When ATF makes a classification on any device, part, or firearm, the classification
 is based on the definitions in the Gun Control Act (GCA) and the National
 Firearms Act (NFA). Also, classifications are based on any previous Rulings or
 court decisions based on the GCA and the NFA.
 The task of making evaluations is relegated to the Firearms Technology Branch
 (FTB). As the senior Technical Expert for ATF it was my role to render an opinion
 or concur or disagree with opinions rendered by technicians of the FTB. In relation
 to the Slide Fire examination, since it was submitted as a device that would
 enhance the rate of fire of an AR type firearm, the predominant definition used by
 FTB for classification was the definition of a machinegun
 The complete definition of a machinegun is as follows:
 As defined in 26 United States Code, Chapter 53, section 5845(b) Machinegun.
 The term 'machinegun' means any weapon which shoots, is designed to shoot, or
 can be readily restored to shoot, automatically more than one shot, without manual
 reloading, by a single function of the trigger. The term shall also include the frame
 or receiver of any such weapon, any part designed and intended solely and
 exclusively, or combination of parts designed and intended, for use in converting a
 weapon into a machinegun, and any combination of parts from which a
 machinegun can be assembled if such parts are in the possession or under the
 control of a person.
 The first sentence of the definition of a machinegun designed to shoot, or can be
 readily restored to shoot, automatically more than one shot, without manual
 reloading, by a single function of the trigger,” is the basis for the determination
 that a slide fire stock is not a machinegun. Additionally, it was not classified as,
 any part designed and intended solely and exclusively, or combination of parts
 designed and intended for use in converting a weapon into a machinegun, a
 conversion device.
 Another key component in determining what should be classified as a machinegun
 is understanding what a single function of the trigger is. Pulling and releasing of
 the trigger is two functions. The single function is pulling the trigger straight to the
 rear and causing a weapon to fire. If a shooter initially pulls and holds the trigger
 to the rear and a firearm continues to shoot continuously, that is a firearm shooting



                                         JA299                                  Exhibit A, Pg. 906
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 more than one shot with the single function of a trigger. This is critical to
 understanding why or why not a firearm is classified as a machinegun.
 The Slide Fire does not fire automatically with a single pull/function of the trigger.
 It is designed to reciprocate back and forth from the inertia of the fired cartridge.
 When firing a weapon with a Slide Fire, the trigger finger sits on a shelf and the
 trigger is pulled into the trigger finger. Once the rifle fires the weapon, due to the
 push and pull action of the stock and rifle, the rifle will reciprocate sufficiently to
 recock and reset the trigger. It then reciprocates forward and the freshly cocked
 weapon fires again when the trigger strikes the finger on its forward travel.
 After lengthy analysis, ATF could not classify the slide fire as a machinegun or a
 machinegun conversion device, as it did not fit the definition of a machinegun as
 stated in the GCA and NFA.
 Method of Evaluation:
 An item that has been submitted for classification is logged in and assigned to a
 firearm enforcement officer (technician) for evaluation and classification. A
 tracking number is assigned and it awaits its place in the queue.
 The following are procedures for how items were evaluated when I was a member
 of the Firearms Technology Branch. There may have been changes to those
 processes so I can only speak to the processes during the timeframe that I was
 employed at FTB.
 Firearms and firearm-related accessories are submitted to the FTB for analysis
 from the public and firearms industry. The item is generally accompanied by a
 letter of request on how the submitter wants the item to be classified as. There are
 many categories of classification. For example: Is it an importable firearm? Is it a
 sporting firearm? Will it shoot automatically and be classified as a machinegun?
 Does a component fit the definition of an accessory or a firearm, and so forth.
 Housed in the FTB are Standard Operation Procedures (SOPs) that memorialize
 the method of evaluation for most things that are submitted. Once a technician
 begins the evaluation, he will follow these SOPs in his evaluation. Many of the
 items submitted are redundant and have been seen time and time again. These
 items are reviewed and approved by the supervisor and the evaluation is over. For
 example, handguns for importation have a factoring criteria that must meet certain
 points to be imported.




                                         JA300                                   Exhibit A, Pg. 907
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 Items such as the Slide Fire bump fire stock is a device that would have had
 additional scrutiny, especially since a device of this nature had not been previously
 approved. Once again, any evaluation is based on the definitions held in the GCA,
 NFA, previous opinions and rulings. These laws were implemented by Congress.
 Rulings and opinions were authored by council with input from the Department of
 Treasury and the Department of Justice.
 The definition of a machinegun as stated above was used for the foundation of the
 classification of the Slide Fire and it did not meet the definition of a machinegun.
 This opinion was sent to Chief Counsel and higher authority for review. After
 much study on how the device operates, the opinion, based on definitions in the
 GCA and NFA, was that the Slide Fire was not a machinegun nor a firearm, and,
 therefore, did not require any regulatory control.
 Conclusion:
 The methodology of evaluation listed above has been condensed for the reader.
 ATF is tasked with making classifications of items based on the GCA and NFA.
 Personal opinions are not tolerated in the classification process. The Slide Fire
 bump fire stock was properly classified in accordance with the definitions codified
 in 1968 in the GCA and Title II of the GCA which is the NFA.


 Rick Vasquez
 Former Assistant Chief and Acting Chief of the Firearms Technology Branch
 Firearms Consultant and Security Advisor




                                        JA301                                 Exhibit A, Pg. 908
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



  DAMIEN GUEDES,
               et al.

                 Plaintiffs,
                                         Case No. 1:18-cv-02988-DLF
        v.
                                         Judge Friedrich
  BUREAU OF ALCOHOL, TOBACCO
  FIREARMS, AND EXPLOSIVES (“ATF”),
                 et al.


                 Defendants.




  FIREARMS POLICY COALITION, Inc.


                 Plaintiff,
                                         Case No. 1:18-cv-03083-DLF
        v.


  MATTHEW WHITAKER,
               et al.


                 Defendants.



             MEMORANDUM OF POINTS AND AUTHORITIES IN
    OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




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         The NFA, the first major federal statute to regulate guns, required all persons engaged in the

 business of selling “firearms” (including machine guns) 4 and all firearms owners to register with the

 Collector of Internal Revenue, subjected all regulated firearm sales to a special tax, and required that

 transactions of regulated firearms be conducted using written order forms. 5 It also required that

 each maker of a regulated firearm “shall, prior to . . . making [it] . . . obtain authorization in such

 manner as required by this chapter.” 26 U.S.C. § 5841. 6 Congress enacted the NFA to target

 “lethal weapons . . . [that] could be used readily and efficiently by criminals or gangsters.” H.R. Rep.

 No. 83-1337, at A395, reprinted in 1954 U.S.C.C.A.N. 4017, 4542. Under the NFA, a “machinegun”

 is defined as:

         any weapon which shoots, is designed to shoot, or can be readily restored to shoot,
         automatically more than one shot, without manual reloading, by a single function of
         the trigger. The term shall also include the frame or receiver of any such weapon, any
         part designed and intended solely and exclusively, or combination of parts designed
         and intended, for use in converting a weapon into a machinegun, and any
         combination of parts from which a machinegun can be assembled if such parts are in
         the possession or under the control of a person.

 26 U.S.C. § 5845(b).


 Department of the Treasury to the Department of Justice, under the general authority of the
 Attorney General. 26 U.S.C. § 7801(a)(2); 28 U.S.C. § 599A(c)(1).
 4
   Although the NFA applies to “firearms,” the term “firearms” is defined in the statute as a narrow
 set of dangerous weapons, not the full class of weapons encompassed by the meaning of “firearms”
 in ordinary English. See 26 U.S.C. § 5845. “Firearms” includes machine guns, short-barreled
 shotguns, short-barreled rifles, and several items that would not ordinarily be considered “firearms,”
 such as silencers, rockets, and grenades. Thus, as a general matter, standard-length shotguns and
 rifles (including all semi-automatic rifles) and non-automatic handguns, are not “firearms” within the
 NFA’s definition. See United States v. Dunn, 946 F.2d 615, 621 (9th Cir. 1991) (noting Congress has
 found weapons classified by the NFA as firearms “to be inherently dangerous and generally lacking
 usefulness, except for violent and criminal purposes”).
 5
  Consistent with these taxing provisions, Congress passed the NFA pursuant to its taxation powers,
 and the NFA is contained in the Internal Revenue Code (“Revenue Code”).
 6
  Specifically, before a machine gun or other NFA weapon may be made, the maker must: (1) file “a
 written application . . . to make and register the firearm”; (2) pay “any tax payable”; (3) “identif[y]
 the firearm to be made”; (4) “identif[y] himself in the application form”; and (5) obtain the approval
 of ATF “to make and register the firearm” with “the firearm application form show[ing] such
 approval.” 26 U.S.C. § 5822.


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 In correcting its error, ATF determined that the phrase “single function of the trigger” is best

 interpreted to mean a “single pull of the trigger,” by the shooter rather than a single physical

 movement of the trigger itself. ATF Rul. 2006-2, at 2 (citing Nat’l Firearms Act: Hearings Before the

 Comm. on Ways and Means, House of Representatives, Second Session H.R. 9066, 73rd Cong., at 40 (1934)),

 available at: https://go.usa.gov/xEDCC (last visited Jan. 9, 2019). ATF therefore ordered the

 inventor “to register the devices he possessed or to surrender them,” Akins, 312 F. App’x at 199,

 and issued a policy statement concluding that “devices attached to semiautomatic firearms that use

 an internal spring to harness the force of the recoil so that the firearm shoots more than one shot
 with a single pull of the trigger are machineguns.” Final Rule, 83 FR 66516. The inventor sued, and

 ATF prevailed. Akins, 312 F. Appx. at 198.

         ATF soon received classification requests for other devices that, unlike the Akins

 Accelerator, did not include internal springs. In a series of classification decisions between 2008 and

 2017, ATF concluded that such devices, including one submitted by the manufacturer of the bump

 stocks used by the Las Vegas perpetrator, were not machine guns because, in the absence of internal

 springs or similar mechanical parts that would channel recoil energy, the bump stocks did not fire

 “automatically.” Final Rule, 83 FR 66517. A consequence of this conclusion is that bump stocks

 fell outside the scope of federal firearms regulations, see id., and became popular, with an estimated

 520,000 bump stocks sold at an estimated average price of approximately $300. See id. at 66538.

         2. Development of the Challenged Final Rule

         The public attention given to bump stocks in the wake of their use by the Las Vegas

 perpetrator led the Department to revisit its prior analysis of the terms used to define machine gun

 in 26 U.S.C. 5845(b), along with whether bump stocks properly should be classified as machine

 guns. See Final Rule, 83 FR 66516-17. As an initial step, ATF published an advance notice of

 proposed rulemaking (“ANPRM”) in the Federal Register. See Application of the Definition of

 Machinegun to “Bump Fire” Stocks and Other Similar Devices, 82 FR 60929 (Dec. 26, 2017). The ANPRM

 solicited comments concerning the market for bump stocks. See id. Specifically, the Department

 asked a series of questions of manufacturers, consumers, and retailers regarding the cost of bump


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 destruction of the devices” or to “abandon [them] at the nearest ATF office.” Id. at 66549. Current

 owners of bump stocks have 90 days to comply in order to “avoid criminal liability.” 8 Id. at 66530.

           The analysis in the Final Rule mirrors that in the NPRM. First, consistent with ATF’s

 position since 2006, the Final Rule explains that the Department is interpreting the phrase “single

 function of the trigger” to mean a “single pull of the trigger” as well as “analogous motions.” Id. at

 66515. In addition, to account for the manner in which firing is initiated by a single pull of the

 trigger, the Final Rule explains that it is clarifying the term “automatically.” Id. Under the

 Department’s interpretation set forth in the Final Rule, “automatically,” in the context of the

 statutory definition of machine gun, means “as the result of a self-acting or self-regulating

 mechanism that allows the firing of multiple rounds through a single pull of the trigger.” Id. at

 66554. The Final Rule explains that these definitions are being adopted because they “represent the

 best interpretation of the statute.” Id. at 66521.

           Relying on these definitions, the Final Rule sets forth the conclusion that “[t]he term

 ‘machine gun’ includes a [bump stock].” Id. at 66554. As the Final Rule explains, this expansion of

 the definition is appropriate because the firing sequence is “automatic.” Id. at 66531. This

 conclusion is based on the determination that, as long as: 1) the trigger finger remains stationary on

 the ledge provided by the design of the device; 2) the shooter maintains constant rearward pressure

 on the trigger; and 3) the shooter engages in constant forward pressure with the non-trigger hand on

 the rifle through the barrel-shroud or fore-grip; then, the firearm’s recoil energy is harnessed in a

 continuous back-and-forth cycle. Id. at 66532. In this way, a bump stock constitutes a “self-

 regulating” or “self-acting” mechanism that allows the shooter to attain continuous firing after a

 single pull of the trigger. Id. Thus, bump stocks are machine guns because they convert an

 otherwise ordinary semiautomatic firearm 9 into a machine gun by functioning as a self-acting or self-

 8
     This 90 day period began upon publication in the Federal Register on December 26, 2018.
 9
   “The term ‘semiautomatic rifle’ means any repeating rifle which utilizes a portion of the energy of a
 firing cartridge to extract the fired cartridge case and chamber the next round, and which requires a
 separate pull of the trigger to fire each cartridge.” 18 U.S.C. § 921(a) (28). The term “semi-
 automatic firearm,” is not specifically defined in federal law, but generally refers to any weapon that


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 regulating mechanism that, after a single pull of the trigger, harnesses the recoil energy of the

 semiautomatic firearm in a manner that allows the trigger to reset and continue firing without

 additional physical manipulation of the trigger by the shooter, so long as the shooter also maintains

 constant rearward pressure on the trigger and constant forward pressure with the non-trigger hand

 on the rifle through the barrel-shroud or fore-grip. See id. at 66514, 66516.

         In addition to setting forth the analysis above, the Final Rule describes and provides

 responses to the 186,000+ comments received on the NPRM. See 83 FR at 66519-43. It includes

 responses to the comments made by some of the Plaintiffs here and the claims they raised. Compare,
 e.g., Comment ID ATF-2018-0002-61777 (FPC Comment ATF 2017R-22) at 7-8 (June 26, 2018),

 regulations.gov, https://go.usa.gov/xEDrN, with Final Rule, 83 FR 66528-29 (responding to

 comment). Plaintiffs do not assert a claim alleging that the Final Rule fails to respond to their

 comments.

     C. The Appointments Clause

         The Appointments Clause of Article II of the U.S. Constitution prescribes the method of

 appointment for all “Officers of the United States” whose appointments are not otherwise provided

 for in the Constitution. U.S. Const. art. II, § 2, cl. 2; see Buckley v. Valeo, 424 U.S. 1, 125-26, 132

 (1976) (per curiam). “Officers” are those persons who hold a “continuing and permanent” federal

 position and exercise “significant authority pursuant to the laws of the United States.” Lucia v. SEC,

 138 S. Ct. 2044, 2051 (2018). Pursuant to the Clause, the President, with the advice and consent of

 the Senate, nominates principal officers, such as the Attorney General. Congress may vest the

 power to select “inferior Officers,” however, “in the President alone, in the Courts of Law, or in the

 Heads of Departments.” U.S. Const. art. II, § 2, cl. 2. Neither the Appointments Clause nor any


 after a round of ammunition is fired, chambers the next round of ammunition and can then be fired
 with a separate pull of the trigger. See, e.g., Ohio Rev. Code Ann. § 2923.11 (West 2017) (“‘Semi-
 automatic firearm’ means any firearm designed or specially adapted to fire a single cartridge and . . .
 chamber a succeeding cartridge ready to fire, with a single function of the trigger”); N.Y. Penal Law
 § 265.00(21) (McKinney 2018) (“‘Semiautomatic’ means any repeating rifle, shotgun or pistol . . .
 which utilizes a portion of the energy of a firing cartridge or shell to extract the fired [round] . . . and
 chamber the next round, and… requires a separate pull of the trigger to fire each cartridge or shell”).


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 trigger”). And this phrase has made it into common parlance as an idiom meaning “to make a final

 decision.” See Idioms, The Free Dictionary, “pull the trigger,” available at:

 https://idioms.thefreedictionary.com/pull+the+trigger (last visited Jan. 15, 2019). Recognizing the

 ubiquity of this usage, the Supreme Court has described a machine gun within the NFA’s definition

 as one that “fires repeatedly with a single pull of the trigger.” Staples v. United States, 511 U.S. 600,

 602 n.1 (1994).

        Adopting this interpretation of “single function of the trigger” accords with the ordinary

 meaning of the term “function,” which includes “any of a group of related actions contributing to a
 larger action.” Webster’s Ninth New Collegiate Dictionary, 498 (1986); see also Random House

 Thesaurus College Edition, 297 (1984) (a synonym of function is “act”). With regard to a bump

 stock under the Final Rule, the action or act is a “pull of the trigger,” which is the step that

 ultimately leads to automatic firing of what would otherwise be a semi-automatic firearm. In United

 States v. Fleischli, 305 F.3d 643, 654-56 (7th Cir. 2002) (superseded by statute for other reasons), the

 Seventh Circuit recognized that the definition of “single function of the trigger” reasonably

 encompassed “an electronic on-off switch rather than a more traditional mechanical trigger,”

 thereby concluding that a “minigun” was a machinegun. In doing so, the Court rejected arguments

 that the minigun was not a machine gun because it was not fired by pulling a traditional trigger:

 “[the] electronic switch served to initiate the firing sequence and the minigun continued to fire until

 the switch was turned off or the ammunition was exhausted. The minigun was therefore a machine

 gun as defined in the National Firearms Act.” Id. at 656.

        This interpretation is also consistent with how the phrase “single function of the trigger” was

 understood at the time of the NFA’s enactment in 1934. Prior to enacting the NFA, Congress

 received testimony that a gun “which is capable of firing more than one shot by a single pull of the

 trigger, a single function of the trigger, is properly regarded, in my opinion, as a machine gun,”

 whereas “[o]ther guns [that] require a separate pull of the trigger for every shot fired . . . are not

 properly designated as machine guns.” National Firearms Act: Hearings Before the Committee on

 Ways and Means, H.R. 9066, 73rd Cong., 2nd Sess., at 40 (1934) (reproduced at Compl. Ex. A, p.


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 761). In Akins, the Eleventh Circuit relied on these sources to conclude that ATF’s interpretation of

 “single function of the trigger” to mean a “single pull of the trigger” “is consonant with the statute

 and its legislative history.” Akins, 312 F. App’x at 200. 12

        The Final Rule’s interpretation of “automatically” as meaning “the result of a self-acting or

 self-regulating mechanism that allows the firing of multiple rounds through a single function of the

 trigger” likewise accords with the plain meaning of that term. 83 FR 66553-54. As the Final Rule

 explains, “‘automatically’ is the adverbial form of ‘automatic,’ meaning ‘[h]aving a self-acting or self-

 regulating mechanism that performs a required act at a predetermined point in an operation[.]’” 83

 FR 66519 (quoting Webster’s New International Dictionary 187 (2d ed. 1934); 1 Oxford English

 Dictionary 574 (1933) (defining “automatic” as “[s]elf-acting under conditions fixed for it, going of

 itself.”)). This is consistent with the definition employed by the Seventh Circuit Court of Appeals in

 interpreting the definition of machine gun in United States v. Olofson, 563 F.3d 652, 658 (7th Cir.

 2009). There, the Court explained that the statutory definition “delineates how the discharge of

 multiple rounds from a weapon occurs: as the result of a self-acting mechanism . . . set in motion by

 a single function of the trigger and . . . accomplished without manual reloading.” Id. This use of the

 term “automatically”—to describe a device that assists in the channeling of energy into the

 subsequent operation of the trigger, but nevertheless includes some degree of manual input—is no

 different than other common uses of the term “automatic.” 13 For example, in a car, an “automatic”


 12
   As the Final Rule explains, rather than narrowing the definition of “single function of the trigger”
 to be only a “single pull of the trigger,” as proposed in the NPRM, DOJ is interpreting “pull”
 broadly to encompass other, analogous types of “functions” of the trigger that are analogous to a
 “pull,” and would otherwise be excluded by adoption of a narrow interpretation of “single function
 of the trigger.” 83 FR 66518 n.5; 83 FR 66534-35. Such “analogous motions” include a “push,” the
 “flipping of a switch,” or other reasonable interpretations. See id. This is necessary to avoid “the
 absurd result of enabling persons to avoid the NFA” and ATF’s post-2006 interpretation of the
 phrase “single function of the trigger” by reversing a trigger so that it is operated with a push or
 installing a switch or button to operate the trigger instead. 83 FR 66518 n.5 (citing Fleischli, 305 F.3d
 at 655-56).
 13
   The dictionary definition of “machine gun” as an “arm operated by a mechanism, able to deliver
 rapid and continuous fire as long as the trigger is pressed,” Mot. at n.38, has no bearing on the Final
 Rule interpretation of “single function of the trigger” and “automatically.” As Plaintiffs


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         It is well-established that, in the absence of operative statutory language, a “quoted statement

 of congressional findings is a rather thin reed” on which to imply statutory requirements that are

 “neither expressed nor fairly implied in the . . . operative sections” of a statute. Nat’l Org. for Women

 v. Scheidler, 510 U.S. 249, 260 (1994); see also Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 620-21

 (1999) (Thomas, J., dissenting) (“congressional findings, . . . written in general, hortatory terms . . .

 provide little guidance to the interpretation of the specific language” in a statute). This is because

 “‘Findings’ and ‘purpose’ clauses [that] are common in federal statutes . . . are usually sweeping in

 scope . . . [,] [b]ut in legislation details matter.” City of Joliet, Ill. v. New West, L.P., 562 F.3d 830, 836
 (7th Cir. 2009). As in Scheidler, “Congress could easily have narrowed the sweep” of ATF’s authority

 by placing an explicit limitation on the agency’s rulemaking power. Scheidler, 510 U.S. at 260-61.

 Instead, Congress imposed only additional procedural requirements on ATF’s exercise of its

 authority—a 90-day notice provision and an “opportunity for hearing” requirement—not a broader

 bar. FOPA § 106.

         2. The Agency Has the Authority to Adopt Definitions of Undefined or Ambiguous
            Terms, Including “Automatically” and “Single Function of the Trigger.”
          “The power of an administrative agency to administer a congressionally created and funded

 program necessarily requires the formulation of policy and the making of rules to fill any gap left,

 implicitly or explicitly, by Congress.” Morton v. Ruiz, 415 U.S. 199, 231 (1974). Where Congress has

 “fail[ed] to define a term,” or left the term open to multiple interpretations, there is “an implicit

 legislative delegation of authority to . . . clarify the undefined term.” Walshire v. United States, 288

 F.3d 342, 347 (8th Cir. 2002). These general principles apply even to interpretations of criminal

 statutes that are not entitled to deference, so long as the terms are given their “ordinary, accepted

 meaning.” Burrage v. United States, 571 U.S. 204, 216 (2014); see United States v. Apel, 571 U.S. 359, 369

 (2014) (Supreme Court has “never held that the Government’s reading of a criminal statute is

 entitled to any deference”).

         As an initial matter, because the GCA “authorizes the [Attorney General] to promulgate

 those regulations which are ‘necessary,’ it almost inevitably confers some measure of discretion to


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 ground when he explained that Presidents had used their statutory authority to name temporary

 officials “whether in a vacation or during the session of Congress.” Buchanan’s 1861 Message at 2.

         The office of Attorney General, while historically unusual in some practical respects,

 presents no unique features suggesting any different constitutional treatment. Unlike some of the

 other members of the President’s Cabinet, the Attorney General did not supervise an “executive

 department” until 1870 when the Department of Justice was established. See Act of June 22, 1870,

 ch. 150, § 1, 16 Stat. 162, 162. And because the Attorney General was not head of an “executive

 department,” his office was not subject to the terms of the 1792, 1795, or 1863 statutes, or the
 Vacancies Act of 1868. Nonetheless, in 1854, Attorney General Cushing noted that the President

 had made “temporary appointment[s]” to the office of Attorney General. Office and Duties of Atty.

 Gen., 6 Op. Att’y Gen. 326, 352 (1854). And although it was “questionable” whether the President

 had the statutory authority, Attorney General Cushing opined that perhaps “the power to make such

 temporary appointment is a constitutional one.” Id. He recommended that Congress enact a

 vacancy statute specific to the office of Attorney General, which Congress eventually did when it

 enacted the predecessor of section 508 as part of the Department of Justice’s 1870 organic statute.

         In fact, Presidents designated Acting Attorneys General both before and after the 1854

 Cushing opinion and some of those designations included non-Senate-confirmed individuals. In

 July 1866, for example, non-Senate-confirmed Assistant Attorney General J. Hubley Ashton served

 as ad interim Attorney General following Attorney General Speed’s resignation. See 2018 OLC Op.,

 Ex. 1 at 17 (citing Acting Attorneys General, 8 Op. O.L.C. 39, 41 (1984)). 36 In addition, between 1859

 36
   As with the other Cabinet positions discussed in the preceding footnote, ad interim Attorneys
 General were not seen as filling the actual position of Attorney General. The next permanent
 Attorneys General were described as being nominated in place of the Attorneys General who had
 resigned, not of the ad interim Attorneys General. See S. Exec. J., 30th Cong., 1st Sess. 429 (June 15,
 1848) (nominating Isaac Toucey “to be Attorney-General of the United States, in the place of
 Nathan Clifford, resigned”); 3 The Diary of James K. Polk During His Presidency, 1845 to 1849, at 393
 (Milo Milton Quaife ed. 1910) (diary entry for Mar. 20, 1848, noting appointment of Secretary of the
 Navy John Y. Mason as “Acting Atto. Gen’l of the U. S. ad interim”); S. Exec. J., 39th Cong., 1st
 Sess. 994 (July 20, 1866) (nominating Henry Stanbery “to be Attorney General of the United States,
 to fill the vacancy occasioned by the resignation of James Speed,” even though Assistant Attorney
 General Ashton had been serving as ad interim Attorney General since July 17).


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                     EXHIBIT 1




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                            LEN SAVAGE, PRESIDENT

                           t1i~torie '(Irm~ .b.b.



                                                    706-675-0287 Home
                                                    706-675-0818 Shop


          Analysis and commentary regarding: DOCKET NUMBER: ATF 2017R-22
                                             &

       BUMP- STOCK -TYPE- DEVIC ES
     ORIGIN

    Why was the bump stock invented in the first place? The answer is that they would not
    exist if the government had not effectively "banned" machineguns on May 19, 1986 with
    implementation of the Hughes amendment of the Firearms Owners Protection Act.

    A "bump-stock-type-device" is a direct result of the government banning something.
    With the supply of citizen legal machineguns fixed, demand grew with the population
    and that has caused prices of these "transferable" machineguns to skyrocket in price.

    Prices drove the market into looking for an alternative. Simulating "full auto fire" with a
    multitude of products that claim to increase the rate of fire had a ready made market
    created by the government.

    In most cases the product is more of a parlor trick than anything else. You do not hear of
    any law enforcement agency or foreign military fielding them.

    OPERATION

    How does a bump stock work? A bump stock can do NOTHING without the skill and
    coordination of the shooter. A specific skill based shooting technique called "bump
    firing" must be utilized.

    The United States Department of Justice on July 27, 2017 explained the operation of
    bump-stock-type-devices to US district courts as:

           "Bump firing" is the process of using the recoil of a semiautomatic firearm to
           fire in rapid succession, simulating the effect of an automatic firearm when
           preformed with a high level of skill and precision by the shooter. Bump


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              firing requires the shooter to manually and simultaneously pull and push the
              firearm in order for it to continue firing.

     (Case 3:16-cv-00243-RLY-MPB Document 28, Page 21) complete document attached

     All firearms have a recoil impulse because in order to propel a projectile out the barrel,
     an equal force in the opposite direction is also generated. A semiautomatic fireann, due
     to its mechanical nature, has the ability to generate this recoil impulse every time the
     trigger is activated.

     This cycle of mechanical events that stait with the trigger activation and end with a new
     round in the chamber ready to begin again is the cycle rate or how fast the firearm can
     physically complete cycles (or rounds fired).

    The fact is any semiautomatic AR-15 (or AK-4 7 for that matter) can fire as fast as a
    machinegun version. Their cyclic rates are identical to the machinegun version. Their
    essential operating mechanisms are identical, same ammo, same mags, same
    reciprocating mass. The only small physical difference is the machineguns described
    have a mechanical lever that "automatically" starts the new cycle as soon as the previous
    cycle ends.

    Some semiautomatic firearms can even fire faster than the full auto version because the
    machinegun version having some form of a rate reducing mechanism.

    ALL semiautomatic firearms can be "bump fired" regardless of any "bump-type-stock-
    device" installed or not. It is a matter of skill and coordination to find the "rhythm", or
    cyclic rate of the firearm at hand and the correct amount of counterforce to be applied and
    when to apply them.

    The only "self acting and self regulating" force of a bump-type-stock-device is provided
    by the shooter and the firearm, none is provided by the stock. Basketballs don't dribble
    automatically even if the skills of most the NBA players make it appear so.

    A bump-type-stock-device allows a small amount of linear motion of the firearm frame,
    allowing for safe control of the fireann while utilizing the bump fire shooting technique.
    There is less risk of loss of control of the firearm when using bump-type-stock-device vs.
    using the shooting technique without one.

    Put bluntly, bump-stock-type-devices make using the bump fire shooting technique
    safer for the shooter and those around the shooter.

    ADMINISTRATIVE RECORD

    Bill Akin seeking to fill a market need invented, patented, and then produced the Akin's
    Accelerator. In his quest to simplify or make the bump fire shooting technique easier,
    though similar to a bump-stock-type-device it was different in two ways.


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     1.) No required bump fire skills or technique to function.
     2.) Reduced shooter input required to function (no coordination required).

     The ATF initially agreed with Mr. Akin that indeed the trigger of the firearm was being
     activated with each shot. Mr Akin after securing his patent went into business making
     the "Akins Accelerator" stock for the Ruger 10/22 rifle.

     The .22 rim fire cartridge made the real skill in the Akins Accelerator the tuning process
     involved in adjusting the operating spring that regulated his device. They were tricky to
     set up to work, (lots of trial and error), but once set up ran like a sewing machine.

     When the ATF reclassified his product Mr. Akins sought iudicial relief and took the ATF
     and DOJ to court over the issue. The case went to the 11 t circuit court of appeals. The
     Department of Justice documented through court proceedings just how much "extensive
     legal analysis" was conducted by them on the subject ofmachineguns and bump-stock-
     type-devices.

     Mr. Akin researched ways to salvage his patent and hopefully come up with a lawful
     replacement product that would pass ATF examination and classification.

    I was a member of Mr. Akins legal team and my company later helped him research and
    develop his compliant replacement product. 20% of the DOJ cited A TF classification
    letters on "Bump-Stock-Type-Devices" are addressed to me. I have no commercial
    interest in bump-stock-type devices other than the research and development completed.

    The administrative record, such that it is, is VERY clear.

    The basic premise of all current ATF classification letters as well as court pleadings by
    ATF and DOJ to date are that a device not omit the required skill or the shooters required
    input in order to achieve "bump fire".

    The Department of Justice on September 13, 2017 on why a bump-stock-type-device is
    NOT a machinegun:

            "Because of the manual, skill based methods required to operate a bump fire
            device" (case3:16-cv-00243-RLY-MPB, Document 33, page 8) complete
            document attached

    The above policy is based on logic and science and is therefore demonstrable with a
    simple scientific test.

    ATF RULING 82-8 proves that DOJ knows that "grandfathering" a device when they
    had; 1.) Previously declared the device to be lawful, 2.) Then later declared the device to
    be a machinegun, as being perfectly lawful to possess if made before the ruling date.
    Complete document attached


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     Complete document attached

     Furthermore on September 10, 2009, ATF experts were asked about the firearms
     "grandfathered" in ATF Ruling 82-8 under oath. The ATF's official position is that the
     firearms are machineguns, do not require registration, nor do they require a tax be paid on
     them, and the ATF is aware they are in circulation (approximately 50,000), but are no
     longer manufactured. (US vs. One Historic Anns Model54RCCS Case 1:09-CV-00192-
     GET). Relevant document page attached

     The Department of Justice cun·ently claims that an ordinary shoe string can be a
     machine gun if installed on a semiautomatic firearm. There are documents dating from
     1996, 2004, and 2007 from ATF on this issue. ATF letter to Brian Blakely June 25,
     2007:
            "When the string is added to a semiautomatic firearm as you proposed in
            order to increase the cycling rate of that rifle, the result is a firearm that fires
            automatically and consequently would be classified as a machinegun"
            Complete document attached

     It is significant that the DOJ claims that both shoe strings and bump-stock-type-devices
     convert semiautomatic firearms into machineguns, yet has chosen NOT to regulate them
     in any way, let alone ban all shoe strings and demand their forfeiture, destruction, or ban
     further manufacture.

     The documents prove that DOJ can indeed grandfather items that purportedly convert a
     semiautomatic firearm into a machinegun as they have with the shoe string issue.

    BUMP-STOCK-TYPE-DEVICE CRIME

    Just how many crimes are committed using "'Bump-Stock-Type-Devices" anyway?
    The only alleged use of a "bump-type-stock-device" during a crime was the Las Vegas
    shooting incident on October 1, 2017.

    Both ATF and FBI were specifically asked ifthey had ANY records of a "bump-type-
    stock-device" being used in a crime on April9, 2018 via a Freedom Oflnformation Act
    (FOIA) request. Complete document attached.

    To date neither ATF nor FBI will confirm ANY crime being committed (including the
    Oct 1, 2017 Las Vegas incident). In fact ATF Firearms Technology did not even receive
    the firearms from the Oct. 1, 2017 shooting incident until April ofthis year.

    No ATF "Report of Technical Examination" (ATF form 3311.2) has been released for
    any of the firearms used in the incident. For all we know the firearms could have been a
    machinegun with a "bump-stock-type-device" installed to throw off unwanted attention
    from law enforcement as a ruse or decoy for reports of automatic gun fire.




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     There simply are no other known crimes committed with "bump-stock-type-devices".
     No known military uses "bump-stock-type-devices, nor does any known law enforcement
     agency.



     THE NPRM ENFORCEMENT SCHEME FATALLY FLAWED

     The NPRM does not address several serious issues.

        1. The change in policy asks for a willing suspension of disbelief of basic science
           and physics.

        2. The change in policy will put ATF experts at risk of being impeached as expert
           witnesses.

        3. The summary of the NPRM is filled with demonstrably false or misleading
        statements that are disputed by DOJ's own experts at ATF.

    ATF expert testimony in trials and in classification letters conflict factually with the
    NPRM when it states on page 19:

    "Because these bump stock type devices allow multiple rounds to be fired when the
    shooter maintains pressure on the extension ledge of the device, they are a
    machinegun".

    The problem with that statement is that it is patently false.

    Furthermore, it easily demonstrated as a false statement.

    If that where all it took to make a bump-stock-type-device to function as the DOJ claims
    a simple scientific test could be given to determine if the device is really self activating
    and self regulating or whether there is coordinated skilled input :from the shooter:

     .... please demonstrate firing a bump type stock device equipped firearm using only
     your trigger band as described, using no skilled coordinated input from your other
     hand. (It can't be done as it takes two hands, skill, and coordination in order to
    function.)

     No doubt such a requested demonstration would be part of any court proceedings should
    this proposed rule be implemented and ultimately prosecuted.

    One could point out the United States Department of Justice knows of this test, as they
    certainly are familiar with the results of such a test:




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              "Bump firing" is the process of using the recoil of a semiautomatic firearm to
              fire in rapid succession, simulating the effect of an automatic firearm when
              preformed with a high level of skill and precision by the shooter. Bump
              firing requires the shooter to manually and simultaneously pull and push the
              firearm in order for it to continue firing.

     (Case 3:16-cv-00243-RLY-MPB Document 28, Page 2l}Complete document attached.

     If such a device were truly self acting and self regulating as the Department of Justice
     now claims, then a bump-stock-type-device equipped firearm should fire as a
     machinegun with no coordinated skilled effort from any other body prut (which is
     impossible).

     This same "coordinated input test" applied to an Akins Accelerator equipped
     firearm would fire and operate with just one hand providing input and no coordinated
     skilled effort from any other body part.

     This same "coordinated input test" applied to the "shoe string" equipped firearm
     would fire and operate with just one hand providing input and no coordinated skilled
     effort from any other body part.

    The document control number of every ATF classification letter contains the identity of
    person drafting the communication. Furthermore, a simple search for the
    "Correspondence Approval and Clearance" (ATF form 9310.3A) associated with any
    bump stock letter assuring the item in question is not a firearm under the NFA and GCA
    will indentify every person involved in the classification process. Under US v. Brady the
    Department of Justice is mandated to providing this information to any future defendant
    when they attempt to prosecute anyone on this policy.

    The cost of this proposed rule will be the credibility of the ATF firearms expert trying to
    explain or defend its preposterous claims under cross examination during some current or
    future court case.

    The definition of the word arbitrary: "Based on some random choice or personal
    whim, rather than any reason or system".

    THE SCOPE OF THE NPRM IS OVERLY BROAD DUE TO VAGUE LANGUAGE

    The NPRM has descriptive language that is so vague it could be describing hundreds of
    thousands of pump shotgun in the US, making each a potential machinegun. As there are
    several models of shotguns that operate precisely as stated on page (1) of the NPRM
    "firing without additional physical manipulation of the trigger by the shooter"
    (There were approximately 500,000 Model37 pump shotguns made by Ithaca alone).

    The vague language of the NPRM also describes every semiautomatic firearm made to
    date. Because;


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              1.) All semiautomatic firearms have the intrinsic ability to "bump fire" and are a
              type of device.

              2.) All semiautomatic firearms are by their very definition both a "self
              regulating", and a "self acting" mechanism.


     Rate of fire is not regulated by the NFA or the GCA in any way. DOJ knows that ALL
     semiautomatic firearms CAN fire as fast as a machinegun. This is because a
     semiautomatic and a machinegun version of the same firearm have the same essential
     operating mechanism (other than a few small parts in the trigger assembly).

     Bump-stock-type-devices were created as a direct result of government regulation. They
     simply would not exist if the purchase price of so called "transferable" machineguns were
     not so expensive due to supply being fixed on May 19, 1986.

     If the government really wanted bump-stock-type-devices to go away, and they claim
     they have the right to reconsider its previous interpretations, then the government would
     open the NFRTR to new transferable machineguns.

     Nobody would bother with a bump-stock-type-devices and the government would know
     precisely where each new machinegun was. 922(o) " .... Or under the authority of'.
     The government could choose to simply "authorize" the new registrations.

     OR: The Attorney General could simply declare a general amnesty under the NFA any
     time he wishes to as long as they are not concurrent (must be separated by one calendar
     day).

    DOJ has had the power to do both and neither would have required any proposed rule
    making.

    Claims made by DOJ in the NPRM can only be described as deceptive; they are not
    supported by scientific facts or DOJ' s own documents.




                                             Len Savage
                                         Historic Arms LLC
                                           May 25,2018


    The documents are attached in the order they are referred to in the text.


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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     EVANSVILLE DIVISION

   FREEDOM ORDNANCE MFG., INC.,                  )
                                                 )
           Plaintiff,                            )
                                                 )
   V.                                            ) Case No. 3:16-cv-243-RLY-MPB
                                                 )
   THOMAS E. BRANDON, Director,                  )
   Bureau of Alcohol Tobacco Firearms            )
   and Explosives,                               )
                                                 )
           Defendant.                            )

        BRIEF IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT AND IN
           OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

           Freedom Ordnance Manufacturing, Inc. ("Freedom") is a firearms manufacturer

   headquartered in Chandler, Indiana.    In this case, Freedom challenges a decision by the Bureau

   of Alcohol, Tobacco, Firearms, and Explosives ("ATF") that a device Freedom seeks to

   manufacture and market is a "machinegun" as defmed under the National Firearms Act, 26

   U.S.C. § 5845(b).    ATF's decision is not arbitrary and capricious, but is supported by the

   administrative record.   Based on the foregoing, ATF is entitled to summary judgment.




                                                    1




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                        STATEMENT OF MATERIAL FACTS NOT IN DISPUTE 1

           Freedom Ordnance Manufacturing, Inc. ("Freedom") is a federally-licensed firearms

   manufacturer with its principle place of business in Chandler, Indiana.     (Docket No. 1 ~ 2.)

   Freedom designed an Electronic Reset Assist Device ("ERAD") for commercial sale to the

   general public.   (Docket No. 1 ~ 9.)    The purpose of the ERAD, as described by Freedom, is to

   "improve firearm design" to assist the firearm user's "ability to continually pull the trigger in a

   rapid manner when a high rate of fire is desired."    (Administrative Record ("AR") 0025; Patent

   documents.)

           The Firearms and Ammunition Technology Division ("FATD") of ATF, through its

   Firearms Technology Industry Services Branch ("FTISB"), provides expert technical support to

   A TF, other Federal agencies, State and local law enforcement, the firearms industry, Congress,

   and the general public.    ATF, Firearms Ammunition and Technology (20 17), available at

   https://www.atf.gov/firearm s/firearms-and-ammunition- technology.       FTISB is responsible for

   technical determinations concerning types of firearms approved for importation into the United

   States and for rendering opinions regarding the classification of suspected illegal firearms and

   newly designed firearms.     Id.

          There is no requirement in the law or regulations for a manufacturer to seek an A TF

   classification of its product prior to manufacture.   See Bureau of Alcohol, Tobacco, Firearms

   and Explosives, National Firearms Act Handbook 7.2.4 (2017), available at


   1
    As discussed in Legal Background, Section D, the typical Fed. R. Civ. P. 56 standard and
   procedural structure does not apply in an APA review case. Accordingly, the Defendant is not
   required to marshal evidence showing material issues of fact in dispute and the typical
   "Statement of Material Facts Not In Dispute" does not apply, but is offered for factual context.
   Specific sections of the Record are cited in the relevant portions of the Argument section.

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       https://www.atf.gov/flrearms/national-frrearms-act-handbook.          ATF, however, encourages

       firearms manufacturers to submit devices for classification before they are offered for sale to

       ensure that the sale of such devices would not violate the Federal firearms laws and regulations.

       !d.   A TF responds to classification requests with letter rulings that represent "the agency's

       official position concerning the status of the firearms under Federal frrearms laws."       !d. at

       7.2.4.1.

                  A.       The November 2015 Submission

                  In November 2015, Freedom submitted a request to FTISB to examine a "trigger reset

   device."            (AR 0002; 0005- 17 (photos of submission).)      Freedom submitted a prototype of the

   device, along with correspondence, and a Bushmaster Model XM15-E2S AR-type firearm to be

   used in testing the prototype.         (!d.)

               FTISB closely examined and tested the prototype.          (AR 0003.)   As part of the

   examination, FTISB staff fired an AR-type rifle 2 with the prototype attached.          (Jd.)   FTISB

   staff noted two instances of machinegun function with the prototype device attached.             (!d.)

   Specifically, FTISB found that trigger reset device, when attached to the test weapon, converted

   it into a weapon that frred automatically - "firing more than one shot without manual reloading

   by a single function of the trigger."          (!d.)   Based on the examination and testing conducted,

   FTISB determined that the trigger reset device was a "machinegun" as defined in 26 U.S.C. §

   5845(b), and notified Freedom in a letter dated March 23, 2016.            (AR 0002- 4.)

              B.          The April2016 Submission and October 27,2016 Classification Decision



   2
    FTISB ended up using an A TF AR-type frrearm to field test the prototype device because it
   noted a deformity in the Bushmaster Model XM15-E2S AR-type firearm submitted by Freedom.
   (AR 0003.)
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           In April2016, Freedom submitted a new sample prototype of its trigger reset assist

    device (referred to as the "ERAD").     (AR 0001.)    According to Freedom, the new sample

   prototype "is a total redesign" of the initial prototype.   (AR 0001.)     In the submission,

   Freedom included two sample prototypes of the device, along with 9-volt lithium batteries, and

   DVDs showing demonstrations of live firing and disassembly ofthe device.           (Jd.)   Although

   Freedom did not explicitly request a classification from FTISB on its prototype, FTISB treated

   the submission as such because the letter referred back to the Agency's March 23, 2016,

   classification and stated that Freedom "worked very hard to correct" the issues identified in the

   March 23, 2016, letter.   (Jd.)

           On or about September 7, 2016, Freedom submitted a supplemental letter to FTIS~ in

   support of its April2016 request for classification of the ERAD.     (AR 0018- 24.)        The

   supplemental materials included a letter from Freedom's counsel setting forth Freedom' s

   position that the ERAD should not be classified as a machinegun.         (AR 0018- 24.)     The

   supplemental materials also included a sixteen minute demonstration video of the ERAD, and

   written materials, including Freedom's purported patent application for the ERAD.          (AR 0018;

   AR0025- 46.)     In the video, Freedom states that the ERAD permits the shooter to discharge

   450 to 500 rounds per minute. (AR 0047.)

          FTISB examined that submission and supplemental materials, including the

   demonstration video. (AR 0070 -71.) Specifically, FTISB disassembled and examined the

  two sample ERAD prototypes. (Id.) FTISB examined each component part of the ERAD and

   its design features and characteristics. (AR 0071 -72.) FTISB staff also conducted field

  testing of the ERAD by attaching it to and firing from commercially-available Remington and


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    PMC rifles and a Bushmaster Model XM15-E2S AR-type firearm. (AR 0072.) During the

   test-fire portion of the examination, staff observed machine gun function six times. (Id.)

   Specifically, FTISB personnel observed that a single pull of the ERAD trigger - designated as the

   "primary trigger" - initiated the firing sequence, which caused firing until the trigger finger was

   removed. (AR 0073.)

           By letter dated October 27, 2016, FTISB issued a classification on Freedom's ERAD

   trigger system. (AR 0070 - 82.) In the eleven-page letter, FTISB described (1) the

   composition of the trigger and grip assembly, including its several constituent parts; (2) FTISB's

   process for examining and testing the ERAD trigger system; (3) its observations of the ERAD

   trigger system functionality and the firing effect that was produced when the ERAD was applied

   to a firearm (i.e., the prototype sent by Freedom) and test-fired; and (4) a breakdown of the firing

   sequence with and without the ERAD, including several accompanying illustrations. (Id.)

           FTISB concluded that the ERAD is properly classified as a machinegun. Significantly,

   FTISB found that "the firing sequence is initiated by a pull of the primary trigger and

   perpetuated automatically by shooter's constant pull and the reciprocating, battery-powered

   metal lobe repeatedly forcing the primary trigger forward." (AR 0073.) Thus, "[a] single pull

   of the trigger by the shooter therefore starts a firing sequence in which semiautomatic operation

   is made automatic by an electric motor." (Id.) FTISB found that because the shooter does not

   have to release the trigger for subsequent shots to be fired, the firing sequence is continually

   engaged as long as the shooter maintains constant rearward pressure (a pull) on the trigger and

   the motor continues to push the shooter's finger forward. (Id.) In other words, as long as the

   trigger is depressed, the firearm continues to fire until either the trigger finger is removed, the


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    firearm malfunctions, or it runs out of ammunition. (!d.)

           FTISB therefore concluded that the installation of an ERAD on a semiautomatic firearm

    causes that firearm to shoot automatically (through the automatic functioning made possible by

   the electric motor), more than one shot, by a single function (a single constant pull) of the

   trigger. FTISB therefore properly concluded that the ERAD is classified as a combination of

   parts designed and intended for use in converting a semiautomatic rifle into a machinegun under

   26 U.S .C. § 5845(b). (AR at 79-80; 80-82.)

                         THE COURT MUST STRIKE AND DISREGARD
                          FREEDOM'S EXTRA-RECOR D EVIDENCE

           Freedom brings its claim under the Administrative Procedure Act, 5 U.S .C. § 704,

   challenging ATF's decision that Freedom ' s ERAD device be classified as a machinegun.

   (Docket No. 1; Docket No. 24.) As discussed further below, review of the agency's decision

   under the AP A is conducted using an arbitrary and capricious standard, and the Court's review is

   limited to the administrative record lodged by the agency. Fla. Power & Light Co. v. Lorion,

   470 U.S . 729, 743-44 (1985) ("The task of the reviewing court is to apply the appropriate APA

   standard of review, 5 U.S .C. § 706, to the agency decision based on the record the agency

   presents to the reviewing court."); Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.

   402, 420 (1971) ("That review is to be based on the full administrative record that was before the

   Secretary at the time he made his decision."), overruled on other grounds by Califano v.

   Sanders, 430 U.S. 99 (1977); Highway J Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir.

   2003) ("the reviewing court considers only the administrative record already in existence, not

   some new record made initially [in that court].").

          In support of its motion for summary judgment; Freedom submitted the declarations of

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    Michael Winge (Pl.'s Ex. D, Docket No. 24-4) and Richard Vasquez (Pl.'s Ex. E, Docket No .

    24-5). Mr. Winge is one of the owners ofFreedom Manufacturing. (Pl.'s Ex. D, Docket No.

    24-4.) Several paragraphs of his declaration recount correspondence between FTISB and

   Freedom, which is already contained in the Administrative Record and which is the best

    evidence of its contents. (See Pl. ' s Ex. D, Docket No. 24-4, ~~ 18 - 20.) The remaining

   paragraphs contain Mr. Winge' s opinions about the ERAD and his arguments regarding why the

   ERAD should not be classified as a machinegun. Mr. Winge's opinions are merely that- his

   opinions- and are not part of the official record containing the information upon which A TF

   relied in issuing its decision. The Court should strike and disregard these opinions because the

   Court' s review is limited to the administrative record lodged by ATF. Freedom did not

   challenge or move to supplement that administrative record; therefore, it is complete. Highway

   J Citizens Grp. , 349 F.3d at 952; see also United States Postal Serv. v. Gregory, 534 U.S. 1, 10

   (2001) ("a presumption of regularity attaches to [g]overnment agencies ' actions."); Spiller v.

   Walker, No. A-98-CA-255-SS , 2002 U.S . Dist. Lexis 13194, *26-27 (W.D. Tex. July 19, 2002)

   ("any legal conclusions and post-[ decision] evidence within the declarations and argumentation

   offered simply to contest the agencies' experts are not admissible.").

          Richard Vasquez appears to be a witness who was retained by Freedom to provide his

   expert opinion regarding the ERAD's classification. (Pl. ' s Ex. E, Docket No. 24-5.) Expert

   reports are generally not permitted in an APA review case. Vt. Yankee N uclear Power Corp. v.

   NRDC, 435 U.S. 519, 555 (1978) ("the role of a court in reviewing the sufficiency of an

   agency's consideration ... is a limited one, limited both by the time at which the decision was

   made and by the statute mandating review."). Both the Supreme Court and the Seventh Circuit


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    have emphasized that "the focal point for judicial review should be the administrative record

   already in existence, not some new record made initially in the reviewing court." Camp v. Pitts,

   411 U.S. 138, 142 (1973); Cronin v. USDA, 919 F.2d 439, 443 (7th Cir. 1990) ("it is imprudent

   for the generalist judges of the federal district courts and courts of appeals to consider

   testimonial and documentary evidence bearing on those questions unless the evidence has first

   been presented to and considered by the agency.") ; see also Airport Cmtys Coal. v. Graves, 280

   F. Supp.2d 1207, 1213 (W.D. Wash. 2003) (holding that APA was intended to preclude

   "Monday morning quarterbacking").

           The Vasquez Declaration simply criticizes the agency' s analysis, but under the APA the

   Court must allow the agency to rely on its own experts' opinions even if a plaintiff has other

   expert opinions. Marsh v. Or. Natural Res. Council, 490 U.S . 360, 378 (1989) ("When

   specialists express conflicting views, an agency must have discretion to rely on the reasonable

   opinions of its own qualified experts, even if as an original matter, a court might find contrary

   views more persuasive."). Therefore, even if a so-called "expert" conclusion would contradict

   the agency's expert' s conclusions, this Court can give it no force. Greenpeace Action v.

   Franklin, 14 F.3d 1324, 1335 (9th Cir. 1992).

          Based on the foregoing, the Court must strike and disregard the Winge and Vasquez

   Declarations.

                                      LEGAL BACKGROUND

          A. The National Firearms Act and Gun Control Act

          The National Firearms Act of 1934, 26 U.S.C. Chapter 53, and the Gun Control Act of

   1968, 18 U.S.C. Chapter 44, comprise the relevant federal framework governing the firearm


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       market.     The Gun Control Act generally makes it unlawful for a person to transfer or possess a

       machinegun manufactured on or after May 19, 1986.         18 U.S.C. § 922(o).   ATF is charged

       with administering and enforcing both the National Firearms Act and the Gun Control Act.          28

       C.F.R. § 0.130(a)(1)-(2).

                 18 U.S.C. § 922(a)(4) states that it shall be unlawful-

              (4) for any person, other than a licensed importer, licensed manufacturer, licensed
              dealer, or licensed collector, to transport in interstate or foreign commerce any
              destructive device, machinegun (as defined in section 5845 of the Internal
              Revenue Code of 1986), short-barreled shotgun, or short-barreled rifle, except as
              specifically authorized by the Attorney General consistent with public safety and
              necessity;

              Accordingly, with the limited exception of State, Federal and local law enforcement

   agencies, it is unlawful for any person to transfer or possess a machinegun manufactured on or

   after May 19, 1986.         Moreover, machineguns must be registered in the National Firearms

   Registration and Transfer Record and may only be transferred upon the approval of an

   application.        26 U.S.C. § 5812.    The National Firearms Act makes it unlawful to manufacture

   a machine gun in violation of its provisions. 26 U.S.C. § 5861(f).          Specifically, the National

   Firearms Act requires that a person shall obtain approval from ATF to make a National Firearms

   Act firearm, which includes a machinegun. 26 U.S.C. §§ 5922, 5845(a).           Similarly, licensed

   manufacturers are required to notify A TF by the end of the business day following manufacture

   of a NFA firearm.         26 U.S.C. § 5841(c), 27 CFR 479.103.

             B. The Definition of a Machinegun

             The National Firearms Act, 26 U.S.C. § 5845(b), defmes a machinegun 3 as



   3
    Although more commonly spelled "machine gun," the applicable statutes use the spelling
   "machinegun."
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           any weapon which shoots, is designed to shoot, or can be readily restored to
           shoot, automatically more than one shot, without manual reloading, by a single
           function of the trigger. The term shall also include the frame or receiver of any
           such weapon, any part designed and intended solely and exclusively, or
           combination of parts designed and intended, for use in converting a weapon into a
           machinegun, and any combination of parts from which a machinegun can be
           assembled if such parts are in the possession or under the control of a person.

   See also 27 C.F.R. § 478.11 (stating same).

           The Gun Control Act incorporates the National Firearms Act's defmition ofmachinegun

   and defmes machinegun identically to the National Forearms Act.         18 U.S.C . § 922(a)(4).

   Both statutory definitions of a machine gun therefore include a combination of parts designed and

   intended for use in converting a weapon into a machinegun.       Id    This language includes a

   device that, when activated by a single pull of the trigger, initiates an automatic firing cycle that

   continues until the fmger is released or the ammunition supply is exhausted.      See ATF Rule

   2006-2 (AR at 630-32.)

           C. The Administrative Procedure Act

           The Administrative Procedure Act (APA) requires that the Court "hold unlawful and set

   aside agency action, fmdings, and conclusions" that are "arbitrary, capricious, an abuse of

   discretion, or otherwise not in accordance with law."     5 U.S.C. § 706(2)(A). The "scope of

   review under the 'arbitrary and capricious' standard is narrow and a court is not to substitute its

   judgment for that of the agency."    Motor Vehicle M.frs. Ass'n of U.S., Inc. v. State Farm Mut.

   Auto. Ins. Co., 463 U.S . 29, 43 (1983).   The Court must be satisfied that the agency has

   "'examine[d] the relevant data and articulate[d) a satisfactory explanation for its action including

   a rational connection between the facts found and the choice made."' Alpharma, Inc. v. Leavitt,

   460 F.3d 1, 6 (D.C. Cir. 2006) (quoting State Farm, 463 U.S. at 43).      The agency's decisions


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    are entitled to a "presumption of regularity," Citizens to Pres. Overton Park, Inc. v. Volpe, 401

   U.S. 402, 415 (1971), and although "inquiry into the facts is to be searching and careful, the

   ultimate standard of review is a narrow one," id. at 416.

           Federal courts are particularly deferential towards the '"scientific determinations"' of the

   agency, which are "presumed to be the product of agency expertise."       Franks v. Salazar, 816

   F.Supp.2d 49, 55 (D. D.C. 2011) (quoting Bait. Gas & Elec. Co. v. Natural Res. Def Council,

   Inc., 462 U.S. 87, 103 (1983)).   The Court's review is confined to the administrative record,

   subject to limited exceptions not at issue here.    See Camp v. Pitts, 411 U.S. 138, 142 (1973)

   ("[T]he focal point for judicial review should be the administrative record already in existence,

   not some new record made initially in the reviewing court.").     See also Sig Sauer, Inc. v. Jones,

   133 F. Supp. 3d 364, 371 (D.N.H. 2015), aff'd sub nom. Sig Sauer, Inc. v. Brandon, 826 F.3d

   598 (1st Cir. 2016) (recognizing that classification determinations "require expertise that is well

   within the ATF' s grasp" and that "its conclusions are entitled to substantial deference from a

   reviewing court.") (citing Marsh v. Or. Natural Res. Council, 490 U.S. 360, 378 (1989)).

          D. Summary Judgment in AP A Cases

          Under the APA, "courts are to decide, on the basis of the record the agency provides,

   whether the action passes muster under the appropriate AP A standard of review." Fla. Power &

   Light Co., 470 U.S. at 743-44. Because extra-record evidence and trials are inappropriate in

   APA cases, courts decide AP A claims via summary judgment based on the administrative record

   the agency compiles. Cronin, 919 F.2d at 445 ("Because the plaintiffs are not entitled to present

   evidence in court to challenge the [decision-maker's] decision ... , there will never be an

   evidentiary hearing in court."); Nw. Motorcycle Ass 'n v. USDA , 18 F .3d 1468, 1472 (9th Cir.


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    1994).

             Although srnnmary judgment is the procedural mechanism by which the Government is

    presenting its case, the limited role federal courts play in reviewing such administrative decisions

   means that the typical Federal Rule 56 summary judgment standard does not apply. See

    Citizens for Appropriate Rural Roads, Inc. v. Foxx, 14 F. Supp. 3d 1217, 1228 (S.D. Ind. March

    31, 2014) (Barker, J.) (citing Cronin, 919 F.2d at 445); see also Sierra Club v. Mainella, 459

   F.Supp.2d 76, 89-90 (D. D.C. 2006). Instead, in APA cases, "[t]he factfinding capacity of the

   district court is thus typically unnecessary to judicial review of agency factfinding . . . . [C]ourts

   are to decide, on the basis of the record the agency provides, whether the action passes muster

   under the appropriate APA standard of review." Florida Power & Light Co. , 470 U.S. at 744-

   74.

                                                   ARGUMENT

             Plaintiff raises several challenges to FTISB' s classification decision. As discussed

   below, FTISB conducted a thorough examination of the ERAD, and fully disclosed the fmdings

   supporting its decision. FTISB' s decision was not arbitrary and capricious, but is supported by

   the facts as presented in the administrative record, and is a reasonable interpretation of the

   statute. Defendant is entitled to judgment in its favor on all of the Plaintiff's claims.

             A. ATF's Decision Is Not Arbitrary and Capricious.

             A machinegun is defmed in part as any weapon that shoots "automatically more than one

   shot, without manual reloading, by a single function of the trigger." 26 U.S.C. § 5845(b). The

   term also includes any "combination of parts designed and intended, for use in converting a

   weapon into a machinegun." !d. In the defmition of machinegun, neither the National


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    Firearms Act nor the Gun Control Act further defme the phrase "single function of the trigger."

    The test firing ofPlaintiff's prototype-an AR-15 semi-automatic rifle (Bushmaster Model

   XM1150E2S) with an integrated ERAD grip-demonstrated that, once the grip button was pulled

   (activating the motor) concurrent with constant rearward pressure being applied to the trigger

   extension (which Plaintiffs refer to as the "reset bar"), the weapon fired more than one shot

   without manual reloading and without any additional action on the shooter' s part. Indeed, the

   weapon fired continuously until the shooter stopped applying rearward pressure to the trigger

   extension, or the ERAD ' s ammunition supply was exhausted. (AR at 79, 47 (demonstration

   video).) Additionally, when equipped with the ERAD, the weapon fired at a very high rate of

   speed, discharging up to 500 rounds per minute. (AR 0047.) Thus, the nature and mechanics

   of the ERAD support FTISB' s finding that it converted the semiautomatic firearm to a

   machine gun.

           FTISB' s conclusion is consistent with the National Firearm' s Act's legislative history, in

   which the drafters equated "single function of the trigger" with "single pull of the trigger." See

   National Firearms Act: Hearings Before the Committee on Ways and Means, H.R. Rep. No.

   9066, 73rd Cong., 2nd Sess., at 40 (1934) ("Mr. Frederick.[] The distinguishing feature of a

   machine gun is that by a single pull of the trigger the gun continues to fire as long as there is any

   ammunition in the belt or in the magazine. Other guns require a separate pull of the trigger for

   every shot fired, and such guns are not properly designated as machine guns. A gun, however,

   which is capable of firing more than one shot by a single pull of the trigger, a single function of

   the trigger, is properly regarded, in my opinion, as a machine gun."); see also George C. Nonte,

   Jr., Firearms Encyclopedia 13 (1973) (the term "automatic" is defined to include "any firearm in


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   which a single pull and continuous pressure upon the trigger (or other firing device) will produce

   rapid discharge of successive shots so long as ammunition remains in the magazine or feed

   device - in other words, a machinegun").

             FTISB's decision is also consistent with the ordinary meaning of the term "function,"

   which includes "any of a group of related actions contributing to a larger action." Webster's

   Ninth New Collegiate Dictionary, 498 (1986); see also Random House Thesaurus College

   Edition, 297 (1984) (a synonym of function is "act"). Here, the action, or act, is pulling the

   trigger, which leads to the automatic firing.

             Courts have also interpreted "function" as the action of pulling the trigger. See Staples

   v. United States, 511 U.S. 600, 600 (1994) ("The National Firearms Act crirninalizes possession

   of an unregistered 'firearm,' 26 U.S.C. § 5861(d), including a 'machinegun,' § 5845(a)(6), which

   is defined as a weapon that automatically fires more than one shot with a single pull of the

   trigger,§ 5845(b)."); see also id. at 602 n.l ("As used here, the terms 'automatic' and ' fully

   automatic' refer to a weapon that fires repeatedly with a single pull of the trigger. That is, once

   its trigger is depressed, the weapon will automatically continue to fire until its trigger is released

   or the ammunition is exhausted. Such weapons are 'machineguns' within the meaning of the

   Act.").

             In United States v. Fleischli, 305 F.3d 643, 655-56 (7th Cir. 2002), the Seventh Circuit

   held that a "minigun" was a machinegun even though it was "activated by means of an electronic

   on-off switch rather than a more traditional mechanical trigger." Despite Fleischli' s arguments

   that the minigun was not a machinegun because it was not fired by pulling a traditional trigger,

   but rather was fired using an electronic switch, the court found to the contrary: "Fleischli's


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    electronic switch served to initiate the firing sequence and the minigun continued to fire until the

    switch was turned off or the ammunition was exhausted. The minigun was therefore a machine

   gun as defined in the National Firearms Act." Jd. (superseded by statute on other grounds); see

   also United States v. Oakes, 564 F.2d 384, 388 (lOth Cir. 1977) (rejecting defendant's argument

   that because he had constructed a weapon with two triggers, it would not fire by a single function

   of the trigger, fmding "it is undisputed that the shooter could, by fully pulling the trigger, and it

   only, at the point of maximum leverage, obtain automation with a single trigger function. We

   are satisfied the gun was a machine gun within the statutory defmition both in law and fact.")

           Similarly here, the ERAD is a component that, when attached to a rifle, causes the rifle to

   function automatically. The ERAD allows the firing sequence to be initiated by a single pull of

   the primary trigger, which is continually engaged as long as the shooter maintains rearward

   pressure on the trigger and the motor continues to push the shooter's fmger forward. (AR 0073;

   79-80.) Because the ERAD is a combination of parts designed and intended for use in

   converting a semiautomatic firearm into weapon which shoots automatically more than one shot

   by a single action-the pull of the trigger-it is a machinegun. A TF' s decision is not arbitrary

   or capricious, but is consistent with the facts based on a thorough examination and testing of the

   ERAD' s functionality.

          B. ATF's Classification is Consistent with Public Policy.

          Because of their rapid rate of fire, machineguns have long been considered inherently

   dangerous and are therefore strictly regulated and generally unlawful to possess. See 18 U.S.C.

   § 922(o); United States v. Brock, 724 F.3d 817, 824 (7th Cir. 2013) ("Congress has grouped

   together sawed-off shotguns, machineguns, and a variety of dangerous explosive devices for


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       stringent restrictions on possession and strict registration requirements for those that can be

       possessed lawfully."); United States v. Brazeau, 237 F.3d 842, 845 (7th Cir. 2001) ("The point is

       that most firearms do not have to be registered-only those that Congress found to be inherently

       dangerous."); United States v. Kruszewski, No. 91-0031P, 1991 WL 268684, at *1 (N.D. Ind.

       Dec. 10, 1991) ("The categories of firearms covered by U.S.C. Title 26 include only particularly

       dangerous weapons such as machineguns .... In District of Columbia v. Heller, 554 U.S. 570,

       627 (2008), the Supreme Court discussed a machinegun (M-16), and recognized a "limitation on

   the right to keep and carry arms" that includes "dangerous and unusual weapons." See also

       United States v. Spires, 755 F.Supp. 890, 892 (C.D. Cal. 1991) ("Congress believed these

   particular weapons, as opposed to firearms in general, are extremely dangerous and serve

   virtually no purpose other than furtherance of illegal activity.").

              The device at issue in this case -the ERAD grip - enables a firearm to produce automatic

   fire with a single pull of the trigger, and therefore makes an otherwise semiautomatic firearm

   into one of the "dangerous and unusual weapons" recognized by the Heller court.. A rifle with

   the ERAD will continue to fire automatically once the trigger is pulled and remains depressed,

   with no further action by the shooter required. The widely-available Bushmaster Model

   XMI150E2S fires at a rate of one shot per trigger pull and up to 120 rounds per minute. 4 When



   Although there are no official documents establishing a maximum firing rate, it is thought that
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  120 rounds per minute would be a ceiling. Obviously, the rate of fire depends on how fast the
  shooter can pull and release the trigger. The Department of the Army has published 45 rounds
  per minute as the maximum effective rate of fire for AR-type weapons, meaning the number of
  shots that allow the shooter to effectively engage the intended target. See Department of the
  Army, Field Manual (FM) 3-22.9, Rifle Marksmanship M16-/M4-Series Weapons, Ch. 2-1
  (Characteristics ofM16-/M4-Series Weapons), Aug. 2008, available at
  http://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=1&cad=rja&uact=8&ved
  =OahUKEwixkfflrPzTAhUK.wiYKHf9iA30QFggnMAA&url=http%3A%2F%2Fusacac.army.m
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   the ERAD device is attached to it, however, the same rifle is capable of firing at a rate of up to

   500 rounds per minute. (AR 0047.) This unhindered automatic firing capability is the very

   danger that the National Firearms Act was intended to protect against. See 149 Cong. Rec.

   H2944-02, H2950 (Apr. 9, 2003) ("these weapons ... are inherently dangerous"); United States

   v. Newman, 134 F.3d 373 (6th Cir. Jan. 21, 1998) (unpublished) ("Although the National

   Firearms Act is ostensibly a revenue-generating statute enacted under Congress's taxation power,

   it is clearly designed to regulate the manufacture, transfer, and possession of dangerous weapons.

   Although the means by which Congress advanced its objectives are somewhat roundabout, close

   analysis of the relevant provisions reveals an unmistakable intent to prohibit possession of any

   machine gun the manufacture or importation of which was not explicitly authorized by the

   Bureau of Alcohol, Tobacco, and Firearms."). Nor is such easy transformation to an automatic

   firearm consistent with the prohibition imposed by section 922(o) of the Gun Control Act. See

   United States v. Haney, 264 F .3d 1161, 1168 (1Oth Cir. 2001) ("banning possession of post 1986

   machine guns is an essential part of the federal scheme to regulate interstate commerce in

   dangerous weapons."). Accordingly, ATF's assessment of the functionality of the ERAD grip,

   including its ability to convert a firearm into an automatic weapon, support A TF' s finding that

   the ERAD is properly classified as a machinegun.

          C. Freedom's "Reset Bar" Terminology Does Not Alter the Outcome

          Freedom argues that FTISB's analysis is flawed because the ERAD's "reset bar" is not a

   "trigger." Freedom specifically claims that, "the trigger finger reset bar is not the trigger, nor



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    can it activate the firing sequence. Only the shooter's conscious and deliberate pull of the reset

    bar that subsequently engages the trigger that causes the weapon to fire and the ERAD cannot be

   made to function any other way." (Docket No. 24 at 8.) To this end, Freedom admits it has

   created a device that incorporates the traditional firearm trigger as another intermediate

   component in the firing mechanism.

           Nevertheless, Freedom's position has been rejected by ATF before, and this rejection has

   been upheld in court. As discussed above, in United States v. Fleischli, 305 F.3d 643 (7th Cir.

   2002), the Seventh Circuit rejected the appellant's argument that an electronic switch did not

   meet the traditional definition of a trigger, holding as follows:

           This is a puerile argument, based on hyper-technical adherence to literalism. We
           are not surprised to learn that Fleischli is not the first defendant to make such a
           brazen argument, although he appears to be the first to do so in this circuit. We
           join our sister circuits in holding that a trigger is a mechanism used to initiate a
           firing sequence. United States v. Jokel, 969 F.2d 132, 135 (5th Cir. 1992)
           (commonsense understanding of trigger is mechanism used to initiate firing
           sequence); United States v. Evans, 978 F.2d 1112, 1113-14 n. 2 (9th Cir.1992),
           cert. denied, 510 U.S. 821, 114 S.Ct. 78, 126 L.Ed.2d 46 (1993)(trigger is
           anything that releases the bolt to cause the weapon to fire). Fleischli' s definition
           "would lead to the absurd result of enabling persons to avoid the NF A simply by
           using weapons that employ a button or switch mechanism for firing." Evans, 978
           F .2d at 1113-14 n. 2. The dictionary defmition of "trigger" includes both the
           traditional ("a small projecting tongue in a firearm that, when pressed by the
           finger, actuates the mechanism that discharges the weapon") and the more general
           ("anything, as an act or event, that serves as a stimulus and initiates or precipitates
           a reaction or series of reactions."). See Webster's Unabridged Dictionary OfThe
           English Language (2001). Fleischli's electronic switch served to initiate the
           firing sequence and the minigun continued to fire until the switch was turned off
           or the ammunition was exhausted. The minigun was therefore a machine gun as
           defmed in the National Firearms Act.

   !d. at 655- 56.

           Similarly, in United States v. Carter, 465 F.3d 658 (6th Cir. 2006), the Sixth Circuit

   opined on the defmition of a "trigger" under the National Firearms Act. There, Carter appealed

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    a conviction for illegal possession of a machine gun and other parts designed or intended for use

    in converting a weapon into a machinegun. !d. at 660. Carter argued that the jury instruction

   on the defmition of"trigger" was faulty because the indictment "did not mention a trigger

   mechanism among the parts he was alleged to have possessed" and thus the indictment failed to

   state a charge pursuant to the Federal Rule of Criminal Procedure 7(c)(1) because "the definition

   of 'machinegun' given at 26 U.S.C. § 5845 specifically includes a trigger." ld. at 661.

   According to the testifying expert, the weapon was complete except for a trigger mechanism.

   Thus "[a]fter inserting a magazine with three rounds of ammunition, he said, he was able to

   make the gun fire all three rounds consecutively by pulling the bolt back and releasing it by

   hand." Id. at 661-62. The court held that, even in the absence of a traditional trigger, the

   weapon fell within the definition of a "machinegun."

          The reasoning adopted by other circuits, as well as simple logic, compels the
           conclusion that the district court's instruction was proper and not an abuse of
          discretion. A trigger is generally "anything, as an act or event, that serves as a
          stimulus and initiates or precipitates a reaction." Webster' s Unabridged
          Dictionary 2021 (2nd ed.1997). Within the realm offirearms, it is commonly
          understood as "a small projecting tongue in a firearm that, when pressed by the
          fmger, actuates the mechanism that discharges the weapon." Id. However, the
          latter defmition is obviously a context-specific articulation of the former.
          According to the testimony of the government' s expert, the manipulation of his
          hands on the assembled weapon initiated a reaction, namely the firing of the gun
          and two automatic successive firings. This manual manipulation constituted a
          trigger for purposes of the weapon's operation. The district court's "trigger"
          instruction to the jury was not an abuse of discretion.

   Jd at 665.

          Finally, in United States v. Camp, 343 F.3d 743 (5th Cir. 2003), the defendant modified a

  semiautomatic rifle by adding an electrically operated trigger mechanism, which operated as

  follows:


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           When an added switch behind the original trigger was pulled, it supplied electrical
           power to a motor connected to the bottom of a fishing reel that had been placed
           inside the weapon's trigger guard; the motor caused the reel to rotate; and that
           rotation caused the original trigger to function in rapid succession. The weapon
           would fire until either the shooter released the switch or the loaded ammunition
           was expended.

   !d. at 744.

           An ATF expert testified that a true trigger activating devices, although giving the

   impression of functioning as a machinegun, are not classified as machineguns because the

   shooter still has to separately pull the trigger each time he/she fires the gun by manually

   operating a lever, crank, or the like. To this end, the court stated:

           We reject Camp's contention that the switch on ... his firearm was a legal
           "trigger activator". As discussed, those activators described by the A TF Agent
           require a user to separately pull the activator each time the weapon is fired.
           Camp's weapon, however, required only one action - pulling the switch he
           installed - to fire multiple shots.

   Camp, 343 F.3d at 745 .

           Similarly here, even though Freedom refers to its ERAD as a "trigger reset assistance

   device," a firearm fitted with the ERAD does not require separate, mechanical pulls of the trigger

   (i.e., pull and release) to discharge more than a single round. The trigger is moving at such a

   rapid rate that the shooter's finger does not pull the trigger each time to fire each shot, but

   instead pulls the trigger once and then remains stationary, resisting forward pressure, as the

   motor causes the weapon to function automatically, and continue to fire rounds. It is undisputed

   that when the shooter's fmger remains connected to the "reset bar," and an electric motor is

   activated, the "reset bar" functions as a trigger in and of itself, and controls the pace of the firing

   sequence. The only action required by the shooter is that of continued rearward pressure. To

  this end, the ERAD is capable of firing at a rate of 500 rounds per minute and does not require

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   any additional act by the shooter after the motor is turned on and the shooter pulls the "reset bar"

   (or what FTISB describes as the "primary trigger") once without releasing pressure. (AR 0047.)

           Accordingly, in spite of its branding and terminology, the ERAD meets the

   defmition of a machinegun.

           D. The ERAD Is Not The Same As "Bump Fire" or "Slide Fire" Stock.

           Freedom also argues that its ERAD is similar to "bump fire" or "slide fire" stock, which

   has been found not to be machinegun technology. (Pl. ' s Br. at 24 (citing AR at 231 and Pl.'s

   Exhibits A, B, and C, Docket Nos. 24-1 , 24-2, 24-3).) "Bump firing" is the process of using the

   recoil of a semi-automatic firearm to fire in rapid succession, simulating the effect of an

   automatic firearm when performed with a high level of skill and precision by the shooter. Bump

   firing requires the shooter to manually and simultaneously pull and push the firearm in order for

   it to continue firing. (See PI. ' sEx. A, Docket No. 24-1 at 3-4; Pl.'s Ex. B, Docket No. 24-3 at

   4-5.) The shooter must use both hands to pull the trigger rearward- and the other to push the

   firearm forward to counteract the recoil - to fire in rapid succession. While the shooter receives

   an assist from the natural backfire of the weapon to accelerate subsequent discharge, the rapid

   fire sequence in bump firing is contingent on shooter input, rather than mechanical input, and

   thus cannot shoot "automatically." (Pl. ' s Ex. A, Docket No. 24-1 at 3-4; Pl. ' s Ex. B, Docket

   No. 24-3 at 4-5.)

          Conversely, the ERAD does not require any such skill or input from the shooter. A rifle

   equipped with the ERAD will utilize a battery-powered motor to continue to fire automatically

   once the trigger is pulled and remains depressed, with no other action by the shooter required.

   Indeed, in its classification letter, FTISB noted that the AR-type trigger functions as a


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   "secondary trigger" in that "it merely becomes a part of the firing sequence." (AR at 0071.)

   Freedom argues that the ERAD allows the shooter to make a "conscious decision to apply or not

   apply rearward pressure to fire the weapon by initiating a trigger function," (AR at 47

   (demonstration video)). This argument is technically correct to the extent the shooter may make

   a purposeful choice to cease applying rearward pressure to the reset bar/primary trigger. In fact,

   this is true of any machinegun-a shooter makes a conscious decision to pull and release the

   trigger. What is misleading, however, is any assertion that the shooter may make a conscious

   choice to pull and release the trigger for each individual, subsequent shot. In accepting this

   argument, the shooter would presumably be able to control the precise number of shots he

   intends to fire. For example, he could intend to fire a precise number of rounds of ammunition,

   such as 263 rounds, and actually expel that exact number of rounds. With the ERAD engaged,

   however, the number of rounds fired is the result of automatic functioning so long as the shooter

   is applying pressure on the "reset bar," and therefore the number of rounds expelled cannot

   accurately be characterized as conscious or deliberate. (AR 0047; 0073.)

          In contrast, bump firing requires the shooter to manually pull and push the firearm in

   order for it to continue firing. Generally, the shooter must use both hands-one to push forward

   and the other to pull rearward-to fire in rapid succession. While the shooter receives an assist

   from the natural recoil of the weapon to accelerate subsequent discharge, the rapid fire sequence

   in bump firing is contingent on shooter input in pushing the weapon forward, rather than

   mechanical input, and is thus not an automatic function of the weapon.

          Freedom also argues that FTISB's decision regarding the ERAD is inconsistent with its

   decision regarding the Akins Accelerator, which was an accessory attached to firearm that


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      accelerated rate offrre. Akins v. United States, 312 F. App'x 197 (11th Cir. 2009). On the

      contrary, ATF's decision is entirely consistent with its decision regarding the Akins Accelerator

      and ATF Ruling 2006-2. 5

             To operate the Akins Accelerator, the shooter pulled the trigger one time, initiating an

      automatic firing sequence, which in turn caused the rifle to recoil within the stock, permitting the

      trigger to lose contact with the finger and manually reset (move forward). Akins, 312 F. App'x

      at 199. Springs then forced the rifle forward in the stock, forcing the trigger against the fmger,

      which caused the weapon to discharge the ammunition until the shooter released the constant

      pull or the ammunition is exhausted. Put another way, the recoil and the spring-powered device

   caused the firearm to cycle back and forth, impacting the trigger finger, which remained

   rearward in a constant pull, without further input by the shooter, thereby creating an automatic

   firing effect. !d. The advertised rate of fire for a weapon with the Akins Accelerator was 650

   rounds per minute. Id.

             The Eleventh Circuit found that A TF properly classified the Akins Accelerator as a

   machinegun because:

             [a] machinegun is a weapon that fires "automatically more than one shot, without
             manual reloading, by a single function ofthe trigger." 26 U.S.C . § 5845(b).
             The interpretation by the Bureau that the phrase "single function of the trigger"
             means a "single pull of the trigger" is consonant with the statute and its legislative
             history. After a single application of the trigger by a gunman, the Accelerator
             uses its internal spring and the force of recoil to fire continuously the rifle cradled
             inside until the gunman releases the trigger or the ammunition is exhausted.
             Based on the operation of the Accelerator, the Bureau had authority to "reconsider
             and rectify" what it considered to be a classification error. That decision was not


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    Initially ATF classified the Akins Accelerator as a non-machinegun, but after a subsequent test
  fire, it was determined the Akins Accelerator converts a semiautomatic rifle into a weapon
  capable of firing automatically by a single function of the trigger and was therefore in fact a
  machinegun. Thus, ATF overruled its earlier classification.
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           arbitrary and capricious.

   !d. at 200.

           Pursuant to A TF Ruling 2006-2, any device that is truly analogous to the Akins

   Accelerator- i.e. , a device that allows a weapon to fire automatically when the shooter pulls the

   trigger- is properly classified as a machinegun. (AR at 630-32.) Specifically, the Rule

   provides that a firearm with the following functionality constitutes a machinegun:

           A shooter pulls the trigger which causes the firearm to discharge. As the firearm
           moves rearward in the composite stock, the shooter' s trigger finger contacts the
           stock. The trigger mechanically resets, and the device, which has a coiled spring
           located forward of the firearm receiver, is compressed. Energy from this spring
           subsequently drives the firearm forward into its normal firing position and, in
           turn, causes the trigger to contact the shooter's trigger fmger. Provided the
           shooter maintains fmger pressure against the stock, the weapon will fire
           repeatedly until the ammunition is exhausted or the finger is removed. The
           assembled device is advertised to fire approximately 650 rounds per minute.
           Live-fire testing of this device demonstrated that a single pull ofthe trigger
           initiates an automatic firing cycle which continues until the fmger is released or
           the ammunition supply is exhausted.

   (AR at 631.)

          Like the Akins Accelerator, the ERAD requires a single pull of the trigger to activate the

   firing sequence, which continues until the shooter' s finger is released, or the firearm depletes its

   ammunition supply. (AR at 354-68, 395-97.) Because the ERAD is a part designed and

   intended for use in converting a semiautomatic firearm into weapon which shoots automatically

   more than one shot by a single action- the pull of the trigger- it is a machinegun. Thus, ATF ' s

   decision is not arbitrary or capricious, but is consistent with the facts based on a thorough

   examination and testing of the ERAD' s functionality.

          With regard to Plaintiffs Exhibit B (Docket No. 24-3), the 3MR reset trigger device

   submitted to A TF was an internal mechanism, which operated to push the shooter' s fmger

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   forward. It does not run on a motor, and although the mechanism assists in manually resetting

   the trigger, the shooter is still required to release the trigger to fully reset the trigger. Thus,

   during inspection, ATF determined that the weapon could not be fired automatically. The item

   was tested by seven individuals at A TF prior to the classification, and no individual was able to

   generate automatic fire. Because the reset trigger required a release of the trigger and

   subsequent pull before another round was expelled, the 3MR was not classified as a machinegun.

          Based on the foregoing, FTISB has not rendered inconsistent decisions, but has inspected

   and analyzed each prototype or device presented to it by Freedom for classification, and has

   issued its decisions based on the unique characteristics of each. Accordingly, ATF ' s

   classification of the ERAD device as a machinegun is not arbitrary, capricious, an abuse of

   discretion, or otherwise inconsistent with the applicable law.

                                                  CONCLUSION

          Based on the foregoing, the Court must enter judgment in favor of the Bureau of Alcohol,

   Tobacco, Firearms, and Explosives as to all of Plaintiffs claims against it.


                                                   Respectfully submitted,


                                                   JOSH J. MINKLER
                                                   United States Attorney

                                          By:     s/ Shelese Woods
                                                  Shelese Woods
                                                  Assistant United States Attorney




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                                                 JA343
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                                    CERTIFICATE OF SERVICE

          This is to certify that I have served a copy of the foregoing upon the Plaintiff herein by

   electronically filing a copy thereof through the Court's CMIECF system, which will transmit a

   copy electronically to the following on the 27th day of July, 2017:

          Brent R. Weil
          KIGHTLINGER & GRAY, LLP
          bweil@k-glaw.com

          Timothy R. Rudd
          Scott Braum
          SCOTT L. BRAUM & ASSOCIATES, LTD.
          trr@braumlaw.com




                                                        sl Shelese Woods
                                                        Shelese Woods
                                                        Assistant United States Attorney
                                                        10 West Market Street
                                                        Suite 2100
                                                        Indianapolis, Indiana 46204




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                                                          U.S. Department of Justice

                                                         Bureau of Alcohol, Tobacco,
                                                         Firearms and Explosives




                                                         Martinsburg, West Virginia 25405   903050:MSK
                                                                                            3311/2011-502
                                                         www.atf.gov



    Mr. Len Savage
                                                                 z5 zau
    Historic Anns, LLC
    1486 Cheny Road
    Franklin, Georgia 30217

    Dear Mr. Savage:

    This is in reference to your sample, as w~lf as accompanying correspondence, which was
    submitted to the Firearms Technology Branch (FTB), Bureau of Alcohol, Tobacco, Firearms and
    Explosives (A TF). You have submitted this item, consisting of a Chinese, Type 56 (SKS) rifle
    and a stock of your own manufacture, with a request for classification under the National
    Firearms Act (NFA).

    As you know, the NFA, 26 U.S.C. § 5845(b), defines the term "machinegun" as follows:
    ... any weapon'which shoots, is designed to shoot, or can be readily restored to shoot,
    automatically more than one shot, without manual reloading, by a single fimction of the trigger.
    The term shall also include the frame or receiver ofany such weapon, any part designed and
    intended solely and exclusively, or combination ofparts designed and intended, for use in
    converting a weapon into a machinegun, and any combination ofparts from which a
    machinegun can be assembled if such parts are in the possession or under the control of a
    person."                         ·

    Further, ATF Ruling 2006-2 describes a device that is designed and intended to accelerate the
    rate of fire of a semiautomatic weapon and classifies it as follows:

    Held, a device (consisting of a block replacing the original manufacturer's V-B lock of a Ruger
    10/22 rifle with two attached rods approximately ~ inch in diameter and approximately 6 inches
    in length; a second block, approximately 3 inches long, 1-% inches wide, and% inch high,
    machined to allow the two guide rods ofthe first block to pass through; the second block
    supporting the guide rods and attached to the stock; using ~ inch rods; metal washers; rubber
    and metal bushings; two collars with set screws; one coiled spring; C-clamps; a split ring; the




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    Mr. Len Savage



    two blocks assembled together with the composite stock) that is designed to attach to a firearm
    and, when activated by a single pull ofthe trigger, initiates an automatic firing cycle that
    continues until either the finger is released or the ammunition supply is exhausted, is a
    machinegun under the NFA, 26 U.S. C. 5845(b), and the ... [Gun Control Act: GCA]. .. 18 U.S. C.
    921 (a)(23).

    The submitted device (also see enclosed photos) incorporates the following features or
    characteristics:

        •   A metal block which secures the SKS trigger mechanism to the remainder of the weapon
            (a function formerly accomplished by the weapons factory stock). A metal rod is attached
            and protrudes from the rear section of this metal block. This rod rides within a bus}li11g
            inletted into the rear portion of your "ALM" stock.
        •   A second metal block which has been machined to allow the three guide rods located in
            the front portion of your stock to pass through it. This component serves as a support for
            the front portion of the SKS rifle and as an attachment to the modified stock.
        •   A forward hand guard/gripping surface which is attached to the bottom portion of the
            second metal block noted above.
        •   Lack of anY operating springs, bands, or other devices which would permit automatic
            firing.' .•

    Your ALM stock is designed to allow the SKS rifle mounted within it to reciprocate back and
    forth in a linear motion. The absence of an accelerator spring or similar component in the
    submitted device prevents the device from operating automatically as described in ATF Ruling
    2006-2. When operated, forward pressure must be applied to the above noted forward hand-
    guard/gripping surface with the support hand, bringing the receiver assembly forward to a point
    where the trigger can be pulled by the firing hand. If sufficient forward pressure is not applied to
    the hand guard with the support hand, the rifle can be fired in a conventional semiautomatic
    manner since the reciprocation of the receiver assembly is eliminated.

    The FTB live-fire testing of the submitted device indicates that if, as a shot is fired and a
    sufficient amount of pressure is applied to the hand guard/gripping surface with the shooter's
    support hand, the SKS rifle assembly will. come forward until the trigger re-contacts the
    shooter's stationary firing-hand trigger finger, allowing a subsequent shot to be fired. In this
    manner, the shooter pulls the receiver assembly forward to fire each shot, each shot being fired
    by a single function of the trigger.

    Since your device does not initiate an automatic firing cycle by a single function of the trigger,
    FTB finds that it is NOT a machinegun under the NFA, 26 U.S.C. 5845(b), or the GCA, 18
    U.S.C. 92l(a)(23).




                                                 JA346
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    Mr. Len Savage


    Please note that this classification is based on the item as submitted. Any changes to its design
    features or characteristics will void this classification. Moreover, we caution that the addition of
    an accelerator spring or any other non-manual source of energy which allows this device to
    operate automatically as described in Ruling 2006-2 will result in the manufacture of a
    machinegun as defined in the NFA, 26 U.S.C. 5845(b).

    Please provide our Branch with a FedEx account number so that we may return this item to you.

    We thank you for your inquiry and trust that the foregoing has been responsive to your
    evaluation request.

                                              Sincerely yours,

                                              /)               )
                                     1
                                       /
                                           1J&i
                                         John R. Spencer
                                                          __/chlW"~
                                   C~ Firearms Technology Branch

    Enclosure




                                                   JA347
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i        Mr. Len Savage
I
         Submitted device assembled:




                                       JA348
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     Mr. Len Savage



     View of the three forward guide rods:




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      Mr. Len Savage


      Metal block which secures SKS rifle and rides over the guide rails pictured above:




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     Mr. Len Savage


     Metal block which secures trigger mechanism and metal rod which rides in bushing located in
     rear portion ofthe ALM stock:




                                              JA351
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     Mr. Len Savage




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                                                          Bureau of Alcohol, Tobacco,
                                                          Firearms and Explosives



                                                                                        903050:MMK
                                                          Washington, OC 20226
                                                                                        3311/2011-624
                                                          www.atf.gov


     Mr. Len Savage                                     NOV 2 3 2011
     Historic Arms, LLC
     1486 Cherry Road
     Franklin, Georgia 30217

     Dear Mr. Savage:

     This refers to your correspondence to the Firearms Technology Branch (FTB), Bureau of
     Alcohol, Tobacco and Firearms (A TF), with an accompanying sample "ASFS Stock" and
     magazine, requesting an evaluation in accordance 18 U.S.C. 92l(a)(3) and 26 U.S.C. 5845(a).
     As explained below, the evaluation of your submitted ASFS Stock (photo enclosed) finds that it
     is a combination of parts designed and intended to convert a firearm into a machine gun.

     The examination conducted by FTB noted that the stock consisted of a large main outer shell, a
     rear shoulder pad, a right-side dust cover, two vertical grip assemblies, guide-rail mounting
     blocks, guide rails, and a retractable trigger cross-pin. The main shell and dust cover encase the
     firearm (a semiautomatic WASR-1 0 type) and guide-rail mounting blocks. The shell also
     incorporates an extension which covers the encased firearm's trigger and provides attachment for
     the retractable trigger cross-pin. The mounting blocks are attached to the interior of the main
     shell, and the guide rails are attached, connecting the encased firearm to the outer shell at both
     the rear and near the fireann' s midpoint. One vertical grip is attached to the bottom of the main
     shell at the shell's forward end, and the other vertical grip is attached to the bottom ofthe
     forward end of the firearm's barrel. When assembled onto the firearm, the cross pin engages the
     enclosed WASR-10 trigger, and the forward vertical grip becomes the trigger used to initiate the
     firing sequence.

     The firing sequence is initiated by the shooter pushing forward on the forward-most verticai grip
     while the shooter's other hand maintains control of the device by holding the rearmost vertical
     grip. The application of forward pressure forced the encased firearm to move forward against
     the cross pin; the weapon fired, the recoiling energy pushed the encased firearm rearward inside
     the stock, the trigger reset and the continuous forward pressure of the shooter drove the encased
     firearm back onto the cross pin so that the weapon again fired. The firing sequence continued
     until pressure was removed or the ammunition source was exhausted:

     During the test firing, when a magazine of :five rounds was inserted, the device fired all five
     rounds automatically without manual reloading by a single function of the trigger. Additionally,
     after loading a second magazine with two rounds, the device fired automatically when the device
     was simply tilted forward at an angle.




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     Mr. Len Savage


    The weight of the encased firearm drove its trigger against the cross pin and initiated the firing
    sequence, causing both rounds to be fired without manual reloading by a single function of the
    triggering mechanism.

    A noted difference between this submission and your previously submitted ALM Stock, which
    was not classified as a "firearm," is the length of the area shrouding the trigger and the addition
    of a cross pin designed to engage an encased firearm's trigger. Thus configured, the ASFS Stock
    is designed to convert the recoiling forces generated from the action of an explosive to maintain
    a sequence of events which v.rill continue automatically until the trigger is no longer activated or
    the anununition is depleted.

    As you know the National Firearms Act (NFA), 26 U.S.C. § 5845(a)(6), defmes the term
    "firearm" to include ... a machinegun. .. . Further,§ 5845(b) defines a "machinegun" in pait as:
    .. .any part designed and intended solely and exclusively, or combination ofparts designed and
    intended, for use in converting a weapon into a machinegun.... Since the Historic Arms, ASFS
    stock was found to convert a semiautomatic firearm to fire automatically, more than one shot
    without manual reloading by the single function of the trigger, we determined the ASFS stock to
    be a "machinegun" as defined.

    Because your sample is a "machinegun" as defined in the NF A and you are a licensed special
    occupational tax-payer, you have by close of business the next business day following receipt of
    this letter to register your device. As soon as FTB has received verification that the submitted
    ASFS stock is registered, we will return it to you. Since the device is not yet serialized, you
    must immediately upon its return apply the assigned serial number clearly and conspicuously and
    in accordance -vvith the size and depth requirements found in27 CFR 479.102. To preclude the
    susceptibility to obliteration, alteration, or removal, we recommend you apply the serial number
    markings to an externally visible portion of the largest single component of the device.

    To facilitate return of your submission after registration is complete, please provide FTB with a
    prepaid shipping label from FedEx, UPS, or other such appropriate carrier.

    As always, we remain available for future written inquiries concerning this or other ma~ters.

                                              Sincerely yours,




                                              ohn R. Spencer
                                   C · f, )!rearms Technology Branch
                                         /
    Enclosure




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n                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF INDIANA
                                         EVANSVILLE DIVISION

       FREEDOM ORDNANCE MFG. , INC.,                 )
                                                     )
               Plaintiff,                            )
                                                     )
       V.                                            ) Case No. 3:16-cv-243-RLY-MPB
                                                     )
       THOMAS E. BRANDON, Director,                  )
       Bureau of Alcohol Tobacco Firearms            )
       and Explosives,                               )
                                                     )
               Defendant.                            )

            REPLY BRIEF IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT
            AND IN OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

               Freedom Ordnance Manufacturing, Inc. ("Freedom") has not provided a legal or factual

       basis establishing that the Bureau of Alcohol, Tobacco, Firearms and Explosives' ("ATF")

       decision is arbitrary and capricious.   Freedom admits that this case may be decided as a matter

       of law on the administrative record, 1 but simply disagrees with ATF ' s conclusion that



       1
         Freedom states that it has submitted the extra-record declarations ofMichael Winge (Pl.'s Ex.
       D, Docket No. 24-4) and Richard Vasquez (Pl. ' s Ex. E, Docket No. 24-5) to "inform the Court' s
       analysis as to the persuasiveness of ATF ' s informal classification system." (Pl. ' s Resp. Br.,
       Docket No. 32 at 14.) As discussed in ATF ' s opening brief, the task of the reviewing court is to
       apply the appropriate Administrative Procedure Act ("AP A") standard of review, 5 U.S. C. § 706,
       to the agency decision based on the record the agency presents to the reviewing court .. "
       Citizens to Preserve Overton Park, Inc. v. Volpe , 401 U.S. 402, 420 (1971) ("That review is to be
       based on the full administrative record that was before the Secretary at the time he made his
       decision."), overruled on other grounds by Califano v. Sanders, 430 U.S. 99 (1977); Highway J
       Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir. 2003) ("the reviewing court considers only
       the administrative record already in existence, not some new record made initially [in that
       court]."). The post-record Winge and Vasquez reports were not before the agency when it made
       its decision. Freedom appears to concede this point, stating that the record is sufficient to
       decide the issues before the Court. (Pl.'s Resp. Br., Docket No. 32 at 14-15.)
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       Freedom's Electronic Reset Assist Device ("ERAD") be classified as a machinegun.             Based on

       the foregoing, A TF is entitled to summary judgment.

                                                       ARGUMENT

           A. The Proper Standard of Review of ATF's Classification.

           Freedom argues that ATF's decision is entitled only to limited deference- not Chevron

       (referring to Chevron v. Natural Resources Defense Council, 467 U.S. 837 (1984)) deference-

       because the decision is an "informal" classification letter.    In its opening brief, A TF set out the

       well-established standard of review applicable in cases brought under the APA, 5 U.S.C. §

       706(2)(A), which is whether the agency's decision is arbitrary and capricious.        As the Supreme

       Court has held, the agency's decision is entitled to a presumption of regularity, and the Court

       may not substitute its judgment for that of the agency.     Marsh v. Or. Nat. Res. Council, 490

       U.S. 360, 378 (1989).    As it pertains to this case, it is important to note that traditional
0      deference to the agency is at its highest where a court is reviewing an agency action that required

       a high level of technical expertise.   !d. at 377.

           With regard to an agency's "scientific and technical determination," the Seventh Circuit has

       also instructed that, "a reviewing court must generally be at its most deferential."     Indiana v.

       E.P.A., 796 F.3d 803, 811 (7th Cir. 2015) (quoting Balt. Gas & Elec. Co. v. NRDC, 462 U.S. 87,

       103 (1983)) (internal citation omitted).   This is especially so "when a regulation concerns a

       complex and highly technical regulatory program in which the identification and classification of

       relevant criteria necessarily require significant expertise and entail the exercise of judgment

       grounded in policy concerns."     Perez v. Mortgage Bankers Ass'n, 135 S. Ct. 1199 (2015).            ).

       In this regard, other federal courts have applied Chevron deference to A TF classifications and


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       other agency determinations that require substantial technical analysis.     See, e.g., Firearms

       Imp./Exp. Roundtable Trade Grp. v. Jones, 854 F. Supp. 2d 1, 15 (D.D.C. 2012) aff'd sub nom,

       Firearms Imp./Exp. Roundtable Trade Grp. v. Bureau ofAlcohol, Tobacco, Firearms &

       Explosives, 498 F. App'x 50 (D.C. Cir. 2013) (applying the Chevron standard to ATF's denial of

       its application to import firearm barrels pursuant to the GCA); see also Modern Muzzleloading,

       Inc. v. Magaw, 18 F. Supp. 2d 29,35-36 (D.D.C. 1998) (applying the Chevron standard to ATF's

       classification of a rifle under the GCA).

           The classification of the ERAD as a machinegun reflects ATF's technical expertise and

       discretion and is therefore entitled to deference.

           Freedom relies almost exclusively on a district court opinion from the District of Columbia,

       Innovator Enterprises, Inc. v. Jones, 28 F. Supp. 3d 14, 21 (D.D.C. 2014), where the court held

       that ATF' s classification letter classifying a developer's device as a firearm silencer within the
0      meaning of 18 U.S.C. § 921(a)(24) was entitled to Skidmore, rather than Chevron, deference.

       The Innovator decision was a departure from other federal decisions, which have applied

       Chevron deference to the fruits of an agency's informal adjudication.      The court in Innovator

       held that Skidmore deference was warranted because the Agency' s classification letter, which

       was "just over a page long, and contain[ed] only a few short paragraphs of reasoning,"

       constituted a "short, informal document that contains little more than uncited, conclusory

       assertions of law, and no relevant agency regulations."    Id. at 23-24 (referring to Skidmore v.

       Swift & Co., 323 U.S. 134, 65 S.Ct. 161 (1944), holding that an administrative agency's

       interpretative rules deserve deference according to their persuasiveness).

          Here, ATF's October 27, 2016, classification letter stands in stark contrast to the one-page


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       letter issued to Innovator, and provides a substantive and in-depth analysis of the ERAD's

       functionality, including diagrams and drawings, applying the relevant statutory provisions to the

       ERAD, explaining in great length the steps Firearms Technology Industry Services Branch

       ("FTISB") took to assess whether the ERAD constitutes a machinegun, and detailing the reasons

       why it classified the ERAD as a machinegun within the meaning of26 U.S.C. § 5845(b).

           Finally, unlike in Innovator-where the district court held that the Agency had not given

       careful consideration to the question because of the brevity of the Agency's classification letter

       and because "the [A]gency has no formal guidance or written procedure for classifying

       silencers"-here the Agency has a long history of addressing industry requests for firearm

       classifications that implicate the defmition of a "machinegun" under 26 U.S.C. § 5845(b).      As

       the federal entity charged with interpreting and enforcing the nation's firearms laws and

       regulations governing the firearms industry, ATF takes seriously its classifications of weapons as
0      machineguns and has consistently promulgated rules regarding the application of its

       classification standards.   See ATF Rule 81-4 (classification of AR14 auto sear as machinegun),

       Administrative Record ("AR") at 635; ATF Rule 2004-5 (classification of Aircraft Machine Gun

       known as Minigun), AR at 633-34; ATF Rule 2006-2 (definition ofmachinegun as applied to

       devices designed to increase rate of fire of a semiautomatic firearm), AR at 630-32.    Thus ATF

       has given careful consideration to the application of the Gun Control Act's defmition of a

       "machinegun," and its application to industry devices implicating the statutory framework for a

       long period of time. 2



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        Freedom also cites United States v. One TRW, Model Ml4, 7.62 Caliber Rifle, 294 F. Supp. 2d
       896 (E.D. Ky. 2003), for support. However, the One TRW court did not conclusively hold that
       Chevron was inapplicable to the agency's decision. Rather, the court stated that "[t]he authority
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           B. ATF's Classification Is Not Arbitrary or Capricious and is Supported by the Record

           In its Response Brief, Freedom argues that "the determinative issue of whether the ERAD

       constitutes a machinegun is whether it enables a firearm to fire more than one round with a

       single function of the trigger."   (Pl. ' s Resp. Br. at 4.)   This, however, is not supported by the

       plain language of the statute, which says that the determinative issue is not simply whether a

       weapon fires "more than one shot .. . by a single function of the trigger," but that it does so

       automatically.   26 U.S.C. § 5845(b).3      Thus, the "single function of the trigger" constitutes

       only half of the analysis.

          By focusing only on a portion of the statutory language, Freedom also argues that ATF has

       changed its position and interpretation of "single function of the trigger," and that the ERAD is

       similar to "bump-fire" devices that ATF has not classified as machineguns.          In actuality, ATF

       classifies weapons as machine guns only when a single function of the trigger results in the firing
0      of more than one shot through automatic functioning.           For example, in ATF Ruling 2004-5,

       ATF explained that a hand cranked Gatlin gun is not a "machinegun" "because it is not a weapon


       is inconsistent on the question ofwhether ATF firearm classifications enjoy full Chevron
       deference" and "the courts .. . consistently recognize that when such decisions are shown to be
       the product of substantial agency expertise, experience and thought, they are entitled to at least
       the highest level of Skidmore respect." Jd. at 900. Therefore, the court concluded that "ATF
       firearm classifications are usually reviewed under an ' arbitrary and capricious' or similar
       standard." Id.
       3
         26 U.S.C. § 5845(b), defines a machine gun as

              any weapon which shoots, is designed to shoot, or can be readily restored to
              shoot, automatically more than one shot, without manual reloading, by a single
              function of the trigger. The term shall also include the frame or receiver of any
              such weapon, any part designed and intended solely and exclusively, or
              combination of parts designed and intended, for use in converting a weapon into a
              machine gun, and any combination of parts from which a machine gun can be
              assembled if such parts are in the possession or under the control of a person.

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       that fires automatically."    (AR at 633.)

           Contrary to Freedom ' s assertion, ATF "has consistently taken the position that manually

       operated 'two-stage' triggers result in a firearm which fires one shot for each function of the

       trigger.   Thus, the phrase ' single function of the trigger' [means] a singie movement of the

       trigger, whether that movement is the pull of the trigger or the release of the trigger."    (AR at

       636-37, ATF Memo on "Definition of ' Single Function ofTrigger' under 26 U.S.C. § 5845(b),"

       Sept. 28 1989 (emphasis in original).)

           Moreover, ATF ' s classifications of two-stage triggers have no meaningful application in this

       case because the ERAD is not a two-stage trigger allowing one shot to be fired when the trigger

       is pulled and another when the trigger is released.   Rather, to create "movement," the ERAD

       uses an electric motor.    Thus, while there is no doubt that the trigger moves, the electric motor

       moves the trigger, not the shooter.    The shooter takes absolutely no action to release the trigger.
0      Indeed, the shooter does just the opposite by continuing to apply rearward pressure.        Further,

       the shooter makes no decision to pull again, but merely maintains a constant pull as the motor

       automatically causes movement of the trigger and the weapon continually fires.

           ATF ' s classification ofthe operation ofthe ERAD device as a single function ofthe trigger is

       also consistent with a previous classification of the "AR 16" device.     (AR at 369-73.)     In this

       device, continued pressure applied to the trigger allowed the rifle to be fired until the release of

       the trigger.   (ld.)   The manufacturer of the "AR 16" argued that a device (cam) installed in the

       firearm removed the impediment to the trigger and allowed the operator to once again pull the

       trigger.   (Id.)   However, ATF found that pressure was applied to the trigger and the rifle fired,

       and unless the pressure from the trigger finger was removed, the rifle continued to fire.      (Id.)


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n      Therefore, a single pull of the trigger by the user of the firearm resulted in the firing of more than

       one shot.   (Id.)   The classification concluded that "the fact that operation of the firearm causes

       movement of the trigger is not relevant to this determination."          (Id.)   Similarly, the fact that the

       ERAD device moves the trigger forward by a motor is irrelevant to determine whether the device

       causes a firearm to fire automatically by a single function of the trigger.

           Freedom also claims that ATF erroneously referred to the rapid, maximum firing rate made

       possible by using the ERAD.           (Pl.'s Resp. Br. at 5.)   ATF is not arguing that rate of discharge

       is the dispositive factor in its classification.     But the fact that a firearm shoots hundreds of

       rounds per minute is a relevant.         The rate of fire is a significant factor taken into consideration

       in determining whether a weapon functions, or is converted to function, automatically by a single

       function of the trigger.   The term "automatic" is defmed to include "any firearm in which a

       single pull and continuous pressure upon the trigger (or other firing device) will produce rapid
0      discharge of successive shots so long as ammunition remains in the magazine or feed device in

       other words, a machinegun."           (AR at 634 (ATF Rule 2004-5 citing to the dictionary definition
                                    ,--


       of"automatic").)     Automatic functioning is the functioning of the firearm such that it is "acting

       or operating in a marmer essentially independent of external influence or control."           Id.   The

       rate of fire is therefore evidence of the necessity of automatic functioning.         Indeed, the

       Administrative Record contains other examples of reference to the high rates of fire of

       machineguns. See, e.g., AR at 599-607.           These firearms have high rates offrre because the

       independent mechanical operation of the firearm allows a large number of rounds to be expelled

       in a short amount of time.         While not solely determinative, high rate of fire is a relevant factor

       in determining whether a firearm may be operating automatically, for that is the entire point of


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   automatic fire, to shoot faster than a human being may possibly accomplish unaided.

           In summary, because the ERAD is a combination of parts designed and intended for use

   in converting a semiautomatic firearm into weapon which shoots automatically more than one

   shot by a single function of the trigger-the pull of the trigger-it is a machinegun. ATF's

   decision is not arbitrary or capricious, but is consistent with the facts based on a thorough

   examination and testing of the ERAD's functionality.

       C. Freedom's Comparison Classifications Are Not Applicable

       Freedom also argues that its ERAD should be classified the same as a bump fire devices

   because they use "gas/recoil energy to facilitate the trigger reset while the ERAD uses electrical

   energy to facilitate the trigger reset," which Freedom asserts is "a distinction without a

   difference."   (Pl.'s Resp. Br. at 6.)   For the reasons discussed in ATF's opening brief, there is

   in fact a significant difference between the devices, particularly because of the manual, skill-

   based methods required to operate a bump fire device.        In contrast, the ERAD operates

   mechanically, requiring only that the shooter maintain rearward pressure on the primary trigger

   to produce automatic fire.

       Freedom argues that that the only difference between the ERAD and a non-machinegun

   bump fire device "is that continuous pressure is applied to the forend of the gun with the non-

   trigger hand and the power employed to assist in trigger reset is recoil.    Legally that is no

   difference at all."   (Pl.'s Resp. Br. at 6.)   In arguing that the "continuous pressure" is the same

   in the ERAD and in bump fire devices, Freedom conflates the continuous pressure on the forend

   of a firearm necessary for bump fire devices to operate (the necessity ofwhich means there is no

   automatic functioning), with the continuous pressure on the trigger of the ERAD that constitutes


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()      a single "function" of the trigger.    This difference is key because the constant pressure of the

        non-trigger hand is manual, not automatic.      Far from "novel," ATF has provided this analysis to

        the industry in the past, and it is included in the Administrative Record.      (AR at 350.)

            Freedom also argues that the Tac-Con 3MR trigger is indistinguishable from the ERAD.

        Freedom's argument, however, is based upon a misunderstanding of the 3MR's operation.

        Although the 3MR is a trigger mechanism that pushes a shooter's finger forward in a way that is

        similar to the ERAD, there is a vital difference.       The 3MR pushes the finger very close to the

        point at which the trigger resets, but actually requires that a shooter release the original pull

        before the trigger resets and another shot may be fired.       (AR at 259-331.) 4   Therefore, any

        comparison between the ERAD and the 3MR is inapposite because the 3MR requires exactly

        what the ERAD does not-a release to end the first "pull" and a separate "pull" or function for

        the firing of each subsequent round.
0           Freedom also attempts to distinguish the ERAD from the Akins Accelerator, which ATF

        classified as a machinegun, arguing that "the Akins Accelerator further used nonhuman energy

        (springs) to force the trigger against the user's fmger causing the weapon to discharge at a rate of

        650 rounds per minute."     (Pl.'s Resp. Br. at 13.)     The ERAD, however, operates on the same

        principle--a single rearward pull without a release, and non-human input for automatic

        functioning.   (AR at 377-87 (patent documents Akins Accelerator, specifically paras. 70 and 78,




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          Freedom claims that there is no evidence in the Administrative Record for this proposition.
        However, the 3MR patent documents in the Administrative Record explicitly explain how the
        device operates. (AR at 259-331.) Specifically, the documents explain that when the trigger
        is pulled and held, the hammer is retained by the device, such that it cannot move forward and
        fire another round. (AR at 277-78.) Then, when the trigger is "released," the hammer "is thus
        retained in the cocked position ... preparatory to firing by another trigger pull." (AR at 278-79.)
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n      describing the Akins Accelerator functionality).)     Whether automatic fire is generated by spring

       recoil or motor is irrelevant because the result is the same:   a single pull of the trigger by the

       shooter causes the firearm to shoot automatically and continuously.

          In sum, ATF' s classification of the ERAD is consistent with its other determinations.

                                                 CONCLUSION

              Based on the foregoing, the Court must enter judgment in favor of the Bureau of Alcohol,

       Tobacco, Firearms, and Explosives as to all ofPlaintiffs claims against it.


                                                      Respectfully submitted,


                                                      JOSH J. MINKLER
                                                      United States Attorney

                                              By:     s/ Shelese Woods
                                                      Shelese Woods
0                                                     Assistant United States Attorney




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  n                                        CERTIFICATE OF SERVICE

                  This is to certify that I have served a copy of the foregoing upon the Plaintiff herein by

           electronically filing a copy thereof through the Court's CM/ECF system, which will transmit a

           copy electronically to the following on the 13th day of September, 2017:

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   27 C.F.R.179.11: MEANING OF TERMS

        The SMJ 0 and SMJJAJ pistols and SAC carbines are machineguns as defined in the
   National Firearms Act.

   ATF Rul. 82-8

   [Status of ruling: Active]

   The Bureau of Alcohol, Tobacco and Firearms has reexamined firearms identified as SMlO
   pistols, SMllAl pistols, and SAC carbines. The SMlO is a 9 millimeter or .45ACP caliber,
   semiautomatic firearm; the SMllAl is a .380ACP caliber, semiautomatic firearm; and the SAC
   carbine is a 9 millimeter or .45ACP caliber, semiautomatic firearm. The weapons are blowback
   operated, fire from the open bolt position with the bolt incorporating a fixed firing pin, and the
   barrels of the pistols are threaded to accept a silencer. In addition, component parts of the
   weapons are a disconnector and a trip which prevent more than one shot being fired with a single
   function of the trigger.

   The disconnector and trip are designed in the SMlO and SMllAl pistols and in the SAC carbine
   (firearms) in such a way that a simple modification to them, such as cutting, filing, or grinding,
   allows the firearms to operate automatically. Thus, this simple modification to the disconnector
   or trip, together with the configuration of the above design features (blowback operating, firing
   from the open bolt position, and fixed firing pin) in the SMl 0 and SMllAl pistols and in the
   SAC carbine, permits the firearms to shoot automatically, more than one shot, without manual
   reloading, by a single function of the trigger. The above combination of design features as
   employed in the SMl 0 and SMllAl pistols and SAC carbine are normally not found in typical
   sporting firearms.

   The National Firearms Act, 26 U.S.C. § 5845(b), defines a machinegun to include any weapon
   which shoots, is designed to shoot, or can be readily restored to shoot, automatically more than
   one shot, without manual reloading, by a single function of the trigger.

   The "shoots automatically" definition covers weapons that will function automatically. The
   "readily restorable" definition defines weapons which previously could shoot automatically but
   will not in their present condition. The "designed" defmition includes those weapons which
   have not previously functioned as machineguns but possess design features which facilitate full
   automatic fire by a simple modification or elimination of existing component parts.

         Held: The SMl 0 and SMllAl pistols and the SAC carbine are designed to shoot
   automatically more than one shot, without manual reloading, by a single function of the trigger.
   Consequently, the SMl 0 and SMll Al pistols and SAC carbines are machineguns as defined in
   Section 5845(b) of the Act.

   With respect to the machinegun classification ofthe SMlO and SMllAl pistols and SAC
   carbines, under the National Firearms Act, pursuant to 26 U.S. C. § 7805(b), this ruling will not
   be applied to SMlO and SMllAl pistols and SAC carbines manufactured or assembled before




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   June 21, 1982. Accordingly, SMlO and SM11A1 pistols and SAC carbines, manufactured or
   assembled on or after June 21, 1982, will be subject to all the provisions of the National Firearms
   Act and 27 C.F.R. Part 179.




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   One History Arms Modei54RCCS, etc.                                                                   September 10,2009
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     1      Q Martin. So is it fair to say Mr. Martin's          1   ones that were manufactured before a particular
     2   and Mr. Spencer's participation was at a fairly high    2   date?
     3   level more or less reviewing and approving and not      3      A That's correct.
     4   actively participating in the decision?                 4      Q But whatever number of those there are,
     5      A Are you meaning high level like their              5   they're out there?
     6   superior ranking or --                                  6      A Yes.
     7      Q Well, I was more getting at they reviewed          7      Q Now, based on your inspection and
     8   the final product, maybe made changes, maybe didn't     8   observations of the defendant, did you conclude
     9   and approved it without getting into the substantive    9   whether it was intended to be installed on a
    10   details of the decision.                               10   particular firearm blower?
    11      A That would be correct.                            11      A Can you say that again?
    12      Q Okay.                                             12      Q I mean, did you come to any conclusion of
    13          MR. MONROE: Let's take one more break.          13   what the purpose of the defendant was?
    14          (Thereupon, a brief recess ensued at            14      A What the intention of the manufacturer was?
    15      approximately 11:43 a.m. and the proceedings        15      Q Yes.
    16      subsequently resumed at approximately 11:50         16      A Or what our interpretation of what the
    17      a.m. with all parties present).                     17   defendant weapon was?
    18   BY MR. MONROE:                                         18      Q What the intention of the manufacturer
    19      Q In Exhibit 1 which are the operating              19   was.
    20   procedures that you wrote, there's a reference to      20      A Yes. And it's indicated that there's a
    21   two rulings, 82-8 and 83-5, do you recall that?        21   portion of a MAC upper welded inside the receiver.
    22      A Do I recall the rulings or the reference?         22      Q And so what did you conclude the purpose
    23      Q Well, first of all the reference.                 23   of the manufacturer was in manufacturing the device?
    24      A Yes.                                              24      A The purpose of the manufacturer in
    25      Q Do you recall the ruling?                         25   manufacturing the device is that he wanted to install
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     1     A Yes.                                                it on to a MAC receiver.
                                                                 1
     2     Q 82-8 ifl remember had to do with some               2  Q And then what would that accomplish?
     3 devices that were determined to be machine guns but       3  A Well, with our classification, that would be
     4 that the ones manufactured before a particular date       the classification of two machine guns, the registered
                                                                 4
     5 were not I guess treated as machine guns for              MAC or -- would be a machine gun, or if it was a
                                                                 5
     6 purposes    of transfer and possession; is that right?  6 semiautomatic MAC, that would be converting the
     7     A Let me find it. (Reviews document).               7 semiautomatic   MAC into a machine gun. And since we
     8 Correct.                                                8 classified the upper as a machine gun, that would also
     9     Q What is the proper treatment of one of            9 be a machine gun in and of itself.
    10 those firearms under that ruling if it's ... I mean,   10    Q And the caliber of the defendant is what,
    11 I guess A TF considers it to be a machine gun but      11 do you know?
    12 it's freely transferable without even a Form 4 ifl     12    A Of the defendant weapon?
    13 understand it; is that right?                          13    Q Yes.
    14     A If it was manufactured before that date as       14    A 7.62X54.
    15 an open bolt pistol, then ATF said we're not going to 15     Q And that's not the caliber of a MAC; is
    16 apply the machine gun classification to it.            16 that right?
    17     Q So I guess the conclusion is that means          17    A Correct.
    18 there's a, I don't know about the sizes, but there's   18    Q So the result would be a MAC that shoots
    19 some bucket of firearms that are machine guns that     19 7.62X54; is that right?
    20 aren't registered, don't have to be registered and     20    A Yes.
    21 are freely transferable without a Form 4; is that      21    Q There was some discussion in the responses
    22 right?                                                 22 to our third discovery request about the possibility
    23     A Well, that is correct but they are no longer     23 of returning the defendant to the claimant for
    24 allowed to be manufactured.                            24 modification, do you recall that?
    25     Q I understand. So we're only talking about        25    A Yes.

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           Mr. Brian A. Blakely

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           Dear Mr• .Blakely;
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          This refers to. your.J~;ter ofl?ebr:uary 6. i004. to the Burea!J ofAioobol, Tobacco, Ftreanns and
          Explosives (ATF)~ Firearms Technology Branch (FTB)~ in which you :inquired about the tegality
          ofa small sectien of siring inten:ded for use as n means for incr~ng tbe·cydingtate of a
          semiautonu1uc rifl~:         ·        ·                                            ·

          As yon may be aware, the National Firearms Act, 2tfU.S.C. § S845(b)~ defines ..'macbinegunu to
          include th.e followingz
           ..... any weapon that shoots. is desi~cd to shoot~ or cun be readily resto'j:'ed to sh®h a:utomatimilly mpre
           th:in: ·on~ shoi, without.mamJal reloading, by.a single. functionofthe trigger. This tenn sha11.ulgo incl.ude
           the frame or J:~iver of any su~::h weapon~ ~ny part designed an:d Intended solely and exclusively~ ar
          combinatio:o of parts designed and int~n.dc~ for use in conv.ening·a wcap{Jn into a mathinegnn, and
          :any combination of~ from which a machinc!!un cun be assembled if such pans are in the" po.s~ion
          orund~ thecontrPJ ofa.persoo (boJdingaddedJ-

          ln 1996~ FTB examin~ im.d classified a 14-inch long shoestring with lil logp ax e~ch.end. The:
          string was attached to the cocking hruldle of a semiaUtomatic rille and was looped around me
          trigger and attfujh~d to the shoater'!S finger. The device c.ausoo lb,eweapenlo finnepe,atOOly
          until finger pr,ei~ w;:LS             flnm the string. Be(:.au'st; Ibis item was designed and intended
          to convert a semiautomatic rifle into a machlnegun.. FIB det.cnntn.ed that 1t 't\'"<L'J a ~Jtaehincgnn
          as defined Jn 26 us_c. 5845(b),

          \V1: thank you (bryotir inquiry. r~gret the delay in festJOt:lSC. and trust the foregoing has been
          responsive~

                                                         Sincerely yourS,




                                                            JA371
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                                               Filed: 03/04/2019

                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives




                                                     Maninsburg, WV   25401   903050:JPV
                                                     www.atf.gov              3 311/2007-615
                                                                               JUN 2 5 2007
     Mr. Brian A. Blakely



     Dear Mr. Blakely:

     On February 6, 2004 you wrote to the Firearms Technology Branch (FTB) of the Bureau
     of Alcohol, Tobacco, Firearms and Explosives (ATF) inquiring about the legality of a
     small section of string intended for use as a means for increasing the cycling rate of a
     semiautomatic rifle. We responded on September 30, 2004. In that letter we stated:

            In 1996, FTB examined and classified a 14-inch long shoestring with a loop at
            each end. The string was attached to the cocking handle of a semiautomatic rifle
            and was looped around the trigger and attached to the shooter's finger. The
            device caused the weapon to fire repeatedly until finger pressure was released
            from the string. Because this item was designed and intended to convert a
            semiautomatic rifle into a machinegun, FTB determined that it was a machinegun
            as defined in 26 U.S.C. 5845(b). (Emphasis in original).

     Upon further review, we have determined that the string by itself is not a machinegun,
     whether or not there are loops tied on the ends. However, when the string is added to a
     semiautomatic firearm as you proposed in order to increase the cycling rate of that rifle,
     the result is a firearm that fires automatically and consequently would be classified as a
     machinegun. To the extent that prior ATF classification letters are inconsistent with this
     letter, they are hereby overruled.

     We hope that this clarifies our position. Should you have any questions, please do not
     hesitate to contact us.

                                             Sincerely,


                                                        rry
                                            ,mJ- .>--;:;V
                                          ru~~uez
                            Acting Chief, Firearms Technology Branch




                                               JA372
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   @ Stamboulieh Law, PLLC
   P.O. Box 4008, Madison, MS 39130 I (601} 852-3440 I stephen@sdslaw.us

                                                   April9, 2018

   ATIN: FOIPA Request
   Record/Information Dissemination Section                          Via Electronic Mail
   170 Marcel Drive
   Winchester, Virginia 22602-4842
   Email: foipareguest@ic.fbi.gov

   RE: Freedom of Information Act Request

   Dear FOIA Officer:

         This is a request under the Freedom of Information Act. I represent Len Savage in this request.
   As a result of Notice of Proposed Rulemaking found at 83 FR 13442 and located online at
   https:Uwww.federal register.gov/docum ents/2018/03/29/20 18-06292/bump-sto ck-type-devices, we are
   hereby requesting an expedited response to the following request in order to allow proper comments on
   the proposed rule. The comment period ends in seventy-nine (79} days from today or on 6/27/2018.

           Because the information sought is believed to be with your agency, Mr. Savage hereby requests
   the following information:

          •       Any and all records documenting the use of a bump-fire type stock being used by anyone
  on or about Oct 1, 2017 at the Mandalay Bay shooting incident in Las Vegas, Nevada; and
          •       Any and all records documenting the use of a bump-fire type stock used during the
  commission of any crime to date.

           I am willing to pay up to $200 for the processing of this request. I also request a fee waiver as
  these materials are greatly in the public interest and because the requested records will be distributed
  free of charge on the internet. Additionally, this information should be released immediately due to the
  impending regulations promulgated by the ATF regarding bump-stock devices referenced earlier to allow
  the public to fully be availed of all necessary information.

          If for whatever reason, any part of this request is unavailable or not able to be produced at this
  time due to claims of "ongoing investigation," I request that any segregable documents that can be
  produced, be produced within twenty days. In the alternative, if the documents will not be released
  without resorting to litigation, please advise as soon as possible so that litigation may begin. Thank you
  for your attention to this matter.

                                                             Best regards,




                                                    JA373
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   @ Stamboulieh Law, PLLC
   P.O. Box 4008, Madison, MS 39130 I (601) 852-3440 I stephen@sdslaw.us

                                                  April 9, 2018

   ATIN: Disclosure Division, Room 4E.301                           Via Electronic Mail and Facsimile
   99 New York Avenue, NE
   Washington, DC 20226
   Email: foiamail@atf.gov
   Fax: (202) 648-9619

   RE: Freedom of Information Act Request

   Dear FOIA Officer:

         This is a request under the Freedom of Information Act. I represent Len Savage in this request.
   As a result of Notice of Proposed Rulemaking found at 83 FR 13442 and located online at
   https:ljwww.federalregister.gov/documents/2018/03/29/20 18-06292/bump-stock-type-devices, we are
   hereby requesting an expedited response to the following request in order to allow proper comments on
   the proposed rule. The comment period ends in seventy-nine (79) days from today or on 6/27/2018.

           Because the information sought may reside with your agency, Mr. Savage hereby requests the
   following information:

           •       Any and all records documenting the use of a bump-fire type stock being used by anyone
   on or about Oct 1, 2017 at the Mandalay Bay shooting incident in Las Vegas, Nevada; and
           •      Any and all records documenting the use of a bump-fire type stock used during the
   commission of any crime to date.

            I am willing to pay up to $200 for the processing of this request. I also request a fee waiver as
   these materials are greatly in the public interest and because the requested records will be distributed
   free of charge on the internet. Additionally, this information should be released immediately due to the
   impending regulations promulgated by the ATF regarding bump-stock devices referenced earlier to allow
   the public to fully be availed of all necessary information.

          If for whatever reason, any part of this request is unavailable or not able to be produced at this
   time due to claims of "ongoing investigation," I request that any segregable documents that can be
   produced, be produced within twenty days. In the alternative, if the documents will not be released
   without resorting to litigation, please advise as soon as possible so that litigation may begin. Thank you
   for your attention to this matter.

                                                            Best regards,




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                                       Lennis F. Savage III
                                            President,
                                       Historic Arms LLC
                                         1486 Cherry Rd.
                                       Franklin, GA 30217
                                          (706) 675-0818
                                     lensavag@bellsouth.net

  Concentration:

  Research, Design, Manufacture, Repair, Restoration, and transfer ofNFA and semiautomatic
  firearms.

  Licensure:

  •   Federal Firearms Manufacturing License (FFL type 07)
  •   Special Occupational Taxpayers Stamp or [NF A Firearms Manufacturer type (72)] referred
      to in the firearms industry as an 0 7!SOT.

  Experience:

  Owned by Len and Sherrey Savage, Historic Arms LLC is known for:
  • Designing and building semiautomatic versions of historic machineguns that are classified by
    BATFE Firearms Technology Branch as "firearms" [AIK/A ATF "approved" designs].
  • Conducting research in areas of component failure and firearms malfunctions, and
    developing solutions based on the research conducted.
  • Conducting transfers of NFA firearms.
  • In 2012 consulted with ATF on identifying recurring issues occurring in the firearms industry
    and solutions for those issues.
  • Entertainment industry firearms technical advisor and consultant.

 Performed research and development for the following other licensed firearms
 manufacturers:

 •    RPB of Atlanta
 •    Masterpiece Arms
 •    Century International Anns
 •    Ohio Ordnance Works
 •    Calico Light Weapons Systems
 •    Ohio Rapid Fire
 •    Signature Weapons

 Designed the following firearms or firearms systems:

 •    BREN MKIIsa




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     e   BREN Belt-Fed
  •      RPDsa
  •      SGMBsa
  •      971 Sport Rifle
  •      Gunzilla Project
  •      MAG 58sa
  •      BM-3000 Caliber Conversion Unit
  •      Calico/MAC Conversion System
  •      Ballou Belt-Fed Caliber Conversion Unit
  •      ZB-37sa
  •      54R/ MAC type Caliber Conversion System
  •      Glock feed MAC conversion
  •      The title I "short barreled NON-shotgun" or pistol gripped shotgun-like firearm
  •      MPK or Modular PK or Pulemyot Ka/ashnikova
  e      UK-59 semiautomatic rifle
  •      "Open Bolt" Saiga 12 and AK format machineguns fire control system.
  •      Hyper burst pistol system (rate of fire @ 45 rounds per second).

  Firearms technical advisor or expert witness in the following Federal Court cases:

  •      United States v. Glover [Charlotte, NC]
  •      United States v. Wrenn [Columbia, SC]
  •      United States v. Kwan [Seattle, WA]
  •      United States v. Olofson [Milwaukee, WI]
  •      United States v. Friesen [Oklahoma City, OK]

 Firearms consultant in the following Federal Court cases:

 •       United States v. Harris [Atlanta, GA]
 •       United States v. Celeta KTOrdnance [Dilon, MT]
 •       United States v, Standbury [Missoula, MT]
 •       United States v. Gardner [Eugene, OR]
 •       United States v Offerman [Salt Lake City, UT]
 •       United States v. Keener [Eugene, OR]
 •       United States v. Clark et al [Phoenix, AZ]

 Press Coverage:

 •       TAPCO Issue #9 [front cover]
 •       Small Arms Review [Jan. 2004 pg. 66]
 •       Small Arms Review [July 2004 pg. 22]
 •       Small Arms Review [Nov. 2004 pg. 30]
 •       Small Alms Review [Jan. 2005 pg. 90]
 •       Small Arms Review [April 2005 pg. 56]




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  •   Guns Magazine [July 2005 pg. 64]
  •   The Congressional Research Service Memorandum [Sept. 2005]
  •   SWAT Magazine [May 2006 pg. 32]
  •   Small Arms Review [May 2006 pg. 62]
  •   Small Arms Review [Nov. 2006 pg. 89]
  •   SWAT Magazine [Jan. 2007 pg. 32]
  •   Soldier of Fortune [July 2008, pg.6]
  •   Shot Gun News, The Knox Report [September 2008, Vol. 62, Issue 25, pg 9]
  •   CNN Lou Dobbs Tonight
  •   Historic Arms LLC firearms have been featured on the History Channel "Mail Call" twice.
  •   Documentary Film- BATFE Fails the Test
  •   Documentary Film- The Gang
  •   Guest appearance on Discovery Channel's "SONS OF GUNS" as a firearms expert for an
      episode featuring the semiautomatic BREN. Season 3, episode "Red Jacket Snow Cannon".
  •   Technical advisor to Discovery Channel's "SONS OF GUNS" for season 4 episode "Will's
      Monster".
  •   Technical advisor and guest appearance as a firearms expert to Discovery Channel's "SONS
      OF GUNS" for season 4, episode "One Man Army".
  •   Technical and creative advisor for Discovery Channel's "SONS OF GUNS" season 5,
      episode 2 "Mobile MAG 58's".
  •   Technical and creative advisor for Discovery Channel's "SONS OF GUNS" season 5,
      episode 3 "Steel Tornado".
  •   Technical and creative advisor for Discovery Channel's "SONS OF GUNS" season 5,
      episode 5 "Master Blaster".




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 1                    BEFORE THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
 2

 3     DAMIEN GUEDES, et al.,           .
                                        .
 4               Plaintiffs,            .
                                        .       Case Number 18-CV-2988
 5           vs.                         .
                                        .
 6     BUREAU OF ALCOHOL, TOBACCO,      .
       FIREARMS, AND EXPLOSIVES,        .
 7     et al.,                          .
                                        .
 8               Defendants.             .      Washington, D.C.
       - - - - - - - - - - - - - - - - -        February 6, 2019
 9     FIREARMS POLICY COALITION, INC., .       2:03 p.m.
                                        .
10               Plaintiff,              .
                                        .
11          vs.                         .       Case Number 18-CV-3083
                                        .
12     MATTHEW WHITAKER, et al.,        .
                                        .
13               Defendants.             .
       - - - - - - - - - - - - - - - - -
14

15            TRANSCRIPT OF PRELIMINARY INJUNCTION MOTION HEARING
                   BEFORE THE HONORABLE DABNEY L. FRIEDRICH
16                       UNITED STATES DISTRICT JUDGE

17
       APPEARANCES:
18
       For the Guedes Plaintiffs:         JOSHUA PRINCE, ESQ.
19                                        ADAM KRAUT, ESQ.
                                          Prince Law Offices, P.C.
20                                        646 Lenape Road
                                          Bechtelsville, Pennsylvania 19595
21

22     For Plaintiff FPC:                 THOMAS GOLDSTEIN, ESQ.
                                          DANIEL WOOFTER, ESQ.
23                                        Goldstein & Russell P.C.
                                          7475 Wisconsin Avenue
24                                        Suite 850
                                          Washington, D.C. 20814
25          -- continued --




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 1     APPEARANCES (CONTINUED):

 2     For the Defendants:               ERIC SOSKIN, ESQ.
                                         U.S. Department of Justice
 3                                       Civil Division, Federal Programs
                                            Branch
 4                                       P.O. Box 883
                                         Washington, D.C. 20044
 5
                                         HASHIM MOOPPAN, ESQ.
 6                                       U.S. Department of Justice
                                         950 Pennsylvania Avenue Northwest
 7                                       Washington, D.C. 20530

 8

 9     Official Court Reporter:          SARA A. WICK, RPR, CRR
                                         U.S. Courthouse, Room 4704-B
10                                       333 Constitution Avenue Northwest
                                         Washington, D.C. 20001
11                                       202-354-3284

12

13     Proceedings recorded by stenotype shorthand.
       Transcript produced by computer-aided transcription.
14

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                                  JA379
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 1     the individual pulls the trigger to the rear, and the gun fires

 2     until it's exhausted all of its ammunition.

 3          Alternatively, if you look at the video that we submitted,

 4     which was the video that shows the operation of a bump stock in

 5     slow motion from a couple different angles as well as just

 6     regular speed, the best I can compare it to in that video would

 7     be the second test, if you will, the one in the middle, and you

 8     can find that from 1:41 to 3:13 in there.

 9          That one was fired with the stock unlocked so that it would

10     slide freely on that buffer tube.        And you will notice in the

11     video, it's fired one-handed, and when the trigger is pulled to

12     the rear once, it fires one round, and that's it.

13          So if we are going to go down that rabbit hole as to

14     "automatically," it doesn't function in the same manner as a

15     machine gun.

16                   THE COURT:   Okay.    Let me back up.    On ATF's

17     definition of "single function of the trigger," ATF has defined

18     it to mean a single pull of the trigger.

19                   MR. KRAUT:   Correct.

20                   THE COURT:   And I think other courts have done so

21     similarly.     Do you disagree with that definition?

22                   MR. KRAUT:   No, I would agree with that.       A single

23     function equates to a single pull.

24          Likewise, in their final rule, for that matter, they

25     delineated the use of other devices out there known as binary




                                    JA380
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 1     triggers, that a single function pulling it to the rear fires a

 2     round, releasing it fires a separate round, and they have said

 3     very clearly in the final rule that each of those is a separate

 4     function of the trigger.      So you have two single functions

 5     occurring in that instance.

 6                   THE COURT:   And back just to pure definitions, not the

 7     way in which they're applied here --

 8                   MR. KRAUT:   Yes.

 9                   THE COURT:   -- but do you disagree with ATF's

10     definition of "automatically," which it defines to mean the

11     result of self-acting or self-regulating mechanism that allows

12     the firing of multiple rounds through a single function of the

13     trigger?

14                   MR. KRAUT:   If we are talking about it, just to make

15     sure I understand, not as applied to this?

16                   THE COURT:   Not as applied, no.

17                   MR. KRAUT:   Then yes, I would give you that.

18                   THE COURT:   All right.   Well, in defining "function,"

19     do you think it's reasonable for ATF to look at the actions of

20     the shooter as opposed to the mechanical function of the gun?

21                   MR. KRAUT:   I don't.   Again, if we go back to the

22     definition of "machine gun" as adopted by Congress, it's

23     strictly in relation to the firearm or its components.

24                   THE COURT:   But once you defined a single function as

25     a single pull, aren't we looking at it from the perspective of a




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                     CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the

 Clerk of the Court for the United States Court of Appeals for the D.C.

 Circuit by using the appellate CM/ECF system on March 4, 2019. All

 participants in the case are registered CM/ECF users, and service will be

 accomplished by the appellate CM/ECF system.



                                     /s/ Thomas C. Goldstein
                                     Thomas C. Goldstein
